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 Forest Service has no legal right to take away these stipulated protections. In addition, efforts to
 seek increases in the flow rates of existing rights or additional rights would not produce
 additional flows within the Forest as there are few to no other water diversions above the Forest
 boundary. Additionally, the water development within Water Division No. 3 occurred before the
 reservation of the Forests. This means that most of the large diversions within the Valley (below
 the Forest Boundary) would be senior to any additional water rights developed by the Forest
 Service and these senior rights could not be called out to produce more water. Last, as you are
 no doubt aware, the San Luis Valley as a whole is already fully appropriated and is generally
 short of surface water to meet all of the already decreed surface water rights and Colorado’s
 obligations under the Rio Grande Compact. The flows of the Rio Grande are managed closely to
 assure that Colorado neither over- nor under-delivers water to the downstream States, as required
 by the Compact. Because of this intensive management, any water called down through the
 Forest will be diverted by water users in the order of their priority, resulting in no appreciable
 change to stream flow within or outside the Forest boundary.

         Finally, attempting to revise the Forest Plan to acquire more than is provided for in the
 81 CWl 83 Decree could result in the loss of water rights and water for the Forest. The RGWCD
 and the water users bargained for, and the Forest Service agreed to, specific reopener provisions
 if the Forest Service were to attempt to alter the bargain represented by the stipulated Decree;

        This decree may be reopened if the U.S.D.A. Forest Service, in the exercise of its
        power to grant or deny land use authorizations on National Forest System lands
        within Water Division No. 3, acts to increase or maintain stream flows, reduce
        depletions to stream flows, provide favorable conditions of water flow, or provide
        water for any of the purposes set forth in Paragraphs 14,15 or 16, above, by: (a)
        requiring the owner of an Existing Water Right to forego the exercise of all or
        part of its decreed water right or to relinquish water diverted or stored in priority
        under its decreed water right, or (b) otherwise taking any action to prevent or
        interfere with the exercise of all or a part of an Existing Water Right,

 81 CWl 83 Decree, 19, Reopening the 81 CWl 83 Decree will result in the Forest Service
 having to return to Water Court to “prove its entitlement to and quantity of reserved instream
 flow water rights for Organic Administration Act purposes within the geographic area subject to
 reopening.” 81CW183 Decree, 24.a. As you are no doubt aware, the Forest Service has not
 met with success in courts across the Western United States when required to prove, at trial, its
 claims for broad Federal Reserved water rights. Therefore, if the Forest Service were to attempt
 to revise the Forest Plan resulting in a potential injury to the water right of a water user, the
 Forest Service would not only not gain additional water, but potentially lose what it already has.

         You must understand, we negotiated the 81 CWl 83 Decree. We agreed that the Forest
 Service could have a decree that went far beyond what any Court has recognized as the
 limitations of the Forest Service’s authorities. Should the Forest Service seek to acquire
 additional water rights, in any way inconsistent with the provisions of 81 CWl 83, we will expect
 to exercise our right under the reopener provision. Please do not be led into this situation by
 those who live outside the Valley and care nothing for its people, its society and the agreements
 you have reached. Integrity is far more important,


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         The District recognizes and appreciates that one of the changes under consideration is
 incorporating “the negotiated in-stream flow water rights language and decree between the Rio
 Grande National Forest and the State of Colorado from 2000” into the revised Forest Plan. Needs
 for Change Document, Table C4. This, of course, is an action that the District would whole­
 heartedly support. However, we remain concerned that some of the other contemplated
 revisions, particularly the potential inclusion of 34 stream reaches in the National Wild and
 Scenic River System, as well as the stated “Forest-wide Goals,” if implemented, may result in
 Forest Service action that is at odds with the terms and conditions in the 81 CWl 83 Decree. It is
 imperative that the revised Forest Plan honors the negotiated compromise that is embodied in the
 81CW183 Decree and respects San Luis Valley water rights and the community as a whole.

        In addition to the concerns noted above, we offer the following general comments
 regarding the Proposed Action and Need for Change topics:

     •    The District supports revising the current Plan “to include management approaches that
          consider local economies, markets, and partnership opportunities as tools for meeting
          desired conditions.” Needs for Change Document, Table B4. This approach can be
          particularly effective in achieving desired conditions in the areas of habitat conservation
          and the protection of wildlife and plant species, as demonstrated by the San Luis Valley
          Regional Habitat Conservation Plan and other similar community-based conservation
          efforts.

     •    In a similar vein, the District agrees that “opportunities exist to emphasize collaborative
          stewardship of watersheds and the interrelated biological, economic, and social factors
          that affect these areas.” Proposed Action, p.7. We encourage the Forest Service to
          develop a Plan that maximizes opportunity for collaboration, voluntary efforts, and
          community involvement to reach desired goals.

     •    Lastly, the District opposes the imposition of any new bypass flow requirements, or any
          conditions or limitations related to privately-held water rights, as a condition of new,
          renewed, or amended Special Use Permits.

         For all of the foregoing reasons, the Rio Grande Water Conservation District requests the
 Forest Service not revise the Forest Plan in any way that could affect or impact the terms or spirit
 of the 81 CWl 83 Decree or otherwise impact vested water rights in the San Luis Valley. The
 District looks forward to continuing to work with the Forest Service within the San Luis Valley
 for many years to come.

          Thank you again for the opportunity to provide the RGWCD’s views on this critical
 issue.




                                                        General Manager
                                                        Rio Grande Water Conservation District




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     October 28, 2016

     To whom it may concern,

     The San Juan Back Country Horsemen in Pagosa Springs, and the Trail Wise Back Country
     Horsemen in Del Norte/SLV, both chapters of Back Country Horsemen of America, would like to
     be involved in your LMP revision process. We appreciate this opportunity to help develop a new
     plan that will meet the needs of the Forest Service, its constituents and the land.

     We are interested in the Rio Grande National Forest overall, and between our two chapters we
     work in many of the forest areas. We work, partner and ride on the Divide RD, Conejos RD, and
     Saguache RD, especially in the Weminuche Wilderness, South San Juan Wilderness, and La
     Garita Wilderness, and in the Creede/Wheeler areas. Each year we work on facilities and trails in
     the Thirty Mile area of the Rio Grande River, and we've come to appreciate our FS partnership
     and the work we get done together there.

     In general, we support Wilderness goals and objectives that maintain quality Wilderness lands
     into the future, and Wilderness access for non-mechanized recreational purposes, including
     traditional access for stock users. We are interested in all resource aspects of the management of
     our public lands, including wildlife, noxious weeds, un-roaded areas, Wilderness, and recreation,
     including trails management.

     Our initial thoughts on the current Proposed Action (PA) are:
     • Given how important stock use is on the Rio Grande National Forest, including by
         recreational back country users such as ourselves, by outfitters and guides, hunters, grazing
        and other permittees, and by FS partners doing trail and other resource work, we hope the
         RGNF will understand this importance and address it in the LMP revision. The PA, while
         mentioning general recreational uses earlier in the document (e.g. page 6, para 3), does not
        appear to list stock use until later in the document (page 25). We realize you cannot mention
        every activity every time, but hope you will agree that stock use on the RGNF is perhaps as
         important as picknicking, rock climbing and snowshoeing.
     • As important as Wilderness is for back country stock users, and given how recreational uses
        are specifically mentioned in the Wilderness Act, we would call your attention to the point that
         recreational uses are not mentioned in the ‘Tactical Domain - Management Areas -
         Proposed Management Area 1.1 - Designated Wilderness’ section on page 23, while
         recreational uses appear to be mentioned in every other management area description on the
        following pages. We understand that uses are implied in the Wilderness section, but hope
        you will add more here, as it is our firm belief that recreational users and others help form the
        strong support base for Wilderness that exists today.
     •   In the document in general you talk about “horseback riding” as a recreational activity, which
         is correct, of course, but also possibly misses the point a little, considering the relatively large
        amount of back country stock and pack stock use that occurs on the RGNF.
     • Given the current situation at the Wolf Creek Ski Area regarding the potential construction of
        a village, we were somewhat surprised to read the management area description on page 33
        and not see a mention of maintaining quality wildlife/biological habitat and Wilderness in the
        surrounding area, especially connected migration corridors and the consideration of the
         potential connected impact(s) of expanded development effects on surrounding forest
         management areas and resources, including Wilderness. We realize detailed analysis is
        coming, and that we are talking about two separate management areas, but as important as
        this matter is it seems that the PA should mention these things in the ski area management
        area, similar to how things appear to be addressed or mentioned in other management area
        descriptions. We do not raise this concern as an ‘issue’, but suggest such consideration
        should perhaps be a common core, landscape-level resource management value.

     Both the Trail Wise and San Juan chapters of Back Country Horsemen of America appreciate the
     work you’ve done with the Proposed Action, and hope you will consider our current and future




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     comments within the context of partnership, and that they are well-meant. We look forward to
     working with you so the RGNF LMP revision will be a success we can all be proud of and use in
     the future to manage our valued national forest lands.


     Sincerely,

     JOHN NELSON, FS Liaison
     San Juan Back Country Horsemen
     PO Box 3957, Pagosa Springs, CO 81147
     928-853-0348, FtValleyPS@aol.com




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   Theodore Roosevelt Conservation Partnership Comments on the Proposed Action for the Rio Grande
                                   National Forest Land Management Plan


  October 28, 2016


  Mr. Dan Dallas - Forest Supervisor, Rio Grande National Forest
  Forest Service
  1803 W. Highway 160,
  Monte Vista, CO 81144
  rgnf forest plan@fs.fed.us


  The Theodore Roosevelt Conservation Partnership (TRCP) appreciates the opportunity to continue
  working with the US Forest Service (USFS) in the Rio Grande National Forest (RGNF) as it proceeds with a
  full Land Management Plan (LMP) revision.


  Since the RGNF is one of the first forest plans proceeding under the direction of the 2012 Forest
  Planning Rule, it is especially crucial that the plan results in a balanced approach that represents the
  interests of those who depend on the forest. Up to this point, we would like to commend the FS for their
  efforts in instituting this direction, including the opportunity for more public engagement throughout
  the planning process. The Need for Change and Proposed Action are a good step in the right direction
  towards developing preliminary alternatives that will benefit hunting, fishing, and fish and wildlife
  habitat, and could help lead to balanced multiple uses in most of the area analyzed.


  There are a diverse number of issues relevant to our sportsman constituents and these comments
  intend to convey that sentiment in a way consistent with the framework of the planning process. These
  comments offer what we believe are reasonable changes and/or additions that are backed up by science
  and generally supported by hunters and anglers. Within the boundaries of the RGNF are a great
  multitude of resources valued by hunters and anglers, including healthy populations of mule deer,
  bighorn sheep, elk, Rio Grande cutthroat trout (RGCT), pronghorn, moose, grouse, waterfowl, and a
  great diversity of habitats that supports these populations cherished by hunters and anglers.


  In addition to the inherent value the plants, animals, and their habitats offer to the public, the forest is a
  significant economic driver that, with proper management, can be maintained indefinitely. Every year,
  Americans spend $646 billion on outdoor recreation, including gear, vehicles, trips, travel-related
  expenses, and more. In Colorado, outdoor recreation generates $13.2 billion in consumer spending,
  125,000 jobs, $4.2 billion in in wages and salaries, and $994 million in state and local tax revenue.


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  Hunting and fishing in Colorado during 2013 generated $1.3 billion in direct expenditures, supported
  18,743 jobs, and generated $306 million in local, state, and federal tax revenue. For perspective, if
  hunting in the US were a company, the amount spent by sportsmen to support their hunting activities
  would place it at number 73 on the fortune 500 list. Fishing would come in at number 51.


  2012 Forest Planning Rule


  As mentioned, the RGNF plan revision process is one off the first in the country to proceed under the
  direction of the 2012 national forest planning rule, and will certainly be used as a model for other forest
  plan revisions across the country. The TRCP and several sporting organizations from across the country
  were engaged throughout the 2012 rule-making process and offered significant public comment on the
  new planning rule. Some key points from the final planning rule, and are relevant here, are as follows:


  •   Guide management so lands are ecologically sustainable and contribute to social and economic
      sustainability; consist of ecosystems and watersheds with ecological integrity and diverse plant
      and animal communities; and have the capacity to provide people and communities with
      ecosystem services and multiple uses that provide a range of social, economic, and ecological
      benefits for the present and into the future. These benefits include clean air and water; habitat
      for fish, wildlife, and plant communities; and opportunities for recreational, spiritual,
      educational, and cultural benefits.

  •   The responsible official shall use the best available scientific information to inform the planning
      process required by this subpart. In doing so, the responsible official shall determine what
      information is the most accurate, reliable, and relevant to the issues being considered. The
      responsible official shall document how the best available scientific information was used to
      inform the assessment, the plan decision, and the monitoring program as required in §§
      219.6(a)(3) and 219.14(a)(4). Such documentation must: identify what information was
      determined to be the best available scientific information, explain the basis for that
      determination, and explain how the information was applied to the issues considered.


  •   Plans must establish width(s) for riparian management zones around all lakes, perennial and
      intermittent streams, and open water wetlands, within which the plan components required by
      paragraph (a)(3)(i) of this section will apply, giving special attention to land and vegetation for
      approximately 100 feet from the edges of all perennial streams and lakes.


  •   Requirements for plan components for a n^w plan or plan revision. (1) The plan must include
      plan components, including standards or guidelines, to provide for:

              (   i)   Sustainable recreation; including recreation settings, opportunities, access; and
                       scenic character. Recreation opportunities may include non-motorized,
                       motorized, developed, and dispersed recreation on land, water, and in the air.




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  •   Timber harvest would be carried out in a manner consistent with the protection of soil,
      watershed, fish, wildlife, recreation, and aesthetic resources.


  •   Coordinate with other federal agencies, States, counties, and local governments, including State
      fish and wildlife agencies, State foresters and other relevant State agencies. Where appropriate,
      the responsible official shall encourage States, counties, and other local governments to seek
      cooperating agency status in the NEPA process for development, amendment, or revision of a
      plan.


  •   Habitat conditions, subject to the requirements of § 219.9, for wildlife, fish, and plants
      commonly enjoyed and used by the public; for hunting, fishing, trapping, gathering, observing,
      subsistence, and other activities (in collaboration with federally recognized Tribes, Alaska Native
      Corporations, other Federal agencies, and State and local governments).


  •   Provide multiple-use language for sustainable cultural and historic uses such as hunting, fishing,
      trapping and horse packing.


  In addition to these more specific recommendations, the TRCP and its partners generally agreed with
  the planning rule’s focus on ecological integrity and sustainability of terrestrial and aquatic ecosystems,
  social and economic sustainability, robust adaptive management, maintaining long-term benefits to
  habitats for fish and wildlife, and maintaining opportunities for a variety of recreation opportunities,
  including primitive and semi-primitive hunting and fishing.


  Overall, we feel the FS did well incorporating the principles and direction mandated in the 2012 forest
  planning rule. Below, we discuss some topline issues within the sporting community, as related to the
  Need for Change and Proposed Actions.


  Habitat Management


  The RGNF holds a number of game species that are enjoyed and used by the public and are important in
  maintaining economic activity on the forest. Of those, mule deer, bighorn sheep, and RGCT have the
  highest priority due to their populations being in known decline or very sensitive to changes in their
  habitats. For this reason we ask that special attention be placed on these three species.


  Mule deer


  Of these three species, only mule deer are not included on the Regional Forester’s list of Species of
  Conservation Concern for the RGNF. We ask that the Regional Forester and Forest Supervisor place mule
  deer on this list.


  Although mule deer populations are relatively stable in the RGNF, their documented decline across
  many Western states shows the need to get ahead of problems in areas where mule deer populations


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  have been stable, and to take measures to, at the least, maintain population levels, while making an
  effort to increase populations where wildlife professionals, including Colorado Parks and Wildlife (CPW),
  feel that an area may be capable of supporting more deer through various management measures.


  Numerous studies and reports have documented the decline of Mule deer across their range and we
  urge the USFS to do a thorough review of studies done by the Western Association of Fish and Wildlife
  Agencies (WAFWA), CPW, and others when considering the inclusion of Mule deer in the list of Species
  of Conservation Concern. Included with these comments is a list of recommended literature on Mule
  deer, although we’d like to highlight the 2003 WAFWA report1 prepared by their Mule deer working
  group, and WAFWA’s 2016 2016 Range-Wide Status of Mule Deer and Black-Tailed Deer2 that contain a
  wealth of information on the justification for including Mule deer on the list of Species of Conservation
  Concern.


  Bighorn sheep


  Bighorn sheep are recognized as Species of Conservation Concern which are well addressed by
  management zones in the proposed action. In addition to managing these areas for the long-term
  security of bighorn sheep, buffers between domestic grazing and wild bighorn sheep populations should
  be established that are based on the best available science and circumstances on the ground.


  We recommend using the management direction outlined in the 2009 CPW Bighorn Sheep Management
  Plan covering management through 20193.


  Rio Grande Cutthroat Trout


  RGCT are also recognized as a Species of Conservation Concern and are well addressed in the proposed
  action. It is crucial that as the planning process proceeds, the USFS take into consideration the
  conservation needs of RGCT.


  We recommend following the management direction outlined in the 2013 CPW conservation strategy
  for RGCT4.



  1 Western Association of Fish and Wildlife Agencies, Mule Deer Working Group. 2003. Mule Deer in the
  West: Changing Landscapes, Changing Perspectives.
  2http://www.wafwa.org/Documents%20and%20Settings/37/Site%20Documents/Working%20Groups/Mule%20De
  er/Publications2/2016 Mule Deer and BTD Status Update Final.pdf
  3 George, J.L., Kahn, R., Miller, M.W., Watkins, B. 2009. Colorado Bighorn Sheep Management Plan.
  Colorado Division of Wildlife, Denver, CO.
  https://cpw.state.co.us/Documents/WildlifeSpecies/Mammals/ColoradoBighornSheepManagementPlan
  2009-2019.pdf'
  4 RGCT Conservation Team. 2013. Rio Grande cutthroat trout (Oncorhynchus clarkii virginalis)
  Conservation Strategy. Colorado Parks and Wildlife, Denver, CO.
  https://cpw.state.co.us/Documents/Research/Aquatic/CutthroatTrout/2013RGCTConservationStrategy.
  pdf

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   Management Areas and Habitat


   As recognized in the management area for deer and elk winter range, these habitats are crucial for
   maintaining populations commensurate with CPW population objectives. We also recommend that
   other important habitats recognized by CPW for deer and elk, as well as pronghorn and moose be added
   to a big game management unit (please see the ungulates section of the referenced and recommended
   literature section of these comments for numerous studies outlining the importance of these habitats).
   Habitat delineations that we recommend for inclusion are below:


   Elk: migration corridors, migration patterns, production areas, summer concentration areas, and all
   winter ranges.


   Moose: all ranges.


   Mule deer: concentration areas, migration corridors, migration patterns, summer ranges, and all winter
   ranges.


   Pronghorn antelope: concentration areas, migration corridors, migration patterns, perennial water
   sources, and all winter ranges.


   Other Socially and Economically Important Species


   We recommend that other important species that are enjoyed by the public be given a broad-scale
   management direction with a goal to maintain these populations and their habitat indefinitely. Species
   include black bear, mountain goats, mountain lions, waterfowl, and wild turkey.


   Fisheries and Aquatic Resources


   Great fishing opportunities exist throughout the forest for a range of species and have a significant
   impact on local economies. Substantial research56 shows that the health of most game fish populations
   is dependent on healthy watersheds, aquatic habitats and sufficient riparian vegetation to maintain a
   properly functioning ecosystem. In general, fisheries are healthy in the RGNF. We appreciate the goals
   for maintaining water and aquatic resources in the proposed action, but recommend the inclusion of a
   goal to maintain high quality wild trout fisheries, with the preference for conserving and maintaining
   natural fish habitat.


   Coordination with Colorado Parks and Wildlife


   5 Williams, J.E., R.N. Williams, R.F. Thurow, L. Elwell, D.P. Philipp, F.A. Harris, J.L. Kershner, P.J. Martinez, D. Miller,
   G.H. Reeves, C.A. Frissell, and J.R. Sedell. 2011. Native Fish Conservation Areas: a vision for large-scale
   conservation of native fish communities. Fisheries 35:267-277.
   6 Dauwalter, D.C., H.M. Neville, and J.E. Williams. 2011 A Landscape-based Protocol to Identify Management

   Opportunities for Aquatic Habitats and Native Fishes on Public Lands, Phase II: Upper Colorado River Basin. Report
   to U.S. Bureau of Land Management per Cooperative Agreement PAA-08-0008. Trout Unlimited, Boise, Idaho.

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   As mentioned, the 2012 national forest planning rule requires the forest to coordinate with state and
   local wildlife management agencies. Coordination between the USFS and CPW has been sufficient and
   we encourage continued coordination with CPW on species and habitat management. It is especially
   important that population objectives set by CPW for species discussed here are honored through
   coordinated management practices that restore, maintain, and enhance these populations and their
   habitats.


   Roadless Lands


   The TRCP and several partners were also engaged throughout the Colorado Roadless Rule making
   process and several of the recommendations submitted by sportsmen were considered and
   incorporated in the final rule. It is great to see the USFS using these policies directly in the proposed
   action for the RGNF plan and encourage this in the final plan. Many of the Upper Tier roadless lands are
   extremely valuable areas for fish, wildlife and hunting and fishing. We strongly support the delineation
   of roadless geographic areas that includes separate management areas for general and upper tier
   roadless lands.


   Importance of Access


   Although we are at a point in the planning process that doesn’t address travel management, we want to
   express the importance of retaining access for recreation where agreed upon through a public process.
   We encourage the USFS to consider reasonable sporting access during future travel management
   planning during the forest plan implementation process.


   We also recommend that the USFS look into ways of improving access to parts of the forest that may be
   difficult to access or landlocked within private property boundaries. In addition we recommend that the
   USFS develop priorities for future land and/or easement acquisitions that would facilitate increasing
   access these hard to reach areas.


   Other Relevant Management Areas


   Backcountry Management Area


   Backcountry lands in the RGNF offer a unique opportunity for primitive and semi-primitive recreation
   including hunting and fishing. These lands also provide important habitat security for mule deer and elk.
   Although backcountry lands often overlap with lands recognized as roadless, or those recognized for
   their habitat values, this isn’t always the case. We appreciate the inclusion of the backcountry
   management area that focuses on providing these quality hunting and fishing opportunities and is
   dedicated to maintaining the undisturbed character of these lands.


   Bighorn Sheep Management Area




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   The bighorn sheep management area is a great way to focus additional management attention to this
   crucial species. We recommend that the USFS establish a strict buffer between domestic and wild sheep
   that ensures no physical contact between domestic and wild sheep and prevents overlap within
   seasonal habitats that could lead to the transmission of disease.


   Timber Management


   As mentioned in the USFS planning documents, timber management in the RGNF is primarily being done
   with by salvaging beetle kill spruce timber for wood products, and some operations focused on
   mimicking natural disturbance events. We recommend the prioritization of active restoration to use
   harvest as management tool in restoring and enhancing fish and wildlife habitat, especially crucial
   habitats, where appropriate.


   We also recommend that the USFS develop vegetation management objectives for roadless areas in a
   way that is consistent with the Colorado Roadless Rule. The roadless rule allows for vegetation
   management as long as it maintains the characteristics of roadless areas (see section § 294.42
   Prohibition on tree cutting, sale, or removal). We believe that some habitat restoration can occur in
   roadless areas in a way that is consistent with the rule, such as aspen regeneration projects.



   Wildfire Management


   The most important aspect of wildfire management is the protection of life and property. We fully
   support the direction of the USFS regarding fire management on the wildland urban interface.


   In areas of the forest that are not important for community protection, natural fire process in the RGNF
   have largely been suppressed and the fuel loads are generally high. As recommended in the USFS
   planning documents, we recommend following the direction of the fire management zones. As
   discussed, fire management can often be used as a tool in wildlife management as it can be a great
   benefit to wildlife pursued by hunters and anglers. As the planning process moves forward we
   recommend identifying areas where fire can used as a management tool to enhance and restore wildlife
   habitat values.


   Implementation and Adaptive Management


   In order for the USFS’s planning efforts to be successful, significant implementation, monitoring, and
   adaptive management measures need to be implemented thoroughly and responses need to be as close
   to real time as possible. If implemented thoroughly, we feel that the general management direction
   outlined in the need for change and proposed actions (following the direction of the 2012 planning rule)
   would go a long way in ensuring proper adaptability of the management situation over the life of the
   plan.


   We strongly support efforts to increase funding for actions that will allow for the proper implementation
   of federal land management plans.


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   Conclusion
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   In general, we feel that the USFS is moving in the right direction in efforts to strike a balance between   o
   maintaining access to hunting and fishing, providing long-term recreation opportunities, allowing for a
   wide range of multiple uses, and safeguarding important fish and wildlife habitat. We feel that
   incorporating the recommendations discussed in these comments would go a long way in helping to
   achieve this balance and we strongly encourage the USFS to consider them as you move forward in the
   planning process.
                                                                                                               psi
   We appreciate the opportunity to provide comments on changes that we feel are appropriate at this
   stage of the planning process, are supported by science and hunters and anglers, and are realistic given
   the reality of the management situation on the ground. We look forward to continuing to work with the
   USFS and other stakeholders to add to these comments and provide any further information that is
   needed as this process moves forward.


   Sincerely,




   Nick Payne
   Colorado Field Representative
   Theodore Roosevelt Conservation Partnership
   1440 Williams St. C.
   Denver, CO 80218


   Please send replies to the address above and:


   TRCP
   529 14th Street NW, Suite 500
   Washington, D.C. 20045


   CC:


   Erin Minks
   eminks@fs.fed.us


   Mike Blakeman
   mblakeman@fs.fed.us


   Referenced and Recommended Literature




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   Attachments


   TRCP. 2013. The economic impact of hunting and fishing in Colorado.


   TRCP. 2012. The buck stops here: sportsmen safeguarding our National Forests & Grasslands.


   TRCP. 2011. Proposed CO rule sportsmen's solutions.


   Bighorn Sheep


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   Rio Grande Cutthroat Trout


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   TROUT
   UNLIMITED


   Sent via email to: rgnf_forest_plan@fs.fed.us

   October 28, 2016

   Erin Minks
   Forest Planner
   Rio Grande National Forest
   Forest Plan Revision
   1803 US Hwy 150
   Monte Vista, CO 81132


   RE: Comments on Rio Grande National Forest Plan Revision Process: Proposed Action



   Dear Ms. Minks,

   Please accept the following comments from Trout Unlimited (TU) on the Rio Grande National Forest’s
   (RGNF) Proposed Action document. We appreciate the Forest Service’s invitation to participate in the
   planning process and for working with TU and other stakeholders in the assessment phase under the 2012
   Planning Rule.

   Trout Unlimited is the nation’s oldest and largest coldwater conservation non-profit organization with
   more than 150,000 members nationwide dedicated to conserving, protecting and restoring North
   America’s trout and salmon fisheries and their watersheds. Since 1959, TU staff and volunteers have
   worked toward the protection of sensitive ecological systems necessary to support robust native and wild
   trout populations in their respective ranges. We recognize the high value of public lands and the role
   public lands play in providing habitat to coldwater fisheries, drinking water, and wildlife habitat. Trout
   Unlimited believes that the actions taken on public lands are ultimately reflected in the quality of fish and
   wildlife habitat and their populations.

   In Colorado, TU plays a critical role in watershed conservation, restoration, and rehabilitation on public
   lands, particularly our forests. Twenty-four chapters and 10,000 members statewide actively participate in
   projects with the National Forest, local communities, and private landowners in order to maintain the
   larger important forest landscape that is so vital to the social and economic community in this area. The
   San Luis Valley TU chapter has a long term relationship with the Rio Grande National Forest including
   recent projects such as restoration on the Hidden Mile of the Conejos, and native Rio Grande cutthroat
   trout reintroduction.

   The RGNF is host to the majority of all headwater habitat for a truly unique and native fish - the Rio
   Grande cutthroat trout (RGCT). Because these fish are only found in specific and limited places,




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   protection of their watersheds and habitats are especially important. Rio Grande cutthroat trout have
   adapted to this region for eons; they are a part of our culture and angling heritage. Trout Unlimited has
   worked on RGCT issues consistently over many years, and we are excited to take advantage of this
   opportunity in the planning process to ensure even better protections for these fish.

   As sportsmen we have considerable stake in the management direction, strategy, and priorities of the
   RGNF’s new planning process. These are the lands on which we fish and hunt, and we feel privileged to
   participate in the public process that guides the management of those resources. Members of TU believe
   in multiple uses of the forest but care deeply about the coldwater fisheries, big game habitat, pristine
   watersheds, and backcountry areas. We look forward to working with the Forest Service throughout the
   plan revision process.



   The Sportsmen’s Vision for the Rio Grande National Forest

   Angling and hunting are important uses of National Forest lands. These uses are dependent on high
   quality waters, outstanding habitat conditions, intact watersheds and appropriate access. Typically these
   uses are lumped in with other recreational uses such as hiking, skiing, sightseeing and camping and
   receive no specific management guidance. Frequently there is significant attention to biodiversity,
   viability and habitat conditions but rarely if ever is there a direct linkage to sportsmen and their use of
   these public lands for their traditional activities.

   The focus on habitat and biological needs of fish and wildlife species is certainly needed and an important
   component of a well-developed Forest Plan but it often provides little incentive for the sportsmen/women
   community to become engaged in the Forest Service planning process. Through the use of various
   management tools, Trout Unlimited (TU) hopes to assist the Forest Service in their planning to the benefit
   of multiple uses and traditional sporting values.

   What follows under the “Sportsmen’s Vision” section are geographical areas of concern and some
   considerations for their management. Discussed elsewhere in this document are possibilities of how these
   considerations might become reality in a revised forest plan. Please refer to the attached map for more
   detailed locations of defined areas.

   Trout Unlimited realizes that complexity in management designations can be challenging for Forest
   Service managers to implement. However, we feel that within the new planning framework there are
   multiple scenarios where layered management directions would be a benefit when it comes to the
   management of fish and wildlife habitat and their recreational uses, and Trout Unlimited asks them to be
   considered under an Alternative in the Revised Forest Plan. What is most important, regardless the
   designation associated with these recommendations and polygons, is the focus on management from a
   fish and wildlife centric point of view.



   Sportsmen's Emphasis Areas

   Generally, a Sportsmen's Emphasis Area (SEA) could be defined as "a geographic area that is managed



    Trout Unlimited Comments to: The Rio Grande National Forest Plan: Proposed Action                            2

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   with an emphasis on providing quality opportunities for angling and hunting by protecting and restoring
   fish and wildlife habitat for key species.”

   Considerations for management o^f all Sportsmen's Emphasis Areas:

        •    Big Game
                  o Promote backcountry hunting experiences by limiting new road and trail development in
                      existing roadless areas
                  o Develop road and trail density guidelines and alignments that are conducive to intact big
                      game habitat
                  o Seasonal closures to motorized trail travel in roadless areas to coincide with archery
                      season where appropriate
        •    Fisheries
                  o Prioritize watersheds with wild and native fisheries wherever possible for restoration or
                      improvement
                  o Manage fisheries for high quality and also for recreational use
                  o Maintain or improve riparian health
                  o Manage waterways to retain their outstanding Wild and Scenic values
        •    Stipulations to future development scenarios to protect fish and big game habitat such as No
             Surface Occupancy (NSO), No Ground Disturbance (NGD), and Timing Limitations (TL), where
             appropriate
        •    Seasonal closures and timing restrictions to permitted industries where beneficial to greater health
             of fish and wildlife



   Areas to consider as Sportsmen’s Emphasis Areas:

   Saguache Park Area

   Suitability

        •    Rio Grande cutthroat trout in upper reaches of watershed
        •    Nearly every big game species represented for hunting
        •    Connection between high alpine environments to low lying sagebrush and winter range with little
             to no disturbance
        •    Geographically isolated from major population centers
        •    Limited total existing roads and trails
        •    Low elevation canyon habitat for Big Horn Sheep
        •    Saguache Creek is Wild and Scenic Eligible
        •    Potential future RGCT restoration sites

   Divide Peaks Area

   Suitability




   Trout Unlimited Comments to: The Rio Grande National Forest Plan: Proposed Action                            3

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        •    Superb big game habitat, home to Game Management Unit 76, one of the most sought after elk
             units in the state
        •    Big Horn Sheep production and concentration areas
        •    Moose priority habitat
        •    Connections to large areas of existing wilderness and upper tier roadless areas
        •    Many coldwater fisheries, both streams and stillwater
                 o Unique lake run populations

   Silver Peak Area

   Suitability

        •    Includes largest Elk production area on the RGNF as well provides as severe winter range
        •    Big Horn Sheep winter and summer habitat concentrations
        •    Many native trout strongholds including Jim Creek RGCT Focus Area
        •    Provides watershed protection for Wild and Scenic eligible portion of Conejos River
        •    Encompasses a large continuous section of upper tier roadless area

   Los Pinos Area

   Suitability

        •    Provides crucial protection for highly important game migration corridor from Carson National
             Forest to the south
        •    Harbors many native trout fisheries
        •    Hosts migration corridors from summer to winter range for local herds
        •    Connects adjacent public lands and similar management goals with larger landscape of the greater
             Rio Grande basin



   Rio Grande Cutthroat Trout Focus Areas

   Rio Grande cutthroat trout currently occupy only 12% of their native stream habitat. There has been
   significant work on this Forest and others to achieve a sustainable population of these remarkable fish
   across the larger landscape, and the current Forest Plan revision is a chance to assist those efforts and
   promote the long term success of our native fish. It is a chance for partnering with other organizations and
   scientific efforts, and probably the best chance we have collectively to meet some of the goals of the 2013
   Rio Grande Cutthroat Trout Conservation Strategy1.

   Specially designated locations and areas on the Forest would go a long way in meeting many of these
   directives as well as overall Forest-wide goals and objectives. The proposed RGCT Focus Areas would
   protect the legacy fish of this region by facilitating future protections, studies, and reintroduction and


   'RGCT   Conservation Team. 2013. Rio Grande cutthroat trout (Oncorhynchus clarkii virginalis) Conservation
   Strategy. Colorado Parks and Wildlife, Denver, CO.
   https://www.fws.gov/southwest/es/newmexico/documents/RGCT conservation strategy final 12-10-13.pdf


    Trout Unlimited Comments to: The Rio Grande National Forest Plan: Proposed Action                           4

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   protect current populations. Be this designation a Special Wildlife Management Area, or under a
   Conservation Watershed Network (see comment section below), we feel that the Plan Revision should
   address this topic in detail in a proposed Alternative.

   Considerations for management o^fall RGCT Focus Areas:

        •    Prioritization of partner projects for restoration and rehabilitation
        •    Where appropriate recommend designations of recreational populations of RGCT
        •    Any timber sales need be consistent with the priority purpose of restoration and protection of Rio
             Grande cutthroat trout
                 o Additional analysis process for any timber harvest permits to prioritize projects reducing
                      risk of post fire flooding and meet strict standards to protect waterways from potential
                      negative impacts
        •    No new extractive energy and mineral leases in conservation population watersheds - dependent
             on future success of maintaining these populations and establishment of new ones
        •    Strict water quality and riparian health standards, focused on health of RGCT, which are
             measureable incorporated into the Forest monitoring plan
        •    Reevaluation of grazing allotments overlapping known RGCT populations and future project
             areas to encourage mutually beneficial riparian use for fish and permittee

   Sangre De Cristo Area

   Suitability

        •    Emerging research on existing pure populations
        •    Unique remoteness and lack of motorized access provides very strong protections
        •    Habitat is relatively safe from future climate concerns

   Carnero Creek Area

   Suitability

        •    Recent history of multiple populations across a large watershed
        •    Potential for a recreation population due to current uses
        •    Former and ongoing FS/USGS projects to improve habitat - culvert removal

   Jim Creek Area

   Suitability

        •    Heavy investment from many stakeholders in Jim Creek restoration
        •    Projects ongoing and approved for future years



   Priority Watersheds




   Trout Unlimited Comments to: The Rio Grande National Forest Plan: Proposed Action                              5

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   Trout Unlimited acknowledges that the definition of a Priority Watershed in the plan revision process
   comes with official distinctions. The Watershed Condition Framework is the primary guiding tool for the
   evaluation of watershed health across the Forest. Ultimately the outcome of the Framework analysis
   guides management objectives, but it also prioritizes work and funds on the ground. Because the
   evaluation framework is not open for public comment, and because Trout Unlimited has concerns about
   the scale of the analysis (level 8 watersheds) we have included here some watersheds to consider for
   further evaluation of overall health. Please also consider these watershed’s potential for having restoration
   work and resources allocated, and ultimately for their inclusion as priority watersheds with the hopes of
   meeting forest wide objectives for their improvement over the course of the revised plan’s lifespan. Put
   more plainly, we feel the following places would be good candidates for measureable improvement and
   TU would like to assist in any such improvement efforts in these watersheds specifically.

   Considerations for management o^f all Prioriiy Watersheds:

        •    Prioritization to protect and restore watershed and riparian conditions
        •    Reevaluate future threats and past impacts to individual watersheds - mining, energy
             development, overgrazing, timber harvest etc and create management plan accordingly
        •    Inventory species of conservation concern within watersheds

   Middle Creek Watershed

   Suitability

        •    Multiple conservation populations of RGCT
        •    Severe watershed and riparian degradation in certain areas
        •    Existing and future projects
        •    Grazing leases throughout - potential for future partnership

   Kerber Creek Watershed

   Suitability

        •    The only watershed on the forest listed as in "poor" condition
        •    Long legacy of mining affects to watershed and aquatic health
        •    Existing efforts in restoration of mining impacts by Forest Service, State of Colorado, private
             land owners, and Trout Unlimited

   Upper Saguache Creek Watershed

   Suitability

        •    Current RGCT populations and high potential for future projects
        •    Conditions have been degrading in overall watershed health and riparian ecosystem health - now
             is the chance to reverse this trend for multiple benefit

   West Alder Creek Watershed




    Trout Unlimited Comments to: The Rio Grande National Forest Plan: Proposed Action                          6

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   Suitability

            •     Stronghold conservation population of RGCT

   Lake Fork of the Conejos Watershed

   Suitability

            •     Upper tier roadless
            •     Under threat from increased motorcycle use
            •     RGCT in fluvial and lacustrine populations

   Upper Chama River Watershed

   Suitability

        •       Only existing priority watershed on the Forest
        •       Pristine condition in upper reaches but faces multiple threats from human impact



   Protect Big Game Habitat

   Conservation of big game means looking at the big picture. Landscape level movement, high quality
   waters, outstanding habitat conditions, intact watersheds and appropriate access all play a part. Our vision
   looks at the big picture view and asks for a practical management strategy on the Rio Grande National
   Forest.

   A combination of Big Game Emphasis Areas and Sportsmen's Emphasis Areas would provide a means
   for protecting the sustainability of big game herds and habitat while promoting the recreational pursuit of
   game. This layout includes a balance of backcountry areas for game refuge and quiet hunting
   opportunities, while recognizing the need and want for other ways of accessing productive hunting
   grounds.

   Considerations for management of all Big Game Protection Areas:

        •       Seasonal closures for motorized trail travel
        •       Road closures where appropriate
        •       Area closures in concentrated areas of severe winter range
        •       Timing restrictions on industrial and permitted use
        •       Closure to over snow motorized travel off of designated routes

   Cyclone Mountain Area

   Suitability

        •       Winter Range for Elk and Mule Deer
        •       Largest concentration of Severe Winter Range for both species on RGNF



   Trout Unlimited Comments to: The Rio Grande National Forest Plan: Proposed Action                             7

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        •    Migration corridors connects from Weminuche and La Garita Wilderness and Saguache Park
             Sportsmen's Emphasis Area

   The Sportsmen's Vision

   The Sportsmen's Vision for the Rio Grande National Forest would protect and enhance key fish and
   wildlife habitat while providing opportunities for traditional sporting values. As hunters and anglers we
   rely on the land in ways that other recreationists don't. As such, our responsibility is to a large landscape
   and a larger set of parameters.

   It is well known that places void of large human influence are of pristine nature and typically provide the
   best quality fishing, hunting, and backcountry experience. Wilderness and Roadless Areas have been
   previously identified. Combining and linking these already designated areas with the Geographic and
   Management Areas of the Sportsmen's Vision showsa landscape that is not only diverse in its possible
   uses, but also in its protections.

   The vision presented here accounts for a large portion of the total forest, but does so in a way that is
   inclusive of many interests. We feel this vision would create an outstanding future for the users of the Rio
   Grande National Forest and for the wildlife and habitat they depend on.



   General Comments to the Proposed Action

   Conservation Watershed Networkfor Native Fish

   Trout Unlimited would like to bring forward a tool used recently in other Forest Plan revisions for a forest
   wide analysis, yet watershed based, approach to managing native fish habitat. From Appendix E of the
   Flathead National Forest’s Draft Revised Forest Plan2:

             A Conservation Watershed Network is a collection of watersheds where management emphasizes
             habitat conservation and restoration to support native fish and other aquatic species. The goal of
             the network is to sustain the integrity of key aquatic habitats to maintain long-term persistence of
             native aquatic species. Designation of Conservation Watershed Networks, which should include
             watersheds that are already in good condition or could be restored to good condition, are expected
             to protect native fish and help maintain healthy watersheds and river systems. Selection criteria for
             inclusion should help identify those watersheds that have the capability to be more resilient to
             ecological change and disturbance induced by climate change. For example, watersheds
             containing unaltered riparian vegetation will tend to protect streambank integrity and moderate the
             effects of high stream flows. Rivers with high connectivity and access to their flood-plains will
             experience moderated floods when compared to channelized and disconnected stream systems.
             Wetlands with intact natural processes slowly release stored water during summer dry periods,
             whereas impaired wetlands are likely less effective retaining and releasing water over the season.
             For all of these reasons, Conservation Watershed Networks represent the best long-term
             conservation strategy for native fishes and their habitats.


   Applied to the Rio Grande National Forest, Trout Unlimited feels that this type of multi-scale analysis
   and corresponding management directives would be an outstanding way to accomplish a host of Forest-

   2 http://www.fs.usda.gov/Internet/FSE DOCUMENTS/fseprd502201.pdf


   Trout Unlimited Comments to: The Rio Grande National Forest Plan: Proposed Action                                 8

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   wide goals while still allowing flexibility and adaptive management on the ground and at the project
   level. This Native Fish specific outlook is especially practical on the Rio Grande National Forest because
   of the nature of the designated protections in the headwaters. The Flathead National Forest’s Draft
   Revised Forest Plan raises the same point:

             Many watersheds on the forest that support the healthiest populations of native trout already have
             their headwaters protected through lands managed as Congressionally-designated wilderness areas
             or the Flathead’s wild and scenic rivers. These special places are the building blocks of a
             conservation network as naturally functioning headwaters have a large influence on the function of
             downstream stream reaches.

   Pages 20-21 of the Flathead National Forest’s Draft Revised Forest Plan outline Desired Conditions,
   Objectives, and Standards and Guidelines for the areas considered as a Conservation Watershed Network.
   TU feels these are good examples, but would like to work with Forest staff to evaluate what might be
   more applicable to the local landscape and the RGCT specifically.

   Following the Forest Wide Directive of Conservation Watershed Network in the Flathead National Forest
   Draft Revised Forest Plan is the establishment of Riparian Management Zones3. These Zones, applied to
   watersheds without native fish, would complement the Conservation Watershed Network and provide the
   best possible management parameters towards meeting the Forest-wide goals of this plan revision. Many
   of the other suggested areas in this document could easily fall under these two categories, and would
   perhaps better suit the plan revision framework as discussed in the Proposed Action.

   The development and incorporation of a Conservation Watershed Network for Native Fish and Riparian
   Management Zones, or some combination of the two, into the Forest-wide Directives of the preferred
   Alternative is Trout Unlimited’s primary suggestion and contribution in this forest plan revision process.
   We believe that this could be a giant step in the right direction for the Rio Grande cutthroat trout in the
   context of the most recent science, and would open the doors for years of future partnerships and on the
   ground implementation on the Rio Grande National Forest. Trout Unlimited would be excited to
   participate in the creation of a similar, locally sensitive, framework and to be active in the implementation
   of those objectives throughout the lifespan of the newly revised Rio Grande National Forest Plan.

   Suction Dredge Mining

   Suction dredge mining is an increasingly important topic of consideration for Trout Unlimited. This type
   of extraction comes with the possibility of negative impacts to fish and fisheries. At a small or large scale,
   the basis of operation is set up to be damaging to waterways. The best case scenario in these instances is
   site specific impact, and the worst case being long lasting and widespread implications. Whether
   recreational use or otherwise, Trout Unlimited would like to see some directives in this plan revision
   specifically to address suction dredge mining on the Rio Grande Forest. Trout Unlimited does not stand
   against all suction dredge mining, but the current free-for-all policy would be potentially problematic and
   better addressed in the plan revision than a plan amendment. As an organization, TU has worked on this
   issue from state legislatures down to project level and would be interested in working with the Forest in
   more detail to craft specific language for suction dredge mining.



   3 Flathead National Forest Draft Revised Forest Plan, p 21-23.


   Trout Unlimited Comments to: The Rio Grande National Forest Plan: Proposed Action                              9
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   Specific Comments to the Proposed Action

   Strategic Framework

            Table 1.1 Management Area Designations - Management Area Integer

   The topic of Management Area Integers and “Overall Area Emphasis” as seen on page 3 of the Proposed
   Action should be expanded. As discussed throughout this document, the inclusion of fish and wildlife
   focused management is lacking, and this is a possible strategy Trout Unlimited would recommend for
   incorporating some of the proposed “Sportsmen’s Vision”. We would see the benefit in reorganizing
   numbers 4 and 5 specifically (PA Table 1.1, p. 3). Also, justification and explanation for these
   management integers, as well as associated Desired Conditions, monitoring protocol, and Standards and
   Guidelines is missing.

   Without more information it is difficult to comment on these distinctions, however a recreational specific
   overall area emphasis, represented by the first integer, with a smaller integer to focus on sporting
   recreation would be advantageous in formulating corresponding resource directions for managing
   activities on the forest. Trout Unlimited certainly feels as though lumping together of hunting and fishing
   into other recreation is a far stretch, and should be outstanding from generic recreation as well as
   “General Forest Management” under integer 4. Not only do these types of recreation require different
   management approaches, their financial commitment to management and conservation on the forest is
   second to none. To increase partnership participation and engagement with active management a specific
   Sportsmen’s focus would go a long way.

   Here too would be a logical fit for incorporating a Conservation Watershed Network and Riparian
   Management Zones.

   Forest-wide Goals

   In general, Trout Unlimited applauds the goals as stated and discussed in the Proposed Action. They are
   well guided and forward thinking. All goals match up well with the mission of Trout Unlimited, and the
   Sportsmen’s Vision for the forest. Especially important, we feel, are the opportunities for collaboration
   and partnership when specifically applied to watershed and ecosystem health. In the development of the
   DEIS, we hope to see further explanation of these possibilities. Trout Unlimited would like to be
   considered partners in these efforts and will continue to remain engaged and active in the plan revision
   process and into the future implementation of the plan.

   To add to an already substantial Goal 3, TU suggests adding language from the original National Forest
   Reserve Act of 1891 to protect and manage watershed and forest health for the benefit of flood mitigation,
   water supply and water quality.



   Strategic Domain

   Forest-wide Desired Conditions




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   Not noted in the Proposed Action is any need for change from the 1996 Desired Conditions. Trout
   Unlimited agrees that the language in the majority of the Forest Wide Desired Conditions is good; but we
   feel that acknowledging the changes since the past plan was originally created need to be a part of the
   revision process. Changes in local economy, forest based economy, recreation, and science should all be
   guides for going forward. The new goals are set and desired conditions established for ways of guiding
   management towards those goals. At the least, some of that language reflected in the Desired Conditions
   would be a welcome addition.

   Water and Aquatic Resources

   Overall, we believe the generic terms listed as Desired Conditions under the 1996 plan to be mostly
   satisfactory. Natural fish habitat above manufactured, natural processes for naturally maintaining stream
   health, and connectivity to natural floodplains are all certainly important desired conditions. We would
   add that these conditions be used in evaluation of successful watershed management in the new plan’s
   lifespan. Consider too, that overall watershed health is going to change tremendously in response to
   disturbances in the forest health, and projections of decreased total precipitation input and in more severe
   but less frequent events. The water and aquatic resource desired conditions could contain more specific
   language to beetle kill and climate change. One place this could be of importance is a better descriptor of
   healthy watersheds as a whole, and specifically their headwaters. Resiliency in these systems will be
   paramount to meeting the Forest’s desired conditions, objectives, and goals.

   Minerals

   Trout Unlimited would also like to see historic mining problems corrected and cleaned up. Our
   involvement in the Kerber Creek drainage has been an example of a success story where collaboration
   and partnerships can be beneficial to all. Trout Unlimited would like to pursue more mine cleanup
   projects across the Rio Grande Forest. Additionally, as mentioned elsewhere in this document, TU is
   concerned with suction dredge mining. Whether this is addressed under mineral extraction or recreation
   or both, it needs more attention and an update from the previous plan.

   Recreation

   Recreation, we feel has changed significantly since the 1996 plan and updated Desired Conditions should
   match. Two recommendations to this section would be to monitor and minimize destructive recreational
   uses, and to reduce recreational user conflict. As stated above, recreational suction dredge mining would
   be an example of where these issues are played out.

   Oljectives

   Objectives specifically for RGCT are missing from the Proposed Action, and from the 1996 plan.
   Considering the amount of science on the subject since the last plan, Trout Unlimited feels it necessary to
   update the objectives in the plan revision. These objectives should complement the 2013 Rio Grande
   Cutthroat Trout Conservation Strategy and the 2014 Species Status Assessment Report for the Rio
   Grande Cutthroat Trout4. Objectives could indicate the number of stream segments recommended for


   4 U.S. Fish and Wildlife Service. 2014. Species status assessment report for the Rio Grande
   cutthroat trout. Albuquerque, NM.


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   restoration, metrics of improvements to riparian or watershed condition, or recreational populations
   established.

                       OBJ GF3: Take action to maintain, enhance, or improve condition on three to five
                       meadows within 10 years of plan approval.

   Trout Unlimited has been partner to wet meadow restoration projects just to the south in the Carson
   National Forest over several previous years. In that example, wet meadow restoration on the Carson has
   been sustained at a rate greater than one meadow per year. Using these successes as a guide, a more lofty
   goal of more meadows should be taken on. We also recommend that a different metric be used for the
   rubric of these projects since meadow function is complex and varied across the landscape. Acres or
   estimated water storage might be better numbers to assign to this objective in hopes of doing better and
   more informed work rather than necessitating inflexibility in the years to come.

                       OBJ GF4: Take action to maintain or restore structure, composition, or function of
                       habitat for fisheries and other aquatic species along 3 to 5 miles of stream over a 10-year
                       period.

   This goal, although good in intent, is unambitious. Trout Unlimited urges the Forest to do more for the
   remarkable fisheries and native fish on the forest. We suggest the Forest to use existing partnerships, such
   as with TU, to set a higher mileage mark for annual fishery improvement. 3 miles per year would be more
   in line with our goals than 3 miles in 10 years.

                       OBJ GF6: Improve condition class on at least one identified priority watershed, as
                       defined by the national Watershed Condition Framework, within 10 years of plan
                       approval.

   By defining priority watersheds, they are identified for possible improvement. The goal to improve the
   class condition of watersheds would be better if applied more broadly than just to a single (based on the
    1996 plan) Priority Watershed. Trout Unlimited has identified numerous watersheds on the Forest which
   would be improved upon if given proper attention and resources. This goal should reflect all watersheds
   across the forest, not only those listed as “Priority”. Because of the potential impacts of the Spruce Bud
   Worm Epidemic and other factors, it is possible to see some watersheds progress downward in
   classification. This goal would be better worded to say that across the forest, watersheds listed as poor or
   at risk should be reduced, and overall classifications of “Good” should increase. Alternatively, the Forest
   would be well guided to list significantly more watersheds in need of improvement as “Priority” and set
   the goals for their improvement accordingly.

   Geographic Areas

   Trout Unlimited shares a similar organizational goal as this Forest Plan revision - healthy watersheds.
   With an eye toward the landscape to guide our participation in this process and these comments to the
   Proposed Action, we would like to highlight the desire for a closer look at possibilities for large landscape
   level and watershed scale management. We think that Geographic Areas, Watershed Networks, “Zones”,
   and Management Areas can all play a role in making this happen. As hunters and fishermen, we rely on
   complete and intact lands as habitat for the fish and wildlife we pursue. By looking at these issues



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   collectively, we think it provides managers more flexibility to make decisions since each piece of ground
   need not be so scrutinized, rather cumulative impacts evaluated. Logical confines like specific habitat for
   indicator species, wildlife migration corridors, and uninterrupted tracts of natural setting would all be
   useful boundaries in defining the landscapes for evaluation.

   Management areas as laid out in in the 1996 plan dissect these areas into pieces which are too small of
   scale for some of the things we as TU care about. An overlaying “Geographic Area” would help to align
   some of these values, and we feel, assist the forest in its management of our public resources. Similar to
   the four proposed geographic areas, these new geographic areas could have limited focus and limited
   “sideboards”, which for the managing personnel, would mean, another table to cross reference, similar to
    1.4 of the Proposed Action. The model of the Proposed Action’s Fire Management Zones would be an
   applicable model of how to accomplish these suggestions. There seems to be a missing link between the
   size of the four Geographic Areas and the Management Areas as included in the Proposed Action. The
   inclusion of an overlapping middle ground we feel would accomplish some landscape and watershed
   scale goals of the Proposed Action and the 2012 planning rule, while assisting the on the ground
   management to focus on important issues while still allowing adaptive management and on the ground
   flexibility.

   As discussed prior, Trout Unlimited has highlighted areas on the Rio Grande Forest we consider to be
   especially valuable for Sportsmen, we’ve called them Sportsmen’s Emphasis Areas. These areas, we feel,
   could fit the mold of any number of different designations, but would possibly be best viewed as
   Geographic Areas. General emphasis and sideboards can be set and through that perspective management
   areas assigned and projects conducted accordingly.

   Another alternative, and TU’s preference for inclusion in the Forest’s Preferred Alternative, would be the
   creation of a Conservation Watershed Network and Riparian Management Zones as previously discussed.
   These could be very similar to the Forest’s proposed Fire Management Zones, which overlay both
   existing Geographic Areas and Management Areas, while still incorporating their own specific tactical,
   strategic, and monitoring domains.



   Tactical Domain

   Management Areas

   Management Area 3.3, Backcountry, is not included in Table 1.4. Associated allowable activities for
   these areas should be further discussed and available for public comment. TU cares deeply about
   backcountry areas and is committed to their management.

   From the Sportsmen’s Vision discussed above, Rio Grande Cutthroat Trout Focus Areas, and Big Game
   Priority Areas, we feel, are strong candidates as new Management Areas in the plan revision. Similar to
   Elk and Deer Winter Range and Bighorn Sheep Special Wildlife Areas, but with a more watershed based
   focus, these areas would be valuable tools in the site specific on-the-ground management across the
   forest. Especially when looking at our native trout species, a Special Wildlife Area for RGCT would be




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   an outstanding commitment to the future of the fish.

   Standards and Guidelines

   Components which require standards and guidelines evaluation as listed in the Proposed Action match
   well with TU’s goals and interest in the forest plan revision. Consider adding to the list oil and gas leasing
   language, mining specific considerations, including recreational mining, and renewable energy
   development. Although managed by BLM, these resource concerns affect all the other goals and
   objectives of this plan revision and topical recommendations would be beneficial for partners to know
   before investing time and resources into the Rio Grande Forest.

   Also absent from the list is language specific to Species of Conservation Concern and what standards and
   guidelines would be applied to the management of specific habitat for specific species. In a similar light,
   if a Conservation Watershed Network for Native Fish were developed (see previous comments) then
   standards and guidelines specific to native fish should be compiled.



   Adaptive Management Domain

   Public involvement, comment periods, monitoring results reports, and transparency are all extremely
   valuable to Trout Unlimited for the future of the Rio Grande National Forest. We support the direction of
   adaptive management in the new plan and ask for similar prioritization and commitment to working
   towards mutually beneficial partnerships. In the past, concerns about usefulness, metrics, and
   transparency have been brought to light in TU circles and others. This is an opportunity to spell out in
   more detail exactly how a partnership might look between a public lands focused group of citizens and
   the managing agency. Trout Unlimited is committed to assisting towards this end.



   Monitoring Domain

   Trout Unlimited applauds the topics of the proposed monitoring program. As an interested party we
   would like to participate in the public involvement portion of the program, contribute to the science, work
   collectively to meet plan goals, and collect data. Although we see the inclusion of a monitoring program
   as a part of the overall plan revision as necessary, we also suggest using the model of flexibility expressed
   by the planning team in developing that monitoring program. Rather than strictly tie the program to only
   assessing plan goals, this is an opportunity to further science on a wide scale. It is a way to engage the
   local communities. It has potential to bring in resource contributions. And, it has the potential to create
   trust based partnerships. A truly inclusive and extensive monitoring plan could be the strategy of the
   Forest to meet their plan’s goals instead of simply a quantification system.



   Summary

   Overall, Trout Unlimited and the Sportsmen and Women we represent are concerned with watershed




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   health and wildlife habitat above all else. We appreciate the work of the Forest Service in managing the
   Rio Grande Forest we benefit from so greatly and we are thankful for the opportunity to comment on the
   Plan Revision process. It is our opinion that there is, in this Plan Revision, an opportunity to manage for
   healthy watersheds and fish and wildlife habitat in new and creative ways, specifically through the
   creation of a Conservation Watershed Network and Riparian Management Zones. However it is best
   suited for inclusion in the revision, the places and issues outlined in these comments are extremely
   important to our members and out organization and we look forward to seeing them incorporated in the
   Revised Plan’s Alternatives.




   Sincerely,




   Garrett Hanks                                                            Mark Seaton
   SW Colorado Field Organizer                                              President
   Trout Unlimited                                                          San Luis Valley Chapter, Trout Unlimited
   1309 E. 3rd Ave., Suite 109                                              P.O Box 503
   Durango, CO 81301                                                        Alamosa, CO 81101
   970-430-5540                                                             719-588-7678
   ghanks@tu.org                                                            slvtroutunlimrted@gmail.com




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623 Fourth Street
Alamosa, CO 81101
(719) 589-2230                                                          San Luis Valley
Heather@slvwcd.org                                                      Water Conservancy District

October 31, 2016
                                                                            Heather R. Dutton, Manager
Dan Dallas, Forest Supervisor
Rio Grande National Forest
1803 West Highway 160
Monte Vista, CO 81144

Dear Mr. Dallas

I am writing to provide comments on the Rio Grande National Forest (RGNF) Proposed Action as part of
the ongoing Forest Plan Revision. The San Luis Valley Water Conservancy District (SLVWCD) has had
staff and Board Members present for every stage of public engagement throughout the revision
process.

The SLVWCD has been a technical partner and financial supporter of the Rio Grande Headwaters
Restoration Project (RGHRP) for over 15 years. The RGHRP works throughout the Upper Rio Grande
Basin to improve the aquatic and riparian habitat, water quality, and resiliency of the Rio Grande. As
such, we are pleased to see that Goal 1 of the Proposed Action is to “Protect and restore watershed
health, water resources, and the systems that rely on them.” Because the RGNF occupies the
headwaters of the major rivers and streams of the San Luis Valley, the health of the Forest impacts all
water users within the watershed. Therefore, implementation of Goal 1, with the help of local
partnerships, will improve the ecological function of the Rio Grande watershed in Colorado and
beyond.

The SLVWCD strongly supports the RGNF's intent to “include management approaches that consider
local economies, markets, and partnership opportunities as tools for meeting desired conditions"
(Need for Change). This goal acknowledges the significant role the RGNF plays in the economies and
communities of the San Luis Valley, and the potential for multi-benefit projects to be completed
through innovative partnerships.

The SLVWCD also supports the outlined management actions detailed in the “Adaptive Management
Domain" (Proposed Action). This section details how the staff can “be more responsive to necessary
changes in the Forest Plan content." As the San Luis Valley has collectively recognized, conditions on
the ground can change drastically between Forest Plans. As such, the Adaptive Management Domain
would afford the RGNF staff the ability to respond more quickly to changes as they arise.

The SLVWCD encourages the RGNF utilize the Wild and Scenic analysis completed for the 1996 Forest
Plan. We feel the analysis is complete and do not see a need for change. After review of the eligible
Wild and Scenic reaches, the SLVWCD does not believe designation as Wild and Scenic is needed to


                                         President: M. Dee Greeman, Alamosa, CO
               Vice-President: Darius Allen, Alamosa, CO; Secretary/Treasurer Marcie Schulz, Alamosa, CO;
           Directors: Richard Davie, Del Norte, CO; Charles Griego, Alamosa, CO; Steve Keller, Monte Vista, CO;
    Tyler Neely, Del Norte, CO; Randall Palmgren, Center, CO; Karla Shriver, Monte V^sta, COpTuck SlaneQMosca^CO.
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maintain the character of the reaches. Therefore, we encourage the RGNF not to recommend any river
or stream reaches for Wild and Scenic designation.

The SLVWCD has reviewed the wilderness inventory completed through the Forest Plan Revision
process. We appreciate the considerations that were made for existing water and utility infrastructure,
as these are substantially noticeable features. We feel the current wilderness designations offer
adequate protections of primitive places and abundant opportunities for solitude. Therefore, we
encourage the USFS not to recommend any additional wilderness areas. Additional wilderness areas
would add to the management directives of the RGNF, which could make it more difficult for managers
to respond to changing ecosystems and implement projects to protect watershed health. Further,
additional wilderness areas could detrimentally impact nearby communities, which rely on a variety of
outdoor recreation, including biking and motorized uses.

Finally, the SLVWCD encourages the RGNF to preserve their existing water rights, without modification.
The RGNF has a unique set of Federal Reserved rights, which were negotiated extensively with many
local parties in Case No. 81CW183. The Decree notes that the Federal Reserved rights satisfy all
purposes of the Forest reservation. Therefore, the SLVWCD requests the RGNF not include any
language in the Forest Plan that could impact the 81CW183 decree and the good will with which it was
negotiated. The SLVWCD strongly supports the incorporation of the Federal Reserved rights into the
forest plan, as discussed in the Need for Change document.

Thank you for the opportunity to comment. The SLVWCD is committed to continuing our participation
in the Forest Plan Revision Process. We respectfully request eligible standing for continued
involvement in future project activities, and look forward to providing input as appropriate.



Sincerely,




Heather R. Dutton




                                         President: M. Dee Greeman, Alamosa, CO
               Vice-President: Darius Allen, Alamosa, CO; Secretary/Treasurer Marcie Schulz, Alamosa, CO;
           Directors: Richard Davie, Del Norte, CO; Charles Griego, Alamosa, CO; Steve Keller, Monte Vista, CO;
    Tyler Neely, Del Norte, CO; Randall Palmgren, Center, CO; Karla Shriver, Monte Vista, CO; Tuck Slane, Mosca, CO.
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                  COLORADO
                  Department of Natural Resources
                 Executive Director’s Office
                 1313 Sherman Street, Room 718
                 Denver, CO B0203




  Novembers, 2016

  Dan Dallas, Forest Supervisor
  Rio Grande National Forest
  1803 West Highway 160
  Monte Vista, CO 81144

  RE: Rio Grande National Forest Plan Revision Formal Scoping Period

  Dear Mr. Dallas,

  Thank you for the opportunity to submit both scoping comments and comments on the Proposed
  Action for the Rio Grande National Forest Plan Revision. We appreciate your willingness to
  collaborate early on in this process and look forward to continued coordination with you.

  The Colorado Department of Natural Resources submits the following comment letters prepared
  by two of our divisions: Colorado Parks and Wildlife and the Division of Water Resources,

  Please also note that the Colorado Water Conservation Board (CWCB) has shared shape files for
  the CWCB instream flow reaches that intersect any part of the Rio Grande National Forest in an
  earlier response.

  If you have any questions, please contact Amy Laughlin, Policy Advisor, at 303-866-3311 or
  division contacts.




   Robert Randall
   Executive Director




                                                   P 303.866.3311   F 303.866.4474    vvww.colorado.gov/dnr
                                      John W. Hickenlooper, Governor   |   Robert Randall, Executive Director
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                              COLORADO
                              Parks and Wildlife
                              Department of Natural Resources

                              Monte Vista Service Center
                              0722 South Road 1E
                              Monte Vista, Colorado 81144
                              Phone (719) 587-6934


   October 27, 2016

   Dan Dallas, Forest Supervisor
   Rio Grande National Forest
   1803 West Highway 160
   Monte Vista, CO 81144

   RE: Rio Grande National Forest Land Use Management Plan-Proposed Action

   Dear Dan:

   Colorado Parks and Wildlife (CPW) appreciates the collaborative efforts we have shared to
   date during the Rio Grande National Forest (RGNF) Forest Plan revision process and the
   opportunity to comment on the Proposed Action. Our staff has reviewed the documents and
   maps that you have provided. We applaud your efforts and concur with the vast majority of
   the goals and desired conditions presented in this Proposed Action. We recommend including
   a Desired Condition under Ecological Resources that the habitat components and conditions of
   the Forest are capable of supporting State Wildlife Population Objectives. In addition we have
   comments on the following topic areas:

        •     Geographic and Management Areas
        •     Bighorn Sheep
        •     Game retrieval

   Geographic and Management Areas
   It is our understanding that the delineation of Geographic Areas and Management Areas
   represents different scales of approach. The Geographic and Management Areas provided in
   the Proposed Action are mapped at a coarse scale, and are small relative to the large area of
   the forest and we are unable to discern specific areas, habitat types, and land features that
   are important to wildlife. Therefore, our comments are general in nature. We desire to
   provide more detail in future commenting opportunities as the plan revision process
   continues; therefore we request geospatial shape files to aid in our review and analysis of the
   Forest Planning documents and specific management areas.

   RGNF Management Area delineation makes sense for some goals and uses that you are working
   to manage, e.g., roadless areas. However, wildlife habitat and wildlife related recreational
   uses are not constrained by the boundaries, definitions, and goals within any specific
   Geographic or Management Areas. Wildlife use and the relative value of the habitat within
   the Forest may change seasonally particularly for those species that migrate.

   The proposed action identifies Management Area 5.41_Deer and Elk Winter Range and
   management Area 5.42 Special Wildlife Area-Bighorn Sheep. We appreciate the proposed
   action identifying these areas. We cannot discern from the maps if Management Area 5.41 for
   deer and elk winter range incorporates the entire mapped habitat that functions as winter
   range for these species. Shape files would aid in our review and analysis of these areas. We


   Bob D. Broscheid, Director, Colorado Parks and Wildlife • Parks and Wildlife Commission: Robert W. Bray • Chris Castilian, Chair • Jeanne Horne,
     Vice-ChairJohn Howard • Bill Kane • Dale Pizel • James Pribyl, Secretary • James Vigil • Dean Wingfield • Michelle Zimmerman • Alex Zipp


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   are also happy to provide CPW’s Species Activity Maps (SAM) shape files for your use. We look
   forward to helping you identifying Standard and Guidelines in these areas to ensure that they
   continue to function for wildlife.

   Bighorn Sheep
   Bighorn Sheep are a unique and charismatic species that is highly valuable to the people of
   Colorado as identified in your planning processes (social, economic and ecological). We are
   encouraged to see that wild sheep are afforded a specific Management Area category by RGNF
   in this Proposed Action. Bighorns need a variety of habitat features over large areas of land.
   We applaud your initial efforts to highlight bighorn areas. However, it may be more
   beneficial to designate an overarching classification type that is specific to bighorn sheep.
   The areas between summer and winter ranges for a single band of sheep can be large and
   difficult to outline in the fashion that you have developed in the Proposed Action. CPW’s
   bighorn unit boundaries provide one option for designated bighorn habitat and use
   delineations, allowing the RGNF to evaluate goals and objectives for Management Areas,
   develop Standard and Guidelines and prioritize proposed uses against the needs of the sheep
   for each affected Management Area. This would also enhance the ability of CPW and RGNF to
   coordinate management efforts.

   Game Retrieval
   We encourage the Forest Service to expand game retrieval as an allowed use on all
   management areas, except wilderness in the Forest Planning process. Hunting is CPW’s
   primary tool for wildlife management in Colorado. Our wildlife population objectives for big
   game are achieved through hunter harvest. Hunting is also an important social activity that
   brings families and friends together to join the pursuit and constitutes as significant driver to
   local economies in Colorado. The latest economic impact report produced by BBC Research
   and Consulting in 2008 showed that hunting alone had a $26.1 million impact to the San Luis
   Valley of Colorado in direct expenditures alone.

   CPW sees the use of OHV for game retrieval as a valuable wildlife management tool because,
   for many hunters, game retrieval by off-road OHV use increases their confidence and harvest
   success. OHV use for retrieving game allows hunters who are on foot to penetrate further
   into areas holding big game during the hunting seasons without the self-imposed limitation of
   how far they are reasonably willing to go to retrieve an animal off the Forest. Off-road game
   retrieval, as currently authorized, is highly restricted in time and duration, so impacts are
   minimal.

   CPW recognizes that inappropriate OHV use can adversely affect forest resources. The
   experience of CPW officers in the field is that most negative impacts have been caused by
   unauthorized OHV use and few of these problems can be attributed to game retrieval
   activities.




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   CPW also recognizes that there are numerous habitat types and physical features where OHV
   use would not be appropriate; therefore, we look forward to working with the Forest to
   better define those areas where OHV game retrieval is appropriate and where it is not1. CPW
   is also willing to work with the RGNF in mapping the area in a way that increases our
   combined abilities to enforce the rule.

   CPW appreciates being a part of the planning process and looks forward to working with
   Forest personnel to address our interests and concerns throughout this and subsequent
   planning efforts. If you have any questions regarding these comments, please contact Rick
   Basagoitia at the Monte Vista Office of Colorado Parks and Wildlife.




   Area Wildlife Manager - San Luis Valley

   XC: Dorsey, Magee, SWRO File, Area 17 File




   1 Currently, there are many areas where game retrieval use is allowed, but not appropriate. An example of this is

   the game retrieval polygon just south of the Lake Fork of the Conejos River, where there is significant potential
   for resource damage. There are also areas where the OHV game retrieval would be appropriate, but is not
   allowed. An example of that is across the Conejos River near Willow Mountain, where there is little potential for
   resource damage.




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                 COLORADO
                 Division of Water Resources
                 Department of Natural Resources



                                                      November 3, 2016

The Colorado Division of Water Resources (CDWR) is pleased to have the opportunity to provide comments to
the U.S. Forest Service regarding the Rio Grande National Forest Plan revision process. CDWR wishes to
express its appreciation to the Rio Grande National Forest Plan revision team for being invited to participate in
the planning process as a cooperating agency through the Colorado Department of Natural Resources, and being
given the opportunity to comment throughout the process.

In the Rio Grande National Forest Plan Proposed Action, the Forest Service lists multiple streams or segments
that are being considered for designation as Wild, Scenic, or Recreational Rivers. These designations may have
the potential for the attachment of reserved water rights. However, there are restrictions on the designation of
future reserved water rights that the Forest Service should consider. In 1979, the United States of America filed
Water Court Case 1979-CW-85 in the Colorado District Court for Water Division No. 3. This case was brought
to confirm the reserved water rights of the United States in the Gunnison and Rio Grande National Forests in
Colorado Water Division No. 3. The United States filed 88 amendments to Case 1979-CW-85 in various other
filings and cases. In 1985, these cases were consolidated into Water Court Case 1981-CW-183. Nearly 50
individuals or entities filed statements of opposition to the original filing or to the subsequent amendments. In
2000, after nearly 21 years of negotiation between the United States and the opposers, a decree was entered in
the 1981-CW-183 case. Findings of Fact, Conclusions of Law, and Judgment and Decree, Case No. 81-CW-
183 (Dist. Ct., Water Div. No. 3 Mar. 30, 2000) (“Decree”). This Decree confirmed the United States of
America’s federal reserved water rights on 303 streams in the Rio Grande National Forest and in the portion of
the Gunnison National Forest located in Water Division No. 3. To our knowledge these are the only decreed
reserved water rights on any National Forest in the nation. The Decree also incorporated limitations on future
United States reserved rights claims within this area. The language for the largest of these limitations is found
in paragraph 14 of the Decree, which states:

 In settlement and compromise of the claims in this case, the signatories to this decree agree, and it is hereby
found, except as provided in Paragraph 28 below, that the quantities of water decreed to the United States
 herein are fully sufficient to fUlfill any and allfederal reserved instreamflow water rights under existingfederal
 law and all appropriative instream flow water rights that the United States may be entitled to for the Gunnison
 and Rio Grande National Forests within Colorado Water Division No. 3. Except as provided in Paragraph 28,
 below, this decree is the final judgment concerning the United States claims for federal reserved water rights
 under existing federal law andfor appropriative instream flow water rights for the Gunnison National Forest
 and the Rio Grande National Forest within Colorado Water Division No. 3. The United States agrees to
 dismiss Case No. 94-CW-39, and the signatories to this decree consent to the dismissal. Except as provided in
 Paragraph 24.d., the United States agrees that, in the future, it will not claim additional appropriative instream
flow water rights, in Colorado Water Division No. 3 for National Forest purposes. Except as provided in this
paragraph, this agreement does not preclude the United States from acquiring water or water rights by means
 other than appropriation.

Paragraph 28 of the Decree states that the Decree “does not address or resolve the nature or extent of the
reserved water rights, if any, created under the authority of the Wilderness Act of 1964_” Therefore, it is our
opinion that the United States currently has decreed quantities of water sufficient to fulfill any and all federal
reserved and appropriative instream flow water rights to which it may be entitled, with a possible exception of



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those in Wilderness areas. Any new Wild, Scenic, or Recreational River designated areas in the Ro Grande
National Forest must rely solely upon the existing decreed instream flow water rights as decreed in Case 1981-
CW-183.

 Further, as described in Paragraph 19 of the Decree, any action by the Forest Service in which it “acts to
 increase or maintain stream flows, reduce depletions to stream flows, provide favorable conditions of water
flow, or provide waterfor any of the purposes set forth in Paragraphs 14, 15, or 16, above, by: (a) requiring the
 owner of an Existing Water Right to forego the exercise of all or part of its decreed water right or to relinquish
 water diverted or stored in priority under its decreed water right, or (b) otherwise taking any action to prevent
 or interfere with the exercise of all or a part of an Existing Water Right” may be a basis to reopen the Decree.
 Paragraph 24.d. further states that the decreed, reserved water rights of the United States may be considered null
 and void in the event of a reopening of the case. If the case is reopened, the United States must again “prove its
 entitlement to and quantity of reserved instream flow water rights for Organic Administration Act purposes
 within the geographic area subject to reopening, ” pursuant to paragraph 24.a. of the Decree.

The United States Forest Service has a history of close cooperation with the State of Colorado and other water
rights holders in the Rio Grande National Forest. It is our sincere hope that this cooperation will continue into
the future. Please contact me if you desire more information on the topics of this letter.

Sincerely,




Craig W. Cotten
Division Engineer, Division 3
Division of Water Resources




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                                    SLV Fed Agency Scoping Briefing
                                            November 4, 2016

   Attendees: Sharon Vaughn, FWS; Lisa Carrico, NPS; Mike Blakeman, RGNF; Jason Surface,
   DWM, Saguache; Deborah Blank, BLM; Amy Laughlin, Co DNR; Joe Vieira, BLM-SLV;
   Melissa Garcia, BLM-Canyon City; Erin Minks, RGNF; Dan Dallas, RGNF; Scott Miller FWS;
   Judi Perez, RGNF; Chad Lewis, RGNF; Kirby Self, RGNF; Randy Ghormley, RGNF
   On phone: Suzanne Sellers, CWCB


   Tom opened up.
   Dan made opening remarks on planning under new 2012 Rule, moving away from “we’re
   proposing, you’re opposing” syndrome, ask that folks realize that we are putting the meat on the
   bones of an adaptive management framework which was the bulk of the Proposed Action.
   We are working on this, revising this, in real time.
   Erin gave an update on the project pieces:
   Oil and gas
   Travel management
   Grazing
   Wilderness
   Wild and Scenic- evaluation in 32 reaches
   Connectivity-potential corridor proposals
   Off-road game retrieval, synchronize with motor vehicle use maps
   Colorado Roadless Rule
   Mt Blanca, possible Wilderness Special Management Area consideration
   Lynx- integration of Southern Rockies Lynx Amendment, nexus with habitat/timber suitability
          -Melissa, nothing has changed with BLM mapping to coordination needed for any
   changes
   Connectivity- Joe V says to use the Regional Mitigation Strategy
   Wild and Scenic- Suzanne had a question about process- when will there be an eligibility and
   suitability report? Are we prepared to add additional time for public response if it’s embedded
   into the DEIS?




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   Post-lunch:
   Dan opened up about the challenge of keeping the public informed in the difference between
   project level and programmatic planning and decision making.
   The end product will be a decision document, DEIS, and plan.
   Dan- Re. oil and gas and BLM, there’s the overall issue with a disagreement on whether the
   BLM
   “agreed” to our 1996 suitability decision so this planning window might allow for that
   independent agreement to be decided and documented. That would allow our forest plan
   decision upholding the previous leasing availability analysis to stand and allow BLM to concur.

   Background, prior to 2008, there was a conflict with the lands set for disposal by BLM in their
   1991 RMP at the same time that RG County, Saguache County and Mineral County had
   approved 100,000 acres plus of subdivisions. In the meantime, the outstanding BLM parcels had
   become refugia for wildlife that created an issue. Later, Colorado Roadless rule direction.

   Re. wilderness, our proposed action will likely include recommendations for wilderness (passed
   around).

   Dan also concerned about how recommendations for wilderness might be restricted/limited by a
   previous Colorado Roadless Rule management direction.

   Sharon mentioned FWS are currently evaluating possible wilderness on their acreage. Also
   acreage in their CCP.

   Lisa mentioned that NPS had a wilderness study done as part of their 2007 plan but waiting on
   the Medano Ranch acquisition. Hope to see wilderness crossing boundaries that transcend land
   management. Recommends that we coordinate and share presentations before our public.

   Sharon chimed in that wilderness on the Baca Refuge isn’t meaningful without wilderness
   adjacent.

   Joe reminded RGNF to build in GIS workload issues for BLM staff, or at least anticipate.

   Melissa also noted that BLM is working on developing backcountry designated areas.

   Randy mentioned importance of considering pack goat restrictions.

   Erin asked for folks to share any climate change work that agencies might be done. Joe said
   BLM has a climate change model, prism data within one square kilometer grids; Melissa thought
   of the RG Cutthroat Trout Working Group.

   Tom made some closing remarks.




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   Next steps:

   Individual follow up meetings between RGNF staff and:

      1. CPW re. bighorn sheep/big game habitat mapping overlay with any revised Management
         Area boundaries
      2. BLM re. oil and gas suitability concurrence with RGNF 1996 Plan
      3. CWCB coordination re. overlay with instream flow program and any newly eligible Wild
         and Scenic segments
      4. Division of Water Resources coordination re. any potential conflict between eligibility
         for wild and scenic values and implementation of the 2000 decree




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                         Comments For The Rio Grande National Forest Plan Revision


   Air and Soil -
   •   Agree with the principle statement on “protecting water quality, quantity, and timing of flows” as
       critical to sustaining the ecosystem. It should be emphasized at every opportunity.
   •   Identification and tighter management of manmade threats (ATV trails and other vehicle intrusions)
       to water quality degradation caused by increased sediments should be a higher priority.
   •   A waiver process for assisting in maintenance of wilderness irrigation structures is acceptable, if
       tightly regulated and policed.
   •   Increased forest management in timber harvest and fire management should be a priority outside of
       wilderness and wilderness study areas.


   Carbon - Manage a health forest and nature will take care of the carbon issue. Don’t waste any more
   time on this.


   Cultural and Historical Resources
   •   Do more to protect and enhance tribal resources. Increase consideration and involvement of tribal
       leadership mechanisms to recapture the nature of tribal legacies where reasonable and possible.
   •   Forest health and adapting to modern threats to protect cultural and historic resources take priority
       over grazing and logging.


   Ecosystem Integrity
   •   Increase restoration of riparian systems.
   •   Provide strong regulation and monitoring of activities that are damaging to the ecosystem - OHV
       use, grazing, logging, and uncontrolled camping.
   •   Increase enforcement.
   •   Recognize fire as part of the natural process.
   •   Increase management of unspoiled areas with wilderness-style practices and protections.


   Fish, Wildlife and Rare Species
   •   Increase protection of unique RG species such as the RG Cutthroat Trout.
   •   Increase protection on all threatened bird species.
   •   Consider stronger management of moose populations to protect riparian areas.
   •   Consider the effect of management practices of the RG Reservoir on the river ecosystem, especially
       low flows in summer.


   Lands and Infrastructure
   •   We need less motorized and more non-motorized trails and access points.
   •   More enforcement of motorized uses. The noise and damage caused by motorized is epidemic.
       Motorized does not provide a healthy boost to the economy. We have a treasure in our unspoiled
       areas that cannot be recreated once the motorized crowd tramples the area.




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   •   Tap motorized users as a funding source via use permits. They cause the most damage and issues
       and should be paying for it more directly.
   •   Provide more and improved designated camping areas. Reduce or eliminate uncontrolled camping,
       due to the damage it causes. Especially enforce uncontrolled camping and use near streams and
       riparian areas.
   •   Reduce grazing.


   Minerals and Energy
   •   The Mining Act of 1872 has lived way beyond it’s intended purpose. It only provides a route for
       people seeking something for nothing and facilitates damage and harm to the ecosystem, especially
       our precious water resources.
   •   Abandoned mines should stay abandoned and be sealed where possible.
   •   Mining only benefits a few mine owners. It should be eliminated as a possibility in the RGNF.
   •   Oil and gas exploration and development has no place in our limited forest treasure.


   Recreation and Scenic - Less motorized. More non-motorized.


   Social, Economic, and Cultural Resources - The comments from the other sections apply here.


   Wilderness and Designated Areas
   •   Allowance of any additional motorized access to designated areas should not be allowed.
   •   Pole Creek is special destination to many non-motorized users. The current unauthorized use up
       Pole Creek by motorized should be prevented and use regulations more strictly enforced. No
       motorized up Pole Creek or Bear Creek due to the damage to the ecosystem and noise. Grazing
       should be more closely regulated or eliminated in these drainages to protect riparian habitat.
   •   Deadman’s Creek, New Baca Mountain, and Elk Creek trail areas should be designated wilderness to
       provide consistent management of the contiguous areas.
   •   Funding issues should not be a driver in whether an area is designated wilderness. The protection of
       pristine and irreplaceable wild areas should not be about money, which can be shifted from other
       less worthy budget categories.


   Bernie Krystyniak
   PO Box 694
   Lake City, CO 81235
   bklakecity@hotmail.com


   I have been a user of RGNF scenic areas since 1975, especially in the RG drainage. Having visited many
   scenic areas in the nation, I continue to believe the RGNF and this particular area is one of, if not the,
   finest scenic recreation areas in the country. It is a precious gem that has to be protected.


   November 8, 2016




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                                                                                  November 10, 2016


   Rio Grande National Forest
   1803 W Hwy 160
   Monte Vista, CO 81144

   Eric Burt
   Owner/Manager
   Kristi Mountain Sports, LLC
   3222 Main St
   Aiamosa, CO 81101
   719-589-9759

   Re: Forest Plan Revision and Wilderness Evaluation - Comments from a Cyclist's Perspective

   Dear Forest Plan Revision Team,

   The following is some history, observations, concerns, and ideas to be considered where
   appropriate during the Forest Plan Revision and Wilderness Evaluation process for the Rio
   Grande National Forest,

   I tried on several occasions to find some quiet time to sit down and develop a comprehensive
   document to constructively comment on the Forest Plan Revision and Wilderness Evaluation for
   the RGNF. Between business, family obligations, and unforeseen challenges I wasn't able to
   comment before the deadlines. I am hopeful this letter will stilt be of value to the process now
   and in the future when travel management is reviewed,

   I was born and raised in Alamosa and am a fifth generation native of the San Luis Valley, I
   have a wife and two sons ages 18 and 24. I started working in the ski industry at the end of my
   Sth grade year at the local ski shop in Alamosa. In 1983 I purchased Kristi Mountain Sports
   from the original owner's estate after he was killed in a motorcycle collision with a logging truck
   east of Det Norte Peak while setting up the original Boot Hill Enduro race. My wife and 1 have
   operated KMS for the last 30+ years and recently my older son has joined the management
   team after graduating from MSU with an Industrial Engineering degree. Additionally we opened
   a second location in Del Norte during the spring of 2016.

   My wife and I started selling mountain bikes in 1986, business grew and interest increased
   exponentially until mountain biking relatively peaked in the late 90s. tn 2000 we added outdoor
   equipment (camping, hiking, climbing, backpacking, etc.) to the mixture of products we sell after
   the two local sporting goods stores closed down. Around this time I co-promoted the Riders Del
   Norte mountain bike race for 10 seasons, the last year being 2000. Our best races attracted
   over 300 riders to the San Luis Valley to ride a 28 mile course in the Limekitn/Nikomodes area
   on Saturday and an 18+ mile course in the Pinos/Burrow Creek area on Sunday, The riders
   loved and hated the race in a good way. We quit promoting the race primarily for financial
   reasons and because many of the other areas like Durango, Gunnison, Crested Butte, and



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   Salida were developing better riding opportunities which made it more difficult for us to attract
   riders to the area.

   During the 90s and early 2000s, we scoured the entire RGNF for mountain biking opportunities,
   looking for the holy grail of mountain biking; single-track. During this time ATVs were becoming
   more and more popular and in the beginning their trails were quite desirable to ride because
   they were interesting, flowy and were not on a jeep road.

   We were riding Cat Creek {at one time rated a top 10 single-track trail in the state), Schilling
   Springs, LimeKiln, Burrow Creek, Castle Rock Creek, Shady Creek, Trout Creek, Middle Frisco,
   Deep Creek, Miners Creek, and West Willow. On the CDT trait we loved to ride Cumbres North
   (out and back to the wilderness boundary) or Wolf Creek south to Treasure Creek, Silver Creek
   or all the way to Elwood Pass. We looked real close at areas around Cathedral, Groundhog
   park. Bowers Peak, Boot Hill, Little La Garita Creek, Tewksbury, Lake Fork, Hunters Lake,
   Conejos Canyon and all along the Sangre de Cristos from Poncha to Blanca Peak road. In
   most cases the trails were too steep or too rough for pedaled wheeled traffic without major work
   on the trails or the routes were already in designated wilderness areas.

   We met with the Forest Service on numerous occasions asking for partnerships and
   consideration for MTB recreation but the land managers at the time appeared to be primarily
   focused on building ATV trail. ATVs were gaining popularity and their advancing technology
   allowed them to travel virtually anywhere which started to impact the trails we liked to ride.
   Sadly the RGNF managers would not or could not act to alleviate the problem. There were
   many stories or rumors as to why this was the case but it appeared to us personal agendas and
   bias was at the core of the problem. It was sad and frustrating at the same time because our
   neighboring regions were developing great mountain bike riding opportunities and realizing the
   social and economic benefit of those trails systems.

   Through a failure of management, signage and compliance, the single-track trails we loved to
   ride were being ruined and made dangerous by the soil pulverizing effects of the ATV tires.
   Riding on an ATV trail was like riding on a pile of moving ball bearings with a hump in the
   middle. We quit riding Trout Creek and many other classics because the ATVs created such a
   dangerous situation. Even the motorcyclists hated what the ATVs did to the single-track trails
   they used to ride. Over time we began to look at other areas of the state to ride and started to
   explore more in the BLM lands of the San Luis Valley for a quality experience, basically giving
   up on the National Forest trails in our area.

   Penitente Canyon was the beginning of a revolution for mountain biking in the San Luis Valley.
   A nearby guest ranch starting guiding horseback tours through the adjacent canyons which
   inadvertently created some very interesting single-track trail we could ride on. It was pretty cool
   what a line of 20 horses walking single file could create on a weekly basis on the native soils in
   the area. At the same time bicycle suspension was dramatically evolving making these primitive
   trails quite rideabte and more entertaining.



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   [n a perfect world, my argument that the Mountain Bike community is one of the most
   underserved recreation groups in the RGNF would be supported by firm research and data. At
   this point the best we can provide is the attached infographic (RGNF Mountain Bike Trail
   Assessment) which overlays geographic mountain bike ride data from MTBProject.com with the
   RGNF boundary. In a nutshell, each circle represents a trail or ride that is noteworthy enough
   for users to take the time and effort to share it with other cyclists. When people are traveling or
   choosing a weekend destination, they will use MTB Project as a resource to find areas to
   recreate. When 1 look at this map, 1 see a significant amount of the forest which has no appeal
   to the mountain biking community.

   My contention might come as a surprise when you consider the thousands of miles of roads,
   two-track, motorized trails, and multi-use single track that cyclists are legally allowed to ride on
   the National Forest. From a mountain biker's perspective, there is a big difference between
   legally "rideable” and “desirable”. The reality is, single-track attracts and captivates the cyclist -
   it makes them want to come back for more. Even though equestrians can legally ride on forest
   roads, is that the experience that would motivate them to get into a vehicle and travel to some
   remote location to experience? Generally, it is not - the same can be said about cycling.

   On one end of the spectrum you have the mountain bike "tourist” who wants to be hauled up a
   mountain road in a vehicle so they can coast down for a thrill ride while exerting little effort.
   Roads, two-track, or trails makes little difference to them as long as gravity is doing most of the
   work. On the other end of the spectrum is the true mountain bike enthusiast who is drawn to an
   area to ride over and over again when it has a quality single track network with flowing features,
   gentle to moderate grades, and multiple routes that connect to create the opportunity for a
   variety of ride options. The last thing a mountain biker wants to do is ride with ATVs and jeeps
   on the same tread - no different than a hiker or horseman would not want to hike/ride along a
   forest road,

   tn the last three to four years the BUM has made huge strides in designing and building high
   quality single track trails in the San Luis Valley with bikes in mind - Penitente, Stone Quarry, and
   now the Pronghorn loop just south of Del Norte. The result has been a surge of interest and
   increased awareness of our area from a four state region. The trails are equally as good as any
   other nearby networks and the positive economic impact is just getting started. We invested
   almost a quarter of a million dollars in our new store in Del Norte because we see the potential
   is just around the corner. This summer, it was not uncommon for my staff to provide ride
   recommendations and maps to 10+ tourist groups each day at our Del Norte shop.

   After experiencing the local BLM trails we’ve received customer feedback such as;
       - ‘Tve traveled to Moab every fall for the past 15 years... now I don’t need to make that
           drive anymore”
       - "We only had time to ride Stone Quarry, we’ll be back next year to ride the rest of the
           networks!”
       -   "I'm from Pagosa (or Salida) and I’m bored with our local trails. Now that I know these
           rides are Just over the hill, I’ll definitely be back to explore next summer. ”


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   Unfortunately, we rarely mention any of the forest service trails because there is such a gap in
   quality and quantity between the networks on the BLM and the RGNF.

   Not everyone wants to ride in the desert and would prefer a classic tree lined, high alpine riding
   experience. But the question is where? When you get down to it, the only recommendable
   trails to the general population in the RGNF are:

       •   Cat Creek
       •   Schilling Springs
       •   Middle Frisco
       •   LimeKiln / Nicomodes
       •   Trout Creek
       •   Deep Creek
       •   Miners Creek
       •   CDT Cumbres
       •   CDT Wolf Creek

   I am sure I missed a few others but essentially that is it for a national forest the size of a small
   state. To my knowledge there has been no new, revised or upgraded mountain bikeable single
   track trails in the RGNF since the late 8O’s. One good thing we recently witnessed is the metal
   structures installed by a motorcycle group around the Cat Creek trail system which blocked the
   ATVs. Over the last two to three years since the barricades were installed the trail is slowly
   coming back to life and is worth the trip to ride again. We would love to see more corridors on
   the forest follow suit.

   The current forest plan revision is on the right track to give local managers more control and
   discretion to make real-time management changes. Based on all the meetings I’ve attended, I
   am optimistic for the future. But, the Wilderness Recommendation Process has me concerned
   for many reasons: one being the increased difficulty and cost to manage and maintain travel
   corridors, the other is the reality that bikes are not allowed in Wilderness. I spent several hours
   studying the maps, the Preliminary Evaluation Results and looked at every polygon and
   associated notes with the area. From a Mountain Biker’s perspective, some areas should be
   Wilderness because of existing terrain characteristics but many areas have Mountain Bike
   potential if ever pursued.

   The entire Sangre De Cristo side of the valley has zero quality single track trails even with the
   300,000+ visitors a year to the Great Sand Dunes and the town of Crestone along the boundary
   and we know visitors to these areas would love to have something interesting to ride on.
   Poncha pass, North pass, Cochetopa pass has no bikeable single track to our knowledge. The
   RGNF boundary with the BLM at Penitente Canyon has several trails which would be great to
   include in the official trails system. Only one trail worth making the 65 mile drive from Alamosa
   exists in the Conejos region; the CDT Trail north from Cumbres Pass to the Wilderness
   boundary. The other trails in the area are managed as restricted to mountain bike use even
   though they are not in Wilderness. Del Norte has one marketable trail. Middle Frisco and South


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   Fork has Trout Creek relatively close by. The Creede classic is Deep Creek, but we stand to
   lose it if a Wilderness recommendation goes forward for the Snowshoe Mountain area.

   Going back several years when the last wilderness review was occurring to extend the
   boundary around the Wheeler Geologic area, I was communicating with forest service
   personnel about the East Bellows Creek trail into Wheeler. The maps I reviewed at one point in
   the process showed the trail would not be included in the Wilderness area designation which
   would have created an amazing cycling route and destination. Somehow I missed something in
   the process and the next thing we knew the boundary was finalized to eliminate this route as a
   mountain bikeabte option, I could not believe it and the mountain bike residents of Creede were
   stunned too. This route could have been a local classic and would have attracted mountain bike
   enthusiast for years to come. Instead the trail is too long to hike in a day (for most people) and
   overnight trips are a challenge because of the lack of water sources near the monument As a
   bikeable trail, the out and back trip would have been a perfect way to visit the monument in a
   day. i share this story to help illustrate why I get nervous when a Wilderness recommendation
   process is active - i would hate to see this happen again.

   Since the Wilderness Recommendation Analysis ties into the Forest Management areas
   (polygons), which eventually will tie into the topic of recreation and travel management at some
   future time, I am going to try to kill three birds with one stone, so to speak, and make comments
   based on the Wilderness Inventory polygons. I figured the revision team would know which
   areas I am referring to and can apply the comment or recommendation where appropriate to the
   Forest Plan Revision process.

   A rough assessment of the Preliminary Evaluation results:

      •   Polygon 1a to 10 - almost all areas have some kind of mountain bike potential. Dream
          trail could be Blanca Peak road north to Zapata Subdivision along the contour. A trail
          along the contour north from Crestone to Valley View connecting the various hiking
          trailheads is theoretically possible.
      •   Polygon 11 - there was a past effort to construct a reroute of the CDT which should
          include MTB use.
      •   Polygon 12,15, 18, 20a - all have potential
      •   Polygon 22 - Natural Arch - riding in the area was popular at one time and could be
          looked at closer again since Penitente is getting more popular.
      •   Polygon 24 - Wheeler Geologic area - poster child for a poor wilderness area
          designation,
      •   Polygon 25a - Wason Park - Creede could be more of a MTB destination if areas like
          this were developed
      »   Polygon 26 - Bristol Head - Shuttle ride to Spring Creek to Snow Mesa and down Miners
          Creek would be an epic ride.
      •   Polygon 28 and 29 - Pole Mountain - my understanding is the locals have some MTB
          trails in the area which would be impacted by a wilderness designation.



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      •   Polygon 38a - Snowshoe CRA - Deep Creek trail is one of the few existing single track
          mountain bike rideable trails in the area.
      •   Polygon 41 - Trout Creek - Trail was ruined by ATV use but then restricted to single
          track use in recent years. Now the trail is rehabilitating back to a good ride experience,
      •   Polygon 43a - Kitty Creek area could be an attraction for MTB activity, especially with all
          the visitors to the Big Meadows area.
      •   Polygon 45.a - Tewksberry - trail could be a draw for South Fork visitors if it was
          rehabilitated.
      •   Polygon 51 ~ Bennett Peak area - many opportunities to enhance MTB experience in this
          area including a shuttled ride starting at Blowout Pass (or South Fork Rock Creek TH),
          climb over Bennett peak, and descend into Del Norte (see attached map Bennett Peak
          Epic). Closest Forest access to Del Norte and Monte Vista communities,
      •   Polygon 53 - Summit Peak - classic high alpine area with good characteristics for a
          limited MTB experience near the wilderness boundary. The views and terrain would be
          amazing,
      •   Polygon 54 - 58 - Summitville and Platoro area - plenty of visitors and recreation in the
          area but no real MTB trail experience available.
      •   Polygon 59 - area would be good for MTB due to terrain
      •   Polygon 63a - Cumbres - The CDT trail in this area is very conducive to MTB use.
          Views are spectacular, grade tough but not impossible for many riders.
      •   Polygon 64 - Off and on for years 1 have heard about an effort to connect Cumbres pass
          to Magote for an “Epic" ride system.



   Consider if past history had been different where prior land managers’ priorities and budgets
   allowed the creation and maintenance of good mountain bike trails simitar to adjacent
   communities (Salida, Gunnison, Durango, etc.), then the management polygons, and the
   wilderness review would look totally different today because the trails would already be in place
   and traditional use established precluding any further restrictive designation.

   The State of Colorado released a study in October 2016 focused on the statewide Economic
   and Health Benefits of Bicycling and Walking^ It is estimated that 2.25 million out-of-state
   cyclists visit Colorado each year with bikes tn tow. On average they spend 1,5 days cycling
   which means our state sees 3,38 million user days from out-of-state visitors alone. The
   economic impact of cycling related tourist traffic is estimated at $448 million annually when
   considering average trip expenditures for these visitors. While some of these individuals never
   get off the pavement, a significant number of them are visiting the state specifically to ride our
   vast networks of high quality single track. 1 believe there is an incredible opportunity to
   stimulate our local economy by developing trails that attract and excite this group of individuals.




   ^BBC Research Consulting, Economic and Health Benefits of Bicycling and Walking, State of Colorado
   http://choosecolorado,comAvp-content/uploads/2016/06/Economic-and-Health-Benefits-of-Bicycling-and-
   Watking-in-Colorado-4,pdf

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                                                                                  November 10, 2016


   I support a multi-use forest I own a RAZR, motorcycles, snowmobiles and occasionally use
   them to explore the forest, I backpack the CDT trail annually and have climbed all the 14ers in
   the area numerous times, I thoroughly appreciate extended backpacking trips into Wilderness
   but one of my strongest passions is still Mountain Biking on single-track trail in the forest.

   My overall observation and feeling is that the RGNF should first conduct a comprehensive
   “Wheeled Travel Single Track Trail Review” to determine if any management area in the forest
   has the need or unique potential for a quality multi-use single track trait now or in the reasonable
   future before any permanent mountain bike limiting recommendations are considered. Then
   after said review, yes of course make the necessary designation where appropriate.

   Thank you for your time and consideration.

   Sincerely,




   Eric Burt




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RGNF Mountain Bike Trail Assessment - 11/8/2016
      RGNF Wilderness, Private, etc. - Bikes not permitted by management designation        Trail listed on
                                                                                       OO O MTB project
      RGNF - Bikes permitted unless specifically banned from trails                         Color = Difficulty




                                                                                                       Colorado Springs




   Durango


                                                                                        ® RVSdTian p-00003530’6
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                                                        Bennett Peak Epic
    AllTrails




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     NORTHERN ARIZONA
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                                                                            UNIVERSITY OF    MONTANA




     April 18,2017

      Dan Dallas                       James Duran                  James Melonas
      Forest Supervisor                Forest Supervisor            Forest Supervisor
      Rio Grande National Forest       Carson National Forest       Santa Fe National Forest
      1803 W. Highway 160              208 Cruz Alta Rd.            11 Forest Lane
      MonteVista, CO 81144             Taos, NM 87571               Santa Fe,NM 87508
      ddallas@fs.fed.us                idduran@fs.fed.us            imelonas@fs.fed.us

     Dear Supervisors Dallas, Duran and Melonas:

             Recently, we were fortunate to participate in the Wildlife Movement Workshop:
     Connectivity in the Upper Rio Grande Watershed held by the New Mexico Natural Heritage
    Program in Taos, NM from December 7-8,2016. It quickly became apparent that stakeholders
    in the transboundary region of Colorado and New Mexico were working through the unique
    opportunities and challenges in integrating ecological coimectivity into planning and
    management efforts. Indeed, connectivity is an important aspect in maintaining the ecological
    integrity of systems. The presentations and opinions expressed at the workshop were insightful
    and as a result, we would like to provide comments on the subject.
             As background, Andrew is a post-doctoral researcher at the University of Montana where
    he is investigating the effectiveness of various ‘wildlife friendly’ fence modifications to sustain
    wildlife daily and seasonal movements as well as modelling multi-species overlapping seasonal
    range and migratory pathways to prioritize conservation and management efforts. In 2015,
    Andrew received his PhD in Environmental Design from the University of Calgary where he
    assessed GPS location data on 185 female pronghorn across the prairies of Alberta,
    Saskatchewan and Northern Montana; roughly the area of New Mexico. Andrew modelled
    migratory pathway selection at two scales in response to anthropogenic factors and
    environmental gradients and integrated results into a multi-scale prediction map. Andrew used
    these spatial predictions as a cost-surface to identify seasonal connectivity and prioritize
    corridors both within and between large habitat patches to design seasonal connectivity networks
    across this transboundary region.
            For 25 years, Paul has specialized in science-based design of wildlife corridors and
    working with transportation agencies, land managers, and wildlife regulators to conserve
    corridors on the ground. Paul’s 1988-1992 study of cougars documented that young cougars find
    and use habitat corridors to maintain gene flow among mountain ranges in urbanizing southern
    California. Paul has authored 4 book chapters and 27 peer-reviewed papers related to wildlife
    linkage design, plus two statewide maps of wildlife corridors, namely Arizona Wildlife Linkage
    Assessment (2006) and California Essential Habitat Connectivity (2010). He has also developed
    60 detailed linkage designs that are being implemented in Arizona & California. Paul was a lead

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                                                                           UNIVERSITY OF MONTANA
   author of the Wildlife Corridors Initiative, unanimously adopted by the Western Governors
   Association in 2008, and of a framework for wildlife corridors for the nation of Bhutan.
            Connectivity is a landscape level ecological process that encompasses structural and
   functional components (Taylor et al. 2006). Structural connectivity describes the physical
   relationships among habitat patches, while functional connectivity describes the degree to which
   landscapes increase movement of genetic, organism or population flows throughout the
   landscape within a mosaic of habitat types and uses (Chetkiewicz et al. 2006, Hilty et al. 2006).
   Connectivity is paramount for wildlife so that they can track spatiotemporal shifts in habitat,
   return to or locate new breeding grounds, adapt to anthropogenic influences and, persist in
   altered landscapes that may become more suitable for colonization over time (Hilty et al. 2006).
   A key tool to promote ecological connectivity is the identification and prioritization of corridors,
   defined as swaths of land supporting passage by wildlife species between two or more areas
   (Beier et al. 2008). Corridors generally provide benefits to wildlife across both unaltered and
   anthropogenic-affected landscapes (Noss 1987). Species may require corridors crossing human-
   made barriers or filters to sustain connectivity across fragmented landscapes and are an
   important strategy for combating the impacts of climate change on biodiversity (Beier and Noss
   1998, Hilty et al. 2006, Heller and Zavaleta 2009). Corridors are also effective in increasing
   intra-patch connectivity, which is important in maintaining functional connectivity within large
   habitat patches (Beier et al. 2011). Species resource selection within these larger habitat patches
   may channel connections to specific locations along the habitat patch edge thus concurrently
   influencing connectivity between habitat patches (Beier et al. 2011).
            Corridors have been identified and prioritized across continents and ecosystems to assist
   in designing regional connectivity planning efforts to sustain healthy wildlife populations (Beier
   et al. 2011). Many analytical approaches to identify and prioritize specific corridors to preserve
   landscape connectivity have been formulated (e.g., Bunn et al. 2007, Compton et al. 2007,
   McRae et al. 2008, Carroll et al. 2011, Jakes 2015) and this area of research continues to grow.
   In North America for example, corridors have been identified in Montana’s intermountain region
   for black bear (Cushman et al. 2009) and lynx (Squires et al. 2013), in the central Great Plains
   for multiple species (Cushman et al. 2013), in Ontario, Canada for lynx (Walpole et al. 2012) and
   in central Mexico for jaguar (Petracca et al. 2014). Other continental examples include corridor
   identification for multiple mammalian species in oceanic Asia (Brodie et al. 2014) and, for
   elephants in Africa (Epps et al. 2011, Roever et al. 2013). Efforts to identify corridors to design
   regional connectivity plans can mutually benefit both humans and wildlife as typically, planners
   must demonstrate that ecologically based approaches provide benefits to humans before policy
   decisions and on-the-ground implementation can begin (Opdam et al. 2003). In the United States,
   the Forest Service, Bureau of Land Management and other public land managers have begun to
   integrate corridor establishment into management planning efforts. For example. The Bridger-
   Teton National Forest amended its Land and Resource Management Plan to protect an important
   part of the Pronghorn Migration Corridor (also known as the Path of the Pronghorn) (Hamilton
   2008). The amendment designated the Pronghorn Migration Corridor and required that “all

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    projects, activities, and infrastructure authorized in the designated Pronghorn Migration Corridor
    will be designed, timed and/or located to allow continued successful migration of the pronghorn
    that summer in Jackson Hole and winter in the Green River basin”. Other Forest Service
    examples include the Gallatin National Forest Travel Plan which established a goal of “providing
    for wildlife movement and genetic interaction (particularly for grizzly bear and lynx) between
    mountain ranges” at specific passes and areas and, the White River National Forest which placed
    emphasis on linking suitable habitat patches with corridors to “provide areas for landscape-scale
    movement, migration, and dispersal of forest carnivores and other wide-ranging wildlife species;
    safe travel connections between large blocks of forested landscapes across the Forest; and
    security from intensive recreational and other human disturbances” (Ament and Meiklejohn
    2009).
            The U.S. Forest Service’s 2012 planning rule provides an exciting opportunity to
    affirmatively plan and manage for connectivity as a landscape-scale conservation strategy.
    Indeed, two principle areas of the planning rule require the agency to manage for coimectivity:
    sustainability (36 CFR 219.8) and species diversity (36 CFR 219.9). We believe for forest
    planning efforts to be most successful, delineating areas that identify and prioritize places that
    are important for wildlife movement (i.e. corridors) are necessary in providing connectivity. We
    also believe that plans should engage neighboring stakeholders and account for their
    requirements throughout this process. Please include this letter in the project record for forest
    plan revisions and let us know if we can assist planning efforts in any capacity.

    Sincerely,




                                                           Paul Beier
    Post-doctoral Researcher                               Regents’ Professor
    UM School of Forestry & Conservation                   NAU School of Forestry
    406-439-7583                                           928-523-9341
    andrew.iakes@mso.umt.edu                               paul.beier@nau.edu

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                                                  Andrew Jakes
                                              2809 Mary Jane Blvd.
                                             Missoula, MT 59808 USA
                                                 C (406) 439-7583
                                           andrew.jakes@umontana.edu

      Education

      Ph.D., Environmental Design        Master of Science, Biology          Bachelor of Science, Biology
      Graduated November 2015            Graduated May 2001                  Graduated May 1998
      University of Calgary              Towson University                   James Madison University
      Calgary, AB T2N 1N4                Towson, MD 21252                    Harrisonburg, VA 22801
      Focus: Movement Ecology            Focus: Landscape Ecology            Minor: Environmental Science

      Research Experience

              Post-Doctoral Research (2016-Current): Using Pronghorn to Develop a Multi-Species
              Approach to Conserve Connectivity in the Northern Great Plains. Employer: Dr. Mark
              Hebblewhite
              I am leading modelling efforts to investigate multi-species overlap for migratory and seasonal
              range selection in the Northern Great Plains to prioritize management activities and target
              opportunities for conservation efforts. In this regard, we predict that feathered species (i.e.
              grassland birds, waterfowl, sage-grouse) can be managed under the pronghorn ‘umbrella’ so as to
              combine elements into a hierarchically strategic approach at the northern periphery of multiple
              species range. We investigate effects from both habitat loss and fragmentation on species habitat
              use. Results can be used as a decision support tool to provide solutions for public and private
              landowners.

              Post-Doctoral Research (2015-2016): Restoring Connectivity for Pronghorn across the
              Northern Sagebrush Steppe. Employer: Dr. Mark Hebblewhite
              I was the principle coordinator and lead analyst for a collaborative interagency large landscape
              project between University of Montana, Alberta Conservation Association and The Nature
              Conservancy. The project used a robust approach (Before-After-Control-Impact), and remote
              cameras traps to assess wildlife-fence interactions and critically evaluate various fence
              modifications to determine use by pronghorn during daily and seasonal movement while retaining
              livestock in appropriate pastures on TNC’s Matador Ranch. Results can be applied to implement
              fence standards from a broad scale and can mitigate direct and indirect impacts caused by wildlife­
              fence interactions, thus improving connectivity throughout the system. Additionally, results will
              provide private and public stakeholders cost-effective options, guided by the best available
              science, when modifying barbed-wire fencing across the landscape.

              Ph.D. Research (2008-2015): Factors Influencing Seasonal Migrations of Pronghorn across
              the Northern Sagebrush Steppe. Supervisor: Dr. Cormack Gates
              I modelled seasonal migratory pathways and designed a connectivity network for my Ph.D., an
              international, interagency and interdisciplinary endeavor. I worked and communicated
              continuously with multiple federal, state, provencial, NGO, academic and industry partners. I
              captured and analyzed data from ~185 pronghorn to first, quantify movement strategies across the
              northern periphery of pronghorn range. Second, I worked with both state/provincial and federal
              agencies to develop seamless GIS maps for landcover, topography, roads, natural gas/oil wells and
              streams. I also created GIS coverages from temporal variables which included forage quality and
              drilling of wells for modelling purposes. Third, I modeled seasonal migratory pathways across two
              scales. I then integrated multi-scaled results into one map for conservation use for both spring and
              fall seasons. Migratory stopover site use was modelled from migratory pathways and in addition, I
              investigated multi-scale effects from cumulative anthropogenic development on migratory
              pathway selection. Maps included the northern range of pronghorn (Alberta, Saskatchewan and
              northern Montana prairies). Finally, I used integrated movement pathway maps as a cost surface to




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            model connectivity during seasonal migrations across the entire northern range. Results can be
            applied by wildlife/habitat managers as well as other stakeholders when designing and designating
            management and mitigation options for pronghorn and potentially other prairie/sagebrush steppe
            species.

            M.S. Research (1999-2001): A Habitat Preference Model for Beaver Castor canadensis on the
            Southeastern Coastal Plain USA. Supervisor: Dr. Joel Snodgrass
            I modelled beaver habitat preference in blackwater streams of the southeast by creating and using
            multiple GIS coverages. Local geomorphic variables, including watershed size above each reach,
            gradient, floodplain width, and presence of road crossings were measured for individual reaches. I
            used stepwise logistic regression to predict probability of impoundment of reaches based on these
            local habitat characteristics. The final model included watersheds size above reaches, gradient, and
            presence of roads. Road crossings increased probabilities of impoundment at each reach,
            suggesting that beavers utilized culverts created by road crossings to simplify processes of
            impounding streams. The model should be useful to managers trying to balance and mitigate
            conflicting demands of protection and management of renewable resources (e.g., timber) and
            biological diversity associated with beaver impoundment of southeastern streams.

            Research Assistantship (2000): Rutgers University. Supervisor: Dr. Joel Snodgrass
            I collected amphibians to study the effects of heavy metal contamination on developing tadpoles
            from isolated and damaged wetlands. Addition field collections for other projects included various
            fish species and alligators.

            B.S. Research (1997-1998): Bioaccumulation of Mercury by Earthworms Living on the
            Contaminated Flood Plain of the South River and South Fork of the Shenandoah River, VA.
            Supervisor: Dr. Dean Cocking
            My study investigated mercury contamination in soils and earthworms inhabiting a polluted
            floodplain. Samples were taken both upstream and downstream from a point source of
            contamination. Both soils and worms were digested using strong acids, with the resulting solution
            analyzed for mercury (Hg) levels in soils and tissues. Worms were shown to exhibit
            bioconcentration and bioaccumulation of Hg from the soil, depending on worm/soil Hg
            concentration ratios. Results indicated that at low soil Hg concentrations, worms readily uptake
            Hg from the soil. However, in areas of high soil Hg concentrations, at saturation point worms have
            the ability to excrete Hg, thus lowering the worm/soil Hg ratios.

      Employment

            Independent Contractor (2006-2014).
             I worked independently and in team situations for a state agency, various NGO's and a private
            company to provide assistance in literature review, experimental design, field coordination, data
            collection, analysis and report writing. Contracts ranged from data collection for policy decisions,
            data collection for habitat mitigation measures, and analytical and field work to improve large
            scale connectivity. Example contracts include MT Fish, Wildlife & Parks, The Nature
            Conservancy, Westech, Inc., and Wild Things Unlimited.

            Nonpoint Source Pollution Education & Outreach Coordinator - Montana Department of
            Environmental Quality (2006-2008). Supervisor: Robert Ray
            I developed and lead the education and outreach components of Montana's Nonpoint Source
            (NPS) planning document and directed statewide coordination for NPS education, outreach, and
            public involvement programs, while considering state water wide range of uses, standards and
            controls. I implemented the education and outreach (E&O) components of the State's NPS
            Management Plan including preparing campaign ads, brochures, GIS maps, presentations, website
            development, press releases and other materials regarding water management. I assisted a swath of
            partners including statewide grassroot voluntary water quality monitoring groups, local watershed
            groups, conservation districts, and water quality entities in understanding policies and
            opportunities as set by State NPS Management Plan. I served as the chairman for the interagency




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           and interdisciplinary Montana Watershed Coordination Council (MWCC) E&O subcommittee, as
           well as on MWCC Water Activities & Steering Committees. I promoted, awarded and
           administered all Clean Water Act Section 319 education and outreach contracts for Montana,
           including multi-funding opportunities for "mini-grant" projects.

           Wildlife Information Specialist - Montana Fish, Wildlife & Parks (2003-2006). Supervisor:
           T.O. Smith
           As part of an interdisciplinary team, I helped to develop and complete the State Wildlife Grants
           Program (SWG) Comprehensive Fish & Wildlife Conservation Strategy. The strategy was an
           interagency endeavor to collect scientific data, which included state and federal agencies,
           universities, tribes, non-profit organizations and private industry. I performed spatial and temporal
           analysis using GIS. I assisted in biological and public meetings to prioritize wildlife species and
           habitat requirements on a regional basis and identifying threats and mitigation opportunities to
           these priority species and landscapes and multi-scales. I co-lead in researching, compiling and
           synthesizing data as well as writing and editing both the complete strategy and the executive
           summary land use plans. Additionally, I lead in all components of a SWG funded project to
           inventory species diversity of state lands with focus on small mammals, birds, reptiles and
           amphibians. Duties included writing grant proposal and protocol for inventory, marketing job
           announcement, interviews and hiring of interns, contract negotiation between universities and
           FWP for interns, coordination between land owners and crews, managing interns, capture and
           inventory diverse species, data management and analysis.

           Biological Technician, Mountain Lion Project - Montana Fish, 26                Parks (2002-
           2003). Supervisor: Rich DeSimone
           I assisted in multiple phases of Garnet Mountains mountain lion project, including data
           management and analysis, equipment maintenance (computers, GPS, radio collars, cameras,
           snowmobiles, ATV's, state trucks, pack equipment), telemetry from ground and small aircraft, and
           tracking and capturing of mountain lions. I lived remotely to survey mountain lions via
           snowmobiles and ATV's. Lions were tracked, captured and radio collared, utilizing drugs to
           tranquilize individuals. Public outreach with landowners, hunters, and the general public and other
           agencies was common.

           Field Organizer - Friends of Max Baucus (2002). Supervisor: Jim Messina
           I independently operated one of nine re-election campaign stations in Montana, for Montana U.S.
           Senator Max Baucus. I planned, coordinated and managed public events such as parades, fairs,
           fundraisers, and “Get out the Vote (GOTV) in three counties (Lewis & Clark, Broad water, and
           Jefferson). I recruited and supervised volunteers while working closely with local candidates,
           unions, and party members to increase public turnout. I planned and coordinated other large
           projects such as securing locations for highway signs, yard signs, statewide literature drops, and
           endorsements for the senator.

           Biological Technician, GS-06 - Lake Clark National Park and Preserve (2001). Supervisor:
           Dennis Knuckles
           I was a team member in creating a coastal brown bear management program for Lake Clark
           National Park and Preserve. I was a team member in monitoring study to evaluate cumulative
           human impacts to brown bear behavior and critical habitat use, population estimation and,
           assessment of important vegetation usage within critical habitat. I supervised remote field sites of
           high concentrations of brown bears with or without human conflicts. I contributed to and
           conducted bear “aversive conditioning” incidents within remote locations following National Park
           protocols to mitigate human-bear conflicts. I conducted remote field observations of Dall's sheep
           and moose and recorded hunters within park and preserve territory to maintain hunting regulations
           and poaching restrictions park-wide.




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      Publications

              18. Jakes, A., DeCesare, N.J., Gates, C.C., Jones, P.F., Hebblewhite, M., Kunkel, K. In
              Preparation. Designing seasonal connectivity networks using pronghorn migrations across a
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              17. Jakes, A., Jones, P.F., Paige, C., Seidler, R., Huijser, M., Ament, R. In Preparation. Fence
              ecology: a new discipline examining wildlife - fence interactions.

              16. Jones, P.F., Jakes, A., Eacker, D.R., Hebblewhite, M., Martin, B. In Preparation. To cross or
              not to cross? Evaluating responses to fence modifications by pronghorn across the northern great
              plains of North America.

              15. Jakes, A., DeCesare, N.J., Gates, C.C., Jones, P.F., Hebblewhite, M., Story, S., Olimb, S.,
              Kunkel, K. In Preparation. Multi-scale selection of migration pathways by pronghorn in relation
              to environmental gradients and anthropogenic factors.

               14. Burkholder, E., Jakes, A., Jones, P.F., Hebblewhite, M., Bishop, C. 2017. To jump or not to
              jump: Mule deer and white-tailed deer crossing decisions. Wildlife Society Bulletin. In Review.

              13. Jakes, A., Gates, C.C., DeCesare, N.J., Jones, P.F., Goldberg, J.F., Kunkel, K., Hebblewhite,
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              11. Poor, E., Jakes, A., Loucks, C., Suitor, M. 2014. Modeling Fence Location and Density at a
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              9. Gates, C.C., Jones, P., Suitor, M., Jakes, A., Boyce, M.S., Kunkel, K., Wilson, K. The
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              Evolutionary Potential or a Riposte to Threatening Processes? Somers, M.J., Hayward, M. (Eds.).
              Springer Press, 320 pp.

              8. Jakes, A., Poor, E. 2011. Modeling Fence Location and Density at a Landscape Level Scale in
              Montana. Proceeding of the 24th Biennial Pronghorn Conference, Laramie, WY. 25 pp.

              7. Jakes, A., J. W. Snodgrass, J. Burger. 2007.Castor canadensis (Beaver) Impoundment
              Associated with Geomorphology of Southeastern Streams. Southeastern Naturalist. 6(2): 271-282.

              6. Montana Department of Environmental Quality. 2007. Montana Nonpoint Source Management
              Plan. Water Quality Planning Bureau, Watershed Protection Section. 136 pp. & app.

              5. Helena Urban Wildlife Task Force. 2007. City of Helena Urban Deer Management Plan:
              Findings and Recommendations of the Helena Urban Wildlife Task Force. 57 pp. & app.

              4. Montana Fish, Wildlife & Parks. 2005. Montana Comprehensive Fish & Wildlife Conservation
              Strategy. 658 pp.

              3. Montana Fish, Wildlife & Parks. 2005. Executive Summary: Montana Comprehensive Fish &
              Wildlife Conservation Strategy. 91 pp.




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              2. Carson, S., Messer, A., Jakes, A., Rauscher, R. 2005. Small Mammal Inventory Report for
              First Field Season, Eastern MT. Montana Fish, Wildlife & Parks. 35 pp.

              1. DeSimone, R., Semmens, B., Chilton, T., Edwards, V., Hedrick, G., Jaffe, R., Jakes, A.,
              Powell, D., Powers, J., Powers, S., and Trapkus, M. 2004. Garnet Mountains Mountain Lion
              Research. Progress Report January 2003-December 2004. Montana Fish, Wildlife & Parks. 16 pp.

      Presentations

              32. Factors Influencing Seasonal Migrations of Pronghorn across the Northern Sagebrush Steppe,
              Webinar co-hosted by GNLCC & PPP LCC, Missoula MT, September 2016.

              31. Fencing: A Tool or Obstacle for Managing & Conserving Wildlife? Plenary Session
              Moderator, 27th Biennial Pronghorn Conference, Fairmont Hot Springs MT, August 2016.

              30. Factors Influencing Seasonal Migration of Pronghorn across the Northern Sagebrush Steppe,
              27th Biennial Pronghorn Conference, Fairmont Hot Springs MT, August 2016.

              29. Evaluating the use of Modified Fence Sites by Pronghorn in the NSS, 27th Biennial Pronghorn
              Conference, P. Jones - Presenter, Fairmont Hot Springs MT, August 2016.

              28. Impacts of Severe Winter Weather on Pronghorn Survival in Partially Migratory Populations,
              27th Biennial Pronghorn Conference, D. Eacker - Presenter, Fairmont Hot Springs MT, August
              2016.

              27. To Jump or not to Jump: Mule Deer (Odocoileus hemionus) and white-tailed deer (Odocoileus
              virginianus) crossing decisions, 27th Biennial Pronghorn Conference, E. Burkholder - Presenter,
              Fairmont Hot Springs MT, August 2016.

              26. Connectivity in Wildlife Conservation and Management - Using Pronghorn and Fencing as a
              Case Study, WBIO 275: Wildlife Conservation Lecture - University of Montana, Missoula MT,
              April 2016.

              25. Connectivity in Wildlife Conservation and Management - Using Pronghorn and Fencing as a
              Case Study, WBIO 370: Wildlife Habitat Conservation & Management Lecture - University of
              Montana, Missoula MT, April 2016.

              24. Factors Influencing Seasonal Migration of Pronghorn across the Northern Sagebrush Steppe,
              The Wildlife Society Meetings - Montana Chapter, Missoula MT, February 2016.

              23. To Jump or not to Jump: Mule Deer (Odocoileus hemionus) and white-tailed deer (Odocoileus
              virginianus) crossing decisions, The Wildlife Society Meetings - MT Chapter, E. Burkholder -
              Presenter, Missoula MT, February 2016.

              22. Public Radio International - Living on Earth with Steve Curwood: Man-made Barriers to
              Pronghorn Migration. Story with Clay Scott aired November 6, 2015.
              http://www.loe.org/shows/shows.html?programID=15-P13-00045#feature4

              21. Use of Remote Cameras to Document Pronghorn Interactions with Fencing, 5th Annual TNC
              Matador Ranch Science and Land Management Symposium, Zortman MT, June 2015.

              20. Pronghorn Migration in the Northern Sagebrush Steppe: Managing a Multi-Jurisdictional
              Species, Helena High School, Helena MT, November 2014.

              19. Pronghorn Migration in the Northern Sagebrush Steppe: Managing a Multi-Jurisdictional
              Species, ACA Wildlife in the Wind Series, Lethbridge AB, November 2014.




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           18. Factors Influencing Pronghorn Seasonal Migrations across the Northern Sagebrush Steppe, 4‘h
           Annual TNC Matador Ranch Science and Land Management Symposium, Zortman MT, June
           2014.

           17. Factors Influencing Pronghorn Movement, Supportive of a Regional Design across the
           Northern Sagebrush Steppe, MT FWP Montana Wild series, Helena MT, January 2013.

           16. Development of a regional fence-density model with implications for wildlife management,
           The Wildlife Society Meetings (Both MT Chapter and NW Section), Great Falls MT, February
           2012.

           15. Species-specific scaling to define and conserve the Northern Great Plains prairie region, The
           Wildlife Society Meetings (Both MT Chapter and NW Section), M. Kohl - Presenter, Great Falls
           MT, February 2012.

           14. Factors Influencing Pronghorn Movement and Resource Selection, Supportive of a Regional
           Design across the Northern Sagebrush Steppe, University of Montana: College of Forestry and
           Conservation Graduate Lecture Series, Missoula MT, September 2011.

           13. Factors Influencing Pronghorn Movement and Resource Selection, Supportive of a Regional
           Design across the Northern Sagebrush Steppe, Northern Sagebrush Steppe Initiative Annual
           Meeting, Havre, MT, February 2011.

           12. Modeling Fence Location and Density at a Landscape Level Scale in Montana, 24th Biennial
           Pronghorn Conference, Laramie WY, May 2010.

           11. Poster: Effects of Fence Type on Pronghorn Movement in North-Central Montana, 24th
           Biennial Pronghorn Conference, Laramie WY, May 2010.

           10. Cumulative Effects of Development on Pronghorn Distribution and Movements in the
           Northern Sagebrush Steppe, 24th Biennial Pronghorn Conference, Laramie WY, May 2010.

           9. Cumulative Effects of Development on Pronghorn Distribution & Movements in the Northern
           Sagebrush Steppe, MT FWP Region 6 Citizen Advisory Council Meeting, Malta MT, August
           2009.

           8. Cumulative Effects of Development on Pronghorn Distribution & Movements in the Northern
           Sagebrush Steppe, Crossing the Medicine Line Annual Meeting, Havre MT, April 2009.

           7. Cumulative Effects of Development on Pronghorn Distribution & Movements in the Northern
           Sagebrush Steppe, Northern Sagebrush Steppe Initiative Annual Meeting, Medicine Hat AB,
           February 2009.

           6. Poster: Preliminary Findings of the Helena Urban Wildlife Task Force, The Wildlife Society
           Meetings - Montana Chapter, Bozeman MT, February 2007.

           5. Poster: Department of Environmental Quality Section 319 Successes in Restoration,
           Groundwater and Education & Outreach Projects, MWCC Watershed Symposium, Great Falls
           MT, December 2006.

           4. A Habitat Preference Model for Beaver Castor canadensis on Southeastern Coastal Plains,
           USA, Montana Fish, Wildlife & Parks Seminar, Helena MT, March 2005.

           3. State Wildlife Grants Program (SWIG) and the Comprehensive Fish & Wildlife Conservation
           Plan for Montana, The Wildlife Society Meetings - Montana Chapter, Bozeman MT, February
           2004.




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              2. A Habitat Preference Model for Beaver Castor canadensis on Southeastern Coastal Plains,
              USA, American Society of Mammologists, Missoula MT, June 2001.

              1. A Habitat Preference Model for Beaver Castor canadensis on Southeastern Coastal Plains,
              USA, Towson University Research Expo, Towson MD, April 2001.

      Grants & Scholarships

          Post-Doctoral:
              25. National Fish and Wildlife Foundation - Alberta Conservation Association, Fall 2016,
              $156,200
              24. Sage-Grouse Initiative - University of Montana, Fall 2016, $20,000
              23. National Fish and Wildlife Foundation - Alberta Conservation Association, Fall 2014,
              $198,000
          Doctorate:
              22. EVDS Graduate Student Support Awards - University of Calgary, Fall 2014, $1,025
              21. EVDS Graduate Student Support Awards - University of Calgary, Summer 2012, $1,025
              20. Counter Assault, Inc. - Winter 2012, $500
              19. EVDS Graduate Student Support Awards - University of Calgary, Winter 2012, $2,050
              18. EVDS Graduate Student Support Awards - University of Calgary, Fall 2011, $2,050
              17. EVDS Graduate Student Support Awards - University of Calgary, Summer 2011, $2,050
              16. Saskatchewan Ministry of Environment Fish & Wildlife Development Fund, Spring 2011,
              $5,000
              15. EVDS Graduate Student Support Awards - University of Calgary, Summer 2010, $2,000
              14. Saskatchewan Ministry of Environment Fish & Wildlife Development Fund, Spring 2010,
              $5,000
              13. EVDS Graduate Student Support Awards - University of Calgary, Winter 2010, $2,000
              12. Accelerate Alberta - The Mathematics of Information Technology and Complex Systems Inc.
              (MITACS), Fall 2009, $15,000
              11. Agriculture Canada - PFRA, Spring 2009, $20,000
              10. US Bureau of Land Management Collaborative Project Grant, Spring 2009, $150,000
              9. Saskatchewan Ministry of Environment Fish & Wildlife Development Fund, Spring 2009,
              $5,000
              8. Alberta Sport, Recreation Parks & Wildlife Foundation, Development Initiatives Program,
              Spring 2009, $5,000
              7. Research Associate Student Stipend, Montana Fish, Wildlife & Parks, Fall 2008, $30,000
              6. Alberta Conservation Association (Petro-Canada Sustainable Grasslands Program) Student
              Stipend, Fall 2008, $30,000
              5. Glaholt Scholarship Recipient, University of Calgary, Fall 2008, $10,000
              4. Dean’s Entrance Scholarship, University of Calgary, Fall 2008, $6,000
              3. Living With Wildlife, Helena Urban Wildlife Task Force, Summer 2006, $7,000
          Masters of Science:
              2. Biology Department, Rutgers University, Summer 2000, $2,300
              1. Towson University Graduate Student Association, Fall 1999, $300

      Professional Societies:
               1. The Wildlife Society, Montana Chapter




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                                            Paul Beier
                                            Regents’ Professor
                                            Conservation Biology & Wildlife Ecology, School of Forestry,
                                            Northern Arizona University, Flagstaff AZ 86011-5018 (May
                                            1992-present)
                                            Phone 928-523-9341. Skype paul.beier. Email
                                            paul.beier@nau.edu. Web: http://oak.ucc.nau.edu/pb1/
                                            Ph.D. (Wildland Resource Science), University of California,
                                            Berkeley, 1988

                                            Summary
                                          For 25 years I have specialized in science-based design of
                                          wildlife corridors and unabashed activism for conserving
                                          them on the ground. My 1988-1992 study of cougars
                                          documented that young cougars find and use habitat
   corridors to maintain gene flow among mountain ranges in urbanizing southern California.
   Recent projects are developing rigorous estimates of landscape resistance to gene flow and
   movement for various species. ♦ 4 book chapters and 27 peer-reviewed papers related to wildlife
   linkage design, plus two statewide maps of wildlife corridors, namely Arizona Wildlife Linkage
   Assessment (2006) and California Essential Habitat Connectivity (2010). ♦ 60 detailed linkage
   designs in Arizona & California ♦ freely-shared GIS tools for linkage design
   (www.corridordesign.org ) ♦ a lead author of the Wildlife Corridors Initiative, unanimously
   adopted by the Western Governors Association in 2008 ♦ framework for wildlife corridors for
   the government of Bhutan ♦ founding member and current president of SC Wildlands
   (www.scwildlands.org) which specializes in using science and collaboration to connect
   wildlands
   Since 2010, I’ve developed a second focus on “conserving nature’s stage” (CNS) - prioritizing
   sites for conservation on the basis of their topographic and soil traits, in the hope that such sites
   will interact with any climate (including the wild card climates coming at us) to harbor most
   species. The world desperately needs a coarse-filter climate-adaptation strategy that does not
   depend on rococo models in which emission scenarios drive circulation models which drive
   species envelope models linked to species dispersal models. Sadly, the desperate need for CNS
   does not guarantee it is a good strategy. I’m working hard to develop and assess CNS strategies
   so planners can lurch forward armed with an appropriate mix of trepidation and confidence.
   Work not related to these 2 themes: ♦ co-production of science by scientists and decision-makers
   ♦ community-based conservation projects in Ghana ♦ field studies of white-tailed deer, beaver,
   mountain beaver, northern goshawks, Mexican spotted owls, and forest birds ♦ My students have
   studied insectivorous birds as top-down regulators, plague dynamics in prairie dogs & fleas
   assemblages, and lots of other cool stuff. ♦ President of the Society for Conservation Biology
   (2011-2013) ♦
   Professional Societies
   Society for Conservation Biology since 1990, Handling Editor for Conservation Biology 2015-present.
       (See Related Activities for more information)
   The Wildlife Society (Certified Wildlife Biologist) since 1982; Associate Editor, Journal of Wildhfe
       Management 2010-2013.



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   Curriculum Vitae -- Paul Beier                                                                   2


   American Society of Mammalogists since 1985

   Peer-Refereed Publications & Book Chapters
   Keeley ATH, Beier P, Keeley BW, Fagan ME. 2017. Habitat suitability is a poor proxy for landscape
      connectivity during dispersal and mating movements. Landscape & Urban Planning: in press.
   Reilly ML, Tobler MW, Sonderegger DL, Beier P. 2016. Spatial and temporal response of wildlife to
      recreational activities in the San Francisco Bay ecoregion. Biological Conservation: doi
      10.1016/j.biocon.2016.11.003.
   Beier P, Hansen L, Hellbrecht LJ, Behar D. 2016. A how to guide for co-production of actionable
      science. Conservation Letters: doi: 10.1111/conl.12300.
   Albuquerque F, Beier P. 2016. Predicted rarity-weighted richness, a new tool to prioritize sites for
      species representation. Ecology and Evolution 8:8107-8114. DOI: 10.1002/ece3.2544
   Alsamieh K, Kaboli M, Beier P. 2016. Identifying habitat cores and corridors for the Iranian black bear in
        Iran. Ursus 27:18-30. DOI: 10.2192/ursus-d-15-00032.1
   Blazquez-Cabrera S, Gaston A, Beier P, Garrote G, Simon MA, Saura S. 2016. Influence of separating
      home range and dispersal movements on characterizing corridors and effective distances. Landscape
      Ecology 31:2355-2366. DOI 10.1007/s10980-016-0407-5
   Aycrigg JL, Groves C, Hilty JA, Scott JM, Beier P. 2016. Completing the system: new opportunities and
      challenges for a national habitat conservation system. BioScience 66:774-784 doi:10.1093/biosci/biw090
   Albuquerque F, Beier P. 2016. Downscaling patterns of complementarity to a finer resolution and its
      implications for conservation prioritization. Ecology and Evolution 6:4032-4040, doi:
      10.1002/ece3.2190
   Keeley ATH, Beier P, Gagnon JW. 2016. Estimating landscape resistance from habitat suitability: effects
      of data source and nonlinearities. Landscape Ecology 31:2151-2162. DOI: 10.1007/s10980-016-0387-
      5
   Beier P, Albuquerque FS. 2016. Evaluating P diversity as a surrogate for species representation at fine
      scale. PLoS One: doi: 10.1371/journal.pone.0151048.
   Gaston, A, Blazquez-Cabrera S, Garrote G, Mateo-Sanchez MC, Beier P, Simon MA, Saura S. 2016.
      Response to agriculture by a woodland species depends on cover type and behavioural state: insights
      from resident and dispersing Iberian lynx. J Applied Ecology 53:814-824. DOI 10.1111/1365­
      2664.12629.
   Zeller KA, McGarigal K, Cushman SA, Beier P, Vickers TW, Boyce WM. 2016. Using step and path
        selection functions for estimating resistance to movement: pumas as a case study. Landscape
        Ecology 31:1319-1335. DOI 10.1007/s10980-015-0301-6
   Albuquerque FS, Beier P. 2015. Using abiotic variables to predict importance of sites for species
        representation. Conservation Biology 29:1390-1400. DOI: 10.1111/cobi.12520.
   Beier P, Albuquerque FS. 2015. Environmental diversity as a surrogate for species representation.
        Conservation Biology: 29:1401-1410. DOI: 10.1111/cobi.12495.
   Beier P, Hunter ML, Anderson MG. 2015. Conserving nature’s stage. Conservation Biology 29:613-617.
   Beier P, Sutcliffe P, Hjort J, Faith DP, Pressey RL, Albuquerque F. 2015. A review of selection-based
        tests of abiotic surrogates for species representation. Conservation Biology 29:668-679. doi:
        10.1111/cobi.12509
   Anderson MG, Comer PJ, P Beier P, Lawler J, Schloss C, Buttrick S, Albano C, Faith D. 2015. Case
       studies of conservation plans that incorporated geodiversity. Conservation Biology 29:680-691.
   Albuquerque FS, Beier P. 2015. Rarity weighted richness: a simple and reliable alternative to integer
       programming and heuristic algorithms for minimum set and maximum coverage problems in
       conservation planning. PLoS One: DOI: 10.1371/journal.pone.0119905.
   Albuquerque FS, Beier P. 2015. Global patterns and environmental correlates of high priority
       conservation areas for vertebrates. Journal ofBiogeography 42:1397-1405. doi:io.iiii/jbi.i2498
   Albuquerque FS, Benito B, Beier P, Assuncao-Albuquerque M, Cayuela L. 2015. Supporting
       underrepresented forests in Mesoamerica. Natureza & conservagdo 13:152-158



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   Curriculum Vitae -- Paul Beier                                                                    3


        doi:10.1016/j.ncon.2015.02.001
   Chornesky E, Ackerly D, Beier P, Davis F, Flint L, Lawler J, Moyle P, Moritz M, Scoonover M, Alvarez
        P, Byrd K, Heller N, Micheli E, Weiss S. 2015. Adapting California’s ecosystems to climate change.
        BioScience 65:247-262. 10.1093/biosci/biu233
   Schmitz O, Lawler JJ, Beier P, Groves C, Knight G, Boyce D, Bulluck J, Johnston KM, Klein ML,
        Muller K, Pierce DJ, Singleton WR, Strittholt JR, Theobald D, Trombulak S, Trainor A. 2015.
        Conserving biodiversity: practical guidance about climate change adaptation approaches in support
        of land-use planning. Natural Areas Journal 35:190-203.
   Gregory AJ, Beier P. 2014. Response variables for evaluation of the effectiveness of conservation
        corridors. Conservation Biology 28:689-695.
   Graves T, Chandler R, Royle JA, Beier P, Kendall KC. 2014. Estimating landscape resistance to
        dispersal. Landscape Ecology 29:1201-1211.
   Zeller KA, McGarigal K, Beier P, Cushman SA, Vickers TW, Boyce WM. 2014. Sensitivity of landscape
        resistance estimates based on point selection functions to scale and behavioral state: pumas as a case
        study. Landscape Ecology 29:541-557.
   Graves T, Beier P, Royle JA. 2013. Current approaches using genetic distances produce poor estimates
        of landscape resistance to inter-individual dispersal. Molecular Ecology 22:3888-3903.
   Schaefer J, Beier P. 2013. Going public: an active role for scientists in conservation. International
        Journal ofEnvironmental Studies 70:429-437. doi 10.1080/00207233.2013.800374.
   Cushman SA, McRae BH, Adriaensen F, Beier P, Shirley M, Zeller K. 2013. Biological corridors. Pages
        384-404 in DW Macdonald and K Willis, editors. Key Topics in Conservation Biology, volume 2.
        Wiley-Blackwell, 528pp.
   Noss R, Dobson AP, Baldwin R, Beier P, Davis CR, DellaSala DA, Francis J, Locke H, Nowak K, Lopez
        R, Reining C, Schmiegelow FA, Trombulak SC, Tabor G. 2012. Thinking and talking bigger for
        conservation [editorial]. Conservation Biology 26:1-4.
   Beier P, Gregory A. 2012. Desperately seeking stable 50-year-old landscapes with patches and long, wide
        corridors. PLOS Biology 10:e1001253:4 pages.
   Beier P, Ingraldi MF. 2012. There is no evidence that the Forest Service’s goshawk recommendations
        improve goshawk nest productivity. Wildhfe Society Bulletin 36:153-154.
   Beier P. 2012. Conceptualizing and designing corridors for climate change. Ecological Restoration
        30:312-319.
   Brost BM, Beier P. 2012. Comparing linkage designs based on land facets to linkage designs based on
        focal species. PLoS One 7(11): e48965. doi:10.1371/journal.pone.0048965.
   Brost BM, Beier P. 2012. Use of land facets to design linkages for climate change. Ecological
        Applications 22:87-103. DOI: 10.1111/j.1523-1739.2011.01716.x
   Graves T, Royle JA, Kendall K, Beier P, Stetz J, McLeod A. 2012. Balancing precision and risk: should
        multiple detection methods be analyzed separately in N-mixture models? PLoS One:
        http://dx.plos.org/10.1371/journal.pone.0049410.
   McRae B, Hall S, Beier P, Theobald D. 2012. Where to restore connectivity? Detecting barriers and
        quantifying restoration benefits. PLoS One: 7(12): e52604. doi:10.1371/journal.pone.0052604.
   Lopez R, Beier P. 2012. Weathered antlers as a source of DNA. Wildhfe Society Bulletin 36:380-382.
   Rudnick D, Ryan S, Beier P, Cushman SA, Dieffenbach F, Epps C, Gerber L, Hartter J, Jenness J,
        Kintsch J, Merenlender A, Perkl A, Preziosi D, Trombulak S. 2012. The role of landscape
        connectivity in planning and implementing conservation and restoration priorities. Issues in Ecology
        16:1-19.
   Bayless TA, Beier P. 2011. Occurrence and habitat characteristics of burrowing owl nests in Gunnison’s
        prairie dog colonies of northeastern Arizona. J. Arizona-Nevada Academy o_fSciences 42:65-74.
   Beier P, Spencer WD, Baldwin R, McRae BH. 2011. Toward best practices for developing regional
        connectivity maps. Conservation Biology 25:879-892.
   Beier P, Brost B. 2010. Use of land facets in planning for climate change: conserving the arenas not the
        actors. Conservation Biology 24:701-710.
   Bridgeland WT, Beier P, Kolb T, Whitham TG. 2010. A conditional trophic cascade: birds benefit faster­



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   Curriculum Vitae -- Paul Beier                                                                    4


        growing trees with strong links between predators and plants. Ecology 91:73-84.
   Friggens M, Beier P. 2010. Anthropogenic disturbance and the risk of flea-borne disease transmission.
        Oecologia 164:809-820.
   Beier P, Riley SPD, Sauvajot RM. 2010. Mountain lions. Pages 177-189 in SD Gehrt, SPD Riley, and BL
        Cypher, eds. Urban carnivores: ecology, conflict, and conservation. Johns Hopkins University Press,
        Baltimore, Maryland.
   Beier P. 2009. Cougars and conservation planning. Pages 177-189 in M. Hornocker and S. Negri,
        editors, Cougar ecology and conservation. University of Chicago Press.
   Beier P, Majka DR, Newell SL. 2009. Uncertainty analysis of least-cost modeling for designing wildlife
        linkages. Ecological Applications 19:2067-2077.
   Pope TL, Block WM, Beier P. 2009. Prescribed fire effects on wintering, bark-foraging birds in northern
        Arizona. Journal of Wildlife Management: 73:695-700.
   Beier P, Majka D, Spencer WD. 2008. Forks in the road: choices in procedures for designing wildlife
        linkages. Conservation Biology 22:836-851.
   Beier P, Rogan EC, Ingraldi MF, Rosenstock SS. 2008. Does forest structure affect reproduction of
        northern goshawks in ponderosa pine forests? Journal ofApplied Ecology 45:342-350.
   McRae BH, Beier P. 2008. Circuit theory predicts gene flow in plant and animal populations.
        Proceedings National Academy ofSciences 104:19885-19890.
   Rosalino LM, Santos MJ, Beier P, Santos-Reis M. 2008. Eurasian badger habitat selection in
      Mediterranean environments: does scale really matter? Mammalian Biology 73:189-198.
   Santos MJ, Beier P. 2008. Habitat selection by European badgers at multiple spatial scales in Portuguese
        Mediterranean ecosystems. Wildlife Research 35:835-843.
   Trapp JR, Beier P, Mack C, Parsons DR, Paquet PC. 2008. Wolf, Canis lupus, den site selection in the
        Rocky Mountains. Canadian Field-Naturalist 122:49-56.
   Dickson BG, Beier P. 2007. Quantifying the influence of topographic position on cougar movement in
        southern California USA. Journal ofZoology (London) 271:270-277.
   Waskiewicz JD, Fule PZ, Beier P. 2007. Comparing classification systems for ponderosa pine snags in
        northern Arizona. Western Journal ofApplied Forestry: 22:233-240.
   Wightman CS, Germaine SS, Beier P. 2007. Landbird community composition varies among seasons in a
        heterogeneous ponderosa pine forest. Journal ofField Ornithology 78(2):184-194.
   Beier P, AI Tungbani AI. 2006. Nesting with wasps increases nest success of the Red-cheeked Cordon-
        Bleu. The Auk 123:1022-1037.
   Beier P, Vaughan MR, Conroy MJ, Quigley H. 2006. Evaluating scientific inferences about the Florida
        Panther. Journal of Wildlife Management 70:236-245.
   Conroy MJ, Beier P, Quigley H, Vaughan MR. 2006. Improving the use of science in conservation:
      lessons from the Florida panther. Journal of Wildh^fe Management 70:1-7.
   Beier P, Penrod K, Luke C, Spencer W, Cabanero C. 2006. South Coast Missing Linkages: restoring
        connectivity to wildlands in the largest metropolitan area in the United States. Pages 555-586 In KR.
        Crooks and MA Sanjayan, editors, Connectivity conservation, Cambridge University Press.
   Beier P. 2006. Effects of artificial night lighting on terrestrial mammals. Pages 19-42 In C Rich, T
        Longcore, editors, Ecological consequences of artificial night lighting. Island Press.
   Noss RF, Beier P, Covington WW, Grumbine RE, Lindenmayer DB, Prather JW, Schmiegelow F, Sisk
        TD, Vosick DJ. 2006. Recommendations for integrating restoration ecology and conservation
        biology in ponderosa pine forests of the Southwestern United States. Ecological Restoration 14:4-10.
   Adjewodah P, Beier P, Sam MK, Mason JJ. 2005. Elephant crop damage in the Red Volta Valley,
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       Mountains-Sonoran Desert National Monument-Sierra Estrella, Granite Mountain-Black Hills,
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       Mountains, Galiuro Mountains-Pinaleno Mountains-dos Cabezas Mountains, and Mount Perkins­
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       Pages 89-118 In RN Sampson, DA Atkinson, JW Lewis, editors, Mapping Wildfire Hazards and
       Risks. Haworth Press.
   Noss RF, Beier P. 2000. Arguing over little things: response to Haddad et al. Conservation Biology
        14:1546-1648.

   Synergistic Activities
   Member, Advisory Committee on Climate Change and Natural Resource Science, appointed by Interior
        Secretary Sally Jewell, May 2013-May 2018. In this capacity I was lead author of the How-to guide
       for co-producing actionable science (published in peer reviewed form as Beier et al. 2016).
   Handling Editor, Conservation Biology, 2015-present
   Recovery Team Member for the ocelot, Felis pardalis, 2003 through 2016.
   Recovery Team for the northern jaguar, Panthera onca, 2010 to present
   Member, IUCN Connectivity Conservation Specialist Group (CCSG), Dec 2016 to present
   Member, IUCN World Commission on Protected Areas (WCPA), Dec 2016 to present
   Board of Governors, Society for Conservation Biology, 2002-2015 (President 2011-2013). Chaired
        committee that developed SCB’s first Code of Ethics (2004). Chaired committee that made SCB the
        first professional ecological society to offset its impact on greenhouse gasses (2005-2010).
        Conservation Chair of Colorado Plateau Chapter (Nov 2001-Sep 2005)
   Co-developer of CorridorDesign software (www.corridordesign.org), a set of ArcGIS and ArcMap tools
        for design of wildlife corridors for multiple focal species; Corridor Evaluation Tools evaluate
        alternative corridor designs and help decision-makers identify good compromises.
   Organizer and editor, workgroup on Conserving Nature’s Stage. With support from Doris Duke
        Charitable Foundation, I convened a 2.5-day working group of 31 scientists from around the globe in
        July 2013. I served as editor for a special section of 8 papers (plus an editorial) which appeared in
        print in Conservation Biology < 24 months after the workshop.
   Core Advisor, Yale Framework for Wildlife Conservation and Climate Change Adaptation, 2010-2012.
   Science Advisory Council, Freedom to Roam, 2010-2013.
   Science Advisor to US Forest Service: Conserving marten, fisher, red fox, and wolverine in the Sierra
       Nevada and California Cascades, Sep 2010-present.
   Consultant to government of Bhutan. 2010. I developed a Framework for implementing Biological
        Corridors in Bhutan.
   Consultant to California Department of Transportation and California Fish & Game Department. 2008­
        2010. Our team produced a map and strategic plan for conserving connectivity throughout the state



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   Curriculum Vitae -- Paul Beier                                                                   8


        of California (Spencer et al. 2010, above) on time and on budget.
   Lead Author, Science Committee of the Western Governors Association’s Wildlife Corridors Initiative, a
        multi-state effort to improve management for wildlife corridors and crucial habitat, Sept 2007-Sept
        2008. Our science report and the Wildlife Corridors Initiative (http://www.westgov.org/wildlife-
        corridors-and-crucial-habitat) was unanimously adopted by the western Governors (80%
        Republican) and led to the creation of the Western Governors Wildlife Council.
   Cofounder and Board Member of SCW [Science & Collaboration for Connected Wildlands], 2001-
       present; President 2008-present. I co-wrote successful proposals totaling >$1.5M for this science
       based conservation NGO. SCW co-produced 72 detailed linkage designs that are being actively
       implemented in the San Francisco Bay area, coastal southern California, and the deserts of southern
       California (available at https://www.wildlife.ca.gov/Conservation/Planning/Connectivity and
       www.scwildlands.org)
   Arizona Wildlife Linkage Workgroup, 2004-present. a collaboration among Arizona Game & Fish
        Department, Arizona Department of Transportation, Federal Highways Administration, US Forest
        Service, Bureau of Land Management, and others to maintain and restore wildland connectivity in
        Arizona.
   Panelist (1 of 10) to develop climate adaptation strategies for the State of California (2011-2012). This
        panel was convened by Resources Legacy Fund at the request of the secretaries of the state of
        California’s resource agencies. Our recommendations were later summarized in Chornesky et al.
        (2015. BioScience).
   Mentor, University Mentoring in Environmental Biology. 2008-2010.
   Fellow, Aldo Leopold Leadership Program (2005). This programs trains 20 Fellows per year to become
        effective environmental leaders by developing skills in collaboration, communicating with the
        media, and developing relationships with members of Congress.
   City of Flagstaff Open Space Commission, 2008-2011.
   Scientific Review of Habitat Conservation Plan for eastern San Diego County (2005-2007). An
        independent review of the geographically most extensive Habitat Conservation Plan. I served in the
        same capacity for the northern San Diego County MSHCP in 2001.
   Fulbright Scholar, African Regional Research Program, 1999-2000 (12 months).
   Fulbright Scholar, African Regional Research Program, 2006-2007 (5 months).
   Science Advisor, Nature Conservation Research Centre, Ghana, 1998-2008. This NGO specializes in
        community-based conservation activities in Ghana. I was the only scientist on the team that wrote
        the first Management Plan for the Wechiau Community Hippopotamus Sanctuary (WCHS). As part
        of this effort I spent > 3 weeks at WCHS each year during 1999-2007 working with traditional
        authorities, local villages, and NCRC. The WCHS project won the UNDP’s Equator Initiative top
        prize for Africa in 2008.
   Science Advisory Council, Grand Canyon Trust, 2000-2002. The GCT is the leading conservation NGO
        in the southwestern US.
   Chair, Scientific Review Team, Florida Panther (May 2002-Dec 2003). Commissioned by the US Fish &
        Wildlife Service and the Florida Wildlife Conservation Commission to evaluate scientific issues
        related to the endangered Florida panther.
   Ecology & Transportation Committee of the Transportation Research Board of The National Academies,
        October 2009-present.
   Member at Large, US National Committee for DIVERSITAS, Nov 2011-Nov 2014.
   Last updated 1 February 2017




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                    orado Native Plant Society


 Dan Dallas, Supei'visor                                                                       July 3,2017
 Rio Grande National Forest
 1803 W. Highway 160
 Monte Vista, CO 81144




 Dear Supei'visor Dallas:

 1 am writing today on behalf of the Colorado Native Plant Society to express our strong support for the
 designation of iconic places on the Rio Grande National Forest in the revised land management plan. In
 particular we are recommending the inclusion of the whole Elephant Rocks Potential Conservation Area as
 described by the Colorado Natural Heritage Program as a designated wilderness area. The Colorado Native
 Plant Society has 6 chapters across the state, with two chapters on the west slope. Our organization is '‘a non­
 profit organization dedicated to furthering the knowledge, appreciation and conservation of native plants and
 habitats of Colorado through education, stewardship and advocacy”. As such we are particularly interested in
 the protection of rare and endangered plants which will be encompassed by your management plan.

 We support the 17 areas recommended for wilderness by The San Luis Valley Ecosystem Council, The
 Wilderness Society, Defenders of Wildlife, Rocky Mountain Wild and others as summarized in the attached
 handout. We urge you to recommend these areas for wilderness in the revised plan and Record of Decision,
 Because we have a particular focus on rare and endangered native plant species and habitats, we particularly
 wish to draw your attention to the Elephant Rocks Potential Conservation Area.

 This site lies at the base of the San Juan foothills on the Saguache-Rio Grande County line. It is comprised of a
 complex of volcanic boulders, rock outcrops, and shrublands separating the prairie of the valley floor from tire
 San Juan Mountains and contains several rare plant species.

 The first of these is Slender Spider Flower (C/eome multicaulis - G2G3 S2S3) which is restricted to wet
 meadows and alkaline flats. It is widely distributed in Mexico and probably brought to CO by the early Spanish
 settlers. With the draining of wetlands it has become quite rare in CO.

The second species is Rock-loving Neoparrya {Aletes lithophilius ~ G3S3) which occurs only in igneous
 outcrops or sedimenJary rock derived from extrusive volcanics, north-facing cliffs and ledges, within pinyon-
juniper woodlands, it is endemic to Colorado in Chaffee, Conejos, Fremont, Huerfano, Rio Grande and
 Saguache counties. This species is only known from ten sites in these counties. Its population has an estimated
2000 individuals.

 In addition, Astragalus cerussatus a watch-list species (G3G4 S3S4) is a milkvetch which occurs in northern
 New Mexico and southern Colorado on rocky slopes. Less than 20 occurrences have been located throughout its
 range.

 And finally, another watch-list species, Forked Spieenwort (Asplefiiuui septeutrionale - G5 S3S4), a grass fem, is
 found here, representing the southernmost extension of this uncommon fem, and is a new county record for
 Saguache,

 In order to protect these raie native plants, it is critical not to just protect the footprint on which they occur, but
 also to protect the habitat that surrounds them which are critical to their survival. In designating the boundaries
 of the conservation area, die Natural Heritage Program provided the following justification:

 P.O. Box 200, Fort Collins, CO 80522     www.conps.org       conpsotfice@aol,com

                                                                                    Rvsd Plan - 00003553
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         “This boundary encompasses an area in which direct impacts to the elements, such as trampling or other
         surface disturbance, should be avoided and provides suitable habitat where additional individuals can
         become established over time. The boundary also encompasses Shaw Springs to ensure the hydrological
         source necessary for the viability of the slender spiderflower.

         The main threat to the rock-loving neoparrya would be physical disturbance of the habitat. The boundary
         was delineated to include the known extent of the plant population and enough of the adjacent area to
         incorporate portions of other habitat types. This additional habitat was included based on the assumption
         that pollinators of the rock-loving neoparrya may also require other types of habitat. The pollinators are
         unknown, consequently we are uncertain if the amount of adjacent habitat is sufficient to support those
         species. With more information, these boundaries may change. This boundary is drawn to I) protect the
         occurrences from direct impacts such as trampling or other suiTace disturbances; and 2) provide suitable
         habitat where additional individuals can become established overtime”.

 In order to protect these important natural resources, we recommend that you not only give them the highest
 level of protection, but also assure that these areas remain free from any activities that may result in trampling
 from various forms of recreation.

                                                            Sincerely,




                                                            Chair, Conservation Committee
                                                            Colorado Native Plant Society




                                                                                Rvsd Plan - 00003554
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                                  San Luis Valley Ecosystem Council
                                   Recommended Wilderness Areas
                               in the Land Management Plan Revision


 Saguache Ranger District

 Antora Meadows (27,700 acres)
    • Will significantly increase representation of ecosystems currently under-protected (lodgepole
       pine, aspen foresVwoodland and grassland),
    • Will increase conservation of imperiled or at risk species including Rio Grande cutthroat trout
       conservation population; habitat for lynx, wolverine, and Mexican spotted owl.
    • Key piece in landscape connectivity, helping fill the largest gap in protected areas in the
       Southern Rockies between La Garita Wilderness on south and Collegiates and Sangres to north.
       Significant portion of Cochetopa Hills roadless complex, one of the largest remaining
       unprotected roadless areas in Colorado.
    • Significant trail system with looping opportunities and connections to CDNST.
    • Low conflict with no interior motorized trails other than system trail 764 which is apparently
       unused and unmaintained.
    • Upper Tier Colorado Roadless Area, located in Saguache County.
    • Western boundary would be PSCO gas pipeline, eastern boundary extent of inventory area (over
       to FDR S61 generally),

 Elkhorn (15,800 acres)
    • Important landscape connectivity link near Poncha Pass,
    • Will significantly increase representation of ecosystems currently under-protected (lodgepole
       pine, aspen forest/woodland and grassland, ponderosa pine).
    • Potential habitat for lynx and wolverine.
    ® Low conflict with no motorized trails.
    • Upper Tier Colorado Roadless Area, located in Saguache County.

 Saguache Creek (Four Mile Creek-Taylor Canyon) (27,100 acres)
    * Will significantly increase representation of ecosystems currency under-protected with 15,000
       acres of grasslands and ponderosa pine.
    • Potential habitat for lynx and Mexican spotted owl.
    • Important piece in landscape connectivity, helping fill the largest gap in protected areas in the
       Southern Rockies between La Garita Wilderness on south and Collegiates and Sangres to north.
    • Diverse ecosystem ranging from grasslands/ponderosa to spruce, and 7 miles of Saguache
       Creek eligible wild river.
    • Significant recreation opportunities highlighted by Saguache Creek trail and other non­
       motorized trails.
    • Upper Tier Colorado Roadless Area, located in Saguache County,

 Sangre de Cristo addition Crestone area (Kit Carson Peak, Cotton Creek) (23,300 acres)
    . Will significantly increase representation of ecosystems currenRundepfrnectgloo^ubdy
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        for pinyon-juniper woodland and riparian forests,
    •   Includes potential extensions of Mill Creek and Deadman Research Natural Areas,
    •   Provides for topographically continuous boundary along lower slopes of the Sangres by slotting
        corner of acquired Baca Grant pa rcel into wilderness.
    •   Contains well-known primitive recreation destinations such as 14,000-foot Kit Carson Peak and
        Challenger Point,
    •   Adjacent to National Park Service recommended wilderness in Great Sand Dunes expansion,
    •   Low conflict with no motorized trails, in Saguache County.

 Sangre de Cristo addition north end (Butterfly Creek-Miller Creek) (4,100 acres)
    • Will increase representation of currently under-protected ecosystems particularly grasslands and
       oak shrublands,
    • Potential habitat for lynx and Mexican spotted owl, some use by Gunnison sage grouse,
    • Vicinity of Poncha Pass lynx linkage area,
    • Non-motorized trails, in Saguache County,

 Sawlog (17,900 acres)
    • Will significantly increase representation of currently under-protected ecosystems, particularly
       grasslands, ponderosa pine, and aspen/woodlands.
    • High potential for species conservation with Rio Grande cutthroat trout conservation
       population; documented used by lynx,
    • Low conflict with no interior motorized trails,
    • Upper Tier Colorado Roadless Area, located in Saguache County,

 Divide Ranger District

 La Garita addition west side - Wason Park (22,000 acres)
    • Will significantly increase representation of currently under-protected ecosystems, specifically
       grasslands.
    • Bighorn sheep migration route.
    • Expands wilderness to encompass additional 8 miles of Continental Divide, protecting
       south/east side of the Divide to its crest.
    • Increases size of existing wilderness by 15%,
    • Provide trailheads nearest to Creede into La Garita Wilderness.
    » Non-motorized trails,
    • Upper Tier Colorado Roadless Area, in Mineral County.

 La Garita additions east side - Lake Fork, Wannaraaker Creek, Deep Creek (14,700 acres)
    • Will significantly increase representation of currently under-protected ecosystems, particularly
       grasslands.
    • Documented lynx use, wolverine habitat, Rio Grande ciittlrroat trout,
    • Expands wilderness to encompass additional 3 miles of Continental Divide, protecting east side
       of the Divide to its crest (Lake Fork addition),
    • Non-motorized trails in Middle Fork, Wannamaker Creek, and Deep Creek that lead to La
                                                                      Rvsd Plan - 00003556
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        Garita Wilderness boundary.
    •   Upper Tier Colorado Roadless Area, in Saguache County,

 Pole Creek Mountain & Sheep Mountain (24,800 acres)
    • Significant landscape connectivity link filling gap amidst encircling protected areas at
       headwaters of Rio Grande, Lake Fork Gunnison, and Animas rivers. Adjacent to other agency
       recommended wilderness - GMUG draft 2006 proposed Carson wilderness and BLM proposed
       Flandies Peak wilderness.
    • Modest contribution to representation of imder-protected ecosystem types, potentially for
       grasslands,
    • High potential for species conservation with one of few known Uncompahgre fritillary
       populations, high use by lynx, two potential RNAs for only known global occurrences of
       stonecrop gilia, wolverine habitat.
    • Significant backcountry recreation use on CDNST/Colorado Trail, and interconnected trail
       system over the Divide into non-mechanized trails on the GMUG.
    • Can avoid motorized trail conflicts with boundary modification to create distinct Pole Creek
       Mountain unit and adjacent Sheep Mountain unit to west,
    • Upper Tier Colorado Roadless Area, located in Hinsdale and San Juan counties.

 Weminuche addition - Snowshoe Mountain (34,300 acres)
   • Will significantly increase representation of currently under-protected ecosystems particularly,
      grasslands and dry mixed conifer forest,
   • Highest species conservation score with high use by lynx, boreal toads.
   • Landscape connectivity link between Weminuche and La Garita wildernesses.
   • Largest unprotected roadless area adjacent to Weminuche wilderness,
   • Non-motorized trails including Deep Creek just outside Creede, which would create a
      wilderness ti'ailhead nearest to a suitounding community into the Weminuche Wilderness,
   • Upper Tier Colorado Roadless Area, in Mineral County,

 Conejos Peak Ranger District

 North Fork Rock Creek (16,500 acres)
    • Noiiheast portion of Bennet Mountain roadless area consists primarily of North Fork Rock
       Creek,
    • Will increase representation of currently under-protected ecosystems, particularly grasslands,
       ponderosa pine, pinyon-juniper, dry mixed conifer forest,
    • Includes potential habitat for lynx, Mexican spotted owl, wolverine,
    • Non-motorized trails, and provides for a protected wilderness experience in a landscape
       otherwise devoted largely to motorized recreation,
    • Upper Tier Colorado Roadless Area, in Conejos County,

 Sangre de Cristo addition - Blanca Peak (4,200 acres)
    • Southern end of the Sangre de Cristos, beyond Como Lake,
    • Will increase representation of currently under-protected ecosystems, particularly grasslands,
       ponderosa pine, and pinyon-juniper woodland.               Rvsd Plan _ 00003557
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        Includes two popular fourteeners - Blanca Peak and Little Bear Peak.
    •   Overlaps Blanca Peak traditional cultural property of significance to native peoples,
    •   In Alamosa County.

 South San Juan addition - Adams Fork-Three Forks (2,700 acres)
    • High species conserx ation potential with high use by lynx, wolverine habitat.
    • Non-motorized trails leading to wilderness boundary.
    • Upper Tier Colorado Roadless Area, in Conejos County,

 South San Juan addition ~ Elk Creek (3,200 acres)
    • Expands representation of currently under-protected ecosystems by including robust stands of
       ponderosa pine, grasslands.
    • Connectivity enhancement as lynx movement corridor to New Mexico,
    • Incorporates first 4 miles of the non-motorized Elk Creek Trail from the trailhead into adjacent
       wilderness,
    • Upper Tier Colorado Roadless Area, in Conejos County.




                                                                        Rvsd Plan - 00003558
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    From:       Claire Barker
    To:         FS-RGNF forest plan
    Subject:    Forest planning comments
    Date:       Friday, October 14, 2016 7:00:15 PM



   Hi all­
   Just a few things.


       • I want to extend my support of whatever proposals and
         suggestions that the San Luis Valley Ecosystem Council
         has set forth. They are well thought out, balance many
         needs, and deal with water quality issues, soil and air health
         now and into the future.
       • I also want to comment that I disagree with expansion of
         developments-including the possible increase of
         broadband/cell phone towers.                 I don't believe
         those need to be in the forest for esthetic and continual
         maintenance reasons. (will require a road). I also feel that the
         future "promise" of cell phone service will make people even
         less prepared than they are already to go into the back
         country, and will open up venues for potential law suit-
         should the "promised" cell service not materialize in certain
         spots despite advertisement saying it will. So much of the
         "back country"/dirt road experience is getting away from all
         this. If it goes badly-well-that is also part of it.


    Thank-you for the opportunity to comment.
    Claire Barker
    4952 N. C.R. 112
    Mosca, Colorado 81146
    719-378-2024


                                                       Rvsd Plan - 00003559
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    From:          William Alspach
    To:            FS-RGNF forest plan
    Cc:            Don Riggle
    Subject:       Rio Grande National Forest Plan Revision comment submission
    Date:          Friday, October 14, 2016 11:25:26 AM
    Attachments:   RGNF Forest Plan Comments TPA COHVCO.pdf
                   RGNF Forest Plan Executive Summary TPA COHVCO.pdf



    Please accept these comments on the Rio Grande National Forest, Forest Plan
    Revision Project on behalf of the Trails Preservation Alliance ("TPA") and the
    Colorado Off-Highway Vehicle Coalition ("COHVCO").
    Please confirm receipt to williamalspach@gmail.com




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   www.ColoradoT PA . o r g


                                               October 14, 2016

   Attn: Dan Dallas, Forest Supervisor
   The Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, CO 81144



                               Rio Grand National Forest Plan: Proposed Action
                                                  Comments


   Dear Supervisor Dallas:

       Please accept these comments on the Rio Grande National Forest, Forest Plan Revision Project on
   behalf of the Trails Preservation Alliance ("TPA") and the Colorado Off-Highway Vehicle Coalition
   ("COHVCO"). The TPA is a volunteer organization created to be a viable partner to public lands
   managers, working with the United States Forest Service (USFS) and the Bureau of Land Management
   (BLM) to preserve the sport of trail riding and multiple-use recreation. The TPA acts as an advocate for
   the sport and takes the necessary action to insure that the USFS and BLM allocate a fair and equitable
   percentage of public lands access to diverse trail multiple-use recreational opportunities. COHVCO is a
   grassroots advocacy organization representing approximately 170,000 registered off-highway vehicle
   ("OHV"), snowmobile and 4WD users in Colorado seeking to represent, assist, educate, and empower all
   motorized recreationists in the protection and promotion of multiple-use and off-highway motorized
   recreation throughout Colorado. COHVCO is an environmental organization that advocates and
   promotes the responsible use and conservation of our public lands and natural resources to preserve
   their aesthetic and recreational qualities for future generations. TPA and COHVCO are referred to
   collectively in this correspondence as "The Organizations." The Organizations generally support the
   Proposed Action but offer the following comments and concerns regarding this project. We have
   generally organized our comments relative to the primary areas of proposed change.
       These comments do not supplant any of the rights and privileges of our members' and associated
   clubs to submit comments of their own to retain their individual standing.




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      1.   Fire Management (Re: Forest-Wide Goal 2):

              a.   The Organizations recognize the benefits of fire to the forest and the associated forest
                   resources. However, we have concerns regarding the typical exclusion of public access
                   post fire. We understand the desire for public safety, but too often we feel post fire
                   landscapes have been closed to the public for excessive periods of time. We feel that an
                   appropriate goal of returning public access to post fire zones is one year. That all roads
                   and trails be re-opened to unfettered public access within one year of fire suppression.

              b.   Similarly for large-scale beetle kill areas, we recommend that instead of broad closing of
                   these areas and the associated closing of trails and routes within those areas, that public
                   access to these areas remain open. That hazard trees and snags in close proximity to
                   multiple-use trails and routes be felled, thereby reducing and mitigating the hazard. For
                   those routes that are open to OHV recreation, this felling activity could be considered
                   for Colorado State OHV grant funding.

              c.   An adequate network of forest roads and trails is necessary to provide access in times of
                   emergency. The USFS is a world-renowned expert on wildland firefighting and knows
                   firsthand the importance of good access, redundant routes and routes in key places and
                   the impact of those routes on the safety of the firefighters, the public and successful
                   wildland firefighting. Demands for reduced road inventory, for reduced route density
                   and increased decommissioning of roads is not collectively and universally in the best
                   interest of neither the forest nor the public. The premise that decommissioning roads
                   will reduce human caused fires is unfounded and unsubstantiated and should not be
                   utilized as a criteria for any decisions regarding the elimination or closure of any
                   multiple-use or motorized route.

              d. With few exceptions, the roads and trails within the Rio Grande National Forest have
                   been in existence and providing public benefits for decades. History has shown that
                   each of these routes provides a level of tangible recreational, economic and/or forest
                   access value. The recent West Fork Complex Fire in 2013 demonstrated firsthand the
                   advantages of having a robust and interconnected network of routes. Continuing to
                   have an adequate network of forest roads and trails will be truly beneficial and
                   necessary in providing sufficient access for future timber management, continuing
                   forest visits and recreation, emergency egress and wildland firefighting efforts.

      2. Sustainable Recreation (Re: Forest-Wide Goal 3):

              a.   The Organizations feel the proposed forest plan lacks emphasis on recreation. We offer
                   that forest recreation needs to be a more prominent focus area when developing




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                       alternatives. Similarly we ask that multiple-use and motorized recreation be specifically
                       addressed in the General Forest Geographic Area.

                  b. As the State of Colorado's population has grown, so have the sales of Off-Highway
                       Vehicles (OHV's), bicycles, hiking equipment, camping units and other forms of outdoor
                       recreation increasing the demand for recreation sites within the Rio Grande National
                       Forest. It is estimated that approximately 8.5% of the households in Colorado
                       participate in OHV recreation and that between 2000 and 2014, resident OHV
                       registrations have increased by 119% with Non-resident permits increasing by over
                       1,607%!1 The need and demand for OHV recreational opportunities are growing and
                       will continue to grow, we ask that Forest roads and trails be considered as critical
                       infrastructure for recreation.

                  c.   We fully recognize that this action proposes to revise and update the Forest Plan for the
                       Rio Grande National Forest and is not a Travel Management decision. However, the
                       implications for Travel Management into the future are significant and cannot be
                       disregarded or ignored. Just as the Forest Plan revision made in 1996 resulted in
                       significant reductions in opportunities for multiple-use and motorized recreation, we
                       feel strongly that this new, revised Forest Plan (along with the required Desired
                       Conditions, Objectives, Standards and Guidelines) will have implications aimed at, and
                       will “set the stage” for multiple-use and motorized recreation for many years to come.
                       Each of the Proposed Management Areas on page 14 of the Proposed Action, must be
                       carefully and deliberately analyzed for the impacts to multiple-use and motorized
                       recreation and the affects upon both the existing and future inventory of recreational
                       opportunities available for multiple-use and motorized recreation. Consequently,
                       "Multiple-use and Motorized Recreation/Travel” should be included into Table 1.4 as an
                       AHowableActivityandtheLmatrixannotatedaccordlnglY.

                  d. As stated above, Forest Plan revisions regularly have direct, intended and often times
                       unintended consequences on the number of and quality of opportunities available for
                       multiple-use, motorized and OHV recreation. The Organizations believe that trails and
                       routes within the Rio Grande National Forest have been closed improperly in the past
                       and without proper consideration for NEPA. Specifically the following lists of routes
                       (listed by Ranger District) were improperly closed during the last forest plan revision and
                       should be reconsidered and re-evaluated for multiple-use access (i.e., re-opened
                       accordingly). These routes all have a prolonged history of providing multiple-use
                       recreation and have provided access for decades. Each of these routes traverses very


   1 r-x. r-K A            .-I   .•   r^rrai-l                   .•   -^1     I                  .   >•
    DRAFT Economic Contribution of Off-Highway Vehicle Recreation in Colorado, July 2016. This study is nearing
   completion and will be finalized in the very near future.


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                    remote regions of the Forest, experience very minimal and intermittent use and
                    therefore cause diminutive impacts. Many of these routes enhance connectivity and
                    looping opportunities for all categories and groups of forest users. We would offer that
                    several local motorcycle trail rider groups and associations have a desire and willingness
                    to adopt these trails and assist the USFS in the maintenance and management of these
                    routes:

                         i. Saguache Ranger District:

                                  1.   766.1

                                  2.   768

                                  3.   771

                                  4.   793

                        ii.   Divide Ranger District:

                                  1.   908

                                  2.   787

                                  3.   779

                                  4.   804

                                  5.   887

                                  6.   881

               e.   The Organizations would encourage and support the Forest's decision to convert most
                    any existing National Forest Service Road (NFSR) to a Full Size Trail or another trail
                    designation (e.g., Trail open to Motorcycles, or open to Vehicles 50” or less in width).
                    We encourage the use of conversion techniques contained in Chapter 17 of the National
                    Off-Highway Vehicle Conservation Council's (NOHVCC) 2015 Great Trails: Providing
                    Quality OHVTrails and Expe£iences publication2. Conversion of roads to multiple-use,
                    motorized trails could make those routes eligible for Colorado Parks and Wildlife OHV
                    grant funds (which can specifically be used for the construction, reconstruction or
                    maintenance of OHV routes or multiple-use trails that allow for motorized use and other
                    activities). These conversions will thereby help reduce the direct financial burden and


   2A copy of this publication has been provided to the Rio Grande National Forest by the TPA/COHVCO. Additional
   copies are available upon request.


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                       back log to the USFS and can supplement agency funding with user provided funds that
                       were previously unavailable for these routes. Conversion from roads to trails will also
                       reduce the required maintenance level and reduce the necessary amount and back log
                       of funding. Likewise by providing an adequate and varied inventory of routes and trails
                       that fulfills the user's spectrum of needs (today and the future) for variety, difficulty,
                       destinations, challenge, terrain and scenic opportunity will lead to improved
                       management and compliance requiring less expenditures on maintenance, signage,
                       enforcement, etc. We recognize that existing routes all require maintenance; OHV
                       funds have been and will continue to play an important role in meeting USFS operations
                       and maintenance (O&M) costs (when supporting routes open to OHVrecreation). These
                       maintenance activities funded by OHV users, in turn benefit all categories of forest/trail
                       users. Closing routes to OHV use does not eliminate the need for maintenance, but
                       takes away one of the available funding sources and tools that can be used to provide
                       O&M resources and also eliminates opportunities for user groups, clubs and
                       associations to partner with the Forest to help provide resources, volunteer labor, etc.
                       Finally, the lack of fiscal capacity by the USFS should not be criteria for, or lead to
                       closures and reductions in public recreational opportunities, closure of routes or
                       eJlmjnationofpubljicaccesstoJheJNationalForest.

                  f.   In the past there have been unfounded concerns for American elk and mule deer as a
                       reason to close and limit multiple-use and motorized recreation on public lands. The
                       premise that "large animals, especially deer and elk, are sensitive to traffic and activity
                       along roads" is not supported by published scientific research. Extensive studies
                       completed as recently as 2005 by the National Park Service (NPS) in Yellowstone Park
                       stated that "Effects of winter disturbances on ungulates from motorized and non­
                       motorized uses more likely accrue at the individual animal level than at the population
                       scale". Even the biologist performing the research stated that the debate regarding
                       effects on human recreation on wildlife is largely a "social issue" as opposed to a wildlife
                       management issue. This NPS research would certainly seem relevant to wildlife in the
                       Rio Grande National Forest and does not support a premise for closures and reductions
                       in multiple-use recreational opportunities. 3 Additional research published by Mark
                       Rumble, Lahkdar Benkobi and Scott Gamo in 2005 has also found that hunting invokes a
                       more significant response in elk than other factors in the same habitat area (e.g. roads
                       or trails). 4 Likewise research by Connor, White and Freddy in 2001 has even

   3
       Wildlife Response to Motorized Winter Recreation in Yellowstone, 2005 Annual Report, White, Davis & Borkowski
   4 Rumble, Mark A; Benkobi, Lahkdar; Gamo, Scott R; 2005. Elk Responses to Humans in a Densely Roaded Area;
   Intermountain Journal of Sciences




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                    demonstrated that elk population increases on private land in response to hunting
                    activities. 5 This research again brings into question why multiple-use trail recreation
                    (specifically motorized recreation) might be cited and used as the justification for any
                    closures or modification to public access.

               g.   Colorado Roadless Rule. The Organizations are also concerned that the Roadless Rule is
                    often used as a lever for the expansion of Wilderness areas. This is a misapplication of
                    the Roadless Rule, as Colorado has developed its own rule that specifically identifies
                    motorized trails as a characteristic of a Colorado Roadless area; 1) While Roadless areas
                    have limitations on road construction and heavy maintenance, trails are entirely outside
                    the scope of the Colorado Roadless Rule, 2) as trail networks may be constructed and
                    expanded in a Colorado Roadless Area. Page 11 of the Proposed Action lists “Unroaded
                    Areas” as a Desired Condition for Social Resources. We are unclear as to what this
                    condition is or what it might imply and how it fits with the specified Geographic Areas
                    (i.e. General Forest, Roadless, Wilderness, and Special Designations).

               h.   Wilderness Areas. We certainly understand that only Congress can designate
                    Wilderness areas per the Wilderness Act of 1964. However, we also understand that
                    the Forest staff has the ability to recommend areas for Wilderness designation. The
                    Organizaitions do not supportainyaidditionaLWij derness designatedaireaswjthjntheRio
                    Grande National Forest. Any additional Wilderness areas would concentrate use on
                    shrinking multiple-use lands and reduce the ability to remove fuels, fight fires or actively
                    manage the lands to promote forest health. Furthermore additional Wilderness will
                    concentrate use, shrink the future reservoir of lands for multiple-use, increase
                    environmental impacts and reduce user satisfaction. The continued loss of multiple-use
                    lands will reduce the capacity of the land for future generations to use and recreate on,
                    violating the intent of the Planning Rule for sustainability. This concentrated use will
                    decrease user satisfaction and harm tourism, which so many of our rural communities
                    depend upon.

               i.   For proposed Management Area 5.41 - Deer and Elk Winter Ranges we offer the
                    following comments for considering the use of seasonal closures:

                         i.   Minimization of the closure period to maximize availability of the routes and
                              areas for recreational uses.




    Connor, White & Freddy; Elk Movement in response to early-season hunting in Northwest Colorado; The Journal
   of Wildlife Management; Volume 65, Number 4; October 2001




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                            ii.   Consistent and uniform closure dates to minimize confusion within the
                                  individual Ranger Districts and throughout the Forest. Multiple dates will likely
                                  be more difficult to communicate to Forest visitors and more challenging to
                                  enforce.

                           iii.   Natural route closure generally occurs during the winter season due to snow.
                                  Coincidence of the required closure periods with the winter season will help
                                  minimize impacts to multiple-use of the specified routes. Wherever possible, if
                                  the seasonal conditions on the ground are likely to represent an effective
                                  barrier to travel, the Forest should avoid implementing seasonal closures that
                                  create confusion and create an unnecessary enforcement and financial burden.

                           iv.    Seasonal closures that affect only motorized users are inconsistent with the best
                                  available science for protecting habitat6 and seasonal closures should be made
                                  unjversalJoalluisers.

                  j.   The Organizations recognize that technology is changing with regard to propulsion of
                       vehicles, namely the use of electrically powered devices. In general we support the use
                       of electrically assisted bicycles wherever bicycles are currently authorized. And, that
                       electrically powered motorcycles be grouped with other motorized uses and allowed for
                       travel on routes designated for motorized use.

                  k.   The Organizations support motorized cross-country travel, limited to snow machines in
                       the winter within the following Proposed Management Areas:

                             i. 3.3 - Backcountry

                            ii. 3.5 - Colorado Roadless Area

                           iii. 3.6 - Upper Tier Colorado Roadless Area

                           iv. 4.3 - Dispersed and Developed Recreation

                            v. 5.11 - General Forest and Intermingled Rangelands

                           vi. 5.41 - Deer and Elk Winter Range area (with reasonable management)

                  l.   Table 1.4 should be revised such that the Allowable Activity of “Trail
                       construction/reconstruction” is allowed in Management Area 4.3 - Dispersed and
                       Developed Recreation.




   6   Sime, Carolyn A; 1999. Domestic Dogs in Wildlife Habitats, Effects of Recreation on Rocky Mountain Wildlife,



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               m. OHV recreation should not be cited as a threat for any Species of Conservation. If the
                    analysis chooses to cite OHV trail tread as having negative impacts on species, then the
                    analysis must also disclose that non-motorized trail tread have a identical negative
                    impacts on species. The impacts from non-motorized trail tread will greatly exceed that
                    of the motorized trails, since there are far more miles and therefore more acres of non­
                    motorized trail tread. The analysis should not include OHV Recreation as a threat to
                    species of conservation, since trail tread should be excluded from being considered
                    habitat, and plants do not grow on the trail tread that OHV use is confined to.

      3.   Social and Economic support of local communities and connecting citizens to the land (Re:
           Forest-Wide Goal 3):

               a.   The Organizations believe that continued multiple-use access and motorized recreation
                    within the National Forest is vitally important to the preservation and conservation of
                    our public lands and the well being of our citizens. The Organizations acknowledge that
                    as America becomes more urbanized and populations rise, our younger citizens are
                    becoming less connected to and are less likely to identify with the outdoors in their daily
                    lives. Our organizations have worked diligently and continuously to help Coloradans and
                    visitors to our State to be able to access and enjoy our public lands in a safe and
                    responsible manner. We recognize that there is a bona fide correlation between an
                    individual's personal health and their participation in outdoor activities. We continually
                    strive to get youth and families excited about visiting, seeing and experiencing all that
                    our public lands have to offer. We have a history of partnering with the USFS to protect
                    our forest resources while reducing and eliminating barriers that are continuing to make
                    it difficult for Americans to get outside and travel on a multiple-use trail or share a road
                    as part of their outdoor recreational experience. A good example of this is the TPA's
                    annual Trail Awareness Symposium (AKA Colorado 600). An event that each year brings
                    nearly a hundred motorcyclists and enthusiasts to Colorado, the Town of South Fork and
                    the Rio Grande National Forest. The Organizations feel that this project must work
                    diljgentlytoensurethaLabalancedspecirujm^ofopporiunltiesaireLprovidedjntheLRlo
                    GrandeNationalForestto_properly_servethedlverseLcross_sectionof_our_popuJation_and
                    meettheinecreationaLQeeds.

               b.   It is well recognized that the average age of our country's population is increasing and
                    the number of persons aged 50 and older is steadily increasing. As the average age
                    grows, so is the number of people still choosing to recreate outdoors but more and
                    more will be less able to use non-motorized methods of travel or participate in high-
                    energy, high-skill sports. As this demographic group grows, so will their needs for access
                    to the Forest by motorized or other assisted methods. If we collectively fail to recognize
                    and plan for this changing demographic, we will be deliberately excluding a significant


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                     and growing segment of the population from the opportunities to experience and enjoy
                     the Rio Grande National Forest. Many of us hope to retain our individual mobility into
                     the “Golden Years”, but many will not, and they will need to rely upon some sort of
                     motorized or mechanized assistance to access the places we all enjoy and cherish.

                c.   The economic impacts of multiple-use and motorized recreation within the counties and
                     communities encompassed by or adjacent to the Rio Grande National Forest cannot be
                     overlooked. Many of the visitors that choose to visit the Forest combine their
                     recreational activities and often include using forest routes to access camping sites,
                     setting up a camp and then employing motorized means to travel and explore the
                     surrounding environment. Significant economic benefits are realized by all of Southern
                     Colorado as the public travels to and from their valued destinations within the Rio
                     Grande National Forest. As an example, motorized recreational enthusiasts were
                     responsible for approximately $1.6 billion in direct expenditures relating to motorized
                     recreation in Colorado during the 2014-2015 season7. As popular as motorized
                     recreation is within the Rio Grande National Forest, the economic benefits to local
                     economies and the nearby communities must not be undervalued. A copy of this
                     economic report is available upon request and should be used in the revision of this
                     Forest Plan.

                d.   Page 11 of the Proposed Action lists "Special Interest Areas” and “Heritage Resources”
                     as Desired Conditions for Social Resources. Both of these Desired Conditions need to
                     include language to provide for access if their unique benefits are to be realized. In
                     order to promote “connecting citizens to the land”, access to these areas, especially
                     multiple-use access, must be provided, remain a priority and be stated as part of the
                     Desired Conditions. A similar comment is also made regarding the Desired Condition of
                     “Scenery”.

                e.   “Desired Recreational Experiences” is subjective and will vary from individual to
                     individual. A call to decommission roads to return areas into more natural states and
                     enhance recreational experiences is mostly subjective. Very few will be able to enjoy
                     the forest and all of the resources the forest has to offer if adequate motorized access is
                     not provided. Multiple-use and motorized recreation is indeed a bona fide form of
                     recreation and not one to be minimized or eliminated on public lands. Just as it is
                     important to maintain the quality of visitor experiences for non-motorized use, it is
                     equally important to maintain the quality of visitor experiences for motorized use.




   7DRAFT Economic Contribution of Off-Highway Vehicle Recreation in Colorado, July 2016. This study is nearing
   completion and will be finalized in the very near future.


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               f.   The Organizations realize that this Forest Plan revision does not specifically address
                    Travel Management. However, we feel it is important to spotlight the following
                    principles regarding multiple-use recreation planning and are important considerations
                    when evaluating any modifications to recreational uses on the Forest8:

                          i.   Generally forest visitors participating in multiple-use activities will use routes
                               that exist and adequately satisfy their needs and desires.

                         ii.   Non-system/user created routes should be reviewed on a case-by-case basis to
                               determine if any non-system routes will fulfill a valid need and can be altered to
                               meet recreation and resource considerations.

                        iii.   Route networks and multiple-use trail systems should meet local needs, provide
                               the desired recreational opportunities and offer a variety of quality experiences.
                               We are not asking that this be done at the expense of other important concerns,
                               but a system of routes that does not meet user needs will not be used properly
                               and will not be supported by the users. Occurrences of off-route use, other
                               management issues and enforcement problems will likely increase if the system
                               routes do not provide an appropriate and enjoyable opportunity.

                        iv.    Recreational enthusiasts look for variety in their various pursuits. For multiple­
                               use to include motorized/OHV users, this means looped routes are a priority.
                               An in-and-out route may be satisfactory if the destination is so desirable that it
                               overshadows the fact that forest visitors must use the same route in both
                               directions (e.g., access to dispersed camping sites, overlooks, historic sites,
                               geologic sites, etc.). However, even in these cases, loop systems will always
                               provide better experiences.

                        v. Adequate legal parking and dispersed camping areas are necessary to fulfill the
                               needs and desires of the recreation community

               g.   Adaptive Management Domain. In general the Organizations support the use of
                    Adaptive Management methods and techniques. However, we have concerns with the
                    process outlined on page 36. Specifically we have concerns regarding how an adequate
                    and representative cross section of the public will be notified and an effective dialog
                    conducted. We are especially concerned about connecting with the forest users that do
                    not reside in the neighboring communities or counties and that travel from locations
                    distant from the Forest to recreate on the Rio Grande National Forest.

               h. The Organizations support maintaining status quo public access to Mt. Blanca and the
                    Natural Arch areas.


    Management Guidelines for OHV Recreation, National Off-Highway Vehicle Conservation Council, 2006


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      4.   Mitigating the affects of Climate Change (Re: Forest-Wide Goal 2):

              a.   There has been little actual research quantifying how outdoor, forest based recreation
                   will be affected by climate change and how to mitigate for climate alterations in a
                   meaningful and productive manner. There is little scientific research, and far more
                   opinion, on how climate change should be regarded, planned for and implemented.
                   Some benefits may actually be realized through climate change such as an increased
                   number of recreation days per year, longer growing seasons, etc. The analysis of the
                   effects of climate change, specifically upon forest recreation, and how to properly
                   address effects (if indeed there are any) remains a fledgling science at best, and subject
                   to individual opinions. As a change in climate occurs (as it has in the past) there is no
                   doubt that the forest ecosystems will adapt and our socioeconomic habits and factors
                   will also change and adapt. To restrict or limit accessibility and the recreational use of
                   the Rio Grande National Forest would be impulsive, unjustified, reckless and impossible
                   to enforce. The shear growth of our population, uncertainty about incomes and
                   spending, changes in future building materials, and the demand for forest products
                   (domestic and imported) just to name a few will likely have far more impacts on the
                   forest compared to the effects of climate change. Properly constructed roads and trails
                   within the forest coupled with sensible timber management will all help to mitigate any
                   effects of climate change both on the existing and future road and trail infrastructure.
                   Minor adjustments to USFS design criteria to include values such as Design Storm
                   Frequency,RalnfaJUntensty,RunoffCoefficients coupledwlthapp£op£iatesizJ ngofthe
                   supporting drainage infrastructure (e.g. ditch sizing, culvert sizing, rip rap sizing, re­
                   vegetation practices, trail/road alignment, etc.) can all be used to mitigate more
                   extreme weather events and any increased flows that might be attributed to climate
                   change. We feel it is interesting to note that one of the cited effects of climate change
                   is an increase in wildfires; this concern would seem to actually support an argument for
                   an even more extensive and robust transportation network to facilitate emergency
                   response to wildfire. We also feel it is important to point out that trends have already
                   begun to replace internal combustion engines with electric motors in OHV's, a trend we
                   expect to continue and increase and thereby reduce OHV's collective emissions
                   footprint.

      5.   Proposed Forest-wide Desired Conditions for OHV Recreation:

              a.   Motorized vehicle use will occur on USFS system roads, trails and areas, except as
                   authorized by permit or for administrative uses. Opportunities exist in appropriate
                   places for responsible motorized recreation with varying experiences for a variety of


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                   vehicle classes and types. Forest visitors enjoy semi-primitive motorized recreation and
                   explore the backcountry in OHVs along designated routes. Sound from motorized
                   vehicles is infrequent, away from areas of higher road and motorized route density.

              b. A motorized system of routes provides: a variety of route widths and levels of challenge
                   for a diversity of users, scenery and wildlife viewing, a variety of terrain and conditions,
                   and dispersed camping. Multi-use trails are more common than those available for only
                   one class of vehicle or user and may interconnect with roads or other routes to make
                   loops. Motorized routes are easily identified on the ground and the Motor Vehicle Use
                   Map (MVUM). Single-track trails emphasize solitude from other types of motorized
                   vehicles, to the extent practical, and challenge.

              c.   Adequate signing is provided to advise users of motorized restrictions. Information
                   kiosks are located at main entryways onto the Forest with pertinent OHV recreation
                   information. Information is provided for OHV recreationists and trail users, including
                   maps and signs that provide road and trail information and explain USNF regulations for
                   such activities as OHV travel, camping, and trail opportunities. Orientation information
                   and interpretation is provided at sites that receive high levels of visitation.

              d.   Resource damage from unauthorized motorized routes is minimal and existing user-
                   created roads and trails are rehabilitated to prevent future access by the public and to
                   mitigate long-term soil and water impacts. Roads and trails are located with minimal
                   impact to cultural sites, soil, water, and wildlife resources. Poorly located routes are
                   redesigned or relocated.

      6.   Proposed Objectives, Guidelines and Standards for OHV Recreation:

              a.   Objectives

                        i.   No net decrease in the total existing mileage of roads and multiple-
                             use/motorized system trails during the period/lifetime of the revised plan with
                             two modifications; 1) provide a 15% increase in total trail mileage available for
                             motorized/multiple-use single track, with an emphasis on providing additional
                             opportunities for “novice” single track riders and 2) provide designated
                             recreational opportunities (e.g. loops and routes) for UTV's (AKA side by sides).

                       ii.   Rehabilitate 10 to 20 miles of user-created routes (including both motorized and
                             non-motorized routes) per year until evidence of non-system trails is minimized
                             Forest-wide.

                       iii. Convert existing National Forest Service Roads (NFSR) to Full Size Trails or
                             another trail designation (e.g. Trail open to Motorcycles, or open to Vehicles 50”


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                              or less in width) whenever the primary purpose of the road is recreation and the
                              road does not provide a direct access from one area to another. (Note:
                              Conversion to Full Size Trails will help solve the problem of insufficient funds for road
                              maintenance and make those routes eligible for Colorado Parks and Wildlife OHV grant
                              funds. We also encourage the use of conversion techniques contained in Chapter 17 of
                              the National Off-Highway Vehicle Conservation Council's (NOHVCC) 2015 GreatTrailsl
                              Providing Qual rty OHVTrail s and Experlencespublication"9). Complete conversions
                              from NFSRs to trails suitable for motorized recreation within 10 years of plan
                              approval.

                        iv. Within the first 5 years of plan approval, consider inclusion and adoption of
                              quality "non-system" routes to help meet the Forest's transportation and
                              recreational needs and demands.

               b.   Guidelines

                         i. Off-route use of any kind (i.e., both non-motorized and motorized) should be
                              limited to prevent loss of vegetative cover and prevent soil erosion.

                        ii.   Seasonal access restrictions and closures are minimalized in order to maximize
                              the availability of the forest routes and areas for OHV recreational uses.
                              Consistent and uniform closure dates are utilized to minimize confusion within
                              the individual Ranger Districts and throughout the Forest.

               c.   Standards

                         i.   Prohibit motor vehicle use beyond the designated system of roads, trails, and
                              areas, as defined on MVUMs, except for those uses authorized by law, permits,
                              and orders in connection with resource management and public safety.

                        ii.   Discourage off-trail use by all other categories of trail users.

       7.   Proposed Management Approaches:

               a.   Establish long-term partnerships with motorized recreation organizations to help the
                    Forest maintain motorized trails and foster a low-impact conservation ethic.

               b.   Establish interpretive messages and programs with the TPA, COHVCO, volunteers and
                    OHV users, including improved signing, information kiosks, and interpretive messaging.




   9A copy of this publication has been provided to the Rio Grande National Forest by the TPA/COHVCO. Additional
   copies are available upon request.


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                     Provide signing and information focused to prevent riders from becoming lost; to show
                     OHV riding and recreational locations; and to identify dangerous and/or closed areas.

       8.   The Organization’s staffs are available and willing to assist the Rio Grande National Forest staff
            should you have any questions or need additional information. We would like to highlight that
            our staffs have personnel that are uniquely qualified in the following specialties:

                a.   OHV and snowmobile recreation.

                b.   The Colorado Roadless Rule.

                c.   Forest and timber management.

                d.   Civil Engineering to include road and trail design, alignment, construction and
                     maintenance, construction management, stormwater management and drainage.

                e.   Water Resources Engineering to include erosion and sediment control, hydraulics,
                     floodplain mapping, fluvial geomorphology, low impact development, watershed studies
                     along with stream restoration methods and techniques, stream bank stabilization, and
                     habitat enhancement.


            We thank you for reviewing and considering these comments and suggestions. The
   Organizations would welcome a discussion of these opportunities at your convenience. Our point of
   contact for this project will be William Alspach, P.E. at 675 Pembrook Dr., Woodland Park, CO, cell 719i
   660i1259, eImail: williamalspach@gmail.com.


   Sincerely,




   Scott Jones, esq.                                                           D. E. Riggle
   COHVCO CoIChairman                                                          Director of Operations
   CSA Vice President                                                          Trails Preservation Alliance
   508 Ashford Dr.                                                             725 Palomar Ln.
   Longmont, CO 80504                                                          Colorado Springs, CO 80906
   (518) 281i5810                                                              (719) 338i4104
   scott.jones46@yahoo.com                                                     info@coloradotpa.org




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                                                                yCOHVCO>
   www.ColoradoT PA . o r g


                                                October 14, 2016

   Attn: Dan Dallas, Forest Supervisor
   The Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, CO 81144



                                Rio Grand National Forest Plan: Proposed Action
                                       Comments - EXECUTIVE SUMMARY


   Dear Supervisor Dallas:

        Please accept these comments on the Rio Grande National Forest, Forest Plan Revision Project on
   behalf of the Trails Preservation Alliance ("TPA") and the Colorado Off-Highway Vehicle Coalition
   ("COHVCO"). The TPA is a volunteer organization created to be a viable partner to public lands
   managers, working with the United States Forest Service (USFS) and the Bureau of Land Management
   (BLM) to preserve the sport of trail riding and multiple-use recreation. The TPA acts as an advocate for
   the sport and takes the necessary action to insure that the USFS and BLM allocate a fair and equitable
   percentage of public lands access to diverse trail multiple-use recreational opportunities. COHVCO is a
   grassroots advocacy organization representing approximately 170,000 registered off-highway vehicle
   ("OHV"), snowmobile and 4WD users in Colorado seeking to represent, assist, educate, and empower all
   motorized recreationists in the protection and promotion of multiple-use and off-highway motorized
   recreation throughout Colorado. COHVCO is an environmental organization that advocates and
   promotes the responsible use and conservation of our public lands and natural resources to preserve
   their aesthetic and recreational qualities for future generations. TPA and COHVCO are referred to
   collectively in this correspondence as "The Organizations." The Organizations generally support the
   Proposed Action but offer the following comments and concerns regarding this project. We have
   generally organized our comments relative to the primary areas of proposed change.
       1.   Fire Management (Re: Forest-Wide Goal 2):

               a.   The Organizations recognize the benefits of fire to the forest and the associated forest
                    resources. However, we have concerns regarding the typical exclusion of public access
                    post fire. We feel that an appropriate goal of returning public access to post fire zones is
                    one year. Similarly for large-scale beetle kill areas, we recommend that instead of broad
                    closing of these areas and the associated closing of trails and routes within those areas,
                    that public access to these areas remain open with hazard trees and snags in close
                    proximity to multiple-use trails and routes being felled.




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             2. Sustainable Recreation (Re: Forest-Wide Goal 3):

                    a.   The Organizations feel the proposed forest plan lacks emphasis on recreation. We offer
                         that forest recreation needs to be a more prominent focus area when developing
                         alternatives and we ask that multiple-use and motorized recreation be specifically
                         addressed in the General Forest Geographic Area.
                    b. We fully recognize that this action proposes to revise and update the Forest Plan is not a
                       Travel Management decision. However, the implications for Travel Management into
                       the future are significant and cannot be disregarded or ignored. "Multiple-use and
                       MotorizedRecreation/TraveJ”shouJd beJnc!udedjnto Iablel.4as anAlJowable Actlvity
                       andjhem atrix annotatedaccordjngy.
                    c.   The Organizations believe that trails and routes within the Rio Grande National Forest
                         have been closed improperly in the past and without proper consideration for NEPA.
                         Specifically that there are routes that were improperly closed during the last forest plan
                         revision and should be reconsidered and re-evaluated for multiple-use access (i.e., re­
                         opened accordingly).
                    d. The Organizations would encourage and support the Forest's decision to convert most
                       any existing National Forest Service Road (NFSR) to a Full Size Trail or another trail
                       designation (e.g., Trail open to Motorcycles, or open to Vehicles 50” or less in width).
                       Conversion of roads to multiple-use, motorized trails could make those routes eligible
                       for Colorado Parks and Wildlife OHV grant funds.
                    e.   Wilderness Areas. The Organizations do not support any additional Wilderness
                         designated areas within the Rio Grande National Forest.
                    f.   The Organizations support motorized cross-country travel, limited to snow machines in
                         the winter within the following Proposed Management Areas:
                               i. 3.3 - Backcountry
                              ii. 3.5 - Colorado Roadless Area
                             iii. 3.6 - Upper Tier Colorado Roadless Area
                             iv. 4.3 - Dispersed and Developed Recreation
                              v. 5.11 - General Forest and Intermingled Rangelands
                             vi. 5.41 - Deer and Elk Winter Range area (with reasonable management)
             3. Social and Economic support of local communities and connecting citizens to the land (Re:
                Forest-Wide Goal 3):
                    a.   The Organizations believe that continued multiple-use access and motorized recreation
                         within the Forest is vitally important to the preservation and conservation of our public
                         lands and the well being of our citizens.
                    b. The economic impacts of multiple-use and motorized recreation within the counties and
                       communities encompassed by or adjacent to the Rio Grande National Forest cannot be
                       overlooked. As popular as motorized recreation is within the Rio Grande National
                       Forest, the economic benefits to local economies and the nearby communities must not
                       be undervalued1.


   1 r-x. r-K A              .-I   .•   r^rrai-l                  .•   -^1      I                 .   >•
    DRAFT Economic Contribution of Off-Highway Vehicle Recreation in Colorado, July 2016. This study is nearing
   completion and will be finalized in the very near future.


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      4.   Proposed Forest-wide Desired Conditions for OHV Recreation:

              a.   Motorized vehicle use will occur on USFS system roads, trails and areas, except as
                   authorized by permit or for administrative uses. Opportunities exist in appropriate
                   places for responsible motorized recreation with varying experiences for a variety of
                   vehicle classes and types. Forest visitors enjoy semi-primitive motorized recreation and
                   explore the backcountry in OHVs along designated routes. Sound from motorized
                   vehicles is infrequent, away from areas of higher road and motorized route density.
              b.   A motorized system of routes provides: a variety of route widths and levels of challenge
                   for a diversity of users, scenery and wildlife viewing, a variety of terrain and conditions,
                   and dispersed camping. MuJti2usetralls_areLmoreLcommonthanthose_avallablefoLonly
                   oneclassoIvehicleOTuser and may interconnect with roads or other routes to make
                   loops. Motorized routes are easily identified on the ground and the Motor Vehicle Use
                   Map (MVUM). Single-track trails emphasize solitude from other types of motorized
                   vehicles, to the extent practical, and challenge.
              c.   Adequate signing is provided to advise users of motorized restrictions. Information
                   kiosks are located at main entryways onto the Forest with pertinent OHV recreation
                   information. Information is provided for OHV recreationists and trail users, including
                   maps and signs that provide road and trail information and explain USNF regulations for
                   such activities as OHV travel, camping, and trail opportunities. Orientation information
                   and interpretation is provided at sites that receive high levels of visitation.
              d.   Resource damage from unauthorized motorized routes is minimal and existing user-
                   created roads and trails are rehabilitated to prevent future access by the public and to
                   mitigate long-term soil and water impacts. Roads and trails are located with minimal
                   impact to cultural sites, soil, water, and wildlife resources. Poorly located routes are
                   redesigned or relocated.
      5.   Proposed Objectives, Guidelines and Standards for OHV Recreation:

              a.   Objectives

                        i.   No net decrease in the total existing mileage of roads and multiple-
                             use/motorized system trails during the period/lifetime of the revised plan with
                             two modifications; 1) provide a 15% increase in total trail mileage available for
                             motorized/multiple-use single track, with an emphasis on providing additional
                             opportunities for “novice” single track riders and 2) provide designated
                             recreational opportunities (e.g. loops and routes) for UTV's (AKA side by sides).
                       ii.   Rehabilitate 10 to 20 miles of user-created routes (including both motorized and
                             non-motorized routes) per year until evidence of non-system trails is minimized
                             Forest-wide.
                       iii. Convert existing National Forest Service Roads (NFSR) to Full Size Trails or
                            another trail designation (e.g. Trail open to Motorcycles, or open to Vehicles 50”
                            or less in width) whenever the primary purpose of the road is recreation and the
                            road does not provide a direct access from one area to another. (Note:
                              Conversion to Full Size Trails will help solve the problem of insufficient funds for road
                             maintenance and make those routes eligible for Colorado Parks and Wildlife OHV grant
                             funds. We also encourage the use of conversion techniques contained in Chapter 17 of




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                              the National Off-Highway Vehicle Conservation Council's (NOHVCC) 2015 Great Trails:
                              Providing Qualfty OHVTrail:s and Experrencespublication^). Complete conversions
                              from NFSRs to trails suitable for motorized recreation within 10 years of plan
                              approval.
                        iv. Within the first 5 years of plan approval, consider inclusion and adoption of
                            quality "non-system" routes to help meet the Forest's transportation and
                            recreational needs and demands.
               b.   Guidelines

                         i. Off-route use of any kind (i.e., both non-motorized and motorized) should be
                            limited to prevent loss of vegetative cover and prevent soil erosion.
                        ii.   Seasonal access restrictions and closures are minimalized in order to maximize
                              the availability of the forest routes and areas for OHV recreational uses.
                              Consistent and uniform closure dates are utilized to minimize confusion within
                              the individual Ranger Districts and throughout the Forest.
               c.   Standards

                         i.   Prohibit motor vehicle use beyond the designated system of roads, trails, and
                              areas, as defined on MVUMs, except for those uses authorized by law, permits,
                              and orders in connection with resource management and public safety.
                        ii.   Discourage off-trail use by all other categories of trail users.
       6.   Proposed Management Approaches:

               a.   Establish long-term partnerships with motorized recreation organizations to help the
                    Forest maintain motorized trails and foster a low-impact conservation ethic.
               b.   Establish interpretive messages and programs with the TPA, COHVCO, volunteers and
                    OHV users, including improved signing, information kiosks, and interpretive messaging.
                    Provide signing and information focused to prevent riders from becoming lost; to show
                    OHV riding and recreational locations; and to identify dangerous and/or closed areas.

       7. The Organization's staffs are available and willing to assist the Rio Grande National Forest staff
          should you have any questions or need additional information. We would like to highlight that
          our staffs have personnel that are uniquely qualified in the following specialties:
              a. OHV and snowmobile recreation.
              b. The Colorado Roadless Rule.
              c. Forest and timber management.
              d. Civil Engineering to include road and trail design, alignment, construction and
                   maintenance, construction management, stormwater management and drainage.
              e. Water Resources Engineering to include erosion and sediment control, hydraulics,
                   floodplain mapping, fluvial geomorphology, low impact development, watershed studies
                   along with stream restoration methods and techniques, stream bank stabilization, and
                   habitat enhancement.



   2A copy of this publication has been provided to the Rio Grande National Forest by the TPA/COHVCO. Additional
   copies are available upon request.


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           We thank you for reviewing and considering these comments and suggestions. The
   Organizations would welcome a discussion of these opportunities at your convenience. Our point of
   contact for this project will be William Alspach, P.E. at 675 Pembrook Dr., Woodland Park, CO, cell 719i
   660i1259, eImail: williamalspach@gmail.com.

   Sincerely,




   Scott Jones, esq.                                                        D. E. Riggle
   COHVCO CoiChairman                                                       Director of Operations
   CSA Vice President                                                       Trails Preservation Alliance
   508 Ashford Dr.                                                          725 Palomar Ln.
   Longmont, CO 80504                                                       Colorado Springs, CO 80906
   (518) 281i5810                                                           (719) 338i4104
   scott.jones46@yahoo.com                                                  info@coloradotpa.org




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    From:                Nick
    To:                  FS-RGNF forest plan
    Subject:             Rio Grande National Forest Winter Travel Management Plan 2017
    Date:                Tuesday, October 18, 2016 5:24:19 PM




    Hello, and thank you for taking the time to consider my comments regarding the Rio Grande National Forest Winter
    Travel Management Plan 2017, specifically regarding the shared use of the backcountry by skiers and snowmobiles.

    I am a lifelong resident of Colorado and have enjoyed its National Forests since I can remember. For each of the
    last 11 years I have skied in the backcountry around Wolf Creek Pass; in the last several years I have been
    encountering snowmobilers on a fairly regular basis.

    We all need to share the backcountry, and I accept that snowmobiles have their place. The issue is the "footprint"
    produced by snowmobiles compared to skiers. The range of a sled, and especially the noise it generates, produces
    an impact over a large area. With the improvements to sleds and number of them out there now, more snowmobilers
    are further extending their range by pushing into higher and steeper slopes.

    Backcountry skiers have such a small footprint compared the snowmobiles in all possible regards; where
    snowmobilers have their right to range and noise, skiers should have their right to some solitude - one of the main
    reasons to be in the backcountry, winter or summer, is to experience the peace that comes with the wilderness
    experience.

    Please help restore a balance by setting aside terrain for non-motorized vehicles around Wolf Creek. I hope you'll
    support the creation of a no-fly zone to the north the Wolf Creek Ski Area, to the east FS RD 390, Silver Creek to
    the south, and the Continental Divide to the west.

    Thanks again for your consideration in this important matter!

    Nick Josephs
    2316 S. Leyden St.
    Denver, CO 80222




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    From:               addie greer
    To:                 FS-RGNF forest plan
    Subject:            Comment on DraftManagmntPlan
    Date:               Saturday, October 15, 2016 8:07:36 AM




    Regarding a NonMotorized area surrounding the WCPass area yurt above AlbertaLakeRes:
    My friends and I enjoy this area year round - in fact I just hiked to yurt (and beyond to CDT)yesterday(!)
    It is easy to access Nordic skiing via WC ski area parking lot and once past alpine ski and snowboard folks,lifts and
    possible ski patrol snowmobile use-skiing across AlbertaLake dam and up to yurt is a special experience in solitude
    and beauty. I have yet to rent the yurt myself; but having the route skied by users allows me to access it with my
    small dog and get away from the snowmobiles on many of the other shared areas like EastFork and Toner and
    4mileRd.
    I have seen ermine, elk and ptarmigan and even bald eagle above Alberta Lake; and always enjoy the honor of their
    presence.
    Snowmobiles can be heard a LONG way in the winter mountains and besides the noise; the smell can bring on an
    instant headache--I am sensitive to synthetic odors. Additionally, the chemicals from exhaust would have an impact
    on this area where folks melt snow for drinking and cooking. Finally, the beauty of virgin snow or snow with small
    width s-curve ski tracks is an enjoyable sight -but the way snowmobiles 'tear up' the snow is not aesthetically
    pleasing and can make it difficult for wildlife of many species to walk in winter.
    I urge you to not allow motorized vehicles in this area for many important reasons.
    Adelaide Greer
    P.O.Box 1402 P.S,CO 81147


    A THOUGHT FOR TODAY:
    The most valuable possession you can own is an open heart. The most powerful weapon you can be is an instrument
    of peace. -Carlos Santana, musician (b. 20 Jul 1947)




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    From:               Ben Hendriks
    To:                 FS-RGNF forest plan
    Subject:            Non-motorized Pass Creek Yurt area
    Date:               Sunday, October 16, 2016 5:10:07 PM




    I'm a backcountry skier and I would like to ask you kindly to leave the keep the Pass Creek Yurt area for non­
    motorized use so that we can continue to enjoy the silence and our backcountry experience in this pristine region.
    Allowing snowmobiles will definitely disturb this region including wildlife. Snowmobiles have their designated
    areas already mapped out and this covers quite a region already from what it looks like. Is it really necessary to let
    them expand that even more? Can't we keep a small region to the backcountry skiers, snowshoers, snowboarders and
    yurt clients? You might propose to have skiers share this area with snowmobiles but you and I know that that doesn't
    work, it's not safe.
    So, once again let's keep this region snowmobile-free please.
    Thank you
    BH

    Sent from my iPad




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    From:           Justin Armer
    To:             FS-RGNF forest plan
    Subject:        no motorized access
    Date:           Sunday, October 16, 2016 5:28:52 PM



    Hl,

    I want to submit a comment regarding motorized access of the Pass Creek Yurt area. I
    understand that everyone has a right to back country access. I use sleds, dirt bikes, jeeps, and
    other forms of motorized transport to access the back country regularly. That said, on certain
    days I also like to skin in and leave the engines at home. We should protect the ability to have
    non motorized access in addition to the motorized methods I and others enjoy.

    The problem with shared access between motorized and non motorized users is that it is not a
    mutually advantageous arrangement. By this I mean that when I sled into an area, it does not
    bother me or interfere with my activity to have skiers skinning in. This is not true the other
    way around. When we skin in to an area it is disruptive, unenjoyable, and in some cases
    dangerous when sleds come ripping through the trail. This is why it is so important to protect
    the small areas of dedicated non motorized travel.

    I am not advocating the restriction of motorized access in places where it already exists. I
    would just like to voice my vote to maintain certain areas as non motorized access only. There
    is more than enough area for every form of travel to have dedicated zones. Please keep the
    Pass Creek Yurt area motor free. Thanks!


    Justin




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    From:              john strand
    To:                FS-RGNF forest plan
    Subject:           Pass Creek Yurt Non Motorized
    Date:              Sunday, October 16, 2016 8:19:08 AM




    Hello,

    I'd like to thank the USFS for allowing public input on the
    upcoming Revision of the Rio Grande National Forest. I am
    writing to urge the USFS to designate the Pass Creek Yurt area
    as a non-motorized area.

    The Pass Creek Yurt area has been a special place for many over
    the years. The ease of access, the quiet backcountry experience
    and the pure beauty of the area is under threat to be
    compromised by the increased use of motorized travelers in the
    area. As more users continue to go into the backcountry,
    terrain 'sharing' just does not work. By NOT taking action to
    make this change, many non-motorized users will be negatively
    effected. Non-motorized human-powered travelers deserve land
    set aside for their enjoyment that provides a serene, quiet and
    safe setting. Silence in the backcountry and on our National
    Forest is a right. Non-motorized winter travelers with children
    and/or pets always have to be on the look-out for fast moving
    vehicles and it creates a safety issue. It's kind of like
    taking the family out for a hike on a freeway.

    By taking action to make this area designated as non-motorized,
    experience on public lands will be improved for those seeking
    the serenity and silence that can be found in our National
    Forest. Non-motorized travelers are only able to travel 5-10
    miles in an entire day--whereas motorized travelers can travel
    well over 50 miles in a day. With the geography and location of
    the Pass Creek Yurt area, this allows the non-motorized users
    easy access to get the quiet and safe backcountry experience
    they have a right to. In addition, motorized users have ample
    opportunity in the immediate area to access miles and miles of
    terrain for their enjoyment. The times that I travel in winter
    on motorized craft, I personally prefer the separate area
    designated for motorized travel where I don't have to worry
    about conflict or safety issues with the other users.

    Thank you for the consideration and I hope the change can be
    made to designate the Pass Creek Yurt area as a non-motorized
    area.

    John Strand
    Durango, CO
    Jstrand@ureach.com
    303-489-8849


    Get your own "800" number
    Voicemail, fax, email, and a lot more
    http://www.ureach.com/reg/tag



                                                                      Rvsd Plan - 00003584
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    From:             Mid_SchooLMath
    To:               FS-RGNF forest plan
    Subject:          Buffer around Pass Creek Yurt
    Date:             Sunday, October 16, 2016 1:00:16 PM
    Attachments:      Screen Shot 2016-09-21 at 12.30.59 PM.png



    Hi folks,

    I just want to say that for years, I’ve enjoyed the Pass Creek Yurt.

    Snowmobiles would deter me from continuing to visit. The quiet of the location, and connect
    to the forest is my purpose for visiting.
    Thanks for you consideration and keeping the place special.

    Scott



    Scott Laidlaw, Ed.D. CEO
    MidSchoolMath
    Phone: 801.657.1035




        Mid
       Leader in comprehensive middle school math curriculum
                                                                  Math




                                                                           Rvsd Plan - 00003585
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    From:           Abigail
    To:             FS-RGNF forest plan
    Subject:        Non-Motorized buffer around Pass Creek Yurt
    Date:           Monday, October 17, 2016 8:43:57 AM



    To Whom it May Concern,

    As a former USFS Wilderness Ranger and avid backcountry skier, I am writing to ask that the
    Rio Grande National Forest consider creating a non-motorized buffer in the area of Pass Creek
    Yurt.

    I have spent several overnights at the yurt and find the peaceful experience to be an important
    rejuvenating winter experience. In addition, I have introduced by eight year old niece to
    backcountry skiing and USFS lands through the yurt. Being able to reliably assume that there
    are no snowmobiles in the area gives us peace of mind especially when bringing children into
    the backcountry. Sharing terrain with motorized users significantly, and negatively impacts the
    skier experience. I specifically go to Pass Creek Yurt to get away from the noise and number
    of people that are inherent with motorized use. In addition, snowmobile use increases the
    possibility of avalanche danger because of their weight and ability to access 50-70 miles of
    varied terrain. This poses a danger to backcountry skiers.

    Please consider these factors as you devise you new draft management plan.

    Thank you,
    Abigail Sussman




                                                                      Rvsd Plan - 00003586
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    From:           Michael Rega
    To:             FS-RGNF forest plan
    Subject:        Pass Creek Comments
    Date:           Monday, October 17, 2016 5:12:01 PM



    For over a decade we have been exploring the pass creek area by snowshoe and back country
    skis and feel strongly that there are precious few places as safe and beautiful as Pass Creek to
    enjoy the serenity of the real wild. Please consider keeping Pass Creek designated motor free,
    it is well covered by local cell phone towers for any emergency and yet keeps it's true
    wilderness feel. It is a rare and special area that we do not want to lose to motor sports.

    Thank you for the consideration.


    Michael Rega CSP, MSM
    Managing Partner
    Ecliptic Consulting Group
    Direct 727-692-1911
    Office 800-789-ECLIPTIC (3254)
    mrega@ecgpc.com
    www.ecgpc.com




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    From:               David Wilson
    To:                 FS-RGNF forest plan
    Subject:            Pass Creek Yurt Non-MotorizedDesignation
    Date:               Tuesday, October 18, 20168:17:05 PM




    To whom it may concern,

    I have skied the backcountry throughout the state of Colorado for the last 30 years. In days long past I could access
    the wild places and not see any snow machines. Now they are very high powered and can climb almost anything
    and do so.

    Both motorized and non-motorized users should have the privilege of having a great day in the back country. I like
    what was done years ago on Rabbit Ears Pass - one side for motorized users and another for non-motorized users.
    The rules are easy to follow and it seems most folks do so.

    I have stayed at the yurt near pass creek perhaps six times over 30 years. While not totally insulated from the trucks
    on the road it is a nice place to visit and to enjoy the good skiing nearby. I have been there when snow machines
    have travelled right to the yurt and crushed all the available powder skiing nearby.

    They can go anywhere - so please consider limiting their travel to an area that allows non-motorized visitors to
    enjoy the sound of snow under there skis and pine in the air versus the whine of 150 HP, 2 cycle machine, and the
    stink of oil in the air.

    With respect,

    David Wilson
    3060 18th St
    Boulder, CO 80304




                                                                                       Rvsd Plan - 00003588
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    From:           Howard Cox
    To:             FS-RGNF forest plan
    Subject:        Forest plan revision comments
    Date:           Tuesday, October 18, 2016 11:59:34 AM



    I would like to offer comments as pertains to the upcoming Winter Travel Management Plan
    updating in 2017. There has been a longstanding issue of snow machine / skier, snowshoe,
    sledder conflict on the north side of Wolf Creek Pass that is overdue for resolution. As a
    participant in the original task force that compromised on the voluntary recommendations
    limiting machines to the Lobo road, I would strongly support reconsideration of that failed
    policy for all the safety and aesthetic reasons already discussed at length. As a non motorized
    user of the WC back country for 30 years the problem motorized / non motorized conflict has
    only gotten worse every year. The vast amount of back country available to machines in the
    RGNF that skiers cannot ever hope to access pales in comparison to the small amount of prime
    skier terrain available off the north side of the pass. Machines don't mix with kids and
    families with sleds, hikers and skiers. I again recomend a common sense, administratively
    clean separation of the north (non motorized) from the south (no restrictions) sides of WC
    pass.

    The same should be said for the proposed proposed boundaries surrounding the Pass Creek
    Yurt. Non motorized, winter back country recreation is premised silence, solitude, and high
    quality (untracked) conditions.

    Thank you,
    Howard Cox
    Del Norte, CO




                                                                      Rvsd Plan - 00003589
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    From:            Phil Zappone
    To:              FS-RGNF forest plan
    Subject:         Creating a non-motorized buffer around the Pass Creek Yurt in winter
    Date:            Tuesday, October 18,2016 8:29:38 PM




    As a skier and snowmobiler, please create ing a non-motorized buffer around the
    Pass Creek Yurt in winter.

           •    Non-motorized users deserve land set aside for their enjoyment
           •   "Sharing" terrain with motorized users doesn't work
           •   Silence in the backcountry is a right
           •   Snowmobiles easily travel 50-70 miles in a day accessing many thousands of
               acres of backcountry in a day. Skiers travel 2-10 miles in a day, limiting the
               acreage to which they have access.

    The boundaries requested are: to the north the Wolf Creek Ski Area, to the east FS
    RD 390, Silver Creek to the south, and the Continental Divide to the west.

    Thank you for your hard work and considering this recommendation.



    Phi & Tabitha Zappone

    30 Limestone Ct

    Pagosa Springs, CO

    81147




                                                                                            Rvsd Plan - 00003590
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    From:               richard higashi@yahoo.com
    To:                 FS-RGNF forest pian
    Subject:            Non-Motorized Designation for Pass Creek Yurt
    Date:              Tuesday, October 18, 2016 2:21:30 AM




    I support the non-motorized designation for Pass Creek Yurt to preserve the nice and quiet experience for
    backcountry skiing.

    I had an amazing time in that beautiful area and there are very limited backcountry locations. Snowmobiles can
    easily travel 50-70 miles while Skiers are limited to 2-10 miles.

    Sincerely,
    Richard
    Sent from my iPhone




                                                                                     Rvsd Plan - 00003591
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    From:           TONY HOAG
    To:             FS-RGNF forest plan
    Subject:        Pass Creek Yurt
    Date:           Tuesday, October 18, 2016 4:18:33 PM



    Hello, I am a back country skier that has visited the Pass Creek Yurt many times over the last
    20 years. We have enjoyed the wonderful backcountry hard earned relationship we have had
    with this area. We work hard skiing uphills and down to get to the yurt. Always we are
    awarded with the wonderful solitude and quietness of this special place. Although it is not a
    wilderness it sure feels like even though it is only a few miles from a heavily developed
    mechanized ski area.

    We hope you take out feelings into account as you prescribe the uses for this area during the
    winter. We hope you strongly consider keeping this area as a winter non-motorized area.
    There must be a balance between motorized and non-motorized ares. As I see it now there is a
    much greater percentage of the forest in motorized than non-motorized.

    Although some people may argue that the two recreation types- non motorized and motorized
    can exist in the same space.I would strongly argue that they cannot. Back Country skiers
    experience is largely dependent on being able to leave the mechanized society behind. Snow
    machines take that experience away.

    We understand the multiple use system and support its application throughout the forest
    system. There are instances though argue for separation- specified bicycle or hiking trails,
    wood-cutting areas where no recreation is allowed, fencing of areas to maintain separation of
    animals, and camping areas. All these uses are specific and require areas for use that limit use
    of others. With that argument in mind we put forth that it is a right to have areas set aside from
    motorized use- only in winter- in the Pass Creek Yurt Area.

    I have enjoyed the Pass Creek Yurt and the solitude and quietness it offers for over 20 years.
    In terms of winter use there is only a minority of acres of Forest Land to recreate without the
    encountering mechanized vehicles in a place we seek quietness. Asking for the Pass Creek
    Yurt Area to be non-motorized in winter as another proscripted use in the multiple-use system
    is a right to be recognized and valued by the USFS.

    Thank You for considering my points in keeping the PAss Creek Yurt non-motorized in
    winter,

    Tony Hoag
    17908 Paradox Trail
    Montrose, CO 81401
    970-249-3564




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    From:                 Craig Carter
    To:                   FS-RGNF forest plan
    Subject:              Non-Motorized Designationfor PassCreek Yurt
    Date:                 Thursday, October 20, 2016 11:24:15 AM



    Dear Sir or Madam,

    I have been fortunate to use the Pass Creek Yurt during past winters. The approach to the Pass
    Creek Yurt from the Wolf Creek ski area offers beautiful views. The terrain near the Pass Creek Yurt
    provides excellent ski descents. However, this experience is often interrupted, both by noise and the
    tracking out of fresh powder, by snowmobiles.


    I appreciate that we want to provide access to and allow enjoyment of our forests by multiple
    parties and multiple uses. I am writing to simply request that this relatively small area be given a
    non-motorized designation to allow a wilderness-like experience for its users.

    Best regards,


    Craig



    Professor Craig R. Carter, Ph.D.
    Dean’s Council of 100 Distinguished Scholar
    W.P. Carey School of Business
    Arizona State University
    Advising Editor and Editor Emeritus, Journal of Supply Chain Management
    Phone: +1.480.965.6044
    Fax: +1.775.201.1754
    Email: crcarter@asu.edu
    Journal of Supply Chain Management:
    http://onlinelibrary.wiley.com/journal/10.1111/%28ISSN%291745-493X
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    LinkedIn: http://www.linkedin.com/pub/craig-carter/12/619/763
    P   Please consider your environmental responsibility before printing this e-mail




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    From:            Margaret Burkesmith
    To:              FS-RGNF forest plan
    Subject:         Pass Creek Yurt - Pagosa Springs, CO
    Date:            Thursday, October 20, 2016 8:54:24 AM



    To whom it may concern:
    I am concerned about the influence that the snowmobiles have in the National
    Forest. They are very destructive, loud, disturbing, toxic, and liter our
    wilderness.

    The Pass Creek Yurt (near Wolf Creek Ski Area) is a very sacred, safe, getaway
    for both us, the animals, and the forest. One can almost hear the choir of the
    trees while there. I personally call it the 'yurt of integration' because it assists
    us to let down our busy, noisy lives, and come back to our natural state of calm in
    our mind and bodies.
    To be able to connect and commune with nature and the wildlife is vital for our
    physical, mental, and emotional well being.
    For those of you whom are reading this, you know this through and through, and
    this is most likely the reason you've chosen your vocation.

    Please redirect the recreational snowmobiles to a different area - there's so
    much to choose from - why wouldn't you?

    Thank you for your care, concern, and consideration in the matter. Margaret
    Burkesmith

    Thoreau says it best:
    “Live in each season as it passes; breathe the air, drink the drink, taste the fruit, and resign
    yourself to the influence of the earth.”

    “We need the tonic of wildness...At the same time that we are earnest to explore and learn all
    things, we require that all things be mysterious and unexplorable, that land and sea be indefinitely
    wild, unsurveyed and unfathomed by us because unfathomable. We can never have enough of
    nature.”
    - Henry David Thoreau, Walden: Or, Life in the Woods




                                               Margaret Burkesmith
                                            Phoenix Rising Yoga Therapist
                                                    Yoga Clarity
                                               970-264-YOGA (9642)
                                    http://www.yogaclaritypagosa.com/pryt.html




                                                                             Rvsd Plan - 00003594
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    From:               La Donna & Travis Ward
    To:                 FS-RGNF forest plan
    Subject:            Pass Creek
    Date:               Thursday, October 20, 2016 11:48:31 AM




    Dear Forest Plan People,

    Please retain the non motorized area around the Pass Creek Yurt (in the Wolf Creek Area). Snowmobilers (and
    snowbikes etc) already have huge acreages in the area east of Wolf Creek Pass to do their thing. While they are at it
    they flatten out large tracts of powder snow in a very short time. Non motorized folks (like us) need and deserve an
    area where they can enjoy some powder in relative peace and quiet. We are forest users too!!

    When making your plan for the forest use please make a provision for us quiet users around the Pass Creek Yurt.

    Thanks.

    Travis and la Donna Ward
    1034 5th ave
    Durango
    Colo
    81301




                                                                                      Rvsd Plan - 00003595
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    From:              ERIC POLCZYNSKI
    To:                FS-RGNF forest plan
    Subject:           RGNF Forest Plan revision
     Date:             Monday, October 24, 2016 3:48:46 PM




    Please consider the following points in the RGNF plan revision,

    •Preserve healthy habitats by adding additional areas as Wilderness including Antora Meadows, which would help
    fill the largest gap in the wilderness system in the Southern Rockies and one of the few areas in Colorado where all
    of the state's major forest types coexist.
    •Other important areas to recommend for Wilderness include North Fork of Rock Creek, Snowshoe Mountain, and
    Saguache Creek.

    •Protect connected landscapes by designating regional and forest-scale wildlife corridors such as the Wolf Creek
    Pass Landscape Zoological Area, which is one of the most important wildlife linkage zones in the San Juan
    Mountains and provides the most expansive lynx habitats in the Southern Rockies.
    •Also for landscape connectivity please protect the Elkhorn Peak Recommended Wilderness and Spruce
    Hole/Osier/Toltec Landscape Linkage area.

    •Defend key species such as the Canada lynx (ESA threatened) that is recovering in the Rio Grande National Forest,
    Uncompahgre fritillary butterfly (ESA endangered) that is found only in alpine habitats in the San Juan Mountains,
    and the Rio Grande cutthroat trout with only about two dozen remaining large gentically pure populations.
    •Protect Rio Grande cutthroat trout and important wetland areas by designating Rio Grande Cutthroat Trout Focus
    Areas including Carnero Creek and Jim Creek.

    Thank you for reading. Sincerely, Eric Polczynski, Po Box 3483, Pagosa Springs, CO 81147




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    From:             Ralph
    To:               FS-RGNF forest plan
    Subject:          Forest Plan revision
     Date:            Tuesday, October 25, 2016 6:09:52 AM


    A major focus of the plan revision needs to be protecting biodiversity - preserving
    healthy habitats, connected landscapes, and key species.
    Preserve healthy habitats by recommending additional areas as Wilderness including Antora
    Meadows, which would help fill the largest gap in the wilderness system in the Southern Rockies
    and one of the few areas in Colorado where all of the state's major forest types coexist.
              o Other important areas to recommend for Wilderness include North Fork of Rock Creek,
                  Snowshoe Mountain, and Saguache Creek.

         • Protect connected landscapes by designating regional and forest-scale wildlife corridors
           such as the Wolf Creek Pass Landscape Zoological Area, which is one of the most important
           wildlife linkage zones in the San Juan Mountains and provides the most expansive lynx
           habitats in the Southern Rockies.
               o Other important areas to protect for landscape connectivity include the Elkhorn Peak
                  Recommended Wilderness and Spruce Hole/Osier/Toltec Landscape Linkage area.

         • Defend species such as the Canada lynx that is recovering in the Rio Grande National
           Forest, Uncompahgre fritillary butterfly that is found only in alpine habitats in the San Juan
           Mountains, and the Rio Grande cutthroat trout with only about two dozen remaining large
           genetically pure populations.
               o Protect Rio Grande cutthroat trout and important wetland areas by designating Rio
                  Grande Cutthroat Trout Focus Areas including Carnero Creek and Jim Creek.




    Thanks,

    Ralph Head




                                                                             Rvsd Plan - 00003597
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    From:            Joshua Kuhn
    To:              FS-RGNF forest plan
    Subject:         Scoping Comment
     Date:           Tuesday, October 25, 2016 1:22:43 PM



    Dear Rio Grande National Forest,

    Thank you for the opportunity to submit comments toward the Rio Grande National Forest's
     forest plan revision. A major focus of the plan revision needs to be protecting biodiversity
    - preserving healthy habitats, connected landscapes, and key species.
         • Preserve healthy habitats by recommending additional areas as Wilderness including
           Antora Meadows [pictured above], which would help fill the largest gap in the wilderness
           system in the Southern Rockies and one of the few areas in Colorado where all of the state's
           major forest types coexist.
               o Other important areas to recommend for Wilderness include North Fork of Rock Creek,
                 Snowshoe Mountain, and Saguache Creek.
         • Protect connected landscapes by designating regional and forest-scale wildlife corridors
           such as the Wolf Creek Pass Landscape Zoological Area, which is one of hte most important
           wildlife linkage zones in the San Juan Mountains and provides the most expansive lynx
           habitats in the Southern Rockies.
                o Other important areas to protect for landscape connectivity include the Elkhorn Peak
                   Recommended Wilderness and Spruce Hole/Osier/Toltec Landscape Linkage area.
         • Defend key species such as the Canada lynx (ESA threatened) that is recovering in the Rio
           Grande National Forest, Uncompahgre fritillary butterfly (ESA endangered) that is found only
           in alpine habitats in the San Juan Mountains, and the Rio Grande cutthroat trout with only
           about two dozen remaining large gentically pure populations.
                o Protect Rio Grande cutthroat trout and important wetland areas by designating Rio
                   Grande Cutthroat Trout Focus Areas including Carnero Creek and Jim Creek.
         • See our Locator Map for the location of the forest and our Map of Recommended Designated
           Areas to learn where some of the areas the conservation community is recommending for
           protections are found.
    Thanks,
    Josh Kuhn
    908 Jasmine Pl
    Lafayette, Co




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    From:             Paula Pluta
    To:               FS-RGNF forest plan
    Subject:          We need your support
     Date:            Tuesday, October 25, 2016 11:03:50 AM


    A major focus of the plan revision needs to be protecting biodiversity - preserving healthy
    habitats, connected landscapes, and key species. Support Rocky Mountain Wild and our
    conservation partners by asking the Forest to:

         • Preserve healthy habitats by recommending additional areas as Wilderness including Antora
           Meadows [pictured above], which would help fill the largest gap in the wilderness system in the
           Southern Rockies and one of the few areas in Colorado where all of the state's major forest types
           coexist.
               o Other important areas to recommend for Wilderness include North Fork of Rock Creek,
                  Snowshoe Mountain, and Saguache Creek.

         • Protect connected landscapes by designating regional and forest-scale wildlife corridors such as
           the Wolf Creek Pass Landscape Zoological Area, which is one of hte most important wildlife
           linkage zones in the San Juan Mountains and provides the most expansive lynx habitats in the
           Southern Rockies.
                o Other important areas to protect for landscape connectivity include the Elkhorn Peak
                  Recommended Wilderness and Spruce Hole/Osier/Toltec Landscape Linkage area.

         • Defend key species such as the Canada lynx (ESA threatened) that is recovering in the Rio
           Grande National Forest, Uncompahgre fritillary butterfly (ESA endangered) that is found only in
           alpine habitats in the San Juan Mountains, and the Rio Grande cutthroat trout with only about two
           dozen remaining large gentically pure populations.
                o Protect Rio Grande cutthroat trout and important wetland areas by designating Rio Grande
                  Cutthroat Trout Focus Areas including Carnero Creek and Jim Creek.




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    From:            larry rice
    To:              FS-RGNF forest plan
    Subject:         Rio Grande National Forest future plans ; comments
     Date:           Monday, October 24, 2016 4:35:40 PM



    To whom it may concern;

    A major focus of the plan revision needs to be protecting biodiversity -
    preserving healthy habitats, connected landscapes, and key species. Support
    Rocky Mountain Wild and our conservation partners by asking the Forest to:
    • Preserve healthy habitats by recommending additional areas as Wilderness
    including Antora Meadows [pictured above], which would help fill the largest gap in
    the wilderness system in the Southern Rockies and one of the few areas in Colorado
    where all of the state's major forest types coexist.

         • Other important areas to recommend for Wilderness include North Fork of Rock
           Creek, Snowshoe Mountain, and Saguache Creek.

    • Protect connected landscapes by designating regional and forest-scale wildlife
    corridors such as the Wolf Creek Pass Landscape Zoological Area, which is one of
    hte most important wildlife linkage zones in the San Juan Mountains and provides the
    most expansive lynx habitats in the Southern Rockies.

         • Other important areas to protect for landscape connectivity include the Elkhorn
           Peak Recommended Wilderness and Spruce Hole/Osier/Toltec Landscape
           Linkage area.

    • Defend key species such as the Canada lynx (ESA threatened) that is recovering
    in the Rio Grande National Forest, Uncompahgre fritillary butterfly (ESA endangered)
    that is found only in alpine habitats in the San Juan Mountains, and the Rio Grande
    cutthroat trout with only about two dozen remaining large gentically pure populations.

         • Protect Rio Grande cutthroat trout and important wetland areas by designating
           Rio Grande Cutthroat Trout Focus Areas including Carnero Creek and Jim
           Creek.

    Please try to incorporate many of these ideas into your ongoing plans for this special
    area.

    Thank you for your time.

    Skyward,
     Larry B. Rice




                                                                          Rvsd Plan - 00003600
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   1. Species: Canada Lynx (Lynx canadensis)

   2. Status: Table 1 summarizes the current status of this species or subspecies by various ranking entity
      and defines the meaning of the status.

    Table 1. Current status of Lynx canadensis
    Entity            Status           Status Definition
    NatureServe       G5               Species is Secure
                                       At very low risk or extinction or elimination due to a very extensive range,
                                       abundant populations or occurrences, and little to no concern from declines or
                                       threats.
    CNHP              S1               Species is Critically Imperiled
                                       At very high risk of extinction or elimination due to very restricted range, very
                                       few populations or occurrences, very steep declines, very severe threats, or
                                       other factors.
    Colorado State    Endangered;      Included in the Colorado Threatened and Endangered Species list.
    List Status       SGCN, Tier 1

    USDA Forest        ESA Section      ESA Section 7 consultation requirement for activities that may affect the
    Service            7                species.

    USDI FWSb          FT               Federally listed as Threatened

    USDI FWS           None            No occurrence of designated critical habitat within the planning area.
    Critical Habitat
    a Colorado Natural Heritage Program.
    b US Department of Interior Fish and Wildlife Service.

   The 2012 U.S. Forest Service Planning Rule defines Species of Conservation Concern (SCC) as “a
   species, other than federally recognized threatened, endangered, proposed, or candidate species, that is
   known to occur in the plan area and for which the regional forester has determined that the best available
   scientific information indicates substantial concern about the species' capability to persist over the long­
   term in the plan area” (36 CFR 219.9). This overview was developed to summarize information relating
   to this species’ consideration to be listed as a SCC on the Rio Grande National Forest, and to aid in the
   development of plan components and monitoring objectives.

   3. Taxonomy

   Genus/species Lynx canadensis is accepted as valid.

   4. Distribution, abundance, and population trend on the planning unit [12.53.2,3,4]:

   In 1999, the Colorado Parks and Wildlife initiated a lynx recovery program intended to augment any
   existing populations in the Southern Rockies with transplants from Canada and Alaska to re-establish a
   self-sustaining breeding population. The augmentation program resulted in a total of 218 lynx being
   transplanted into the San Juan Mountains during 1999-2006.

   Lynx reproductive rates in Colorado have varied greatly since kittens were first documented in 2003.
   After den visits identified 16 kittens in 2003, researchers found 39 kittens in 2004; 50 kittens in 2005; 11
   kittens in 2006; 11 kittens in 2009; 14 kittens in 2010. During the 2006, 2009 and 2010 seasons, DOW
   field crews documented that Colorado-born lynx had successfully produced third-generation Colorado




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   kittens. In 2010, researchers estimated that between 30 and 40 percent of female lynx bore litters of
   kittens (Colorado Parks and Wildlife 2010). Recent kittens produced by two female lynx on the Rio
   Grande National Forest during the 2015 breeding season represent the first documented reproduction
   since 2010 (R. Ghormley, pers. comm. 2015).

   The RGNF represents a large portion of the core area for lynx reintroduced to Colorado, with
   approximately 85% of the 218 lynx reintroduced to Colorado from 1999-2007 being released on the
   planning area. The vast majority of lynx within Colorado remains and reproduces in the high-elevation
   spruce-fir zone in the southwestern portion of the state, including the RGNF. Currently, lynx continue to
   utilize and reproduce on the RGNF, and local spruce-fir habitats remain essential to their eventual
   recovery and delisting (USDA Forest Service 2014).

   Lynx habitat within the planning area was most recently modeled and mapped in 2011. Vegetation
   characteristics provide the criteria for identification of both primary and secondary habitats (Appendix
   A).Approximately 867,241 acres are classified as lynx primary habitat, 170,847 acres are delineated as
   secondary habitat (Figure 1), and 6,299 acres are identified as unsuitable habitat (USDA Forest Service
   2011). A total of four linkage areas have also been delineated. Lynx habitat on the Rio Grande National
   Forest extends across administrative boundaries within the greater San Juan Mountains area and includes
   the San Juan and Grand Mesa, Uncompahgre, and Gunnison (GMUG) National Forests. Individual lynx
   that utilize the Rio Grande National Forest are known to have used all or any one of these units in the
   greater San Juan Mountains area (Theobald 2011). Connective habitat between administrative units in the
   San Juan Mountains and beyond is essential for facilitating movement of Canada lynx across the
   landscape.

   Aerial surveys to detect insect and disease influences indicate widespread mortality in spruce forest and to
   a lesser extent other forest types within the planning area. Data from flights conducted from 2010-2014
   show that approximately 782,137 acres of suitable lynx habitat were affected by spruce beetle mortality,
   while about 221 acres were affected by mountain pine beetle mortality (Figure 1). Severity of mortality
   varies across the landscape, ranging from less than one tree per acre (TPA) to over 100 TPA in some
   areas.

   In 2013, a study was initiated to investigate how lynx respond to forests heavily influenced by spruce
   bark beetles in the San Juan Mountains of southern Colorado. The purpose of the study is to address the
   key management questions associated with the maintenance of suitable habitat for lynx and primary prey
   species in relationship to natural disturbance processes such as bark beetles and wildfire, and to an
   expected increase in post-beetle forest management activities, such as timber salvage (USDA Forest
   Service 2014). Movements and habitat use by 4 radio-collared lynx (2 male, 2 female) for the period
   February 2014 - July 2015 show that portions of the planning area are currently being used for foraging
   and denning (with successful production of young). Preliminary results suggest that bark beetle mortality
   does not appear to be currently influencing lynx distribution or reproduction (R. Ghormley, pers. comm.
   2015).

   Table 2. Known Occurrence Frequency within the Planning Area

    Known Occurrences in the past 20 years        Numerous
    Year Last Observed                               2015




                                                                              Rvsd Plan - 00003602
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   5. Brief description of natural history and key ecological functions [basis for other 12.53
      components]:

   Canada lynx habitat in Colorado primarily occurs in the subalpine and upper montane forest zones.
   Recent analysis of radio-collared reintroduced lynx in Colorado indicates that the majority of the habitat
   used occurs between 9,900 - 11,620 feet (Theobald and Shenk 2011). Forests in these zones typically
   contain deep winter snows and are dominated by subalpine fir, Engelmann spruce, aspen, and lodgepole
   pine. A preference for these forest types, particularly spruce-fir associations, has been documented by
   radio-telemetry and tracking techniques associated with lynx reintroduced to Colorado (Theobald and
   Shenk 2011). Other habitats used by reintroduced lynx include spruce-fir/aspen associations and various
   riparian and riparian-associated areas dominated by dense willow (Shenk 2009).

   Throughout North America, the distribution of lynx is closely tied to habitats that support an abundant
   population of snowshoe hare (Koehler 1990, Aubry et al. 2000). These habitats are generally defined as
   regenerating stands that contain dense, small-diameter stems that provide both food and horizontal cover
   (Koehler 1990, Aubry et al. 2000). In Colorado, both small diameter lodgepole stands and mature
   spruce-fir stands support the highest density of snowshoe hares, although the latter may be of more
   importance on a year-round basis due to the long-term persistence and distribution of mature spruce-fir
   stands (Ivan 2011). Reintroduced lynx in Colorado are also utilizing red squirrels, cottontails, and other
   alternate prey items. Red squirrels are closely associated with mature forest conditions, and would occur
   sympatrically with snowshoe hare as an important alternate prey species (Buskirk et al. 2000). The
   increased use of riparian-willow systems by reintroduced lynx during late summer and fall is also
   considered to be associated with alternate prey sources (Shenk 2009).

   Canada lynx breed from March through April in the northern portion of their range, with kittens usually
   borne in May through June (Mowat et al. 2000). Births by reintroduced lynx in Colorado occurred in late
   May to mid-June (Shenk 2006). All den sites found in Colorado have occurred within the spruce-fir zone
   on steep, north-facing slopes and are most often associated with substantial amount of large diameter
   woody debris (Merrill 2005, Shenk 2009). The average elevation at Colorado den sites is 11,004 feet
   (Shenk 2009). Disturbances such as insects and disease and windthrow contribute to the downed log
   component and are therefore important for reproduction and protection for the kittens (Aubry et al. 2000).
   For denning habitat to be functional, however, it must be in or adjacent to quality foraging habitat.
   Because lynx may frequently move their kittens in the first few months, multiple nursery sites are needed
   that provide kittens with overhead cover and protection from predators and the elements (Ruediger et al.
   2000). Downed logs and overhead cover must also be available throughout the home range to provide
   security when kittens are old enough to travel.

   Lynx are known to move long distances, but open areas, whether man-made or natural, may not be used
   as extensively (Mowat et al. 2000). In north-central Washington, lynx typically avoided openings greater
   than about 300 feet wide (Koehler and Brittell 1990). However, the Southern Rockies consist of more
   heterogeneous forest types and their response to natural or created openings may differ (Ruggiero et al.
   2000). The habitat use information for lynx in Colorado indicates that canopy closures of at least 40% are
   important at the site-scale, regardless of the type of cover involved (Shenk 2006). Additional analysis of
   radio-collared data for reintroduced lynx in Colorado indicates that the average proportion of forest
   (upper montane) in lynx habitat was 0.65, with the majority occurring in areas with at least 20% forested
   (upper montane) cover. Habitat use was also associated with distance from large patches (>50 ha, 124 ac.)
   of forest (upper montane) cover, with the majority of habitat within 3.35 km (2.1 mi.), and the average at
   0.36 km (0.2 mi). The average proportion of grasslands was 0.16. There was little association of lynx
   habitat use areas with other land cover types (Theobald and Shenk 2011). This data indicates that most
   lynx use in Colorado is associated with larger contiguous blocks of forest that is primarily dominated by
   spruce-fir forest cover types.




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   Forested conditions between foraging and denning habitat has also been shown to facilitate movement
   within the home range, particularly along ridgelines where lynx commonly travel (Ruggiero et al. 1994).
   Linkage areas may be provided by forest stringers that connect large forested areas, or by low, forested
   passes that connect subalpine forests on opposite sides of a mountain range (Ruediger et. al. 2000).

   Lynx reproductive rates in Colorado have varied greatly since kittens were first documented in 2003.
   After den visits identified 16 kittens in 2003, researchers found 39 kittens in 2004; 50 kittens in 2005; 11
   kittens in 2006; 11 kittens in 2009; 14 kittens in 2010. During the 2006, 2009 and 2010 seasons, DOW
   field crews documented that Colorado-born lynx had successfully produced third-generation Colorado
   kittens. In 2010, researchers estimated that between 30 and 40 percent of female lynx bore litters of
   kittens (Colorado Division of Wildlife 2010).

   6. Overview of ecological conditions for recovery, conservation, and viability [12.53 7, 9?, 10, 11,
      12]:

   Specific ecological conditions for recovery, conservation, and viability of Canada lynx on the Rio Grande
   National Forest are best described in the Southern Rockies Lynx Amendment (SRLA 2008). All key
   criteria in the SRLA Management Direction (Objectives, Standards, and Guidelines) should be considered
   for local conservation and recovery efforts but are too numerous to mention here. However, some key
   ecological conditions considered important on the Forest include:

       •   Recognition that lynx conservation and recovery is a multi-unit landscape-scale issue that
           involves cross-boundary coordination and consistency.
       •   A conservation focus on late-successional spruce-fir cover types in combination with aspen and
           cool-moist mixed conifer stand components represent the majority of the high-quality lynx habitat
           locally. High-elevation willow-riparian systems also represent high value for summer foraging
           use. In the post-spruce beetle environment, a focus on stands that previously were mapped as 4c
           structural class still contain the structural legacies, green cohorts, and understory components that
           most likely provide for the key life history requirements of lynx and key prey species.
       •   High-quality lynx analysis units (LAUs) that are well-connected within and between LAUs.
           Connectivity attributes that facilitate movement should be further defined and mapped across the
           Unit and adjoining unit landscapes.
       •   Recognition of high-value movement and dispersal areas that may require a management focus
           even when outside of existing LAUs or known occupied reproductive habitat. A local example is
           the North Pass area on the Saguache Ranger District that may provide for dispersal and ingress of
           lynx in and out of the local core area.
       •   Protection, maintenance, and restoration of dense understory conditions that support primary prey
           species (snowshoe hare), particularly when associated with late-successional spruce-fir cover
           types or post-bark beetle conditions in former late-successional green forests.
       •   In the post spruce-beetle outbreak condition, a refocus on what constitutes high-quality habitat for
           key prey species, lynx, and reproduction.
       •   Uncompacted snow conditions and management of over-the-snow vehicle route densities.




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   7. Threats and Risk Factors

   The SRLA (USDA Forest Service 2008b) incorporated and addressed the following risk factors for lynx:

   The LCAS [Ruediger et al. 2000] identified several specific management activities and practices termed
   “risk factors” for the Southern Rockies geographic area. Risk factors affecting lynx productivity included
   fire exclusion, grazing, and winter recreational uses that create compacted snow conditions.

       •   Fire exclusion has resulted in a lack of early successional stages of conifers, which provide
           important snowshoe hare habitat. Fire exclusion is not considered a factor locally on the Rio
           Grande National Forest.

       •   Unmanaged grazing by domestic and wild ungulates in aspen and high elevation willow stands
           can degrade snowshoe hare habitat. Grazing influences on riparin willow is not considered a a
           broadscale factor influencing high-elevation riparian willow habitat on the Rio Grande National
           Forest; however, it can be a localized issue in certain areas particularly those with a meadow or
           grassland park interface.

       •   Road, trail and recreational activities that results in snow compaction may facilitate increased
           access into lynx habitat and competition for food resources by competitors (primarily coyotes).
           Over-the-snow vehicle use is noted as a local concern on the Rio Grande National Forest with use
           demand on the increase.

       •   Risk factors affecting lynx mortality include trapping, predator control activities and predation by
           mountain lions, and being hit by vehicles on major highways and many of the major mountain
           passes in the Southern Rockies Management Geographic Area. Illegal trapping methods for legal
           take species in lynx habitat have been noted as a concern on one occasion on the Rio Grande
           National Forest. Although unknown, illegal trapping is not considered a widespread concern
           locally. Potential mortality of lynx due to vehicle traffic on highways and/or fragmentation of
           habitat and impaired genetic exchange due to highways, however, have been identified as a local
           concern. Starvation has also been a factor locally in Colorado, especially during the early years
           of the reintroduction effort (Shenk 2010).

       •   Risk factors affecting lynx movement include barriers to movements such as major highways and
           associated development within rights-of-way. Private land development, especially along road
           corridors in mountain valleys, may also fragment habitat and impede movement of lynx. Urban
           expansion and development on private land has further fragmented an already patchy distribution
           of lynx habitat, many times in response to development or expansion of a developed recreational
           facility on NFS lands within lynx habitats. Currently, the Rio Grande National Forest supports
           four key linkage areas that highlight highway crossing and/or movement concerns. As elsewhere,
           traffic volume is expected to increase in the future and this concern remains valid locally.
           Fragmentation of habitat and additional movement impairment is also a concern locally as
           evidenced by the approved land exchange and proposed development at Wolf Creek Pass.


   The threats and risk factors identified in the SRLA and the management direction to address them remain
   valid on the Rio Grande National Forest. However, a focused analysis and reevaluation on the
   significance of these threats and potential adjustments in management direction is warranted in the post­
   spruce beetle landscape. Specifically, a reevaluation of what constitutes high-quality habitat in the post­




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   spruce beetle environment is needed. Specific threats and risk factors in the post spruce beetle
   environment include:
       • Inability to map suitable habitat across LAUs and adjacent national forest units due to rapid
           changes from spruce beetle outbreak.
       • Uncertainties associated with baseline habitat condition changes due to significant natural events
           such as spruce beetles, and the relationship of these changes to ongoing management activities
           that further influence baseline conditions. Uncertainty in management activity thresholds.
       • Uncertainty in what constitutes high-quality habitat in the post spruce beetle landscape, and
           revised management direction to address these conditions in association with vegetation
           management.
       • A significant increase in over-the-snow vehicles, potential snow compaction and disturbance.


   The most recent update to the LCAS provided a full revision, incorporating all prior amendments and
   clarifications, substantial new scientific information that has emerged since 2000 including related parts
   of the Lynx Recovery Plan Outline, as well as drawing on experience gained in implementing the 2000
   LCAS (Interagency Lynx Biology Team 2013). Conservation measures were also updated and are similar
   to, but at times rewritten, to help address the anthropogenic influences mentioned below.

   The first tier (most significant) anthropogenic influences noted in the revised LCAS include:
      • Climate Change. Potential threats associated with climate change include 1) shifts in species
            distribution 2) changes in periodicity of the snowshoe hare cycle 3) reduction in lynx habitat and
           population size 4) changes in demographic rates and 5) changes in predator-prey relationships.
      • Vegetation Management including effects from timber harvest, precommercial thinning, and fuels
           treatments.
      • Fragmentation of Habitat. Primary potential threats involve vegetation patterns (anthropogenic
           and natural), and highways and road fragmentation.
   Second tier anthropogenic influences noted in the revised LCAS include:
      • Incidental trapping
      • Recreation. Recreation trend is increasing significantly and the mechanism of effects include 1)
           habitat loss 2) disturbance 3) changes in competition for snowshoe hare prey (i.e. snow
            compaction) 4) winter recreation activities 5) snowmobile warming huts and Nordic trail huts,
            and 6) developed campgrounds.
      • Minerals and energy exploration and development.
      • Illegal shooting.
      • Forest/backcountry roads and trails.
      • Grazing by domestic livestock.

   Lynx in the contiguous U.S. were listed as threatened under the Endangered Species Act in 2000
   primarily because regulations governing forest management activities on Federal lands were deemed
   inadequate, at that time, to conserve lynx and their habitats. Since listing, most Federal land managers
   throughout the lynx’s range, including National Forests in USFS Region 2 have formally amended
   management plans to conserve lynx and hare habitats (USDI Fish and Wildlife Service 2013; USDA
   Forest Service 2008a).

   Recent modeling suggests that climate change is likely to impact lynx in the DPS. Although the timing,
   magnitude, and consequences of climate-related impacts are difficult to predict, lynx habitats and
   populations in the contiguous U.S. are likely to be smaller and more isolated in the future and, therefore,
   more vulnerable to other threats (USDI Fish and Wildlife Service 2013).




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   9. Map of Suitable Habitats within the Planning Area

   Mapped suitable habitats and linkage areas (described above) as well as insect and wildfire disturbances
   within the planning area (discussed above) are displayed in Figure 1.




   Figure 1. Canada Lynx Mapped Suitable Habitat, Linkage Areas, and Recent Forest Beetle and Wildfire
   Disturbances.




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   APPENDIX A. RGNF Lynx Habitat Mapping Criteria (USDA Forest Service 2011).

   1.1. Current (FS VEG Spatial) Mapping Criteria (Note: See “Lynx Habitat Model For FS VEG
        Spatial” document by the San Juan National Forest (Dan Greene, 12/27/2010) for a detailed
        description of the model attributes, determinations, and other information).

   Lynx Habitat Model Criteria for San Juan, GMUG, and Rio Grande Forests
      A. Primary Lynx Habitat
         1. A. Local Type = Engelmann Spruce / Subalpine Fir or Local Type = Riparian and Regional
             Cover Type = Engelmann Spruce / Subalpine Fir (spruce/fir classified as a riparian stand)
             B. Stand initiation of same
         2. A. Local Type = Aspen with Conifer. In addition,
                There is a total of at least 5% cover of Engelmann spruce + sub-alpine fir in the top 3
                dominant tree species.
                There is no ponderosa pine in the top 3 dominant tree species
                There is no Gambel oak in the top 3 majority species
             B. Stand initiation of same
         3. A. Local Type = Cool Moist Mixed Conifer or Local Type = Riparian and Regional Cover
             Type = Douglas-fir, White Fir, or Blue Spruce (in a riparian stand)
             B. Stand initiation of same
         4. A. Local Type = Lodgepole. In addition,
                There is a total of at least 5% cover of Engelmann spruce + sub-alpine fir in the top 3
                dominant tree species
             B. Stand initiation of same
         5. Remove polygons from the selection items (1-4) if
             There is ponderosa pine in the top 3 dominant tree species
             There is Gambel oak in the top 3 majority species
         6. Remove from selection if FV_LYNX_HABITAT = N (not habitat)

      B. Secondary Lynx Habitat (dependant on primary habitat)
         1. Local Type = Aspen without Conifer (pure Aspen). In addition,
            There is no ponderosa pine in the top 3 dominant tree species
            There is no Gambel oak in the top 3 majority species
            The selected stands must be within 300 meters of primary habitat
            Local Type = Aspen with Conifer. In addition,
            There is no ponderosa pine in the top 3 dominant tree species
            There is no Gambel oak in the top 3 majority species
            The percent of spruce/fir is less than 5%
         2. Local Type = Riparian and willow is dominant. In addition, selected stands must be within
            300 meters of primary habitat
         3. Local Type = Alpine but dominated by tall willow (size class M or L). In addition, selected
            stands must be within 300 meters of primary habitat (handled with the non-riparian module)
         4. Local Type = Upland Willow (size class M or L). In addition, selected stands must be within
            300 meters of primary habitat
         5. Remove from selection if FV_LYNX_HABITAT = N (not habitat)




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   Note -Qualifying stands in “stand initiation” will be identified as lynx habitat but currently not suitable.
   In addition, qualifying stands regenerating to trees that are not of sufficient height will be identified as
   lynx habitat but currently not suitable. Acres of habitat in “stand initiation” or early seral stage will be
   tracked by LAU in accordance with the SRLA.




                                                                                Rvsd Plan - 00003611
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                                          Friday,
                                          March 24, 2000




                                          Part V

                                          Department of the
                                          Interior
                                          Fish and Wildlife Service

                                          50 CFR Part 17
                                          Endangered and Threatened Wildlife and
                                          Plants; Determination of Threatened
                                          Status for the Contiguous U.S. Distinct
                                          Population Segment of the Canada Lynx
                                          and Related Rule; Final Rule




                                                       Rvsd Plan - 00003612
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16052            Federal Register/Vol. 65, No. 58/Friday, March 24, 2000/Rules and Regulations

DEPARTMENT OF THE INTERIOR                  long legs and large feet make it highly      the lynx is highly adapted (Ruggiero ef
                                            adapted for hunting in deep snow.            al. 1999b).
Fish and Wildlife Service                      The bobcat [Lynx rufus] is a North           We consider lynx in the contiguous
                                            American relative of the lynx.               United States to be part of a larger
50 CFR Part 17                              Compared to the lynx, the bobcat has         metapopulation whose core is located in
                                            smaller paws, shorter ear tufts, and a       the northern boreal forest of central
RIN 1018-AF03
                                            more spotted pelage (coat), and only the     Canada; lynx populations emanate from
Endangered and Threatened Wildlife          top of the tip of the tail is black. The     this area (Buskirk et al. 1999b;
and Plants; Determination of                paws of the lynx have twice the surface      McKelvey etal. 1999a, 1999b). The
Threatened Status for the Contiguous        area as those of the bobcat (Quinn and       boreal forest extends south into the
U.S. Distinct Population Segment of         Parker 1987). The lynx also differs in its   contiguous United States along the
the Canada Lynx and Related Rule            body proportions in comparison to the        Cascade and Rocky Mountain Ranges in
                                            bobcat. Lynx have longer legs, with hind     the West, the western Great Lakes
AGENCY: Fish and Wildlife Service,          legs that are longer than the front legs,    Region, and along the Appalachian
Interior.                                   giving the lynx a “stooped” appearance       Mountain Range of the northeastern
ACTION: Final rule.                         (Quinn and Parker 1987). Bobcats are         United States. At its southern margins,
                                            largely restricted to habitats where deep    the boreal forest becomes naturally
SUMMARY: We, the U.S. Fish and                                                           fragmented into patches of varying size
                                            snows do not accumulate (Koehler and
Wildlife Service (Service), determine                                                    as it transitions into other vegetation
                                            Hornocker 1991). Hybridization
threatened status for the contiguous U.S.                                                types. These southern boreal forest
                                            (breeding) between lynx and bobcat is
Distinct Population Segment of the                                                       habitat patches are small relative to the
                                            not known (Quinn and Parker 1987).
Canada lynx [Lynx canadensis], with a                                                    extensive northern boreal forest of
special rule, pursuant to the Endangered       Classification of the Canada lynx (also
                                            called the North American lynx) has          Canada and Alaska, which constitutes
Species Act of 1973, as amended. This                                                    the majority of the lynx range.
population segment occurs in forested       been subject to revision. In accordance
                                                                                            Many of these southern boreal forest
portions of the States of Colorado,         with Wilson and Reeder (1993), we
                                                                                         habitat patches within the contiguous
Idaho, Maine, Michigan, Minnesota,          currently recognize the lynx in North
                                                                                         United States are able to support
Montana, New Hampshire, New York,           America as Lynx canadensis. We
                                                                                         resident populations of lynx and their
Oregon, Utah, Vermont, Washington,          previously used the latin name L. lynx
                                                                                         primary prey species. It is likely that
and Wisconsin. The contiguous U.S.          canadensis for the lynx (Jones et al.
                                                                                         some of the habitat patches act as
Distinct Population Segment of the lynx     1992; S. Williams, Texas Tech
                                                                                         sources of lynx (recruitment is greater
is threatened by the inadequacy of          University, pers. comm. 1994). Other         than mortality) that are able to disperse
existing regulatory mechanisms. Current     scientific names still in use include
                                                                                         and potentially colonize other patches
U.S. Forest Service Land and Resource       Felis lynx or F. lynx canadensis (Jones      (McKelvey ef al. 1999a). Other habitat
Management Plans include programs,          etal. 1986; Tumlison 1987).                  patches act as “sinks” where lynx
practices, and activities within the           The historical and present range of       mortality is greater than recruitment and
authority and jurisdiction of Federal       the lynx north of the contiguous United      lynx are lost from the overall
land management agencies that may           States includes Alaska and that part of      population. The ability of naturally
threaten lynx or lynx habitat. The lack     Canada that extends from the Yukon           dynamic habitat to support lynx
of protection for lynx in these Plans       and Northwest Territories south across       populations may change as the habitat
render them inadequate to protect the       the United States border and east to         undergoes natural succession following
species.                                    New Brunswick and Nova Scotia. In the        natural or manmade disturbances [i.e.,
                                            contiguous United States, lynx               fire, clearcutting). In addition,
EFFECTIVE DATE: April 24, 2000.             historically occurred in the Cascades        fluctuations in the prey populations
ADDRESSES: The complete file for this       Range of Washington and Oregon; the          may cause some habitat patches to
rule is available for inspection, by        Rocky Mountain Range in Montana,             change from being sinks to sources and
appointment, during normal business         Wyoming, Idaho, eastern Washington,          vice versa. Throughout this document,
hours at the Montana Field Office, U.S.     eastern Oregon, northern Utah, and           we use the term “resident population”
Fish and Wildlife Service, 100 N. Park      Colorado; the western Great Lakes            to refer to a group of lynx that has
Avenue, Suite 320, Helena, Montana          Region; and the northeastern United          exhibited long-term persistence in an
59601.                                      States region from Maine southwest to        area based on a variety of factors, such
FOR FURTHER INFORMATION CONTACT:            New York (McCord and Cardoza 1982;           as evidence of reproduction, successful
Kemper McMaster, Field Supervisor,          Quinn and Parker 1987) (see                  recruitment into the breeding cohort,
Montana Field Office (see ADDRESSES         “Distribution and Status” section).          and maintenance of home ranges. We
section) (telephone 406/449-5225;              In the contiguous United States, the      use the word “transient” to refer to a
facsimile 406/449-5339).                    distribution of the lynx is associated       lynx moving from one place to another
                                            with the southern boreal forest,             within suitable habitat. Another word
Background                                  comprising of subalpine coniferous           we use throughout the document is
   The Canada lynx, hereafter referred to   forest in the West and primarily mixed       “dispersing,” which refers to lynx that
as lynx, is a medium-sized cat with long    coniferous/deciduous forest in the East      have left suitable habitat for various
legs; large, well-furred paws; long tufts   (Aubry ef al. 1999) (see “Distribution       reasons, such as competition or lack of
on the ears; and a short, black-tipped      and Status” section); whereas in Canada      food. When dispersing lynx leave
tail (McCord and Cardoza 1982). Adult       and Alaska, lynx inhabit the classic         suitable habitat and enter habitats that
males average 10 kilograms (22 pounds)      boreal forest ecosystem known as the         are unlikely to sustain lynx, these
in weight and 85 centimeters (33.5          taiga (McCord and Cardoza 1982; Quinn        individuals are considered lost from the
inches) in length (head to tail), and       and Parker 1987; Agee 1999; McKelvey         metapopulations unless they return to
females average 8.5 kilograms (19           ef al. 1999b). Within these general forest   boreal forest.
pounds) and 82 centimeters (32 inches)      types, lynx are most likely to persist in       Lynx use large woody debris, such as
(Quinn and Parker 1987). The lynx’s         areas that receive deep snow, for which      downed logs and windfalls, to provide


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denning sites with security and thermal       disease, fire, wind, ice, or insects, and    1999b). Hodges (1999b) proposes that
cover for kittens (McCord and Cardoza         the understory grows (Buskirk ef al.         northern and southern hare populations
1982; Koehler 1990; Koehler and Brittell      1999b). Lynx concentrate their hunting       have similar cyclic dynamics but that in
1990; Squires and Laurion 1999; J.            activities in areas where hare activity is   southern areas both peak and low
Organ, U.S. Fish and Wildlife Service,        relatively high (Koehler et al. 1979;        densities are lower than in the north.
in litt. 1999). For lynx den sites, the age   Parker 1981; Ward and Krebs 1985;            Snowshoe hares are generally associated
of the forest stand does not seem as          Major 1989; Murray ef al. 1994;              with conifer forest cover types (Hodges
important as the amount of downed,            O’Donoghue ef al. 1997, 1998a).              1999b). Relatively low snowshoe hare
woody debris available (Mowat ef al.             The association between lynx and          densities at southern latitudes are likely
1999). In Washington, lynx used Pinus         snowshoe hare is considered a classic        a result of the naturally patchy,
contorta (lodgepole pine), Picea spp.         predator-prey relationship (Saunders         transitional boreal habitat at southern
(spruce), and Abies lasiocarpa                1963; van Zyll de Jong 1966; Quinn and       latitudes that prevents hare populations
(subalpine fir) forests older than 200        Parker 1987). In northern Canada and         from achieving densities similar to those
years with an abundance of downed             Alaska, lynx populations fluctuate on        of the expansive northern boreal forest
woody debris for denning (Koehler             approximately 10-year cycles that            (Wolff 1980; Buehler and Keith 1982;
1990). A den site in Wyoming was              follow the cycles of hare populations        Koehler 1990; Koehler and Aubry 1994).
located in a mature subalpine fir/            (Elton and Nicholson 1942; Hodges            Additionally, the presence of more
lodgepole pine forest with abundant           1999a, 1999b; McKelvey etal. 1999b).         predators and competitors of hares at
downed logs and a high amount of              Generally, researchers believe that when     southern latitudes may inhibit the
horizontal cover (Squires and Laurion         hare populations are at their cyclic high,   potential for high-density hare
1999). A lynx den site found in Maine         depletion of food resources exacerbated      populations with extreme cyclic
in 1999 was located in a forest stand in      by predation cause hare populations to       fluctuations (Wolff 1980). If snowshoe
Picea rubra (red spruce) cover type that      decline drastically (Buehler and Keith       hare populations in southern boreal
was logged in 1930 and again in the           1982; Krebs ef al. 1995; O’Donoghue et       forests do fluctuate (Hodges 1999b),
1980s (J. Organ, in litt. 1999). The site     al. 1997). Snowshoe hare provide the         then southern lynx populations also
is regenerating into hardwoods and has        quality prey necessary to support high-      may be expected to fluctuate.
a dense understory (J. Organ, in Utt.         density lynx populations (Brand and             Therefore, lynx densities at the
1999). The dominant feature of the            Keith 1979). Lynx also prey                  southern part of the range never achieve
Maine site was the abundance of dead          opportunistically on other small             the high densities that occur in the
and downed wood (J. Organ, in Utt.            mammals and birds, particularly when         northern boreal forest (Aubry ef al.
1999).                                        hare populations decline (Nellis ef al.      1999). Comparisons between Canadian
   The size of lynx home ranges varies        1972; Brand et al. 1976; McCord and          and contiguous U.S. lynx harvest
by the animal’s gender, abundance of          Cardoza 1982; O’Donoghue 1997,               returns and snowshoe hare densities
prey, season, and the density of lynx         1998a). Red squirrels [Tamiasciurus          over time suggest lynx numbers and
populations (Hatler 1988; Koehler 1990;       hudsonicus) are an important alternate       snowshoe hare densities for the
Poole 1994; Slough and Mowat 1996;            prey (O’Donoghue 1997;1998a; Apps            contiguous United States are
Aubry ef al. 1999; Mowat ef al. 1999).        1999; Aubry et al. 1999). In the Yukon,      substantially lower than those for
Documented home ranges vary from 8 to         lynx shifted to red squirrels when hare      Canadian provinces (Hodges 1999a,
800 square kilometers (3 to 300 square        numbers began to decline (O’Donoghue         1999b; McKelvey ef al. 1999b). We
miles) (Saunders 1963; Brand etal.            1998a, 1998b). However, a shift to           conclude that historic and current lynx
1976; Meeh 1980; Parker et al. 1983;          alternate food sources may not               densities in the contiguous United
Koehler and Aubry 1994; Apps 1999;            compensate for the decrease in hares         States also are naturally low relative to
Mowat et al. 1999; Squires and Laurion        consumed (Koehler and Aubry 1994). In        lynx densities in the northern boreal
1999). Preliminary research supports the      northern regions, when hare densities        forest.
hypothesis that lynx home ranges at the       decline, the lower quality diet causes          Researchers believe cyclic increases
southern extent of the species’ range are     sudden decreases in the productivity of      in historic lynx harvest numbers in the
generally large compared to those in the      adult female lynx and decreased              contiguous United States were
northern portion of the range in Canada       survival of kittens, which causes the        augmented by dispersal of transient
(Koehler and Aubry 1994; Apps 1999;           numbers of breeding lynx to level off or     animals from Canadian populations
Squires and Laurion 1999).                    decrease (Nellis ef al. 1972; Brand ef al.   (Gunderson 1978; Henderson 1978;
   Lynx are highly specialized predators      1976; Brand and Keith 1979; Poole            Meeh 1980; McKelvey ef al. 1999b). The
whose primary prey is the snowshoe            1994; Slough and Mowat 1996;                 opinion of some individuals and
hare [Lepus americanus], which has            O’Donoghue ef al. 1997).                     agencies is that presence of lynx in
evolved to survive in areas that receive         Relative densities of snowshoe hares      some regions of the contiguous United
deep snow (Bittner and Rongstad 1982).        at southern latitudes are generally lower    States, particularly the Great Lakes, is
Snowshoe hares use forests with dense         than those in the north, which has led       solely a consequence of dispersal from
understories that provide forage, cover       to differing interpretations of the          Canada (G. Meyer, Wisconsin
to escape from predators, and protection      population dynamics of snowshoe hare         Department of Natural Resources, in Utt.
during extreme weather (Wolfe et al.          populations. At southern latitudes hare      1998; R. Sando, Minnesota Department
1982; Monthey 1986; Hodges                    populations may be—(1) noncyclic, (2)        of Natural Resources, in Utt. 1998). Lynx
1999a,1999b). Generally, earlier              cyclic like northern populations, (3)        are capable of dispersing extremely long
successional forest stages have greater       cyclic with the high and low population      distances (Meeh 1977; Brainerd 1985;
understory structure than do mature           numbers closer to the average                Washington Department of Wildlife
forests and therefore support higher          population numbers, or (4) cyclic with       1993); for example, a male was
hare densities (Hodges 1999a,1999b).          a fluctuating periodicity (length of time    documented traveling 616 kilometers
However, mature forests can also              between peaks and lows) (Dolbeer and         (370 miles) (Brainerd 1985). Lynx
provide snowshoe hare habitat as              Clark 1975; Wolff 1980; Buehler and          disperse primarily when snowshoe hare
openings develop in the canopy of             Keith 1982; Brittell ef al. 1989; Koehler    populations decline (Ward and Krebs
mature forests when trees succumb to          1990; Koehler and Aubry 1994; Hodges         1985; Koehler and Aubry 1994;


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O’Donoghue etal. 1997; Poole 1997).           many of these records is unknown;            reported within the contiguous United
Subadult lynx disperse even when prey         trapping records may have errors, track      States.
is abundant (Poole 1997), presumably as       identification is extremely difficult, and      Within the contiguous United States,
an innate response to establish home          observations may be wrong. Long-term         the lynx range extends into different
ranges. An extreme example of the             trapping data have been used to              regions that are separated from each
apparent emigration of lynx from              understand population trends for             other by ecological barriers consisting of
Canada to the contiguous United States        various species; however, because            unsuitable lynx habitat. These regions
is the numerous occurrences of lynx           trapper effort can change, trapping          are the Northeast, the Great Lakes, the
that were frequently documented in            returns may not accurately reflect           Northern Rocky Mountains/Gascades,
atypical habitat, such as in North            population trends. Data showing few          and the Southern Rocky Mountains. In
Dakota, during the early 1960s and            lynx trapped could be a result of            general, lynx in each of these regions are
1970s. In these years harvest returns         decreased trapper effort, not necessarily    associated with habitats that are
indicated unprecedented cyclic lynx           a decreased population. These factors        southern extensions of the boreal forest
highs for the 20th century in Canada          hamper our understanding of lynx             (Aubry et al. 1999). Differences in local
(Adams 1963; Harger 1965; Meeh 1973;          population dynamics and status in the        climate, primarily precipitation, and
Gunderson 1978; Thiel 1987; McKelvey          contiguous United States and preclude        effects of elevation have resulted in
et al. 1999b). We believe that many of        us from drawing definitive conclusions       climax forest types that differ in the
these animals were dispersing and were        about lynx population trends. Data are       eastern regions compared to the West
either lost from the population because       too incomplete to infer much beyond          (Buskirk et al. 1999b). The climax forest
they were in areas that are unable to         simple occurrence (McKelvey et al.           in the East is primarily deciduous or
support lynx or they were able to return      1999b) and distribution of lynx in the       mixed deciduous/coniferous whereas in
to suitable habitat.                          contiguous United States. However,           the West the climax forest is coniferous
                                              despite these difficulties, trapping data    (Buskirk et al. 1999b). While the four
Distribution and Status                                                                    regions of lynx range in the contiguous
                                              is the best information available on lynx
   The complexities of lynx life-history      presence throughout much of its range        United States are ecologically unique
and population dynamics, combined             in the contiguous United States and          and discreet, in each of these regions the
with a general lack of reliable historic or   therefore was relied upon in our             lynx is associated with the southern
current lynx data for the contiguous          analysis.                                    boreal forest and, with the exception of
United States, make it difficult for us to                                                 the Southern Rockies, they are each
                                                 Data that would help us determine
ascertain the past or present population                                                   geographically connected to the much
                                              whether resident populations of lynx
status of lynx in the contiguous United                                                    larger population of lynx in Canada. For
                                              existed historically or exist currently in
States. Lynx population dynamics in the                                                    a more detailed description of the
contiguous United States may not be the       many States are generally unavailable.
                                                                                           significance of each region within the
same as in the northern boreal forests of     Given the available data and the
                                                                                           overall U.S. population, see the
Canada and Alaska. Regarding lynx in          propensity of lynx to disperse, at this
                                                                                           “Distinct Population Segment” section.
the northern boreal forests of Canada         time it is impossible to determine with         Northeast Region—Based on an
and Alaska, we know the following—            certainty whether reports of lynx in         analysis of cover types and elevation
northern lynx populations undergo             many States were—(1) merely                  zones containing most of the lynx
extreme fluctuations in response to           dispersing animals from northern             occurrences, McKelvey et al. (1999b)
snowshoe hare population cycles; lynx         populations that were effectively lost       determined that, at the broad scale, most
disperse when hare populations decline;       from the metapopulation because they         lynx occurrence records in the
lynx are capable of dispersing long           did not join or establish resident           Northeast were found within the
distances; recruitment of young into the      populations, (2) animals that were a part    “Mixed Forest-Coniferous Forest­
population seems to cease during cyclic       of a resident population that persisted      Tundra” cover type at elevations
lows of snowshoe hare populations; and        for many generations, or (3) a mixture of    ranging from 250 to 750 meters (820 to
lynx maintain home ranges (Mowat et           both members of resident populations         2,460 feet). This habitat type in the
al. 1999). We do not know the extent to       and dispersing animals.                      northeast U.S. occurs along the northern
which the northern lynx populations              There are several plausible               Appalachian Mountain range from
influence lynx occurrence in the              explanations for a lack of lynx records,     southeastern Quebec, western New
contiguous United States. Because of the      such as (1) the true absence of lynx, (2)    Brunswick, and western Maine, south
naturally fragmented habitat and lower        lynx populations are at a cyclic low, (3)    through northern New Hampshire. This
density hare populations in the               lack of adequate surveys, or (4)             habitat type becomes naturally more
contiguous United States, we expect           decreased trapper effort. We suspect         fragmented and begins to diminish to
lynx in the contiguous United States to       that some areas in the contiguous            the south and west, with a disjunct
occur at naturally lower densities than       United States naturally act as “sinks”       segment running north-south through
in the north.                                 for lynx where mortality is higher than      Vermont, an extensive patch of habitat
   Historic lynx data in the contiguous       recruitment and lynx are lost from the       in the Adirondacks of northern New
United States are scarce and exist            overall population (McKelvey et al.          York, and with a few more distant and
primarily in the form of trapping             1999a). Sink habitats are most likely        isolated patches in Pennsylvania (see
records. Many States did not                  those places on the periphery of the         Figure 8.23 in McKelvey et al. 1999b).
differentiate between bobcats and lynx        southern boreal forest in the contiguous     Within this habitat type, the highest
in trapping records, referring to both as     United States where habitat becomes          frequency of lynx occurrences were in
“lynxcats.” Therefore, long-term lynx         more fragmented and more distant from        the Picea rubens (red spruce), Abies
trapping data is not available for most       larger lynx populations.                     balsamea (balsam fir), Acer saccharum
States. Surveys designed specifically for        In the following discussions, we          (sugar maple), Betula spp. (birch), Fagus
lynx were rarely conducted, and many          describe available lynx data, habitat,       grandifolia (beech) forest (McKelvey et
reports (e.g., visual observations, snow      and other elements that frame our            al. 1999b).
tracks) of lynx were collected incidental     understanding of lynx in the various            The entire region south of the St.
to other activities. The reliability of       regions and States where lynx have been      Lawrence River must be considered in


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an assessment of lynx in the                 hunting or trapping seasons for lynx are     Wildlife 1987). In fact, we have no
northeastern United States. Movement         closed.                                      evidence of a breeding population ever
of lynx across the St. Lawrence River is        Although no reliable population           occurring in Vermont. Since 1972, the
believed to occur infrequently (R.           estimates exist, in 1994 it was suggested    lynx has been listed by the State as
Lafond, Quebec Ministry of the               that 200 animals or fewer occur              endangered. The last verified
Environment, pers. comm. 1999);              Statewide (Maine Department of Inland        occurrence was from 1968, with
therefore, emigration from lynx              Fisheries and Wildlife 1994). Lynx           periodic reports since then. Vermont
populations of northern Quebec to the        tracks were detected during track            naturally supports less lynx habitat than
region south of the St. Lawrence River       surveys in the 1990s (Maine Department       we previously presumed, based on
is limited. However, northeastern U.S.       of Inland Fisheries and Wildlife, in litt.   analyses by McKelvey ef al. (1999b).
lynx and snowshoe hare habitat and           1997, 1998). In 1999, Maine and Service      Furthermore, lynx habitat in Vermont is
populations are contiguous with those        biologists radio-collared six lynx, three    somewhat isolated from that in New
south of the St. Lawrence River in           adult males and three adult females, and     Hampshire. The State of Vermont
southeastern Quebec and western New          recorded two sub-adults and two kittens      currently considers lynx to be extirpated
Brunswick and, presumably, together          associated with radio-collared adults.       (A. Elser, Vermont Department of Fish
constitute a metapopulation. Lynx            This finding established with certainty      and Wildlife, in litt. 1998). Therefore,
should encounter little difficulty           current reproduction in Maine (J. Organ,     we conclude that lynx occurrence in
moving between southeastern Quebec           in litt. 1999) and indicates the existence   Vermont is poorly documented, and,
and Maine and New Hampshire,                 of a resident population. However,           based upon the limited extent and
because habitat is continuous and            available data are not adequate for          dispersed nature of suitable habitat,
without barriers. In this region, we         determining either population trend          lynx were probably never abundant or
conclude the core of lynx habitat            (increasing or decreasing) or size.          persistent over time. Currently, lynx are
historically was found in western               New Hampshire—New Hampshire is            not thought to occur in Vermont.
Maine, northern New Hampshire,               the only northeastern State that                New York—Historically, lynx
southeastern Quebec, and western New         maintained a record of historic lynx         reportedly occurred in most northern
Brunswick.                                   harvest (Orff 1985 in McKelvey et al.        regions of New York, particularly in the
   Harvest records from southeastern         1999b; see Figure 8.1 in McKelvey et al.     Adirondack Mountains and the Catskill
Quebec provide evidence that lynx            1999b). Lynx were intermittently             Mountains (McKelvey ef al. 1999b; K.
persist in this region. Quebec instituted    bountied in New Hampshire until 1965.        Gustafson, pers. comm. 1994). Miller
a lynx management plan requiring that        Most of the lynx harvest occurred in the     (1899 in Brocke 1982) believed that, by
trapping seasons for lynx be closed for      1930s, ranging from 1 to 20 per year.        the 1880s, the population was
3 years during the lows in the cycles;       Between 1940 and 1964, lynx harvests         approaching extirpation. McKelvey et
most recently these seasons were closed      were lower, ranging from 0 to 3 lynx         al. (1999b) found 23 verified lynx
during 1995, 1996, and 1997                  being caught per year. For 11 years, the     occurrences since 1900, primarily from
(Environment et faune Quebec 1995).          harvest was zero (McKelvey ef al.            the Adirondack Mountains. The most
Outside of these closed seasons, harvest     1999b). The trapping season was closed       recent verified record was from 1973
returns in the 1990s ranged from 100 (in     in 1964 in response to apparent declines     (McKelvey ef al. 1999b). Historically,
1990 and 1993) to nearly 275 (in 1998)       in lynx abundance reflected in harvest       the Adirondacks apparently supported
(R. Lafond, in litt. 1999). In New           returns (Siegler 1971; Silver 1974;          lynx habitat, although it was isolated
Brunswick, the lynx has been listed as       Litvaitis ef al. 1991). Since 1980, the      from habitats and lynx populations to
endangered since 1982; during 1996           lynx has been listed as an endangered        the north.
revisions, it was categorized as a           species by the New Hampshire                    An effort to reintroduce lynx into the
“regionally endangered species”              Department of Fish and Game. Winter          Adirondack Mountains occurred during
(Cumberland et al. 1998). Although the       track surveys in 1986 in portions of the     1988-1990 (Brocke ef al. 1990; D. Major,
lynx harvest season in New Brunswick         White Mountain National Forest did not       U.S. Fish and Wildlife Service, pers.
has been closed, lynx were incidentally      detect lynx (Litvaitis ef al. 1991).         comm. 1998), but the reintroduction is
caught throughout the 1990s, evidence        Litvaitis ef al. (1991) hypothesized that    believed to have failed. A collared lynx
of the continued occurrence of lynx in       lynx were extirpated from New                from the reintroduction effort was found
New Brunswick (Cumberland et al.             Hampshire as increasing agriculture and      near Ottawa, Ontario, Canada (M.
1998).                                       timber harvesting in the 1970s               Amaral, U.S. Fish and Wildlife Service,
   Maine—In Maine, lynx accounts are         precluded them from dispersing into the      pers. comm. 1997) and another as far
irregular and anecdotal (McKelvey ef al.     State from southeastern Quebec. Only         away as northern New Jersey (K.
1999b; Maine Department of Inland            two reports of lynx in New Hampshire         Gustafson, New Hampshire Fish and
Fisheries and Wildlife, in litt. 1997; R.    exist for the 1990s (M. Amaral, U.S. Fish    Game Department, pers. comm. 2000).
Joseph, U.S. Fish and Wildlife Service,      and Wildlife Service, in litt. 1999).        No verified occurrences in New York
in litt. 1999). Twenty-eight verified        Although lynx reports are scarce, to our     have been reported recently. In New
records exist for Maine since 1862           knowledge, no lynx surveys have been         York, lynx are legally classified as a
(McKelvey ef al. 1999b). Anecdotal           completed in New Hampshire in recent         small game species with a closed
information plus historical and recent       years. Therefore, we suspect that lynx       season. We conclude the lynx is
records provide evidence of presence,        are present in New Hampshire because         extirpated from New York.
reproduction, and persistence of lynx in     habitat remains contiguous with Maine.          Pennsylvania,'Massachusetts—In the
several northern and western townships          Vermont—In Vermont, only four             proposed rule, Pennsylvania and
(R. Joseph, in litt. 1999), indicating the   verified records of historic lynx            Massachusetts were considered to be a
historical residency of lynx. Lynx had a     occurrence exist (McKelvey ef al.            part of the historic range of lynx.
bounty placed on them in Maine from          1999b). In the mid-1900s, it was             However, the inherent isolation and
1832 to the closure of hunting and           reported that Vermont had not had a          small sizes of habitat patches both
trapping seasons in 1967. Maine              documented breeding population of            currently and historically, combined
classifies lynx as a species of special      lynx for several decades (Osgood 1938        with the few accounts of lynx
concern (Matula 1997), and currently         in Vermont Department of Fish and            occurrence in these States, led us to


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conclude that lynx were merely                 Although the mixed deciduous-              year period (1930-1976), the Minnesota
dispersing animals in these States (J.      coniferous forest covers an extensive         lynx harvest was substantial, ranging
Belfonti, The Nature Conservancy, in        area in this region, we consider much of      from 0 to 400 per year (Henderson
litt. 1994). Without the habitat and prey   this area to be marginal habitat for lynx     1978). These harvest returns for
to support lynx, we concluded that          because it is a transitional forest type at   Minnesota are believed to be influenced
these animals were lost from the gene       the edge of the snowshoe hare range.          by influxes from Canada, particularly in
pool and that Pennsylvania and              Habitat at the edge of hare range             recent decades (Henderson 1978; Meeh
Massachusetts were not within the           supports lower hare densities (Buehler        1980; McKelvey et al. 1999b; M.
historic range of lynx.                     and Keith 1982) that may not be               DonCarlos, in litt. 1994). When an
   In summary, we have firm                 sufficient to support lynx reproduction.      anticipated lynx cyclic high for the early
documentation that lynx occur in Maine      Furthermore, snow depths within               1980s did not occur, the harvest season
and that they are reproducing. We           appropriate habitat that allow lynx a         was closed in 1984 (M. DonCarlos, in
conclude that a resident lynx               competitive advantage over other              litt. 1994) and remains closed today.
population historically occurred and        carnivores {i.e., coyotes {Ganis 1 atruns]}   Outside of harvest data, 76 verified lynx
currently occurs in Maine. Lynx             occur only in limited areas in                records exist for Minnesota (McKelvey
historically occurred in New                northeastern Minnesota, extreme               etal. 1999b).
Hampshire, but recent records of lynx       northern Wisconsin, and Michigan’s               With available data, we cannot verify
occurrence in New Hampshire are rare.       upper peninsula.                              whether a resident population existed
Suitable habitat exists contiguous to          The historic and current status of lynx    historically in Minnesota. Reproduction
Maine. Historically, Vermont and New        in the Great Lakes Region is uncertain.       and maintenance of home ranges by
York have had relatively few records of     Minnesota has a substantial number of         lynx was documented in the early 1970s
lynx and none exist from the 1990s,         lynx reports, primarily trapping records      (Meeh 1973, 1980), which may be
with the exception of animals               (McKelvey et al. 1999b), as expected          evidence of the existence of a resident
introduced into New York. It is possible    because of the connectivity of the boreal     population. The early 1970s also were a
that lynx have been extirpated from         forest with that of Ontario, Canada,          period when the second highest lynx
New Hampshire, Vermont, and New             where lynx occur. Wisconsin and               harvest returns in the 20th century
York. We no longer include                  Michigan have substantially fewer             occurred throughout Canada. Higli
Pennsylvania and Massachusetts within       records of lynx (McKelvey ef al. 1999b).
                                                                                          numbers of lynx trapped in Minnesota
the historic range of lynx because these    Researchers have debated whether lynx
                                                                                          during this period were likely due in
States are isolated from resident           in this region are simply dispersing lynx
                                                                                          part to immigrants from Canada
populations and lack suitable habitat.      emigrating from Canada, are members of
                                                                                          (McKelvey ef al. 1999b). Lynx were
Therefore, we concluded that the low        a resident population, or are a
                                                                                          consistently trapped over 40 years
number of lynx occurrence records           combination of a resident population
                                                                                          during cyclic lows, which may indicate
represented dispersing animals that         and dispersing individuals (McKelvey ef
                                                                                          that a small resident population
were likely lost from the population.       al. 1999b; R. Sando, Minnesota
   We conclude, based on                                                                  occurred historically.
                                            Department of Natural Resources, in litt.
documentation of lynx reproduction          1998). In recent decades, lynx dynamics          Current information is insufficient to
and individual animals in Maine, the        in the Great Lakes appear to have been        determine whether a resident
substantive lynx harvest in southeastern    driven by immigration because lynx            population of lynx exists in Minnesota
Quebec, and the connectivity of boreal      occurrence records did not show a             and, if so, whether there has been a
forest south of the St. Lawrence River in   response to local cycles of hare              decline in numbers. In northeastern
Quebec, New Brunswick, Maine, and           abundance (McKelvey ef al. 1999b), as         Minnesota, where deep snow
New Hampshire, that in the Northeast a      would have been expected of a resident        accumulates, suitable lynx and
population of lynx continues to exist in    lynx population. Available information,       snowshoe hare habitat is likely present.
the core of the region in the north;        does not indicate that resident               Much of this area is protected as
however, the range appears to have          populations exist, but it does indicate       designated wilderness, including the
retracted northward. Connectivity with      that recent cyclic highs in the Great         Boundary Waters Canoe Area.
lynx populations north of the St.           Lakes lynx data are at least partially        Furthermore, these habitats are
Lawrence River in Canada has been           Canadian in origin (McKelvey et al.           contiguous with boreal forest in
reduced from historic levels because of     1999b).                                       southern Ontario. Trapping records for
development along the St. Lawrence             Minnesota—The majority of lynx             Ontario districts adjacent to the
River and ice breaking to allow year­       occurrence records are from the               Minnesota border demonstrate
round shipping.                             northeastern portion of the State;            consistent occurrence of lynx in the area
   Great Lakes Region—The majority of       however, dispersing lynx have been            over the past 10 years (N. Dawson,
lynx occurrence records in the Great        found throughout Minnesota outside of         Ontario Ministry of Natural Resources,
Lakes Region are associated with the        typical lynx habitat (Gunderson 1978;         in litt. 1999). The only recent verified
“mixed deciduous-coniferous forest”         Meeh 1980; McKelvey ef al. 1999b).            records of lynx in Minnesota were two
type (McKelvey et al. 1999b). Within        Until 1965, lynx had a bounty placed on       lynx in 1992 and one in 1993 (M.
this general forest type, the highest       them in Minnesota. In 1976, the lynx          DonCarlos, in litt. 1994). However, no
frequency of lynx occurrences were in       was classified as a game species, and         lynx surveys or research have been
the Acer saccharum (sugar maple), Tilia     harvest seasons were established (M.          conducted in Minnesota to document
spp. (basswood), Pinus banksiana (jack      DonCarlos, Minnesota Department of            presence, absence, or population trend.
pine), P. strobus (white pine), and P.      Natural Resources, in litt. 1994). Harvest    A lynx survey was initiated this year as
resinosa (red pine) forest types            and bounty records for Minnesota are          a joint effort by the Service, the Forest
(McKelvey et al. 1999b). These types are    available since 1930. Approximate 10-         Service and the University of
found primarily in northeastern             year cycles are apparent in the data,         Minnesota. Although habitat and prey
Minnesota, northern Wisconsin, and the      with highs in the lynx cycle in 1940,         conditions appear suitable in the
western portion of Michigan’s upper         1952, 1962, and 1973 (Henderson 1978;         northeastern portion of the State, we
peninsula.                                  McKelvey ef al. 1999b). During a 47-          have received no information that


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substantiates presence of a resident lynx    an extreme cyclic high in Canada in the      adjacent British Columbia and Alberta,
population currently in Minnesota.           early 1960s (Harger 1965; McKelvey et        Canada.
    Wisconsin—Thiel (1987) concluded         at. 1999b). Only two verified records of        Washington—In Washington, resident
that, historically, Wisconsin did not        lynx exist for Michigan (from the upper      lynx populations were historically
support a permanent, self-sustaining         peninsula) since the 1960s (McKelvey et      found in the northeast and north-central
lynx population; rather, lynx presence       at. 1999b; G. Burgoyne, Jr., Michigan        regions and along the east slope of the
was associated with cyclic lynx              Department of Natural Resources, in litt.    Cascade Mountains (Washington
population fluctuations in Canada            1998). Michigan listed the lynx as           Department of Wildlife 1993). Records
resulting in increased dispersal. Verified   “rare” in 1974; in 1983 it was listed as     of lynx exist from the Mount Rainier
reports of lynx in Wisconsin are few (29     threatened and in 1987, its status was       National Park area in the central
records from 1870 to 1992) (McKelvey et      upgraded to endangered (G. Burgoyne,         Cascades, south in the Cascades nearly
al. 1999b); over half of these reports are   Jr., in litt. 1998). Although suitable       to the Oregon border on Mount Adams,
associated with unprecedented cyclic         habitat and snow depths likely exist in      and in the Blue Mountains in
highs that occurred throughout Canada        Michigan’s upper peninsula, too few          southeastern Washington (Taylor and
in the early 1960s and 1970s. Between        records exist to substantiate either the     Shaw 1927 in Koehler and Aubry 1994;
1948 and 1956, 19 lynx were harvested        historic or current presence of a resident   Dalquest 1948; Washington Department
in the State; annual harvests were low,      lynx population in Michigan.                 of Natural Resources 1996a).
ranging from 0 (in 1954) to 4 (in 1952)         In summary, using the best available      Washington has a long record of verified
(Wisconsin Department of Natural             information we cannot determine              lynx occurrences over the past century
Resources 1993). In 1992, two lynx           whether resident lynx populations            (McKelvey ef al. 1999b).
mortalities were reported in Wisconsin       occur currently or historically in the         Trapping data kept since 1961 reflect
(Wydeven 1993; C. Pils, in litt. 1994).                                                   cyclic patterns (McKelvey ef al. 1999b).
                                             Great Lakes Region. Within this region,
Lynx tracks have been detected during                                                     The largest harvests were taken in 1969­
                                             we consider northeastern Minnesota to
wolf surveys in the 1990s (Wydeven                                                        1970 (31 lynx) and 1976-1977 (39 lynx)
                                             be most likely to support a resident lynx
1998).                                                                                    (Washington Department of Wildlife
                                             population based on the presence of
   A bounty on lynx existed until 1957.                                                   1993). Trapping restrictions were
                                             boreal forest that is contiguous with that
Lynx were placed on the protected                                                         implemented in 1977-1978, and lynx
                                             of Ontario, where lynx are known to
species list in 1957 and were classified                                                  hunting and trapping seasons were
                                             exist, and the number of lynx records
as State endangered in 1972 (C. Pils, in                                                  closed in 1991 (Washington Department
                                             from this area. We suspect that there
litt. 1994). Because of the lack of                                                       of Wildlife 1993). In the years 1987­
                                             may have been a small resident
breeding records, Wisconsin reclassified                                                  1989, immediately prior to the season
the lynx as a “protected” species with       population historically in northeastern      being closed, harvest increased
                                             Minnesota; however, we recognize the
a closed season (G. Meyer, in Utt. 1998).                                                 substantially despite restrictive quotas
   We have no evidence to determine          lack of evidence to clearly support          and shortened seasons (see Figure 8.7 in
whether a lynx population resided in         either the past or current existence of a    McKelvey et al. 1999b). We suspect that
Wisconsin historically or resides            resident population in Minnesota.            this increase in trapped animals may
currently; however, Wisconsin                Because of the paucity of records from       have represented a cyclic increase, as
Department of Natural Resources              Wisconsin and Michigan and the               was evident in harvest data from British
suggested that a breeding population         presence of habitat that we think is         Columbia during this time frame (see
may have existed in the State prior to       marginal for lynx, we suspect records of     Figure 8.6 in McKelvey et al. 1999b; M.
the 1900s (G. Meyer, in litt. 1998). Most    lynx in Wisconsin and Michigan most          Badry, British Columbia Ministry of
of northern Wisconsin forests are mixed      likely are transient animals that are        Environment, in litt. 1999). Lynx harvest
deciduous-coniferous forest (McKelvey        dispersing, rather than individuals from     data from British Columbia demonstrate
1999b). We believe this transitional         resident populations. Accurate mapping       cyclic fluctuations for the past 13
forest type at the edge of the snowshoe      of lynx habitat in the Great Lakes Region    seasons, as well as the continued
hare range may be unable to support          would enable us to define where to           presence of lynx, in regions contiguous
hare densities sufficient to sustain a       expect resident lynx to occur in this        with Washington (M. Badry, in litt.
resident lynx population. An exception       region.                                      1999).
may be in extreme northern portions of          Northern Rocky Mountain/Cascades            Established snow track survey routes
Wisconsin, where more suitable habitat       Region—In this region, the majority of       are conducted to detect the presence of
exists and deep snows accumulate.            lynx occurrences are associated at a         lynx within the six designated “Lynx
   Michigan—In Michigan, historical          broad scale with the “Rocky Mountain         Management Zones” across the north­
reports suggest that the Ganada lynx was     Conifer Forest”; within this type, most      central part of Washington (Richardson
resident and widespread throughout the       of the occurrences are in moist              1999; Washington Department of
upper and lower peninsula in the 19th        Pseudotsuga menziesii (Douglas fir) and      Natural Resources 1996a). Results of
century (Harger 1965). However, records      western spruce/fir forests (McKelvey et      these surveys show that currently, lynx
verifying these accounts are scarce; 44      al. 1999b). Most of the lynx occurrences     occupy four of these zones—Okanogan,
verified records exist from the mid          are in the 1,500-2,000 meters (4,920­        Kettle Range, Little Pend Oreille, and
1800s until 1983 (McKelvey et al.            6,560 feet) elevation class (McKelvey et     Salmo Priest—but have not documented
1999b). Lynx were believed extirpated        al. 1999b). These habitats are found in      lynx presence in the Wedge or Vulcan
from Michigan’s lower peninsula in           the Rocky Mountains of Montana,              Mountain, the two smallest zones
1928, and by 1938 they were considered       Idaho, eastern Washington, and Utah          delineated in Washington (Richardson
rare or extinct throughout the State         and the Cascade Mountains in                 1999). Recent preliminary DNA survey
(Harger 1965). Lynx persisted on Isle        Washington and Oregon. The majority          results indicate the presence of lynx in
Royale in Lake Superior into the late        of verified lynx occurrences in the U.S.     the southern and central Gascades in
1970s (Peterson 1977 in Baker 1983; M.       and the confirmed presence of resident       Washington (Weaver and Amato 1999),
Romanski, Isle Royale National Park, in      populations are from this region. The        and recent records of lynx reproduction
litt. 1998). Sixteen of 44 verified lynx     boreal forest of Washington, Montana,        also exist for Washington in the
records for Michigan are associated with     and Idaho is contiguous with that in         northern Cascades (Koehler 1990;


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Friends of the Loomis Forest, in Utt.       program. Anecdotal reports compiled by      returns were substantially lower than
1999).                                      Lewis and Wenger (1998) indicated the       those recorded in the early 1960s and
   Although Washington has the best         occurrence of lynx in atypical habitats.    1970s, leading to concern that lynx
lynx data in the contiguous U.S., we        Based on the time frames when               populations in Montana were at or near
cannot identify population changes or       collected, these records likely were        their lowest levels in the past several
trend from this data. It is clear that      dispersing transient individuals.           decades (Hash 1990; S. Conn, Montana
resident lynx populations exist in          Between 1960 and 1991, 35 verified          Trappers Association, in litt. 1990). The
Washington. The lynx population in          records exist for Idaho, with 13 of these   State established quotas that were
Washington has been roughly estimated       from 1982 to 1991 (McKelvey ef al.          incrementally decreased from 135 in
at 96-191 (Washington Department of         1999b). From 1991 until recently, there     1982 down to a Statewide quota of 2
Wildlife 1993) and 225 individuals          had been no verified records of lynx        beginning in 1991 (B. Giddings, in Utt.
(Brittell ef al. 1989). However, these      from Idaho (McKelvey et al. 1999b);         1994). In 1999, Montana’s lynx harvest
population estimates may be high            however, until the past year, no lynx       season was closed.
because of assumed similar habitat          surveys were conducted in Idaho.               Harvest records, winter track surveys
suitability and lynx densities across the   Preliminary results from recent DNA         conducted since 1990/1991, and trapper
range, which is not the case                surveys suggest the presence of lynx in     logbooks, led Montana Department of
(Washington Department of Wildlife          northern and north-central Idaho (J.        Fish, Wildlife, and Parks to conclude
1993). Since 1993, the lynx has been        Weaver, Wildlife Conservation Society,      that the State’s lynx population has
listed as a State threatened species        in Utt. 1999).                              recovered and is distributed throughout
(Washington Department of Wildlife             Prior to 1977, the species was           what it determined to be “predicted
1993). Richardson (1999) recommended        considered a predator, subject to           lynx habitat” (P. Graham, in Utt. 1998).
retaining the lynx as a threatened          unrestricted harvest with no closed         Montana Department of Fish, Wildlife,
species in the State because the status     season and no bag limit. In 1990, in        and Parks estimated the lynx population
of the lynx had not changed appreciably     response to concern over the status of      as 1,040 lynx in 1994 (B. Giddings, in
in Washington.                              lynx in Idaho, the Idaho Department of      Utt. 1994). This estimate was
   Oregon—Historic lynx records exist       Fish and Game instituted a Statewide        determined using a habitat area/density
from nine counties in Oregon (Bailey        harvest quota of three lynx per year. In    index, which is likely inaccurate, given
1936; Nellis 1971). McKelvey (1999b)        1997/1998, Idaho closed the lynx            broad assumptions regarding habitat
documented 12 verified lynx records for     trapping/hunting season because no          suitability and lynx distribution.
Oregon in the past century. Based on the    lynx had been captured in several years.       We conclude that a resident
time frames when collected and                 Although records of lynx in Idaho are    population of lynx is distributed
locations in atypical habitat, some of      relatively common and boreal forest         throughout its historic range in
these records likely were dispersing        habitat is contiguous with adjacent         Montana. However, available data are
transient individuals. Recent               States and Canada where lynx                not sufficient to determine either
observations of lynx have been reported     populations are known to exist, we          population trend (increasing or
from the Cascades and the Blue              cannot clearly substantiate either the      decreasing) or estimates of population
Mountains in northeastern Oregon            historic or current presence of resident    size. Furthermore, we now question the
(Csuti et al. 1997; R. Anderson,            lynx populations in Idaho, nor can we       interpretations we made in the proposed
Wallowa-Whitman National Forest, in         identify population changes or trend        rule as well as those made by the other
Utt. 1998), and preliminary DNA survey      with the available information.             sources that harvest returns in the 1980s
results also suggest the presence of lynx      Montana—In Montana, numerous             and 1990s reflected substantially
in the Cascade Range in Oregon (Weaver      historic and current lynx records exist     reduced populations (see “Factor B” in
and Amato 1999). Lynx have rarely been      throughout the Rocky Mountain Conifer       the “Summary of Factors” section). We
reported harvested in Oregon, although      Forest in the western part of the State     now know that harvest returns in the
the season for lynx is essentially open     (McKelvey ef al. 1999b; P. Graham,          early 1960s and 1970s represented
because the State does not regulate lynx    Montana Department of Fish, Wildlife,       unprecedented cyclic highs for the 20th
harvest, however we do not believe any      and Parks, in Utt. 1998). Reproduction      century (McKelvey et al. 1999b).
lynx have been harvested because there      has been documented (Brainerd 1985).        Therefore, it is possible that lower lynx
are no records of lynx trapping or pelts    Many records exist of lynx harvested in     harvest returns in the 1980s were not
collected in Oregon (C. Carson, pers.       eastern Montana’s Great Plains Region       unusual compared to harvest returns
comm., USFWS, Office of Management          in the 1960s (Hoffman ef al. 1969);         prior to 1960. Lynx harvest returns for
Authority (OMA), 2000). Based on the        however, we suspect these were              British Golumbia and Alberta since 1919
limited available information, we           dispersing transient animals associated     demonstrate the variability of cyclic
cannot substantiate the historic or         with cyclic highs in northern lynx          amplitudes throughout the past century
current presence of a resident lynx         populations during the early 1960s.         (McKelvey ef al. 1999b) and lead us to
population in Oregon.                          Since 1950, Montana lynx harvest         suspect that cycles in Montana were
   Idaho—According to Rust (1946),          records exhibit cycles (McKelvey et al.     similar.
lynx were not abundant but were             1999b), although accurate harvest              Wyoniing—Most historical and recent
distributed throughout northern Idaho       records were not kept until 1977 when       records of lynx in Wyoming are from the
in the early 1940s, occurring in 8 of the   lynx were classified as a furbearer. The    northwestern mountain ranges (Reeve et
10 northern and north-central counties.     harvest data reflect the extreme highs of   al. 1986; McKelvey et al. 1999b).
McKelvey ef al. (1999b) located a           the early 1960s and 1970s that were         McKelvey ef al. (1999b) found only 30
number of lynx specimen records from        documented throughout Canada. Since         verified records Statewide since 1856.
Idaho collected during the early 1900s.     1977, Montana’s largest lynx harvest        Documented reports of lynx in
Harvest records for Idaho are unreliable    occurred in both 1979 and 1984 when         Yellowstone National Park are rare (S.
because no distinction was made             62 lynx were taken in each season           Gonsolo-Murphy, Yellowstone National
between lynx and bobcats until 1982         (McKelvey et al. 1999b; B. Giddings,        Park, pers. comm. 1994); no recent
when Idaho Department of Fish and           Montana Department of Fish, Wildlife,       verified records exist from the Greater
Game initiated a mandatory pelt tagging     and Parks, in Utt. 1994). These harvest     Yellowstone Ecosystem (McKelvey et al.


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1999b). However, no lynx surveys have         The southern boreal forest of Colorado       southeastern Wyoming have been
been conducted in this area. Elsewhere,       and southeastern Wyoming is isolated         confirmed (Reeve ef al. 1986). However,
lynx have been reported from the Big          from boreal forest in Utah and               McKelvey ef al. (1999b) found two
Horn Mountains in north-central               northwestern Wyoming by the Green            specimens collected prior to 1900 in
Wyoming (Reeve et al. 1986; McKelvey          River Valley and the Wyoming basin           southeastern Wyoming. There is a
et al. 1999b). Until 1957, lynx had           (Findley and Anderson 1956 in                general lack of information in Wyoming,
bounties place on them in the State.          McKelvey et al. 1999b). These habitats       particularly southeastern Wyoming, that
Since 1973, the lynx has been listed as       likely act as a barrier that reduces or      limits our ability to assess historical and
a protected non-game species and              precludes opportunities for immigration      current status of the lynx.
harvest was closed. Because of                and emigration from the Northern Rocky          In summary, we believe that a
connectivity with lynx populations and        Mountains/Cascades Region and                resident lynx population historically
habitat in Montana, we suspect that           Canada, effectively isolating lynx in the    occurred in the Southern Rockies
lynx were historically resident in            southern Rocky Mountains in Colorado         Region in both Colorado and
northwestern Wyoming.                         and southeastern Wyoming (Halfpenny          southeastern Wyoming, based on the
   In 1996 the Wyoming Game and Fish          et al. 1982; Koehler and Aubry 1994). A      records of lynx in Colorado and the
Department began a lynx study in west­        majority of the lynx occurrence records      persistence of contiguous habitat in
central Wyoming. Production of kittens        in Colorado and southeastern Wyoming,        southeastern Wyoming with the
was documented in 1998 (Squires and           are associated with the “Rocky               Colorado habitat. This resident
Laurion 1999). This may indicate the          Mountain Conifer Forest” type. The           population may now be extirpated.
presence of a resident population in this     occurrences in the Southern Rockies             Other Reports or Sightings—Lynx
local area (Ruggiero et al. 1999b).           were generally at higher elevations          observations in Nevada, North Dakota,
However, using available information          (1,250 to over 3,750 meters (4,100­          South Dakota, Iowa, Nebraska, Indiana,
we are unable to determine status or          12,300 feet)) than were all other            Ohio, and Virginia are considered
trend of lynx throughout Wyoming.             occurrences in the West (McKelvey ef         individuals dispersing subsequent to
   Utah—There are few historic reports        al. 1999b).                                  periods of cyclic high lynx numbers in
of lynx in Utah (McKay 1991; McKelvey            Colorado—The montane and                  Canada (Hall and Kelson 1959; Burt
et al. 1999b). Nearly all the reliable lynx   subalpine forest ecosystems in Colorado      1954 in Brocke 1982; McKelvey et al.
reports are from the Uinta Mountain           are naturally highly fragmented              1999b; S. Johnson, Indiana Department
Range along the Wyoming border                (Thompson 1994), which we believe            of Natural Resources, in litt. 1994; P.
(McKay 1991). McKelvey et al. (1999b)         limits the size of lynx populations. A       Jones, Ohio Department of Natural
found only 10 verified records of lynx        total of 78 lynx reports rated as positive   Resources, in litt. 1994; W. Jobman, U.S.
in Utah since 1916; no verified records       (22) or probable (56) exist in State         Fish and Wildlife Service, in litt. 1997;
exist since 1991. However, recent             records since the late 1800s (J. Mumma,      Smithsonian Institute, in litt. 1998).
unverified reports of lynx in the Uintas      Colorado Division of Wildlife, in litt.      During the early 1960s, lynx moved into
persist (Bates, Utah Department of            1998); although McKelvey ef al. (1999b)      the Great Plains and the Midwest
Wildlife, pers. comm. 1999). The lynx is      considered only 17 of these records          Region of the U.S. associated with an
listed as a State sensitive species with      “verified.” The last verified lynx           unprecedented cyclic high in Canada
closed harvest seasons. Based on the          specimens were taken in 1974                 (Gunderson 1978; Meeh 1980;
limited available information we cannot       (Halfpenny ef al. 1982). No verified         DeStefano 1987; South Dakota Natural
substantiate either the historic or           records of lynx exist since 1974;            Heritage Program, in litt. 1994). These
current presence of a resident lynx           however, extensive survey efforts have       records are outside of the southern
population in Utah.                           resulted in reports of lynx tracks           boreal forests where most lynx
   In summary, we believe the Northern        (Halfpenny and Miller 1981; Thompson         occurrences are found (McKelvey et al.
Rockies/Cascades Region supports the          and Halfpenny 1989; Anderson 1990;           1999b). We conclude that these
most viable resident lynx populations in      Thompson and Halfpenny 1991;                 unsuitable habitats are unable to sustain
the contiguous U.S., while recognizing        Andrews 1992; Carney 1993; Fitzgerald        lynx and that these records represent
that, at best, lynx in the contiguous U.S.    1994; Colorado Division of Wildlife ef       dispersing individuals that are lost from
are naturally rare. Strong evidence           al. 1997). The lynx has been listed as a     the metapopulation unless they return
exists to support the presence of             State endangered species since 1976          to boreal forest. We do not consider
resident lynx populations distributed         (Colorado Division of Wildlife ef al.        these States to be within the contiguous
throughout much of the forest types           1997) and harvest of the species is          U.S. range of lynx.
considered lynx habitat in Montana and        currently closed.
                                                                                           Distinct Population Segment
Washington. We expect that resident              Few, if any, native lynx continue to
lynx populations exist in contiguous          exist in Colorado (J. Mumma, in litt.           For a species to be listable under the
habitats in Idaho and northwestern            1998). As a result, in 1997, the Colorado    Endangered Species Act (Act), it must
Wyoming. We believe that lynx have            Division of Wildlife, in cooperation         be a “species” as defined in the Act.
always occurred intermittently in             with numerous government and private         The Act defines “species” as a species,
Oregon and Utah, although we cannot           entities, began a program to introduce       subspecies, or Distinct Population
determine the historic or current             lynx from Canada and Alaska into             Segment (DPS) of a vertebrate species.
presence of resident populations in           Colorado in an attempt to reestablish a      On February 7, 1996, the Service and
either of these States. Recently initiated    viable lynx population. Forty-one lynx       the National Marine Fisheries Service
DNA surveys in all the States within          were released into the wild beginning in     published final policy guidance
this region should further refine our         early spring 1999. It is too early to        concerning recognition of Distinct
understanding of the status of lynx in        predict the success of this effort.          Vertebrate Population Segments for
this region.                                     Wyoming—“Rocky Mountain Conifer           consideration under the Act (61 FR
                                              Forest” in southeastern Wyoming is           4722). We follow the Vertebrate
Southern Rockies                              contiguous with that of Colorado. None       Population Policy when considering
  Colorado represents the extreme             of the reports of lynx in the Medicine       listing a vertebrate species as
southern edge of the range of the lynx.       Bow and Laramie Ranges in                    endangered or threatened in only a


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portion of its range. In developing the      natural occurrence of a taxon that may      (3) the Northern Rocky Mountain/
proposed rule and final rule for the         be more abundant elsewhere as an            Cascades Region, including Washington,
lynx, we used the Vertebrate Population      introduced population outside its           Oregon, Idaho, Montana, northwestern
Policy to evaluate whether the lynx          historic range,” and (4) “Evidence that     Wyoming, and Utah; and (4) the
population in the contiguous United          the discrete population segment differs     Southern Rocky Mountains Region,
States constitutes a DPS under the Act.      markedly from other populations of the      including Colorado and southeastern
   Under the Vertebrate Population           species in its genetic characteristics.”    Wyoming.
Policy, two elements, discreteness and         Lynx in the contiguous United States         McKelvey ef al. (1999b) illustrate lynx
significance, must be considered to          may be considered biologically and          population dynamics emanating from
determine whether a species’                 ecologically significant simply because     central Canada to the periphery. The
population meets the definition of a         of the climatic, vegetational, and          authors use Canadian and United States
DPS. If a population is discrete and         ecological differences between lynx         lynx trapping and occurrence data to
significant, its status is evaluated using   habitat in the contiguous United States     display lagged synchronous cycles
the five listing factors described in        and that in northern latitudes in Canada    (cycles with similar peaks and lows in
section 4(a)(1) of the Act to determine      and Alaska (Buskirk et al. 1999b). In the   population size) (McKelvey ef al.
if it meets the definition of either         contiguous United States, the               1999b), providing evidence of the
threatened or endangered.                    distribution of lynx is associated with     interconnectedness of lynx population
   According to the Vertebrate               the mosaic of southern boreal forest and    dynamics in the contiguous United
Population Policy, a species’ population     subalpine coniferous forest in the West     States with lynx population dynamics
can be considered discrete from the          and southern boreal forest/hardwoods        in the Canadian boreal forest. All of the
remainder of the taxon if it satisfies       in the East; whereas in Canada and          different regions that support lynx
either one of the following conditions—      Alaska lynx inhabit the classic boreal      within the contiguous United States are
(1) “it is markedly separated from other     forest ecosystem known as the taiga         directly contiguous with lynx habitat or
populations of the same taxon as a           (McCord and Cardoza 1982; Quinn and         lynx populations in Canada, except the
consequence of physical, physiological,      Parker 1987; Agee 1999; McKelvey et al.     Southern Rockies, although the
ecological, or behavioral factors,” or (2)   1999b) (see “Background” and                connectivity of the Northeast Region is
“it is delimited by international            “Distribution and Status” sections).        largely limited to areas south of the St.
governmental boundaries within which           Lynx and snowshoe hare population         Lawrence Seaway: southern Quebec and
differences in control of exploitation,      dynamics in portions of the contiguous      New Brunswick.
management of habitat, conservation          United States are different from those in      Within the contiguous United States,
status, or regulatory mechanisms exist.”     northern Canada. We conclude that           all four regions are isolated from each
   We have determined that resident          historic and current lynx and snowshoe      other by expanses of unsuitable habitats
populations of lynx existed historically     hare densities in the contiguous United     that limit or preclude lynx movement
and currently exist within the               States are naturally low relative to lynx   between these regions. Unsuitable
contiguous United States (see “Status”       and hare densities in the northern          habitat along the southeastern Great
section). In Canada, management of           boreal forest (see “Background” and         Lakes isolates the Northeastern and
forest lands and conservation of wildlife    “Distribution and Status” sections).        Great Lakes regions; the Great Plains
habitat varies depending on Provincial       Because the southern boreal forest in the   isolates the eastern regions from the
regulations. Canada has no overarching       contiguous United States is naturally       West. Although there may be some
forest practices legislation, such as the    highly fragmented and contains more         limited potential for dispersal between
United States National Forest                hare predators, it is unable to support     the Southern and Northern Rockies,
Management Act, governing                    the extremely high peak densities of        lynx in the Southern Rockies are
management of national lands and/or          snowshoe hares as in the northern           considered to be isolated from lynx
providing for consideration of wildlife      boreal forest of Canada and Alaska          populations in the Northern Rockies/
habitat requirements. Additionally, in       (Wolff 1980; Buehler and Keith 1982;        Cascades Region by the Green River
Canada, lynx harvest regulations, such       Hodges 1999a,1999b; McKelvey 1999a).        basin and the Red Desert. We have no
as length of season and quotas, vary,        Therefore, lynx densities at the southern   expectation that lynx in these
being regulated by individual Provinces      part of the range never achieve the high    individual regions influence the
or, in some cases, individual trapping       densities of the northern boreal forest     presence or persistence of lynx within
districts. Therefore, we conclude that       (Aubry 1999).                               another region of the contiguous United
the contiguous United States population        After review and consideration of         States. Therefore, we believe each of
of the lynx is discrete based on the         lynx status and management in the           these four regions are discrete.
international boundary between Canada        contiguous United States and Canada,           When considering whether a
and the contiguous United States due to      and lynx and snowshoe hare life­            population meets the significance test,
differences in management of lynx and        history, habitat, and population            policy requires us to evaluate the
lynx habitat.                                dynamics, we have determined that the       population as it relates to the entire
   According to the Vertebrate               lynx population in the contiguous           range of the taxon. In the case of the
Population Policy, a population segment      United States is discrete and significant   lynx, the range of the taxon is extensive
can be considered significant based on       and, therefore, qualifies as a DPS to be    and exists mainly in Canada and Alaska.
considerations that include, but are not     considered for listing under the Act.       When we evaluated the significance of
limited to, the following—(1)                  Within the contiguous United States       the small discrete regions in the
“Persistence of the discrete population      population segment, the range of the        contiguous United States to the entire
segment in an ecological setting unusual     lynx is divided regionally by ecological    range of the taxon in North America, we
or unique for the taxon,” (2) “Evidence      barriers of unsuitable lynx habitat.        determined that none of these regions
that loss of the discrete population         These regions are— (1) the Northeastern     individually constitute significantly
segment would result in a significant        Region, including Maine, New                unique or unusual ecological settings;
gap in the range of the taxon,” (3)          Hampshire, Vermont, and New York; (2)       therefore, they could not be separated
“Evidence that the discrete population       the Great Lakes Region, including           from the contiguous U.S. DPS as a
segment represents the only surviving        Michigan, Wisconsin, and Minnesota;         whole. Within all four regions of the


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contiguous United States, the                that we had reviewed the North               Lynx in the contiguous United States by
distribution of the lynx is associated       Cascades 90-day petition after receiving     June 30, 1998. The proposed rule to list
with the southern boreal forest.             new information and again found that         the contiguous United States DPS of the
  We have concluded that none of the         we did not have substantial information      Ganada lynx as threatened was
four regions, individually, fulfill both     to indicate that listing the population      published on July 8, 1998 (63 FR
the discreteness and significance criteria   may be warranted (58 FR 36924). In a         36994).
as provided under the policy. Therefore,     settlement agreement dated November             On July 8, 1999 (64 FR 36836), we
we conclude that the listable entity is      30, 1993, we agreed to conduct a status      extended the listing deadline by 6
the contiguous United States DPS of the      review throughout the lower 48 States to     months to receive and evaluate
lynx, consisting of the Northeast, the       determine if the species was threatened      comments on new information
Great Lakes, the Northern Rockies/           or endangered, and to complete the           contained in a report, “The scientific
Cascades, and the Southern Rockies           review and publish the finding by            basis for lynx conservation in the
regions.                                     November 15, 1994. On February 2,            contiguous United States” (Science
  Within the contiguous United States,       1994, we published a notice announcing       Report), prepared by a team led by the
the relative importance of each region to    continuation of the status review (59 FR     Forest Service’s Rocky Mountain
the persistence of the DPS varies. The       4887).                                       Research Station (Ruggiero ef al. 1999c).
Northern Rockies/Cascades Region                On April 27, 1994, we received a          As a result, the new listing deadline
supports the largest amount of lynx          petition to list the conterminous U.S.       became January 8, 2000. The Act
habitat and has the strongest evidence of    population of “North American” lynx as       permits such an extension for the
persistent occurrence of resident lynx       threatened or endangered. Additionally,      purpose of soliciting additional data
populations, both historically and           the petitioners requested that the           when there is substantial disagreement
currently. In the Northeast (where           Southern Rocky Mountain population of        regarding the sufficiency or accuracy of
resident lynx populations continue to        the “North American” lynx in Wyoming         the available data relative to the
persist) and Southern Rockies regions,       and Colorado be emergency-listed. We         determination.
the amount of lynx habitat is naturally      published a notice on August 26, 1994,          The Act requires listing
limited and does not contribute              that the petition presented substantial      determinations to be made using the
substantially to the persistence of the      information that listing may be              best scientific and commercial data
contiguous United States DPS. Much of        warranted, but that we determined            available. However, the 1998 settlement
the habitat in the Great Lakes Region is     emergency listing was not warranted for      agreement allowed only 4 months
naturally marginal and may not support       the Southern Rocky Mountain                  within which to prepare the proposed
prey densities sufficient to sustain lynx    population (59 FR 44123).                    rule to list the lynx, much less time than
populations. As such, the Great Lakes           On December 27, 1994, we published        the 9 months allowed by the Act to
Region does not currently contribute         a notice (59 FR 66507) of our 12-month       conduct a status review to make a listing
substantially to the persistence of the      finding that listing the lynx in the         determination. Consequently, we were
contiguous United States DPS.                contiguous United States was not             not able to gather nor consider the best
Collectively, the Northeast, Great Lakes,    warranted because of the lack of             scientific and commercial data available
and Southern Rockies do not constitute       residency in lynx populations in the         at the time of publication of the
a significant portion of the range of the    lower 48 States and our inability to         proposed rule; instead we relied
DPS. We conclude the Northern                substantiate that threats such as            primarily on data we had gathered
Rockies/Cascades Region is the primary       “trapping, hunting, poaching, and            during the lynx status review in 1994.
region necessary to support the              present habitat destruction” actually        Therefore, this final rule treats
continued long-term existence of the         “threaten the continued existence of the     information available since 1994 as new
contiguous United States DPS. However,       lynx in the wild.” On January 30, 1996,      information; whereas, typically, new
the role that each region plays in the       the Defenders of Wildlife and 14 other       information is that information made
long-term conservation of the species        plaintiffs filed a lawsuit challenging our   available subsequent to the proposed
will be explored further in recovery         finding.                                     rule.
planning for the species.                       On March 27, 1997, the court issued
                                             an opinion and order setting aside the       Summary of Comments and
Previous Federal Action                      not warranted finding and remanding it       Recommendations
   The lynx was added to Appendix II of      back to us for further consideration. We        In the July 8, 1998, proposed rule and
the Convention on International Trade        were ordered to publish a 12-month           associated notifications (63 FR 58910),
in Endangered Species (CITES) of Wild        finding on the status of the lynx within     all interested parties were requested to
Flora and Fauna in 1977. The species         60 days. On May 27, 1997, we published       submit comments or suggestions on the
was classified as a category 2 candidate     a 12-month finding (62 FR 28653) that        proposed rule, particularly on the
species in the December 30, 1982,            the lynx population in the contiguous        following topics—(1) Biological,
Vertebrate Notice of Review (47 FR           United States was warranted for listing      commercial trade, or other relevant data
58454), meaning that more information        under the Act but precluded by higher        concerning any threat (or lack thereof)
was necessary to determine whether the       priority listing actions. This warranted-    to this species; (2) Additional
species’ status was declining. In            but-precluded finding automatically          information concerning the range,
response to a petition received on           elevated the lynx to candidate species       distribution, and population size of the
August 22, 1991, we published a notice       status.                                      species; (3) Current or planned activities
of a 90-day petition finding on October         On September 15, 1997, Defenders of       in the subject area and their possible
6, 1992, that we did not have substantial    Wildlife ef al. filed suit in response to    impacts on the species; and (4)
information to indicate that listing the     our finding that listing the Ganada lynx     Additional information pertaining to the
North Cascades population of the lynx        population in the contiguous United          promulgation of a special rule to
as endangered may be warranted (57 FR        States was warranted but precluded. On       provide States and Tribes the
46007). A lawsuit was filed challenging      February 12, 1998, a settlement              opportunity to maintain the lead role in
the October 6, 1992, finding. On July 9,     agreement was reached that called for us     protection, management, and recovery
1993, we published a notice indicating       to finalize a proposed rule to list the      of the species through the voluntary


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development and implementation of a         Spokane, Washington; Wenatchee             Mountain News, Denver, Colorado;
conservation plan. In the proposed rule,    World, Wenatchee, Washington; The          Boulder Daily Camera, Boulder,
we announced that 10 public hearings        Oregonian, Portland, Oregon; The La        Colorado; and The Daily Sentinel,
on the proposal would be held in            Grande Observer, La Grande, Oregon;        Grand Junction, Colorado.
various locations throughout the range      The News Review, Roseburg, Oregon;            We received a total of 3,548 responses
of the lynx in the contiguous United        The Daily Courier, Grants Pass, Oregon;    on the proposed rule, 166 oral and 3,382
States. One additional public hearing       The Bend Bulletin, Bend, Oregon; The       written comments. Of these comments,
was announced on August 26, 1998 (63        Idaho Statesman, Boise, Idaho; Great       7 were from Federal agencies; 58 were
FR 45445).                                  Falls Tribune, Great Falls, Montana;       from State, county, city governments or
   Open houses and public hearings,         Independent Record, Helena, Montana;       schools; 3,261 were from individuals;
providing an additional forum for           The Missoulian, Missoula, Montana;         214 were from organizations and
public comment on the proposed rule,        The Billings Gazette, Billings, Montana;   industry; 5 were from tribal
were held in Colorado, Idaho, Montana,      Bozeman Daily Chronicle, Bozeman,          governments, and 3 were from Canada.
Oregon, Washington, Wyoming, Maine,         Montana; The Daily Inter Lake,             Most of these responses were received
and Wisconsin. The 60-day comment           Kalispell, Montana; The Western News,      in the form of a form letter or postcard.
period on the proposed rule, originally     Libby, Montana; Casper Star-Tribune,       Of these commentors, 2,676 supported
closing on September 30, 1998, was          Natrona County, Wyoming; Wyoming           listing the Canada lynx, 780 opposed
twice extended by request. The first        Tribune Eagle, Laramie County,             listing, and 92 expressed no position.
extension was announced on October 2,                                                     In response to the reopening of the
                                            Wyoming; The Cody Enterprise, Cody,
1998, and extended the comment period                                                  comment period on August 18, 1999, to
                                            Wyoming; The Dubois Frontier,
to October 14, 1998 (63 FR 53010). The                                                 receive comment on the Science Report,
                                            Fremont County, Wyoming; Jackson
second extension was announced on                                                      we received an additional 379
                                            Hole News, Jackson, Wyoming; Pinedale      responses. Of these, 239 supported a
October 19, 1998, and extended the
                                            Roundup, Sublette County, Wyoming;         listing, 115 opposed the listing, and 25
comment period on the proposed rule
                                            The Riverton Ranger, Fremont County,       provided comment on the Science
until November 16, 1998 (63 FR 55839).
   On July 8, 1999 (64 FR 36836), we        Wyoming; Thermopolis Independent           Report only. All written and oral
extended the listing deadline by 6          Record, Thermopolis, Wyoming; Detroit      statements presented at the public
months to receive and evaluate              Free Press, Detroit, Michigan; Lansing     hearings and received during the public
comments on new information                 State Journal, Lansing, Michigan; Daily    comment periods, including comments
contained in a report, “The scientific      Mining Gazette, Michigan; Marquette        on the Science Report and peer review
basis for lynx conservation in the          Mining Journal, Marquette, Michigan;       comments, are addressed below and
contiguous United States’’ (Science         Iron Mountain News, Iron Mountain,         within the text of this rule. Comments
Report), prepared by a team led by the      Michigan; Escanaba Press, Escanaba,        of a similar nature are grouped into
Forest Service’s Rocky Mountain             Michigan; The Evening News, Michigan;      general issues. These issues and our
Research Station (Ruggiero ef al. 1999c).   North Country Sun, Michigan;               response to each are discussed below.
The Act permits such an extension for       Ontonagon Herald, Ontonagon,                  Issue 1—Several commentors believed
the purpose of soliciting additional data   Michigan; L’Anse Sentinel, L’Anse,         that there are insufficient and/or
when there is substantial disagreement      Michigan; The Munsing News,                inadequate data to support evidence of
regarding the sufficiency or accuracy of    Munsing, Michigan; Manistique Pioneer      lynx existence and viable population
the available data relative to the          Tribune, Manistique, Michigan; The         status within the lower 48 States or at
determination. On August 18, 1999, we       Newberry News, Newberry, Michigan;         the southern fringes of the range. They
announced that we had reopened the          Iron River Reporter, Iron River,           believed lynx should be managed in
comment period for an additional 38         Michigan; The Menominee County             Canada rather than by the Act in the
days to allow the public to provide         Journal, Michigan; Minneapolis Star        United States. Numerous commentors
additional comment on the proposed          Tribune, Minneapolis, Minnesota; St.       strongly opposed listing the lynx in
rule based on new information               Paul Pioneer Press, St. Paul, Minnesota;   Oregon and other individual States,
contained in the Science Report (64 FR      Duluth News Tribune, Duluth,               claiming there has never been a self­
44883).                                     Minnesota; Ely Echo, Ely, Minnesota;       sustaining breeding population of lynx
   Prior to making our final listing        Grand Forks Herald, Grand Forks,           in a particular State. Several
determination on the lynx, we held the      Minnesota; Bemidji Pioneer, Bemidji,       commentors were concerned that much
11 announced public hearings, and           Minnesota; International Falls Journal,    of the information used to develop the
allowed for a total of 140 days of public   International Falls, Minnesota; Virginia   range maps for lynx in the United States
comment on the proposed rule and            Mesahi News, Minnesota; Cook County        may represent only dispersing
Science Report. Appropriate Federal         News, Minnesota; Grand Rapids Herald       individuals and does not indicate viable
and State agencies, tribal governments,     Review, Minnesota; Milwaukee Journal       populations capable of successful
county governments, scientific              Sentinel, Milwaukee, Wisconsin;            reproduction and recruitment.
organizations, and other interested         Wisconsin State Journal, Madison,          Similarly, several individuals
parties were contacted and requested to     Wisconsin; Wausau Herald, Wausau,          commented that the distribution maps
comment during the initial comment          Wisconsin; Florence Mining News,           in the Science Report do not accurately
period, notified of the extensions, and     Florence, Wisconsin; Spooner Advocate,     reflect occupied range and that there is
were again contacted when the               Spooner, Wisconsin; Rhinelander News,      no evidence that lynx currently exist in
comment period was reopened to allow        Rhinelander, Wisconsin; Vilas County       many of the States that the map
evaluation of the Science Report.           News Review, Wisconsin; Superior           identifies as occupied.
Notices of the proposed rule and public     Daily Telegram, Superior, Wisconsin;          Response—The scientific basis for our
hearings were sent to over 1,200            Bangor Daily News, Bangor, Maine;          findings and conclusions in the
individuals, and public notices were        Manchester Union Leader, Manchester,       proposed rule and those in the Science
published in 63 newspapers within the       New Hampshire; Burlington Free Press,      Report were questioned by many of the
contiguous U.S. range of the lynx,          Burlington, Vermont; Albany Times          affected State wildlife agencies and
including the Spokesman Review,             Union, Albany, New York; Rocky             others that responded during the public


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comment period. When making a listing        boreal forest. Therefore, dispersing          trapper harvest data do not account for
determination, we are required to use        individuals were not considered in this       trapper effort which may be affected by
the best available scientific and            listing. Further, the fact that lynx are      pelt prices, social change or climatic
commercial information. To accomplish        managed in Canada does not relieve us         conditions. Several commentors wanted
this, section 4(b)(6KB) of the Act allows    from our statutory responsibilities to        to know what the effects of trapping on
for a 6-month extension of a final           protect the wildlife of the United States.    lynx population status and potential
determination for the purpose of             We have determined that the contiguous        recovery were and if the mortality from
soliciting additional information if there   United States population of lynx is a         accidental trapping or animal damage
is substantial disagreement regarding        DPS under the Act and warrants listing        control activities were significant to the
the sufficiency or accuracy of the           as a threatened species. This                 overall population. They similarly
available data. In the case of the lynx      determination, therefore, includes all        commented that the Science Report
finding, because there was substantial       lynx within the contiguous United             failed to provide quantified data and
disagreement regarding the sufficiency       States, whether they be transient lynx or     conclusions justifying additional
or accuracy of the available data, we        resident populations.                         protection under the Act and believed
extended for 6 months the deadline for          The lynx distribution maps developed       that additional studies were needed and
a final listing determination on the         for the Science Report were produced          should be initiated and completed. They
proposal to list the contiguous United       by overlaying lynx occurrence records         suggested that we defer a decision until
States DPS (64 FR 36836). The 6-month        on maps of primary vegetation types           more information is available.
extension allowed us to receive and          (McKelvey et al. 1999b). The authors             Response—While lawsuits have had
evaluate new information contained in        included all occurrence records made          an important procedural impact in our
the Science Report, a scientific report on   available by State, tribal, and Federal       listing process, whether the species
lynx prepared by a team of scientist         agencies, published and unpublished           warrants listing under the Act is a
assembled by the Forest Service’s Rocky      reports, and museum and harvest               substantive biological determination
Mountain Research Station in 1998. The       records. Furthermore, they considered         and has remained our responsibility. We
Science Report is a comprehensive            the reliability of the records. Although      have carefully assessed the best
compilation and assessment of historic       there may be errors for some individual       scientific and commercial data
and current lynx occurrence records and      data points, these data provide a good        available, as required by the Act. We
distribution, scientific literature, lynx    basis for us to evaluate lynx occurrence      recognize that there are limitations in
and prey ecology, habitat correlations       and distribution in the contiguous            the extant body of data, including the
and threats to the continued existence of    United States. The maps defined               trapping information, and have taken
lynx in the contiguous United States.        vegetation types for which most lynx          those limitations into consideration
The Science Report is the only               occurrences are associated. They are not      when evaluating the data. As described
comprehensive assessment of lynx in          maps of occupied habitat.                     in “Factor B” in the “Summary of
                                                Issue 2—Many commentors believed           Factors” section, harvest returns are
the contiguous United States and was
                                             we have insufficient or inadequate data       affected by factors that influence trapper
used, as was the new information
                                             to show that a sufficient prey base           effort and success, such as changes in
obtained during the comment period, in
                                             historically existed or currently exists in   socioeconomic conditions, season
our final listing determination (see
                                             the lower 48 States to support lynx.          length, quotas and trapping restrictions,
“Background,” “Distribution and                 Response—The Act requires that the         and ease of access. However, we also
Status,” and “Summary of Factors”            Service make listing determinations           recognize the harvest data provided
sections).                                   solely on the basis of the best scientific    information on the presence and
   Current and best available                and commercial data available. Where          persistence of lynx within the
information, including the Science           there is little information available we      contiguous United States (see
Report, verified the persistence and         use our best scientific judgement and         “Distribution and Status” section).
presence of lynx in the contiguous           that of experts in the field. Available       Furthermore, harvest data for lynx in
United States and recent records of lynx     snowshoe hare information as it applies       Canada has similarly provided
in Oregon (see “Distribution and Status”     to lynx is summarized by Hodges               information about the persistence of
section). However, with the limited          (1999a, 1999b) in the Science Report.         lynx in adjacent habitats in Canada and
information available on the species, we     Additionally, we relied on the                increased our understanding of lynx
cannot ascertain whether a resident lynx     availability of the primary habitat types     population dynamics (see
population exists currently or existed       used by both snowshoe hares and lynx          “Background,” “Distribution and
historically in Oregon. We believe that      as an indicator of suitable habitat and       Status,” and “Factor B” sections). We
many of the lynx records in the              likely presence of one or both species        have determined that the occurrence of
contiguous United States, including          (see “Distribution and Status” and            lynx within the contiguous United
Oregon, are of transient animals that        “Factor A”).                                  States is influenced to varying degrees
dispersed during cyclic population              Issue 3—Many commentors believed           by immigration of lynx from Canada.
increases (see “Background” and              there were insufficient or inadequate            We carefully assessed the effects of
“Distribution and Status” sections).         data to support a listing and that the        trapping during our review of the
Regardless, the Act, and the Service in      decision-making process concerning the        species’ status (see “Factor B” and
administering the Act, do not make a         proposal to list the lynx was being           “Factor E” in the “Summary of Factors”
distinction between resident                 driven by political pressure and              section). The effects of trapping on lynx
populations, breeding populations, and       lawsuits. One commentor also believed         populations are variable depending on
transient or breeding individuals when       that the limited quantity of evidence         factors such as whether lynx taken are
considering a species for listing.           gathered by the Service does not meet         a part of a resident population or
However animals that are considered          the standard of sound science required        dispersing individuals that are unlikely
“dispersing,” and found in unsuitable        by the Act and that the proposed rule         to reproduce and contribute to a
habitat are considered lost from the         did not acknowledge the strengths and         population, fitness of the lynx
metapopulations, because they are            limitations in the extant body of             population in a given area, connectivity
unlikely to survive unless they return to    research related to Canada. For example.      within a larger metapopulation, the


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impact of other threats to the               indicated comparable harvest records.        and imminence of some of the factors
population, and the additive nature of       We conclude that, in the contiguous          identified as threats in the proposed
these threats. If the population is doing    United States, lynx populations are          rule. However, there is still a lack of
well in an area and there are no threats     naturally at low densities; therefore,       quantifiability information to determine
to its continued existence, trapping         what seem to be low population levels        whether some of the possible threats
mortality would not likely jeopardize        compared to those of the northern            have or would actually result in lynx
the population. However, if other            boreal forest in Canada and Alaska           declines. Both the “Summary of
threats to a resident population exist,      likely are normal for lynx at the            Factors” and “Background” sections
the additive nature of additional losses     southern portion of their range where        discuss the new information we have
to the population may prove to be            optimal habitat is naturally limited (see    obtained and how it has been assessed
significant, at least on a local scale.      “Factor B”of the “Summary of Factors”        in our decision, particularly regarding
Mortality from accidental trapping or        section).                                    habitat (Factor A) and competition
animal damage control activities would          We recognize the limitations of using     issues (Factor E). Because a substantial
be considered incidental and in most         harvest data to evaluate the status of a     amount of lynx habitat in the
cases would not be significant; we have      vertebrate population (see “Distribution     contiguous United States occurs on
no information to indicate that the loss     and Status” section and “Factor B” of        federally managed lands, particularly in
of such individuals has negatively           the “Summary of Factors” section).           the West, we conclude that the factor
affected the overall ability of the          There can be numerous reasons for a          threatening lynx in the contiguous
contiguous United States DPS to persist.     smaller harvest return one year              United States is the lack of guidance in
   We agree that additional studies of       compared to previous returns, such as        existing Federal land management plans
lynx are necessary to better understand      trapper effort, weather, or low pelt         for conservation of lynx and lynx
the dynamics and requirements of lynx        prices. States in the contiguous United      habitat. Implementation of lynx
populations in the contiguous United         States substantially restricted or closed    conservation through revision of Federal
States (see “Distribution and Status”        their lynx harvest seasons by 1990,          land management plans may sufficiently
section). However, the Act does not          resulting in less information with which     remove threats to the species such that
allow us to defer a listing decision based   to evaluate the current status of lynx.      it no longer warrants listing.
on the need for more research. Most          We now believe that ongoing                     Issue 6—Many State agencies believed
scientists would agree that there is         precautions taken by States and              the proposed rule failed to demonstrate
always a need for more research, but         Provinces to restrict lynx trapping since    that there has been significant
listing decisions cannot be postponed        the 1980s possibly prevented the             extirpation of lynx within the lower 48
based on this premise when known             overharvest of resident populations of       States or that a significant range
threats to a species are present that may    lynx. We concur with Mowat et al.            reduction has occurred. There is
result in a species’ trend toward            (1999) that it is possible lynx were         disagreement on the status and historic
extinction.                                  overharvested in local areas but that in     range of lynx within some States.
   Issue 4—Several wildlife                  time, particularly with the protection       Furthermore, they believe that lynx do
professionals stated that the effects of     given lynx from trapping closures in the     not occur throughout predicted habitat.
overharvesting lynx during the 1970s         contiguous United States, dispersal by       They requested information on the basis
and 1980s were overstated in our             lynx from healthy populations has led        of our determination of whether a
proposed rule and that it does not           and in the absence of significant threats    resident or remnant lynx population
explain current population levels. If        will lead to the repopulation of such        existed within a State and if the low
lynx were overharvested in the past,         areas.                                       numbers were the result of poor
they should have had sufficient time to         Issue 5—Numerous individuals              monitoring, marginal habitat or poor
recover by now. They stated that             commented that the proposed rule and         rates of immigration from source
overutilization is no longer a potential     the Science Report failed to demonstrate     populations. They believed the Science
threat nor an additive threat to the         that there are significant threats to the    Report likewise failed to assess lynx
continued existence of lynx.                 survival of the lynx, claiming that there    population size, status, and trends.
   Response—We made our                      is little evidence in the proposed rule or      Response—The Act requires us to
determination to propose the species for     the Science Report to support claims         make listing determinations on the best
listing based on the available               that current management practices,           available scientific and commercial
information at the time. We concluded        including timber harvesting and human        information. Data are often not available
that low numbers of lynx in the              access, adversely affect lynx; that lynx     to make statistically rigorous inferences
contiguous United States and Canada          are old growth obligates; that either        about a species’ status (e.g., abundance,
were the residual effects of substantial     bobcat or coyotes are direct competitors     population trends, and distribution).
overtrapping that occurred in the 1970s      for prey with lynx; that lynx habitat        The extant body of data concerning lynx
and 1980s. We no longer believe that to      throughout the lower 48 States has been      population status, trends, and historic
be true (see “Factor B” in the “Summary      fragmented, degraded or reduced by           range is limited. Current information
of Factors” section). New information        human activity; or that this has resulted    about lynx in the contiguous United
explains that the cyclic lynx highs of the   in lynx declines. Additionally, these        States allows us to understand the
early 1960s and 1970s that are reflected     commentors asked how important were          distribution of lynx. However, the
in harvest records were unprecedented        localized threats to the overall status of   available data for most States do not
high levels for the 20th century. Harvest    the species and if we knew enough            allow us to assess whether resident
returns that we believed to be               about the threats to assess the              populations were historically or are
abnormally low, were being compared          cumulative effects to lynx.                  currently present (see “Distribution and
to harvest records during the                   Response—In the proposed rule, we         Status” section). The scientific
unprecedented high levels of the 1960s       identified numerous potential threats to     community is just beginning to study
and 1970s rather than to data for cycles     the continued existence of lynx based        issues such as specific habitat and prey
over a longer period of time.                on information available at the time.        requirements necessary to support lynx
Comparisons of the recent records to         Since then we have significant new           populations, role of dispersing animals
earlier records from the 20th century        information regarding the magnitude          in metapopulation dynamics, and lynx


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demographics. However, given these             was not intended to be applied to            between Canadian’ and United States’
uncertainties, we are still charged with       populations on the edge of a species’        lynx populations under our policy.
determining whether the species                range. There is no evidence that lynx in        Based on the discreteness of a
warrants listing under the Act. After          the United States are capable of long­       population, our Vertebrate Population
reviewing the best available                   term survival if isolated from the larger    Policy requires that we consider the
information, obtained through a                population in Canada. There is no            significance of the population to the
comprehensive effort involving review          evidence that lynx populations within        taxon to which it belongs. We believe
of historic and current occurrence             the contiguous 48 States were once           there are climatic and vegetational
records, including harvest records for         connected. The idea that semi-isolated       differences in lynx habitat between
both Canada and the United States;             subpopulations of lynx separate from         Canada and the United States, as well as
sightings and track records; personal          each other and from Canada can be            ecological differences between lynx in
communications with lynx, hare, and            supported within the United States is        the contiguous United States and
forest ecology experts; and a review of        contrary to what is known about lynx         northern populations in Canada and
all available literature, we have made                                                      Alaska (see “Distinct Population
                                               ecology. Lynx in the United States are
several conclusions about the status of                                                     Segment” section). Therefore, the
                                               part of a trans-border population and
lynx in the contiguous United States as                                                     contiguous United States’ population
                                               should be managed in cooperation with
described in the “Distribution and                                                          meets the significance criteria for
                                               Canada. Conversely, several
Status” and “Finding” sections.                                                             establishment of a DPS.
   In the proposed rule we attempted to        commentors believe that lynx in the             Additionally, we believe the criterion
identify whether each of the States            southern portion of Canada have              relating to a “significant gap” in the
historically supported or currently            sharply declined and that we cannot          species’ range applies to any discrete
support resident populations of lynx.          rely on immigration from Canada, nor         unit that exhibits significance regardless
The Act does not make a distinction            Canadian management of lynx, to              of whether it is on the edge of the
between protection of resident and             maintain lynx in the United States.          species’ range. For example, there may
migratory or transient species, or             Several commentors believe that the          be situations where populations at the
between resident populations and those         lynx deserves protection under the Act       edge of a species range may have unique
supported by immigration from Canada.          based solely on its United States’           genetic characteristics or may have
Whether a species resides in whole or          population.                                  adapted to unique or unusual ecological
in part in the United States, it is eligible      Response—The Service’s Vertebrate         conditions.
for protection under the Act. In many          Population Policy, published in the             Finally, after we established that the
instances we cannot be certain whether         Federal Register on February 7, 1996         United States’ population of lynx is
the lynx was historically resident in a        (61 FR 4722) specifies that a population     discrete and significant, we then
region or was wholly made up of                segment may be found to be discrete if       applied the listing criteria to the
transient animals from Canada or other         it satisfies one of two conditions. One of   contiguous United States’ population of
parts of its range, or a combination of        the two conditions states, “It is            lynx and determined that it meets the
these (see “Background” and                                                                 definition of a threatened species under
                                               delimited by international governmental
“Distribution and Status” sections].                                                        the Act (see Factors A-E in the “
                                               boundaries within which differences in
However, given the available                                                                Summary of Factors” section).
                                               control of exploitation, management of          Issue 8—Many commentors believed
information from occurrence records,           habitat, conservation status, or
habitat maps, and comparisons of                                                            that lynx in different regions of the
                                               regulatory mechanisms exist.” We have        United States, isolated in island
harvest records from the United States         determined that lynx occur in both
and Canada, we concluded that certain                                                       populations and divided regionally by
                                               resident populations and as transients       ecological barriers, even State
areas, such as the Northern Rockies/           in the contiguous United States and
Cascades Region, continue to support                                                        boundaries, are biologically significant
                                               conclude that this population satisfies      and should be considered for listing
self-sustaining resident lynx
                                               the above requirement for discreteness       separately so that each population can
populations, while in other areas or
                                               based on the international boundary          be protected and managed according to
regions we were unable to determine the
                                               between Canada and the contiguous            its needs. They think that, for a wide-
historic or current presence of a resident
                                               United States and the differences in         ranging species such as lynx, the status
lynx population based on available
information (see “Distribution and             management of lynx between Canada            of the lynx population in Montana
Status” section).                              and the United States (see “Distinct         should have no bearing and should not
   Issue 7—Numerous commentors made            Population Segment” section). While we       provide a baseline for populations
the following statements: The proposed         recognize that portions of the               struggling to survive elsewhere in the
rule failed to demonstrate that the            contiguous United States DPS of lynx         lower 48 States. In particular, they
contiguous United States population            are part of a trans-border population,       stated that the Southern Rockies meets
represents a DPS and, given the large          when using the international boundary        the definition of a DPS and that it
areas of habitat still directly connected      as a criterion for establishing              should be listed as endangered because
to Canada, evidence of movement across         discreteness, the Vertebrate Population      it is likely on the verge of extirpation,
the international border, and the failure      Policy does not make a distinction of        is genetically isolated, faces continued
to demonstrate that the United States’         whether there is movement between the        threats, and meets the definition of an
population is significant, designation of      two populations. While we recognize          unusual or unique ecological setting.
a contiguous United States DPS for lynx        that this movement occurs, and we            These commentors stated that loss of
is not warranted. The Vertebrate               believe that immigration from Canada         lynx in the Southern Rockies would
Population Policy does not provide             may strongly influence the persistent        result in a significant gap in its range.
authority for using an international           occurrence of lynx in some portions of       Furthermore, there is scientific
boundary and differences in                    the United States’ population (see           consensus that lynx were once viable in
management programs as a basis for             “Distribution and Status” section), this     Colorado and southern Wyoming.
determining discreteness. Likewise, the        does not negate the international            Conversely, some commentors believe
“significant gap” criterion in the policy      boundary for establishing discreteness       lynx at the southern edge of the range


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should be excluded from listing. They        habitat and has the strongest evidence of Oregon, Washington, Wyoming, Maine,
stated that existing data suggest that       persistent occurrence of resident lynx    and Wisconsin. Announcements of the
lynx exist in the lower 48 States,           populations, both historically and        proposed rule and public hearings were
especially east of Montana, only as a        currently. In the Northeast, Great Lakes, made in local newspapers throughout
rare and transitory species at the edge of   and Southern Rockies regions, the         the range of the lynx. The comment
its range, dependent on continued            amount of lynx habitat is relatively      period on the proposed rule, originally
immigration from Canada.                     limited and does not contribute           closing on September 30, 1998, was
   Response—We recognize that, within        substantially to the persistence of the   twice extended by request. From the
the contiguous United States, the            contiguous United States DPS. We          time a proposed rule is published, the
distribution of the lynx is divided into     conclude the Northern Rockies/            Act allows 12 months in which to make
four geographically isolated regions; the    Cascades Region is the primary region     and publish a final determination on a
Northern Rockies/Cascades, Southern          necessary to support the continued        listing action. We extended the 1-year
Rockies, Great Lakes and Northeast (see      long-term existence of the contiguous     period for the lynx final listing
“Distribution and Status” and “Distinct      United States DPS.                        determination for 6 months in a July 8,
Population Segment” sections). In               Issue 9—Several individuals believed   1999, Federal Register announcement
evaluating whether these qualified as        that we failed to take into account the   (64 FR 36836), specifically to allow for
separate DPSs or should be considered        increased abundance of mountain lions     review, evaluation, and comment on the
one, we analyzed whether lynx in these       as a threat to lynx and that the rule     Science Report because there was
individual regions qualified as both         should acknowledge this concern and       substantial disagreement regarding the
discrete and significant according to our    discuss this factor as potentially        sufficiency and accuracy of the
DPS policy. We concluded that within         affecting Canada lynx.                    information. On August 18, 1999, we
the United States they were                     Response—At the time we wrote the      announced in the Federal Register that
geographically isolated and, therefore,      proposed rule to list the lynx as a       we were reopening the comment period
qualified as discrete. When considering      threatened species, we did not address    for an additional 38 days to allow the
whether a population meets the               mountain lion competition with lynx       public to review and comment on the
significance test, policy requires that      because we had no information that it     proposed rule based on new information
our evaluation take into account the         was a potential threat. Subsequently, the contained in the Science Report, which
population as it relates to the entire       Science Report has identified the         was placed on the Internet for
range of the taxon. In the case of the       potential threat of mountain lion         accessibility. Press releases were issued
lynx, the range of the taxon is extensive    competition (Aubry et al. 1999; Buskirk   to ensure the public was aware of the
and exists mainly in Canada and Alaska.      et al. 1999a). Definitive data on the     reopened comment period. While we
Only a small portion of the range            potential threat of mountain lions on
                                                                                       received requests to extend the
extends into the United States. The          lynx are lacking. However, because
                                                                                       comment period on the Science Report,
Southern Rockies and Northeast regions       known incidents of mountain lions
                                                                                       we declined to do so because of the time
account for an extremely small fraction      killing lynx are rare, we presume they
                                                                                       frames the Act allows for completion of
of the entire range of the taxon. We         occupy different ecological niches
                                                                                       a final listing determination, the amount
determined that none of the regions          (particularly in winter), and because
                                                                                       of public notice about the Science
individually constitute significantly        they depend on different prey, we
                                                                                       Report and rapid availability of the
unique or unusual ecological settings.       conclude that the population-level effect
                                                                                       Science Report to interested parties via
Within all four regions of the contiguous    of mountain lions on lynx is minimal
                                                                                       the Internet.
United States the distribution of lynx is    (see “Factor E” of the “Summary of
associated with the southern boreal          Factors” section).                           Issue 11—Several individuals believe
forest. The important element for lynx is       Issue 10—Some commentors believed the lynx should be listed as endangered,
forest structure that provides food and      we did not provide for adequate public    not threatened because they believe the
cover for snowshoe hares and cover for       participation in commenting on the        lynx is in danger of extinction
lynx dens, not the specific vegetation       Science Report or in response to the      throughout a significant portion of its
found within the boreal forest.              listing proposal.                         range, that it is part of our cultural
Therefore, the individual regions could         Response—Prior to making our final     heritage and should be protected. They
not be considered individually               listing determination on the lynx, we     stated that in light of the uncertainties
significant under our Vertebrate             held 11 public hearings and allowed for about the existing information collected
Population Policy and could not be           a total of 140 days of public comment     on lynx status and threats, the Service
separated from the contiguous United         on the proposed rule and Science          should be cautious and protect existing
States DPS as a whole. We determined         Report. Our proposed rule to list the     populations of lynx while additional
that, individually, none of the four         lynx as threatened, published in the      information is collected. If listed as
regions fulfill both the discreteness and    Federal Register on July 8, 1998,         endangered the lynx would receive the
significance criteria as required under      opened a 60-day comment period            full protection of the Act. Listing would
the Vertebrate Population Policy (see        during which we requested comments        focus more attention on the precarious
“Distinct Population Segment” section).      and materials concerning the proposed     status of the species and encourage State
Therefore, we conclude that the listable     rule. At the same time we announced       wildlife agencies to do more educational
entity is the contiguous United States       that 10 public hearings on the proposal   outreach and encourage conservation on
DPS of the lynx, consisting of the           would be held in various locations        private lands. These commentors also
Northeast, the Great Lakes, the Northern     throughout the range of the lynx in the   stated that a listing would increase
Rockies/Cascades, and the Southern           contiguous United States. One             attention given to lynx by Federal land
Rockies regions.                             additional public hearing was             management agencies and would
   Within the contiguous United States,      announced on August 26, 1998 (63 FR       provide the oversight that is needed to
the relative importance of each region to    45445). Open houses and public            ensure conservation and recovery
the persistence of the DPS varies. The       hearings, providing a forum for verbal    activities are implemented and are
Northern Rockies/Cascades Region             comment on the proposed rule, were        effective. Some commentors also
supports the largest amount of lynx          held in Colorado, Idaho, Montana,         believed that failure to list the lynx as


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endangered would be contrary to the           protect the species. However, there is       oversight role would follow the issuance
settlement agreement and other court-         inconclusive evidence that any of these      of a special rule.
ordered stipulations, as well as the          factors, with the exception of                  Response—Section 4(d) of the Act
Service’s listing priority guidance. They     inadequate regulatory mechanisms, may        provides that whenever a species is
stated that the proposed rule to list the     actually adversely affect the contiguous     listed as threatened, the Secretary of
lynx as threatened rather than                United States’ lynx population. At the       Interior will issue regulations deemed
endangered is inconsistent with the           local level, particularly in the Southern    necessary and advisable to provide for
prior “warranted” petition finding of         Rockies, habitat loss and fragmentation      the conservation of the species.
May 27, 1997, in which the Service            may negatively affect lynx (see “Factor         We have issued regulations that
assigned the lynx its highest listing         A” and “Factor E” of the “Summary of         generally apply to threatened wildlife
priority number because of the                Factors” section). However, at the DPS       virtually all the prohibitions that section
magnitude and imminence of the                scale, we conclude the factor                9 of the Act establishes with respect to
threats. Conversely, some commentors          threatening lynx is the inadequacy of        endangered wildlife. These
believed that a listing as threatened was     existing regulatory mechanisms,              prohibitions, in part, make it illegal for
more appropriate and would provide            specifically the lack of guidance for        any person subject to the jurisdiction of
the opportunity and resources to plan a       conservation of lynx and lynx habitat in     the United States to “take” any listed
conservation strategy at the landscape        Federal land management plans (see           wildlife species; to harass, harm pursue,
scale.                                        “Factor D” of the “Summary of Factors”       hunt, shoot, wound, kill, trap, or collect
   Response—When evaluating whether           section). A substantial number of the        any threatened or endangered species or
a species, or in this case a DPS, should      primary areas of lynx occurrence are on      to attempt to engage in any such
be listed as threatened or endangered,        Federal lands (see “Factor A” of the         conduct (16 U.S.G. section 1532 (19)).
we first assess the current status of the     “Summary of Factors” section) where             Our regulations for threatened
DPS and then analyze the degree,              programs, practices and activities           wildlife also provide that a “special
magnitude and imminence, of the                                                            rule” under section 4(d) of the Act can
                                              allowed by current plans may
threats to its continued existence. If we     cumulatively impact lynx.                    be tailored to define the section 9
conclude that a DPS of a species is                                                        prohibitions for particular threatened
                                                 In the settlement agreement dated         species. In that case, the general
likely to go extinct in the foreseeable       February 12, 1998, we agreed to publish
future, then we must list it as                                                            regulations applying most section 9
                                              a proposed rule to list the lynx within      prohibitions to threatened species do
endangered. If we conclude that it is         the contiguous United States under
likely to become endangered in the                                                         not apply to that species, and the
                                              section 4 of the Act. At the time, we had    special rule is to contain the
foreseeable future then we must list it as
                                              not determined whether it warranted          prohibitions (and exemptions) necessary
threatened. While we made an extensive
                                              threatened or endangered status. In the      and appropriate to conserve that
effort to find and assess all the available
                                              “warranted but precluded” petition           species.
information on the status of lynx in the
                                              finding of May 27, 1997, we assigned            Such regulations generally are issued
contiguous United States, the best
                                              the lynx a listing priority number of 3.     and published as special rules in the
scientific information available does not
                                              Guidelines for assigning listing priority    Federal Register along with or following
provide a clear picture as to the current
                                              numbers, published in the Federal            a listing. This final rule includes a
status of the species (see “Distribution
                                              Register on September 21, 1983 (48 FR        special 4(d) rule that addresses the
and Status” section). The lack of
information on lynx does not allow us         43098), describe a system for                taking and export of captive lynx. To
to determine with certainty whether the       considering three factors in assigning a     address incidental take of lynx while
species’ population trend is stable,          species a numerical listing priority on a    engaged in otherwise lawful hunting
increasing or declining. However, we          scale of 1-12. The three factors are         and trapping for bobcat we are currently
can make several inferences from the          magnitude of threat (high or moderate to     consulting under section 7 of the Act
available data. Resident populations          low), immediacy of threat (imminent or       with the U.S. Fish and Wildlife
continue to exist in the Northern             non-imminent), and taxonomic                 Service’s Office of Management
Rockies/Cascades and Northeast                distinctiveness (monotypic genus,            Authority which issues CITES permits
regions. Available information provides       species or subspecies/population). For a     for export of bobcat pelts. Additionally,
evidence that within the contiguous           population, such as the contiguous           we have worked with State and Tribal
United States, lynx continue to occur in      United States’ Ganada lynx population,       agencies and are currently preparing an
most places with historical evidence of       listing priority numbers of 3, 6, 9, or 12   additional special 4(d) rule to address
persistence except for possible range         are possible. At the time of the             incidental take of lynx resulting from
reductions in the Northeast and               “warranted but precluded” finding we         otherwise lawful hunting and trapping
Southern Rockies. Given available             concluded that the overall magnitude of      for species other than bobcat (and other
information on current and historical         threats to lynx was high and that the        than lynx). This proposed amendment
lynx occurrence and threats, as               threats were imminent. Therefore, a          to the special rule will describe the
identified in the “Summary of Factors”        priority number of 3 was assigned. New       Federal oversight that will be required
section, we conclude that the                 information indicates that threats are at    if the rule is implemented. We hope to
contiguous United States DPS of the           a much lower magnitude than                  publish the proposed special rule in the
lynx is threatened (see “Finding”             previously believed (see “Summary of         Federal Register as soon as possible
section).                                     Factors” section).                           following this listing rule.
   In the proposed rule, various threats         Issue 12—Several commentors were             Issue 13—One commentor asked what
were identified as potentially affecting      concerned that we did not propose a          role the Draft Lynx Conservation
lynx populations (see “Summary of             special 4(d) rule for incidental take of     Assessment and Strategy (LCAS) would
Factors” section), including                  lynx along with the proposed listing.        play in the long-term conservation of
competition, habitat loss and                 They encouraged us to cooperate with         lynx if the species were listed. Another
fragmentation, and the inadequacy of          the respective States and Tribes in the      commentor was concerned about
existing regulatory mechanisms (in the        development of a 4(d) rule and               conferencing with other Federal
form of land management plans) to             wondered what type of Federal                agencies to conserve lynx and how we


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intended to work with other agencies to      contiguous United States as threatened,       delisting of species any factor not
identify and implement protective lynx       conferencing is no longer applicable and      related to the biological status of the
measures. They suggested that a              any agency actions that may affect the        species. The committee strongly
comprehensive review of the Forest           lynx will need to be addressed under          believes that economic considerations
Service Forest Management Plans is           consultation in accordance with section       have no relevance to determinations
needed to assess their impacts upon          7(a)(2) of the Act.                           regarding the status of species * * *,”
potential lynx habitat and that                 For the lynx, the Forest Service, BLM,     H.R. Rep. No. 567, Part I, 97th Cong., 2d
management plans should be revised to        National Park Service, and the Service        Sess. 20 (1982). Therefore, we have not
improve snowshoe hare and lynx               recognized that Federal agencies have a       considered the impacts of listing on
habitat. Many commentors also stated         significant role in the conservation of       economic development in making this
that Federal agencies should manage          lynx. They established a Lynx Steering        listing determination. However,
and protect public lands in a manner         Committee in 1998 consisting of               economic impacts will be considered in
that will increase snowshoe hare             representatives from each agency. The         the designation of critical habitat.
habitat.                                     Steering Committee provides oversight            Issue 15—We received numerous
   Response—The LCAS was developed           and guidance to teams established to          comments concerning the impact of a
to provide a consistent and effective        address various lynx conservation             listing on the status of introduced lynx
approach to conservation of lynx on          issues on Federal lands. One team             in Colorado and requests that these
Federal lands in the contiguous United       developed the LCAS; another team              animals be declared a 10(j)
States (United States Forest Service et      developed the Science Report; a third         “nonessential experimental
al. 1999). It was developed by the Forest    team prepared a biological assessment         population.”
Service, Bureau of Land Management           to evaluate the effects of Forest Service        Response—The term “experimental
(BLM), National Park Service, and the        and BLM Land Management Plans on              population” as defined in the Act, refers
Service. The overall goals of the LCAS       lynx. All of these efforts are intended to    to any population (including any
were to develop recommended lynx             plan and implement sound conservation         offspring arising solely therefrom) of an
conservation measures, provide a basis       actions and management decisions for          endangered species or a threatened
for reviewing the adequacy of the Forest     lynx on Federal lands.                        species released outside the current
Service and BLM Land and Resource               Issue 14—Numerous commentors               range of the species to further its
Management Plans with regard to lynx         were concerned about the economic,            conservation. Experimental populations
conservation, to facilitate section 7        social, and cultural effects of listing the   can only be established when they are
conferencing and consultation under the      lynx. They believed a listing would           wholly separate geographically from
Act should the lynx be listed (see           result in increased burdens on local          nonexperimental populations of the
“Factor D” of the “Summary of Factors’’      economies affecting jobs, culture and         same species. Since there is no clear
section) and to guide future recovery        way of life, and that the cost of             evidence of the absence of a lynx
efforts. The “Draft Biological               implementing a lynx conservation and          population within the area prior to
Assessment of the Effects of National        recovery program is not an efficient          reintroduction, establishment of an
Forest Land and Resource Plans and           allocation of tax dollars.                    “experimental population” would not
Bureau of Land Management Land Use              Response—When drafting the Act,            be possible and was not pursued in
Plans on Canada Lynx” (DBA) identified       Congress found in section 2(a)(1) that,       Colorado. The lynx that were recently
potential effects resulting from 57 Forest   “various species of fish, wildlife and        introduced into Colorado from Canada
Service Land and Resource Management         plants in the United States have been         and Alaska were released prior to this
Plans and 56 BLM Land Use Plans              rendered extinct as a consequence of          rule and the resulting placement of the
within the 16-State area where lynx          economic growth and development               species on the list of threatened and
were proposed for listing (United States     untempered by adequate concern and            endangered species. Therefore, as of this
Forest Service and Bureau of Land            conservation.” In keeping with this           final rule, they are considered resident
Management 1999).                            finding, listing decisions, other than        lynx and do not qualify as an
   Section 7(a)(4) of the Act states that    critical habitat designations, are not        experimental population. Further, these
Federal agencies shall confer with the       subject to economic analyses. The             reintroduced lynx are included as part
Service on any agency action which is        purpose of listing a species is to provide    of the listed entity and placed on the list
likely to jeopardize the continued           a means whereby the ecosystems upon           of threatened and endangered species as
existence of any species proposed to be      which endangered species and                  of the effective date of this final rule.
listed under section 4 of the Act or         threatened species depend may be                 Issue 16—Several commentors
result in the destruction or adverse         conserved, to provide a program for the       believed that there is a very limited
modification of critical habitat proposed    conservation of such endangered               potential, or none at all, for re­
to be designated for such species.           species and threatened species, and to        establishment, recolonization, and
Conferencing is a process of early           take such steps as may be appropriate to      population expansion of historic lynx
interagency cooperation involving            conserve the various species facing           habitat because of habitat changes,
informal or formal discussions between       extinction. In accordance with 16 U.S.C.      human-induced mortality, and bobcat
a Federal agency and the Service             1533(b)(1)(A) and 50 CFR 424.11(b),           and mountain lion competition with
regarding the likely impact of an action     listing decisions are made solely on the      lynx. They believed the lynx decline is
on proposed species or critical habitat.     basis of the best scientific and              the result of global warming, a natural
It is designed to help Federal agencies      commercial data available. In adding the      factor which has allowed the prey
identify and resolve potential conflicts     word “solely” to the statutory criteria       generalists, and bobcat and mountain
between an action and species                for listing a species, Congress               lion, to move into lynx territory and
conservation early in a project’s            specifically addressed this issue in the      outcompete this less adaptable
planning and to develop                      1982 amendments to the Act. The               specialist.
recommendations to minimize or avoid         legislative history of the 1982                  Response—We recognize that some
adverse effects to proposed species or       amendments states— “The addition of           historic lynx habitat may no longer be
proposed critical habitat. With this final   the word ‘solely’ is intended to remove       suitable for recolonization of lynx
rule to list the lynx within the             from the process of the listing or            because of habitat changes. However,


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we do not agree that global warming or       forest planning as mechanisms to              and occupies substantial amounts of
the expansion of the bobcat range has        conserve candidate species and species        habitat on Federal lands. Furthermore,
resulted in eliminating historic habitat     at risk. We are signatories to numerous       we have identified the major threat to
from recolonization by lynx. There is no     candidate conservation agreements             lynx as the inadequacy of Federal
evidence that either the bobcat or           across the country. The Act requires us       regulatory mechanisms to provide for
mountain lion outcompete the lynx for        to consider conservation efforts by the       the long-term conservation of the
habitat and food resources (see “Factor      States and others in listing decisions.       species. Listing the lynx under the Act
E’’ of the “Summary of Factors’’             However, to conclude that a                   confers substantive protections not
section). The lynx, bobcat, and              conservation effort removes the need to       otherwise provided by State
mountain lion co-evolved in similar, yet     list a species, we must determine that        management.
spatially segregated environments. The       the conservation effort is sufficiently         We agree that the States maintain
lynx is specially adapted for deep snow      certain to be implemented and effective.      management expertise and knowledge
habitats while the bobcat and mountain          In the case of amending forest             of lynx within their boundaries,
lion are not. This special adaptation        management plans, we have specifically        particularly concerning evidence of
allows the lynx to outcompete bobcat         identified current Federal regulatory         resident populations or individuals and
and mountain lion in deep snow               mechanisms as a threat to lynx because        local snowshoe hare abundance. Much
environments. Because we have limited        of the ongoing and potential future           of the available information on lynx
understanding of lynx habitat                actions allowed by current Land and           status and threats comes from the
requirements, it is difficult to determine   Resource Management Plans. Changes            reports of State wildlife agencies. States
precisely the amount of habitat available    in land management plans to manage            have already taken significant steps
historically or currently. In the majority   these potential threats would result in a     within their jurisdiction to conserve
of the range of lynx in the contiguous       significant reduction to the current          lynx. With the exception of Oregon, all
United States, suitable habitat remains      threats facing the species and, therefore,    States within lynx range have closed
available (see “Factor A” of the             would strongly factor in future lynx          lynx trapping seasons. In some cases
“Summary of Factors” section). There is      status determinations. In the case of         they have been closed for more than 2
no evidence to support global warming        State regulatory and conservation             decades. New York and Colorado have
as a threat to the lynx.                     mechanisms, we also have identified           attempted lynx reintroduction as a
   Issue 17—Several commentors stated        that existing State programs will be          means to re-establish viable
that in lieu of listing, we should pursue    essential in lynx conservation and            populations. Long-term conservation of
candidate conservation mechanisms            recovery (see “Issue 19”).                    the lynx will not only be dependent on
that eliminate the need to list. Efforts        Issue 18—Numerous State agencies           the States continuing their respective
should be focused on landscape               believe that Federal intervention is not      conservation programs, but on Federal
planning, developing conservation            necessary to manage and protect the           agencies improving their efforts to
agreements, forest management plans          lynx and that State regulatory protection     conserve lynx and, where necessary,
and lynx conservation criteria in lieu of    is adequate. Some States hold that they       amending regulations, policies and/or
listing. A multi-species forest planning     are already doing everything they can to      practices for the conservation of the
process, incorporating not only species      protect and conserve the lynx. They           species.
but special habitats and unique              further believe that States are in a better     When a species is listed under the
biological communities, would be a           position to manage the lynx in the            Act, additional protections and
better approach, providing more              future, as they maintain the bulk of the      prohibitions are applied. These efforts
protection to lynx and other wildlife        information and management expertise          further conservation in several ways.
communities, than a single species           and that we should, as an interim step,       When a species is listed under the Act
listing under the Act. They believed that    assist the respective States and other        as either threatened or endangered, it
managing for only one species might be       Federal agencies in gathering biological      becomes illegal to “take” the species
detrimental to other species or              information and implementing                  without a permit or incidental take
communities.                                 management plans through funding or           statement from the Service. The term
   Some commentors stated that we            joint ventures. They questioned how the       “take” means to harass, harm, hunt,
failed to take into account the              Act provides for a species’ recovery.         should, wound, kill, trap, capture, or
continuing forest fragmentation and             Response—The role of the Service, as       collect, or to attempt to engage in any
increased competition brought on by          mandated by the Act, is more                  such conduct. “Harm” is further defined
road construction, excessive timber          encompassing than is the role of              to include significant habitat
harvest, off-road back country use and       individual States, or even groups of          modification or degradation that results
ski area development. They stated that       States. States are responsible for the        in death or injury to listed species by
we should implement strong standards         management of species within their            significantly impairing behavioral
to prevent excessive logging, road           boundaries and to their credit, most if       patterns, such as breeding, feeding, or
development, and other human                 not all States have implemented lynx          sheltering. “Harass” is defined as
developments in important lynx habitat.      management measures. The Service,             actions that create the likelihood of
Lynx conservation can only be achieved       pursuant to the Act, must evaluate the        injury to listed species to such an extent
at the landscape scale. They further         status of a species throughout its entire     as to significantly disrupt normal
believed that we failed to take into         range and, when determined necessary,         behavior patterns, which include but are
account the adequacy, inadequacy,            provide for its conservation and              not limited to breeding, feeding, or
political pressures, and limitations of      recovery. In the case of the lynx, this       sheltering. Federal agencies are required
current State and Forest Service             includes 14 separate States. While some       to conserve species listed under the Act
programs and questioned the role of          States may still harbor resident              and to consult with the Service on any
these existing programs for lynx as          populations of lynx, the status of lynx       actions that may affect the species.
regulatory mechanisms.                       in other States is unclear. The Service,      Furthermore, the Act requires that the
   Response—We fully support                 as a Federal agency, is responsible for       Service develop and implement a
candidate conservation mechanisms,           coordinating recovery of a species such       species recovery plan unless such a plan
landscape planning, and changes in           as the lynx that crosses State boundaries     will not promote the recovery of the


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species. When a species is considered         organizations, scientific experts, and       review in listing decisions during the
recovered, it can then be removed from        individuals. All comments received           public comment period in the following
the list of threatened and endangered         have been incorporated into the              manner—(1) Solicit the expert opinions
species.                                      administrative record for this rule and      of a minimum of three appropriate and
   Issue 19—One commentor stated that         have been reviewed and incorporated          independent specialists regarding
if the lynx were listed, restrictions         into our decision making process.            pertinent scientific and commercial data
imposed, such as limitations on                  While we recognize that there are         and assumptions relating to the
trapping, would interfere with Tribal         limitations to the Science Report and        taxonomy, population models, and
treaty rights.                                have attempted to explain these              supportive biological and ecological
   Response—We have been                      throughout this rule, we also believe        information for species under
communicating with Tribal                     that it provides a comprehensive review      consideration for listing; and (2)
governments regarding development of          of the current knowledge concerning the      Summarize in the final decision
a special 4(d] rule (see “Issue 12”) that     lynx in the contiguous United States.        document the opinions of all
would address the incidental take of          Therefore, we could not ignore it during     independent peer reviewers received on
lynx resulting from otherwise legal           our review. We have conducted an             the species under consideration.
trapping and hunting for species other        exhaustive review of the Science Report        In accordance with this policy, in a
than lynx on Tribal lands. Under              and all available literature and data on     letter dated August 21, 1998, we
Executive Order 13084 “Consultation           lynx in the United States, as well as the    solicited the expert, independent
and Coordination with Indian Tribal           extensive comments we received on the        professional opinion of six peer
Governments” (63 FR 27655, May 14,            proposed listing. Because of the wide        reviewers. We specifically asked the
1998) we are to inform and receive            range of the species, sizable list of        reviewers to address the following
input from Tribal governments of any          interested parties and time limitations,     questions—(1) Does the information
actions, such as listings under the Act,      it was not possible to convene a             referenced and described in the
that may affect Tribes and to work to         workshop of all interested parties           “Distribution and Status” section of the
resolve any conflicts. However, there are     specifically to discuss the Science          proposed rule support the Service’s
certain circumstances where we cannot         Report. However, we have been in             conclusions regarding the status of the
resolve issues to everyone’s satisfaction.    contact with specialists knowledgeable       lynx in the contiguous United States;
The Act applies to Tribal, as well as all     about lynx, hares, forest ecology and        and (2) Does the information referenced
other lands within the United States,         management, and potential lynx               and described in the “Summary of
and, therefore, the prohibitions brought      competitors to discuss various issues        Factors Affecting the Species” section of
on by the listing of a species, also apply.   about the Science Report. This also is       the proposed rule support the Service’s
There are numerous Tribes within the          part of the administrative record for this   conclusions about threats to the lynx in
range of the lynx that might be affected      finding.                                     the contiguous United States? We also
by this listing. On some Tribal lands            Issue 21—Numerous responses               requested the reviewers advise us of
lynx harvest seasons have already been        addressed and opposed a proposed             other available information that would
closed. We will continue to work with         reintroduction of lynx into Idaho.           assist us in making a final listing
Tribal governments to avoid or                   Response—We received extensive            decision.
minimize conflicts should they arise.         comment on this particular issue and           In response to our solicitation, we
   Issue 20—In response to our                are addressing it here for clarification     received two comment letters. Both
reopening of the comment period for           purposes. We have not proposed a             commentors stated that they believed
review of the Science Report we               reintroduction effort for Idaho. At this     the status and threats to the lynx were
received numerous specific comments           time, we have not proposed any               reliably documented in the proposed
on the adequacy, accuracy and                 reintroduction efforts for lynx. Past        rule. The commentors provided some
reliability of the Science Report. One        reintroduction, both in New York and in      additional information concerning an
commentor believed we should convene          Colorado, have been initiated and            ongoing survey for lynx populations and
a Blue Ribbon panel to review the             conducted by State wildlife agencies         the status of lynx in Idaho, Washington,
Science Report and make those                 because they believed the lynx had been      and Wyoming, and also commented that
deliberations part of the record. The         extirpated or extremely reduced in           our conclusion that resident
information should be shared with the         numbers in specific, historically            populations of lynx historically
States and collaborative workshops            occupied habitat. In recent years, Idaho     occurred in Massachusetts,
conducted to ensure that all information      Department of Fish and Game                  Pennsylvania, and Utah, and possibly
is thoroughly evaluated and judged            considered reintroducing lynx into the       Vermont and New Hampshire, was
fairly against standards that are             State. If during the course of recovery      problematic. This information has been
supportable.                                  planning for lynx, reintroduction are        incorporated into our discussion of the
   Response—We employed a seldom-             proposed, we would conduct extensive         status of the species. The same response
used section of the Act, section              public outreach, with public hearings        also indicated that the forest practice of
4(b)(6)(B), in extending the time frame       and comment periods, to determine the        precommercial thinning was a greater
for issuance of a final listing rule by 6     feasibility of such a project.               threat than we had indicated and felt
months. We reopened the comment                                                            that conservation of lynx across
period on the lynx proposed rule              Peer Review
                                                                                           southern Canada was important to
specifically to allow for review,               On July 1, 1994, we published a            conservation of lynx across the northern
evaluation, and comment on the Science        notice in the Federal Register               United States. These comments also
Report because there was substantial          announcing our interagency policy to         have been incorporated into our
disagreement regarding the sufficiency        clarify the role of peer review in           analyses.
and accuracy of the data relative to the      activities we undertake under authority
listing determination in the proposed         of the Act (59 FR 34270). This               Summary of Factors Affecting the
rule. We solicited comments on the            Interagency Gooperative Policy on Peer       Species
Science Report from hundreds of               Review states that it is the policy of the     Section 4 of the Act and regulations
agencies. Tribal governments.                 Service to incorporate independent peer      (50 CFR part 424) promulgated to


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implement the listing provisions of the       forest management can be benign,             stages in forests preferred by snowshoe
Act set forth the procedures for adding       beneficial, or detrimental to lynx           hares (Monthey 1986; Quinn and Parker
species to the Federal lists. A species       depending on harvest methods, spatial        1987; Koehler 1990; Koehler and Brittell
may be determined to be an endangered         and temporal specifications, and the         1990; Washington Department of
or threatened species due to one or more      inherent vegetation potential of the site.   Wildlife 1993; McKelvey et al. 1999c).
of the five factors described in section         For example, intensive tree harvesting    Lynx can readily move across
4(aKl). These factors and their               (large-scale clearcutting) can eliminate     landscapes fragmented by commercial
application to the Canada lynx {Lynx          the mosaic of habitats and mix of forest     forestry (Squires and Laurion 1999).
canadensis) are discussed below.              stand age classes that promote lynx          Larger openings can often more closely
                                              survival, including late successional        resemble vegetative patterns that follow
Factor A. The Present or Threatened           serai stages that support lynx denning       natural disturbance events, and decrease
Destruction, Modification, or                 and red squirrel habitat, and early          amounts of edge favorable to generalist
Curtailment of Its Habitat or Range           successional snowshoe hare habitat. The      predators (McKelvey ef al. 1999c).
   Factors affecting lynx habitat include     response of lynx populations to                 Natural fire has an important role in
human alteration of the distribution and      particular vegetative mosaics is             forest ecology in some forest types in
abundance, species composition,               unknown. However, timber harvest can         the United States. During the early 20th
successional stages, and connectivity of      result in reduced cover, unusable forest     century. Federal and State agencies in
forests, and the resulting changes in the     openings, and large monotypic stands         the contiguous United States enacted a
forest’s capacity to sustain lynx             with sparse understories that are            policy of suppressing forest fires. The
populations. People change forests            unfavorable for lynx and snowshoe            effects of fire suppression, as well as
through timber harvest, fire suppression      hare, the primary lynx prey (Brittell ef     timber harvest, on lynx habitat vary
and conversion of forest lands to             al. 1989; de Vos and Matel 1952; Harger      among the geographic regions (Agee
agriculture. Forest fragmentation may         1965; Hatler 1988; Koehler 1990; K.          1999) and will be discussed separately
eventually become severe enough to            Gustafson, pers. comm. 1994; J. Lanier,      below for western and eastern regions.
isolate habitat into small patches,           pers. comm. 1994). Some studies                 McKelvey ef al. (1999b) used lynx
thereby reducing the viability of wildlife    indicate that lynx avoid openings such       occurrence data to describe lynx
that are dependent on larger areas of         as clear-cut, unforested areas, and          distribution patterns and habitat
forest habitat (Litvaitis and Harrison        grasslands (Koehler etal. 1979; Koehler      associations. The primary vegetation
1989).                                        and Brittell 1990; Murray et al. 1994).      classes encompassing the majority of
   Since the publication of the proposed      Snowshoe hares also are unlikely to use      lynx occurrences in the West were
rule, we received new information             such areas because of the lack of cover      Rocky Mountain Conifer and Pacific
related specifically to lynx—habitat          (Koehler et al. 1979; Koehler and Aubry      Northwest Conifer, including Douglas-
associations (McKelvey et al. 1999b;          1994; H. Golden, Alaska Department of        fir and western spruce/fir and fir/
United States Forest Service and Bureau       Fish and Game, pers. comm. 1994).            hemlock. In the Great Lakes, the
of Land Management 1999), the                 Mechanical thinning of densely stocked       primary vegetation class was Mixed
distribution and ownership of lynx            young stands to promote vigorous             Deciduous-Coniferous, and in the
forest types as well as the amount of         growth of fewer trees can reduce the         Northeast, Mixed Forest-Coniferous
habitat in specific Federal land              stem densities required to support high      Forest-Tundra. These broad vegetation
allocations (United States Forest Service     numbers of snowshoe hare (United             classes include areas that because of
and Bureau of Land Management 1999),          States Forest Service ef al. 1999a).         elevation or other physical factors are
the types and effects of different forest     Reductions in cone-bearing mature and        not considered lynx habitat and cannot
management practices (United States           older forests can result in decreases in     easily be deleted from the data.
Forest Service et al. 1999), the effects of   habitat for red squirrel, an important       Therefore, accurate assessments of the
fire suppression (Agee 1999), and some        alternate lynx prey (Koehler 1990;           total amount of lynx habitat within
probable implications of forest               O’Donoghue 1997; Apps 1999; Mowat ef         these regions is not possible. However,
management practices on lynx forest           al. 1999).                                   we assume that the areas encompassed
types (McKelvey ef al. 1999d).                   Forestry practices can be beneficial      within these vegetation classes contain
   New information suggests that lynx in      when the resulting understory stem           the majority of lynx habitat types in the
the contiguous United States occur at         densities and structure meet the forage      regions. We also assume that pockets of
naturally low densities. Lynx are             and cover needs of snowshoe hare             lynx habitat may occur outside these
limited to moist, cool boreal forests that    (Keith and Surrendi 1971; Fox 1978;          broad vegetation classes. With these
support some minimum density of               Gonroy et al 1979; Wolff 1980; Parker et     assumptions in mind, where our
snowshoe hares, where winters are             al. 1983; Litvaitis etal. 1985; Monthey      discussion is based on lynx/habitat
snowy (Ruggerio etal. 1999b).                 1986; Bailey et al. 1986; Koehler 1990;      associations as reported in McKelvey ef
Snowshoe hares in the contiguous              McKelvey ef al. 1999d). Hodges (1999a,       al. (1999b), we shall refer to the
United States occur at low levels             1999b) illustrated that snowshoe hare        landscapes characterized by these broad
compared to northern reaches of their         densities are highest in regenerating        vegetation classes as lynx forest types.
range in Canada and Alaska (Hodges            stands with very high stem densities.
1999a, 1999b). Two important human            Regeneration harvest can be used to          Northern Rockies/Cascades and
influences on snowshoe hare habitat are       create high quality snowshoe hare            Southern Rockies
timber harvest and fire suppression;          habitat, especially where natural               In the western regions, most lynx
however, our knowledge of how lynx            regeneration would be expected to            forest types occurs on Federal lands. Of
populations respond to these specific         provide dense young vegetation.              all western forest types, the western
impacts is limited.                           Although large openings may initially        boreal forests (subalpine fir/spruce
   In all regions of the lynx range in the    be underused by snowshoe hare and            forests which provide lynx habitat) have
contiguous United States, timber harvest      lynx, regeneration harvest units in          the highest proportion of reserved land,
and its related activities are a              appropriate habitat types eventually (in     largely because they are primarily in
predominant land use affecting lynx           15 years or more depending on the type       public ownership and are the least
habitat. Timber harvest and associated        of forest) achieve early successional        productive timberland, making land use


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trade-offs between preservation and         of lynx in this area is restricted and       successional vegetation created by
extraction less controversial than for      characterized by patchiness and/or areas     timber harvest in lynx forest types on
other public lands [Agee 1999). Human       of low abundance. There is opportunity       western Federal lands over the past
land use that changed areas of forest       for subpopulations in most of the            decade. This likely reduced snowshoe
land, disturbance patterns, and             specie’s range in this area to interact as   hare habitat quality at local scales,
dominant tree species is much less          a metapopulation; however, some              adversely affecting individual lynx.
prevalent in the West than in the Great     subpopulations are essentially isolated.     However, considering the overall
Lakes or Northeast boreal forest (Agee        At finer scales of analysis, the Forest    proportions of lynx forest types affected,
1999). Broad-scale habitat assessments      Service and BLM concluded that many          timber harvest and precommercial
generally support these conclusions.        Forest and BLM administrative units          thinning on Federal lands are not
   Large amounts of lynx forest types       have land and resource management            currently conducted, nor are they likely
occur on Federal lands, within both         plans that may adversely affect lynx due     in the projected future to be conducted,
developmental and nondevelopmental          to timber harvest activities (United         at levels likely to impact lynx at the
allocations within the western regions.     States Forest Service ef al. 1999; United    population level.
Lands in developmental allocations are      States Forest Service and Bureau of             However, the Northern Rockies
managed for multiple uses, such as          Land Management 1999). These plans           encompass more privately owned lynx
recreation and timber harvest. Lands        may affect individual lynx or local lynx     forest types than elsewhere in the West.
within nondevelopmental allocations         populations primarily in the                 Almost one-third of lynx forest types are
are to be managed to allow natural          developmental allocation areas of the        in private ownership. Although we lack
ecological processes to dominate            Northern Rockies/Cascades and                specific information, large portions of
(United States Forest Service and           Southern Rockies regions, although the       this habitat likely occur on privately
Bureau of Land Management 1999).            assessment did not quantify the level of     owned corporate timber lands where
Nondevelopmental lands contain large        impact.                                      timber harvest and thinning occurs.
portions of wilderness or other natural        Since publication of the proposed         There are no data available on these
areas (D. Prevedal, United States Forest    rule, we have received information           private lands which would allow us to
Service, in litt. 1999). Timber harvest     related to past and projected timber         make a conclusion concerning the
and construction of roads typically do      harvest levels and precommercial             quality of lynx and snowshoe hare
not occur or are very limited in lands      thinning activities on Federal lands in      habitat. However, there is a potential for
managed in nondevelopmental                 the West. Timber harvest levels on           current and future management of these
allocations. Large proportions of Federal   Federal lands in the West have declined      lands to adversely affect lynx.
lands in each of the western regions are    consistently and dramatically                   Most lynx forest types in the West
managed under nondevelopmental              (approximately 80 percent) over the past     occur on Federal lands, and large
allocations. In an assessment of the        decade or longer (R. Gay, United States      Federal acreage of this habitat in the
Columbia River Basin of eastern             Forest Service, in litt. 1999). Timber       Northern Rockies/Cascades and
Washington and Oregon, Idaho, and           harvest in specific lynx forest types also   Southern Rockies are managed in
western Montana, more than 35 percent       has concurrently declined in the             nondevelopmental status, where timber
of cold forest types encompassing           Northern Rockies (B. Ballenbacher,           harvest activities and precommercial
subalpine fir/spruce habitats, were in      United States Forest Service, in litt.       thinning generally do not occur.
designated wilderness, wilderness study     1999; B. Ferguson, United States Forest      Nondevelopmental allocations on
areas, or other administrative natural      Service, pers. comm. 1999) and               Federal lands require that natural
areas (United States Department of          Cascades (Fred Zenson, United States         ecological processes play a dominant
Agriculture and United States               Forest Service, pers. comm. 1999), and       role in the landscape (United States
Department of the Interior 1997).           the Southern Rockies (B. Short, United       Forest Service and Bureau of Land
   Raphael ef al. (1999) developed a        States Forest Service, in litt. 1999).       Management 1999), as opposed to
broad-scale landscape model for lynx           The Forest Service’s projected need       developmental lands, which are
that assessed conditions across the         for future precommercial thinning on         managed for multiple uses, such as
Columbia River Basin. The model was         Forest Service lands over the next           recreation and timber harvest.
based on the changes from historic to       decade in the Northern Rockies,                 Large portions of nondevelopmental
current amounts of habitat, landscape       Cascades, and Southern Rockies will          lands occur in the Northern Rockies and
mosaics, disturbance regimes,               affect less than approximately 1-4           Cascades regions, which encompass
vegetation structures, road densities,      percent of primary lynx forest types         most of the lynx forest types in
and human population. The model             within each of these regions (B.             Wyoming, Utah, Montana, Idaho,
produced two outcomes, a habitat            Ballenbacher, United States Forest           Oregon, and Washington. We recognize
outcome and a population outcome. We        Service, in litt. 1999; B. Ferguson,         the importance of wildlands and
acknowledge that such coarse-scale          United States Forest Service, pers.          nondevelopmental lands in the
analyses may not reflect finer-scale        comm. 1999; B. Short, in litt. 1999; F.      Northern Rockies/Cascades Region to
environmental requirements that             Zenson, United States Forest Service,        provide lynx habitat that is buffered
potentially account for a large amount of   pers. comm. 1999). Past thinning and         from many human impacts, creating the
variation in lynx demographics.             timber harvest impacted similarly low        most likely stronghold for lynx
Preliminary results of the model suggest    proportions of lynx forest types on          populations in the contiguous U.S.
that lynx habitat is broadly distributed    Federal lands in the Northern Rockies           In the Northern Rockies, nearly 50
and of high abundance (relative to          (B. Ballenbacher, in litt. 1999; B.          percent of the 35 million acres of lynx
historic conditions) across the historic    Ferguson, pers. comm. 1999), Cascades        forest types is in nondevelopmental
range of the species in the Columbia        (F. Zenson, pers. comm. 1999) and the        allocations on Forest Service lands or
River Basin, and provides opportunity       Southern Rockies (B. Short, in litt.         occurs in National Parks. In the
for intraspecific interactions for the      1999). Precommercial thinning has            Northern Rockies, 67 percent of the lynx
species (Raphael et al. 1999). The          occurred in approximately one-fifth (B.      forest types are managed by the Forest
model’s population outcome for lynx         Ballenbacher, in litt. 1999) to one-half     Service, 5 percent by the BLM, and 28
suggests that the potential distribution    (B. Short, in litt. 1999) of the early       percent are in other ownerships (see


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“Table 1”). The Forest Service and BLM                                       within wilderness or scenic river                          Prevedal, in Utt. 1999). However, the 43
manage over 24 million acres of lynx                                         designations (D. Prevedal, in Utt. 1999),                  percent of federally managed lynx forest
forest types. Of federally managed lynx                                      both of which provide restrictions on                      types that are in developmental status
forest types, 57 percent (roughly 14                                         land use beneficial to lynx. Additional                    are managed for multiple uses that may,
million acres) lies within areas with                                        large tracts of lynx forest types occur in                 on local scales, conflict with lynx
nondevelopmental status. Sixty-seven                                         Glacier (735,310 acres) and Yellowstone                    conservation.
percent of this 14 million acres lie                                         (1,910,590 acres) National Parks (D.
Table 1.—Amount of Lynx Forest Types in Geographic Regions in the Contiguous U.S., Amount of Lynx
    Forest Types (LFT) on Forest Service (FS) and Bureau of Land Management (BLM) Lands, and Federal
    Land Allocations in Lynx Forest Types (Data From U.S. Forest Service and Bureau of Land Manage­
    ment 1999)

                                                                                                                                                             Percent
                                                                                                                                   Total acres                           Percent all
                                                                                                                                                             FS/BLM
                                                                                                       Total acres   Total acres    FS/BLM       Percent                  LFT in
                                                                                                                                                              LFT in
                                   Geographic region                                                     LFT, all      LFT on       LFT non­     LFT on                  nondevel­
                                                                                                                                                            nondevel­
                                                                                                       ownerships     FS/BLM       developed     FS/BLM                  oped allo­
                                                                                                                                                            oped allo­
                                                                                                                                   allocations                            cations
                                                                                                                                                             cations

Cascades ...........................................................................................        4.2 M         4.1 M         3.6 M          99           87           85
Northern Rockies ..............................................................................            34.3 M        24.8 M        14.1 M          72           57           41
Southern Rockies..............................................................................              6.5 M         5.3 M         1.4 M          82           25           23



  The Cascades and Southern Rockies                                          cumulative total of 56 percent of Forest                   Apps 1999; Squires and Laurion 1999;
regions encompass substantively                                              Service and BLM lands is managed in                        J. Organ, U.S. Fish and Wildlife Service,
smaller proportions of lynx forest types.                                    nondevelopmental status, comprising                        pers. comm. 1999). Lynx occurrence
In the Cascades Region, 99 percent of                                        over 40 percent of lynx forest types,                      records provide evidence that lynx
lynx forest types are managed by the                                         allowing for 44 percent to be managed                      continue to be broadly distributed
Forest Service, less than 1 percent by                                       for multiple uses which may conflict                       throughout lynx forest types in the
the BLM, and less than 1 percent is in                                       with lynx conservation. National Parks                     Northern Rockies/Cascades and
other ownerships (see “Table 1”). The                                        in the western regions add several                         Southern Rockies (McKelvey et al.
Forest Service and BLM manage                                                million acres of lynx forest types in                      1999b), both inside and outside of the
approximately 4 million acres of lynx                                        more or less undeveloped status.                           nondevelopmental allocation areas
forest types. Of federally managed lynx                                        We conclude that timber harvest                          within the last decade (U.S. Forest
forest types, 87 percent (3.5 million                                        activities and precommercial thinning                      Service and Bureau of Land
acres) lies within areas with                                                may reduce the quality of snowshoe                         Management 1999).
nondevelopmental allocations and 13                                          hare habitat and red squirrel habitat in                      Because of the preponderance of lynx
percent occur in areas of developmental                                      local areas of the Northern Rockies/                       forest types on Forest Service, BLM, and
status, where multiple use management                                        Cascades and Southern Rockies, and                         National Park system lands. Federal
occurs. Ninety percent of this 3.5                                           thus may negatively affect lynx at local                   land management assumes the largest
million acres is in wilderness or in key                                     scales. Furthermore, the large                             single role in the conservation of lynx
watersheds under the Pacific Northwest                                       percentage of Federal lands in                             in western portions of its range. We
Forest Plan, and the remaining 10                                            developmental status and managed for                       believe that the large amounts of lynx
percent is in matrix lands including late                                    multiple use may, on local scales,                         forest types managed in
successional reserves, which allows                                          conflict with lynx conservation.                           nondevelopmental allocations,
limited timber harvest such as salvage                                       However, based on the large proportion                     especially in designated wilderness
harvest (D. Prevedal, in Utt. 1999). In                                      of lynx forest types managed in                            areas, protects lynx in the Northern
Washington and Oregon, the National                                          nondevelopmental status compared to                        Rockies/Cascades and Southern Rockies
Park Service manages an additional                                           the proportion of managed lynx forest                      and contributes to the likelihood of
200,000 acres of lynx forest types (D.                                       types affected, current regional effects of                persistence of lynx into the future. The
Prevedal, in Utt. 1999).                                                     timber harvest and thinning appear to                      forests upon which lynx depend have
  In the Southern Rockies, 76 percent of                                     occur at levels that are not likely                        had less timber harvest, road
the lynx forest types are managed by the                                     threatening the Northern Rockies/                          construction, and have been modified
Forest Service, about 5 percent by the                                       Cascades and Southern Rockies lynx                         much less than other drier forests (U.S.
BLM, and 19 percent is in other                                              populations.                                               Forest Service and Bureau of Land
ownerships (see “Table 1’’). Federally                                          Federal land management in                              Management 1997). In addition,
managed lynx forest types amount to                                          developmental allocations often                            significant portions of these forests are
over 5 million acres. Of the federally                                       maintains conditions suitable for lynx,                    within areas that do not have roads and
managed lynx forest types, only 25                                           and these lands constitute important                       have habitat that has been classified as
percent (1.4 million acres) lies within                                      landscapes providing regional                              wilderness. Natural fires are more likely
areas with nondevelopmental status                                           connectivity. Construction of roads,                       allowed to burn in wilderness or areas
while the other 75 percent are in                                            timber harvest, and fire suppression                       without roads, which helps retain
developmental status and are managed                                         occur in developmental allocations.                        diversity in structural stages and create
for multiple uses that may, on local                                         However, recent studies of lynx have                       habitat mosaics in forests for the future.
scales, conflict with lynx conservation.                                     documented lynx presence and                               Also, in the Northern Rockies/Cascades
  Considering the Northern Rockies,                                          reproduction in a variety of managed                       Region there are strong habitat
Cascades and Southern Rockies, a                                             landscapes (Koehler 1990; Staples 1995;                    connections to lynx populations in


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Canada. The Northern Rockies/Cascades        of the wilderness areas also have              the Cascades, fire return intervals in
Region has the highest potential for         completed similar fire plans, with the         many lynx forest types are very long,
maintaining a viable lynx population         remaining plans close to completion (B.        200-500 years (Agee 1999). Mixed-
within the DPS, based upon the large         Noblit, U.S. Forest Service, in litt. 1999).   severity fire regimes were not common;
amount of lynx forest types, the large       Glacier and Yellowstone National Parks         therefore, fire suppression is not a factor
portions of habitat in nondevelopmental      allow natural fires to burn under many         limiting lynx in the Cascades. In the
management, and strong regional              conditions. In the Cascades, two of three      Northern and Southern Rockies, fire
connections to lynx forest types and         wilderness areas have fire management          intervals also are long and fire regimes
lynx populations in Canada.                  plans in place (B. Naney, U.S. Forest          are typically intense (Agee 1999). Where
   Natural fire has an important role in     Service, Okanogan, pers. comm. 1999).          mixed-severity fire regimes occur in the
forest ecology in western mountain           Further, the 1994 Federal Wildland Fire        Northern and Southern Rockies, lynx
ranges of the United States. Some            Policy directs the Department of the           habitat quality may be affected at some
researchers believe that fire suppression    Interior and the Department of                 local scales, especially outside of
during the past 50 years has allowed         Agriculture to use a full range of             wilderness areas, resulting in adverse
certain forest types to mature, thereby      potential responses to fire, from full         effects to individual lynx. However,
reducing habitat suitability for             suppression to allowing more fires to          considering a larger scale, the current
snowshoe hares and Canada lynx               burn large areas thereby allowing fires        effects of fire suppression alone are not
(Brittell et al. 1989; Fox 1978; Koehler     to assume a larger role in maintaining         threatening the Northern Rockies/
1990; Washington Department of               forest health in the future (B. Meuchel,       Cascades and Southern Rockies lynx at
Wildlife 1993; T. Bailey, U.S. Fish and      pers. comm. 1999; D. Milburn, pers.            the population level at this time.
Wildlife Service, in litt. 1994; W. Hann,    comm. 1999). However, natural fire                While recent studies of lynx have
U.S. Forest Service, in litt. 1999).         regimes are not necessarily restored           documented lynx presence and
   However, others argue that fire           because prescriptive criteria to manage        reproduction in a variety of managed
suppression is most likely affecting lynx    these natural wildland fires remain            landscapes (Koehler 1990; Staples 1995;
habitat in areas where the historical        conservative.                                  Apps 1999; Squires and Laurion 1999;
frequency of fires is shorter than the          Currently, outside large wilderness         J. Organ, U.S. Fish and Wildlife Service,
length of time fires have been               areas in all western regions, most fires       pers. comm. 1999), we remain
suppressed (P. Stickney, U.S. Forest         are suppressed. Most fires (98 percent)        concerned about the maintenance of
Service, pers. comm. 1994; Agee 1999).       are successfully extinguished when             lynx habitat conditions, especially since
Fire suppression in areas with a history     small and only a small proportion of           a large percentage of lands managed by
of infrequent fire has probably not had      fires burn large areas (B. Meuchel, U.S.       the Forest Service and BLM are in
much impact (Habeck 1985; Agee 1993).        Forest Service, pers. comm. 1999; D.           developable status and allow programs,
In the western boreal forest zone, long      Milburn, U.S. Forest Service, pers.            practices and activities that may impact
natural fire return intervals (150-300       comm. 1999). Fires are extinguished            lynx and their primary prey, snowshoe
years) signify that removal of fire has      largely due to costs, firefighter safety,      hare. Lynx occur naturally at very low
not been as significant as in the West       local human safety and property                densities in the contiguous United
with lower-severity fire regimes and         concerns. The majority of these fires          States (see “Background” section). It is
return intervals (30-90 years), even         occur outside lynx forest types at lower       imperative that snowshoe hare and
though fire suppression has been in          elevations in drier forests. However,          alternate prey populations be supported
effect for much of this century (Agee        fires igniting in the lynx forest types        by habitat on Federal lands into the
1993, Agee 1998 in Agee 1999). More          outside, and some fires inside,                future, to ensure the persistence of lynx
frequent fires of lower intensity do         wilderness are suppressed, which can           in the contiguous United States.
occur in some boreal forest types (W.        reduce the amount of early serai forests       Substantive declines in prey species,
Hann, in litt. 1999), although they          compared to natural conditions and/or          especially snowshoe hare, may result in
typically comprise a small proportion of     change species composition and                 a prey base insufficient to support lynx
the total area burned (Agee 1999). In        structural components of forests (W.           populations. Therefore, amendment of
forests with high-severity fire regimes, a   Hann, in litt. 1999). The total area that      Forest Plans to provide protection for
number of smaller fires burn a small         would have burned had such fires been          lynx and lynx habitat is needed to
proportion of the forests, while fewer       allowed to burn is likely not substantive      conserve habitat for lynx and its prey on
larger fires account for most of the area    when compared to the proportion of the         Federal forest lands. Without such
burned (McKelvey and Busse 1996 in           landscape burned by the large, high-           amendments, the species is threatened.
McKelvey et al. 1999d; Agee 1999).           intensity fires typical of lynx forest
Lynx forest types in the West include a                                                     Northeast
                                             types. However, the resulting pattern of
preponderance of forest types with long      vegetation mosaic and the mix of stand           In the Northeast Region, softwoods
natural fire return intervals and high-      age classes may be altered, as the large       that provided Canada lynx habitat were
fire intensity (S. Arno, U.S. Forest         fires may burn areas more uniformly            logged extensively during the late 1800s
Service, in litt. 1998; Agee 1999), which    due to lack of fire breaks that would          and early 1900s (Jackson 1961; Barbour
suggests that removal of fire in lynx        have been created by past, smaller fires       et al. 1980; Belcher 1980; Irland 1982).
forest types has not been as significant     (D. Milburn, pers. comm. 1999). Other          Over a short time period, timber
as in the lower-severity fire regimes of     natural processes such as insects,             extraction during this era resulted in the
the West (Agee 1998 in Agee 1999).           disease, and wind-throw also can play          replacement of late-successional conifer
   In the Northern Rockies, most of the      a role in affecting the vegetation             forest with extensive tracts of very early
wilderness areas in Montana and Idaho        mosaics.                                       successional habitat, which eliminated
have fire management plans that affect          Based on available information on fire      cover for lynx and hare (Jackson 1961;
more than 5 million acres that allow         suppression and upon available habitat         Keener 1971). In the Northeast Region,
naturally caused fires to burn during        assessments, we conclude that at the           slash, accumulated during logging
certain periods and in certain areas (N.     present time, fire suppression effects are     operations, fueled wildfires that burned
Warren, U.S. Forest Service, in litt.        less evident in lynx forest types than in      vast acreage of softwood forest (Belcher
1999). In Wyoming and Utah, one-third        many other forest types in the West. In        1980; J. Lanier, pers. comm. 1994). This


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sudden alteration of habitat may have        on lynx on a landscape scale are not         events that created early successional
resulted in sharp declines in snowshoe       known.                                       habitats. While current fire suppression
hare numbers over large areas,                  Forested habitat in the Northeast has     on public and private lands may have
subsequently reducing lynx numbers           increased because of land-use changes        localized effects, it is not likely affecting
(Jackson 1961; Keener 1971; K.               during the past century (Irland 1982;        overall lynx forest types in the
Gustafson, pers. comm. 1994; J. Lanier,      Litvaitis 1993), including the               Northeast. We conclude that fire
pers. comm. 1994).                           abandonment of agriculture in many           suppression in the Northeast does not
   The impacts of the logging conducted      areas. In some areas there may be a          threaten lynx subpopulations there.
in the Northeast Region during the late      gradual upward trend in the coniferous         We conclude that most lynx forest
1800s continue to affect lynx forest         component as spruce and fir regenerate       types are in private. State, or county
types. In Maine, softwood cover and          beneath hardwood species (D. Degraff,        ownership in the Northeast. Timber
dense sapling growth provided                pers. comm. 1994). Several of the            harvest and associated activities exert
improved snowshoe hare habitat after         northeastern States support adequate, if     the most influence on lynx forest types
timber harvest and fires in late             not abundant, snowshoe hare                  in the Northeast, although the extent of
successional forests (Monthey 1986).         populations (G. Grove, Green Mountain        influence of current forest practices on
However, in the western sections of the      National Forest, pers. comm. 1994; F.        lynx is not known.
Northeast Region, extensive tracts of        Hurley, in litt. 1994; J. Lanier, pers.
                                                                                          Great Lakes
predominantly softwood forests that          comm. 1994).
                                                In 1990, the Forest Service published       In the Great Lakes Region, as in the
were harvested and burned-over during
                                             a report that examined the Northern          Northeast, softwood forests were logged
the late 1800s and early 1900s were
                                             Forest Lands in New York, Vermont,           extensively during the late 1800s and
subsequently replaced with regenerating
                                             New Hampshire, and Maine (Harper et          early 1900s (Jackson 1961; Barbour ef al.
hardwoods (D. Degraff, pers. comm.                                                        1980; Belcher 1980; Irland 1982) and
                                             al. 1990). Eighty-four percent of
1994; J. Lanier, pers. comm. 1994).                                                       over a short period resulted in the
                                             northern forest lands in the region are
Hardwood forests do not typically                                                         replacement of late-successional conifer
                                             currently privately owned and 16
supply adequate cover for snowshoe                                                        forest with extensive tracts of very early
                                             percent are in public ownership.
hares (Monthey 1986). For a period of                                                     successional habitat, which eliminated
                                             According to another analysis, the
time, this extensive area would have                                                      cover for lynx and hare (Jackson 1961;
                                             Forest Service manages only 7 percent
provided the early successional habitat                                                   Keener 1971). Coniferous forests also
                                             of lynx forest types in the Northeast, of
used by snowshoe hare. However, such                                                      were cleared for agriculture during this
                                             which 23 percent is managed in
extensive tracts may not have provided                                                    period in the Great Lakes.
                                             nondevelopmental status (U.S. Forest
a suitable mosaic of forest habitats and     Service and Bureau of Land                     In the Great Lakes Region, the Forest
as succession progressed, these large                                                     Service manages about 19 percent of the
                                             Management 1999). Federal land
tracts eventually became unsuitable for      management will have minimal effect          area within which lynx forest types
both snowshoe hare and lynx. Declines        on the persistence of lynx in the            occur, of which 40 percent is managed
in snowshoe hare habitat may have            Northeast, due to the small amount of        in nondevelopmental status (U.S. Forest
occurred during the 1940s and 1950s as       lynx forest types managed by the Forest      Service and Bureau of Land
a result of large-scale forest maturation    Service.                                     Management 1999). The remaining 80
(Litvaitis ef al. 1991).                        Commercial forestry continues to be       percent of the area encompassing lynx
   In Maine, large tracts of forest (some    the dominant land use on 60 percent of       forest types in the Great Lakes is in
as large as 36-square mile townships)        the private lands in northeastern forests.   State, county, or Tribal lands, or is
were harvested in the 1960s to reduce        The rapid pace of subdivision for            privately owned. Public or Tribal
the incidence of spruce budworm.             recreational home sites has been             ownership accounts for 41 percent of all
During early successional stages, these      identified as a concern in maintaining       lynx forest types in the region (J. Wright,
forests may provide high quality hare        the integrity of Northeast forests (Harper   in litt. 1999 in U.S. Forest Service et al.
habitat. However, these large tracts         et al. 1990), though this is not currently   1999).
create a simplified, monotypic forest        posing a significant threat to lynx. At        Timber harvest levels on Federal
over large areas, not a mosaic of forest     higher elevations and northern latitudes     lands in the Great Lakes have declined
stands. Passage of the State Forestry        in the Northeast, red spruce and balsam      by approximately 20 percent over the
Practices Act has required clear-cut size    fir are important components of              past decade (R. Gay, U.S. Forest Service,
to be substantially reduced. The Maine       snowshoe hare habitat. Declines in red       in litt. 1999). While specific information
Department of Conservation recently          spruce forests have been documented,         on timber harvest levels or pulpwood
analyzed Statewide timber production         and drought, acid deposition, and other      production on non-Federal lands in the
on Maine’s 17 million acres of forest        human-generated pollutants have been         Great Lakes was not available, timber
land (Gadzik et al. 1998). The report        suggested as principal causes (Scott ef      harvest is generally prevalent on these
indicated 25 percent of the forest was in    al. 1984). Historic declines in some         lands. Past habitat fragmentation likely
seedling/sapling stages, which likely        forest types may have contributed to         occurred from forestry management
includes quality snowshoe hare habitat.      reducing the quality of lynx habitat in      programs, agricultural conversions,
However, the report concludes that           the Northeast. Current lynx research in      residential development and highways.
increasing the number of acres under         Maine is contributing to our knowledge       As in the Northeast, regenerating forests
high-yield silvicultural practices, which    about lynx habitat use in the Northeast      now occupy abandoned farmlands in
will likely include precommercial            (J. Organ, pers. comm. 1999).                northern portions of the Great Lakes.
thinning, to a cumulative total of 9            In Northeast forests, fire return         However, mixed conifer/hardwood
percent of Maine’s forest land by the        intervals are very long, due to the moist    stands are often replaced by pure
year 2015 is necessary to sustain the        maritime influence (Agee 1999). Thus,        deciduous serai stands, which have
current timber harvest levels into the       fire did not historically play a             been maintained in deciduous stages in
future. Such high-yield techniques may       significant role in creating early           recent years because of the importance
temporarily reduce snowshoe hare             successional habitats. Insect infestations   of aspen as a crop tree (Agee 1999). In
habitat quality, but the long-term effects   and wind were the primary disturbance        the East, hare densities were higher in


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coniferous forests than deciduous            Plans (see “Factor D” of the “Summary          with Hudson Bay Company’s going out
(Litvaitis et al. 1985; Fuller and Heisey    of Factors” section). This lack of             of business and Provinces starting to
1986). On managed timber lands in all        guidance allows the potential for future       maintain harvest records; we surmise
ownerships, the maintenance of aspen         degradation of lynx habitat on Federal         that the lower harvests are, at least in
serai components to produce pulpwood         lands through timber management and            part, more likely an artifact of changes
precludes the establishment of               other Federal activities (see “Factor D”       in recordkeeping.
coniferous forest types, which in turn       of the “Summary of Factors” section).             Human-induced mortality was
likely diminishes snowshoe hare habitat                                                     generally believed to be the most
                                             Factor B. Overutilization for                  significant source of lynx mortality
quality, adversely impacting lynx.
   In the Great Lakes, natural fire          Commercial, Recreational, Scientific, or       (Ward and Krebs 1985). Trapping
regimes are frequent and intense (Agee       Education Purposes                             mortality was considered to be entirely
1999). Fire suppression in the Great            One of the primary reasons we               additive (i.e., in addition to natural
Lakes area has changed the dominant          proposed to list lynx, based on available      mortality) rather than compensatory
successional pathways, perhaps               information at the time, was our               (taking the place of natural mortality)
permanently (Agee 1999). However, in         conclusion that the low numbers of lynx        (Brand and Keith 1979). However,
the northeastern portion of Minnesota        in the contiguous United States and            Canadian researchers determined that
fires are allowed to burn in the             southern Canada were the residual              natural mortality during the declining
Boundary Waters Ganoe Area. This             effects of overtrapping that was believed      phase of the lynx cycle is high;
portion of the Great Lakes Region may        to have occurred in the 1970s and              therefore, trapping mortality during
provide the highest quality lynx habitat,    1980s, in response to unprecedented            some portions of the cyclic decline may
as the largely coniferous forests here       high pelt prices, a concern that was           compensate for natural mortality (Hatler
more closely resemble the northern           widely shared (Brand and Keith 1979;           1988; Poole 1994; Slough and Mowat
boreal forests of Canada than do the         Todd 1985; Bailey et al. 1986; Hatler          1996; Poole 1997; Mowat et al. 1999).
transitional coniferous/deciduous            1988; Washington Department of                 Therefore, we recognize that trapping of
forests to the south. On other Federal       Wildlife 1993).                                lynx can be both additive and
lands in the Great Lakes, fire                  Since the publication of the proposed       compensatory, depending on when it
suppression policies are such that fire is   rule, we have received substantive new         occurs in the cycle.
unlikely to assume its natural role in       information related to relative numbers           From the mid-1970s until the late
creating a mosaic of vegetation              of lynx in the northern and southern           1980s, prices of lynx pelts were at
communities and age classes across the       portions of its range. We now                  record highs throughout the United
landscape. Escaped fires and other           understand that lynx in the contiguous         States and Canada (Todd 1985; Hatler
natural processes such as insects,           United States always existed at low            1988; Hash 1990). In Montana, the 1974
disease, and wind throw maintain             densities, comparable to lynx                  average pelt price was $63; by 1978 the
natural mosaics to some degree. Lynx         populations of the northern boreal forest      average price increased over 500 percent
foraging habitat is likely to be             during cyclic lows (Aubry et al. 1999)         to $348 (B. Giddings, in litt. 1994). Lynx
maintained at levels less than would be      (see “Background” and “Distribution            pelt prices peaked in the mid-1980s at
provided under natural disturbance           and Status” sections). These low               nearly $500 per pelt and remained
regimes. Fire suppression is likely          densities of lynx do not appear to be the      above $200 per pelt for 12 years until
reducing the quality of lynx habitat in      result of declining population trends.         1989 (B. Giddings, in litt. 1994).
the Great Lakes.                             Rather, lynx are relatively rare in the           In response to declining harvests in
   Most lynx forest types are in private.    contiguous United States because of            the late 1970s and 1980s, Washington,
State, or county ownership in the Great      habitats that are inherently unable to         Montana, Minnesota, Alberta, British
Lakes and timber harvest is prevalent on     support cyclic, high-density snowshoe          Columbia, Manitoba, Ontario, Quebec,
these lands. We conclude that timber         hare populations and are thus unable to        and Alaska severely restricted or closed
harvest and fire suppression may be          sustain cyclic, high-density lynx              their lynx harvest seasons because of
impacting lynx and prey habitat in the       populations.                                   concern that lynx populations had been
Great Lakes Region.                             Trapping records are the best, long­        overexploited (Bailey et al. 1986; Hatler
   However, we further conclude that         term lynx data available. Harvest returns      1988; Hash 1990; Washington
timber harvest and fire suppression may      are generally indicative of, but do not        Department of Wildlife 1993; S. Conn,
have regional or local impacts but do        represent, real population changes             in litt. 1990; M. DonCarlos, in litt. 1994;
not currently threaten the contiguous        because of the number of factors that          B. Giddings, in litt. 1994; R. McFetridge,
United States population. Considering        influence trapper effort and success,          Alberta Environmental Protection, in
the entire United States distinct            such as changes in socioeconomic               litt. 1994; I. McKay, in litt. 1994).
population segment, we remain                conditions, season length, quotas and             Based on information obtained since
concerned about maintenance of lynx          trapping restrictions, and ease of access      the proposed rule, we now recognize
habitat conditions, especially in areas      (Hatler 1988; Mowat et al. 1999). Mowat        that the cyclic peak harvest returns of
outside nondevelopmental lands in the        ef al. (1999) suggest that fur prices likely   the early 1960s and 1970s were
West. It is imperative that snowshoe         affect harvest over the short-term but         unprecedented highs for the 20th
hare and alternate prey populations be       that it may not be valid to compare and        century (e.g.. Figures 8.3 and 8.6 in
supported by habitat on Federal lands        contrast inflation-adjusted prices and         McKelvey et al. 1999b; Figure 9.4 in
into the future, to ensure the persistence   harvests that occurred decades apart.          Mowat et al. 1999). Wildlife managers
of lynx in the contiguous United States.     Mowat et al. (1999) conclude trapping          may have expected harvest returns
We conclude that the single factor           can reduce lynx numbers and that lower         during the 1980s and 1990s to be
threatening the contiguous United            lynx harvest levels in Canada in the first     comparable to the anomalous cyclic
States distinct population segment of        half of the 20th century were possibly         peaks of the 1960s and 1970s. When
lynx is the lack of guidance for             a result of overtrapping. However, prior       harvest returns failed to be as high as
conservation of lynx and snowshoe hare       to 1921, harvest data were maintained          anticipated, managers appear to have
habitat in National Forest Land and          by the Hudson Bay Company. Lower               interpreted the lower returns to be
Resource Plans and BLM Land Use              lynx harvest returns in Canada coincide        caused by overtrapping when pelt prices


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were high (Bailey et al. 1986; Hatler        concerns that lynx were being               or where trapping intensity was severe
1988; Hash 1990; Washington                  overharvested when returns did not          may have had more of an impact on
Department of Wildlife 1993). We             compare to those of the 1960s and           lynx populations in the southern part of
compared the lynx harvest returns in         1970s, Montana set lynx trapping            the range (southern Canada and the
the 1980s and early 1990s to harvest         quotas. Over successive years, initial      contiguous U.S.) than on northern lynx
data dating back over a longer period of     annual quotas were set at 135, 120, and     populations (Canada and Alaska)
time (i.e., prior to 1960) and found that    100, but were established without the       (Mowat et al. 1999). Mowat et al. (1999)
lynx harvest returns were not unusual        benefit of long-term harvest data to        also expected that dispersal by lynx
nor appreciably lower than those             gauge the range of cyclic highs and         from healthy populations will lead and
recorded prior to the 1960s.                 lows. These quotas were not filled.         has led to the repopulation of areas
   Trapping data for the contiguous          However, if returns in the 1950s are a      where overtrapping had depleted the
United States during the 1970s and           better indication of average long-term      local lynx population. Mortality of lynx
1980s is available from Minnesota,           harvest, it is possible that these quotas   through legal trapping has been
Montana, and Washington. Only                were unrealistically high. Further,         virtually eliminated in the contiguous
Minnesota has long-term trapping             despite the quotas, a small cyclic peak     United States, except in locations where
records (Henderson 1978). Minnesota          is evident in the early 1980s. Since        Tribal regulations permit the taking of
lynx harvest data indicate cycles            1991, the quota has been very low, two      lynx. We now believe that ongoing
approximately every 10-12 years              annually, and has been filled or slightly   precautions taken by States and
(McKelvey ef al. 1999b). Lynx harvest in     exceeded every season. The low quota        Provinces to restrict lynx trapping since
Minnesota was relatively high, but also      likely affects trapper effort and masks     the 1980s possibly prevented the
highly variable, ranging from as low as      any recent population cycles that could     overharvest of resident populations of
0 to as high as 400 per year over the 40     have been reflected in harvest data.        lynx. However, the lack of available data
years of recordkeeping (Henderson            Beginning with the 1999 season, all lynx    (trapping or otherwise) for the past 15
1978). The Minnesota harvest is              trapping is closed in Montana unless        years makes it difficult to discern the
believed to have consisted, at least         another State is in need of lynx for a      effect trapping restrictions may have
partially, of lynx dispersing from           reintroduction, in which case five lynx     had on resident populations.
Canada (Henderson 1978; McKelvey             can be taken and translocated to the           We conclude that in the contiguous
1999b). The amplitude of Minnesota           reintroduction site.                        United States, lynx populations occur at
lynx harvest cycles was high and,               Harvest data for Washington is           naturally low densities; the rarity of
therefore, the exceptionally high peaks      available only since 1960 (Figure 8.7 in    lynx at the southern portion of the range
of the early 1960s and 1970s that are        McKelvey et al. 1999b). Without harvest     compared to more northern populations
evident in all other regions do not          information prior to 1960, we cannot        is normal. The rarity of lynx is based
appear extraordinary in the Minnesota        know the range of cyclic lows and highs     largely on limited availability of
data. After two seasons in the mid-1970s     over time in Washington. The 1960s and      primary prey, snowshoe hares. At
when no lynx were harvested, a quota         1970s cyclic highs are evident in the       southern latitudes, low snowshoe hare
of five lynx was established from 1977       harvest data, but the data do not clearly   densities are likely a result of the
through the 1982 season. This quota          track a 10-year cycle. Following the        naturally patchy, transitional boreal
presumably influenced trapper effort         1970s peak, there were five seasons         habitat. Such habitat prevents hare
and likely was a factor in the reduced       during which no lynx were harvested.        populations from achieving high
harvests in the late 1970s and early         As a result, low quotas were set and        densities similar to those in the
1980s. However, the quota was always         seasons were shortened. However,            extensive northern boreal forest (Wolff
exceeded by at least three times the         despite the low quotas and restricted       1980; Buehler and Keith 1982; Koehler
quota. Although the quota was further        seasons, harvest returns increased          1990; Koehler and Aubry 1994; Hodges
reduced to two in 1983, nine lynx were       during the final three seasons of the       1999a, 1999b; McKelvey et al. 1999c).
taken, providing evidence of the             1980s and the numbers of lynx               Comparatively low numbers of lynx in
continued occurrence of lynx in              harvested were high relative to past        the contiguous United States occur not
Minnesota. The Minnesota lynx season         records. The final season in 1989 was       as a result of overtrapping, but because
has been closed since 1984. Given the        the fifth highest return ever recorded in   lynx and their prey are naturally limited
history of lynx cycles reflected in          Washington. Although the data is            by fragmented habitat, topography, and
Minnesota data, a cycle would have           limited, the annual number of lynx          climate.
been expected to return between 1983         harvested increased in the late 1980s,         Legal trapping activities for bobcat,
and 1985. However, strict season limits      perhaps leading to or indicative of a       coyote, wolverine and other furbearers
were in place or the season was closed       cyclic high. No harvest data are            create a potential for incidental capture
so that evidence of cycles from harvest      available since a Statewide lynx            of lynx. The threat to resident lynx from
data is not available after the mid-1980s.   trapping closure went into effect in        legal trapping for other species may be
During the decade preceding the 1984         1990.                                       limited in many areas because bobcat or
closure, over 160 lynx were trapped             At the time that Washington,             coyote trapping generally occurs outside
despite restrictive quotas beginning in      Minnesota, and Montana closed their         of areas where lynx would be found,
1977. These levels of harvest do not         seasons, lynx were still being trapped,     although we know that incidental
differ substantially from previous cyclic    which demonstrates that lynx persisted      capture occurs (Wydeven 1998; M.
lows considering the effects of              in these States. We recognize that the      DonCarlos in litt. 1994; R. Naney, U.S.
restrictive quotas on trapper effort.        States did not have lynx population         Forest Service, pers. comm. 1999).
   Montana has maintained lynx harvest       trend information and so relied on          Although we are concerned about the
records since 1950 (see Figure 8.5 in        trapping data, deciding to take             loss of lynx that are incidentally
McKelvey et al. 1999b). The most             conservative measures when trapping         captured, we have no information to
conspicuous features of the data are the     returns decreased.                          indicate that the loss of these
cyclic peaks in the 1960s and 1970s.            Mowat et al. (1999) suspected that       individuals has negatively affected the
There is no clearly evident peak in the      high harvest pressure during the low        overall ability of the contiguous United
1950s. In the mid-1980s, in response to      phase in the lynx cycle of the mid-1980s    States DPS to persist. Additionally, we


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believe that lynx have been incidentally     Resource Management Division, in Utt.         percent). Northern Rockies (67 percent).
trapped throughout the past, and still       1998; M. Myers and A. Edwards, 1854           Southern Rockies (76 percent). Great
they persist throughout most of their        Authority, in Utt. 1999). We conclude         Lakes (19 percent). Northeast (7
historic range.                              that current hunting and trapping             percent)) (U.S. Forest Service and
   In summary, we conclude that past         regulations are not threatening the           Bureau of Land Management 1999).
and present overutilization is not a         continued existence of the contiguous         National Forest Management Act
factor threatening lynx.                     United States DPS; however, other             regulations (36 CFR 219.19) provide the
Factor C. Disease or Predation.              regulatory mechanisms, as described           following direction to the Forest
                                             below, are inadequate.                        Service—“Fish and wildlife habitat
   Disease and predation are not known          Most States across the range of lynx       shall be managed to maintain viable
to be factors threatening Canada lynx.       have laws and regulations regarding           populations of existing native and
Factor D. Inadequacy of Existing             environmental issues. Indirectly, these       desired non-native vertebrate species.”
Regulatory Mechanisms                        regulations may promote the                   Additionally, the lynx is classified as a
                                             conservation of lynx habitat on non-          sensitive species by all Forest Service
   For the reasons discussed below,          Federal lands; however, few are specific
existing regulatory mechanisms do not                                                      regions within the contiguous United
                                             to lynx habitat conservation. Two             States lynx range. There is no regulatory
adequately address the needs of the          programs in the Northeast and in
lynx, or reduce the threats to the species                                                 mandate specific to sensitive species;
                                             Washington may provide some benefit           however, the Forest Service Manual
or its habitat. Within the contiguous        to the species. The majority of lynx
United States range of the lynx, all                                                       (FSM 2670.32) provides the following
                                             forest types in the Northeast occur on        policy guidance for sensitive species—
States, except Oregon, provide the lynx      private land, ranging from small
regulatory protection by specifically                                                      “avoid or minimize impacts to sensitive
                                             residential lots to large industrial timber   species; if impacts cannot be managed
prohibiting hunting and trapping for         company ownerships (Harper et al.
lynx. However based on pelt tags                                                           to maintain viable populations, a
                                             1990). The Northern Forest Lands              decision must not result in loss of
records we believe that Oregons              Council has a charter to maintain
trapping programs have not resulted in                                                     existing native and desired non-native
                                             traditional patterns of landownership         vertebrate species viability or create a
take of any lynx (Carol Carson, pers.        and use in the Northeast; part of this
comm. OMA, 2000). Four States classify                                                     significant trend toward Federal
                                             effort includes a forest inventory            listing.” At present. Federal land
the lynx as endangered—Vermont               (Northern Forest Lands Council, in Utt.
(1972), New Hampshire (1980),                                                              management plans do not adequately
                                             1994). The maintenance of traditional         address lynx, as described below.
Michigan (1987), and Colorado (1976).        patterns of landownership may prevent
Lynx are classified as “threatened” in       the fragmentation and/or development             The LCAS was developed to provide
Washington (1993), “sensitive” in Utah       of lynx habitat.                              a consistent and effective approach to
(1979), and “species of special concern”        In response to the Washington State        conserving lynx on Federal lands in the
in Maine (1997), and in Wisconsin are        Wildlife Commission listing the lynx as       contiguous United States (U.S. Forest
“protected” (1997).                          threatened, the Washington Forest             Service ef al. 1999). The overall goals of
   Five States classify lynx as small        Practices Board allowed the three             the EGAS were to recommend lynx
game or furbearers with closed               primary, non-Federal land managers of         conservation measures, provide a basis
seasons—Idaho (1997), New York               Washington lynx habitat to develop            for reviewing the adequacy with regard
(1967), Minnesota (1984), Wyoming            “special wildlife management plans” for       to lynx conservation of Forest Service
(1973), and Montana (1999). It is legal      lynx. Upon approval by Washington             and BLM land and resource
to harvest lynx in Oregon because the        Division of Fish and Wildlife, these          management plans, and facilitate
lynx is not protected under Oregon State     plans were adopted in lieu of the             conferencing and consultation under
Law. However based on pelt tags              development of forest practices rules to      section 7 of the Act, should the lynx be
records we believe that Oregons              protect lynx habitat under the State’s        listed. The LCAS identifies an inclusive
trapping programs have not resulted in       critical habitat designation. These three     list of 17 potential risk factors for lynx
take of any lynx (Carol Carson, pers.        land managers have adopted and                that may be addressed under programs,
comm. OMA, 2000). The contiguous             implemented lynx habitat management           practices, and activities within the
United States range of the lynx extends      plans in Washington—“Lynx Habitat             authority and jurisdiction of Federal
across tribal reservation lands and          Management Plan for Department of             land management agencies. For
ceded territories of numerous Tribes.        Natural Resources Managed Lands”              example, these risk factors include
Lynx trapping and hunting are                (Washington Department of Natural             programs or practices that result in:
permitted under the regulations of some      Resources 1996a), “North American             Habitat conversion, fragmentation or
Tribes, although the Confederated            Lynx Habitat Management Plan for              obstruction to lynx movement; roads or
Salish and Kootenai Tribes of the            Boise Cascade Corporation” (Whitwill          winter recreation trails that facilitate
Flathead Nation have prohibited the          and Roloff 1996), and a plan originally       access to historical lynx habitat by
trapping and taking of lynx since 1986       developed by Plum Creek Timber                competitors; and fire exclusion, which
(M. Pablo, Confederateci Salish and          Company and adopted by Stimson                changes the vegetation mosaic
Kootenai Tribes Tribal Council, in Utt.      Lumber Company “Salmo-Priest and              maintained by natural disturbance
1998). In the Great Lakes Region, lynx       Little Pend Oreille Lynx Management           processes. The risks identified in the
harvest is prohibited on off-reservation     Plan” (Gilbert 1996; Duke Engineering         LCAS are based on effects to either
ceded lands by the Voigt Intertribal Task    and Services 1998). These plans               individual lynx or population segments,
Force of the Great Lakes Indian Fish and     represent efforts to improve habitat          or both. Therefore, we do not
Wildlife Commission and the 1854             conditions for lynx in Washington, but        necessarily consider all of the risks
Authority of the Bois Forte and Grand        only on State managed lands and those         identified in the LCAS to be factors
Portage Bands (J. Schlender, Voigt           lands managed by the plan developers.         threatening the contiguous United
Intertribal Task Force of the Great Lakes       A substantial amount of the primary        States DPS of lynx. For example, one
Indian Fish and Wildlife Commission,         areas of lynx occurrence is on National       risk factor identified for the Southern
in Utt. 1998; M. Schrage, Fond du Lac        Forest Service lands (Cascades (99            Rockies Region is accidental death to


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individual lynx from being hit by a          potential for adverse effects to lynx as     human-caused factors have significantly
vehicle while crossing roads. While this     a result of actions directed or allowed      reduced the ability of lynx to disperse
may result in incidental take of lynx, it    by existing Plans. Because the Forest        or have resulted in the loss of genetic
is not considered to be a significant        Service and BLM manage a substantial         interchange. No information is currently
threat to the contiguous United States       amount of lynx forest types in the           available to identify whether any
DPS.                                         contiguous United States, particularly in    genetic concerns exist for lynx in the
   The DBA determined that Federal           the West, it is imperative that lynx         contiguous United States.
land management plans are likely to          habitat and habitat for lynx prey be            In western regions of lynx range,
adversely affect the lynx (U.S. Forest       maintained and conserved on Federal          naturally fragmented patches of lynx
Service and Bureau of Land                   lands. Though a large percentage of          habitat, typically occurring along
Management 1999). The DBA identified         these lands are in nondevelopmental          mountain ranges, are often connected by
potential effects resulting from 57 Forest   status, a large proportion remain subject    a variety of intervening habitats,
Service Land and Resource Management         to management under multiple use             including shrub steppe, grassland, low-
Plans (Plans) and 56 BLM Land Use            mandates. Until Plans adequately             elevation forested or unforested valleys,
Plans (Plans) within the 16-State area       address risks such as those identified in    and in some cases, desert. This natural
where lynx were proposed for listing.        the LCAS, we conclude that the lack of       fragmentation becomes more
The direction found in the Plans was         Plan guidance for conservation of lynx,      pronounced in the more southern
compared to direction proposed in the        and the potential for Plans to allow or      extremes of lynx range. We have little
LCAS. If it were determined that a Plan      direct actions that adversely affect lynx    information to compare these
may adversely affect either an               (as evidenced by the assessment in the       intervening landscapes to the historical
individual lynx or a population segment      DBA), is a significant threat to the         condition, nor do we fully understand
through failure to meet any one of the       contiguous United States DPS of the          the environmental or physiological
programmatic conservation measures in        lynx. On February 4, 1977, the lynx was      requirements of lynx as they attempt to
the LCAS (U.S. Forest Service et al.         included in Appendix II of the CITES.        disperse across them. We do know that
1999), then the Plan was deemed overall      The CITES is an international treaty         much of the intervening landscapes
as likely to adversely affect lynx (U.S.     established to prevent international         between patches of lynx forest types in
Forest Service and Bureau of Land            trade that may be detrimental to the         the Northern Rockies/Cascades is either
Management 1999). In other words, a          survival of plants and animals. A CITES      used for agriculture or is Federal land;
risk was deemed harmful to lynx if the       export permit must be issued by the          human population centers and other
possibility of any adverse effect existed    exporting country before an Appendix II      large human developments are limited
due to Plan direction or if the Plans did    species may be shipped. The CITES            across the western range of lynx.
not address lynx conservation issues.        permits may not be issued if the export         In the Northeast, development along
   The Federal agencies chose a              will be detrimental to the survival of the   the St. Lawrence seaway and ice
conservative approach in determining         species or if the specimens were not         breaking for winter navigation may
whether Plans might result in adverse        legally acquired; however, CITES does        reduce the ability of lynx to move
effects to lynx. The determination was       not itself regulate take or domestic trade   between northern Quebec and the area
based only on what the Plans directed        and therefore does not contribute to         south of the St. Lawrence that includes
or allowed, not on a quantitative            protection of the lynx in the United         southern Quebec, New Brunswick, Nova
assessment of the effects to lynx from       States.                                      Scotia, and the northeastern United
actual actions as a result of past or                                                     States (R. Lafond, pers. comm. 1999).
current implementation of the Plans. We      Factor E. Other Natural or Manmade           Historically, lynx populations in the
acknowledge that many activities             Factors Affecting Its Continued              Northeast were periodically
allowed by Plans, such as timber harvest     Existence                                    supplemented with transient or
and road construction, are never carried        Based on mapping of lynx forest types     dispersing individuals from northern
out for a variety of reasons, such as        for the contiguous United States             Quebec (Litvaitis et al. 1991). South of
funding limitations and environmental,       (McKelvey et al. 1999b), we know that        the St. Lawrence, movement is still
wildlife or policy considerations (U.S.      the southern boreal forests that support     possible between southeastern Quebec,
Forest Service and Bureau of Land            lynx and hares in the contiguous United      western New Brunswick, Maine and
Management 1999).                            States are naturally fragmented and          New Hampshire, because the habitat is
   The DBA identifies 15 criteria that       disjunct compared with the northern          contiguous along the Appalachian
contribute to some level of adverse          boreal forests in Canada and Alaska (see     Mountains and there are no natural or
effects to either an individual lynx or a    “Background” section). Connectivity of       human-caused barriers to dispersal.
population segment through failure to        appropriate habitat types and cover             In the Great Lakes Region, winter
meet any one of the programmatic             provide travel corridors between habitat     navigation on the St. Mary’s River
conservation measures in the LCAS.           patches, thereby increasing the              between Ontario and Michigan’s Upper
These criteria included, but are not         likelihood of successful lynx dispersal.     Peninsula may reduce the ability of lynx
limited to, precommercial thinning, fire     However, we know that lynx can               to migrate across the St. Mary’s shipping
management, landscape patterns, winter       traverse a variety of habitat types and      channel from Ontario to Michigan
recreation, and monitoring.                  obstacles, including rivers, nonforested     (Robinson and Fuller 1980).
Individually, these criteria may not         habitats, and various types of roads,           Lynx movements may be negatively
impart substantial impacts on the DPS,       based on records of lynx occurrences in      influenced by high traffic volume on
however, current Plans do allow actions      habitats and locations far from their        roads that bisect suitable lynx habitat. In
that cumulatively could result in            traditional range and forest habitat         southern British Columbia, lynx
significant detrimental effects to the       types, such as Nebraska, Nevada, Iowa,       movements and selection of home
DPS. We cannot predict the future levels     and South Dakota (Aubry et al. 1999;         ranges appear to be influenced by
of impacts to lynx that would result         McKelvey et al. 1999b; Ruggiero et al.       highways (Apps 1999). Apps (1999)
from continued implementation of             1999b).                                      surmised that highway influence on
current Plans. However, the DBA                 For most areas of the contiguous          lynx varies according to local habitat
concludes that there is reasonable           United States, we have no evidence that      conditions, roadway width, traffic


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volume, and possibly gender and               affect lynx habitat selection (McKelvey       the Northern Rockies/Cascades and
reproductive status of individual lynx.       ef al. 1999c). Lynx have been                 Southern Rockies lynx generally overlap
Given the distances and locations where       documented using some types of roads          with bobcat, coyote and mountain lion.
known lynx within the southern boreal         for hunting and travel (Parker 1981;          Lynx are highly evolved for hunting in
forest have moved, we know that lynx          Koehler and Brittell 1990; Koehler and        deep snow: they have a morphological
successfully cross many types of roads,       Aubry 1994). We find no information           advantage because they are able to walk
including unpaved forest roads,               demonstrating that forest roads               on snow rather than sink into it as do
secondary paved roads. State and              negatively impact resident lynx               species with higher foot loads, such as
interstate highways (Meeh 1980; Smith         populations.                                  the coyote, bobcat, or mountain lion
1984; Brainerd 1985; Aubry et al. 1999;          In the proposed rule, we stated that       (Murray and Boutin 1991; Buskirk et al.
Squires and Laurion 1999). We suspect         increasing ease of human access into          1999a). Traditionally, where these
that highways with high volumes of            forests increased the vulnerability of        species’ ranges overlap with that of
traffic and associated suburban               lynx to intentional or unintentional          lynx, snow conditions exclude them
developments inhibit lynx home range          shooting and trapping (Todd 1985;             from the winter habitats occupied by
movement and dispersal, and may               McKay 1991; Washington Department of          lynx (McCord and Cardoza 1982; Parker
contribute to loss of habitat                 Wildlife 1993; Koehler and Aubry              et al. 1983; Quinn and Parker 1987;
connectivity. Such highways occur in          1994). We know that lynx are taken            Buskirk ef al. 1999a).
the Southern Rockies Region connecting        during legal trapping and hunting for            However, today competition may be
cities, towns, and ski areas, and also in     other species, such as wolverine and          facilitated through human alteration of
the Northern Rockies/Cascade Region           bobcat, even when lynx seasons are            forests, creating habitats that may be
through the Cascade Range along the           closed (McKay 1991; Staples 1995;             more suitable to potential lynx
Columbia River. However, no                   Wydeven 1998; M. DonGarlos in litt.           competitors (McCord and Cardoza 1982;
information currently exists to               1994; R. Naney, pers. comm. 1999 ). We        Quinn and Parker 1987; Buskirk ef al.
determine the level at which traffic          do not know how many lynx may be              1999a). The range of the coyote has
volume or roadway design may                  purposefully poached, but are                 significantly expanded, snowshoe hares
influence lynx movements or create an         concerned about radio-collared lynx           are important prey for both coyotes and
impediment to movement.                       that have been killed but not reported        bobcats, mountain lion numbers appear
   Although we assume that high-              (G. Byrne, pers. comm. 1999; M.               to have increased, mountain lions have
volume, high-speed traffic presents a         Amaral, pers. comm. 1999). No reliable        killed lynx, and snowtrails packed by
barrier to dispersal, roads do not appear     recordkeeping exists to determine how         humans facilitate the movement of
to be a significant direct cause of lynx      frequently such taking occurs, nor if it      potential lynx competitors into the deep
mortality (Staples 1995; Ruggiero ef al.      has increased because of the increasing       snow habitats of the lynx.
1999b). Few records exist of native lynx      accessibility of forests. Further, lynx          Researchers believe the coyote’s
being killed by vehicles (Wydeven 1998;       were likely captured incidentally in the      original range prior to European
M. DonCarlos, in litt. 1994). None of the     past during regulated and unregulated         settlement was the North American
animals tracked by radiotelemetry in          trapping for other predators, and still       Great Plains but over the past century its
various studies throughout the                they have persisted throughout much of        range has substantially expanded in all
contiguous United States were killed in       their historic range. We are concerned        directions (Nowak 1979; 1999; Parker
vehicle accidents (Aubry et al. 1999).        about the loss of lynx through legal or       1995). Nearly the entire North American
The majority of records of lynx               illegal trapping and shooting; however,       range of the lynx now overlaps with that
mortalities from vehicle accidents are of     we have no information to indicate that       of the coyote. Coyotes expanded into the
recently translocated animals, who            the loss of these individuals is              far western States in the mid to late
generally move large distances before         negatively affecting the overall ability of   1800s, the western Great Lakes states in
settling (Brocke et al. 1991; Brocke et al.   the contiguous United States DPS to           the early 1900s, and the Northeast by
1993; G. Byrne, Colorado Division of          persist (see “Factor B” of this section).     the 1950s (Nowak 1979, 1999; Parker
Wildlife, pers. comm. 1999). The high            In the proposed rule, we considered        1995). Coyotes are generalist predators,
incidence of translocated lynx killed by      displacement or elimination of lynx           feeding on rabbits and hares, rodents,
cars is likely not typical of resident lynx   when competitors (e.g., bobcat, coyote)       deer, and plants (Parker 1995). In
populations in southern boreal forests        expand into lynx range (de Vos and            northern latitudes, particularly in
(Aubry ef al. 1999).                          Matel 1952; Parker et al. 1983; Quinn         winter, where the diversity of food
   At the time of the proposed rule, we       and Parker 1987) to be a significant          items is limited, snowshoe hares are a
thought that the existence, density, and      threat to the contiguous United States        primary food item for coyotes (Parker
human use of unpaved forest roads also        DPS of lynx. At this time, there are no       1995; Staples 1995); the concern
negatively impacted resident lynx             data on competition between lynx and          regarding competition with lynx stems
populations by causing displacement or        other species; therefore, we have only        primarily from diet overlap.
avoidance by lynx and degradation of          information on behavior of possible              Extirpation of the wolf (Canis lupus)
lynx habitat. Evidence now available          competitors from which to gain some           is one factor believed to have enabled
indicates that lynx tolerate some level of    inferences about the possibility of           the coyote to extend its range (Parker
human disturbance (Staples 1995;              competition and its impact on lynx.           1995). As wolf populations expand in
Aubry ef al. 1999; Bailey and Staples            Coyote, bobcat, and mountain lion are      the Northern Rockies Region in
1999; Mowat ef al. 1999). No evidence         hypothesized to be potential lynx             Montana, Idaho, and Wyoming, and the
exists that human presence displaces          competitors (Brocke 1982; McCord and          Great Lakes Region in Minnesota,
lynx. Although information regarding          Cardoza 1982; Parker et al. 1983; Quinn       Wisconsin, and Michigan, we expect
indirect effects of roads on lynx             and Parker 1987; Aubry et al. 1999;           coyote populations may be reduced
populations is lacking, recent analyses       Buskirk et al. 1999a; Ruggiero et al.         (Crabtree and Sheldon 1999). An
on the Okanogan National Forest in            1999b). In the Northeast and Great Lakes      indirect result may be a reduction in the
Washington indicate that lynx show no         regions of the contiguous United States       potential for coyotes to affect lynx in
preference or avoidance of forest roads,      range of the lynx, bobcat and coyote          areas of overlap between lynx and
and that road density does not appear to      ranges generally overlap with lynx. In        wolves.


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   The range of the bobcat overlaps the     lynx (Buskirk et al. 1999a). Now, ski and   indicating that coyote competition has
lynx range within the contiguous United     snowmobile trails and roads that are        negatively affected the contiguous
States and southern Canada. Like the        maintained for winter recreation and        United States lynx DPS (Aubry ef al.
coyote, the bobcat is a generalist          forest management create packed snow        1999).
predator that feeds on a wide variety of    corridors that give other species access       Little is known about lynx habits in
prey, including snowshoe hares              to lynx winter habitat (Koehler and         snow-free seasons. A greater diversity of
(McCord and Cardoza 1982; Koehler and       Aubry 1994; U.S. Forest Service et al.      prey and habitats available during this
Hornocker 1991). Although lynx in the       1999), although significant amounts of      time may reduce the negative effects of
southern boreal forests evolved with        habitat remain relatively undisturbed by    competition. Furthermore, because lynx
bobcats, competition between these          humans in the interior of large blocks of   have co-evolved with bobcats and
species is suspected because of their       lynx forest types on Federal lands in the   mountain lions, and in most areas lynx
similar size and appearance (Buskirk et     West, especially in designated              have coexisted with coyotes for many
al. 1999a). Bobcats remain restricted to    wilderness and National Parks (U.S.         decades, we suspect some level of
areas with low snow depths (Koehler         Forest Service and Bureau of Land           segregation of habitat and prey among
and Hornocker 1991; Buskirk et al.          Management 1999). It appears that           these species. In summer in Idaho,
1999a). Parker etal. (1983) speculated      bobcats remain restricted to areas with     coyotes, bobcats, and mountain lions
that bobcats displaced lynx from all        low snow depths (Koehler and Hornock        used different topographic and habitat
areas on Cape Breton Island, Nova           1991; Buskirk et al. 1999a), and that       features, allowing habitat and prey
Scotia, except high elevations, where       lynx and lion winter habitats typically     resources to be partitioned among these
snow accumulation limited the bobcat’s      do not overlap (H. Quigley, pers. comm.     species; coyotes used lower elevations
range. We have no evidence that             1999).                                      than bobcats who used lower elevations
competition with bobcats has negatively                                                 than lions (Koehler and Hornocker
                                               Coyotes use packed snowtrails and
affected the contiguous United States                                                   1991). All of the elevations used in this
                                            now occupy the winter habitats of lynx
DPS.                                                                                    study were within the range recorded
                                            (Murray and Boutin 1991; Murray ef al.
   Buskirk et al. (1999a) advanced the                                                  for lynx occurrences in the West
                                            1994; Staples 1995; O’Donoghue etal.
theory that mountain lions compete                                                      (McKelvey ef al. 1999b); however, the
                                            1997, 1998a, 1998b) and, therefore, are
with lynx, based on a few records of                                                    data for lynx were not recorded by
                                            a concern as a potential lynx competitor
mountain lions killing lynx and                                                         season. We suspect these data are more
                                            in winter. Studies of lynx, coyotes, and    representative of elevations lynx use in
presumed increasing mountain lion
                                            hares from the Yukon Territory and
populations. Interactions between lynx                                                  winter rather than snow-free seasons
and lions would most likely occur           Alaska provide some information with        because much of the lynx data are from
during snowfree seasons because lions       which to consider potential for             trapping records, an activity that occurs
generally do not occupy the same winter     competition between lynx and coyote in      during winter.
habitats as lynx (H. Quigley, Hornocker     winter (Murray and Boutin 1991;                In summary, we conclude lynx
Wildlife Institute, pers. comm. 1999). It   Murray ef al. 1994; Staples 1995;           movements may be negatively
is generally accepted that mountain lion    O’Donoghue ef al. 1997, 1998a, 1998b).      influenced by high traffic volume on
numbers in the West have increased,         Coyotes adapted their behavioral            roads that bisect suitable lynx habitat,
therefore the rate of encounters between    patterns for hunting in snow by             such as in the Southern Rockies and in
lynx and mountain lions has probably        selecting snow that was shallower and       some parts of the Northern Rockies/
increased (H. Quigley, pers. comm.          harder; whereas lynx successfully           Cascades Region. We suspect that
1999). Deer iOdocoileus spp.) are the       hunted in all habitats where hares were     highways with high volumes of traffic
primary prey of mountain lions (Dixon       found (Murray and Boutin 1991; Murray       and associated suburban developments
1982) and are an important food item for    ef al. 1994; O’Donoghue et al. 1998a).      inhibit dispersal and movements within
coyotes (Parker 1995) and bobcats           Coyotes and lynx both preferred             home ranges, and may contribute to loss
(McCord and Cardoza 1982; Koehler and       snowshoe hares over alternate prey          of habitat connectivity. However, roads
Hornocker 1991). In Idaho, mountain         during all phases of the hare cycle         do not appear to be a significant direct
lion kills were frequently visited by       (O’Donoghue ef al. 1998a). During the       cause of lynx mortality. We find no
bobcats and coyotes (Koehler and            snowshoe hare decline, lynx switched        information demonstrating that forest
Hornocker 1991). Lions kill coyotes and     to hunting red squirrels, whereas           roads negatively impact resident lynx
bobcats, often in defense of food caches    coyotes switched to hunting voles           populations. Packed snowtrails facilitate
(Boyd and O’Gara 1985; Koehler and          (O’Donoghue et al. 1998b). In Alaska,       the movement of coyotes into formerly
Hornocker 1991). Lynx occasionally          Staples (1995) believes that the 42         inaccessible deep snow habitats
feed on ungulates or scavenge from          percent dietary overlap between lynx        occupied by lynx; however, we have no
carcasses (Brand et al. 1976); we expect    and coyote observed during a cyclic low     evidence that competition with coyotes,
interactions between mountain lions         in the hare cycle indicated the potential   mountain lions or bobcats is negatively
and lynx would most likely occur in         for competition; however, we are not        affecting lynx at a population-level
defense of food caches, as with coyotes     aware of research or other evidence         scale.
and bobcats. Despite numerous               indicating that coyote competition has
                                            negatively affected the lynx populations    Finding
mountain lion studies within the
western range of the lynx, incidents of     in Canada. In fact, we expect that the         We conclude that, in the contiguous
lions killing lynx are extremely rare (H.   variability of snow conditions and          United States, lynx populations occur at
Quigley, pers. comm. 1999). No              frequency of fresh snows in the winter      naturally low densities and that the
evidence exists that mountain lions         habitats that support lynx continually      rarity of lynx at the southern portion of
exert a population-level impact on lynx.    reduce or alter the availability of         their range compared to more northern
   Historically, interactions between       snowtrails and shallow snow depths          populations is normal. This rarity is
lynx and potential competitors were         used by coyotes in lynx habitat, making     based largely on low densities of
limited in winter because most              it more difficult for coyotes to            snowshoe hares, their primary prey.
competitors cannot effectively move         effectively hunt in these areas regularly   Low snowshoe hare densities are likely
through the deep snow habitats of the       during the winter. No evidence exists       a result of naturally patchy, transitional


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boreal habitat at southern latitudes that   especially snowshoe hare, may result in      affecting lynx forest types in this region
prevents hare populations from              a prey base insufficient to support lynx     is timber harvest on non-Federal lands,
achieving densities similar to those in     persistence.                                 although the extent of influence of
the extensive northern boreal forest of        Factors affecting lynx status vary        current forest practices on lynx is not
Canada. Low numbers of lynx reflected       among regions of the contiguous United       known.
in harvest data for the contiguous          States. The Northern Rockies/Cascades           Within the contiguous United States,
United States are not a result of           Region supports the largest amount of        the relative importance of each region to
overtrapping, but of naturally limiting     lynx habitat and has the strongest           the persistence of the DPS varies. The
fragmentation, topography, and climate.     evidence of resident lynx populations,       Northern Rockies/Gascades Region
Lynx in the contiguous United States        both historically and currently. This        supports the largest amount of lynx
are the southernmost extension of a         region has strong habitat connections to     habitat and has the strongest evidence of
larger metapopulation whose core is in      lynx populations in Canada, as well as       persistent occurrence of resident lynx
central Canada.                             large proportions of lynx habitat in         populations, both historically and
   We conclude the single factor            wilderness and other areas with limited      currently. In the Northeast (where
threatening the contiguous U.S. DPS of      human influence. The Northern                resident lynx populations continue to
lynx is the inadequacy of existing          Rockies/Cascades Region has the              persist) and Southern Rockies regions,
regulatory mechanisms, specifically the     highest potential to maintain a viable       the amount of lynx habitat is naturally
lack of guidance for conservation of        lynx population within the contiguous        limited and does not contribute
lynx in National Forest Land and            United States. Available evidence            substantially to the persistence of the
Resource Plans and BLM Land Use             suggests that lynx populations within        contiguous United States DPS. Much of
Plans as described in Factor D. Until       this region fluctuate, and we have no        the habitat in the Great Lakes Region is
Plans adequately address risks such as      information suggesting a declining           naturally marginal and may not support
those identified in the LCAS, and           population trend. The primary factor         prey densities sufficient to sustain lynx
described generally in Factors A, B and     affecting lynx in this region is the         populations. As such, the Great Lakes
E, we conclude that the lack of Plan        inadequacy of existing regulatory            Region does not contribute substantially
guidance for conservation of lynx, as       mechanisms, specifically the lack of         to the persistence of the contiguous
evidenced by the fact that Plans allow      guidance for conservation of lynx in         United States DPS. Collectively, the
or direct actions that cumulatively         Federal land management plans.               Northeast, Great Lakes, and Southern
adversely affect lynx (as indicated by         In the Southern Rockies Region, lynx      Rockies do not constitute a significant
the assessment in the DBA], is a            habitat is naturally limited and highly      portion of the range of the DPS. We
significant threat to the contiguous U.S.   fragmented, which leads us to conclude       conclude the Northern Rockies/
DPS of lynx. Therefore, we find that        that lynx were rare historically. We         Cascades Region is the primary region
listing the lynx within the contiguous      conclude native lynx may now be              necessary to support the continued
United States as threatened is necessary.   extirpated from this region. The factors     long-term existence of the contiguous
   We conclude that Federal land            affecting lynx in this region are the        United States DPS. However, the role
management assumes the largest single       inadequacy of existing regulatory            that each region plays in the long-term
role in the conservation of lynx in the     mechanisms, specifically the lack of         conservation of the species will be
contiguous United States because of the     guidance for conservation of lynx in         explored further in recovery planning
preponderance of lynx forest types on       Federal land management plans, and           for the species.
Forest Service, BLM, and National Park      loss of habitat connectivity resulting
Service lands, particularly in the          from high-use highways and associated        Critical Habitat
western United States. A substantial        suburban development.                           Critical habitat is defined in section
amount of lynx forest types occur on           The historic and current status of lynx   3 (5) (a) of the Act as—(i) the specific
Forest Service and BLM lands (Northern      in the Great Lakes Region is uncertain.      areas within the geographical area
Rockies-72 percent, Cascades-99             We lack information to determine             occupied by a species, at the time it is
percent. Southern Rockies-82 percent.       whether lynx in this region are simply       listed in accordance with the Act, on
Great Lakes-19 percent, Northeast-7         dispersing from Ganada, are members of       which are found those physical or
percent). We believe that the large         a resident population, or are a              biological features (I) essential to the
amount of lynx forest types properly        combination of a resident population         conservation of the species and (II) that
managed in nondevelopmental                 and dispersing individuals. Much of          may require special management
allocations, especially in designated       this region contains marginal habitat        considerations or protection and; (ii)
wilderness areas, and amendments to         that may not sustain resident lynx           specific areas outside the geographical
existing land use plans, such that          populations. The factors affecting lynx      area occupied by a species at the time
management of lynx forest types in          in this region include the inadequacy of     it is listed, upon a determination that
developmental areas does not conflict       existing regulatory mechanisms,              such areas are essential for the
with lynx conservation, will be a           specifically the lack of guidance for        conservation of the species. The term
substantial benefit to lynx in the          conservation of lynx in Federal land         “conservation” as defined in section
Northern Rockies/Cascades and               management plans, and timber harvest         3(3) of the Act means “to use and the
Southern Rockies and will contribute        and fire suppression on non-Federal          use of all methods and procedures
significantly to the likelihood of          lands.                                       necessary to bring any endangered or
conserving lynx into the future within         In the Northeast, lynx reproduction       threatened species to the point at which
the contiguous United States.               and individual animals have recently         the measures provided pursuant to this
   It is imperative that snowshoe hare      been documented in Maine. Recent lynx        Act are no longer necessary,” that is, the
and alternate prey populations be           harvests were substantial in adjacent        species is recovered and can be removed
supported by appropriate habitat            southeastern Quebec. Therefore, we           from the list of endangered and
management on Federal lands into the        conclude that a resident population of       threatened species.
future to ensure the conservation of lynx   lynx continues to exist in the core of the      Section 4(a)(3) of the Act, as
in the contiguous United States.            region; however, the range may have          amended, and implementing regulations
Substantive declines in prey species.       retracted northward. The main factor         (50 GFR 424.12) require that, to the


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maximum extent prudent and                    occupied habitat that may become              prohibitions against taking and harm are
determinable, the Secretary designate         unoccupied in the future. There also          discussed, in part, below.
critical habitat at the time the species is   may be some educational or                       Section 7(a) of the Act requires
determined to be endangered or                informational benefits to designating         Federal agencies to evaluate their
threatened. Our regulations (50 CFR           critical habitat. Therefore, we find that     actions with respect to any species that
424.12(a)] state that critical habitat is     critical habitat is prudent for Canada        is proposed or listed as endangered or
not determinable if information               lynx.                                         threatened and with respect to its
sufficient to perform required analysis          As explained in detail in our Final        critical habitat, if any is being
of impacts of the designation is lacking      Listing Priority Guidance for Fiscal Year     designated. Regulations implementing
or if the biological needs of the species     2000 (64 FR 57114), our listing budget        this interagency cooperation provision
are not sufficiently well known to            is currently insufficient to allow us to      of the Act are codified at 50 CFR part
permit identification of an area as           immediately complete all of the listing       402. Section 7(a)(4) requires Federal
critical habitat. Section 4(b)(2) of the      actions required by the Act. Deferral of      agencies to confer with the Service on
Act requires us to consider economic          the critical habitat designation for          any action that is likely to jeopardize
and other relevant impacts of                 Canada lynx allows us to concentrate          the continued existence of a species
designating a particular area as critical     our limited resources on higher priority      proposed for listing or result in
habitat on the basis of the best scientific   critical habitat (including court ordered     destruction or adverse modification of
data available. The Secretary may             designations) and other listing actions,      proposed critical habitat. If a species is
exclude any area from critical habitat if     while allowing us to put in place             listed subsequently, section 7(a)(2)
he determines that the benefits of such       protections needed for the conservation       requires Federal agencies to ensure that
exclusion outweigh the conservation           of Canada lynx without further delay.         activities they authorize, fund, or carry
benefits, unless to do so would result in     However, because we have successfully         out are not likely to jeopardize the
the extinction of the species.                reduced, although not eliminated, the         continued existence of the species or
   In the proposed rule, we indicated         backlog of other listing actions, we          destroy or adversely modify its critical
that designation of critical habitat was      anticipate in FY 2000 and beyond giving       habitat. If a Federal action may affect a
not prudent for the Canada lynx because       higher priority to critical habitat           listed species or its critical habitat, the
it could increase the vulnerability of        designation, including designations           responsible Federal agency must enter
lynx to poaching, because the species         deferred pursuant to the Listing Priority     into formal consultation with us.
and its habitat are continually shifting      Guidance, such as the designation for            The Forest Service and the Fish and
spatially and temporally across the           this species, than we have in recent          Wildlife Service recently signed a Lynx
landscape making static designation of        fiscal years.                                 Gonservation Agreement (Feb 2000) to
specific areas of little benefit to the          We plan to employ a priority system        promote the conservation of lynx and
species, and because designation of           for deciding which outstanding critical       lynx habitat on Federal lands managed
broad geographic areas would                  habitat designations should be                by the Forest Service. It identifies
necessarily include many areas of             addressed first. We will focus our efforts    actions the signatories agree to take to
unsuitable habitat that would not be          on those designations that will provide       reduce or eliminate adverse affects or
used by and would not be critical to the      the most conservation benefit, taking         risks to lynx and lynx habitat.
species. We also indicated that               into consideration the efficacy of critical   Implementation of these actions within
designation of critical habitat was not       habitat designation in addressing the         this agreement will provide immediate
prudent because we believed it would          threats to the species, and the               benefits to lynx.
not provide any additional benefit            magnitude and immediacy of those                 Section 9 of the Act and
beyond that provided through listing as       threats. We will develop a proposal to        implementing regulations set forth a
threatened.                                   designate critical habitat for the Canada     series of general prohibitions and
   In the last few years, a series of court   lynx as soon as feasible, considering our     exceptions that apply to all endangered
decisions have overturned Service             workload priorities. Unfortunately, for       or threatened wildlife. The prohibitions,
determinations regarding a variety of         the immediate future, most of Region 6’s      codified at 50 CFR 17.21 and 17.31, in
species that designation of critical          listing budget must be directed to            part, make it illegal for any person
habitat would not be prudent. Based on        complying with court orders and               subject to the jurisdiction of the United
the standards applied in those judicial       settlement agreements, as well as due         States to take (includes harass, harm,
opinions, we have reexamined the              and overdue final listing                     pursue, hunt, shoot, wound, kill, trap,
question of whether critical habitat for      determinations.                               capture, or collect, or attempt any of
Canada lynx would be prudent.                                                               these), import or export, ship in
   The primary regulatory effect of           Available Conservation Measures               interstate commerce in the course of
critical habitat is the section 7                Conservation measures provided to          commercial activity, or sell or offer for
requirement that Federal agencies             species listed as endangered or               sale in interstate or foreign commerce
refrain from taking any action that           threatened under the Act include              any listed species. It also is illegal to
destroys or adversely modifies critical       recognition, recovery actions,                possess, sell, deliver, carry, transport, or
habitat. While a critical habitat             requirements for Federal protection, and      ship any such wildlife that has been
designation for habitat currently             prohibitions against certain practices.       taken illegally. Certain exceptions apply
occupied by this species would not be         Recognition through listing results in        to agents of the Service and State
likely to change the section 7                public awareness and conservation             conservation agencies.
consultation outcome because an action        actions by Federal, State, and local             Permits may be issued to carry out
that destroys or adversely modifies such      agencies, private organizations, and          otherwise prohibited activities
critical habitat also would be likely to      individuals. The Act provides for             involving endangered or threatened
adversely affect the species, there may       possible land acquisition and                 wildlife under certain circumstances.
be instances where section 7                  cooperation with the States and requires      Regulations governing permits are
consultation would be triggered only if       that recovery actions be carried out for      codified at 50 CFR 17.22, 17.23, and
critical habitat is designated. Examples      all listed species. The protection            17.32. Such permits are available for
could include unoccupied habitat or           required of Federal agencies and the          scientific purposes, to enhance the


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propagation or survival of the species,       behavioral patterns, including breeding,      country before an Appendix II species
and/or for incidental take in the course      feeding, or sheltering.                       may be shipped. All Felidae are
of otherwise lawful activities. For              For the contiguous United States           included in Appendix II to enable better
threatened species, permits also are          population of captive lynx, the               protection of look-alike species that
available for zoological exhibition,          following would likely constitute a           were or could be threatened with
educational purposes, or special              violation of section 9 of the Act:            extinction without strict regulation of
purposes consistent with the purposes            (1 ) export of any lynx part or products   trade. After the lynx (as well as the
of the Act.                                   other than a properly tagged pelt or          bobcat and river otter) were included in
   It is our policy, as published in the      permitted parts or products;                  CITES Appendix II, we worked with the
Federal Register on July 1, 1994, to             For lynx that occur outside of the         States to develop guidelines for State
identify to the maximum extent                contiguous United States (Alaska and          programs that would provide the
practicable at the time a species is listed   Canada), the Endangered Species Act           information needed to satisfy CITES
those activities that would or would not      listing and companion 4(d) have no            export requirements. Under the State
constitute a violation of section 9 of the    effect. Lynx in those areas, as well as in    CITES export programs, all pelts to be
Act (59 FR 34272). The intent of this         the contiguous United States, remain          exported are required to be tagged with
policy is to increase public awareness of     covered by the designation of Appendix        a permanently attached, serially
the effect of this listing on proposed and    II under CITES. Therefore, the import of      numbered tag that identifies the species.
ongoing activities within the species’        lynx into the United States and the           State of origin, and season of taking. The
range. For the contiguous United States       transportation of lynx from Alaska to         tags are provided to the States and
population of wild lynx, we believe the       the contiguous United States may              Tribes by the Service. In the past the
following actions would not likely            continue under current procedures             States that have been approved for
result in a violation of section 9 of the     established by State law and CITES.           export of captive or wild lynx are
Act:                                             Requests for copies of the regulations     Alaska, Idaho, Minnesota, Montana, and
   (1) Actions that may result in take of     regarding listed wildlife and inquiries       Washington. In the last few years Idaho,
wild lynx in the contiguous United            about prohibitions and permits may be         Minnesota and Washington have had
States that are authorized, funded, or        addressed to United States Fish and           zero quotas or closed seasons, and
carried out by a Federal agency when          Wildlife Service, P.O. Box 25486,             Montana has had a quota of two to three
the action is conducted in accordance         Denver Federal Center, Denver,                wild lynx trapped per year. Due to the
with an incidental take statement issued      Colorado 80225.                               listing all of the States in the contiguous
by us pursuant to section 7 of the Act;       Special Rule                                  U.S. will no longer be approved for
   (2) Actions that may result in take of                                                   export of wild lynx; Lynx in Alaska are
wild lynx in the contiguous United               Section 4(d) also states that the          not encompassed by this listing; all
States when the action is conducted in        Service may, by regulation, extend to         existing CITES requirements remain the
accordance with a permit issued under         threatened species, prohibitions              same for lynx originating in Alaska.
50 CFR 17.32 or special rule issued           provided for endangered species under            Currently facilities in Idaho,
under section 4(d) of the Act. These          section 9. Our implementing regulations       Minnesota, Montana, North Dakota, and
activities include take for educational       for threatened wildlife (50 CFR 17.31)        Utah raise captive lynx for commercial
purposes, scientific purposes, the            incorporate the section 9 prohibitions        purposes. At least some of the farms
enhancement of propagation or survival,       for endangered wildlife, except when a        report that their initial stock was
zoological exhibition, and other              special rule is promulgated pursuant to       obtained from Canada. From 1992
conservation purposes consistent with         section 4(d) applies (50 CFR 17.31(c)).       through 1997, Minnesota and Montana
                                                 This special rule applies the general      reported that a total of 169 lynx pelts
the Act.
   For the contiguous United States           take prohibitions for threatened wildlife     were tagged for export under the CITES
population of captive lynx, we believe        to the wild population of Canada lynx         program and these primarily originated
the following actions would not likely        in the contiguous United States. It also      from farmed animals. These captive-
result in a violation of section 9 of the     provides for the continuation of the take     bred specimens have neither a positive
Act:                                          and export of captive lynx and their          nor negative effect on the species in the
   (1) Take, transport, possess, sell,        pelts under Convention on International       wild.
deliver, and receive of captive lynx and      Trade in Endangered Species of Wild              Current prices for lynx pelts are low
export of captive lynx or their pelts         Fauna and Flora (CITES) export permits        so there is little present incentive to trap
under valid CITES export permits.             and provides for the transportation of        wild lynx. However, an increase in pelt
   For the contiguous United States           lynx pelts in commerce within the             prices could create a strong incentive to
population of wild lynx, the following        United States. The export of properly         trap wild lynx and export their pelts.
actions likely would be considered a          tagged (with valid CITES export tag)          Lynx are easy to trap, and the illegal
violation of section 9 of the Act:            pelts from lynx documented as captive         take of lynx would present an
   (1) Take of wild lynx (including both      is not prohibited under the special rule.     enforcement and inspection problem for
purposeful and incidental)                    Properly tagged pelts may be                  Service personnel. Since they look the
   (2) Possessing, selling, delivering,       transported in interstate trade without       same, captive lynx pelts cannot be
carrying, transporting, or shipping           permits otherwise required under 50           effectively differentiated from wild lynx
illegally taken lynx;                         CFR 17.32.                                    pelts by Service law enforcement and
   (3) Export of lynx or lynx parts or           CITES is an international treaty for       inspection personnel without proper
products (including pelts) without a          the regulation of international trade in      tagging.
permit under section 17.32 (a CITES           certain animal and plant species. The            This final rule would allow the export
permit would also be required in order        lynx was included in CITES Appendix           from the United States of live captive
to be in compliance with CITES);              II on February 4, 1977, as a part of the      lynx or their pelts if the pelt is tagged
   (4) Significant lynx habitat               listing of all Felidae that were not          with a CITES export tag and
modification or degradation to the point      already included in the appendices. A         accompanied by a valid CITES export
that it results in death or injury by         CITES export permit pursuant to 50 CFR        permit. The import of lawfully obtained
significantly impairing essential             part 23 must be issued by the exporting       live lynx or their parts or products


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would continue to require the necessary            those already approved under the               References Cited
CITES export permits from the                      Paperwork Reduction Act, 44 U.S.C.               A complete list of all references cited
exporting country, but no additional               3501 et seq., and assigned Office of           herein, as well as others, is available
permits under 50 CFR 17.32 would be                Management and Budget clearance                upon request from the Montana Field
required. CITES permit requirements are            number 1018-0094. An agency may not            Office (see ADDRESSES section).
found in 50 CFR part 23.                           conduct or sponsor, and a person is not
  In summary, CITES permits will be                required to respond to, a collection of        Author(s)
required for the export of captive lynx            information, unless it displays a                The primary authors of this document
or their parts or products from the                currently valid control number. For            are Lori Nordstrom and Anne
United States. No permits under 50 CFR             additional information concerning              Vandehey, Montana Field Office,
17.32 will be required for the                     permit and associated requirements for         Helena, Montana; and Janet Mizzi,
importation of lynx or their parts or              threatened wildlife, see 50 CFR 17.32.         Mountain-Prairie Regional Office,
products into the United States or for                                                            Denver, Colorado.
interstate commerce in pelts that are              Required Determinations for the Listing
properly tagged with valid CITES export            and Special Rule                               List of Subjects in 50 CFR Part 17
tags. However, interstate commerce of                                                               Endangered and threatened species.
untagged pelts is prohibited.                        In accordance with Executive Order           Exports, Imports, Reporting and
                                                   12866, this document is a significant          recordkeeping requirements.
Similarity of Appearance                           rule and has been reviewed by the              Transportation.
   In the proposed rule we proposed                Office of Management and Budget,
listing the wild population of lynx in             under Executive Order 12866. We                Regulation Promulgation
the contiguous United States as                    completed a Record of Compliance for             Accordingly, we amend part 17,
threatened, and we proposed listing the            the 4(d) rule, and published a notice of       subchapter B of chapter I, title 50 of the
captive population separately under the            availability for the Record of                 U.S. Code of Federal Regulations, as set
similarity of appearance provisions of             Compliance in the Federal Register on          forth below:
the Act (section 4(e)). We proposed                July 26, 1999 (64 FR 40333). A copy can
listing the captive population under the           be obtained by contacting the Montana          PART 17—[AMENDED]
Similarity of Appearance provisions in             Field Office (see ADDRESSES section).
order to aid law enforcement efforts to                                                             1. The authority citation for part 17
protect the wild populations. Upon                 National Environmental Policy Act              continues to read as follows:
further review we have determined that                                                              Authority: 16 U.S.C. 1361-1407; 16 U.S.C.
                                                     We have determined that                      1531-1544; 16 U.S.C. 4201-4245; Pub. L. 99­
separate listings of the wild and captive
                                                   Environmental Assessments and                  625, Stat. 3500; unless otherwise noted.
populations are not necessary. Instead,
                                                   Environmental Impact Statements, as
we have revised the special 4(d) rule                                                               2. Section 17.11(h) is amended by
                                                   defined in the National Environmental
accompanying this listing rule to                                                                 adding the following, in alphabetical
establish prohibitions for the wild and            Policy Act of 1969, need not be
                                                   prepared in connection with regulations        order under “MAMMALS,” to the List
captive populations separately.                                                                   of Endangered and Threatened Wildlife:
                                                   adopted pursuant to section 4(a) of the
Paperwork Reduction Act for the                    Act. A notice outlining our reasons for        §17.11 Endangered and threatened
Listing Rule                                       this determination was published in the        wildlife.
  This rule does not contain any new               Federal Register on October 25, 1983           *****
collections of information other than              (48 FR 49244).                                 (h) * * *

                     Spe cies                                             Vertebrate population
                                                                                                              When      Critical        Special
                                                         Historic range   where endangered or     Status
                                                                                                              listed    habitat          rules
   Common name                  Scientific name                                threatened

MAMMALS
      *                           ★                  ★                    ★                  ★                    *                 *
Lynx, Canada............   Lynx canadensis......   U.S.A. (AK, CO, ID,    co, ID, ME, Ml, MN,       T          692        NA        17.40 (k)
                                                     ME, Ml, MN, MT,        MT, NH, NY, OR,
                                                     NH, NY, OR, UT,        UT, VT, WA, Wl,
                                                     VT, WA, Wl, WY)       WY.
                                                     Canada.
          *                       ★                  ★                    ★                  ★                    *                 *



  3. Section 17.40 is amended by                     (2) What activities are prohibited for       imported or transported into the
adding paragraph (k) to read as follows:           wild lynx? All prohibitions and                contiguous United States.
                                                   provisions of 50 CFR 17.31 and 17.32             (ii) Lynx that were either born or held
§17.40 Special rules—mammals                                                                      in captivity and then released into the
                                                   apply to wild lynx found in the
*****
                                                   contiguous United States.                      wild are considered wild.
  (k) Canada lynx [Lynx canadensis).                 (3) What is considered a captive lynx'!        (4) What activities are allowed for
                                                                                                  captive lynx?
  (1) What lynx does this special rule               (i) For purposes of this paragraph (k),        (i) Take. You may take lawfully
apply to? The regulations in this                  captive lynx means lynx, whether alive         obtained captive lynx without a permit.
paragraph (k) apply to all wild and                or dead, and any part or product, if the         (ii) Import and export. You may
captive lynx in the contiguous United              specimen was in captivity at the time of       export captive live lynx, parts or
States.                                            the listing, born in captivity, or lawfully    products of captive lynx provided the


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specimens are tagged with Convention        sell, offer to sell, purchase, or offer to   tribal laws and regulations. Violation of
on International Trade in Endangered        purchase in interstate commerce captive      State or tribal law will also be a
Species of Wild Fauna and Flora             lynx and captive lynx parts and              violation of the Act.
(CITES) export tags and/or accompanied      products in accordance with State or
                                                                                           Dated: March 16, 2000.
by a valid CITES export permit. You         tribal laws and regulations. In addition,
may import lawfully obtained lynx that      lynx pelts that are properly tagged with     Jamie Rappaport Clark,
originated outside the United States        valid CITES export tags also qualify for     Director, Fish and Wildlife Service.
when you follow the requirements of         this exemption on interstate commerce.       [FR Doc. 00-7145 Filed 3-21-00; 8:45 am]
CITES.                                         (5) ?lre any activities not allowed or    BILLING CODE 4310-55-p
  (iii) Interstate commerce. You may        restricted for captive lynxi You must
deliver, receive, carry, transport, ship.   comply with all applicable State and




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COLORADO                                                PARKS                                 &         WILDLIFE


Lynx Reintroduction
JUNE 2014
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Colorado’s Lynx Reintroduction Success
A year before the U.S. Fish and Wildlife Service listed the lynx as a threatened species
in 2000, the Colorado Division of Wildlife (now Colorado Parks and Wildlife - CPW)
started reintroducing lynx to the state. Over the next seven years, CPW brought 218 lynx
to Colorado and established a self-sustaining population.
Lynx Background
Lynx, (Lynx canadensis), are large members of the cat family with short tails and
distinctive black ear tufts that are as large as the animal’s ear. Often confused with the
bobcat (Lynx rufus), lynx have large feet and grayish coats without spots. Lynx tails are
entirely black while the underside of bobcat tails is white.

Lynx are solitary by nature and inhabit dense high altitude forests or willow-rich
mountain stream corridors. The huge feet enable lynx to easily traverse deep winter
snowfields in search of their preferred prey - snowshoe hare (Lepus americas). Lynx weigh
20-to-30 pounds and have a home range of up to 20 square miles

Lynx are native to North America, historically inhabiting forests in 25 states, including
Colorado. Lynx populations dropped steadily in the United States throughout the 1900s
due to unregulated trapping, widespread predator poisoning and habitat loss due to
logging and other development.
                                                                                                   Ik
History of Lynx in Colorado
Lynx were established in Colorado’s high elevation forests prior to European settlement. In the early 1800s, commercial trappers sought the
thick fur, which sold for premium prices in the international market. The lynx population in Colorado dropped rapidly in the late 1800s
and early 1900s. Colorado’s last known lynx was illegally trapped near Vail in 1974, a year after the state listed the lynx as endangered.

Colorado's Lynx Reintroduction Program
The CPW mission includes restoring species that are native to the state. In 1982, the U.S. Fish and Wildlife Service (FWS) started work to
list lynx as a threatened species and declared the lynx a protected species under the Endangered Species Act (ESA) in 2000. To be proactive,
CPW started work in the mid-1990s on a lynx reintroduction program.

In 1999, CPW brought the first 41 lynx from Canada and Alaska to the San Juan Mountains in southwest Colorado, where river valleys,
rugged mountains, and adequate snowshoe hares provided good habitat in the 5.2 million acre core reintroduction area. More than
200 lynx were brought to the area over several years and the reintroduction program established lynx as a self-sustaining population in
Colorado.




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Highlights of CPW's Lynx Reintroduction Research
All 218 Alaskan and Canadian lynx released in Colorado were fitted with radio and satellite collars, allowing researchers to monitor
 movement patterns, survival, male and female proximity during breeding season, and female denning and births. A few highlights:
•    After the initial 1999 release, four lynx died due to starvation. The next group of wild-caught lynx were held in captivity for a much
     longer period and released later in the year when more natural food was available. Post-release survival rates improved dramatically.
•    CPW released additional wild-caught lynx between 2003 and 2006 to encourage breeding, which had not occurred prior to 2003.
•    Once the second set of reintroductions began in 2003, researchers documented the first 16 kittens born to the reintroduced lynx
     during that year.
•    Lynx reproduction varied widely from a high of 50 kittens in 2005 to no reproduction in 2007 and 2008, and back to 10 kittens in 2009
     and 2010.
•    In 2010, CPW declared that the reintroduction project met all benchmarks of success established prior to the start of the project. The
     benchmarks included high survival rates after release, successful reproduction in released animals and animals born in the wild, low
     mortality rates, and reproduction rates that are equal to or that exceed mortality rates over an extended period of time.




Additional CPW Lynx Research
•  The lessons learned from reintroducing lynx in Colorado aided conservation efforts
   for the critically endangered Iberian lynx in Spain and may aid in the potential
   reintroduction of Eurasian lynx to the Scottish Highlands.
•  CPW scientists are exploring how to use state-of-the-art non-invasive techniques, such
   as remote camera surveillance and genetic analysis of lynx fur left in scat, to continue
   monitoring the status of lynx throughout Colorado.
•  CPW is collaborating with the U.S. Forest Service on a project to determine the impacts
   of winter recreation on lynx.
•  For more detailed information, visit the CPW website, www.cpw.state.co.us

Lynx Reintroduction Funding Partners
Colorado Parks and Wildlife, Great Outdoors Colorado, the Turner Foundation, the U.S.
Forest Service, Vail Associates and the Colorado Wildlife Heritage Foundation.

Lynx Reintroduction Project Partners
U.S. Forest Service, U.S. Fish and Wildlife Service, National Park Service, Colorado State
University, the Colorado Natural Heritage Program, wildlife agencies in Washington,
Alaska, Montana, Maine, Minnesota, Wyoming, Utah and New Mexico, and the Canadian
government and trapping associations.


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                          Part II


                          Department of the Interior
                          Fish and Wildlife Service
                          50 CFR Part 17
                          Endangered and Threatened Wildlife and Plants; Revised Designation of
                          Critical Habitat for the Contiguous United States Distinct Population
                          Segment of the Canada Lynx and Revised Distinct Population Segment
                          Boundary; Final Rule




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DEPARTMENT OF THE INTERIOR                   included in the administrative record         habitat on the basis of the best available
                                             for this critical habitat designation and     scientific data after taking into
Fish and Wildlife Service                    are available at http://                      consideration the economic impact,
                                             www.regulations.gov at Docket No.             national security impact, and any other
50 CFR Part 17                               FWS-R6-ES-2013-0101, and at the               relevant impact of specifying any
[Docket No. FWS-R6-ES-2013-0101;             Montana Ecological Services Field             particular area as critical habitat.
4500030114]                                  Office [http://www.fws.gov/                      The critical habitat areas we are
                                             montanafieldoffice/ (see FOR FURTHER          designating in this rule constitute our
RIN 1018-AZ77                                INFORMATION CONTACT). Any additional          current best assessment of the areas that
                                             tools or supporting information that we       meet the definition of critical habitat for
Endangered and Threatened Wildlife                                                         lynx in the contiguous United States.
                                             developed for this critical habitat
and Plants; Revised Designation of                                                         Here we are designating approximately
                                             designation will also be available at the
Critical Habitat for the Contiguous                                                        38,954 square miles (mi^) (100,891
                                             Fish and Wildlife Service Web site and
United States Distinct Population                                                          square kilometers (km-)) of critical
                                             Field Office set out above, and may also
Segment of the Canada Lynx and                                                             habitat in five units in the States of
                                             be included in the preamble and at
Revised Distinct Population Segment                                                        Idaho, Maine, Minnesota, Montana,
                                             http://www.regulations.gov.
Boundary                                                                                   Washington, and Wyoming.
                                             FOR FURTHER INFORMATION CONTACT: Jodi
            Fish and Wildlife Service,                                                        This rule consists of: (1) Replacement
AGENCY:                                      Bush, Field Supervisor, U.S. Fish and
Interior.                                                                                  of the existing State-boundary-based
                                             Wildlife Service, Montana Ecological
                                                                                           definition of the range of the lynx DPS
ACTION:     Final rule.                      Services Field Office, 585 Shepard Way,
                                                                                           with a definition that extends the Act’s
                                             Suite 1, Helena, MT 59601; telephone
SUMMARY: We, the U.S. Fish and                                                             protections to lynx “where found” in
                                             406-449-5225. If you use a
Wildlife Service, are finalizing two                                                       the contiguous United States, and (2) a
                                             telecommunications device for the deaf
actions with this rule: We are                                                             final designation of revised critical
                                             (TDD), call the Federal Information
designating revised critical habitat for                                                   habitat for the contiguous United States
                                             Relay Service (FIRS) at 800-877-8339.
the contiguous United States distinct                                                      DPS of the Canada lynx.
                                             SUPPLEMENTARY INFORMATION:                       FFe have prepared an economic
population segment of the Canada lynx
[Lynx canadensis) under the                  Executive Summary                             analysis of the designation of critical
Endangered Species Act of 1973, as                                                         habitat. To consider economic impacts,
                                                Why we need to publish a rule. This        we have prepared an analysis of the
amended, and we are revising the             is a final rule to revise the designation
boundary of the Canada lynx distinct                                                       economic impacts of the critical habitat
                                             of critical habitat for the contiguous        designations and related factors. We
population segment. These revisions          United States distinct population
fulfill our obligations under two                                                          announced the availability of the draft
                                             segment (DPS) of the Canada lynx [Lynx        economic analysis (DEA) in the Federal
settlement agreements and address            canadensis). Under the Endangered
issues raised by two courts regarding                                                      Register on June 20, 2014 (79 FR 35303),
                                             Species Act of 1973, as amended (16           allowing the public to provide
our previous critical habitat designation.   U.S.C. 1531 et seq.) (ESA or Act), any        comments on our analysis. In this rule,
This rule revises critical habitat for the   species that is determined to be an           we have responded to comments we
lynx and extends the Endangered              endangered or threatened species              received on the economic analysis (see
Species Act’s protections to the species     requires critical habitat to be designated,   Summary of Comments and
wherever it occurs in the contiguous         to the maximum extent prudent and             Recommendations section, below).
United States, including New Mexico.         determinable. Designations and                   We have prepared a National
The effect of this regulation is to          revisions of critical habitat can only be     Environmental Policy Act analysis.
conserve the Canada lynx and its             completed by issuing a rule. This rule        Because this rule designates critical
habitats in the contiguous United States     also rescinds the existing State­             habitat in States within the jurisdiction
under the Endangered Species Act.            boundary-based definition of the lynx         of the U.S. Court of Appeals for the
DATES: This rule becomes effective on        DPS and replaces it with a definition         Tenth Circuit, we prepared an analysis
October 14, 2014.                            that extends the Act’s protections to         in accordance with the National
ADDRESSES: This final rule is available      lynx “where found” in the contiguous          Environmental Policy Act (NEPA; 42
on the internet at http://                   United States. This change ensures that       U.S.C. 4321 ef seq.). We announced the
www.regulations.gov and http://              lynx, which are known for their long­         availability of the draft environmental
www.fws.gov/mountain-prairie/species/        distance dispersal capability and             assessment in the Federal Register on
mammals/lynx/index.htm. Comments             tendency to occur in places well outside      June 20, 2014 (79 FR 35303), allowing
and materials we received, as well as        of typical habitats, receive the Act’s        the public to provide comments on our
some supporting documentation we             protections wherever they occur in the        assessment. We have incorporated the
used in preparing this final rule, are       contiguous United States, including (but      comments and have completed the final
available for public inspection at http://   not limited to) New Mexico.                   environmental assessment and finding
www.regulations.gov. All of the                 On March 24, 2000, we, the U.S. Fish       of no significant impact (FONSI)
comments, materials, and                     and Wildlife Service (Service), listed the    concurrently with this final
documentation that we considered in          contiguous United States DPS of the           determination.
this rulemaking are available by             Canada lynx as threatened in 14 States           Peer review and public comment. We
appointment, during normal business          (65 FR 16052). On September 26, 2013,         sought comments from appropriate and
hours at: U.S. Fish and Wildlife Service,    we published in the Federal Register a        independent specialists to ensure that
Montana Ecological Services Field            proposed rule to rescind the State­           our designation is based on
Office, 585 Shepard Way, Suite 1,            boundary-based definition of the lynx         scientifically sound data and analyses.
Helena, MT 59601; telephone 406-449­         DPS and to revise the critical habitat        We obtained opinions from four
5225.                                        designation for the lynx DPS (78 FR           knowledgeable individuals with
   The coordinates or plot points or both    59430). Section 4(b)(2) of the Act states     scientific expertise to review our
from which the maps are generated are        that the Secretary shall designate critical   technical assumptions, analysis, and


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whether or not we had used the best           2013. We also contacted appropriate          following summary and incorporated
available information. These peer             Federal, State, Tribal, and local            into the final rule as appropriate.
reviewers generally concurred with our        agencies; scientific organizations; and
                                                                                           Peer Reviewer Comments
methods and conclusions and provided          other interested parties and invited
additional information, clarifications,       them to comment on the proposed rule,           (1) Comment: One peer reviewer
and suggestions to improve this final         the economic analysis, and the draft         suggested that the Primary Constituent
rule. Information we received from peer       environmental assessment during these        Element (PCE) for lynx critical habitat
review is incorporated in this final          comment periods.                             should include a landscape- or home
revised designation. We also considered         During the first comment period, we        range-scale snowshoe hare density
all comments and information received         received 169 comment letters directly        threshold rather than the “presence of
from States, Tribes, Federal agencies,        addressing the proposed critical habitat     snowshoe hares and their preferred
and the public during the comment             designation (one of which also included      habitat conditions” as defined in the
periods.                                      approximately 600 identical or nearly        proposed rule. The reviewer felt that the
                                              identical one-page form letters). During     proposed rule lacked clarity regarding
Previous Federal Actions                      the second comment period, we                what constitutes “low” (or “high”) hare
  For more information on previous            received 15 comment letters (one of          densities and suggested that the Service
Federal actions concerning the lynx           which transmitted 1,999 identical or         develop working definitions of those
DPS, refer to the final listing rule          nearly-identical one-page form letters)      terms to be applied at the scale of the
published in the Federal Register on          addressing the proposed critical habitat     landscape or home range.
March 24, 2000 (65 FR 16052), the             designation, the draft economic                 Our Response: We appreciate the
clarification of findings published in the    analysis, and/or the draft environmental     potential advantages of using landscape­
Federal Register on July 3, 2003 (68 FR       assessment. During the November 25,          scale hare density as a component of the
40076), the Recovery Outline for the          2013, public hearing, two individuals or     PCE. However, the available literature
Contiguous United States DPS of               organizations made comments on the           does not allow us to determine
Canada Lynx (recovery outline; U.S.           proposed designation of critical habitat     minimum snowshoe hare densities
Fish and Wildlife Service 2005, entire),      for the lynx DPS. All substantive            necessary to maintain lynx populations
the final rule designating critical habitat   information provided during comment          across the range of the DPS.
for lynx published in the Federal             periods has either been incorporated         Additionally, thresholds of hare density
Register on November 9, 2006 (71 FR           directly into this final determination or    needed to support lynx populations
66008), the final rule designating            addressed below. Comments received           likely differ between the western. Great
revised critical habitat published in the     were grouped into 49 general issues          Lakes, and northeastern parts of the DPS
Federal Register on February 25, 2009         specifically relating to the proposed        range, and the core range of Canada and
(74 FR 8616), the 12-month finding on         critical habitat designation for the lynx    Alaska, because of significant
a petition to change the final listing of     DPS, and are addressed in the following      differences in habitat quality, quantity,
the DPS of the Canada lynx to include         summary and incorporated into the final      and spatial arrangement; climate;
New Mexico published in the Federal           rule as appropriate.                         magnitude and periodicity of hare
Register on December 17, 2009 (74 FR                                                       cycles; presence, diversity, and density
66937), and the proposed rule to revise       Peer Review                                  of competing hare predators; and
the designation of critical habitat and          In accordance with our peer review        relative connectivity of DPS populations
the boundary for the lynx DPS                 policy published on July 1, 1994 (59 FR      with the core population in Canada. In
published in the Federal Register on          34270), we solicited expert opinions         the proposed rule (78 FR 59440) and in
September 26, 2013 (78 FR 59430).             from five appropriate and independent        this final rule (Critical Habitat section,
These documents and others addressing         specialists with scientific expertise that   below), we present information, where
the status and conservation of lynx in        included familiarity with the species,       available (Maine and Minnesota),
the contiguous United States may be           the geographic regions in which the          regarding the differences in hare
viewed and downloaded from the                species occurs, and conservation             densities between areas that support
Service’s Web site: http://ecos.fws.gov/      biology principles. We received              lynx populations and areas that do not.
speciesProfile/profile/                       responses from four peer reviewers.          However, we do not believe it would be
speciesProfile.action?spcode=A073.               We reviewed all comments received         appropriate to apply these densities as
                                              from the peer reviewers for substantive      thresholds elsewhere within the range
Summary of Comments and                       issues and new information regarding         of the DPS, especially because it appears
Recommendations                               critical habitat for the lynx DPS. The       that lynx populations in some areas
  We requested written comments from          peer reviewers generally concurred with      (e.g., the Greater Yellowstone Area and
the public on the proposed designation        our methods, use of available scientific     the Northern Cascades) persist despite
of critical habitat for the lynx DPS          information, application of biological       relatively lower hare densities while
during two comment periods. The first         and ecological principles, and               other areas with higher densities of
(90-day) comment period associated            conclusions and provided additional          hares, at least in some places in some
with the publication of the proposed          information, clarifications, and             years, do not support lynx populations
rule (78 FR 59430) opened on                  suggestions to improve the final critical    (e.g., the Kettle/Wedge area of
September 26, 2013, and closed on             habitat rule. Several peer reviewers         northeastern Washington). Therefore, at
December 26, 2013. We also requested          noted the challenges, given information      this time, we do not believe that a
comments on the proposed critical             gaps and the natural vagaries of lynx        scientifically defensible definition of a
habitat designation and associated draft      and snowshoe hare [Lepus americanus)         minimum hare density exists at any
economic analysis and draft                   population dynamics and habitats, in         scale or that one should be applied as
environmental assessment during a 30-         developing criteria to delineate critical    a component of the PCE for lynx critical
day comment period that opened June           habitat. Several also suggested that other   habitat across the range of the DPS.
20, 2014, and closed on July 21, 2014         areas should be considered or included          (2) Comment: Two peer reviewers felt
(79 FR 35303). We held a public hearing       in the designation. Peer reviewer            that our analysis of the potential effects
in Helena, Montana, on November 25,           comments are addressed in the                of climate change on lynx emphasized


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reductions in snowfall but said little       This would further diminish the             modeling in the papers cited by the peer
about other potential effects. One           likelihood that lynx could persist in       reviewer does not include western
reviewer suggested that we include           areas of reduced hare density by            Maine. The same trends may occur
more discussion of the potential effects     switching to alternate prey, and lynx       there; however, this cannot be inferred
of climate change on spruce-fir forest       populations are unlikely to persist in      from the cited studies.
distribution and provided citations that     areas where such a switch would be             Although spruce and balsam fir occur
suggest these forests, particularly in the   necessary over the long term.               in western Maine, the quality of habitat
Northeast, may be susceptible to climate        (3) Comment: One peer reviewer           they provide for hare and lynx depends
change, and that spruce-fir forests could    supported our proposed additions of the     on the size and distribution of the
disappear from New England and much          Van Buren and Herseytown-Staceyville        patches and the age of the stands. The
of the upper Great Lakes region due to       areas to lynx critical habitat in Maine     information the reviewer cites from
drought, thermal stress, increased           but disagreed with our determination        McGaskill et al. (2011, p. 25) indicates
competition from other tree species,         that western Maine (south of the area       that the average balsam fir volume/acre
decreased regeneration success, and          designated in this final rule) does not     is greatest in Franklin County (a western
increased susceptibility to pathogens        contain the physical and biological         Maine county), but much lower in
and other forest insects. Given the          features necessary to sustain lynx over     Oxford County next to New Hampshire.
importance of regenerating spruce-fir        time and is, therefore, not essential to    However, McCaskill et al. (2011)
forests to snowshoe hares and lynx, this     lynx conservation. This reviewer (a)        provide information on only the
reviewer believed that the climate-          questioned our general characterization     volume/acre and not the age,
induced northward contraction of the         that spruce-fir forest is a lower           patchiness, and aerial extent of spruce­
range of spruce-fir forests is a threat to   percentage of the landscape in western      fir-dominated stands. An alternative
the conservation of the lynx DPS. The        than in northern Maine and noted that       explanation for high fir volume in
other peer reviewer felt the climate         balsam fir [Abies balsamea} volumes are     Franklin County is that forests are more
effects section was too narrow in scope      estimated to be higher in some parts of     mature in western Maine where forest
because it did not address the effects of    western Maine than in northern Maine        management may be less intense than in
climate change on alternate prey and the     areas designated as critical habitat; (b)   northern Maine and a higher proportion
behavioral flexibility of lynx to use        contends that, although there currently     of the land is in small woodlot
alternate prey as climate change             is less high-quality hare habitat in        ownership.
progresses.                                  western than in northern Maine, such
                                                                                            Maps of the balsam fir volume in
                                             habitats (and, therefore, hare densities)
   Our Response: We agree that climate                                                   McCaskill et al. (2011, p. 25) show a
                                             are expected to increase in western
change is projected to cause a                                                           particularly high volume in the
                                             Maine over the next 25 years while
northward contraction of spruce-fir                                                      Rangeley and Flagstaff Lakes region,
                                             concurrently decreasing in northern
forests within the range of the DPS with                                                 where stands may be more mature
                                             Maine; (c) believes that western Maine
potential negative consequences for                                                      because land parcels in these areas are
                                             meets many if not all of the same
both lynx and snowshoe hares. We have                                                    typically small and privately owned, or
                                             criteria we used in determining that the
evaluated the sources provided by the        Van Buren and Herseytown-Staceyville        because large areas are in State
reviewer and added a discussion of           areas warrant designation as critical       conservation ownership. Further north,
potential impacts of climate change on       habitat; and (d) hypothesizes that          especially along the Maine-Quebec
spruce-fir forests to our Climate Change     western Maine may increase in               border, stands may be more mature and
section, below (also see our response to     importance to lynx conservation given       have higher volume because of forest
comment (18), below). We also agree          the potential for higher elevations to      management practices of Maine Tribes.
that climate change could exert pressure     moderate climate change effects on          Balsam fir volume/acre for Somerset
on lynx to rely to a greater extent on       snow accumulation in the Northeast.         and Piscataquis Counties (about 40
alternate prey if it reduces future             Our Response: The latest modeling        percent of the area designated as critical
landscape-scale snowshoe hare                from University of Maine School of          habitat) are third and fourth highest in
densities. However, although alternate       Forestry Resources indicates that the       the State, respectively. However, the
prey may be relatively more or less          composition of Maine’s northern forest      only area of high balsam fir volume on
important to lynx seasonally and             will be influenced by complicated           the map for the core lynx critical habitat
geographically (Aubry et al. 2000, p.        interactions between spruce budworm         area is in Baxter State Park, where
373), we are aware of no lynx                outbreaks and their severity, salvage       stands are mature due to protection.
populations that persist in areas where      forestry related to budworm outbreaks,         Balsam fir volume/acre for Aroostook
prey other than snowshoe hares               other trends in forest management and       County (about 50 percent of the area
contribute a majority of the biomass of      land ownership, and climate change          designated as critical habitat) is the
the lynx diet. If climate change results     (Legaard et al. 2013 Unpublished            second highest in the State, yet no
in landscape-scale reductions in hare        Report, entire). Some projections predict   single area stands out on the map as
densities, some areas that currently         a transition to a forest of more mixed      having a particularly high volume,
support lynx populations may become          composition, and especially the             except a thin strip along the Route 11
less capable of doing so, and lynx could     expansion of balsam fir (a significant      corridor north of Ashland, where stands
decline or disappear from these areas        component of hare/lynx habitat) on          may be more mature because land
regardless of the diversity or abundance     about 18 percent of the northern Maine      parcels are small and privately owned.
of alternate prey species. Such climate-     forest (Simons-Legaard et al. 2013a, p.     Thus, absent the context of areal extent,
induced impacts to hare habitats and         12). This prediction is in contrast to      spatial arrangement, and stand age, and
populations could be accompanied by          broad predictions that spruce and fir       how they relate to hare and lynx habitat
projected reductions in snow quantity,       will decline because of climate change      quality, we conclude balsam fir volume/
quality, and duration, thereby reducing      (Iverson et al. 2008, pp. 400, 404).        acre alone may not be a good surrogate
the competitive advantage lynx have          Although a trend toward expanding           for lynx habitat and does not justify the
over other hare predators in the areas       balsam fir (in area and timber volume)      inclusion of western Maine within this
that currently support lynx populations.     is evident in northern Maine, the           final critical habitat designation.


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  In the proposed rule and this final        a competitor and predator), and less      lynx population could persist in
rule, we acknowledge the expected            suitable snow conditions.                 western Maine.
decline in hare habitat in northern             We agree that, as with western Maine,     For the reasons above, we do not
Maine resulting from the shift in timber     survey information is inadequate to       agree that western Maine has the
harvest practices from clearcutting to       confirm lynx reproduction in the Van      physical and biological features
partial harvesting and the serai             Buren and Herseytown-Staceyville areas essential to lynx in adequate quantity or
succession of regenerating clearcuts,        where we have designated critical         spatial arrangement to support a lynx
which currently produce high hare            habitat. Although we are not using        population over time or that western
densities, to more mature stands that        reproduction as a proxy for presence of   Maine is essential to the conservation of
will support fewer hares. We agree that      the PCE, we believe that our analysis in  the DPS. Therefore, we have not
hare densities may increase in parts of      the proposed rule supporting lynx         designated critical habitat for lynx in
western Maine over the next several          occurrence in the Van Buren and           western Maine.
                                             Herseytown-Staceyville areas (78 FR          (4) Comment: One peer reviewer felt
decades while they are likely to
                                             59456) also supports the likelihood of    the Service used reasonable methods in
decrease in parts of northern Maine.
                                             lynx reproduction in these areas, which   developing the proposed critical habitat
However, we are not convinced this                                                     designation and that our approach was
                                             is indicative of the value of the area to
change will result in increases in                                                     consistent with conservation biology
                                             the conservation of the species. We also
landscape-scale hare densities in                                                      theory addressing the dynamics of small
                                             acknowledge the low probabilities of
western Maine or that western Maine          lynx occurrence predicted for both the    populations supported by patchy and
will become essential to the persistence     Van Buren unit (which we have             temporal habitats. The reviewer felt that
and conservation of lynx populations in      designated) and western Maine (which      all the information necessary to
Maine. First, if rates of harvest were the   we have not) by the Hoving et al. (2004) understand how we used the available
same in western as they were in              model, and the higher probabilities       data to inform our designation were
northern Maine in the 1990s and 2000s,       predicted for both areas by the Hoving    contained in the proposed rule, but that
the amount of young forest created           ef al. (2005) model. However, we do not it remained difficult to understand how
would be expected to be similar.             find either of these models to be         all the information fit together in a
Second, no information is provided on        definitive in predicting lynx occurrence larger way to define the distribution of
the extent, size, and type of cuts in        because they are derived from lynx        the PCE and derive the proposal for
western Maine, which are important           survey and forest conditions from 1994­ critical habitat. The reviewer suggested
factors for predicting the quality of        1999, and habitat conditions are          that a challenge remains to explain the
future habitat. Third, because partial       constantly changing. Even the more        process more clearly to the public.
harvesting was the predominant form of       sensitive model (Hoving et al. 2005)         Our Response: We agree that it is a
forestry in the 1990s and 2000s, the         does not predict lynx occurrence in       challenge to clearly explain the unique
regenerating young forest would be           several areas currently known to          and complex relationships between
expected to support lower landscape­         support lynx. We also note that the       habitat characteristics and lynx and how
scale hare densities in both regions         Hoving et al. (2005) model predicts       they influence our efforts to designate
relative to the high hare densities that     small, isolated pockets of fragmented,    critical habitat. Our goal is to
resulted from the extensive clearcutting     lower quality habitat in western Maine,   distinguish between areas that contain
of the 1970s and 1980s. And fourth,          unlike the more contiguous habitat in     the physical and biological features
because the conifer-dominated habitats       northwestern Maine, the Gaspe region of (PBFs) essential to the conservation of
in western Maine are believed to be          Quebec, and northern New Brunswick.       the DPS in adequate quantity and
patchier and less contiguous than in            We agree with the reviewer that lynx   spatial arrangement from other areas
northern Maine, landscape-scale hare         occurred in western Maine historically    that may appear to contain some or all
densities in western Maine would be          and that lynx have found their way to     of the PBFs and in which lynx may
expected to be lower and less able to        areas of suitable landscape-scale hare    occur occasionally but which are
support lynx populations over time.          density in western Maine (as well as      incapable of supporting lynx
                                             New Hampshire and Vermont).               populations over time. In this rule, we
  Additionally, a study suggesting a         However, while we recognize that lynx     explain why evidence of a landscape’s
possible southwesterly shift in lynx         currently occur in western Maine, we      ability to provide for the conservation of
habitat (Simons 2009, pp. 153-163) was       believe this area supports lynx only in   lynx over time is a valid and necessary
conducted in a 2,500-mi2 (6,475-km2)         low numbers because of the patchy         biological consideration (though not the
area that is in the southwest corner of      distribution of suitable habitat. Lynx    only criterion we evaluate) and why we
the designated critical habitat and that     occupancy there appears to be in small,   believe it is absolutely imperative to
extends only as far south as Moosehead       isolated pockets of habitat, and lynx do  rely on verified data and not anecdotal
Lake. The study did not include western      not seem to be occupying the high-        information when assessing the historic
Maine, and the analysis has not been         elevation spruce-fir stands in western    record of lynx occurrence and
extended to western Maine or to more         Maine, (although these areas have been    distribution (also see our response to
northern portions of the critical habitat    poorly surveyed). We question whether     comment (23), below). We also try to
area. Consequently, the study does not       the “habitat islands” of conifer habitat  explain the limitations in our ability to
address whether the habitat is more          at high elevations that may remain in     accurately map lynx and hare habitats
fragmented and patchy in western             the future will be large enough and       across the range of the DPS and to
Maine. Simons (2009, pp. 162-163)            close enough to each other to maintain    establish range-wide criteria for
acknowledges that, although snowshoe         lynx home ranges. Additionally, as        minimum hare densities; snow depth,
hare habitat may shift southward, the        snow quantity, quality, and duration      quality, and duration; and other habitat
potential for lynx densities to increase     will likely decrease due to climate       variables, and how these limitations
in western Maine may be constrained by       change, bobcats will occur at lower       prevent a reasonable and accurate range­
extrinsic factors including higher           elevations and could shift their home     wide mapping of the individual PBFs
populations of bobcat [Lynx rufus; a         ranges to higher elevations in summer,    essential to conservation of the DPS.
competitor) and fisher {Martes pennanti;     further reducing the probability that a   Finally, we try to better explain how


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designating areas that appear to have        of grasslands that do not contain the       lynx habitat to better reflect actual on-
some or all of the PBFs in some measure      PBFs essential to lynx, and (b) in areas    the-ground habitat conditions.
would likely result in the designation of    where site-specific information                In this rule, we have used the
large areas that have never supported        indicated that the PBFs occurred and        information from these habitat mapping
lynx other than occasional transient/        other criteria were met at lower            refinements/improvements to adjust
dispersing individuals and that are very     elevations.                                 critical habitat boundaries to better
unlikely to ever support lynx                   (6) Comment: One peer reviewer           reflect actual habitat conditions. This
populations regardless of designation        requested that the Service better           change has resulted in reduced reliance
and management regime.                       articulate why denning and matrix           on administrative or other
   (5) Comment: One peer reviewer            habitats, which are not considered          anthropogenic boundaries where better
commented that, although our methods         limiting for lynx within the DPS at large   methods are available (revised mapping
for determining lynx habitat                 spatial scales, are considered essential    has not occurred on all land units
requirements and the distribution of         and, therefore, defined as components       within the range of the DPS). In
habitats containing the PCE were             of the PCE.                                 particular, we used improved lynx
reasonably well explained, we did not           Our Response: We agree that denning      habitat mapping to adjust critical habitat
provide sufficient detail regarding how      and matrix habitats are not limiting to     boundaries in the Idaho Panhandle
we used available and limited                lynx within the DPS; however, a feature     National Forest and the Flathead
information including geographical           or habitat variable need not be limiting    National Forest in Unit 3 (U.S. Forest
information system (GISJ coverages of        to be considered an essential component     Service 2008a, entire; 2013a, entire);
forest and habitat types, snow depth,        of a species’ habitat. Both denning and     and in the Custer and Gallatin National
and topographic information. Other           matrix habitats are essential               Forests, Grand Teton National Park, and
commenters also requested clarification      components of landscapes capable of         Bureau of Land Management (BLM)
regarding how we used snowfall and           supporting lynx populations in the DPS      lands in the Pinedale and Kemmerer
topographic considerations when              because without them lynx could not         districts in Unit 5 (U.S. Fish and
delineating proposed critical habitat.       persist in those landscapes. Both           Wildlife Service 2013a, entire; 2013b,
   Our Response: To a great extent, the      habitats fulfill essential lynx natural­    entire; U.S. Forest Service 2013b,
Service relied on lynx habitat data and      history requirements by providing           entire). In both these units, some areas
information compiled by our partner          “space for individual and population        previously designated or proposed for
Federal and State agencies, most of          growth and for normal behavior; sites       designation as critical habitat were
which mapped lynx habitats on their          for breeding, reproduction, and rearing     removed and other areas not previously
management units in accordance with          (or development) of offspring; and          designated or proposed were added to
information developed by the                 habitats that are protected from            lynx critical habitat. The adjusted
Interagency Lynx Biology Team and            disturbance or are representative of the    critical habitat boundaries now follow
articulated in the Lynx Conservation         historic, geographical, and ecological      habitat features and not administrative
Assessment and Strategy (LCAS;               distribution . . .’’of lynx in the          or other anthropogenic features in all
Ruediger ef al. 2000, entire). This          contiguous United States.                   places where we had data that allowed
information generally consisted of maps         (7) Comment: One peer reviewer felt      such refinements.
depicting cool, moist boreal or              the Service should better clarify the use      (8) Comment: One peer reviewer felt
subalpine forests that support snowshoe      of jurisdictional (e.g.. National Forest)   that the benefits of critical habitat were
hares and receive deep, powdery and          boundaries and highways to delineate        presented generally for listed species
persistent snow across landscapes large      critical habitat given that such            but not specifically stated for lynx. The
enough to support multiple lynx home         anthropogenic features seldom fall along    reviewer requested clarity regarding (a)
ranges. We overlaid these areas with the     natural vegetation (habitat) boundaries.    the benefit of critical habitat to lynx,
geographic area occupied by lynx                Our Response: As described in our        especially in the context of
populations at the time of listing based     response to comment (6) above, we           consultations under section 7 of the Act;
on verified occurrence data. Although        relied on habitat mapping and               (b) the difference between designated
snow depth is thought to influence lynx      information from our partner agencies       critical habitat and lynx habitat mapped
distribution, other factors including        within the range of the DPS. In some        in accordance with guidance in the
snow consistency and persistence are         cases, administrative boundaries were       LCAS, and whether (and if so, why)
also likely important, and we do not         used because they encompassed habitats      both are needed to recover lynx in the
have enough information to support           of similar type and extent within an area   DPS; and (c) why critical habitat and
using thresholds for annual snowfall to      found to meet the criteria we developed     “mapped” lynx habitat commonly
delineate lynx critical habitat.             for critical habitat. Roads and other       depict different distributions of lynx
Therefore, although snow conditions          human-made structures were used as          habitat.
were a consideration, we did not             boundaries for critical habitat where          Our Response: Compliance with
establish or alter critical habitat          they clearly delineated areas with          section 4(a)(3) of the Act requires that
boundaries based on specific thresholds      confirmed records of lynx and the           critical habitat be designated for listed
for average annual snowfall, duration, or    presence of the PBFs essential to lynx.     species, if prudent and determinable.
consistency. In critical habitat units 3        After the lynx DPS was listed as         Although listed species and the habitats
(Northern Rockies) and 4 (North              threatened under the Act in 2000,           upon which they depend are protected
Cascades), the majority of lynx records      Federal land managers mapped                under provisions of the Act whether
and the boreal forest types containing       potential lynx habitats on their units      critical habitat is designated or not, a
the features essential to lynx generally     based on criteria and recommendations       critical habitat designation identifies
are found above 4,000 feet (1,219            developed by the Interagency Lynx           lands on which are found the physical
meters). Therefore we limited critical       Biology Team and articulated in the         and biological features essential to the
habitat in these units to areas above this   LCAS (Ruediger et al. 2000, entire). As     conservation of the species that may
elevation, except in unit 3: (a) East of     vegetation mapping and habitat              require special management
the Continental Divide, where that           modeling have improved, some                considerations. The identification of
elevation encompasses substantial areas      managers have initiated re-mapping of       these essential areas is important to


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guide management and provide for the          such movements have historically             most compelling evidence of persistent
recovery of the species. The general          occurred intermittently and temporarily      lynx populations.
benefits of critical habitat for listed       in suboptimal, marginal, and unsuitable         When we listed the lynx DPS as
species also apply to lynx. In the            habitats that do not contain the physical    threatened in 2000, we noted that there
Consideration of Impacts under Section        and biological features essential to lynx    were 76 verified records of lynx in
4(bK21 of the Act section below we            and cannot, therefore, support lynx over     Minnesota and 17 in Colorado as of
define these benefits for lynx.               time. Critical habitat is a subset of        1999 (McKelvey et al. 1999a; 65 FR
   The consultation provisions under          “mapped” habitat that we have                16056, 16059). We noted at that time
section 7(a) of the Act constitute the        determined is essential to conservation      that (a) reproduction and home range
regulatory benefits of critical habitat.      and recovery of the DPS. The remainder       maintenance documented in Minnesota
Federal agencies must consult with the        of mapped habitat may have some or all       in 1972 (Meeh 1973, p. 152; 1980, p.
Service on discretionary actions that         of the features lynx need, but not in        261), (b) consistent trapping records
may affect a listed species, and in           adequate quantity and/or spatial             over 40 years (including during cyclic
addition, analyze the effects of such         arrangement to support lynx over time—       lows in lynx populations) in Minnesota
actions on critical habitat. The analysis     therefore such areas are not essential to    and immediately adjacent habitat in
of the effects on critical habitat is a       conservation and recovery of the lynx        Ontario that was similar and contiguous
separate and different analysis from that     DPS.                                         across the United States-Canada border,
of the effects to the species, and may           (9) Comment: One peer reviewer            and (c) three verified lynx records in
provide greater regulatory benefits to the    found the structure of the proposed rule     Minnesota in 1992-93, all provided
recovery of a species than listing alone.     confusing because it proposed                some evidence of the existence of a
In terms of section 7 consultation, for       accomplishing two unrelated objectives:      resident population in Minnesota.
activities with a Federal nexus in areas      (a) Establishing that lynx will be           However, we determined that the
where lynx “may occur,” but which are         protected where they occur and not           available data were insufficient to verify
not designated as critical habitat, the       based on State boundaries, and (b)           whether a resident lynx population
Service’s evaluation focuses on the           revising the critical habitat designation    existed in Minnesota historically or at
jeopardy standard—i.e., whether a             for lynx in the contiguous United States.    the time of listing (65 FR 16056). In that
project is likely to jeopardize the              Our Response: We have provided            rule, we also noted that “The montane
continued existence of the DPS. In            clarifying language in the SUMMARY and       and subalpine forest ecosystems in
designated areas, we must additionally                                                     Colorado are naturally highly
                                              Executive Summary sections above.
evaluate whether a project is likely to                                                    fragmented (Thompson 1994), which we
                                                 (10) Comment: One peer reviewer
result in destruction or adverse                                                           believe limits the size of lynx
                                              noted that the term “persistent
modification of critical habitat.                                                          populations,” and that the last verified
   The difference between critical            population” is difficult to define in the
                                                                                           lynx record was from 1974 (no verified
habitat and “mapped” lynx habitat is          context of critical habitat and
                                                                                           records from 1975 to 1999) despite
that critical habitat has been found to       questioned whether the lynx population       large-scale snow-tracking efforts (Carney
contain the physical and biological           in Minnesota can be considered truly         1993, unpublished data, as cited by
features essential to lynx in adequate        persistent given that lynx appeared to be    McKelvey et al. 2000a, p. 231). We
quantity and spatial arrangement on the       absent from the State from about 1973        concluded at that time that there were
landscape to support a lynx population        to 2003. The reviewer noted that the         “few if any” native lynx in Colorado at
or subpopulation over time and,               lynx population introduced to Colorado       the time of listing (65 FR 16059).
therefore, is essential to the                from 1999 through 2006 has persisted            In our 2003 remanded determination
conservation and recovery of the DPS.         until the present, though its long-term      of status for the lynx DPS (68 FR 40076),
“Mapped” (or potential) lynx habitat is       persistence remains truly unknown. The       we noted that, in addition to the
a tool for determining habitats in which      reviewer suggested that the long-term        evidence (above) suggesting the
lynx “may be present” (and therefore          persistence of lynx in Minnesota is          potential existence of a resident lynx
which may require consultation under          similarly unknown, and that “. . .the        population in Minnesota historically
section 7), regardless of whether the         distinction of population persistence        and at the time of listing, there were 62
area is occupied by lynx or has the           between Minnesota and Colorado as            additional verified lynx records from
physical and biological features              articulated in the proposed rule seems       2000 to 2003, including 6 that provided
essential to its conservation. The “may       arbitrary, especially since there are        evidence of reproduction (68 FR 40088).
be present” standard for consultation         probably many more lynx in Colorado          In that rule, we concluded that,
under section 7 is a lower bar than that      than Minnesota.”                             although Minnesota may not always
for critical habitat designation, but it is      Our Response: We agree that defining      support lynx, “. . . northeastern
required to address the possibility of        “persistent” lynx populations in the         Minnesota often supports a resident
adverse effects or take of lynx in areas      contiguous United States is a challenge      lynx population because there is ample
not occupied by lynx populations but in       due to the imperfect historical record of    boreal forest habitat directly connected
which individual lynx may occasionally        lynx occurrence and the absence of           with that in Ontario, there is a high
or intermittently occur as transients or      reliable long-term monitoring data for       number of historic lynx records,
dispersers.                                   most places. Another contributing factor     evidence of lynx reproduction and
   Many areas of “mapped” or potential        is that most lynx habitat in the range of    cyclically abundant snowshoe hares”
lynx habitat have no verified records of      the DPS is suboptimal, patchy, and           (68 FR 40088). In the same rule, we
lynx occurrence, no evidence that they        supports lower hare densities compared       reemphasized the lack of compelling
ever supported lynx over time, and are        to the core of the lynx range in Canada      evidence that Colorado ever naturally
not essential to lynx conservation and        and Alaska, thus creating the likelihood     supported a persistent, resident lynx
recovery. The Service consults on             that there may be times, likely related to   population, stating “. . .our original
Federal projects in these areas out of        inadequate densities of snowshoe hares,      conclusion that the Southern Rocky
recognition that lynx are capable of          when lynx may be absent or at very low       Mountains supported an isolated
dispersing long distances from areas          numbers even in the best lynx habitat        resident lynx population may not be
that support populations and during           within the range of the DPS with the         correct” (68 FR 40081). We also


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suggested that the few verified historic    time (Ruediger ef al. 2000, p. 4-14—4­      National Forests in Idaho and
records in Colorado/the Southern            15). However, the reports upon which        Montana” section of this final rule, we
Rockies may represent dispersing            Ruediger ef al. based their assessment      have determined that the historic record
individual lynx that arrived during         (Halfpenny and Miller 1981; Halfpenny       of lynx occurrence and the available
extreme highs in lynx populations to the ef al. 1982; Thompson and Halfpenny            information on the quantity and
north (68 FR 40081, 40091). We              1989, 1991; Andrews 1992; Carney            distribution of lynx habitat and hare
concluded that, if there ever had been      1993) were also available to and            densities all combine to suggest that the
a resident population in Colorado, a        considered by McKelvey ef al. (2000a,       Southern Rockies do not contain the
viable resident population no longer        pp. 230-231), and the reported lynx         PCE. Therefore, these areas do not meet
existed there and the loss of a             occurrences were found to be unverified     our definition of critical habitat.
population (if one ever existed) would      and, therefore, anecdotal. We consider         We agree with the reviewer that the
most likely have been the result of         McKelvey ef al. (2000a, entire) the best    future persistence of lynx populations
natural processes because the distance      available information regarding the         in Minnesota and Colorado is uncertain.
and isolation of Colorado and the           historical distribution of lynx based on    However, the extensive boreal forest
Southern Rockies from source                verified occurrence data. We also           habitat in northeastern Minnesota,
populations severely reduced, if not        concur with McKelvey et al. (2008,          which is directly connected to similar
entirely precluded the immigration that     entire) regarding the imperative need to    and very extensive habitat and a
was likely necessary for a lynx             rely only on verified data when             persistent lynx population in
population of this region to sustain itself evaluating historical and current ranges    immediately adjacent Ontario, supports
(68 FR 40091).                              of rare and elusive species like lynx. In   our conclusion that future lynx
   We do not find support for the           that peer-reviewed paper, the authors       persistence is more likely in Minnesota
statement that lynx were absent from        provide case studies of the kinds of        than in the patchy, marginal, and
Minnesota from 1973 through 2003.           errors and conservation consequences        disjunct habitats in Colorado, which are
Meeh (1980, entire) reported trapping 37 that can occur if anecdotal (unverified)       isolated from other lynx habitats by
lynx between 1972 and 1978, including       data are relied upon for such species. In   more than 90 mi (150 km) of unsuitable
one female that showed evidence of          fact, they provide as an example the        lower-elevation habitats (McKelvey ef
reproduction and nursing, and he also       potential errors that could occur if        al. 2000a, p. 230). We acknowledge that
examined the carcasses of 32 other lynx bobcats were mistakenly identified              the Colorado population has persisted
trapped in Minnesota during that time.      anecdotally as lynx only 1 percent of the   from its 1999-2006 introduction until
The continued occurrence of lynx in         time (McKelvey ef al. 2008, pp. 553­        the present. We believe that this short­
Minnesota in the late 1970s and early       554). Therefore, based on our               term persistence is not surprising given
1980s was supported by State records of assessment of the information above, we         that the translocation of a large number
161 lynx harvested in the period 1977­      conclude that there is no reliable          of healthy lynx from Alaska and Canada
1983 (McKelvey etal. 2000a, p. 223).        evidence that lynx were able to establish   over several consecutive years, which
There were only three verified lynx         and maintain populations in Colorado        were held in captivity and brought into
records in Minnesota from 1984 to 1999, or elsewhere in the Southern Rockies for        prime health through supplemental
but lynx harvest was closed in 1984 and much of the past century.                       feeding prior to their release into
no surveys or research to document lynx                                                 Colorado, is much different than the
presence, absence, or population trend        The best available information            likely intermittent historical arrival of a
occurred during this time period (65 FR     suggests  that northeastern Minnesota       much smaller number of potentially
16056).                                     has historically supported and currently    less-fit lynx in the Southern Rockies
   In contrast, there are no verified       supports a naturally resident and           that were likely dispersing away from
records of lynx in Colorado between         persistent lynx population, indicating      food shortages associated with cyclic
1937 and 1968; single records in 1969       that this area contains the physical and    hare population crashes to the north.
and 1972; and two records in 1974           biological features essential to lynx in    We also concur with the conclusions of
(McKelvey et al. 2000a, p. 231), despite    adequate quantity and spatial               Colorado Parks and Wildlife (CPW),
the unprecedented “explosions”              arrangement to support a lynx               which acknowledged that the future
(irruptions) of lynx into the northern      population over time. Therefore, it         persistence of the introduced
contiguous United States in the early       meets our definition of critical habitat.   population is uncertain and hinges on
1960s and again in the early 1970s          Conversely, verified evidence suggests      the assumption that patterns of annual
(McKelvey ef al. 2000a, pp. 219, 242).      that Colorado (as well as southern          reproduction and survival observed as
Trapping of lynx was permitted in           Wyoming, northeastern Utah, and             of 2010 repeat themselves during the
Colorado until 1970 and would likely        northern New Mexico) did not                next 20 or more years (Shenk 2008, p.
have reflected the presence of lynx in      historically support a naturally resident   16; Shenk 2010, pp. 2, 5-6, 11).
the State if they had been there. After     lynx population over time. Although            Despite the persistence of the
1974, and despite large-scale snow­         this does not prove the absence (or         introduced population thus far, we
tracking efforts (Carney 1993,              disprove the potential presence) of the     anticipate, based on the historical
unpublished data, as cited by McKelvey PCE from all parts of the Southern               record and the patchiness and marginal
ef al. 2000a, p. 231), there are no         Rockies, it is one piece of evidence        quality of lynx habitat and hare
verified lynx records in Colorado until     which suggests that these areas may not     densities, that Colorado and the
1999 (McKelvey etal. 2000a, p. 231),        contain the physical and biological         Southern Rockies, in the absence of
when the State initiated its lynx           features essential to the conservation of   additional translocations of lynx from
translocation effort. The 2000 LCAS         lynx in adequate quantity and spatial       elsewhere, are unlikely to support lynx
concurred with McKelvey et al. (2000a,      arrangement to support a lynx               over the long term. The area’s distance
p. 231) that no lynx specimens exist for    population over time. As explained in       from source populations of lynx reduces
Colorado from 1974 to 1999 (Ruediger ef more detail below, as well as in our            the likelihood that this area will receive
al. 2000, p. 4-14), but suggested that      response to comments (11) and (23), and     the demographic support, via dispersal
other records indicate a small number of in the “Application of the Criteria to the     and immigration from other
lynx may have been present during that      Southern Rocky Mountains and Certain        populations, thought to be important to


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the maintenance of lynx populations in        connectivity than may be the case and         habitats and, thus, from northern lynx
the DPS. Further, climate projections         contended that we stated, despite the         populations by more than 90 miles (150
suggest lynx habitat will decline here as     absence of scientific evidence, that lynx     km) of unsuitable lower-elevation desert
elsewhere (Gonzalez et al. 2007, pp. 4,       use habitat “stepping stones” to connect      and sagebrush habitats. We do not know
8), making habitats in these areas even       Montana to the Greater Yellowstone            to what extent this isolation contributed
more marginal, patchy, and isolated           Area (GYA). The reviewer suggested            to the historical inability of lynx to
and, therefore, even less capable of          that lynx in the GYA may be maintained        naturally establish and maintain viable
supporting lynx populations over time.        by pulses of lynx from populations in         resident breeding populations in
   Regardless, unlike the long-term           Canada rather than movements of               Colorado and elsewhere in the Southern
presence of naturally resident and            animals from Montana populations, and         Rockies, but we believe that it is
persistent populations in northeastern        that recognizing this uncertainty is          reasonable to conclude that it is a factor.
Minnesota and elsewhere within the            important as it relates to lynx in            We also did not state or imply that the
range of the DPS (despite times when          Colorado. The reviewer felt the               GYA lynx population is maintained by
lynx numbers were likely very low in          proposed rule downplayed the                  movements of animals from Montana
those places), the current presence of        persistence of the Colorado population        populations; rather, we meant that the
the introduced population in the              because it lacked habitat “stepping           habitats that support lynx in northwest
Southern Rockies does not connote that        stones” from northern populations, and        Montana are part of a potential dispersal
habitats there contain the physical and       that the absence of habitat “stepping         corridor that may provide connectivity
biological features essential to lynx in      stones” did not prevent several lynx          between lynx in the GYA and
quantities and spatial arrangements           from the population introduced into           populations in Canada (78 FR 59434).
adequate to support lynx populations          Colorado from dispersing (northward) to       We agree that the extent to which lynx
over time. It is possible that similar        the GYA.                                      use any potential dispersal corridors is
introductions in other places with few           Our Response: The best available           uncertain.
historical records and which also have        information indicates that lynx                 Finally, our intent is not to downplay
likely not supported naturally resident       populations in the DPS rely on                the achievements of the introduction
lynx populations (e.g., northern              augmentation from populations in              effort in Colorado, but rather to explain
Vermont, northern Michigan, northern          Canada. Based on genetic analyses,            what we think the presence of the
Wisconsin, western and central                Schwartz etal. (2002, entire) concluded       introduced lynx population does and
Minnesota, southwestern Montana,              that the persistence of lynx populations      does not tell us about whether the
central and southern Idaho, southern          in the contiguous United States depends       habitat contains the PCE and is essential
Washington and Oregon) would achieve          on dispersal from larger populations          to the conservation of the DPS (also see
results similar to those observed in          (also see response to comment (23),           our response to comment (10), above).
Colorado. However, that finding also          below). As we stated in the proposed          We acknowledged in the proposed rule
would not confirm the presence in those       rule (78 FR 59434), connectivity and          that lynx are highly mobile and
places of the essential physical and          interchange with lynx populations in          regularly move long distances (78 FR
biological features in adequate quantity      Canada is thought to be essential to the      59435) and that some lynx from the
and spatial arrangement to support lynx       maintenance and persistence of lynx           population introduced into Colorado
populations over time. We believe it          populations in the contiguous United          dispersed widely, including north
would be inappropriate and speculative        States (McKelvey et al. 2000b, p. 33;         across the expanse of unsuitable habitat
to designate critical habitat in such         U.S. Fish and Wildlife Service 2005, p.       that separates potential lynx habitat in
areas that, based on the historical record    2; Interagency Lynx Biology Team 2013,        the Southern Rockies from lynx habitats
of verified occurrence and assessment of      pp. 34, 42, 47, 54, 60, 65; Squires et al.    to the north (78 FR 59434, 59448­
the available information on habitat          2013, p. 187). Additionally, we are           59449). Clearly lynx from the north also
quantity and spatial configuration,           aware of no persistent resident lynx          occasionally reached the Southern
appear historically and currently             populations in the DPS that are not           Rockies historically, as evidenced by the
incapable of supporting viable lynx           directly (Maine, Minnesota, northern          few verified records for Colorado and
populations over time. We find no             Montana and northern Idaho, and               southern Wyoming. However, we find
evidence that such areas can contribute       northern Washington) or indirectly            that the best available information
meaningfully (let alone be essential) to      (GYA) connected to lynx populations in        suggests that Colorado and the Southern
the conservation and recovery of the          Canada via suitable or potentially            Rockies do not contain the physical and
lynx DPS. Therefore, we have not              suitable boreal or subalpine forest           biological features essential to lynx in
designated critical habitat in Colorado       habitat.                                      adequate quantity and spatial
or the Southern Rockies despite the              We used the term “habitat ‘stepping        arrangement to support lynx
benchmarks achieved by the                    stones’ ” in the Background section of        populations over time, and we have not
introduction program there.                   the proposed rule (78 FR 59434) to            designated critical habitat in these areas.
   (11) Comment: One peer reviewer            describe the relative connectivity of            (12) Comment: One peer reviewer felt
noted that there is scientific evidence       populations in the Rockies to larger          that our use of the term “transitional”
that lynx populations in the contiguous       populations in Canada. We did not state       when describing boreal forests in the
United States are connected with those        that we are certain lynx use these            range of the DPS implied that lynx
in Canada but that it is unclear (a) if the   habitat patches, but rather that patches      habitat used by southern populations is
persistence of southern populations           of habitat potentially conducive to           almost “ephemeral,” and that our
depends on their own productivity or if       dispersal exist between the GYA and           characterization that lynx habitat in the
augmentation from Canada is truly             lynx populations to the north and, as         contiguous United States is transitional
needed, and (b) what role connectivity        noted previously by others (e.g.,             lacks support and is misleading.
among southern populations plays in           McKelvey et al. 2000a, p. 230;                   Our Response: We use the term
maintaining the overall metapopulation        Interagency Lynx biology Team 2013, p.        “transitional” (78 FR 59433, 59434,
structure. The reviewer felt the              50), that this is not the case in Colorado,   59438) to describe the southern margin
proposed rule implied a higher degree         where potential lynx habitat is separate      of the boreal forest that extends into the
of certainty regarding population             and isolated from other potential lynx        northern contiguous United States,


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where it “transitions” to other more        Biology Team 2013, p. 29) and                 specifically noted differences in lynx
temperate forest types, which is            ephemeral.                                    habitat use in winter versus summer (78
consistent with its use in Meeh (1980,         (13) Comment: One peer reviewer felt       FR 59439). Similarly, we discussed in
p. 271), Agee (2000, pp. 40, 41, 44), the   we inappropriately cited a non-peer-          some detail in the Special Management
2000 listing rule for the lynx DPS (65 FR   reviewed publication (Berg and Inman          Considerations or Protection section (78
16052, 16056, 16081-16082), the 2003        2010) to support the statement that           FR 59445) and the Proposed Revised
clarification of findings (68 FR 40077),    “. . . important foraging habitat for lynx    Critical Habitat Designation section (78
the 2007 “Significant Portion of the        is often more limited and fragmented in       FR 59456) the influence of industrial
Range” clarification (72 FR 1188), the      the contiguous United States than it is       timber management and large-scale
2009 revised critical habitat rule (74 FR   in the northern boreal forests of Canada      clearcutting on lynx habitat in Maine.
8616, 8635), the 2009 12-month finding      and Alaska” (78 FR 59434).                    However, we did not discuss the role of
on a petition to include New Mexico in         Our Response: We believe that our          herbicides there, so we have added that
the lynx DPS (74 FR 66939), and the         use of this citation is appropriate given     information to the Critical Habitat,
revised Lynx Conservation Assessment        the authors’ histories of research and        Boreal Forest Landscapes section of this
and Strategy (LCAS; Interagency Lynx        monitoring with regard to lynx,               final rule, and in our response to
Biology Team 2013, pp. 39, 44, 52). It      snowshoe hares, and other carnivores          comment (19), below, where we provide
is important that readers understand        and their respective habitats. We also        additional detail regarding historic,
that both lynx and snowshoe hares are       cited in the proposed rule (78 FR 59433)      recent, and projected future densities of
true boreal forest species, and that most   many other published references               lynx in Maine.
boreal forest habitats in the northern      describing the marked differences                (15) Comment: One peer reviewer felt
contiguous United States become patchy      between snowshoe hare (i.e., lynx             that den habitat in the Northern Rockies
and marginal for both species as these      foraging) habitats in the contiguous          was poorly defined and that the
forests transition to other forest types.   United States and those in the boreal         proposed rule did not clearly describe
The transitional nature of the boreal       forest of Canada and Alaska: Wolff 1980,      how lynx respond to environmental
forest at its southern extent is believed   pp. 123-128; Buehler and Keith 1982,          characteristics at dens at various spatial
(along with competition from other hare     pp. 24, 28; Koehler 1990, p. 849;             scales.
predators) to limit the numbers of both     Koehler and Aubry 1994, p. 84; Aubry             Our Response: Although our
hares and lynx, preventing either from      ef al. 2000, pp. 373-375, 382, 394;           discussion of denning habitat in the
regularly achieving densities in the        Interagency Lynx Biology Team 2013, p.        Background section (78 FR 59435) was
                                            77).                                          general in nature, we included a more
contiguous United States comparable to
                                               (14) Comment: One peer reviewer felt       detailed and region-specific discussion
those regularly achieved in the classic
                                            that seasonal and geographic differences      in the Critical Habitat, Sites for
boreal forests at the centers of their
                                            in lynx habitat were poorly described in      Breeding, Reproduction, or Rearing (or
ranges in north-central Canada.
                                            the proposed rule and that clear              Development) of Offspring section (78
   Although some mature multistory          articulation of how lynx habitat differs      FR 59441-59442), where we
forest stands may provide stable lynx       across the southern population would          summarized the available pertinent
and hare habitat over time (Interagency     be helpful. As an example, the reviewer       information regarding lynx den-site
Lynx Biology Team 2013, p. 29), in          noted that the habitat used in winter by      selection for each region in the range of
many parts of the DPS range lynx and        lynx in the Northern Rockies (mature          the DPS. However, we did not go into
hares fare best in areas with large         multistoried forests with dense               detail concerning lynx den selection in
proportions of young regenerating early-    horizontal cover at ground/snow level;        response to environmental cues at
successional stands that exist              Squires ef al. 2010, pp. 1648, 1653,          various spatial scales because we did
temporarily following disturbance           1656) is almost opposite the habitat          not think it is germane to the discussion
(Aubry et al. 2000, p. 374; Interagency     used by lynx in Maine year-round              of critical habitat given that denning
Lynx Biology Team 2013, pp. 28-29). In      (young, regenerating spruce-fir; Vashon       habitat is not thought to be a limiting
the absence of additional disturbance,      ef al. 2012, pp. 15-16). The reviewer felt    factor for lynx anywhere within the
many of these stands will, through          that (a) readers should understand that       range of the DPS.
natural forest succession, mature into      management actions in Maine may have             (16) Comment: One peer reviewer
stands with less dense vegetative cover     actually created lynx habitat, (b) it is      suggested that the designation of critical
at ground or snow level, providing less     unclear whether Maine could support           habitat apparently does little to alter
food and cover for hares and reducing       lynx without extensive forest                 Federal responsibilities for the species’
the quality of foraging habitat for lynx.   management with herbicide treatment,          management but that it is unclear how
For example, much of the current higher     and (c) the role that herbicide treatment     designation may affect lynx
quality hare and lynx foraging habitat in   of forests in Maine played to create/         management and conservation on State
northern Maine occurs in 15- to 35-year-    promote the conifer infill that lynx          and Tribal lands. The reviewer felt
old dense, regenerating spruce-fir stands   depend on should be discussed.                readers need to fully understand what
that were previously clearcut (78 FR           Our Response: Although our                 the inclusion in or exclusion from a
59456). As these stands continue to         introductory discussion of lynx habitat       critical habitat designation means to
mature, and with timber harvest             in the Background section of the              lynx conservation and management on
practices and regulations that have         proposed rule (78 FR 59434-59435) was         all lands, but especially for State and
shifted away from clear-cut harvest and     general in nature, we provided much           Tribal lands in Montana that were
use of herbicides to promote conifer        more detail on geographic and seasonal        considered for exclusion in the
regeneration, hare and lynx habitats are    differences in lynx habitat in the Critical   proposed rule and which we have
expected to decline broadly across the      Habitat, Physical or Biological Features      excluded from designation in this final
area, with the lynx population projected    section, where we described differences       rule. The reviewer also felt that our
to decline by 55 to 65 percent in the       in boreal forests and lynx habitat            rationale and justification for excluding
next 20 years (Simons 2009, p. 217). In     characteristics for each of the regions       Tribal lands and lands managed in
a sense, then, some lynx habitats truly     within the range of the DPS (78 FR            accordance with the Montana
are “temporary” (Interagency Lynx           59437-59442). In that section, we             Department of Natural Resources and


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Conservation (MDNRC) Forested State          have in this final rule presented our        the GYA is naturally marginal (patchier
Trust Lands Habitat Conservation Plan        detailed evaluation of the benefits of       and composed in many places of drier
(HCPJ should be better articulated and       including these lands compared to the        forest types), less capable of supporting
fully explained in the final rule.           benefits of excluding them (see              snowshoe hares (Hodges et al. 2009,
   Our Response: We described the            Consideration of Impacts under Section       entire), and farther from source
general and specific regulatory benefits     4(b)(2) of the Act, below). We have          populations than most other parts of the
of critical habitat to lynx conservation     determined that the benefits of              DPS range (68 FR 40090). Given the
in our response to comment (8), above,       excluding MDNRC lands outweigh the           naturally marginal habitat in this largely
and in the Consideration of Impacts          benefits of including them in the lynx       protected area, we believe it is unlikely
under Section 41b)(2) of the Act section,    critical habitat designation and that        that the GYA ever supported more than
below. Because a Federal action or           doing so will not result in the extinction   a handful of lynx home ranges in any
“nexus” exists for all activities that may   of the lynx DPS.                             given year. We find no evidence that the
affect lynx on Federally managed lands,         With specific regard to Tribal lands,     GYA once supported a larger or more
the regulatory benefits of consultation in   in accordance with Secretarial Order         robust lynx population than the small
accordance with section 7 of the Act are     3206, “American Indian Tribal Rights,        one suggested by verified historic and
more likely to occur. Federal agencies       Federal-Tribal Trust Responsibilities,       recent records and survey efforts.
must consult with the Service to ensure      and the Endangered Species Act” (June           (18) Comment: One peer reviewer
that no activity they carry out, permit,     5, 1997); the President’s memorandum         suggested that lynx habitat in the
authorize, or fund will result in the        of April 29, 1994, “Government-to-           western United States has contracted
destruction or adverse modification of       Government Relations with Native             significantly in the last decade from fire
designated critical habitat.                 American Tribal Governments” (59 FR          and insect outbreak, although these
   Activities on State, Tribal, or private   22951); Executive Order 13175                changes are fairly recent and thus not
lands that involve a Federal nexus must      “Consultation and Coordination with          addressed in the scientific literature.
similarly undergo section 7                  Indian Tribal Governments;” and the          The reviewer cited the almost complete
consultation, though it is the Federal       relevant provision of the Departmental       die-off of Engelmann spruce (Pica
“action agency” that consults with the       Manual of the Department of the Interior     engelmanii] from 400,000 acres (161,874
Service. However, there is no                (512 DM 2), we believe that fish,            hectares) of spruce-fir forests in the San
consultation requirement for activities      wildlife, and other natural resources on     Juan Mountains in Colorado because of
on State, Tribal, or private lands for       Tribal lands are better managed under        spruce budworm infestation, and an
which a Federal nexus does not exist.        Tribal authorities, policies, and            increase in fire activity in the Northern
With regard to lynx, the activities most     programs than through Federal                Rockies since the mid-1980s at
likely to impact the species or its          regulation wherever possible and             elevations that largely overlap lynx
habitats involve timber harvest, fire/       practicable. Such designation is often       critical habitat.
fuels management, or other vegetation        viewed by Tribes as an unwanted                 Our Response: Climate change has
or silvicultural treatments—activities       intrusion into Tribal self-governance,       resulted in warmer and drier conditions
that most often lack a Federal nexus on      thus compromising the government-to-         that have increased the number and
State, Tribal, or private lands. When        government relationship essential to         extent of wildfires in the western United
evaluating whether to designate critical     achieving our mutual goals of managing       States and in boreal forests in Canada,
habitat in such places, we assess the        for healthy ecosystems upon which the        and projected climate changes suggest
benefits of inclusion versus the benefits    viability of threatened and endangered       this trend will continue, with increases
of exclusion, and we only exclude areas      species populations depend. We have          likely in the frequency of large, intense
for which the benefits of exclusion          added details on Tribal management           forest fires (IPCC 2014a, p. 31; IPCC
outweigh those of inclusion. In the case     goals and plans, land status, and lynx       2014b, p. 4; Joyce et al. 2014, p. 178;
of Tribal lands and State or private         conservation efforts to our consideration    Mote et al. 2014, p. 495). Climate change
lands with finalized lynx management         of and rationale for these Tribal lands      is also increasing the vulnerability of
plans or habitat conservation plans          exclusions. See Exclusions Under             western forests to insect and tree­
(HCPs), we have determined that Tribal       Section 4(b)(2) of the Act, below, for a     disease outbreaks; large-scale tree die­
management, and State and private            detailed discussion of why these lands       offs have already occurred and are likely
management in accordance with                have been excluded.                          to increase in the future, and the
finalized plans or HCPs, is more                (17) Comment: One peer reviewer           subalpine forests on which lynx in the
beneficial to lynx than a critical habitat   suggested there is limited anecdotal         western contiguous United States
designation would be. One component          evidence that lynx in the Greater            depend may be particularly at risk
of this analysis is the recognition that     Yellowstone Area (GYA) are declining,        (Joyce ef al. 2014, p. 177; Mote et al.
many activities that could affect lynx on    based on the failure to trap any “native”    2014, pp. 495-496). However, the
these lands lack a Federal nexus,            lynx there in 2005-2006 (the only lynx       potential consequences of climate
thereby precluding opportunity to            encountered were thought to have been        change for lynx populations and their
achieve conservation via section 7           associated with the introduced               habitats remain unquantified. Fire and
consultation resulting from designation.     population in Colorado).                     insects have been important elements of
Therefore, management in accordance             Our Response: We do not have              these forests historically, helping to
with Tribal forest and/or wildlife           evidence of a decline in the GYA lynx        maintain the mosaic of forest
management plans and HCPs or other           population. Although the GYA has a           successional stages thought to be
formal management plans on State or          long history of lynx presence and recent     important to lynx and snowshoe hares.
private lands is more likely to result in    evidence of reproduction (Squires and        We have no evidence that these factors
conservation of the lynx and its habitats    Laurion 2000, entire; Squires et al. 2001,   (fires and insect outbreaks) have thus far
than would be achieved via designation       entire; Murphy et al. 2006, entire), there   altered lynx habitats to the extent that
as critical habitat.                         are relatively few verified records of       landscapes historically or recently
   With specific regard to lands managed     lynx from Yellowstone National Park          capable of naturally supporting lynx
in accordance with the MDNRC HCP (as         and surrounding areas (65 FR 16058, 68       populations can no longer do so,
well as those for other exclusions), we      FR 40090). Additionally, lynx habitat in     although climate projections suggest


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such changes are possible in the future.     which is still three times as many lynx      lynx populations resulted from the
If lynx habitat has indeed contracted, it    as are thought to have inhabited Maine       physical movement of lynx from the
may be a temporary effect, and as            during a population low in the 1970s         north or if southern populations
regeneration and regrowth of these areas     (Vashon ef al. 2012, pp. 57-60).             increased due to a related
progresses, they should return to lynx          How these numbers compare to              environmental factor (e.g., increased
habitat so long as fire, insect outbreaks,   historic lynx numbers in Maine is            hare abundance), and that this
and climate warming and drying have          uncertain. Lynx have had a relatively        uncertainty also was not communicated
not permanently altered the vegetative       constant presence in Maine since they        in the proposed rule.
capacity and climax forest potential of      were first documented in the State in           Our Response: We agree that it is
these sites.                                 1833 (Hoving 2001, pp. 6-38). In             uncertain whether the demographic
   (191 Comment: One peer reviewer felt      general, lynx likely occurred at low         health of lynx populations in the DPS is
the proposed rule was unclear whether        densities prior to European settlement,      reliant on augmentation from Canadian
the projected reduction in lynx habitat      when relatively small amounts of the         populations and, if so, to what extent,
in Maine was due primarily to a shift in     spruce-fir forests in the State are          and whether current rates of
timber harvest away from clearcutting to     thought to have been composed of             interchange/immigration are sufficient
partial harvest, or if the herbicide use     young stands (Lorimer 1977, entire;          to provide demographic rescue (also see
that had helped create conifer-              Vashon et al. 2012, pp. 45, 56), but they    response to comment (22), below). We
dominated stands of value to lynx and        likely responded positively to stand­        recognized and articulated some of
hares has also been greatly curtailed.       replacing fires, wind events, and insect     these uncertainties at several places in
The reviewer also wondered if the            outbreaks (Hoving 2001, p. 25).              the proposed rule. For example, we
decline would be a return to historical      Audubon and Bachman (1852)                   stated that lynx in the contiguous
levels of lynx habitat in Maine prior to     described lynx as occurring in               United States appear to function as
the extensive habitat fragmentation from     regenerating forest following fire in        discrete subpopulations connected via
earlier clearcutting and herbicide           Maine, and H.D. Thoreau (1893) noted         dispersal to the larger Canadian
treatment and suggested we clarify this      that lynx were common in the “burnt          metapopulation, that lynx disperse in
relationship in the final rule.              lands.” Lynx may have also responded         both directions across the United States-
   Our Response: The current abundance       to timber harvest, which by 1900 had         Canada border, and that this interchange
of snowshoe hare habitat (and,               expanded to smaller diameter spruce for      is thought to be essential to the
therefore, lynx foraging habitat) in         a growing paper industry. It is likely,      maintenance and persistence of lynx
northern Maine was created by large-         then, that lynx numbers in Maine have        populations in the DPS (78 FR 59434).
scale clear-cut timber harvest of about      fluctuated since European settlement,        We similarly stated that the degree to
55 percent of the forestlands in northern    depending on the size and distribution       which regional lynx populations in the
Maine in response to a 1973-1985             of natural and human disturbances and        DPS are influenced by local hare
spruce budworm {Choristoneura                the resultant young regenerating forest      population dynamics is unclear, and
fumiferana] outbreak (Simons 2009, pp.       stands. At times, lynx were considered       that lynx presence and population
64, 218). Some of these clearcuts were       very common, and in some years in the        dynamics in the DPS appear to be more
treated with herbicide to promote            1800s, 200-300 lynx were harvested in        influenced by the occurrence of
conifer regeneration by reducing             Maine (Hoving ef al. 2003, p. 363).          irruptions from Canada than by
competition from deciduous species              Finally, the extent to which herbicide    intrinsically generated hare population
(Scott 2009, p. 7). From about 15 years      treatment to favor conifer regeneration      cycles within the DPS range (78 FR
to 35 years post-harvest, these              contributed to the development of            59436).
regenerating stands provide excellent        optimal hare habitats in regenerating           (21) Comment: One peer reviewer
cover and forage for snowshoe hares          clearcuts (versus regeneration in            suggested that the proposed rule
(Simons 2009, pp. 217-218), and the          untreated stands) is unclear. Herbicide      assumes that peripheral southern lynx
prevalence of such stands is credited        treatment is expensive, and even in the      populations (outside proposed critical
with the rapid increase in lynx numbers      1980s, when herbicide application was        habitat) failed to persist due to
in Maine in the mid-1990s and early          highest, less than 20 percent of clear-cut   unsuitable habitat conditions but did
2000s (Simons 2009, pp. 64, 122;             stands were treated. The areal extent of     not mention that no large incursion of
Vashon et al. 2012, pp. 56-57). As these     herbicide application decreased by           lynx has happened in the western
stands mature beyond about 35 years          about 78 percent in 2000-2007                United States in the absence of active
post-harvest, hare densities begin to        compared to peak application in the late     persecution (i.e., trapping).
decline as cover and forage are reduced      1980s, which may reduce the amount of           Our Response: We believe the best
due to forest succession (Simons 2009,       conifer-dominated regenerating hare          available information indicates that we
p. 217). The areal extent of these high-     and lynx habitats in the future (Scott       have included within the final critical
quality hare habitats is believed to have    2009, pp. 122-123).                          habitat designation all places in the
peaked between 2007 and 2010, and               (20) Comment: One peer reviewer           contiguous United States historically
lynx numbers in Maine also likely            commented that there was an                  and currently capable of naturally
peaked at about that time (Simons 2009,      assumption in the proposed rule that         supporting lynx populations and which
p. 142; Vashon ef al. 2012, pp. 50, 57).     lynx populations within the DPS require      will provide for the conservation of
With the reductions in both clearcutting     demographic rescue periodically from         lynx. We are aware that no large
and herbicide application following          populations in Canada. The reviewer          irruptions of lynx from Canada into the
enactment of the Maine Forest Practices      suggested that it is unknown if              contiguous United States have been
Act of 1989, it is projected that lynx       augmentation from northern                   documented since the DPS was listed
densities will decline by 55 to 65           populations is sufficient for                and harvest was prohibited throughout
percent by 2032 (Simons 2009, p. 217).       demographic rescue and that this             its range. However, in the absence of
By then, the lynx population, which is       uncertainty was poorly articulated in        trapping, which provided most of the
thought to have peaked at between 750        the proposed rule. The reviewer also         data upon which the history of past
and 1,000 adults in 2006, may decline        suggested that it is unknown if the          irruptions was constructed, and with
by more than half to perhaps 300 adults,     lagged synchrony observed in southern        limited monitoring of lynx populations


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on both sides of the border, there is        fragmented, and more isolated (Carroll      climate change, habitat loss/
uncertainty about the number of lynx         2007, pp. 1099-1100; Johnston et al.        fragmentation, or a combination of these
that may be moving between                   2012, p. 11), and that lynx populations     factors, is more likely to result in
populations in Canada and those in the       could become more vulnerable to             demographic rather than genetic
contiguous United States.                    stochastic environmental and                impacts to lynx populations in the DPS.
   We have no evidence that lynx were        demographic events because of smaller       But, as with gene flow, the level of
disproportionately persecuted in areas       population sizes and increased isolation    diminished connectivity at which DPS
outside those we have designated             (Carroll 2007, pp. 1100-1103). However,     populations could suffer demographic
(secondary or peripheral areas), and         the level at which reduced connectivity     impacts is unknown. Finally, how hare
lynx populations in designated areas         might affect the demographic or genetic     and lynx population cycles may be
have persisted despite being similarly       health of populations in the DPS is         affected by climate change remains
exposed to hunting and trapping prior        unknown.                                    unclear (Yan ef al. 2013, p. 3264);
to listing. Additionally, other than            Schwartz ef al. (2003, entire)           therefore, estimating the magnitude of
relatively low levels of reported            documented reduced genetic variation        potential future demographic and
incidental trapping (with very few           (lower mean number of alleles per           genetic impacts to southern lynx
resulting in lynx mortality), lynx have      population and lower expected               populations remains elusive. If climate
not been persecuted in the past 14 years     heterozygosity) among peripheral lynx       change does dampen hare (e.g., Ims ef
since listing. In that time, populations     populations compared to populations in      al. 2008, pp. 81, 85) and lynx
have persisted in the areas designated as    the core of the lynx geographical range.    population cycles, and that dampening
critical habitat, while other areas (with    While recognizing that small changes in     alters the periodicity and/or reduces the
the possible exception of small areas of     genetic variation can lead to large         magnitude of immigration from
northern New Hampshire, northern             changes in population fitness, the          Ganadian to DPS lynx populations
Vermont, and Maine outside the               authors noted that the differences          (which is poorly understood to begin
designated area) have failed to attract      between core and peripheral                 with), then demographic and genetic
lynx and support establishment of            populations in their study were small       impacts are possible.
populations. We interpret this as a          enough to suggest a lack of significant
                                                                                            (23) Comment: Peer reviewers and
strong indication that these secondary       population subdivision (i.e., no
                                                                                         other commenters presented conflicting
and peripheral areas lack one or more of     indication of genetic isolation,
the essential physical or biological         substantial genetic drift, or potential     views on whether Colorado and other
                                                                                         parts of the Southern Rockies (southern
features in adequate quantity and/or         genetic “bottlenecks” among DPS
spatial arrangement, and that it is less     populations; Schwartz ef al. 2003, p.       Wyoming, northeastern Utah, and
likely, given the previously noted           1814). This finding is consistent with      northern New Mexico) should be
dispersal capabilities of lynx, that these   their earlier work, which documented        included in the designation. Two peer
areas represent good lynx habitat which      high levels of gene flow (the highest yet   reviewers agreed with our
lynx have been unable to locate and          documented for any carnivore) between       determination that Colorado and the
colonize (but see response to comment        core and peripheral lynx populations        Southern Rockies do not contain the
(22), below).                                despite large separation distances          PCE and are not essential to
   (22) Comment: One peer reviewer           (Schwartz etal. 2002, pp. 520-522).         conservation of the lynx DPS. One peer
noted that maintaining connectivity for      Their results did not suggest that          reviewer questioned the consistency of
lynx populations in the contiguous           reduced genetic variation among             our logic in not designating critical
United States may become increasingly        peripheral populations was due to           habitat in Colorado and the Southern
difficult in the future due to climate and   human disturbance (i.e., habitat loss/      Rockies relative to its application to
anthropogenic change, that this added        fragmentation on the southern periphery     native lynx populations. The reviewer
risk was not discussed in the proposed       of the geographic range; Schwartz ef al.    thought we should consider designating
rule, and that a potentially dampened        2003, p. 1814), but they did imply that     critical habitat in Colorado and the
hare/lynx cycle in Canada (e.g., Ims et      the persistence of lynx populations in      Southern Rockies because (a) the
al. 2008, pp. 81, 85) may cause              the contiguous United States depends        introduced population may currently
demographic and genetic impacts to           on dispersal from larger (core)             include more lynx than native lynx
southern lynx populations over time.         populations (Schwartz etal. 2002, p.        populations in northwest Wyoming or
However, the reviewer noted that lynx        522).                                       Minnesota, and (b) the area used by the
from the population introduced to               Currently, there is no indication that   introduced population in the San Juan
Colorado made documented south-to-           the levels of connectivity and gene flow    Range of Colorado is larger than the area
north movements, demonstrating that          between lynx populations in the DPS         of montane forest that supports lynx in
connectivity with the native population      and those in the core of the lynx’s range   Wyoming. One peer reviewer disagreed
in the GYA is possible.                      are inadequate to maintain the genetic      with our decision not to designate
   Our Response: Climate change and          health of DPS populations. Given the        critical habitat in Colorado or elsewhere
other anthropogenic change (human-           noted dispersal capabilities of lynx, it    in the Southern Rockies and with our
caused habitat degradation/loss/             appears unlikely that levels of             determination that evidence is lacking
fragmentation) could result in smaller       connectivity and gene flow will become      to indicate that these areas historically
and more isolated lynx populations in        inadequate in the foreseeable future.       supported resident lynx populations.
the contiguous United States, with           However, because demographic rescue         The reviewer cited Cary (1911) and
reduced connectivity to lynx                 (demographic stability of peripheral        Meaney (2002) as evidence that
populations in Canada. We noted in the       populations achieved via immigration        Colorado historically supported a
Future of Lynx Habitat sections of the       from other populations sufficient to        resident lynx population. The reviewer
proposed rule (78 FR 59443) and this         offset mortality and emigration in the      suggested that parts of western
final rule (below) that climate change       peripheral population) requires much        Colorado, southern Wyoming, and
could reduce the amount and quality of       higher immigration rates than does          northern New Mexico contain the
lynx habitat in the DPS range, with          genetic rescue (McKelvey ef al. 2000b,      physical and biological features
habitat patches becoming smaller, more       pp. 23-24), reduced connectivity due to     essential to lynx in adequate quantity


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and spatial arrangement and that high         mountains of Colorado” (Meaney 2002,         adequate quantity and spatial
elevations in these areas may become          p- 5).                                       arrangement from other areas that do
important to lynx conservation if                Based on our evaluation of the            not (see also Criteria Used to Identify
climate change results in upslope             historic record of verified lynx             Critical Habitat, below). Nor does it
movement of lynx and hare habitats, as        occurrence, we find that, although lynx      allow us to determine at what specific
some models suggest. Many other               clearly occurred occasionally in the         distance and relative level of isolation
commenters urged us to designate              Southern Rockies, there is no evidence       from other lynx habitats and
critical habitat for lynx in Colorado and     that the Southern Rockies, including         populations a particular area becomes
the Southern Rockies, while others            southern Wyoming, western Colorado,          unlikely to receive adequate
supported our proposal not to designate       northeastern Utah, and northern New          demographic input (via immigration
critical habitat in these areas.              Mexico, historically supported lynx          from other populations) thought to be
   Our Response: Neither the presence of      populations. We conclude that the few        necessary for population viability and
the introduced lynx population or the         verified records from these areas were       persistence. Regardless, it is informative
large area it has used demonstrate that       most likely transient animals dispersing     that Colorado and the Southern Rockies
habitats in Colorado and other parts of       during “irruptions” from northern lynx       failed to attract lynx and support
the Southern Rockies contain the              populations after cyclic hare population     establishment and maintenance of lynx
physical and biological features              declines. As we discuss below, habitat       populations in the wake of two
essential to lynx in adequate quantity        in Colorado and the Southern Rockies is      unprecedentedly large irruptions of lynx
and spatial arrangement to support lynx       marginal, naturally fragmented, and          from Canada into the western United
populations over time or that this area       disjunct, with poor to marginal hare         States in the early 1960s and again in
is essential to the conservation of the       densities. This, combined with its           the early 1970s (McKelvey ef al. 2000a,
lynx DPS. We do not conclude that Cary        apparent historical inability to naturally   pp. 219, 242). To what degree this
(1911, pp. 44, 48, 165-167) and Meaney        supporting lynx populations, suggests        failure resulted from the marginal
(2002, entire) provide reliable evidence      that this area does not contain the PCE      quality of the habitat versus the area’s
based on verified lynx occurrence data        (see also the “Application of the Criteria   distance and relative isolation is
that Colorado historically supported a        to the Southern Rocky Mountains and          unclear. However, it is clear that, while
resident lynx population.                     Certain National Forests in Idaho and        lynx were unable to establish and
   As described above in our responses        Montana” section, below).                    maintain populations in Colorado or
to comments (10) and (11), the verified         Also as we described above in our          elsewhere in the Southern Rockies,
evidence suggests that habitats in            response to comment (10), the                other lynx populations in the DPS,
Colorado and the Southern Rockies have        persistence, thus far, of the introduced     where we have designated critical
not historically supported viable lynx        lynx population in Colorado does not
                                                                                           habitat, did persist, despite being
populations or subpopulations. The            demonstrate that habitats there contain
                                                                                           exposed to similar habitat threats and
importance of using only verified             the essential physical and biological
                                                                                           harvest pressures. That is, we have no
evidence and the need to avoid using          features in adequate quantity and spatial
                                                                                           indication that habitat loss, degradation,
anecdotal occurrence data to assess the       arrangement to support a lynx
                                                                                           or fragmentation or trapping pressures
ranges of rare and elusive species has        population over the long term. Like
                                                                                           were greater in the Southern Rockies
been amply demonstrated by McKelvey           Colorado and the Southern Rockies,
                                                                                           than in places where lynx populations
et al. (2008, entire; see also our response   many areas across the northern border
                                                                                           persisted despite them. In fact, trapping
to comment (10), above). The authors          of the United States contain some
                                                                                           lynx was prohibited in Colorado (1970)
cautioned that this is particularly           amounts of the essential physical and
                                                                                           and Wyoming (1973) long before it was
important when target species may be          biological features and have verified
                                                                                           prohibited in most other States within
easily confused with other similar but        records of lynx (in fact. New York,
more common species; using as an              Michigan, Wisconsin, and Idaho all           the range of the DPS (Maine-1967,
example the potential biological and          have more verified historic lynx records     Minnesota-1984, Washington-1990,
conservation consequences of                  than Colorado/Southern Rockies;              Idaho-1996, Montana-2000).
misidentifying even a small number of         McKelvey ef al. 2000a, p. 210), but no          Finally, although recent climate
bobcats as Canada lynx (McKelvey ef al.       evidence they have ever supported more       projections suggest that snow water
2008, pp. 553-554). Halfpenny and             than occasional dispersing lynx. The         equivalent (the amount of water held in
Miller (1980, p. 8) indicated that Cary’s     historic inability of these areas to         a given amount of snow) may decline
(1911) summary was based largely on           naturally support resident lynx              less in Colorado than in other areas of
(unverified, anecdotal) observations by       populations indicates either (a) that the    the Southwest, it is nonetheless
trappers, and the authors cited               quantity and/or spatial arrangement of       projected to decline by 26 percent by
Armstrong (1972) who said these               one or more physical or biological           the end of this century (Garfin et al.
“. . . ought to be regarded with a degree     features is inadequate, (b) the area’s       2014, p. 466). This will likely translate
of caution.” Similarly, Meaney’s (2002,       distance and relative isolation from         to a reduction in the areas that will
entire) unpublished review for the            other lynx habitats and populations          continue to have snow conditions that
Colorado Department of Transportation         prevents the consistent immigration          provide a competitive advantage to lynx
of mostly anecdotal lynx records in the       needed to provide the demographic            over bobcats and other hare predators.
State points out many of the vagaries         stability that may be necessary to           Additionally, when specifically
and inconsistencies of the anecdotal          maintain a viable lynx population, or (c)    modeling potential impacts of climate
data, very unlikely high numbers of           that a combination of these factors has      change on lynx, researchers concluded
lynx reported as trapped in some              prevented these areas from historically      that potential snow and boreal forest
counties in some years, and                   supporting lynx populations over time.       habitat refugia were most likely to occur
misidentification of large, pale bobcats         The best available information does       in the Bridger-Teton National Forest in
as lynx, but then concludes,                  not allow us to simply measure and map       northwestern Wyoming, the Superior
questionably in our opinion, that “There      each of the physical and biological          National Forest in northeastern
is no doubt that established populations      features essential to lynx and thus          Minnesota, and across western Canada,
of lynx occurred in the northern              distinguish areas that contain each in       while high-elevation parts of Colorado


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are among the areas vulnerable to the        Comments From States                          northern Idaho. The agency provided
loss of potential lynx habitat in the long      Section 4(i) of the Act states, “the       forest inventory data suggesting that
term (Gonzalez et al. 2007, pp. 4, 8).       Secretary shall submit to the State           most of the area consists of forest types
Even if suitable snow conditions persist     agency a written justification for his        not considered suitable for lynx and
in Colorado and boreal and subalpine         failure to adopt regulations consistent       requested that these lands not be
forests move upslope with continued          with the agency’s comments or                 designated as critical habitat.
climate warming, the amount of                                                                Our Response: Although these State
                                             petition.” Comments received from
potential lynx habitat, already                                                            Endowment Trust lands do not consist
                                             States regarding the proposal to
considered patchy and relatively                                                           entirely of forest types considered hare
                                             designate critical habitat for the lynx
isolated, will likely decrease, becoming                                                   and lynx foraging habitat, more than a
                                             DPS are addressed below. Other
even more patchy and isolated and less                                                     third of the area is subalpine fir, which
                                             comments from States pertaining to
capable of supporting lynx populations                                                     is considered foraging habitat. The other
                                             other issues that may be beyond the
over time.                                                                                 portion of this land is consistent with
                                             scope of this final revised critical
                                                                                           the definition of matrix habitat in the
   For these reasons, we conclude that       habitat designation (e.g., the lynx DPS’s
                                                                                           PCE, which is considered an essential
habitat in Colorado and other parts of       listing status under the Act, etc.) will be   feature of lynx critical habitat and is a
the Southern Rockies is marginal,            addressed in separate letters to the          component of the PCE. Further, while
naturally fragmented, and disjunct; that     States.                                       this parcel is at the edge of the
it has not been historically capable of         (25) Comment: The Maine Department
                                                                                           designated area, it is surrounded by and
supporting natural resident lynx             of Inland Fisheries and Wildlife              contiguous with other similar forest
populations; that it has not been            supported our determination that the          types that also meet the criteria for
demonstrated to contain all of the           Van Buren and Herseytown-Staceyville          critical habitat despite being composed
physical and biological features             areas of Maine, which we proposed to          of both foraging and non-foraging (i.e.,
essential to lynx in adequate quantity       designate and which we have                   matrix) habitats. We have determined
and spatial arrangement to support lynx      designated as lynx critical habitat in this   that these State lands contain the
populations over the long term (i.e., it     final rule, contain the PCE and may be        physical and biological features (PBFs)
does not contain the PCE); and that it is    essential to lynx conservation. However,      essential to the conservation of the lynx
not essential to the conservation of the     the agency provided its opinion that          DPS and that they are part of the
DPS. Therefore, we have not designated       these areas were likely not occupied by       landscape that has supported a resident
critical habitat for lynx in Colorado or     lynx at the time of listing and included      lynx population over time. Therefore,
elsewhere in the Southern Rocky              documentation of standardized lynx            we have determined that these State
Mountains.                                   surveys conducted in northwestern             Endowment Trust lands contain the
                                             Maine in 1995-1999 and 2003-2008,             PCE, and we have included this area
   (24) Comment: One peer reviewer,          and other confirmed lynx occurrences
one Federal agency commenter, and                                                          within the final critical habitat
                                             from 1995-2000.                               designation.
several other commenters took                   Our Response: We reviewed the
exception to our description of the                                                           (27) Comment: The New Mexico
                                             survey information provided by the            Department of Agriculture requested
translocation of lynx from Alaska and        agency and determined that the 1995­
Canada to Colorado as an                                                                   that the State-boundary-based DPS
                                             1999 and 2003-2008 surveys did not            range remain in place and that New
“introduction” rather than a                 adequately cover the Herseytown-
“reintroduction.”                                                                          Mexico be specifically excluded from it.
                                             Staceyville or Van Buren areas and,           The agency believes that a geographical
   Our Response: As described above in       therefore, do not sufficiently                DPS boundary based on the habitat
our responses to comments (10), (11),        demonstrate that lynx were absent from        requirements of lynx is more
and (23), we believe the weight of           these areas at the time of listing. We        appropriate than the proposed revised
verified evidence suggests that Colorado     have reviewed additional lynx record          “verbal definition” of the DPS that
did not historically support a resident      data that indicate lynx have occupied         would extend the Act’s protections to
native lynx population, and that the few     the Herseytown-Staceyville and Van            lynx wherever they may occur in the
verified records of lynx prior to the        Buren areas historically and since the        contiguous United States. The agency
introduction of the current population       lynx DPS was listed under the Act, and        feels that the proposed change could
were likely transient, dispersing            which demonstrate occupancy at the            increase section 7 consultation
animals. Although the translocation of       time of listing in adjacent towns             requirements for actions on Federal
lynx from Alaska and Canada to               (Hoving 2001, pp. 16, 170-179; Hoving         lands in northern New Mexico,
Colorado has often been referred to as a     ef al. 2003, entire; U.S. Fish and            negatively affecting ranching operations
reintroduction, including in some            Wildlife Service 2013c, entire). For          that hold Federal grazing permits on
documents by the Service, we believe it      these reasons, we find that the best          Forest Service or BLM lands, and
represents the establishment of a lynx       available information indicates that the      perhaps precluding or delaying range
population in a place that, based on our     newly designated Van Buren and                improvement and watershed restoration
evaluation of the best available             Herseytown-Staceyville areas were             projects on these lands.
information, apparently did not support      likely occupied by lynx at the time of           Our Response: Our 2000 listing rule
one previously and, therefore, is more       listing and that these areas contain the      (65 FR 16052) and our 2003 clarification
accurately described as an introduced        PCE. Also see our response to comment         of findings (68 FR 40076) used State
population. We have clarified the text       (3), above, and Recent Lynx Occurrence        boundaries within what we understood
throughout this rule to indicate that our    and Reproduction in Northern New              to be the range of lynx in the contiguous
use of the term “introduction” refers to     Hampshire, Northern Vermont, and              United States at that time.
the establishment of a lynx population       Eastern and Western Maine, below).            Subsequently, lynx associated with the
in Colorado, as opposed to the                  (26) Comment: The Idaho Department         introduced population in Colorado were
reintroduction of individual lynx into       of Lands noted that the proposed rule         confirmed in northern New Mexico.
an area where individual lynx rarely         included 26 acres (0.04 mi^ (0.1 km^))        Revising the existing range of the DPS
occurred historically.                       of State Endowment Trust lands in             with this rule addresses that


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inconsistency between the current range     Federal land managers and agencies that      Shoshone National Forest. Many other
of lynx and how the lynx DPS was            carry out, fund, or permit activities that   commenters support the proposed
delineated so that the lynx DPS is now      may affect lynx or lynx habitats should      additions to critical habitat in the GYA.
consistent with our DPS policy. Because     review their actions to determine               Our Response: In our previous
lynx may be present in northern New         whether consultation with the Service is     evaluations of critical habitat for lynx,
Mexico, Federal land managers and           necessary to ensure that these activities    we determined that habitats in the GYA,
agencies that may authorize, fund, or       do not jeopardize the lynx DPS. We do        including portions of northwest
permit activities where lynx may be         not anticipate significant restrictions on   Wyoming in Yellowstone National Park
present should review their actions to      otherwise lawful activities as a result of   and the Bridger-Teton and Shoshone
determine whether consultation with         these consultations, and we expect little    National Forests, contain the physical
the Service is necessary to ensure that     if any impacts to private landowners         and biological features essential to the
such activities do not jeopardize the       because activities on private lands          conservation of lynx, and that the area
lynx DPS. However, we do not foresee        would only undergo section 7                 has a long history of lynx presence (70
a dramatic increase in section 7            consultation if they had a Federal nexus     FR 68294; 74 FR 8619, 8643-8644). As
consultations because most of the           (also see our responses to comments (8)      described in our response to comment
potential lynx habitat in New Mexico        and (16), above). Because the Act does       (17), above, habitats in the GYA have
occurs on the Carson and Santa Fe           not allow us to consider economic or         been demonstrated to contain the
National Forests, and these Federal         social impacts when making listing           essential features in sufficient quantity
lands managers already coordinate with      determinations (such as redefining the       and spatial arrangement because they (a)
the Service to avoid potential impacts to   range or boundaries of a listed species),    have supported a small but persistent
lynx and their habitats. Further, because   it is not necessary, and would be            lynx population over time, and (b) were
grazing by domestic livestock is not        inappropriate, to conduct NEPA               occupied by lynx at the time of listing
likely to adversely affect hare or lynx     analysis on the revision to the lynx DPS     (Squires and Laurion 2000, entire;
habitats (Interagency Lynx Biology          range.                                       Squires et al. 2001, entire; Murphy et al.
Team 2013, p. 85), we do not anticipate                                                  2006, entire). Therefore, the GYA meets
                                               (29) Comment: The Wyoming Game
additional regulatory burdens to Federal                                                 our criteria for designation as critical
                                            and Fish Department, the county
grazing permit holders. Finally, range                                                   habitat.
                                            commissions of Lincoln, Park, Sublette,         In northwestern Wyoming and the
improvement and watershed restoration
                                            and Teton Counties, the Coalition of         GYA, lynx are generally associated with
projects can include measures to
                                            Local Governments representing the           the Rocky Mountain Conifer Forest
conserve lynx and hare habitats, and
                                            county commissions and conservation          vegetation class, which is dominated by
these considerations are unlikely to
                                            districts for Lincoln, Sweetwater, Uinta,    subalpine fir, Engelmann spruce, and
preclude or substantially delay such
                                            and Sublette Counties, the State of          lodgepole pine, and which often occurs
projects.
   (28) Comment: The New Mexico             Wyoming Select Committee on Federal          in a patchy distribution within a mosaic
Department of Game and Fish                 Natural Resource Management, and the         of other vegetation types that do not
commented that the likelihood of lynx       Wyoming Governor’s Office all oppose         support snowshoe hares at densities
entering and establishing a population      the designation of lynx critical habitat     adequate to provide lynx foraging
in New Mexico remains remote, and the       in Wyoming, and in particular the            habitat (73 FR 10866). In areas with
agency is extremely concerned that the      proposed additions of lands in Grand         patchily distributed foraging habitats,
extension of ESA protections to             Teton National Park in Teton County          like those typical of the GYA, lynx
individual animals that may enter the       and on BLM, State, and private lands in      home ranges incorporate extensive areas
State will have significant economic,       Sublette and Lincoln Counties. Most of       of non-foraging “matrix” habitats that
cultural, and management impacts to         these commenters contend that habitats       are used primarily for travel between
currently lawful activities such as         in Wyoming, including the proposed           patches of foraging habitat (74 FR 8644).
hunting, trapping, agency-approved          additions, do not contain the features       Therefore, lynx home ranges and
wildlife management activities, and         essential to lynx and that evidence is       designated critical habitat in the GYA
various other activities on public and      lacking that they are occupied by lynx       may contain substantial areas that do
private lands in northern New Mexico.       or that they currently support or            not contain all of the physical and
The agency expressed concern that the       historically supported a resident lynx       biological features essential to lynx.
level of these impacts may require the      population. They believe critical habitat    However, such areas are a necessary
Service to conduct at least an              designation in Wyoming, including in         component of the landscape that does
environmental assessment and                the additional areas, will have              contain the features. The areas of Grand
potentially an environmental impact         substantial impacts on economic              Teton National Park and the
statement to address them.                  development and management of other          predominantly BLM-managed lands east
   Our Response: We agree that it is        resources. Several of these commenters       and south of the Bridger Teton National
unlikely that lynx entering New Mexico      requested that the Service (a) designate     Forest that we have added to this final
from the introduced population in           lynx in Wyoming as an experimental,          critical habitat designation also include
Colorado will establish a self-sustaining   nonessential population in accordance        matrix habitats, but they are part of the
population in New Mexico. However,          with section 10(j) of the Act, and (b)       larger landscape that has supported a
because at least 60 lynx are documented     collaborate with State agencies within       resident lynx population and, therefore,
to have traveled into New Mexico after      the range of the DPS to complete a           contains the PCE.
their release in Colorado (Shenk 2007,      recovery plan for lynx prior to                 Although habitat information and
p. 10; U.S. Forest Service 2009, pp. 9­     designating critical habitat so that the     mapping for the areas we have added to
10), the “may be present” standard for      recovery plan can inform the eventual        the critical habitat designation in
initiating section 7 consultation           designation. Several other commenters        Wyoming were not received in time to
between the Service and Federal land        similarly oppose designation in              evaluate them during the preparation of
managers and permitting agencies in         Wyoming, including the proposed              our previous designation in 2009, it was
northern New Mexico may be met for          additions, and one specifically opposes      clear that lynx habitat did not stop at
actions in these areas. Therefore,          designation of any lands within the          the boundary of the Bridger-Teton


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National Forest. However, we                including them in the final designation.     conserved and recovered if we were to
designated critical habitat based on the    Therefore, we have excluded the lands        do so (i.e., that the area is essential to
best information available at the time.     covered by both these conservation           the conservation of the DPS). We have
Since then, additional and refined          plans from lynx critical habitat. More       not determined that this area is essential
habitat mapping has become available        details regarding our analyses of the        to the conservation and recovery of the
for these areas, along with recent          benefits to lynx of these plans are          DPS and we have not designated critical
verified use by lynx and/or information     presented in the Consideration of            habitat in the Kettle/Wedge area in this
on hare habitats and abundance (U.S.        Impacts under section 4(b)(2) of the Act     final rule.
Fish and Wildlife Service 2013a, entire;    section, below (and see our response to
                                                                                         Public Comments
2013b, entire). The areas we have added     comment (16), above). The Service and
to the designation in Wyoming are           the MDNRC are currently defending the           (32) Comment: We received many
natural extensions of adjacent              HCP in a lawsuit that challenges the         public comments requesting that we
designated lynx habitats and are part of    HCP’s adequacy with regard to the            designate additional areas as critical
the landscape that supports the GYA’s       conservation of grizzly bears and bull       habitat, including the Southern Rocky
small but persistent lynx population.       trout. The HCP’s adequacy with regard        Mountains (parts of western Colorado,
We have worked closely with both the        to lynx conservation was not challenged      northern New Mexico, northeastern
National Park Service and the BLM in        in the lawsuit.                              Utah, and south-central Wyoming), the
Wyoming to ensure that our designation         (31) Comment: The Washington              Kettle/Wedge and other areas of
reflects the most appropriate               Department of Fish and Wildlife              northeastern Washington, Oregon,
interpretation of the best available        (WDFW) agreed that the Kettle Range of       additional areas of northern Idaho and
information on lynx occurrence and          northeastern Washington did not              western Montana, parts of central and
habitat distribution so that our            support a lynx population at the time of     southeastern Idaho, additional areas in
designation most accurately                 listing. Despite this, WDWF suggested        northern Minnesota, and parts of
encompasses the areas that contain the      that we consider designating the area        northern New Hampshire and northern
features essential to the conservation of   because it may support lynx movement         Vermont. Some commenters felt we
the lynx DPS.                               between larger areas of habitat in the       should designate critical habitat in all
   Finally, the Act does not allow us to    Selkirk and Cascade Mountains, and           areas identified as “core areas’’ in the
designate an existing population as a       because a lynx population could              recovery outline (U.S. Fish and Wildlife
10(i) experimental, nonessential            become re-established in the future          Service 2005, entire), while other
population. The section 10(j) provision     because lynx harvest no longer occurs        commenters felt that “secondary” and
of the Act can be applied only in cases     there and habitat conditions may             “peripheral” areas identified in the
where no population currently exists        improve as parts of the area continue to     outline also should be designated.
and is effective only upon release of       recover from large fires in the 1980s.          Our Response: Critical habitat is
animals brought from other populations.     Conversely, the Board of County              defined in section 3 of the Act as: (1)
The best available information indicates    Commissioners for Stevens County,            The specific areas within the
that northwestern Wyoming had a small       Washington, supported our decision not       geographical area occupied by a species,
lynx population historically and at the     to designate critical habitat in             at the time it is listed in accordance
time of listing, and that a small number    northeastern Washington.                     with the Act, on which are found those
of lynx currently persist and reproduce        Our Response: The Kettle Range in         physical or biological features (a)
in the State. Thus, we cannot designate     northeastern Washington historically         essential to the conservation of the
the Wyoming lynx population as a 10(j)      supported a lynx population (Stinson         species and (b) which may require
nonessential experimental population        2001, pp. 13-14), and boreal forest          special management considerations or
because doing so would not conform to       habitat within the Kettle Range appears      protection; and (2) specific areas outside
the Act.                                    to contain habitat for lynx; however,        the geographical area occupied by a
   (30) Comment: The Montana                there is no evidence that the area was       species at the time it is listed, upon a
Department of Natural Resources and         occupied by lynx at the time of listing.     determination that such areas are
Conservation (MDNRC) requested that         The Kettle/Wedge area was included as        essential for the conservation of the
we exclude lands covered by the             a core area in the recovery outline          species. Section 3(5)(C) also states that
MDNRC Forested State Trust Lands HCP        despite lacking recent evidence of           critical habitat “shall not include the
from critical habitat designation in        reproduction and, therefore, did not         entire geographical area which can be
accordance with section 4(b)(2) of the      completely meet the core area criteria in    occupied by the threatened or
Act, and the Washington State               the outline (U.S. Fish and Wildlife          endangered species” except when the
Department of Natural Resources             Service 2005, pp. 3-5, 21). Moreover,        Secretary determines that the areas are
(WDNR) requested that we similarly          while the Kettle Range contains              essential for the conservation of the
exclude lands covered by the WDNR           physical and biological features             species. The term “conservation” as
Lynx Habitat Management Plan. Several       important to lynx, its spatial               defined in section 3(3) of the Act means
other commenters requested that             configuration and quantity of habitat do     “to use and the use of all methods and
MDNRC lands not be excluded from            not appear to be sufficient to provide for   procedures which are necessary to bring
designation, either because they felt       the conservation of lynx. Additionally,      an endangered species or threatened
these lands are essential to the            we are aware of no evidence that lynx        species to the point at which the
conservation of the lynx DPS or because     travel between the Northern Rockies          measures provided pursuant to the Act
the MDNRC HCP is the subject of an          and the North Cascades via northeastern      are no longer necessary.”
ongoing court case.                         Washington. As with other areas that            With the exception of parts of western
   Our Response: We have weighed the        were not occupied at the time of listing     Colorado, where a lynx population was
benefits of designating the lands           (and described in more detail in our         introduced just prior to our listing the
covered by these plans against the          response to comment (32), below), we         DPS as threatened, there is no evidence
benefits of excluding them, and we have     could not designate the Kettle/Wedge         that the places mentioned above were
determined that the benefits of             area as critical habitat unless we           occupied by resident lynx populations
excluding them outweigh the benefits of     determine that the DPS could only be         at the time of listing and, for most, no


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evidence that they are currently             evidence of reproduction (U.S. Fish and       that the best available information does
occupied by lynx or that they contain        Wildlife Service 2005, pp. 3-5, 20-21).       not allow us to simply measure and map
the PCE. In order to designate critical      However, as discussed above in our            all the physical and biological features
habitat in areas not occupied at the time    response to comment (31), the Kettle/         essential to lynx across the range of the
of listing, we must determine that those     Wedge area of northeastern Washington         DPS, we have failed to demonstrate that
areas are essential to the conservation      was included as a core area despite           designated areas actually contain all the
and recovery of the DPS (i.e., that the      lacking recent evidence of reproduction       essential features and, therefore, we
DPS could only be conserved and              and, therefore, it did not completely         should withdraw the designation until
recovered if we were to designate those      meet the core area criteria in the outline.   we have information adequate to map
areas). To determine what is essential to    We also defined the Southern Rocky            only those areas that contain all of the
conservation and recovery, we must           Mountains of Colorado and southern            essential features. Another commenter
look at the threat for which the DPS was     Wyoming as a “provisional” core area          argued that, because we concede that
listed and determine whether                 because it contained an introduced lynx       the best available information does not
designating unoccupied areas would           population that had demonstrated              allow specific quantification of the
contribute meaningfully to addressing        reproduction (U.S. Fish and Wildlife          essential physical and biological
and ameliorating that threat. The lynx       Service 2005, p. 4). Colorado otherwise       features, it is inappropriate to use
DPS was listed as threatened due to the      does not meet the outline’s criteria for      “adequate quantity and spatial
inadequacy, at the time of listing, of       core areas because prior to the               arrangement” of these features as a
existing regulatory mechanisms and,          introduced population it lacked               prerequisite for critical habitat and we
unlike many species listed under the         persistent verified records of lynx           should designate all areas that
Act, not to any substantial documented       occurrence over time. Southern                demonstrate they contain some quantity
population decline or significant range      Wyoming also lacked such records and          of the features.
contraction (65 FR 16071-16082; 68 FR        also had no evidence of recent                   Our Response: The Act does not
40084-40101). We have determined that        reproduction. Aside from these two            require that we have perfect information
designating areas not occupied by lynx       areas (Kettle/Wedge and Southern              before designating critical habitat, only
at the time of listing would not             Rockies), we have designated critical         that we make our designations
meaningfully address or ameliorate the       habitat that includes the vast majority of    appropriately based on the best
threat for which the DPS was listed and      the other areas identified as core areas      available information. Because we lack
that doing so would not improve the          in the recovery outline.                      perfect information and tools adequate
likelihood of recovery (the point at           Regardless, the methodology we used         for measuring the precise distribution of
which the protections of the Act are no      in defining areas for lynx critical habitat   all the essential features across the
longer necessary and delisting the DPS       did not mirror that used for the lynx         broad range of the DPS we must look at
would be appropriate). We do not find        recovery outline, although it did reflect     the history of verified lynx records, the
that the DPS can only be conserved and       the biological concepts considered in         results of lynx and hare surveys and
recovered if we were to designate areas      the recovery outline. We used the best        habitat assessments, and evidence of an
not occupied at the time of listing.         scientific information available in           area’s ability to support lynx over time
Because these areas are not essential to     determining which areas contained the         to evaluate the historic and current
the conservation and recovery of the         features essential to the conservation of     distributions of habitats that contain the
DPS, designating them would not              lynx. The areas we determined to be           essential features. We have evaluated
comply with the Act. Therefore, we           essential for the conservation of lynx do     the available scientific and commercial
have not designated critical habitat in      not include all the areas identified in       information and believe that this critical
areas that were not occupied by lynx at      the recovery outline. The criteria we         habitat designation appropriately relies
the time of listing.                         used for determining areas essential to       on that information to distinguish
   Parts of Colorado were occupied by an     the conservation of lynx for the revised      between areas that demonstrably
introduced population of by lynx at the      critical habitat designation are based on     contain the essential features in
time of listing. However, habitats there     the critical habitat requirements of the      adequate quantity and spatial
apparently did not historically support      Act, which are more selective than those      arrangement to support lynx
a resident lynx population, and we have      used for delineating the recovery areas       populations and which, therefore, are
determined that these areas likely do        in the outline. The recovery outline          essential to the conservation and
not contain the physical and biological      more broadly encompasses older                recovery of the DPS from other areas for
features essential to lynx in adequate       records of lynx, and the areas in the         which such evidence is lacking.
quantity and/or spatial arrangement to       recovery outline were mapped                     (34) Comment: Several commenters
support a lynx population over time.         conceptually, include substantial areas       stated that we failed to identify and
For additional details regarding our         that do not contain the physical and          designate critical habitat in important
evaluation of the historic record of         biological features essential for lynx, or    linkage corridors they believe are
verified lynx occurrence in Colorado         are both unoccupied and not essential         essential to the conservation of the DPS.
and the Southern Rockies and of the          for lynx conservation, and, therefore, do     Other commenters believe that we
quality of potential lynx habitats there,    not meet the definition of critical           should designate critical habitat in
see our responses to comments (10),          habitat. We refined our mapping for the       northeastern Washington because it
(11), and (23), above, and Application of    purposes of designating critical habitat      serves as an important linkage between
the Criteria to the Southern Rocky           in order to meet the statutory                lynx populations in the Northern
Mountains and Certain National Forests       requirements associated with critical         Rockies of Montana and Idaho and those
in Idaho and Montana under the               habitat. As a result, areas determined to     in the North Cascades of north-central
Criteria Used to Identify Critical Habitat   be essential to the conservation of lynx      Washington.
section, below.                              for the purposes of critical habitat did         Our Response: We agree that
   In the recovery outline, we defined       not include all the areas delineated in       providing protection for travel and
six core areas for lynx as those having      the recovery outline.                         dispersal are important for maintaining
both persistent verified records of lynx        (33) Comment: One commenter                lynx populations over time. Critical
occurrence over time and recent              contends that, because we acknowledge         habitat is designated for the


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conservation of the PCE essential to the       should prepare an environmental                identifies geographic areas that have the
conservation of the lynx and necessary         impact statement (EIS) on this action.         primary biological and physical
to support lynx life-history functions.           Our Response: We have complied              elements necessary for conservation of
The PCE comprises the essential                with the requirements of NEPA for this         lynx and that may require special
features of the boreal forest types that       critical habitat designation for lynx. An      management. We recognize that
provide, for example, prey,                    EIS is required only in instances where        designation of critical habitat may not
reproduction and denning habitat, and          a proposed Federal action is expected to       include all of the habitat area that may
snow conditions that give lynx a               have a significant impact on the human         eventually be determined to be
competitive advantage over other hare          environment. We prepared a draft               necessary for the recovery of a species.
predators. Critical habitat for lynx does      environmental assessment and a draft           Critical habitat designations made on
provide habitat connectivity for travel        economic analysis of the effects of the        the basis of the best available
within home ranges, and exploratory            proposed designation to determine              information will not control the
movements and dispersal within critical        whether designation of critical habitat        direction and substance of future
habitat units. Critical habitat in the final   would have significant impacts. A              recovery plans or planning efforts.
rule was delineated to encompass               notice of availability for public review
                                               of these documents was published in            Comments on the Economic Analysis
occupied areas containing features
essential to the conservation of the lynx      the Federal Register on June 20, 2014             (36) Comment: The Small Business
to provide connectivity within the             (79 FR 35303). The draft documents             Association Office of Advocacy
particular regional unit and to maintain       have been available since that date on         (Advocacy) expressed concern that we
direct connectivity with lynx                  our Web site [http://www.fws.gov/              improperly certified that the proposed
populations in Canada.                         mountain-prairie/species/mammals/              rule would not have a significant impact
  Lynx populations in the contiguous           lynx/index.htmf at                             on a substantial number of small
United States are believed to be               www.regulations.gov, and by request            businesses based on the mistaken belief
influenced by lynx population                  from the Service’s Montana Field Office.       that critical habitat designations only
dynamics in Canada, and many of these          We accepted public comment for 30              impact Federal agencies. Advocacy
populations in Canada are directly             days after the posting. Following              asserts that small businesses, especially
interconnected with U.S. populations.          consideration of public comments, we           in the forestry industry, are concerned
Therefore, retaining connectivity with         prepared a final environmental                 that we are not considering the impact
the larger lynx population in Canada is        assessment and determination that              this designation will have on the
thought to be important to ensuring            critical habitat designation does not          industry, and that we should publish an
long-term persistence of lynx                  constitute a major Federal action having       Initial Regulatory Flexibility Analysis
populations in the United States.              a significant impact on the human              (IRFA).
However, lynx are wide-ranging animals         environment. That determination is                Our Response: Our assessment of our
with a well-documented ability to make         documented in our Finding of No                responsibilities under the Regulatory
long journeys across both suitable and         Significant Impact (FONSI). Both the           Flexibility Act (5 U.S.C. 601 etseq.f
unsuitable habitats (68 FR 40079), and         final environmental assessment and             including the need for an IRFA, was
there is no evidence that human-caused         FONSI are available on our Web site and        provided in the Required
factors have significantly reduced the         at www.regulations.gov (also see               Determinations—Amended section of
ability of lynx to disperse or resulted in     ADDRESSES section of this rule).               the Notice of Availability published in
the loss of genetic or demographic                The environmental assessment was            the Federal Register on June 20, 2014
interchange (65 FR 16079). As we               prepared for this rule to identify             (79 FR 35308) and is reaffirmed in the
highlighted in our response to comment         alternatives, identify and analyze             Required Determinations section of this
(22), above, although the level of             significant issues, and determine              final rule (below). We evaluated the
diminished connectivity at which DPS           whether additional analysis was                potential timber-related effects of the
populations could be affected is               required in an EIS. Two alternatives           critical habitat designation in our
unknown, we have no evidence that              were considered in the EA: The No              environmental assessment (U.S. Fish
current levels of connectivity between         Action (Baseline) Alternative and the          and Wildlife Service 2014, pp. 35-44,
lynx populations in the DPS and those          Proposed Action. Two other alternatives        81-82) and both our 2008 and 2014
in the core of the lynx’s range are            were considered but not brought                economic analyses (lEc, Inc. 2008, 4-1—
inadequate to maintain the genetic and         forward for analysis. The two                  4-39; U.S. Fish and Wildlife Service
demographic health of DPS populations          alternatives not considered further were:      and lEc, Inc. 2014, pp. 6-15). We
or that this situation is likely to change     (1) Critical habitat designation of all        concluded that critical habitat
in the foreseeable future. Finally, as         areas within the geographic range of the       designation was unlikely to result in
stated above in our response to                lynx in the contiguous United States,          significant impacts to timber-related
comment (31), we are aware of no               and (2) designation of all recovery areas      activities because these activities on
evidence that lynx travel between the          (including core areas) as described in         Federal lands or for which a Federal
Northern Rockies and the North                 the lynx recovery outline. These               nexus exists already must undergo
Cascades via northeastern Washington.          alternatives were not carried forward          consultation, because the additional
   (35) Comment: Some commenters               because the Act specifies that, except in      prohibition on the destruction or
questioned the adequacy of the                 circumstances determined by the                adverse modification of designated
environmental assessment and other             Secretary, critical habitat shall not          critical habitat is unlikely to result in
aspects of our compliance with NEPA.           include the entire geographic area that        additional conservation measures or
They felt that the draft environmental         can be occupied by the species, and the        restrictions, and because these activities
assessment lacked information, did not         recovery outline was not analyzed as an        on private lands for which there is no
address recovery, and did not address          alternative because it did not meet the        Federal nexus typically will not require
the full range of alternatives. Some           criteria for critical habitat defined in the   consultation under section 7 of the Act.
recommended an alternative that                proposed rule.                                    (37) Comment: Multiple commenters
includes all core areas identified in the         The designation of critical habitat         stated that the economic screening
recovery outline. Some felt that we            itself is not a recovery action, but           analysis did not comply with ESA


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Section 4(b)(21 or the 2010 Wyoming           section 7-related costs of designating         could adversely modify critical habitat
District Court decision, which enjoined       revised critical habitat for the lynx are      by preventing successional changes
the critical habitat designation in           likely to be limited to the additional         such as stand-replacing fires.
Washington State due to inadequacies          administrative effort required to                 Our Response: On May 12, 2014, we
that the court identified in the Service’s    consider adverse modification based in         and the National Marine Fisheries
2009 critical habitat rulemaking. The         part on the fact that all areas proposed       Service published in the Federal
commenter states that based on the            as critical habitat lands are considered       Register and invited public comment on
Tenth Circuit’s decision in New Mexico        to be currently occupied by the species,       a proposed rule to revise the definition
Cattle Growers Association v. U.S. Fish       which provides the species significant         of “destruction or adverse modification”
& Wildlife Service. 248 F. 3d 1277, 1285      baseline protection under the Act. We          of critical habitat (79 FR 27060-27066).
(10th Cir. 2001), the District Court          then estimated the administrative cost         In the proposed rule we stated: “In
concluded that the Service cannot focus       of addressing adverse modification             proposing a new definition for
solely on the “quantifiable discounted        during the section 7 consultation at           ‘destruction or adverse modification,’
future incremental costs.” One                approximately $320,000 per year based          and setting out the accompanying
commenter noted that the screening            on a future consultation rate of 12            clarifying discussion in this Preamble,
analysis used the baseline model and          formal consultations, 101 informal             the Services are establishing prospective
considered only the incremental effects       consultations, and 48 technical                standards only. Nothing in these
of the designation of critical habitat. The   assistances per year. Because this             proposed revised regulations is
commenter stated that new Service             estimate may overstate the consultation        intended to require (now or at such time
guidance endorsing the baseline               rate for some field offices that were          as these regulations may become final)
approach does not relieve the Service         unable to limit the consultation history       that any previously completed
from the order issued by the District         to only those areas proposed as critical       biological opinions must be reevaluated
Court in this case. The commenter goes        habitat, it is likely conservative (i.e., it   on this basis” (79 FR 27062). Similarly,
on to state that the approach used in the     is more likely to overestimate these           we do not intend to evaluate the
screening analysis forecloses any             costs than it is to underestimate them).       proposed revised definition’s potential
possibility that the Service would give       Section 4 of the screening analysis            implications for this or other critical
meaningful consideration to                   discusses other, non-section-7 effects of      habitat designations, or to retroactively
Washington State Snowmobile                   the proposed designation. These effects        apply the eventual final definition to
Association’s (WASSA’s) Section 4(b)(2)       are only considered in newly added             previously completed designations.
exclusion request.                            critical habitat, which consisted of 888          Regardless, because section 7
   Our Response: The Service relied on        mi^ or two percent of the proposed             consultations addressing the jeopardy
both the economic screening analysis                                                         standard for lynx already do, and likely
                                              critical habitat. The analysis of other,
prepared for this revised designation                                                        will continue to, focus largely on
                                              non-section-7 costs was limited to
(U.S. Fish and Wildlife Service and lEc,                                                     potential impacts to snowshoe hare (i.e.,
                                              newly added areas because these are
Inc. 2014, entire) and the Economic                                                          lynx foraging) habitats, we do not expect
                                              areas where the revised designation may
Analysis it prepared for the 2009                                                            the revised definition to appreciably
                                              increase awareness among project
designation (lEc, Inc. 2008, entire) to                                                      diminish the overlap between
                                              proponents of the presence of the lynx
evaluate the potential economic impacts                                                      restrictions imposed under the jeopardy
                                              and/or the need for lynx conservation.
from the critical habitat designation and                                                    standard and the destruction or adverse
                                              We also note that we carefully
to give meaningful consideration to the                                                      modification standard. Additionally,
                                              considered the Final Economic Analysis
WASSA’s exclusion request. The                                                               fire ecology management activities
                                              prepared for the 2009 designation (lEc,
WASSA provided detailed comments                                                             discussed by the commenter are
                                              Inc. 2008, entire) when considering            unlikely to be undertaken solely to
about potential economic impacts,
                                              areas for exclusion in this final rule         avoid adverse modification to lynx
which were also considered by the
                                              under section 4(b)(2) of the ESA.              critical habitat resulting from wildfires,
Secretary when she determined whether
or not to exclude any areas as a result          (39) Comment: One commenter stated          but also to protect other uses of forests
of economics under section 4(b)(2) of         that the screening analysis                    in which these activities would be
the ESA.                                      fundamentally fails to account for             undertaken. Therefore, even without the
   (38) Comment: Multiple commenters          proposed changes to the definition of          critical habitat designation, fire ecology
stated that the economic analysis should      “destruction or adverse modification”          management activities are likely to
consider impacts to all 41,547 square         currently under consideration at 79 FR         occur in these areas.
miles proposed for designation. One           27060. The commenter stated that the              (40) Comment: Multiple commenters
commenter stated that the Federal             Service’s conclusion that there will be        expressed concern about increased
Register notice accompanying the DEA          no meaningful economic impacts is              litigation-related costs associated with
attempts to limit the analysis to             premised on the overlap between                the final critical habitat rule. One
consider just the incremental                 restrictions imposed under the jeopardy        commenter states that future claims may
“administrative costs of the 11 percent       standard and the destruction or adverse        be brought against Federal agencies and
of the proposed critical habitat that is      modification standard. The commenter           developers alleging that a given project
not already designated.” The                  contended that the Service must analyze        causes “adverse modification” of
commenter stated that the screening           whether those assumptions hold true in         critical habitat or asserting a higher
analysis must include an analysis of the      light of proposed regulatory changes to        analytical burden under the NEPA as a
economic impacts of the entire                the Service’s definition at 50 CFR             result of a project’s location in critical
designation that is being proposed.           402.02. According to the commenter,            habitat.
   Our Response: Section 3 of the             these concerns are particularly relevant          Our Response: The Service does not
screening analysis does consider the          with respect to fire ecology management        consider the costs of litigation
incremental costs of the proposed rule        on dry forest lands in Washington and          surrounding the critical habitat rule
across all 41,547 square miles proposed       Wyoming, as the proposed rule for              when considering the economic impacts
as critical habitat for the Canada lynx.      revising the definition of adverse             of the rule itself. The extent to which
In that section, we concluded that            modification indicates that an activity        litigation specifically regarding critical


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habitat may add to the costs of the           practices intended to decrease the risk     costs, we rely on the robust consultation
critical habitat designation is uncertain.    of catastrophic wildfires. Finally, as      history as well as outreach to relevant
While designation of critical habitat         described in our response to comment        Service field offices and other Federal
may stimulate additional legal actions,       (40) above, the extent to which critical    stakeholders. In addition, the screening
data do not exist to reliably estimate        habitat designation may result in           analysis considers information from
such impacts. That is, estimating the         increased litigation is uncertain and       publically available sources and public
number, scope, timing, and costs of           speculative.                                comments submitted in response to the
potential future legal challenges would          (42) Comment: One commenter stated       proposed critical habitat rulemaking.
require significant speculation.              that the economic screening analysis        Other, non-section-7 incremental costs
   (411 Comment: One commenter stated         should include costs of increased           are considered in Section 4 of the
that the screening analysis fails to          wetland mitigation required by the U.S.     screening analysis. The commenter did
account for the economic impact               Army Corps of Engineers or by the U.S.      not provide additional, actionable data
associated with unintentional impacts         Environmental Protection Agency in          or evidence of the categories of impacts
on forest management practices. The           critical habitat areas.                     raised in the public comment that could
commenter stated that critical habitat           Our Response: As stated in Section 2     be used to revise the screening analysis.
designations negatively impact forest         of the screening analysis, we base our         (44) Comment: One commenter stated
management practices by either creating       forecast of future consultations on the     that the fact that the screening analysis
too much “red tape” or by providing           robust consultation history available for   projects only 1 informal consultation
litigation angles to stop forest              the species as well as supplemental         per year in Washington and that the
management projects, resulting in a           information provided by various Service     Service’s Incremental Effects
decrease in forest health, an increase in     field offices that consult on lynx. The     Memorandum (lEM) indicates that there
catastrophic wildfires, and an increase       consultation record does include several    were 195 informal lynx consultations in
in response to those wildfires.               consultations for wetland mitigation        the State between 2008 and 2014 cannot
   Our Response: The only forest              projects; therefore, the administrative     be reconciled.
management practices that may be              costs related to wetland mitigation            Our Response: As discussed in
impacted by the designation of critical       activities are included in the estimates    Section 3 of the screening analysis,
habitat are those that occur on Federal       of incremental impacts included in the      geographic locations of the consultation
lands or which require Federal funding,       screening analysis. As discussed in         history presented in the lEM were not
authorization, or permits. The Federal        Section 3, based on the substantial         readily available. Therefore, we
agency that manages the land or which         baseline protections afforded the lynx      contacted each field office to determine
funds, authorizes, or permits these           and the close relationship between          the subset of the consultations
activities must consult with the Service      adverse modification and jeopardy in        presented in the lEM that occur within
to ensure that their actions are not likely   occupied habitat, the incremental costs     the proposed critical habitat
to jeopardize the continued existence of      of the critical habitat designation are     designation. As discussed in footnote 20
listed species or result in the               unlikely to result in any project           of the screening analysis, based on this
destruction or adverse modification of        modifications incremental to (i.e., above   follow-up, the Washington field office
their designated critical habitats. This      and beyond) the baseline.                   revised its consultation history to reflect
final rule designates critical habitat for       (43) Comment: One commenter stated       only the subset of consultations for
lynx only in areas that are currently         that economic impacts in Wyoming will       projects that occurred in areas proposed
occupied by lynx and which, therefore,        be greater than those described in the      as critical habitat. Specifically, the
already undergo section 7 consultations       screening analysis. The commenter           Washington field office indicated that
for projects that could affect lynx.          stated that, both in perception and         only 4 of the 195 informal consultations
Because these consultations already           reality, the threats of critical habitat    occurred within proposed critical
focus on impacts to lynx habitats, the        designation on multiple-use lands in the    habitat. This level of activity
additional effort and cost to formally        expansion area chills activity and will     corresponds to approximately one
evaluate whether they will destroy or         have substantial impacts on economic        informal consultation per year.
adversely modify designated critical          development and management of other         According to the Washington field
habitat are expected to be minor and          resources. According to the commenter,      office, the relatively low consultation
thus unlikely to result in unintentional      resource managers in the affected area      rate in the State of Washington is a
impacts or additional economic or             note that critical habitat creates          reflection of existing conservation
regulatory burdens.                           significant roadblocks for the              agreements and management plans,
   We are aware of no evidence                development of projects that can benefit    which minimize the administrative
suggesting that the designation of            other wildlife species, recreational        burden of section 7 consultation by
critical habitat will cause a decrease in     opportunities, and local and State          precluding the need for action agencies
forest health or an increase in               economies. The commenter requests           to consult with the Service on each
catastrophic wildfires and associated         that the Service conduct a new              project individually.
responses, and none was provided by           economic analysis that considers the           (45) Comment: One commenter stated
the commenters. Additionally,                 real costs of expanding critical habitat    that the total cost column in Exhibit 4
ecosystem restoration activities              in Wyoming.                                 of the screening analysis does not reflect
intended to reduce the risk of large,            Our Response: As stated in Section 3     the sum of the previous cost columns,
stand-replacing fires generally occur         of the screening analysis, we expect        and that these errors artificially deflate
outside of lynx habitat in dry and mesic      incremental costs to be limited to          the related administrative costs.
forest types at lower elevations              administrative costs based in part on the      Our Response: This comment reflects
(Interagency Lynx Biology Team 2013,          fact that all areas proposed as critical    a transcription error. In Exhibit 4 of the
p. 76). Because fire management               habitat lands are considered to be          screening analysis, the column titled
activities are generally concentrated         currently occupied by the species,          “Biological Assessment” actually refers
outside of lynx habitat, we do not            which provides the species significant      to the total cost of consultation without
expect the critical habitat designation to    baseline protection under the Act. To       undertaking a biological assessment.
negatively affect forest management           estimate the magnitude of incremental       Total costs in the columns titled


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“Service”, “Federal Agency”, and             of Engineers); and (c) telephone             approximately $92.7 million (2001
“Third Party” sum to the number in           interviews with private consultants who      dollars). In response to the 2009 critical
“Biological Assessment.” The column          perform section 7 work in support of         habitat designation, WASSA estimated
titled “Total Costs” refers to the total     permittees. In the case of Service and       that snowmobiling accounted for nearly
cost of consultation including a             Federal agency contacts, we determined       $8.5 million in direct expenditures and
biological assessment. Therefore, the        the typical level of effort required to      $4.1 million in indirect spending in the
total cost of a biological assessment is     complete several different types of          Methow Valley, an area adjacent to
the difference between the dollar            consultations (i.e., hours or days of        designated critical habitat. As discussed
amounts in “Total Costs” and                 time), as well as the typical Covernment     in Section 4, annual data on
“Biological Assessment.” When                Service (GS) level of the staff member       snowmobiling participation in
calculating total impacts, we use the        performing this work. In the case of         Washington since 2009 are not readily
amounts reported in the “Total Costs”        private consultants, we interviewed          available. As such, existing data are
column. The error in the table actually      representatives of firms in California       insufficient to quantify the proportion of
overestimated the costs in the               and New England to determine the             the annual economic contribution of the
“Biological Assessment” column but           typical cost charged to clients for these    snowmobiling industry that may be
did not affect the values in the “Total      efforts (e.g., biological survey,            affected by the final rule. In addition,
Costs” column. Because we relied on          preparation of materials to support a        stakeholders contacted for the 2014
the “Total Costs” column when                Biological Assessment). The model is         economic analysis do not anticipate the
calculating total economic impacts,          periodically updated with new                proposed rule to result in any
there was no artificial deflation of         information received in the course of        significant changes to the management
related administrative costs.                data collection efforts supporting           of snowmobiling activities in
   (461 Comment: Several commenters          economic analyses and public comment         Washington State. We also contacted the
stated that the screening analysis should    on more recent critical habitat rules. In    Maine and Minnesota Service field
have used administrative cost                addition, the GS rates have been             offices to determine whether or how
information from the “robust                 updated annually.                            snowmobiling activities may have been
consultation history” rather than a            Finally, even if the estimated             affected as a result of snowmobiling
review of consultation records from          administrative cost of section 7             trails proposed in critical habitat
2002 adjusted to current dollar values.      consultation were adjusted upwards to        designated there since 2009. According
Another commenter stated that an             $87,500 per consultation, the sum of the     to these discussions, no significant
applicant’s participation in a single        upper bounds estimates for incremental       changes in snowmobiling activities have
formal consultation under Section 7 of       administrative costs of consultation and     been observed since the 2009
the Act for an oil and gas project           biological assessment provided by the        designation of critical habitat in Maine
typically costs between $75,000 and          commenter, the total incremental             and Minnesota or since the preparation
$150,000. The commenter stated that, if      impacts ($14 million) still do not           of the Final Economic Analysis of the
the cost of addressing critical habitat is   approach total costs in excess of $100       2009 designation (lEc, Inc. 2008, entire).
approximately 20 to 25 percent of the        million in a given year; therefore it is        (48) Comment: One commenter stated
total cost of consultation, the total        not considered a “significant regulatory     that the screening analysis should
incremental administrative costs of          action” under the Unfunded Mandates          include costs resulting from the
consultation would be $18,750 to             Reform Act (see Unfunded Mandates            uncertainty and risk imposed on
$37,500, as compared to the per              Reform Act, below).                          developers of projects located in
consultation cost of $5,000 used in our         (47) Comment: One commenter stated        proposed critical habitat.
analysis. The commenter also stated that     that the designation of critical habitat        Our Response: Section 4 of the
the total cost of considering critical       creates a regulatory assumption that         screening analysis discusses the
habitat in a biological assessment ranges    snowmobiling activity will be further        possible perceptional effects of the
between $10,000 and $50,000.                 curtailed, thereby discouraging future       proposed rule on private property
   Our Response: The consultation            investment that is needed to support         values. Specifically, this section
history for the Canada lynx is limited to    continued viability and further growth       discusses comments and concerns
information on the number of                 of the industry. The commenter cited         submitted in response to previous
consultations per year, by field office.     sworn testimony from two members of          critical habitat rulemakings that the
The Service does not collect or track        the Washington State Snowmobile              designation of critical habitat may affect
information on the costs incurred by         Association (WASSA), which indicates         the value of a private property due to
each party participating in section 7        that, during the brief period that the       the public perception that the Act may
consultations. Accordingly, the Canada       critical habitat designation was in place    preclude, limit, or slow development, or
lynx consultation history does not           in Washington, the snowmobiling              somehow alter the highest and best use
provide any additional insights on the       industry in Washington experienced           of the property. To assess the likelihood
administrative cost of section 7             measurable economic impacts. The             of such an outcome, the screening
consultation.                                commenter states that the screening          analysis examined data on development
   To estimate the administrative costs      analysis notes these concerns but fails to   activities in areas proposed as critical
associated with section 7 consultation,      meaningfully address this potential          habitat where the designation of critical
the screening analysis relied on the best    impact.                                      habitat increases awareness of the
information available. As described in          Our Response: Section 4 of the            presence of the species or the need for
Exhibit 4 of the screening analysis, the     screening analysis discusses potential       protection of its habitat. Based on the
consultation cost model is based on (a)      impacts on snowmobiling in                   available data, we concluded that, due
data gathered from three Service field       Washington. In this section, we note         to low population densities, existing
offices (including a review of               that in 2001, Washington State               zoning laws, and the distance of
consultation records and interviews          University and WASSA conducted a             proposed critical habitat areas from
with field office staff); (b) telephone      study estimating the annual economic         existing development or public
interviews with action agency staff (e.g.,   contribution of the entire snowmobiling      infrastructure (e.g., public roads), the
BLM, Forest Service, U.S. Army Corps         industry in Washington at                    proposed critical habitat designation is


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unlikely to result in measurable              Summary of Changes From Proposed              of Tribes whose lands occur within the
perceptional effects. The commenter did       Rule                                          final critical habitat boundary—only
not provide data or information that             In our proposed rule, published            Passamaquoddy Tribe and Penobscot
could be used to revise the screening         September 26, 2013 (78 FR 59430), we          Indian Nation lands are within the
analysis to consider the potential for        proposed to designate 41,547 mi^              boundary, and these lands are excluded
project developers to face greater            (107,607 knU) of critical habitat for the     from this final designation. We have
uncertainty or risk due to the proposed       Canada lynx DPS in five units in six          also excluded about 943 mi^ (2,443 km^)
rule.                                         States. The proposed critical habitat         of private lands enrolled in the Natural
   (49) Comment: Multiple commenters                                                        Resources Conservation Service’s
                                              represented 23,811 mi^ (61,669 km^; 57
stated that the screening analysis omits                                                    Healthy Forest Reserve Program (HFRP).
                                              percent) on Federal lands, 4,129 rni-
the economic benefits of critical habitat                                                   With this final rule, we designate 10,123
                                              (10,695 knU; 10 percent) on State lands,
designation. One commenter cited                                                            mi^ (26,218 km^) of critical habitat in
                                              13,050 mi^ (33,800 km^; 31 percent) on
increased recreational use of forests as                                                    this unit, which represents a 1 ,()39-mi-
                                              private lands, 535 mi^ (1,385 km^; 1
a result of decreased forest degradation                                                    (2,691-km2; 9.3-percent) reduction from
as an example of these benefits. Another      percent) on Tribal lands, and 23 mi^ (58
                                                                                            the proposed designation. See
commenter states that this one-sided          km^; 0.1 percent) on lands owned by
                                                                                            Consideration of Impacts under Section
analysis has a distorting effect as readers   local municipalities or in “other”
                                                                                            4(b)(2) of the Act, below, for details
of the analysis may interpret the results     ownership.
                                                                                            regarding lands excluded from
as indicating that lynx protection is            We received a number of site-specific
                                                                                            designation in this unit.
“costly” in a net sense. The commenter        comments related to critical habitat for         Unit 2—We have excluded about 78
stated that the screening analysis            the Canada lynx; completed our analysis       mi^ (202 knU) of Tribal lands from
provides no discussion as to whether          of areas considered for exemption under       critical habitat in this unit. With this
any efforts were expended to review the       section 4(a)(3)(B)(i) of the Act and for      final rule, we designate 8,069 mi-
literature regarding the availability of      exclusion under section 4(b)(2) of the        (20,899 km-) of critical habitat in this
estimates of the benefit of lynx habitat      Act; reviewed the application of our          unit, which represents a 78-mi- (202-
conservation.                                 criteria for identifying critical habitat     km^, 1. O-percent) reduction from the
   Our Response: As stated in Section 5       across the range of the lynx DPS to           proposed designation. See
of the screening analysis, the primary        refine our designation; and completed         Consideration of Impacts under Section
intended benefit of critical habitat          and carefully considered the final            4(b)(2) of the Act, below, for details
designation for the Canada lynx is to         economic analysis of the designation as       regarding lands excluded from
support the species’ long-term                proposed. We fully considered all             designation in this unit.
conservation. Critical habitat                substantive comments from peer                   Unit 3—We have excluded from
designation may also generate ancillary       reviewers. States, Tribes, and the public     critical habitat in this unit about 370
benefits, which are defined as favorable      on the proposed critical habitat rule and     mi^ (958 km^) of Tribal lands as well as
impacts of a rulemaking that are              the associated economic and                   271 mi^ (702 km^) of State lands
typically unrelated, or secondary, to the     environmental analyses to develop this        managed in accordance with the
statutory purpose of the rulemaking           final critical habitat designation for the    MDNRC Forested State Trust Lands
(U.S. Office of Management and Budget         lynx DPS. This final rule incorporates        HCP. See Consideration of Impacts
2003, entire). Critical habitat aids in the   changes to our proposed critical habitat      under Section 4(b)(2) of the Act, below,
conservation of species specifically by       based on the comments we received and         for details regarding lands excluded
protecting the PCEs on which the              to which we have responded in this            from designation in this unit. We have
species depends. To this end,                 document; reflects refined lynx habitat       added about 61 mi^ (158 km^) of Federal
management actions undertaken to              mapping provided by Federal and State         land and 39 mi- (101 krn-) of private
conserve a species or habitat may have        partners in Idaho, Montana, and               lands; and we have removed about 73
coincident, positive social welfare           Wyoming; and considers completed              mi^ (189 km^) of Federal land, 77 mi^
implications, such as increased               final management and habitat                  (189 km-) of private land, and 28 ini-
recreational opportunities in a region or     conservation plans for lynx in Maine,         (73 krn-) of State Trust land in the
improved property values on nearby            Montana, and Washington.                      vicinity of Flathead National Forest in
parcels.                                         With this final rule, we designate         Montana due to improved lynx habitat
   As described in Section 2 of the           38,954 mi^ (100,891 km^) of critical          mapping on this National Forest (U.S.
screening analysis, incremental changes       habitat for the Canada lynx DPS in five       Forest Service 2013a, entire)—a net
in land management as a result of the         units in six States. This final               reduction of 78 mi^ (202 km^) in this
designation of critical habitat are           designation represents 23,402 mi^             area. However, due to improved
unlikely. This finding is based primarily     (60,612 knU: 60 percent) on Federal           ownership data, the final designation
on the fact that all areas proposed as        lands, 3,945 mi^ (10,217 km^; 10              represents a net increase of about 136
critical habitat are considered occupied      percent) on State lands, 11,584 mi-           mi^ (352 km^) of Federal lands in this
by the species and, therefore, receive        (30,003 knU: 30 percent) on private           unit. With this final rule, we designate
baseline protection from the listing of       lands, and 23 mi^ (59 km^; 0.1 percent)       9,783 mi- (25,337 km-) of critical habitat
the species under the Act. Thus, in this      on lands owned by local municipalities        in this unit, which represents a 691 -mi­
instance, critical habitat designation        or in “other” ownership. Changes from         ll,790-km-; 6.6-percent) reduction from
will likely add minimal conservation          the proposed rule are described below         the proposed designation.
benefits to those already provided by         for each critical habitat unit.                  Unit 4—We have excluded about 164
baseline conservation efforts (e.g.,             Unit 1—We have excluded all Tribal         mi^ (425 km^) of State lands managed in
efforts resulting from the listing of the     lands, about 96 mi- (248 km^), from           accordance with the WDNR Lynx
species under the Act). For the same          critical habitat in this unit; this area is   Habitat Management Plan. With this
reason, it follows that the designation       slightly larger than the area identified in   final rule, we designate 1,834 rni- (4,751
will likely add minimal ancillary             the proposed rule (87 mi^ (225 km^))          km^) of critical habitat in this unit,
benefits above those provided in the          due to improved mapping data provided         which represents a 164-mi- (425-km-,
baseline.                                     by the Tribes. We have corrected the list     8.2-percent) reduction from the


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proposed designation. See                     settlement agreement. In the finding, the    to, all activities associated with
Consideration of Impacts under Section        Service acknowledged that lynx               scientific resources management such as
4(bK21 of the Act, below, for details         associated with a lynx population            research, census, law enforcement,
regarding lands excluded from                 introduced into Colorado were                habitat acquisition and maintenance,
designation in this unit.                     “regularly and frequently” crossing the      propagation, live trapping, and
   Unit 5—We have excluded 1.3 mi^            State boundary between Colorado and          transplantation, and, in the
(3.4 knU) of State land managed in            New Mexico and that, when they did,          extraordinary case where population
accordance with the MDNRC HCP. See            they were no longer protected by the         pressures within a given ecosystem
Consideration of Impacts under Section        Act because New Mexico was not               cannot be otherwise relieved, may
4(bK21 of the Act, below, for details         included in the listed DPS area. In 2011,    include regulated taking.
regarding lands excluded from                 as part of a settlement agreement               Critical habitat receives protection
designation in this unit. We have also        reached in Multi-District litigation, the    under section 7 of the Act through the
removed about 543 mi^ (1,406 km^) of          Service agreed to amend the listing rule     requirement that Federal agencies
Federal lands, 6 nii- (16 knU) of State       to include New Mexico so that lynx           ensure, in consultation with the Service,
lands, and 71 mi^ (184 km^) of private        entering New Mexico from Colorado            that any action they authorize, fund, or
lands on and adjacent to the Gallatin         would no longer lose Federal protection      carry out is not likely to result in the
and Custer National Forests in Montana        under the Act upon crossing the State        destruction or adverse modification of
and BLM lands in Wyoming due to               boundary.                                    critical habitat. The designation of
improved lynx habitat mapping and               We have determined that lynx               critical habitat does not affect land
information from those agencies (U.S.         entering New Mexico, or any other            ownership or establish a refuge,
Fish and Wildlife Service 2013a, entire;      States not currently included in the DPS     wilderness, reserve, preserve, or other
2013b, entire; U.S. Forest Service 2013b,     as described in the 2000 final listing       conservation area. Such designation
entire). With this final rule, we             rule, should not lose their protection       does not allow the government or public
designate 9,146 mi^ (23,687 km^) of           under the Act upon doing so. Therefore,      to access private lands. Such
critical habitat in this unit, which          with this final rule, we have rescinded      designation does not require
represents a 620-mi2 (l,606-km2; 6.4-         the State-boundary-based definition of       implementation of restoration, recovery,
percent) reduction from the proposed          the range of the contiguous United           or enhancement measures by non-
designation in this unit.                     States lynx DPS and replace it in            Federal landowners. Where a landowner
   Overall, this final designation            regulation with a definition of the DPS      requests Federal agency funding or
represents a reduction on (1) Federal         range that extends the Act’s protections     authorization for an action that may
lands of 409 mi^ (1,059 km^; 1.7              to lynx “where found within the              affect a listed species or critical habitat,
percent); (2) State lands of 184 mi^ (477     contiguous United States.” This change       the consultation requirements of section
km^; 4.5 percent); (3) private lands of       ensures that all lynx in the contiguous      7(a)(2) of the Act would apply, but even
1,466 mi- (3,797 km-; 11.2 percent), and      United States receive protection under       in the event of a destruction or adverse
(4) Tribal lands of 535 mi- (1,386 km-;                                                    modification finding, the obligation of
                                              the Act regardless of where they occur,
100 percent) from the area proposed for                                                    the Federal action agency and the
                                              including (but not limited to) New
designation. With this final rule, we                                                      landowner is not to restore or recover
                                              Mexico.
designate 38,954 mi^ (100,891 km^) of                                                      the species, but to implement
critical habitat for the Canada lynx DPS.     Critical Habitat                             reasonable and prudent alternatives to
This represents a 2,593-mi- (6,716-km-;                                                    avoid destruction or adverse
                                              Background
6.2-percent) reduction from the area                                                       modification of critical habitat.
identified in the September 26, 2013,           Critical habitat is defined in section 3      Under the first prong of the Act’s
proposed rule (78 FR 59430).                  of the Act as;                               definition of critical habitat, areas
                                                (1) The specific areas within the          within the geographical area occupied
Revised Definition of the Contiguous          geographical area occupied by the            by the species at the time it was listed
United States Distinct Population             species, at the time it is listed in         are included in a critical habitat
Segment of the Canada Lynx                    accordance with the Act, on which are        designation if they contain physical or
   In the final listing rule for the Canada   found those physical or biological           biological features (1) which are
lynx, dated March 24, 2000, the Service       features                                     essential to the conservation of the
defined the contiguous United States            (a) Essential to the conservation of the   species and (2) which may require
DPS of lynx based on the international        species, and                                 special management considerations or
boundary with Canada and State                  (b) Which may require special              protection. For these areas, critical
boundaries of all 14 States in the            management considerations or                 habitat designations identify, to the
historic and current range of lynx (65 FR     protection; and                              extent known using the best scientific
16052; 74 FR 66937). With that                  (2) Specific areas outside the             and commercial data available, those
definition. New Mexico was not                geographical area occupied by the            physical or biological features that are
included in the listed area because no        species at the time it is listed, upon a     essential to the conservation of the
lynx occurred there, historic records did     determination that such areas are            species (such as space, food, cover, and
not show lynx in the State, and it lacked     essential for the conservation of the        protected habitat). In identifying those
lynx habitat.                                 species.                                     physical or biological features within an
   On December 17, 2009, the Service            Conservation, as defined under             area, we focus on the principal
published a 12-month “warranted but           section 3 of the Act, means to use and       biological or physical constituent
precluded” finding in the Federal             the use of all methods and procedures        elements (primary constituent elements
Register on a petition to expand the          that are necessary to bring an               such as roost sites, nesting grounds,
listing of the Canada lynx to include the     endangered or threatened species to the      seasonal wetlands, water quality, tide,
State of New Mexico (74 FR 66937).            point at which the measures provided         soil type) that are essential to the
That finding was made in response to an       pursuant to the Act are no longer            conservation of the species. Primary
August 8, 2007, petition from a coalition     necessary. Such methods and                  constituent elements are those specific
of environmental groups and a 2008            procedures include, but are not limited      elements of the physical or biological


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features that provide for a species’ life­   habitat outside the designated area is         rule to designate critical habitat
history processes and are essential to       unimportant or may not be needed for           published in the Federal Register on
the conservation of the species.             recovery of the species. Areas that are        September 26, 2013 (78 FR 59430), and
  Under the second prong of the Act’s        important to the conservation of the           in the information presented below.
definition of critical habitat, we can       species, both inside and outside the           Additional information on the habitat,
designate critical habitat in areas          critical habitat designation, will             ecology, and life history of the lynx DPS
outside the geographical area occupied       continue to be subject to: (1)                 can be found in the documents listed
by the species at the time it is listed,     Conservation actions implemented               above under Previous Federal Actions.
upon a determination that such areas         under section 7(a)(1) of the Act, (2)          We have determined that lynx require
are essential for the conservation of the    regulatory protections afforded by the         the following physical or biological
species. For example, an area currently      requirement in section 7(a)(2) of the Act      features:
occupied by the species but that was not     for Federal agencies to insure their
occupied at the time of listing may be       actions are not likely to jeopardize the       Space for Individual and Population
essential to the conservation of the         continued existence of any endangered          Growth and for Normal Behavior
species and may be included in the           or threatened species, and (3) section 9       Boreal Forest Landscapes
critical habitat designation. We             of the Act’s prohibitions on taking any           Lynx populations respond to biotic
designate critical habitat in areas          individual of the species, including           and abiotic factors at different scales. At
outside the geographical area occupied       taking caused by actions that affect           the regional scale, boreal forests, snow
by a species only when a designation         habitat. Federally funded or permitted         conditions, and competitors (especially
limited to its range would be inadequate     projects affecting listed species outside      bobcat) influence the species’ range
to ensure the conservation of the            their designated critical habitat areas        (Aubry et al. 2000, pp. 378-380;
species.                                     may still result in jeopardy findings in
   Section 4 of the Act requires that we                                                    McKelvey et al. 2000a, pp. 242-253;
                                             some cases. These protections and              Hoving ef al., 2005 p. 749). At the
designate critical habitat on the basis of   conservation tools will continue to
the best scientific and commercial data                                                     landscape scale within each region,
                                             contribute to recovery of this species.        natural and human-caused disturbance
available. Further, our Policy on            Similarly, critical habitat designations
Information Standards Under the                                                             processes (e.g., fire, wind, insect
                                             made on the basis of the best available        infestations, forest management, and
Endangered Species Act (published in         information at the time of designation
the Federal Register on July 1, 1994 (59                                                    development) may influence the spatial
                                             will not control the direction and             and temporal distribution of lynx
FR 342711), the Information Quality Act      substance of future recovery plans,
(section 515 of the Treasury and General                                                    populations by affecting the distribution
                                             habitat conservation plans (HCPs), or          of high-quality habitat for snowshoe
Government Appropriations Act for            other species conservation planning
Fiscal Year 2001 (Pub. L. 106-554; H.R.                                                     hares (Agee 2000, pp. 47-73; Ruediger
                                             efforts if new information available at        ef al. 2000, pp. 1-3, 2-2—2-6, 7-3). At
5658)), and our associated Information       the time of these planning efforts calls
Quality Guidelines provide criteria,                                                        the stand-level (vegetation community)
                                             for a different outcome.                       scale, the quality, quantity, and
establish procedures, and provide
guidance to ensure that our decisions        Physical or Biological Features                juxtaposition of habitats influence home
are based on the best scientific data           In accordance with section 3(5)(A)(i)       range location and size, productivity,
available. They require our biologists, to   and 4(b)(1)(A) of the Act and regulations      and survival (Aubry et al. 2000, pp.
the extent consistent with the Act and       at 50 CFR 424.12, in determining which         380-390; Vashon ef al. 2005a, pp. 9-11).
with the use of the best scientific data     areas within the geographical area             At the smaller substand (within-stand)
available, to use primary and original       occupied by the species at the time of         scale, the spatial distribution and
sources of information as the basis for      listing to designate as critical habitat,      abundance of prey and microclimate
recommendations to designate critical        we consider the physical or biological         likely influence lynx movements,
habitat.                                     features essential to the conservation of      hunting behavior, and den and resting
  When we are determining which areas        the species and which may require              site locations (Organ ef al. 2008, entire;
should be designated as critical habitat,    special management considerations or           Squires et al. 2008, entire; Moen and
our primary source of information is         protection. These include, but are not         Burdett 2009, p. 16; Squires et al. 2010,
generally the information developed          limited to:                                    pp. 1648, 1654-1657).
during the listing process for the              (1) Space for individual and                   Generally, the physical and biological
species. Additional information sources      population growth and for normal               features of critical habitat for lynx are
may include the recovery plan or             behavior;                                      found within relatively large landscapes
recovery outline for the species (if one        (2) Food, water, air, light, minerals, or   (large enough to support multiple lynx
has been completed), articles in peer-       other nutritional or physiological             home ranges) in what is broadly
reviewed journals, conservation plans        requirements;                                  described as the boreal forest or cold
developed by States and counties,               (3) Cover or shelter;                       temperate forest (Frelich and Reich
scientific status surveys and studies,          (4) Sites for breeding, reproduction, or    1995, p. 325; Agee 2000, pp. 43-46).
biological assessments, other                rearing (or development) of offspring;         That is, no individual small-scale area
unpublished materials, or experts’           and                                            or site is likely to have all of the
opinions or personal knowledge.                 (5) Habitats that are protected from        physical and biological features lynx
  Habitat is dynamic, and species may        disturbance or are representative of the       need to survive. However, small lynx
move from one area to another over           historical, geographical, and ecological       populations can persist in areas with
time. We recognize that critical habitat     distributions of a species.                    relatively small areas of boreal forest
designated at a particular point in time        We derive the specific physical or          habitat, as they do in the Garnet
may not include all of the habitat areas     biological features essential for the lynx     Mountains in western Montana and in
that we may later determine are              DPS from studies of this species’              the Wyoming Range in northwestern
necessary for the recovery of the            habitat, ecology, and life history as          Wyoming (Squires 2014, pers. comm.).
species. For these reasons, a critical       described in the Background and                Lynx in the DPS use very large areas as
habitat designation does not signal that     Critical Habitat sections of the proposed      home ranges that incorporate landscape


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features that may be widely separated       concluded that the broad geographic           allow females to adequately provision
from one another to satisfy all of their    distribution of lynx in eastern North         dependent kittens, especially when the
life-history needs. In contrast to the      America is most influenced by snowfall,       kittens are relatively immobile (Moen ef
extensive homogenous boreal forest          but within areas of similarly deep            al. 2008a, p. 1507; Vashon ef al. 2012,
found in the core of lynx range in          snowfall, measures of forest succession       p. 16). In north-central Washington,
northern Canada and Alaska, the             become more important factors in              hare densities are higher in landscapes
southern terminus of the boreal forest      determining lynx distribution. Second-        with an abundance of dense boreal
type that extends into parts of the         order habitat selection in the Acadian        forest interspersed with small patches of
northern contiguous United States           forest region is influenced by hare           open habitat, in contrast to landscapes
becomes transitional with other forest      density (a surrogate for early                composed primarily of open forest
types—the Acadian forest in the             successional forest) and by mature            interspersed with few patches
Northeast (Seymour and Hunter 1992,         conifer forest, despite its association       containing dense vegetation (Walker
pp. 1, 3), deciduous temperate forest in    with lower hare densities (Simons-            2005, p. 79; Lewis ef al. 2011, p. 565).
the Great Lakes, and subalpine forest in    Legaard et al. 2013b, pp. 573-574). In        Similarly, in northwest Montana,
the west (Agee 2000, pp. 43-46). In this    the Northern Rocky Mountains, lynx            connectivity of dense patches within the
rule, we use the term “boreal forest”       appear to be less tied to early               forest matrix benefits snowshoe hares
because it generally encompasses most       successional forest stages; high lynx use     (Ausband and Baty 2005, p. 209). In
of the vegetative descriptions of the       and hare densities, especially in the         mountainous areas, lynx appear to
transitional forest types that comprise     critical winter season, occur in mature       prefer relatively gentle slopes (Apps
lynx habitat in the contiguous United       multistoried forest stands where conifer      2000, p. 361; McKelvey ef al. 2000d, p.
States (Agee 2000, pp. 40-41).              branches reach the snow surface and           333; von Kienast 2003, p. 21, Table 2;
   Because of the transitional nature and   thereby provide hare forage (Squires et       Maletzke 2004, pp. 17-18).
patchy distribution of boreal forest in     al. 2006a, p. 15; Squires etal. 2010, pp.        Individual lynx require large areas of
the contiguous United States, species       1653-1657; Berg etal. 2012, entire).          boreal forest landscapes to support their
that are specifically adapted to the           Boreal forests used by lynx are            home ranges and to facilitate dispersal
classic boreal forest farther north, like   generally cool, moist, and dominated by       and exploratory travel. The size of lynx
the lynx, must contend with aspects of      conifer tree species, primarily spruce        home ranges is strongly influenced by
their habitat at the southern extent of     and fir (Agee 2000, pp. 40-46; Aubry ef       the quality of the habitat, particularly
the boreal forest for which they are not    al. 2000, pp. 378-382; Ruediger ef al.        the abundance of snowshoe hares, in
as well-adapted. For example, southern      2000, pp. 4-3, 4-8—4-11, 4-25—4-26,           addition to other factors such as gender,
transitional boreal forests often have      4-29—4-30). Boreal forest landscapes          age, season, and density of the lynx
lower landscape snowshoe hare               used by lynx are heterogeneous mosaics        population (Aubry ef al. 2000, pp. 382­
densities than boreal forests further       of vegetative cover types and                 385; Mowat et al. 2000, pp. 276-280).
north (Wolff 1980, pp. 123-128; Buehler     successional forest stages created by         Generally, females with kittens have the
and Keith 1982, pp. 24, 28; Koehler         natural and human-caused disturbances         smallest home ranges while males have
1990, p. 849; Koehler and Aubry 1994,       (McKelvey etal. 2000c, pp. 426-434). In       the largest home ranges (Moen ef al.
p. 84). This difference requires lynx in    many places, periodic vegetation              2005, p. 11; Burdett et al. 2007, p. 463).
the contiguous United States to             disturbances stimulate development of         Reported average home range sizes vary
incorporate more land area into their       dense understory or early successional        greatly from 12 mi^ (31 km-) for females
home ranges than lynx do in the north       habitat for snowshoe hares (Ruediger ef       and 26 mi- (68 km^) for males in Maine
to acquire adequate food (Mowat et al.      al. 2000, pp. 1-3—1-4, 7-4—7-5). In           (Vashon ef al. 2005a, p. 7), 8 mi^ (21
2000, pp. 265, 277-278). At some point,     Maine, lynx are positively associated         km^) for females and 119 mi^ (307 km^)
landscape hare densities become too         with landscapes that were clearcut 15 to      for males in Minnesota (Moen et al.
low, making some areas incapable of         35 years previously (Hoving ef al. 2004,      2005, p. 12), and 34 mi^ (88 km^) for
supporting lynx. Larger home ranges         p. 291; Simons-Legaard ef al. 2013b, pp.
                                                                                          females and 83 mi^ (216 km^) for males
likely require more energy output           573-574), some of which were also
                                                                                          in northwest Montana (Squires et al.
associated with greater foraging effort     treated with herbicides to promote
                                                                                          2004a, p. 13). Home range sizes of lynx
(Apps 2000, p. 364) and possibly            conifer regeneration (Scott 2009, p. 7).
                                                                                          in the population introduced into
increased exposure to predation and         In other places, such as the Northern
                                                                                          Colorado averaged 29 mi- (75 knU)
other mortality factors than lynx face in   Rocky Mountains and Greater
                                                                                          among reproductive females, 40 nii-
the core of their range. All of these       Yellowstone Area, mature multistoried
                                                                                          (103 km-) among attending
factors likely lead to lower reproductive   conifer forests as well as dense
                                                                                          (reproductive) males, and 252 mi^ (654
output and more tenuous conservation        regenerating conifer stands provide
                                                                                          km^) among all non-reproductive lynx
status in many parts of the DPS relative    foraging habitat for lynx (Squires ef al.
to those in Canada and Alaska (Buskirk      2010, pp. 1648, 1653-1657; Berg et al.        (Shenk 2008, pp. 1, 10). Based on data
et al. 2000a, p. 95).                       2012, entire).                                presented in Shenk (2008, p. 10) and
   Throughout the range of the DPS, lynx       The overall quality of the boreal forest   combining reproductive and non-
habitat occurs within boreal forest         landscape and the juxtaposition of            reproductive lynx, home range estimates
vegetation types that support relatively    stands of high-quality habitat within the     for lynx in Colorado averaged 181 mi^
high landscape densities of snowshoe        landscape are important for both lynx         (470 km^) for females and 106 mi^ (273
hares and have deep snow for extended       and snowshoe hares in that both can           km^) for males.
periods. In eastern North America, lynx     influence connectivity or movements           Forest Type Associations in the
are strongly associated with areas of       between habitat patches, availability of      Contiguous United States
deep snowfall and large (40-mi- (100-       food and cover, and spatial structuring
km^)) landscapes that have been heavily     of populations or subpopulations              Maine
cut and treated with herbicides and         (Hodges 2000, pp. 184-195; McKelvey             Stands of regenerating sapling (15-35
have a high proportion of young             ef al. 2000c, pp. 431-432; Walker 2005,       years old) spruce-fir forest that provide
regenerating forest (Hoving 2001, pp. 75,   p. 79). For example, lynx foraging            dense cover are preferred by both
143). Hoving et al. (2004, p. 291)          habitat must be near denning habitat to       snowshoe hares and lynx in Maine


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(Robinson 2006, pp. 26-36; Vashon et        Upland Conifer, Mixed Conifer, and           335). Lynx in this area avoid Douglas-
al. 2012, p. 15). Lynx are more likely to   Regenerating Forest cover types, with        fir and ponderosa pine forests,
occur in large (40 mi^ (100 km^))           lynx selecting the latter because it         openings, recent burns, open canopy
landscapes with regenerating forest, and provides snowshoe hare habitat (Moen            and understory cover, and steep slopes
less likely to occur in landscapes with     ef al. 2008a, p. 1511; Moen et al. 2008b,    (Koehler ef al. 2008, p. 1518).
very recent clear-cut or partial harvest    pp. 18-29). Moen etal. (2008b, pp. 23­
                                                                                         Southern Rocky Mountains (Western
(Hoving et al. 2004, pp. 291-292).          25) reported that lynx also select for the
Regenerating stands used by lynx            edges between different cover types,         Colorado, Northern New Mexico,
generally develop after forest              presumably because they can more             Southern Wyoming)
disturbance and are characterized by        efficiently capture hares along the edges       Lynx in the population introduced
dense horizontal structure and high         between stands than in the dense             into Colorado use high-elevation
stem density within a meter of the          interior understory of regenerating          (generally above 9,500 ft (2,900 m))
ground. These habitats support high         stands.                                      mature Engelmann spruce/subalpine fir,
snowshoe hare densities (Homyack                                                         mixed spruce/fir/aspen, and riparian/
                                            Northern Rocky Mountains (Idaho,
2003, p. 63; Fuller and Harrison 2005,                                                   mixed riparian habitats in Subalpine
                                            Montana, and Northwestern Wyoming)
pp. 716, 719; Vashon ef al. 2005a, pp.                                                   and Upper Montane forest zones, and
10-11). At the stand scale, lynx in            In the Northern Rocky Mountains,          avoid lower elevation Montane forests
northwestern Maine select older (11- to     most lynx occurrences are associated         of Douglas fir and ponderosa pine
26-year-old), tall (15 to 24 feet (ft) (4.6 with the Rocky Mountain Conifer Forest       (Shenk 2006, p. 10; Shenk 2008, pp. 1­
to 7.3 meters (m)) regenerating clear-cut or Western Spruce-Fir Forest vegetative        2, 12, 15; Devineau et al. 2010, p. 525;
stands and older (11- to 21-year-old)       class (Kiichler 1964, p. 4; McKelvey ef      Ivan 2011a, pp. 21, 27). However, it
partially harvested stands (Fuller ef al.   at. 2000a, p. 246) and most occur above      remains uncertain whether these
2007, pp. 1980, 1983-1985). At the          4,101 ft (1,250 m) elevation (Aubry ef al.   habitats can sustain a viable lynx
home range scale, lynx also select          2000, pp. 378-380; McKelvey et al.           population over time (Shenk 2008, p.
mature conifer forest (Simons-Legaard et 2000a, pp. 243-245). The dominant               16; Shenk 2010, pp. 2, 5-6, 11). Lynx
al. 2013b, pp. 572-573). Lynx may use       vegetation that constitutes lynx habitat     from the population introduced into
partial harvested and mature conifer        in these areas is subalpine fir (A.          Colorado also have wandered into
stands associated with low hare             lasiocarpa), Engelmann spruce, and           mountainous areas of northern New
densities because of increased ease of      lodgepole pine (Aubry et al. 2000, p.        Mexico that contain relatively small and
travel and prey access along the            379; Ruediger ef al. 2000, pp. 4-8—4­        fragmented areas of similar high-
extensive edges with high-quality           10). Within the boreal forest landscape,     elevation spruce/fir and cold mixed-
(regenerating clear-cut) habitats           lodgepole pine is serai to (i.e., is an      conifer habitats (U.S. Forest Service
(Simons-Legaard etal. 2013b, p. 574).       earlier successional stage) subalpine fir    2009, pp. 5-10). There is no evidence
Most of the high-quality hare and lynx      and Engelmann spruce, which are              that lynx occupied these areas
habitat in northern Maine is the result     climax forest habitat types. In winter,      historically, no reproduction has been
of landscape-scale clear-cut timber         lynx preferentially use mature               documented among lynx from the
harvesting in response to a spruce          multistoried stands, predominantly           population introduced into Colorado
budworm outbreak in the 1970s-1980s         spruce-fir, with dense horizontal cover      that have traveled into northern New
(Simons 2009, pp. 64, 218). Some of         and avoid clearcuts and large forest         Mexico, and habitats in New Mexico are
these clearcuts were also treated with      openings (Squires etal. 2010, pp. 1648,      thought to be incapable of supporting a
herbicides to promote conifer               1653-1656). In summer, lynx also select      self-sustaining lynx population (U.S.
regeneration by suppressing deciduous       young stands with dense spruce-fir           Forest Service 2009, pp. 2, 10, 16-17).
tree species. Both the current amount of saplings and do not appear to avoid                Based on the information above, we
high-quality habitat and the lynx           openings (Squires etal. 2010, pp. 1648,      identify boreal forest landscapes that
population in Maine are likely larger       1654-1655). Dry forest types (e.g.,          support relatively high densities of
than occurred prior to European             ponderosa pine [Pinas ponderosa), dry        snowshoe hares, have deep snow for
settlement, when a relatively smaller       Douglas-fir [Pseadotsuga menziesU}) do       extended periods, and are large enough
proportion of the forest was in an early    not provide lynx habitat (Berg 2009, p.      to support multiple lynx home ranges
successional stage (Lorimer 1977, entire; 20; Squires ef al. 2010, p. 1655).             over time to contain the physical and
Vashon et al. 2012, pp. 45, 56), likely     Washington                                   biological features needed to support
because the natural disturbance regime                                                   and maintain lynx populations over
resulted in smaller frequent                   In the North Cascades in Washington,
                                                                                         time and which, therefore, are essential
disturbances and long intervals between most lynx occur above 4,101 ft (1,250 m)         for the conservation of the lynx DPS.
larger disturbances.                        (McKelvey etal. 2000a, p. 243, 2000d,
                                            p. 321; von Kienast 2003, p. 28, Table       Food, Water, Air, Light, Minerals, or
Minnesota                                   2; Maletzke 2004, p. 17). In this area,      Other Nutritional or Physiological
   In Minnesota, lynx primarily occur in lynx select Engelmann spruce—                   Requirements
the Northern Superior Uplands               subalpine fir forest cover types in winter
Ecological Section of the Laurentian        (von Kienast 2003, p. 28; Maletzke 2004,     Food (Snowshoe Hares)
Mixed Forest Province. Historically, this pp. 16-17; Koehler ef al. 2008, p. 1518).        Snowshoe hare density is the most
area was dominated by red pine [Pinas       As in the Northern Rockies, lodgepole        important factor explaining the
resinosa) and white pine [P. strobus)       pine is a dominant tree species in the       persistence of lynx populations (Steury
mixed with aspen [Populus spp.), paper earlier successional stages of these              and Murray 2004, p. 136). Snowshoe
birch [Betula papyrifera), spruce,          climax cover types. Serai (intermediate      hare density differences among areas of
balsam fir (A. balsamifera} and jack pine stage of ecological succession) lodgepole      boreal forest in the contiguous United
[P. banksiana] (Minnesota Department        stands contain dense understories and,       States are also thought to explain many
of Natural Resources [Minnesota DNR]        therefore, receive high use by snowshoe      lynx distribution patterns historically
2003, p. 2). Lynx habitats in Minnesota     hares and lynx (Koehler 1990, pp. 847­       and at present. While seemingly all of
are associated with Lowland Conifer,        848; McKelvey et al. 2000d, pp. 332-         the physical aspects usually associated


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with lynx habitat may be present in a        is conducive to supporting abundant            ground or snow level (Hodges 2000, p.
landscape, if snowshoe hare densities        snowshoe hares, it likely will also go         184). Snowshoe hares most heavily use
are inadequate to support reproduction,      through successional stages that are of        stands with shrubs, stands that are
recruitment, and survival over time,         lesser value as lynx foraging habitat (i.e.,   densely stocked, and stands at ages
lynx populations will not persist.           times when snowshoe hare abundance             where branches provide more lateral
Minimum snowshoe hare densities              is low) or lynx denning habitat (Agee          cover (Hodges 2000, p. 184; Lewis et al.
necessary to maintain lynx populations       2000, pp. 62-72; Buskirk ef al. 2000b,         2011, pp. 561, 564-565). Generally,
across the range of the DUS have not         pp. 403-408) as part of a natural forest       earlier successional forest stages provide
been determined, although Ruggiero et        succession process. For example, a             a greater density of horizontal
al. (2000, pp. 446-447) suggested that at    boreal forest stand where there has been       understory and support more snowshoe
least 0.2 hares per ac (0.5 hares per ha)    recent disturbance, such as fire or            hares (Buehler and Keith 1982, p. 24;
may be necessary. Hare densities in          timber harvest, resulting in little or no      Wolfe ef al. 1982, pp. 668-669; Koehler
areas known to support lynx home             understory structure will support fewer        1990, pp. 847-848; Hodges 2000, pp.
ranges in the contiguous United States       snowshoe hares and, therefore, lower           184-191; Griffin 2004, pp. 84-88).
are 0.26 hares per ac (0.64 hares per ha)    quality lynx foraging habitat. However,        However, snowshoe hares can be
in northeast Minnesota (Moen ef al.          that temporarily low-quality stand             abundant in mature forests with dense
2012, p. 352) and 0.30 hares per ac (0.74    would regenerate into higher quality           understories, particularly in the western
hares per ha) in northern Maine              snowshoe hare (lynx foraging) habitat          part of the DPS range (Griffin 2004, pp.
(Simons-Legaard ef al. 2013b, p. 574).       within 10 to 25 years, depending on            53-54, 88; Hodges ef al. 2009, p. 876;
Hare density in Voyageurs National Park      local conditions (Ruediger ef al. 2000,        Squires ef al. 2010, pp. 1648, 1653­
in northern Minnesota was estimated at       pp. 1-3—1-4, 2-2—2-5). The                     1657; Berg ef al. 2012, pp. 1484-1488),
0.14 hares per ac (0.35 hares per ha) and    continuation of this naturally dynamic         and such mature forests may be a source
does not support resident breeding lynx      pattern of succession exhibited in boreal      of hares for other adjacent forest types
(Moen ef al. 2012, pp. 352-354). In          forests is crucial for lynx survival due       (Griffin and Mills 2009, pp. 1492, 1495­
northern Maine, landscapes with hare         to their dependence on intermediate            1496).
densities less than 0.2 hares per ac (0.5    successional stages in many areas. In             In Maine, snowshoe hare densities are
hares per ha) are not occupied by lynx       places where lynx are dependent on             highest in regenerating softwood (spruce
(Simons-Legaard etal. 2013b, pp. 567,        mature forest stages, forest stand             and fir) and mixed-wood stands with
575).                                        turnover still occurs, but on a longer         high conifer stem densities (Homyack
   Steury and Murray (2004, entire)          time scale requiring the ability to recruit    2003, p. 195; Fuller and Harrison 2005,
modeled lynx and snowshoe hare               new mature forest stands as others are         pp. 716, 719; Robinson 2006, p. 69).
populations and predicted that a             lost to fire, insect infestation, or human     However, when exploiting high-density
minimum of 0.4 to 0.7 hares per ac (1.1      activities.                                    hare habitats, lynx focus foraging efforts
to 1.8 hares per ha) would be required          Forest management techniques that           in stands with intermediate hare
for persistence of a reintroduced lynx       thin the understory may reduce habitat         densities and structural complexity that
population in the portion of the lynx        quality for hares and, thus, for lynx          occurred at the edges of the highest
range in the contiguous United States.       (Ruediger ef al. 2000, pp. 2-4—3-2;            density habitat, suggesting that lynx
In areas used by the introduced lynx         Hoving ef al. 2004, pp. 291-292;               balance between hare abundance and
population in west-central Colorado,         Homyack et al. 2007, entire), at least         accessibility (Fuller and Harrison 2010,
Zahratka and Shenk (2008, pp. 906, 910)      temporarily (Griffin and Mills 2007,           pp. 1276-1277; Simons-Legaard etal.
reported hare densities ranging from         entire). Stands may continue to provide        2013b, p. 574). In northeastern
0.03 to 0.5 hares per ac (0.08 to 1.32       good snowshoe hare habitat for many            Minnesota, lynx use areas with
hares per ha) in mature Engelmann            years until woody stems in the                 relatively higher proportions of
spruce-subalpine fir stands and from         understory become too sparse, as a             coniferous forest, young (10- to 30-year-
0.02 to 0.14 hares per ac (0.06 to 0.34      result of undisturbed forest succession        old) regenerating forest, and shrubby
hares per ha) in mature lodgepole pine       or management (e.g., clearcutting or           grassland, and these habitats support
stands. In “purportedly good” hare           thinning) (Griffin and Mills 2007,             the highest hare densities (McCann and
habitat also in west-central Colorado in     entire). Thus, if the vegetation potential     Moen 2011, pp. 509, 515).
the area used by the introduced              of the stand is appropriate, a stand that         In montane and subalpine forests in
population, Ivan (2011b, pp. iv-v, 71,       is not currently in a condition that           northwest Montana, the highest
92) estimated summer hare densities of       supports abundant snowshoe hares for           snowshoe hare densities in summer are
0.08 to 0.27 hares per ac (0.2 to 0.66       lynx foraging or coarse woody debris for       generally in younger stands with dense
hares per ha) in stands of “small”           den sites would improve as habitat for         forest structure, but winter hare
lodgepole, 0.004 to 0.01 hares per ac        snowshoe hares (and thus lynx foraging)        densities are as high or higher in mature
(0.01 to 0.03 hares per ha) in “medium”      with time. Therefore, we consider lynx         stands with dense understory forest
lodgepole, and 0.004 to 0.1 hares per ac     habitat to include forested areas with         structure (Griffin 2004, p. 53). In
(0.01 to 0.26 hares per ha) in spruce-fir    the potential, through natural                 Montana in winter, hare and lynx use
stands.                                      succession, to produce high-quality            multistoried stands, often in older-age
   The boreal forest landscape is            snowshoe hare habitat, regardless of           classes, where the tree boughs touch the
naturally dynamic and usually contains       their current stage of forest succession.      snow surface but where the stem
a mosaic of forest stand successional           Snowshoe hares feed on conifers,            density is low (Squires ef al. 2006a, p.
stages. In some areas, particularly in the   deciduous trees, and shrubs (Hodges            15; Griffin and Mills 2009, pp. 1492,
eastern portion of the DPS, stands that      2000, pp. 181-183), and they prefer            1495-1496; Squires ef al. 2010, pp.
support high densities of snowshoe           boreal forest stands that have a dense         1648, 1653-1656). In the North
hares are of a young successional stage      horizontal understory to provide food,         Cascades of north-central Washington,
and are in a constant state of transition    as well as cover and security from             snowshoe hare density was highest in
to other more mature stages. Conversely,     predators. Snowshoe hare density is            20-year-old lodgepole pine stands where
if the vegetation potential (or climax       correlated to understory cover between         the average density of trees and shrubs
forest type) of a particular forest stand    about 3 and 10 ft (1 to 3 m) above the         was 15,840 stems per ha (6,415 stems


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per ac) (Koehler 1990, pp. 847-848), and     forest landscapes to be a physical or           Based on the information above, we
hare density was associated with large       biological feature needed to support and      identify winter conditions that provide
shrubs and saplings within a stand           maintain lynx populations over time           and maintain deep, fluffy snow for
(Lewis etal. 2011, pp. 561, 564-565). In     and which, therefore, is essential to the     extended periods in boreal forest
western Wyoming, late-seral                  conservation of the lynx DPS.                 landscapes to be a physical or biological
multistoried forests support a greater                                                     feature needed to support and maintain
abundance of snowshoe hares than             Snow Conditions (Other Physiological
                                                                                           lynx populations over time and which,
regenerating even-aged forests (Berg ef      Requirements)
                                                                                           therefore, are essential to the
al. 2012, p. 1). Similarly, in Yellowstone      Snow conditions also determine the         conservation of the lynx DPS.
National Park, where hares were rare         distribution of lynx and snowshoe
and patchily distributed, hare presence                                                    Sites for Breeding, Reproduction, or
                                             hares. Deep, fluffy snow conditions
and relative abundance are linked to                                                       Rearing (or Development) of Offspring
                                             likely restrict potential lynx competitors
mature forest stands (Hodges ef al. 2009,    such as bobcat or coyote from effectively     Denning Habitat
p. 876). In western Colorado areas used      encroaching on or hunting hares in               Lynx den sites are found in mature
by the introduced lynx population,           winter lynx habitat. In addition to snow      and younger boreal forest stands that
Zahratka and Shenk (2008, pp. 906, 910)      depth, other snow properties, including       have a large amount of cover and
estimated higher hare densities in           surface hardness or sinking depth, also       downed, large woody debris. The
spruce-fir stands than in lodgepole pine,    influence lynx foraging success and,          structural components of lynx den sites
but Ivan (2011b, pp. iv, 71, 92)             ultimately may be important factors in        are common features in managed
estimated hare densities as highest in       the spatial, ecological, and genetic          (logged) and unmanaged (e.g., insect­
stands of small lodgepole pine,              structuring of the species (Stenseth et al.   damaged, wind-throw) stands. Downed
intermediate in spruce-fir stands, and       2004, entire). Gonzalez ef al. (2007, pp.     trees provide excellent cover for den
lowest in stands of medium lodgepole         4, 7) compared 496 lynx locations with        sites and kittens and often are
pine.                                        snow cover over the period 1966-2005
   Habitats supporting abundant                                                            associated with dense woody stem
                                             and concluded that lynx require 4             growth.
snowshoe hares must be present in a          months (December through March) of
sufficient proportion (though not                                                             In northern Maine, 12 of 26 natal dens
                                             continuous winter snow coverage.              occurred in conifer-dominated sapling
necessarily the majority) of the                In eastern North America, snowfall is
landscape to support a viable lynx                                                         stands, and 5 dens were found in
                                             the strongest predictor of lynx               mature or mixed multistoried forest
population. Landscapes with more
                                             occurrence at a regional scale (Hoving ef     stands dominated by conifers (Organ et
contiguous hare habitat, or where
                                             al. 2005, p. 746, Table 5), and lynx in       al. 2008, p. 1515). Modeling sub-stand
patches of high-quality habitat occur in
                                             the northeastern United States are most       characteristics of these 26 dens, the
a matrix with patches of similar quality,
                                             likely to occur in areas with a 10-year       authors determined that 2 variables, tip-
support more hares than fragmented
                                             mean annual snowfall greater than 105         up mounds of blown-down trees and
habitats or those in which patches of
                                             in (268 cm) (Hoving 2001, p. 75; Hoving       visual obscurity at 16 ft (5 m) from the
hare habitat occur within a matrix of
                                             et al. 2005, p. 749). The Northern            den, were most useful for predicting
poor-quality habitat (Lewis ef al. 2011,
                                             Superior Uplands section of northeast         lynx den-site selection in managed
p. 565). Broad-scale snowshoe hare
                                             Minnesota, which supports a resident          forests (Organ et al. 2008, p. 1514). Lynx
density estimates are not available for
all of the areas being designated as lynx    lynx population, receives more of its         essentially select dense cover in a cover­
critical habitat. Available snowshoe         precipitation as snow than any other          rich area for denning, with blowdown,
hare density estimates are helpful in        part of the State, and has the longest        deadfalls, and root wads providing
determining where snowshoe hares             period of snow cover (Minnesota DNR           denning habitat. Coarse woody debris
exist, but each estimate is specific to      2003, p. 2). Average annual snowfall          alone is not a useful predictor of lynx
both a location and a point in time. Due     from 1971 to 2000 in this area was            den-site selection, despite its
to intrinsic, rapid fluctuations often       generally greater than 55 in (149 cm)         abundance, and denning habitat is not
seen in snowshoe hare populations,           (University of Minnesota 2013).               considered limiting in northern Maine
density estimates cannot be considered          Information on average snowfall or         (Organ et al. 2008, p. 1516). Den sites in
definitive for any particular area. If       snow depths in mountainous areas such         Maine often occur at the interface of two
enough data were gathered for a specific     as the Cascade and Northern Rocky             stands of different ages or in dense
area over several years, these data could    Mountains is limited because few              regenerating conifer stands, suggesting
be used to calculate an average density      weather stations in these regions have        that females select den sites near prey
(with margins of error included). Lynx       measured snow fall or snow depth over         sources to minimize time spent away
do not occur everywhere within the           time. An important consideration in           from kittens while foraging (Vashon ef
range of snowshoe hares in the               mountainous areas is that topography          al. 2012, p. 16).
contiguous United States (Bittner and        strongly influences local snow                   In northern Minnesota, structural
Rongstad 1982, p. 146; McCord and            conditions. For example, in the               components of forests such as
Cardoza 1982, p. 729). This may be due       Cascades, annual snowfall averaged 121        blowdown and deadfalls appear to be
to inadequate abundance, density, or         in (307 cm) at Mazama, WA (elevation          more important than forest cover type in
spatial distribution of hares in some        2,106 ft (642 m)), and 15 in (38 cm) at       determining lynx denning habitat
places, to the absence of snow               Omak, WA (elevation 1,299 ft (396 m))         (Interagency Lynx Biology Team 2013,
conditions that would allow lynx to          (Western Regional Climate Center 2013).       p. 46). Most den sites in Minnesota are
express a competitive advantage over         In areas of western Montana that              found in blowdown and are associated
other hare predators, or to a                support lynx populations, annual              with small patches of uplands
combination of these factors.                snowfall averaged 90 in (229 cm) in           surrounded by low-lying wetland areas
   Based on the information above, we        Troy (elevation 1,950 ft (594 m)) and         (Moen and Burdett 2009, pp. 5, 11).
identify relatively high densities of        120 in (305 cm) at Seeley Lake                Although lowland conifer cover types
snowshoe hares broadly and                   (elevation 4,200 ft (1,280 m)) (Western       appear to provide the forest structure
consistently distributed across boreal       Regional Climate Center 2013).                used most often for denning in northern


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Minnesota (Moen etal. 2008a, p. 1510),        Habitats Protected From Disturbance or       change that may affect lynx habitats and
other forest cover types are used if they     Representative of the Historic               distribution include upslope and
contained recent blowdowns (Moen and          Geographical and Ecological                  northward shifts in species distributions
Burdett 2009, p. 16). Very dense              Distributions of the Species                 across multiple taxa, and increased
horizontal cover in the immediate                                                          wildfire activity, fire frequency and
                                              Climate Change
vicinity of the den site also appears to                                                   duration in boreal and subarctic conifer
be a determinant (Moen and Burdett               Our analyses under the Act include        forests of Canada and the western
2009, p. 16). Female lynx forage within       consideration of ongoing and projected       United States (IPCC 2014a, p. 31).
approximately 1.2-1.8 mi (2-3 km) of          changes in climate. The terms “climate”         Previous IPCC assessments concluded
                                              and “climate change” are defined by the      that temperatures across the globe have
den sites when kittens are at the den,
                                              Intergovernmental Panel on Climate           increased by about 1.8 “Fahrenheit (F)
and the landscape composition within
                                              Change (IPCC). In 2014, the IPCC             (1 “Celsius (C)) over the last century
the foraging radius around a den site
                                              released its Fifth Assessment Report,        (IPCC 2001, p. 7). The IPCC projection
contains more lowland conifer, upland
                                              which represents the current scientific      for eastern and western North America
conifer, and regenerating forest than do      consensus on global and regional             within the range of the lynx DPS is
home ranges (Moen ef al. 2008a, p.            climate change and the best scientific       climate warming of 1.8 °F (1 °C) to 5.4
1507). Denning habitat does not appear        data available in this rapidly changing      °F (3 °C) by the year 2050 (IPCC 2007b,
to be limiting in northern Minnesota          field. The Fifth Assessment Report           p. 889). The range of warming projected
(Moen and Burdett 2009, p. 16).               largely reaffirms the conclusions of         over the next century runs from 3.6 “F
   In northwestern Montana, lynx              previous reports that the global climate     (2 °C) to 10.8 °F (6 °C) for North
generally den in mature spruce-fir            is warming at an accelerating rate and       America, with warming higher than this
forests among downed logs or root wads        that this warming is largely the result of   average in areas that are inland,
of wind-thrown trees in areas with            human activities and the associated          northerly, or mountainous. The IPCC
abundant coarse woody debris and              release of carbon dioxide and other          concludes that continued warming in
dense understories with high horizontal       greenhouse gases into the atmosphere         North America, with lower snow
cover in the immediate areas around           (IPCC 2014a, entire).                        accumulation and earlier spring
dens (Squires ef al. 2004a, Table 3;             “Climate” refers to the mean and          snowmelt, is very likely (IPCC 2007b, p.
Squires etal. 2008, pp. 1497, 1501­           variability of different types of weather    887). Climate history and projections
1505). Few dens are located in young          conditions over time, with 30 years          from regional climate models for regions
regenerating or thinned stands with           being a typical period for such              within the lynx DPS corroborate global
discontinuous canopies (Squires ef al.        measurements, although shorter or            models indicating that both eastern and
                                              longer periods also may be used (IPCC        western North America, including all
2008, p. 1497). Many dens have
                                              2007a, p. 78). The term “climate             portions of the lynx DPS, have warmed
northeasterly aspects and are farther
                                              change” thus refers to a change in the       in the last century and are likely to
from forest edges than random
                                              mean or variability of one or more           warm 1.8 “F (1 “C) to 5.4 “F (3 “C) by
expectation (Squires ef al. 2008, p.
                                              measures of climate (e.g., temperature or    the year 2050 (IPCC 2007b, p. 889). For
1497).                                        precipitation) that persists for an          example, in the Northern Rocky
   In the North Cascades, Washington,         extended period, typically decades or        Mountains at Glacier National Park,
lynx den in mature (older than 250            longer, whether the change is due to         mean summer temperatures have
years) stands with an overstory of            natural variability, human activity, or      increased 3.0 °F (1.66 °C) between 1910
Engelmann spruce, subalpine fir, and          both (IPCC 2007a, p. 78). Various types      and 1980 (Hall and Fagre 2003, pp. 134­
lodgepole pine with an abundance of           of changes in climate can have direct or     137) resulting in lower snowpack,
downed woody debris (Koehler 1990, p.         indirect effects on species. These effects   earlier spring melt, and distributional
847). In that study, all detected den sites   may be positive, neutral, or negative and    shifts in vegetation (Hall and Fagre
occurred on north-northeast aspects           they may change over time, depending         2003, pp. 138-139; Fagre 2005, pp. 4­
(Koehler 1990, p. 847).                       on the species and other relevant            9). These changes are predicted to
   Lynx in the population introduced          considerations, such as the effects of       continue and accelerate under future
into Colorado den at higher elevations        interactions of climate with other           climate scenarios (Hall and Fagre 2003,
and on steeper slopes compared to             variables (e.g., habitat fragmentation)      Fig. 7). An analysis of potential snow
general use areas, with den sites tending     (IPCC 2007a, pp. 8-14, 18-19). In our        cover under a range of IPCC future
                                              analyses, we weigh relevant                  climate scenarios and modeling of
to have northerly aspects and dense
                                              information, including uncertainty, in       vegetation using a dynamic vegetation
understories of coarse woody debris
                                              our consideration of various aspects of      model indicates that potential lynx
(Shenk 2008, p. 2).
                                              climate change.                              habitat could decrease by as much as
   Den site availability, although not           The IPCC’s Fifth Assessment Report        two-thirds in the contiguous United
thought to be limiting for lynx               concludes that the strongest and most        States by the end of this century
populations in the DPS (Moen ef al.           comprehensive evidence of the impacts        (Gonzalez et al. 2007, pp. 4, 7-8, 10, Il­
2008a, p. 1512; Organ et al. 2008, pp.        of climate change is in natural systems,     li).
1514, 1516-1517; Squires etal. 2008, p.       where many species have responded by            Across their worldwide distribution,
1505), is an essential component of the       shifting their geographic ranges,            lynx are dependent on deep snow that
boreal forest landscapes that lynx need       seasonal activities, migration patterns,     persists for long periods of time.
to satisfy a key life-history process         abundances, and species interactions         Warmer winter temperatures are
(reproduction). Therefore, based on the       (IPCC 2014a, p. 4). The report also          reducing snow pack in all portions of
information above, we identify denning        concludes that projected climate change      the lynx DPS through a combination of
habitat to be a physical or biological        during and beyond the 21st Century will      a higher proportion of precipitation
feature needed to support and maintain        increase extinction risk for many            falling as rain and higher rates of
lynx populations over time and which,         terrestrial and freshwater species (IPCC     snowmelt during winter (Hamlet and
therefore, is essential to the                2014a, pp. 14-15). In North America,         Lettenmaier 1999, p. 1609; Brown 2000,
conservation of the lynx DPS.                 observed impacts attributable to climate     p. 2347; Hoving 2001, pp. 73-75; Mote


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2003, p. 3-1; Christensen ef al. 2004, p.    138; Peterson 2003, p. 652). In the           small population size and increased
347; Knowles ef al. 2006, pp. 4548­          contiguous United States, researchers         isolation, populations would likely be
4549). This trend is expected to             expect that lynx in mountainous habitat       more vulnerable to stochastic
continue with future warming (Hamlet         will, to some extent, track climate           environmental and demographic events
and Lettenmaier 1999, p. 1611;               changes by using higher elevations on         (Carroll 2007, pp. 1100-1103).
Christensen ef al. 2004, p. 347; Mote et     mountain slopes, assuming that                   Aside from predicted elevational and
al. 2005, p. 48; IPCC 2007b, p. 850). The    vegetation communities supportive of          latitudinal shifts in areas currently
IPCC (2007b, p. 850) concludes that          lynx and hare habitats also move              occupied by lynx, we are aware of no
“snow season length and snow depth           upslope (Gonzalez ef al. 2007, p. 7).         models that predict specific areas not
are very likely to decrease in most of                                                     currently of value for lynx that will
                                             Future of Lynx Habitat                        become so as a result of climate-induced
North America except in the
northernmost part of Canada where               In 2003, we determined that climate        changes (e.g., Johnston ef al. 2012, p.
maximum snow depth is likely to              change was not a threat to lynx within        11). Therefore, at this time, we find it
increase.” Shifts in the timing of the       the contiguous United States DPS              appropriate to designate critical habitat
initiation of spring runoff toward earlier   because the best available science we         for the lynx only in areas occupied by
dates in western North America are also      had at that time (Hoving 2001) was too        the DPS that currently contain the
well documented (Hamlet and                  uncertain in nature (68 FR 40083). Since      physical and biological features
Lettenmaier 1999, p. 1609; Brown 2000,       that time, new information on regional        essential to the conservation of the lynx.
p. 2347; Cayan ef al. 2001, pp. 409-410;     climate changes and potential effects to      Although it is not within our authority
Christensen ef al. 2004, p. 347; Mote et     lynx habitat has been developed (e.g.,        to designate critical habitat in Canada
al. 2005, p. 41; Knowles ef al. 2006, p.     Knowles ef al. 2006, pp. 4545-4559;           (in the event that the range of lynx
4554). In addition, a feedback effect        Carroll 2007, pp. 1098-1102; Danby and        recedes northward out of the contiguous
causes the loss of snow cover due to the     Hik 2007, pp. 358-359; Gonzalez ef al.        United States), the revised critical
reflective nature of snow and the            2007, entire; Iverson ef al. 2008, pp.        habitat units in this final rule include,
relative heat-absorbing properties of        390-400; Beckage etal. 2008, entire;          to the extent practicable and reasonable
non-snow-covered ground. This                Burns ef al. 2009, p. 31; Johnston ef al.     based on habitat potential, higher
feedback effect leads to the highest         2012, pp. 6-13), and much of this new         elevation habitats within the range of
magnitude of warming occurring at the        information suggests that climate             the DPS that would facilitate long-term
interface of snow-covered and exposed        change is likely to be a significant issue    lynx adaptation to an elevational shift in
areas, increasing the rate at which          of concern for the future conservation of     habitat should one occur. As climate
melting occurs in spring (Groisman ef        the lynx DPS. These studies predict           change scenarios and ecosystem
al. 1994a, pp. 1637-1648; Groisman et        lynx and hare habitats—boreal spruce­         responses become more regionally
al. 1994b, pp. 198-200). This effect has     fir and subalpine forests—and,                certain, revisions to critical habitat may
led to the average date of peak snowmelt     therefore, lynx distribution, are likely to   be necessary to accommodate shifts in
to shift 3 weeks earlier in spring in the    shift upward in elevation within its          the range of the essential physical and
Intermountain West (Fagre 2005, p. 4).       currently occupied range and recede           biological features and any
   Snow accumulation and duration are        northward as temperatures increase            corresponding shift in the range of lynx
expected to decline generally in the         (Gonzalez etal. 2007, pp. 7, 13-14, 19;       in the contiguous United States.
geographic areas that contain the central    Beckage et al. 2008, entire; Jacobson et
and eastern portion of the lynx DPS          al. 2009, pp. 26-27, 30-31; Vashon ef al.     Primary Constituent Elements for
(IPCC 2007c, p. 891; Burns et al. 2009,      2012, pp. 60, 64; Interagency Lynx            Canada Lynx
p. 31). Due to the importance to lynx of     Biology Team 2013, p. 69). The boreal           Under the Act and its implementing
prolonged periods of deep fluffy snow,       spruce-fir forests that provide habitat for   regulations, we are required to identify
current habitats that lose this feature      lynx and snowshoe hares is thought to         the physical or biological features
would decline in value for lynx (Hoving      be limited by summer temperatures and         essential to the conservation of lynx in
2001, p. 73; Carroll 2007, p. 1092;          drought (Iverson and Prasad 2001, pp.         areas occupied at the time of listing,
Gonzalez etal. 2007, entire). Reduced        192-196) and, under a suite of                focusing on the features’ primary
snow depth and duration may reduce           emissions and climate change scenarios,       constituent elements (PCEs). Primary
lynx’s competitive advantage over            is projected to diminish dramatically or      constituent elements are those specific
bobcats, which have similar ecology to       disappear from much of the eastern            elements of the physical or biological
lynx but are not as well-adapted to          United States (Iverson and Prasad 2001,       features that provide for a species’ life­
hunting hares in deep fluffy snow            p. 196; Iverson ef al. 2008, pp. 390-400).    history processes and are essential to
(Hoving 2001, pp. 23-24; Carroll 2007,          Climate modeling suggests that lynx        the conservation of the species.
p. 1102; Interagency Lynx Biology Team       habitat and populations are anticipated         Based on our current knowledge of
2013, pp. 69, 71).                           to decline accordingly (Carroll 2007, pp.     the physical or biological features and
   Changes in temperature and rainfall       1098-1102) and may disappear                  habitat characteristics required to
patterns are expected to shift the           completely from parts of the range of the     sustain the species’ life-history
distribution of ecosystems northward         DPS by the end of this century (Johnston      processes, we determine, as we did in
and up mountain slopes (McDonald and         ef al. 2012, pp. 6-13). Climate change is     the 2009 final critical habitat rule and
Brown 1992, pp. 411-412; Danby and           expected to substantially reduce the          in the 2013 proposed rule, that the PCE
Hik 2007, pp. 358-359; IPCC 2007c, pp.       amount and quality of lynx habitat in         specific to lynx in the contiguous
230, 232). As climate changes over a         the contiguous United States, with            United States is:
landscape, the ecosystems that support       patches of high-quality boreal and              (1) Boreal forest landscapes
lynx are likely to shift, tracking the       subalpine forest habitat becoming             supporting a mosaic of differing
change of temperature, but with a time       smaller, more fragmented, and more            successional forest stages and
lag depending on the ability of              isolated (Carroll 2007, pp. 1099-1100;        containing:
individual plant and animal species to       Johnston ef al. 2012, p. 11). Remaining         (a) Presence of snowshoe hares and
migrate (McDonald and Brown 1992,            lynx populations would likely be              their preferred habitat conditions,
pp. 413-414; Hall and Fagre 2003, p.         smaller than at present and, because of       which include dense understories of


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young trees, shrubs or overhanging           time. For example, although evidence of      lynx consulted with the Service on
boughs that protrude above the snow,         lynx reproduction confirms the               actions that may affect lynx. The LCAS
and mature multistoried stands with          presence of the essential physical and       assisted Federal agencies in planning
conifer boughs touching the snow             biological features, short-term, sporadic,   activities and projects in ways that
surface;                                     or inconsistent reproduction that is         benefit lynx or avoid adverse impacts to
   (b) Winter conditions that provide        inadequate to maintain a population          lynx or lynx habitat. In most cases, if
and maintain deep fluffy snow for            over time (i.e., where reproduction and      projects were designed that failed to
extended periods of time;                    recruitment are too low to consistently      meet the standards in the LCAS, the
   (c) Sites for denning that have           offset mortality and emigration over the     biologists using the LCAS would arrive
abundant coarse woody debris, such as        long term) suggests that the quantity or     at an adverse effect determination for
downed trees and root wads; and              spatial arrangement (or both) of one or      lynx. The 2000 LCAS used the best
   (d) Matrix habitat (e.g., hardwood        more of the essential features is            information available at the time to
forest, dry forest, non-forest, or other     inadequate. These areas do not contain       ensure that the appropriate mosaic of
habitat types that do not support            the PCE, are likely population “sinks,”      habitat would be provided for lynx
snowshoe hares) that occurs between          and as such do not contribute to lynx        conservation on Federal lands.
patches of boreal forest in close            conservation or recovery.                    Although the LCAS was written
juxtaposition (at the scale of a lynx                                                     specifically for Federal lands, many of
home range) such that lynx are likely to     Special Management Considerations or
                                                                                          the conservation measures were
travel through such habitat while            Protection
                                                                                          considered equally applicable to non-
accessing patches of boreal forest within       When designating critical habitat, we     Federal lands.
a home range.                                assess whether the specific areas within        Lynx conservation depends on
   With this final designation of critical   the geographical area occupied by the        management that supports boreal forest
habitat, we have identified the physical     species at the time of listing contain       landscapes of sufficient size to
or biological features essential to the      features that are essential to the           encompass the temporal and spatial
conservation of the species, through the     conservation of the species and which        changes in habitat and snowshoe hare
identification of the appropriate            may require special management               populations to support interbreeding
quantity and spatial arrangement of the      considerations or protection.                lynx populations over time. At the time
features’ PCE sufficient to conserve the        In listing the lynx as threatened under   it was written, the LCAS recommended
species. For lynx, the distinction           the Act due to the inadequacy of             the most appropriate level of
between areas that may contain some of       existing regulatory mechanisms to            management or protection for lynx. The
each of the physical and biological          ensure the conservation of the DPS, the      LCAS conservation measures addressed
features described above and areas that      Service recognized the need for special      risk factors affecting lynx habitat and
have all of the physical and biological      management considerations or                 lynx productivity and were designed to
features, each in adequate quantities        protection for lynx in the contiguous        be implemented at the scale necessary
and spatial arrangements to support          United States. The need for specific         to conserve lynx. This level of
populations (i.e., contains the PCE), is     management direction and conservation        management is appropriate for Federal
very important for the reasons discussed     measures for lynx was likewise               lands because they account for the
below.                                       recognized during development of the         majority of lynx habitat in the
   Many places in the contiguous United      interagency Lynx Conservation                contiguous United States (except in
States have (1) some amount of boreal        Assessment and Strategy (LCAS;               Maine), and also because the
forest supporting a mosaic of                Ruediger et al. 2000, entire). The U.S.      inadequacy of regulatory mechanisms to
successional stages, (a) snowshoe hares      Forest Service (USFS), Bureau of Land        conserve lynx on these lands was the
and their habitats, (b) deep, fluffy snow    Management (BLM), National Park              primary reason we listed the lynx as
for extended periods, (c) denning            Service, and the Service developed the       threatened under the Act in 2000.
habitat, and (d) other habitat types         LCAS using the best available science at        After the LCAS was written, research
interspersed among boreal forest             the time specifically to provide a           on lynx, hares, and their habitats and
patches, but which do not and cannot         consistent and effective approach to         distributions continued throughout the
support lynx populations. That is, not       conserve lynx and lynx habitat on            range of the DPS. The Service and land
all boreal forest landscapes supporting a    Federal lands. The overall goals of the      management agencies recognized that,
mosaic of differing successional forest      2000 LCAS were to recommend lynx             as new scientific information became
stages contain the physical and              conservation measures, to provide a          available, it should supplement the
biological features essential to lynx in     basis for reviewing the adequacy of          LCAS and be taken into account by land
adequate quantities and spatial              USFS and BLM land and resource               managers. The USFS considered such
arrangements on the landscape to             management plans with regard to lynx         new information when it proposed to
support lynx populations over time.          conservation, and to facilitate              revise Forest Plans under the Northern
Lynx may occasionally (even regularly,       conferencing and consultation under          (U.S. Forest Service 2007, entire) and
if intermittently) occur temporarily in      section 7 of the Act. The LCAS               Southern (U.S. Forest Service 2008b,
places that do not contain all of the        identified an inclusive list of 17           entire) Rocky Mountains Lynx
elements of the PCE, especially during       potential risk factors for lynx or lynx      Amendments. Some of the LCAS
“irruptions” of lynx into the northern       habitat that could be addressed under        standards were changed to guidelines
contiguous United States following hare      programs, practices, and activities          because the Service determined that
population crashes in Canada (as             within the authority and jurisdiction of     some risk factors were not negatively
described in the proposed rule (78 FR        Federal land management agencies. The        affecting the lynx DPS as a whole. For
59433-59436) and below under Criteria        risks identified in the LCAS were based      example, after publication of the LCAS,
Used To Identify Critical Habitat}. Other    on effects to individual lynx, lynx          lynx in the contiguous United States
areas may contain all the essential          populations, or to lynx habitat.             were shown to use a variety of sites and
physical and biological features but in         With the listing of the lynx DPS in       conditions for denning, and den site
quantities and spatial arrangements that     2000, Federal agencies across the            availability is not believed to be a
are inadequate to support lynx over          contiguous United States range of the        limiting factor for lynx in the DPS (U.S.


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Fish and Wildlife Service 2007, pp. 48­      LCAS because they are no longer               Healthy Forest Reserve Program under
49; Interagency Lynx Biology Team            necessary. Thus, the 2013 revision            Exclusions, below, for further details).
2013, p. 30). Similarly, after evaluating    provides recommended conservation                Four northern Maine landowners with
Bunnell ef al. (2006, entire) and Kolbe      measures to be considered in project          collective ownership of approximately
ef al. (2007, entire), the Service           planning and implementation and               8.5 percent of occupied lynx habitat
determined that the best information         which may help inform future                  have developed lynx forest management
available did not indicate that              amendments or revisions of USFS forest        plans through the Natural Resource
compacted snow routes increased              plans.                                        Conservation Service’s Healthy Forest
competition from other species to levels        The 2013 LCAS revision presents the        Reserve Program. These landowners
that adversely impact lynx populations       most current source of such information       commit to employ the Service’s lynx
in the Northern Rocky Mountain Lynx          and will continue to inform the special       habitat management guidelines
Amendment (NRLA) area (U.S. Fish and         management considerations necessary           (McCollough 2007, entire), which
Wildlife Service 2007, pp. 53-55). Also      for conserving lynx on Federal lands.         include greater use of even-aged
since the LCAS was written, new              Notably, the 2013 revision concludes          silviculture that creates large patches of
information revealed the importance of       that recent studies in the contiguous         high-quality hare habitat and landscape
multistoried stands for lynx in western      United States generally suggest that lynx     hare densities that will continue to
areas (Squires ef al. 2006a, p. 15); based   are rarer and more patchily distributed       support lynx. All other private lands
on this, the USFS adopted a standard in      in the west and in the Great Lakes            occupied by lynx in Maine currently
the NRLA not identified in the LCAS for      region, and more abundant in Maine,           lack specific forest management plans
conserving such stands.                      than previously thought (Interagency          for lynx, indicating a continuing need
   Federal agencies across most of the       Lynx Biology Team 2013, p. 23). It            for special management considerations
range of the DPS have amended or             recommends focusing limited                   there.
revised land management plans to             conservation resources on those “. . .        Criteria Used To Identify Critical
include specific management direction        relatively limited areas that support         Habitat
to conserve lynx and lynx habitat            persistent lynx populations and have
(Interagency Lynx Biology Team 2013,                                                          As required by section 4(b)(2) of the
                                             evidence of recent reproduction, with         Act, we use the best scientific data
p. 88). This direction was developed in      less stringent protection and greater
accordance with the National Forest                                                        available to designate critical habitat. In
                                             flexibility given in areas that only          accordance with the Act and our
Management Act of 1976 and the               support lynx intermittently”
regulations that implement the statute                                                     implementing regulations at 50 CFR
                                             (Interagency Lynx Biology Team 2013,          424.12(b), we review available
(36 CFR 219.22), which requires public
review and comment as part of the            p. 2).                                        information pertaining to the habitat
decisionmaking process. The USFS has            The LCAS was developed to provide          requirements of the species and identify
completed such amendments or                 a consistent and effective approach to        occupied areas at the time of listing that
revisions to Land and Resource               conserve lynx on Federal lands in the         contain the features essential to the
Management Plans in its Eastern,             conterminous United States. In northern       conservation of the species. If, after
Northern, Rocky Mountain, and                New England, the only place the LCAS          identifying currently occupied areas, we
Intermountain regions. In the Pacific        would apply is on Federal land in the         determine that those areas are
Northwest Region, forest plans for           White Mountain National Forest.               inadequate to ensure conservation of the
national forests with lynx habitat are       However, in northern New England,             species, in accordance with the Act and
currently being revised (Interagency         most lynx habitat is on private               our implementing regulations at 50 CFR
Lynx Biology Team 2013, p. 4).               commercial timber lands, and lynx             424.12(e), we then consider whether
   To address the substantial volume of      populations there occur in extensive          additional areas—outside those
new information on lynx, hares, and          boreal forest landscapes where large,         occupied at the time of listing—are
their habitats and distributions that has    contiguous stands of young,                   essential for the conservation of the
accumulated from more than a decade          regenerating spruce-fir habitat are           species (i.e., whether the species can
of continuing research throughout the        prevalent (due to past clear-cut timber       only be conserved and recovered via the
range of the DPS, the LCAS was revised       harvest) and support high densities of        designation of additional areas). In this
in 2013 (Interagency Lynx Biology Team       snowshoe hares. Although lynx and             final rule, we are designating critical
2013, entire). The current revision          hare habitats were likely created             habitat only in areas within the
synthesizes all the available research       historically by natural forest                geographical area occupied by the
relevant to lynx, their primary prey, and    disturbances (e.g., fire, insects and         species at the time of listing in 2000
anthropogenic influences on the              disease, and windthrow), the current          because we have determined that these
conservation of lynx in the contiguous       extensive habitats in northern Maine are      areas are sufficient for the conservation
United States. Most USFS Land and            the result of large-scale industrial forest   of the lynx DPS and that designating
Resource Management Plans within the         management. Maintaining lynx                  areas that were not occupied at the time
current range of lynx have been formally     populations there will require forest         of listing would not address or
amended or revised to incorporate lynx       management practices that produce             ameliorate the threat for which the DPS
and hare conservation standards and          extensive stands supporting high hare         was listed (the inadequacy, at the time
guidelines. Standards and guidelines         densities into the future. The Service        of listing, of existing regulatory
were primarily based on those in the         developed Canada Lynx Habitat                 mechanisms). Because designating areas
2000 LCAS, but many Forests used the         Management Guidelines for Maine               not occupied at the time of listing
LCAS to develop goals, objectives, and       (McCollough 2007, entire), which              would not address the threat for which
standards and guidelines formulated or       specify the special management—               the lynx DPS was listed, doing so would
adapted for specific geographic areas or     recommendations on land use, forest           not improve the likelihood of recovery
Forest units. Therefore, the Lynx            conditions, landscape conditions, and         (the point at which the protections of
Biology Team deemed it appropriate to        silviculture requirements—needed to           the Act are no longer necessary and
abandon the use of prescriptive              support lynx populations based on the         delisting the DPS would be
measures such as those in the 2000           best available science (see discussion of     appropriate). Therefore, we have


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determined that areas outside those          contiguous United States, areas that          lynx respond with increased
occupied at the time of listing are not      contain all essential physical and            productivity and survival and, therefore,
essential to the conservation and            biological features in adequate quantity      increased population sizes (Slough and
recovery of the lynx DPS (i.e., we do not    and spatial arrangement to support lynx       Mowat 1996, pp. 955-956; Mowat et al.
find that the DPS could only be              populations over time (areas with the         2000, pp. 266, 272). Typically, after hare
conserved and recovered if we were to        PCE, as described above under “Primary        numbers peak, they begin to decline
designate areas not occupied at the time     Constituent Element for Canada Lynx”)         rapidly and dramatically, forcing large
of listing).                                 from other areas that may contain some        numbers of lynx to disperse—to
   To determine those specific areas         or all of the features but in inadequate      abandon home ranges in areas with
occupied by the species at the time it       quantities and/or spatial arrangements        dwindling prey bases no longer capable
was listed on which are found those          of one or more feature (and which,            of supporting the large number of lynx
physical or biological features essential    therefore, by definition do not contain       that resulted from the earlier prey
to the conservation of the species, as       the PCE). However, the scientific             abundance (Slough and Mowat 1996,
required by section 3(5)(a)(i) of the Act,   literature does not confer precisely what     pp. 956-957; Mowat et al. 2000, pp.
we reviewed the approach to the              quantities and spatial arrangements of        291-294). These periodic mass dispersal
conservation of the lynx provided in the     the physical and biological features are      events (irruptions) appear to start at the
LCAS (Ruediger et al. 2000, entire;          needed to support lynx populations            core of the species’ range in Canada and
Interagency Lynx Biology Team 2013,          throughout the range of the DPS. We           radiate outward (McKelvey et al. 2000a,
entire); the recovery outline (U.S. Fish     lack range-wide site-specific                 p. 239). At the southern periphery of the
and Wildlife Service 2005, entire);          information or tools that would allow us      lynx’s range, these events sometimes
information from State, Federal and          to analyze boreal forests across much of      result in large numbers of lynx
Tribal agencies; and information from        the range of the DPS and determine            dispersing into a variety of habitats in
academia and private organizations that      which specific areas contain the spatial      some areas of the northern contiguous
have collected scientific data on lynx.      and temporal mosaic of habitats and           United States in search of adequate food
We reviewed available information that       hare densities that lynx populations          resources (Thiel 1987, entire; McKelvey
pertains to the habitat requirements of      need to persist.                              et al. 2000a, pp. 239-242). Some of
lynx and its principal prey, the                Delineating critical habitat for lynx is   these dispersing lynx survive and
snowshoe hare. This information              complicated by a number of factors            reestablish home ranges elsewhere, but
included data in reports submitted by        related to (1) the animals’ biology and       many die en route, often soon after
researchers holding recovery permits         population dynamics; (2) the biology          initiating dispersal (Mowat etal. 2000,
under section 10(a)(1)(A) of the Act;        and population dynamics of its primary        p. 293), and some appear to remain
research published in peer-reviewed          prey, the snowshoe hare; (3) the              temporarily in areas not capable of
articles or presented in academic theses;    patchily distributed, temporally and          supporting all of their life-history needs
agency reports and unpublished data;         spatially dynamic successional habitat        over time (Thiel 1987, entire).
and various Geographic Information           features that shift continually across           Canadian populations of lynx have
System (GIS) coverages (e.g., land-cover     landscapes, and which drive                   historically been the most reliable
type information, land ownership             populations of both lynx and hares at         source for lynx populations in many
information, snow depth information,         the southern peripheries of both species’     areas of the contiguous United States,
topographic information, locations of        ranges; (4) our imperfect understanding       tending to replenish them within the
lynx obtained from radio- or GPS-collars     of the above factors; and (5) the             DPS about every 10 years as the lynx/
and locations of lynx confirmed via          resulting difficulty in determining with      hare cycle ebbs and flows (McKelvey et
DNA analysis or other verified records).     certainty and quantifying which specific      al. 2000a, entire). These events can be
   In designating critical habitat for the   habitat features, in what specific            pictured as a “wave” of lynx that
lynx, we used the best scientific data       amounts and spatial and temporal              occasionally washes over many of the
available to identify areas that possess     arrangements, are necessary to provide        northern tier of States. Over time the
appropriate quantities and spatial           the boreal forest mosaic essential to lynx    wave recedes, leaving remnant lynx
arrangements of the physical and             conservation. The task is further             populations or “puddles” of lynx in a
biological features essential to the         complicated by an imperfect historical        variety of habitats. These puddles of
conservation of the DPS and that may         record of lynx occurrence in the              lynx shrink over time as many lynx
require special management                   contiguous United States. Finally (but        perish in inhospitable habitats or
considerations or protection. In             importantly), the differences between         disperse elsewhere in search of
identifying areas as critical habitat, we    areas capable of supporting lynx              adequate hare densities. When these
first conducted a two-part analysis: (1)     populations over time and other areas         waves recede, lynx may disappear
We relied on information used during         that look like they should, but do not,       abruptly from areas of unsuitable habitat
listing of the species, and any available    are often subtle and cannot be                or more gradually from suboptimal or
newer information, to delineate the          distinguished over broad areas using          marginal habitats.
geographic area occupied by the species      traditional vegetation/habitat mapping,          In both cases, lynx perish in or leave
at the time of listing, and (2) we used      remote sensing (aerial photos, satellite      many of the places where they occurred
the best available scientific information    data), or available habitat modeling          temporarily because the habitats in such
to determine which occupied areas            techniques (e.g., see Ivan 2011a, p. 27).     places, due to insufficient prey densities
contain the physical and biological             As descriljed in the Distribution and      or inadequacy of one or more other
features in adequate quantities and          Biology sections of the proposed rule (78     physical or biological features, are
spatial arrangements to support lynx         FR 59433-59436), lynx populations             incapable of supporting them over time.
populations over time, thus                  throughout most of their range are            In a few places in the northern
demonstrating that they are essential to     irruptive. In central Canada where they       contiguous United States, in landscapes
the conservation of the lynx.                inhabit a large, relatively homogenous        with relatively high snowshoe hare
   To delineate critical habitat for lynx,   boreal forest landscape, lynx respond         densities and adequate quantities and
we must be able to distinguish across        quickly to cyclic fluctuations in hare        spatial arrangements of other essential
the extensive range of the species in the    populations. When hares are abundant.         physical and biological features, the


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puddles tend to persist. It is these          the contiguous United States (65 FR          population viability. Nonetheless, due
remnant “puddle” areas that                   16052, 68 FR 40076). For the reasons         to inherent swings in densities of their
demonstrate the capacity to support           given above, we conclude it is unlikely      primary prey, lynx regularly occur
lynx population resiliency—the ability        that there are areas within the DPS          temporarily in habitats that are not
of lynx to persist through lows in their      range that contain the PCE (i.e.,            capable of supporting populations over
own populations and those of their            adequate quantity and spatial                time, usually during irruptions after
primary prey—that we have determined          arrangement of all essential physical        cyclic hare population crashes in
are essential to conservation of the          and biological features) that lynx have      Canada. In designating critical habitat
contiguous United States lynx DPS.            been unable to locate and occupy. Based      for lynx, it is essential to distinguish
   In terms of lynx conservation, it is       on surveys both within and outside of        between areas capable of supporting
important to distinguish between areas        designated critical habitat and in many      populations over time (areas with all
that support lynx populations over time       of the secondary areas defined in the        essential physical and biological
(the lasting “puddles”) and areas in          recovery outline, and on responses from      features in adequate quantities and
which lynx may occasionally and               peer reviewers and discussions with          spatial arrangements and which,
temporarily (even if somewhat                 other lynx researchers, we also conclude     therefore, demonstrably contain the
regularly) occur during and for some          that it is very unlikely that there are      PCE) and areas that may have some or
time after population irruptions (the         other resident lynx populations within       all of the features but with inadequate
temporary or shrinking “puddles”). The        the range of the DPS that have remained      quantities and/or spatial arrangements
former are likely “source”                    undetected.                                  of one or more of them (and which,
subpopulations within the lynx                  Finally, the Act indicates that the        therefore, do not contain the PCE).
metapopulation. In addition to their          function of critical habitat is to provide   Exactly how much of each of the
ability to persist through lows in hare       for the recovery of the species. We          physical and biological features must be
and lynx numbers, those areas, during         designate critical habitat in areas that     present and specifically how each must
times of hare abundance, produce              contain, based on our assessment of the      be spatially arranged within boreal
excess lynx that may either                   best data available to us, the physical      forest landscapes to support lynx
subsequently bolster the local                and biological features in the               populations over time is unknown.
population or disperse into adjacent          appropriate quantities and spatial              In the absence of site-specific
areas, should habitats and hare numbers       arrangements (the PCE), to provide for       information, we do not have tools or
in those areas become favorable. The          the conservation of the species. For         techniques (e.g., remote sensing or
latter areas are likely “sinks”—places        some species, critical habitat may           vegetation mapping technologies of
where lynx may occasionally occur             include unoccupied areas if the              adequate resolution) that would allow
temporarily but where reproduction and        currently occupied areas are not             us to distinguish across broad
recruitment, if any occur at all, are         sufficient to recover the species. For       landscapes throughout all of the range
unlikely to offset mortality. Such areas      other species, critical habitat may be a     of the DPS between those areas that
do not support lynx over time or              subset of the occupied areas, if the         contain the PCE and other areas that
produce excess lynx and, therefore, do        occupied areas have differences in           contain the physical and biological
not contribute to the health and stability    quality that relate to their ability to      features but in inadequate quantity and/
of the metapopulation.                        contribute meaningfully to recovery of       or spatial arrangement. Nonetheless, we
   Lynx are wide-ranging animals that         the species. The Act does not require        use the best available information to
regularly make long-distance                  that we designate critical habitat in        identify where the physical and
movements through both suitable and           every area that has some components or       biological features occur in adequate
unsuitable habitats. They also are            some amount of the PCE, nor does it          quantity and spatial arrangement to
habitat and prey specialists, inferring       require that we demonstrate that all         provide for the conservation of the
natural selection pressures favoring the      other areas lack the PCE. We make these      species. Within this context, we
ability to identify, locate, and occupy       determinations on a case-by-case basis       developed the strategy described below
habitats conducive to survival and            based upon the best information              for identifying, delineating, and
reproduction. The historic record shows       available as to what the species needs       designating critical habitat for the
that lynx occurred only occasionally in       for recovery.                                contiguous United States DPS of the
some parts of the southern periphery of         By specifically allowing revisions to      Canada lynx.
its range in the contiguous United States     critical habitat designations if and when       The focus of our strategy in
during and for variable lag times after       new information becomes available, the       considering lands for designation as
the wave-like population irruptions           Act recognizes the potential limitations     critical habitat is on boreal forest
described above, with long periods of         of the best available information at any     landscapes of sufficient size to
apparently complete absence between           point in time. For lynx, we have             encompass the temporal and spatial
irruptions (McKelvey et al. 2000a,            determined that not all areas where lynx     changes in habitat and snowshoe hare
entire). This finding suggests that lynx      occasionally occur are necessary for         populations to support interbreeding
dispersing from areas where hare              recovery. We believe that lynx recovery      lynx populations over time. These
numbers were declining arrived at many        in the contiguous United States can be       factors are included in the PCE for lynx.
such places looking for but not finding       accomplished by conserving high-             As defined in the recovery outline, areas
the physical and biological features they     quality habitat occupied by naturally        that meet these criteria and have recent
needed to survive over the long term          resident lynx populations across the         evidence of reproduction are considered
(Mowat et al. 2000, p. 293).                  range of the DPS, and addressing the         “core areas” for lynx (U.S. Fish and
Additionally, lynx were listed under the      threats to lynx in those areas.              Wildlife Service 2005, pp. 3-4).
Act because regulatory mechanisms at            In summary, lynx have a                    However, we do not consider
the time were deemed inadequate to            demonstrated ability to disperse large       reproduction as a proxy for the PCE in
conserve lynx habitats in the places they     distances in search of favorable habitats.   this final rule.
did occur, not because of any                 Further, natural selection theory implies       In determining the geographic area
documented population decline, range          the ability of lynx to locate and occupy     occupied by the species at the time of
contraction, or large-scale habitat loss in   areas conducive to their survival and        listing, we used data providing verified


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evidence of lynx occurrence. We               confirmation of lynx tracks by trained,       Wyoming (which both lack persistent
eliminated areas from consideration in        highly qualified biologists, and the          verified records of lynx occurrence over
two ways: (1] areas outside the known         absence of species in the area with           time) as a “provisional” core area
historical range and (2) data older than      tracks that could be easily misidentified     because it contained an introduced lynx
1995 were not considered valid to our         as lynx (Maine Dept, of Inland Fisheries      population that had demonstrated
assessment of areas occupied by lynx          and Wildlife 2003, entire).                   reproduction (U.S. Fish and Wildlife
populations at the time of listing. We           To define critical habitat according to    Service 2005, p. 4). “Provisional”
used data on the known historical range       section 3(5)(A) of the Act, we then           means; “accepted or adopted
of the lynx (e.g., McKelvey et al. 2000a,     delineated, within the geographical area      tentatively; conditional; or temporary.”
pp. 207-232; Hoving etal. 2003, entire)       occupied by the species at the time of        In our 2009 critical habitat designation,
to eliminate areas outside the historical     listing, areas containing physical and        after careful evaluation of the historic
range of the species.                         biological features essential to the          record of verified lynx occurrence in
   We then focused on records since           conservation of the lynx. The adequacy        Colorado and the Southern Rockies, we
1995 to ensure that this critical habitat     of the quantities and spatial                 determined that there was no
designation is based on the data that         arrangements of the physical and              compelling evidence that the area had
most closely represent the current status     biological features (as defined above)        ever supported lynx populations over
of lynx in the contiguous United States       essential to the conservation of the DPS      time and that, therefore, it did not likely
and the geographical area known to be         is informed by the recovery outline for       contain the PCE and did not meet our
occupied by the species at the time of        the species (as discussed below), the         criteria for designating critical habitat
listing. Although the average lifespan of     nature of the threats in a particular         (74 FR8641).
a wild lynx is not known, we assumed          geographic area, and the conservation            For reasons that are described in more
that a lynx born in 1995 could have           needs for the species in a particular         detail below (also see our responses to
been alive in 2000 or 2003, when the          geographic area.                              comments (10), (11), and (23), above),
final listing rule and the clarification of      In the North Cascades and Northern         the available data do not support that
findings were published. Data after 1995      Rockies, the features essential to the        Colorado and the Southern Rockies
were considered a valid indicator of          conservation of lynx, the majority of         contain the physical and biological
occupancy at the time of listing. Recent      lynx records, and the boreal forest types     features essential to lynx in adequate
verified lynx occurrence records were         are typically, though not always, found       quantity and spatial arrangement to
provided by Federal research entities.        above 4,000 ft (1,219 m) in elevation         support lynx populations over time, and
State wildlife agencies, academic             (McKelvey et al. 2000b, pp. 243-245;          we provide what evidence is available
researchers, Tribes, and private              McAllister et al. 2000, entire). Thus, we     to determine whether the area, or any
individuals or organizations.                 limited the delineation of critical habitat   parts of it, contain the PCE.
   We used only verified lynx records,        to lands above this elevation unless we          In 1999, just prior to lynx being listed
because we wanted to rely on the best         had habitat data indicating that high-        under the Act, the Colorado Division of
available data to evaluate specific areas     quality habitat exists below this             Wildlife (now Colorado Parks and
and their features for critical habitat       elevation. Additionally, in the North         Wildlife (CPW)) began an intensive
designation. The reliability of lynx          Cascades, features essential to the           effort to establish a lynx population in
occurrence reports can be questionable        conservation of the lynx and the              Colorado, eventually releasing 218 wild-
because the bobcat, a common species          majority of the lynx records occur east       caught Alaskan and Canadian lynx from
in much of the range of the lynx DPS,         of the crest of the Cascade Mountains.        1999 to 2006 (Devineau et al. 2010, p.
can easily be confused with the lynx.                                                       524). At least 122 (56 percent) of the
Additionally, many surveys are                Application of the Criteria to the            introduced lynx died by June of 2010
conducted by snow tracking in which           Southern Rocky Mountains and Certain          (Shenk 2010, pp. 1, 5), but others
correct identification of tracks can be       National Forests in Idaho and Montana         survived and established home ranges
difficult because of variable conditions         As described above under Previous          in Colorado, produced kittens in some
affecting the quality of the track and        Federal Actions, the District Court for       years, and now are distributed
variable expertise of the tracker. Our        the District of Montana found several         throughout forested areas of western
definition of a verified lynx record is       flaws with our 2009 critical habitat          Colorado. Some lynx from this
based on McKelvey et al. (2000a, p.           designation for lynx. The following           introduced population have also
209): (1) an animal (live or dead) in         section discusses the issues raised by        traveled into northern New Mexico,
hand or observed closely by a person          the court.                                    eastern Utah, and southern and western
knowledgeable in lynx identification,                                                       Wyoming, though no reproduction
(2) genetic (DNA) confirmation, (3)           Colorado and the Southern Rocky               outside of Colorado has been
snow tracks only when confirmed by            Mountains                                     documented by these dispersers.
genetic analysis (e.g., McKelvey ef al.         The Montana District Court found,              The CPW has determined the lynx
2006, entire), or (4) location data from      among other things, that we failed in         introduction effort to be a success based
radio or GPS-collared lynx.                   our 2009 designation to determine             on attainment of several benchmarks
Documentation of lynx reproduction            whether “areas occupied by lynx in            (e.g., high post-release survival, low
consists of lynx kittens in hand, or          Colorado possess the physical and             adult mortality rates, successful
observed with the mother by someone           biological features essential to the          reproduction, recruitment equal to or
knowledgeable in lynx identification, or      conservation of the species.”                 greater than mortality over time; Ivan
snow tracks demonstrating family                In the recovery outline, we defined         2011a, p. 21 and 2011b, p. 11), but
groups traveling together, as identified      six core areas for lynx as those having       acknowledges that the future
by a person highly knowledgeable in           both persistent verified records of lynx      persistence of the population is
identification of carnivore tracks.           occurrence over time and recent               uncertain and hinges on the assumption
However, we made an exception and             evidence of reproduction (U.S. Fish and       that patterns of annual reproduction and
accepted snow track data from Maine,          Wildlife Service 2005, pp. 3-5, 20-21).       survival observed as of 2010 repeat
New Hampshire, and Vermont because            We also defined the Southern Rocky            themselves during the next 20 or more
of the stringent protocols, the               Mountains of Colorado and southern            years (Shenk 2008, p. 16; Shenk 2010,


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pp. 2, 5-6, 11). However, CPW has             areas used by introduced lynx in west­        Mountains is marginal and unlikely to
discontinued the intensive monitoring         central Colorado, Zahratka and Shenk          support lynx populations over time.
necessary to determine if these patterns      (2008, pp. 906, 910) reported hare               Some of the lynx introduced into
of reproduction and survival will persist     densities that ranged from 0.03 to 0.5        Colorado have dispersed into
over that time (Colorado Parks and            hares per ac (0.08 to 1.32 hares per ha)      mountainous areas of northern New
Wildlife 2012, p. 1), instead embarking       in mature Engelmann spruce-subalpine          Mexico, which contain relatively small
on a passive monitoring program to            fir stands and from 0.02 to 0.14 hares        and fragmented areas of similar high-
detect lynx presence (Ivan 2011c,             per ac (0.06 to 0.34 hares per ha) in
                                                                                            elevation spruce/fir and cold mixed-
entire).                                      mature lodgepole pine stands. The
                                                                                            conifer habitats (U.S. Forest Service
   Although parts of Colorado and the         authors cautioned against comparing
Southern Rocky Mountains clearly                                                            2009, pp. 5-10). No evidence exists that
                                              their results to other hare density
contain some (perhaps all) of the                                                           lynx occupied these or any other areas
                                              estimates, as their use of the “mean
physical and biological features lynx                                                       of New Mexico historically, and habitats
                                              maximum distance moved’’ method
need, available evidence does not                                                           in New Mexico are thought to be
                                              may have underestimated effective area
indicate that the area, or any parts of it,   trapped (Zahratka and Shenk 2008, p.          incapable of supporting a self-sustaining
contain the features in the quantity and      911), potentially resulting in                lynx population (U.S. Forest Service
spatial arrangement necessary to              overestimates of hare density.                2009, pp. 2, 10, 16-17). In addition, the
provide for the conservation of the              In “purportedly good” hare habitat         lack of connectivity with northern lynx
species. That is, the PCE is the elements     also in west-central Colorado in the area     populations (McKelvey ef al. 2000a, p.
of the PBFs in adequate quantity and          used by introduced lynx, Ivan (2011b,         230; Devineau ef al. 2010, p. 525;
spatial arrangement on a landscape            pp. iv-v, 71, 92) estimated summer hare       Interagency Lynx Biology Team 2013,
scale. Some areas may contain some            densities of 0.08 to 0.27 hares per ac (0.2   pp. 50, 54), which is considered
amounts of all the PBFs, but with one         to 0.66 hares per ha) in stands of            necessary for the maintenance and
or more in inadequate quantity and/or         “small” lodgepole pine, 0.004 to 0.01         conservation of lynx populations in the
spatial arrangement and, therefore, does      hares per ac (0.01 to 0.03 hares per ha)      contiguous United States (Interagency
not contain the PCE. The Southern             in “medium” lodgepole pine, and 0.004         Lynx Biology Team 2013, pp. 42, 47, 54,
Rocky Mountains (western Colorado,            to 0.1 hares per ac (0.01 to 0.26 hares       60, 65), further suggests that lynx in the
northern New Mexico, and southern             per ha) in spruce-fir stands. The author      Southern Rockies, in the absence of
Wyoming) are on the southern limit of         reported that hare densities were less        continued translocations or
the species’ range and contain marginal       than 0.4 hares per ac (<1.0 hare per ha)      introductions of lynx, are unlikely to
lynx habitat (74 FR 8619), are disjunct       in all stand types and all seasons and,       receive the demographic and genetic
from lynx habitats in the United States       in most cases, were less than 0.12 hares      exchange needed to maintain lynx
and Canada (McKelvey et al. 2000a, p.         per ac (0.3 hares per ha), and no             populations over time.
230; 68 FR 40090; Devineau et al. 2010,       combination of survival and recruitment          For these reasons, the Service has
p. 525; Interagency Lynx Biology Team         estimates from any stand type in any          determined that the Southern Rocky
2013, pp. 50, 54), and have patchily          year would result in a self-sustaining        Mountains likely do not possess the
distributed habitat that limits snowshoe      hare population, though hare                  physical and biological features
hare abundance (Interagency Lynx              recruitment may have been                     essential to lynx in sufficient quantity
Biology team 2013, p. 54). Snowshoe           underestimated (Ivan 2011b, pp. 95, 99).      and spatial arrangement to sustain lynx
hares and their preferred habitats are           Ruggiero ef al. (2000, pp. 446-447)        populations over time. Therefore, we
described above as part of the PCE. The       concluded that a snowshoe hare density        find that the habitat in Colorado and
nearest lynx population occurs in the         greater than 0.2 hares per ac (0.5 hares      elsewhere in the Southern Rocky
Greater Yellowstone Area, which               per ha) may be necessary for lynx             Mountains does not contain the PCE, is
supports a small, low-density                 persistence. Steury and Murray (2004,
                                                                                            not essential for the conservation of the
population also disjunct from other lynx      pp. 127, 137) modeled lynx and hare           lynx DPS, and we are not designating
populations and which is unlikely to          populations and determined that a hare
                                                                                            critical habitat for the lynx DPS in the
regularly supply dispersing lynx to the       density of 0.4-0.7 hares per ac (1.1-1.8
                                                                                            Southern Rockies.
Southern Rockies. We previously               hares per ha) would be needed for
determined that the Southern Rockies’         persistence of lynx translocated (i.e.,          We acknowledge the efforts by the
distance and isolation from other lynx        introduced or reintroduced) to the            CPW and recognize that wildlife
populations and habitats substantially        southern portion of the species’ range.       introductions are, by their nature,
reduce the potential for lynx from            Most hare density estimates for               experiments whose fates are uncertain.
northern populations to naturally             Colorado are well below those thought         However, it is always our goal for such
augment or colonize the area, that the        necessary to support an introduced lynx       efforts to be successful and, where
immigration necessary to maintain a           population over time (Steury and              possible, contribute to recovery of listed
local lynx population is, therefore,          Murray 2004, entire), and many, even          species. If Colorado’s introduction effort
naturally precluded, and that the             from areas considered “good” hare             is successful (i.e., if recruitment equals
contribution of the Southern Rockies to       habitat, are lower than the density           or exceeds combined mortality and
the persistence of lynx in the contiguous     Ruggiero et al. (2000, pp. 446-447)           emigration over the next 20 years
United States is presumably minimal           considered necessary for lynx                 (Shenk 2010, pp. 2, 5-6, 11)), it could
(68 FR 40100-40101).                          persistence. The generally low hare           contribute to recovery by providing an
   Dolbeer and Clark (1975, p. 539)           densities reported in most cases in what      additional buffer against threats to the
estimated 0.30 hares per ac (0.73 hares       is considered good hare habitat in            DPS. The potential contribution of
per ha) on their study area in Summit         western Colorado and the very large           Colorado to lynx recovery does not
County in central Colorado. Reed et al.       home ranges (181 ini'’ (470 km'’) for         mean, however, that the habitat there is
(1999, unpublished, as cited by Hodges        females and 106 mi- (273 km-) for             essential for the conservation of the
(2000, p. 185)) reported hare densities in    males) reported by Shenk (2008, pp. 1,        DPS. In other words, the lynx
Colorado ranging from 0.02 to 0.19 hares      10) suggest that even the best potential      population in Colorado is beneficial, but
per ac (0.05 to 0.46 hares per ha). In        lynx habitat in the Southern Rocky            not essential, for recovery.


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National Forests in Idaho and Montana        lynx populations. To date, surveys on        habitat quality and hare densities
   The Montana District Court ordered        these National Forests, which have been      appear, based on the best available
the Service to determine specifically        conducted according to established           information, to be inadequate to support
whether lands in the Clearwater and          protocols, have failed to detect presence    lynx. We find no scientific evidence that
Nez Perce National Forests in Idaho, the     of any individual lynx, and they provide     this area contains the physical and
Bitterroot National Forest in Idaho and      no indication of the presence of lynx        biological features essential to lynx in
Montana, the Beaverhead-Deerlodge            populations. Surveys described below         adequate quantity and spatial
National Forest in Montana, and              were conducted according to National         arrangement. Therefore, it does not
additional parts of the Helena and Lolo      Lynx Survey (McKelvey et al. 1999b,          contain the PCE and is not essential for
National Forests (outside the areas          entire), and winter snow-tracking survey     the conservation of the lynx DPS.
                                             (Squires et al. 2004b, entire) protocols.       On the Bitterroot National Forest,
currently designated] in Montana
                                             Snow-tracking surveys in particular,         National Lynx Survey efforts in 2000­
contain the physical and biological
                                             when conducted strictly according to         2002 and 2010-2011 detected no lynx
features essential for the conservation of
                                             appropriate protocols by experienced         (U.S. Forest Service 2000, entire, 2002c,
the DPS. Although each of these areas
                                             surveyors, which often results in            entire, 2003a, entire, 2003b, entire;
clearly contain some (and perhaps all)
                                             collection of DNA and genetic                Pilgrim 2010, entire; Shortsleeve 2013,
of the physical and biological features                                                   pers. comm.). Snow-tracking surveys
                                             verification of species identity, are
lynx need, for the reasons discussed                                                      designed to detect presence of multiple
                                             highly effective at detecting lynx, even
below, we find no evidence that any of                                                    forest carnivores, including lynx,
                                             when only a few animals inhabit the
the areas contain the elements in                                                         conducted by the Idaho Department of
                                             survey area (Ulizio et al. 2007, p. 5;
adequate quantity and spatial                                                             Fish and Game from 2004 to 2006
                                             Squires et al. 2012, pp. 215, 219-222).
arrangement to provide for the                  On the Beaverhead-Deerlodge               detected no lynx in the Bitterroot
conservation of lynx. We provide             National Forest, National Lynx Survey        Mountains Section (Patton 2006, pp.
evidence, where available, that these        efforts in 1999-2001 detected no lynx        20-21, Table 11). Additionally, among
areas were likely not occupied by lynx       (U.S. Forest Service 2002a, entire and       223 vegetation plots sampled in 2010­
at the time of listing and are not           2002b, entire). During 2001-2005, in         2012 on the Forest, only 30 (16.1%) met
currently occupied by lynx populations,      surveys designed to detect presence of       minimum horizontal cover standards for
and we summarize relevant survey             lynx and wolverines, 11,220 mi (17,950       snowshoe hare/lynx habitat (U.S. Forest
results, all of which indicate that lynx     km) of winter snow-tracking surveys          Service 2012, unpublished data). Based
do not occupy these areas or that the        and trap route checks in the Anaconda-       on the information above, we conclude
areas are lacking in either quantity or      Pintler, Beaverhead, Flint Creek and         that lynx do not occupy the Bitterroot
spatial arrangement (or both) of one or      Pioneer mountain ranges on the               National Forest, and that the habitat
more of the essential features. We have      Beaverhead-Deerlodge National Forest         quality and hare densities appear, based
determined that these areas do not           detected only a single “putative” lynx       on the best available information, to be
contain the PCE, are not essential to the    track, and no verified tracks (Squires et    inadequate to support lynx. We find no
conservation of the lynx, and do not         al. 2003, p. 4; Squires et al. 2006b, p.     scientific evidence that this area
meet the definition of critical habitat.     15). Additional recent snow tracking         contains the physical and biological
Therefore, based on the information          surveys (Berg 2009, entire) also failed to   features essential to lynx in adequate
summarized below, we have not                detect any lynx, and the author              quantity and spatial arrangement.
included these National Forest lands in      concluded that, although some pockets        Therefore, it does not contain the PCE
this final critical habitat designation.     of habitat appeared to support high          and is not essential for the conservation
   In the recovery outline, the Service      densities of snowshoe hares, “[m]ost of      of the lynx DPS.
classified these areas (outside the          the [Beaverhead-Deerlodge National              On the Nez Perce National Forest,
portions of the Helena and Lolo              Forest] was and appeared to be dry           winter snow-tracking surveys covering
National Forests designated as critical      lodgepole pine, which likely is not good     448 mi (721 km) in 2007 did not detect
habitat) as “secondary areas” because        lynx habitat. . .” (Berg 2009, p. 20).       any lynx (Ulizio et al. 2007, entire). The
they lack evidence of lynx reproduction         During May and June of 2009, hair         authors concluded that (1) these surveys
(U.S. Fish and Wildlife Service 2005,        snares (642 snare-nights) and remote         very likely would have detected the
pp. 4, 21). As described in detail below,    cameras (319 camera-nights) deployed         presence of a lynx population if one
recent surveys for lynx conducted in         in the Boulder, Flint Creek, and Pioneer     occurred on the Forest, (2) that the
accordance with established and              mountain ranges also failed to detect        failure to detect lynx suggests that a
accepted protocols in many of these          any lynx (Porco 2009, entire).               lynx population does not inhabit the
areas have failed to detect lynx             Additional hair snare surveys in             surveyed portion of the Forest, and (3)
presence, and the available evidence         summer 2012 similarly failed to detect       “[h]istorical sightings . . . may be the
suggests these areas occasionally may        lynx (Pilgrim and Schwartz 2013, entire;     result of transient lynx moving through
provide temporary habitat for transient      U.S. Forest Service 2013c, entire).          the forest, but the infrequency of such
lynx dispersing from established lynx        Snow-tracking surveys designed to            reports suggests lynx are incidental to
populations in the Northern Rocky            detect presence of multiple forest           the area” (Ulizio ef al. 2007, p. 5).
Mountains of Canada, Idaho, and              carnivores, including lynx, conducted        Neither a partial hare-snare survey
Montana, but that they likely do not         by the Idaho Department of Fish and          conducted in 2008 (though at fewer
contain all essential physical and           Game from 2004 to 2006 detected no           stations than recommended by the
biological features in adequate quantity     lynx in the Beaverhead Mountains             protocol) nor a partial snow-tracking
or spatial arrangement to support lynx       Section, just west of the Beaverhead­        survey conducted in 2009 (also less
populations over time.                       Deerlodge National Forest (Patton 2006,      extensive than protocol) detected
   There is no evidence that the             pp. 20-21, Table 11). We conclude that       presence of lynx on the Forest. Snow­
Beaverhead-Deerlodge, Bitterroot, and        the rigorous efforts described above         tracking surveys conducted according to
Nez Perce National Forests were              collectively provide strong indication       established protocols and covering 553
occupied by lynx at the time of listing,     that lynx do not occupy the Beaverhead­      mi (890 km) of forest roads were
or that they are currently occupied by       Deerlodge National Forest, and that the      completed in 2013; these surveys also


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failed to detect presence of any lynx on      physical and biological features             Forests are considered secondary areas
the Nez Perce National Forest (U.S.           necessary to support a lynx population       in the recovery outline (U.S. Fish and
Forest Service 2013d, pp. 3-7). Snow­         over time. For section 7 purposes,           Wildlife Service 2005, pp. 6, 21)
tracking surveys designed to detect           occupancy is determined on a Forest­         because they lack records of consistent
presence of multiple forest carnivores,       wide basis, so that two observations         lynx presence. The parts of these two
including lynx, conducted by the Idaho        anywhere on a Forest confer permanent        forests that we have not designated
Department of Fish and Game from 2004         “occupied” status to the entire Forest,      continue to lack evidence of lynx
to 2006 detected no lynx in the               even in places where lynx have not been      occupancy, and surveys (described
Clearwater Region, including parts of         documented and where no lynx                 below) have failed to detect the
the Nez Perce National Forest (Patton         populations occur.                           presence of lynx populations.
2006, p. 9, Table 2). Based on the               The Clearwater National Forest is in         On the Helena National Forest, the
information above, we conclude that           an area classified in the recovery outline   Big Belt (in 2002, 2003, and 2004) and
lynx do not occupy the Nez Perce              as a secondary area for lynx recovery        Elkhorn (in 2003) mountain ranges were
National Forest, and that the habitat         (U.S. Fish and Wildlife Service 2005, p.     surveyed according to the National Lynx
quality and hare densities appear, based      21) because there is no record of            Survey protocol (McKelvey ef al. 1999b,
on the best available information, to be      consistent lynx presence on the Forest.      entire); no lynx were detected in any of
inadequate to support lynx. We find no        Snow-tracking surveys designed to            these surveys (Pengeroth 2013, pers.
scientific evidence that this area            detect presence of multiple forest           comm.). On the Lolo National Forest, no
contains the physical and biological          carnivores, including lynx, conducted        lynx were detected during 941 mi (1,514
features essential to lynx in adequate        by the Idaho Department of Fish and          km) of snow-tracking surveys targeting
quantity and spatial arrangement.             Game from 2004 to 2006 detected no           lynx in the vicinity of Lolo Pass in
Therefore, it does not contain the PCE        lynx in the Clearwater Region, including     January-March 2001 (Squires etal.
and is not essential for the conservation     parts of the Clearwater National Forest      2004c, p. 3). More recently, over 2,600
of the lynx DPS.                              (Patton 2006, p. 9, Table 2). Wirsing ef     mi (4,184 km) of forest carnivore snow­
   The paucity of verified historical         al. (2002, entire) studied snowshoe hare     tracking surveys were conducted
records of lynx occurrence in these           demographics on study areas within the       according to accepted protocols (Squires
three National Forests, and the absence       Clearwater National Forest. They             ef al. 2004b, entire) by highly trained
of recent verified records, despite           concluded that hare habitat was              technicians from 2010 to 2013 across
numerous surveys designed to detect           fragmented; good hare habitat was rare       much of the Lolo National Forest and on
lynx presence and described in the            and occurred as small isolated patches;      some adjacent lands. These surveys
preceding paragraphs, suggest these           and hares occurred at extremely low          resulted in 199 lynx detections over 4
areas may rarely and temporarily              densities (0.04 hares per ac (0.09 per       years, only 1 of which occurred outside
support transient dispersing lynx             ha)), well below the range of densities      the portion of the forest designated as
(McKelvey etal. 2000a, pp. 224-227;           typical of other southern hare               critical habitat in this rule (U.S. Forest
Ulizio et al. 2007, p. 5). Based on these     populations, had low survival rates, and     Service 2013e, pp. 2-3). The single
surveys, historical records of lynx           had poor juvenile recruitment (Wirsing       detection outside the critical habitat
occurrence, the vegetation sampling           ef al. 2002, pp. 169-175). The authors       boundary was in an area surrounded by
data described above (U.S. Forest             identified hare predators including          critical habitat but at a slightly lower
Service 2012, unpublished data), and          coyotes, raptors, mustelids, and bobcats     elevation (U.S. Forest Service 2013e, pp.
expert opinion on habitat quality             (Wirsing ef al. 2002, p. 172), but           2,4). Based on the information
described above (Ulizio et al. 2007, p.       identified no predation attributable to      summarized above, we conclude that
5), the Service has determined that           lynx. Based on the best available            lynx do not occupy the Helena and Lolo
habitats on these three National Forests      information, summarized above, the           National Forests outside the areas we
are not occupied by lynx populations          habitat quality and hare densities in this   have designated, and that the habitat
and do not contain the essential              area appear to be inadequate to support      quality in these areas appears, based on
physical and biological features in           lynx. We find no scientific evidence that    the best available information, to be
appropriate quantity and spatial              this area contains the physical and          inadequate to support lynx. We find no
arrangement to support lynx over time.        biological features essential to lynx in     scientific evidence that these areas
We have determined that these areas do        adequate quantity and spatial                contain the physical and biological
not contain the PCE, do not meet the          arrangement. We determine that habitats      features essential to lynx in adequate
definition of critical habitat, and are not   on the Clearwater National Forest do not     quantity and spatial arrangement.
essential to the conservation of the lynx     contain the PCE, are not essential for the   Therefore, it does not contain the PCE
DPS. Therefore, we have not included          conservation of the lynx DPS, and do         and is not essential for the conservation
the Bitterroot, Beaverhead-Deerlodge,         not meet the definition of critical          of the lynx DPS. As a result, we have
and Nez Perce National Forests within         habitat. As a result we have not             determined that these areas do not meet
this final critical habitat designation.      designated critical habitat on this          the definition of critical habitat, and we
   We recognize that all of the               national forest.                             have not included these areas in this
Clearwater and Lolo National Forests,            Portions of the Helena and Lolo           final critical habitat designation.
and parts of the Helena National Forest       National Forests are classified as “core        Based on historical records and
(except for the disjunct Big Belt and         areas” for lynx recovery because they        available survey data summarized above
Elkhorn mountain ranges) are                  have evidence of consistent lynx             (McKelvey ef al. 2000a, pp. 224-227;
considered “occupied” by lynx for             occupancy and recent records of              U.S. Forest Service 2000, entire; U.S.
purposes of consultations under section       reproduction (U.S. Fish and Wildlife         Forest Service 2002a, 2002b, and 2002c,
7 of the Act. Occupancy in the context        Service 2005, pp. 4, 21); these areas are    entire; Wirsing ef al. 2002, entire;
of section 7 consultation is intended to      designated as critical habitat. Because of   Squires ef al. 2003, p. 4; U.S. Forest
inform the “may be present” standard          this lynx occupancy, both Forests are        Service 2003a and 2003b, entire; Patton
under section 7 and does not imply the        designated as “occupied” in their            2006, entire; Squires ef al. 2006b, p. 15;
presence of lynx populations or that the      entirety for section 7 purposes, even        Ulizio ef al. 2007, entire; Berg 2009,
habitats in these areas contain the           though the remainders of these two           entire; Porco 2009, entire; Pilgrim 2010,


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entire; U.S. Forest Service 2012,             did not belong to a resident population      portion). Additional records (2006­
unpublished data; Pengeroth 2013, pers.       because hare densities where this lynx       2013, n=6] occur as far south as
comm.; Pilgrim and Schwartz 2013,             died are low and habitat conditions are      Jefferson, NH, at the southern border of
entire; Shortsleeve 2013, pers. comm.;        considered unsuitable for home range         the Kilkenny Unit of the White
U.S. Forest Service 2013c, 2013d, 2013e,      establishment (Tur 2013, pers. comm.).       Mountain National Forest. Lynx tracks
entire], the Service has determined that         The historic record for Vermont is        have also been detected on the
habitats on the Beaverhead-Deerlodge,         scant, with only five records of lynx        Pondicherry NWR, located in
Bitterroot, Clearwater, and Nez Perce         occurring from the period 1797 to 1968       Whitefield, NH. Since 2006, New
National Forests, and on the Helena and       and no evidence that a population of         Hampshire has 18 confirmed records,
Lolo National Forests outside those           lynx ever occurred there (Kart et al.        totaling 28 individual animals.
areas designated as critical habitat, are     2005, pp. 101-104). Prior to the listing        Habitat patches that support lynx in
not occupied by lynx populations and          of the DPS in 2000, the last lynx            New Hampshire are much smaller than
were likely not occupied at the time of       documented in Vermont was trapped at         those in northern Maine (Litvaitis and
listing. These areas may occasionally         St. Albans in 1968 (Kart ef al. 2005, p.     Tash 2005, Fig. 2 and p. A-298;
host transient dispersing lynx, but the       A4-101). Based on the best available         Robinson 2006, Fig. 3.3, p. 99). Hoving
best available information indicates that     data, summarized above, we conclude          estimated roughly 386 mi^ (1,000 km-)
they do not contain the physical and          that New Hampshire and Vermont were          of lynx habitat in New Hampshire (68
biological features essential to lynx in      not occupied by lynx at the time of          FR 40086-40087). Litvaitis and Tash
adequate quantity and/or spatial              listing.                                     (2005, p. A-298], analyzing potential
arrangement to demonstrate that they             Although results of surveys to assess     lynx habitat in New Hampshire based
contain the PCE, and, as a result, do not     the current distribution and status of       on the Hoving lynx model, reported an
meet the definition of critical habitat.      lynx in New Hampshire and Vermont            area of 2,000 mi^ (5,180 km^] with a
We have determined these areas are not        are not yet complete, surveys to date in     greater than 50 percent probability of
essential to the conservation of the lynx     New Hampshire suggest that a small           lynx occurrence. Within this area,
DPS, and we have not included these           number of lynx are sparsely distributed      “enriched hare habitats” (including
areas in this final designation of critical   through the northern half of the State,      high-elevation spruce-fir, clearcuts, and
habitat for the lynx DPS.                     mostly likely as scattered transient         shrub-dominated wetlands] consisted of
                                              animals, and breeding has only recently      342 mi- (886 km-], 17 percent of the
Recent Lynx Occurrence in Northern            been documented by a few lynx in very        total predicted lynx habitat area. The
New Hampshire, Northern Vermont,              small areas in the northeastern part of      authors concluded that “the modest
and Eastern and Western Maine                 the State. Likewise, in Vermont, several     abundance of high-density hare habitat
Northern New Hampshire and Northern           lynx have been documented as breeding        supports the notion that New
Vermont                                       within a very small area in the northeast    Hampshire does not contain sufficient
                                              corner of the State. Lynx occurrence in      habitat to support a viable, stand-alone
  The historic status of lynx in New          northern New Hampshire and Vermont           population of lynx. Long-term
Hampshire and Vermont is poorly               was documented beginning in 2006, and        persistence of lynx in New Hampshire
understood. Lynx occurred historically        breeding was first documented in 2009.       is probably dependent on immigrants,
in central and northern New Hampshire,        To date, evidence of lynx reproduction       and the State likely represents the
but there is no evidence that a resident      in northern New Hampshire was                southern limit of lynx in eastern North
breeding population existed there             documented in 2010 and 2011, all in the      America” (Litvaitis and Tash 2005, p.
historically or recently (McKelvey et al.     area encompassing the town of Pittsburg      A-298). Similarly, Brocke etal. (1993,
2000a, pp. 212-214]. In 2003, the             (Staats 2013a, pers. comm.]. In Vermont,     pp. 1-14] suggested that the persistence
Service determined that, despite a lack       breeding was documented in 2009,             of New Hampshire’s lynx population
of breeding records, a small resident         2011, and 2012, all at the Nulhegan          was dependent on receiving dispersing
lynx population likely occurred               National Wildlife Refuge (NWR) (Cliche       animals. Therefore, persistence of lynx
historically in New Hampshire but no          2013, pers. comm.).                          in New Hampshire relies on continuity
longer existed at the time of listing (68        Historic records suggest that high-       of habitat through western Maine to the
FR 40087]. A bounty program for lynx          elevation habitats in New Hampshire’s        core area of lynx habitat in northern
that persisted in New Hampshire until         White Mountains contained lynx (Silver       Maine.
1965, along with a lack of dispersing         1957, pp. 302-311; McKelvey ef al.              Recent modeling to determine lynx
lynx from Quebec, and habitat loss            2000a, p. 212); however, surveys             habitat connectivity in the Northeast
associated with forest management             conducted during the early 1990s in the      suggests that the Nulhegan River Basin
practices may have contributed to the         White Mountain National Forest did not       contains Vermont’s best lynx habitat
extirpation of lynx from New                  detect the species (Litvaitis ef al. 1991,   (Farrell 2013, pers. comm.]. The 205-mi2
Hampshire (Litvaitis etal. 1991, pp. 70,      p. 15; Brocke ef al. 1993, p. 14). No lynx   (530-km2] basin includes 41 mi^ (106
73-74].                                       have been detected by White Mountain         km^) managed by the Service, 34 mi- (89
  Brocke ef al. (1993, p. 14] similarly       National Forest staff during winter track    km^) managed by the Vermont
speculated that trapping mortality and        surveys conducted since 2003 (Prout          Department of Natural Resources, and
the concurrent reduction in habitat           2013, pers. comm.). However, in March        131 mi- (340 km-] of private commercial
resulting from large-scale timber harvest     2013, New Hampshire Fish and Game            timber lands (with easement). Bobcats
led to the extirpation of lynx from New       Department staff confirmed the presence      occur in the area at moderate densities
Hampshire. Surveys conducted in 1986          of lynx tracks in high-elevation habitat     (Hoving 2001, Fig. 2.5 p. 55). Snow
in high-elevation habitats in the White       located in the area near Franconia           track surveys conducted by State and
Mountain region of New Hampshire              Notch. In addition, snow track surveys       Service personnel during the winters of
detected no lynx (Litvaitis et al. 1991,      conducted by the New Hampshire Fish          2011 and 2012 (Nulhegan NWR only)
pp. 70, 73]. In 1992, an adult lynx killed    and Game Department in 2012 and 2013         and 2012 and 2013 (Nulhegan NWR and
by a vehicle collision in southern New        detected lynx near Cambridge and             Victory Bog State Wildlife Management
Hampshire (McKelvey ef al. 2000a, p.          Success, south of the Lake Umbagog           Area) indicate a small resident lynx
213] was classified as a “transient” that     NWR (which has lynx in its Maine             population has become established on


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the NWR. In areas outside of Nulhegan        than in designated critical habitat in        support lynx populations over time is
NWR, the presence of sporadic records        northern Maine. Although potential            lacking. The best available data indicate
indicates lynx have not established          lynx habitat in New Hampshire and             that New Hampshire and Vermont were
home ranges and are considered               Vermont is fragmented, a recently             not occupied by lynx at the time of
transient or absent.                         completed habitat connectivity model          listing. If resident lynx occurred in these
   Portions of northern New Hampshire        demonstrated 100 percent connectivity         areas, they may have been extirpated
and northeastern Vermont contain             for lynx movement/dispersal between           when habitat was modified through
boreal forest landscapes with a mosaic       these areas and the core area of northern     forestry practices, a bounty program was
of habitats of various ages. Although        Maine (Farrell 2013, pers. comm.].            in place that increased mortality, and
stand-level hare densities in spruce-fir     Breeding lynx in New Hampshire and            the ability of animals to recolonize the
forest in these areas should be similar to   Vermont are not directly connected to         area was compromised by regional-scale
densities documented in northern             Canadian populations, but they are            influences that suppressed lynx
Maine (Litvaitis and Tash 2005, p. A-        connected to the large population in          numbers in adjacent populations.
297], landscape-level hare densities are     northern Maine via western Maine.                Recently, habitats in these areas have
likely lower because spruce-fir habitat is      Due to the uncertainty regarding the       regenerated and source populations of
a lower percentage of the landscape and      long-term persistence of the lynx that        lynx in northern Maine have increased,
more fragmented than in core lynx            now occur in these areas, the relative        likely resulting in dispersal of lynx to
habitat in northern Maine (Hoving 2001,      importance of these areas for                 New Hampshire and Vermont, where
Fig. 2.6, p. 56], The snow regime in         conservation of the DPS is unclear.           small numbers of breeding lynx have
northern New Hampshire and northern          These are peripheral boreal forest areas      been documented in small areas of
Vermont also appears adequate for lynx,      with higher northern hardwood                 northern New Hampshire and northern
especially in higher elevation areas,        composition and patchier habitat              Vermont only over the past few years
which experience deep, fluffy snow           (Hoving 2001, Fig. 2.6, p. 56], and they      (since 2009-2010). Their recent arrival
conditions that provide a competitive        represent the southern extent of the lynx     and the complex ecological interactions
advantage for lynx, whereas shallower        range (Litvaitis and Tash 2005, p. A-         functioning at landscape scales make it
snow in lower elevations may provide         298], Northern Vermont and New                difficult to assess the long-term status of
competitive advantage to bobcats             Hampshire do not appear to contain            lynx in these areas, as well as their
(Hoving 2001, Fig. 2.2 p. 51]. Litvaitis     adequate lynx habitat to support lynx         potential contribution to the
and Tash (2005, p. A-263) modeled            populations; nor do lynx in these areas       conservation of the DPS. In addition,
bobcat habitat in New Hampshire and          appear to be considered potential source      potential lynx habitat in these areas is
concluded that most low-elevation areas      populations (Litvaitis and Tash 2005, p.      fragmented, landscape-level hare
that were predicted to have a higher         A-298]. Although Brocke et al. (1993,         densities are low, and bobcat densities
probability of lynx occurrence were also     pp. 1-14) predicted that, in the absence      are relatively high. Consequently, these
predicted to have moderate-to-high           of trapping. New Hampshire’s lynx             areas are unlikely to support robust lynx
bobcat populations. Conversely, most         population would be expected to               populations capable of generating
high-elevation areas that were predicted     increase at the very modest rate of 1.65      dispersing animals that could occupy
to have a high probability of lynx           percent per year, this estimate did not       other portions of the species’ range. The
occurrence were expected to be avoided       account for other sources of lynx             persistence of lynx in New Hampshire
by bobcats (at least in the winter]. The     mortality (i.e., interspecific interactions   is likely reliant upon frequent dispersers
elevation at which snow benefits lynx        with bobcat or vehicle mortality).            from other populations. Because
versus bobcats in the Northeast is              As in Colorado, northern New               habitats in Vermont are even more
unknown and likely variable.                 Hampshire and northern Vermont                localized and fragmented, the same
   While historic records indicate that      clearly contain habitats that include         situation most likely exists there.
lynx use high-elevation areas in the         some or all of the physical and               Within these areas, the status of lynx
Northeast, it is unknown if high             biological features lynx require (some of     and their habitats may deteriorate
elevations support high-quality foraging     the components of the PCE). However,          further as a result of climate change.
habitat in areas sufficiently large to       it remains uncertain whether they                Considering all of the factors above,
support breeding individuals. The            consistently contain the features (e.g.,      we believe that northern New
White Mountain National Forest has the       snow conditions that allow lynx to            Hampshire and northern Vermont do
most extensive high-elevation habitat in     outcompete bobcats, or landscape-level        not contain the physical and biological
the Northeast, but only one recent           hare densities] in adequate quantity and      features essential to lynx in adequate
record of lynx occurrence (Staats 2013b,     spatial arrangement to support lynx over      quantity and spatial arrangement to
pers. comm.].                                time. Moreover, because neither area          support lynx over time. As a result, we
   Litvaitis and Tash (2005, p. A-298]       was occupied by lynx at the time they         have determined these areas do not
estimated that New Hampshire contains        were listed, to designate them as critical    contain the PCE and do not meet the
342 mi- (888 km-] of potential Canada        habitat we would have to determine that       definition of critical habitat. Further,
lynx habitat. There are no comparable        they are essential for the conservation of    because neither area was occupied by
lynx habitat estimates for Vermont.          the DPS (i.e., that the DPS could not be      lynx at the time of listing, to designate
Because these areas occur at the             recovered unless these areas were             these areas as critical habitat we would
southern extreme of the lynx’s current       designated as critical habitat). We do        have to determine they are essential to
distribution, where habitat is               not believe that is the case, and we do       the conservation of the DPS (i.e., that
interspersed with northern hardwood          not expect that the current small             the DPS could not be recovered unless
forests, as well as human-dominated          numbers of breeding lynx in these areas       we designate these areas). We have
land cover types (e.g., developed areas,     will result in the establishment of           determined that the small areas in New
roads, agricultural fields, etc.], habitat   permanent lynx populations.                   Hampshire and Vermont recently
quality (percent of conifer forest,             In summary, although lynx were             occupied by a small number of breeding
landscape-level hare density, intensity      known to occur historically in New            lynx are not essential for the
of forest management] is likely to be        Hampshire and Vermont, reliable               conservation of the lynx DPS, and we
lower in New Hampshire and Vermont           evidence of the ability of these areas to     have not designated any areas in New


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Hampshire or Vermont as critical             adequate quantity and spatial                 trapping in Canada, and climate change.
habitat in this final rule.                  arrangement to support lynx                   A reduced snow model predicted lynx
                                             populations over time) for the following      would disappear in all of Maine and
Eastern and Western Maine
                                             reasons. Like New Hampshire and               persist only in the higher elevation areas
   Historically, lynx are believed to have   Vermont, these areas occur at the             of the Adirondacks and White Mountain
occurred throughout Maine. Hoving et         southern extreme of the species’ current      National Forest. However, Hoving
al. (2003, entire) assembled historical      distribution, where habitat is                (2001, p. 76) used different snowfall
records dating to 1833 to reconstruct the    interspersed with northern hardwood           projections and models that predict lynx
past distribution of lynx in the State.      forests, as well as human-dominated           would continue to occur in northern
Prior to 1913, lynx were found               land cover types (e.g., developed areas,      Maine with reduced snow. Carroll’s
throughout the State, with the exception     roads, agricultural fields, etc.).            (2007) climate change model was based
of coastal areas. From 1913 to 1972,         Therefore, habitat quality (percent of        on predicted annual snowfall for 2055.
records occurred in western and              conifer forest, landscape-level hare          Predictions were derived from the
northern Maine. In 1936 and 1939, game       density, intensity of forest management)      output of the Parallel Climate Model, a
wardens described lynx as rare, but          is likely to be lower in eastern and          general circulation model developed by
present, in most districts except along      western Maine than in northern Maine.         a consortium of researchers in support
the coast (Aldous and Medall 1941, as        Hoving et al. (2004, Fig. 1, p. 290)          of the IPCC (Kiehl and Gent 2004,
cited in Vashon et al. 2012, pp. 28, 33).    predicted a low probability of lynx           entire). The IPCC climate scenario that
From 1973 to 1999, most records              occurrence in western Maine and no            was used is in the intermediate to high
occurred in western and northern             lynx occurrence in eastern Maine.             ranges among the 35 scenarios evaluated
Maine, although lynx also occurred in        Although potential lynx habitat in            by the IPCC. Because these predictions
the central and eastern portions of the      western Maine is fragmented, it is            provided only coarse resolutions (-200
State. Between 1995 and 1999, the            directly connected to the core area in        km). Carroll interpolated the percent
Maine Department of Inland Fisheries         northern Maine (Farrell 2013, pers.           change in annual snowfall predicted
and Wildlife conducted snow track            comm.), which we have designated as           and multiplied by finer-scale data for
surveys for lynx in western and              critical habitat in this rule.                current annual snowfall to produce a
northern Maine (Vashon et al. 2012 pp.          Snowshoe hares were at relatively          “sharpened” estimate of future snowfall
34-35) and documented lynx only in           high densities in northern Maine from         patterns. Carroll’s modelling included a
northern Maine. Surveys conducted            2001 to 2006, but declined by about 50        lake effect and thus differed slightly in
from 2003 to 2008 documented lynx in         percent afterward (Scott 2009, pp. 1-44;      output from that used by Hoving et al.
both western and northern Maine              Vashon etal. 2012, p. 14). Lynx               (2005).
(Vashon etal. 2012, pp. 34-35). Snow         populations were believed to have                Although climate change models are
surveys for lynx have not been               reached the carrying capacity of the          being refined for the Northeast,
conducted in high-elevation habitats in      habitat in about 2006 (Vashon et al.          additional information is needed to
western Maine. Surveys were not              2012, p. 58). At that time, lynx were         understand what areas may support
conducted in eastern Maine because           likely dispersing at greater rates into       lynx in the future under a variety of
there was no evidence that lynx              western, central, and eastern parts of the    climate change projections and to
occurred there.                              State (Vashon et al. 2012, Fig. 4.2, p. 59)   resolve high levels of uncertainty. In
   Hoving et al. (2003, p. 371)              and were likely the source of lynx in         addition to the potentially conflicting
documented 39 historic records               New Hampshire and Vermont.                    climate models that make projecting
spanning 135 years of lynx kittens              The snow regime is adequate for lynx       lynx conservation into the future
representing a minimum of 21 litters.        in western Maine, especially in higher        challenging, the biological response of
Most breeding was documented in              elevations (Hoving 2001, Fig. 2.2 p. 51),     lynx to climate change at the regional
northern Maine. Prior to listing, the last   but snow conditions are likely                and stand scales is complex and poorly
documented breeding in western Maine         unsuitable for lynx in eastern Maine.         understood at this time. Thus, we
was observed in 1995 and in eastern          Stand-level hare densities also should        believe it is premature at this time to
Maine in 1896 (Hoving 2001, p. 173).         be similar to those in northern Maine         draw any conclusions regarding how
Since listing, lynx have been                (Litvaitis and Tash 2005, p. A-297),          much of Maine is likely to remain
documented consistently in western and       although landscape-level hare densities       suitable for lynx in the future as a result
northern Maine and occasionally in           in western Maine are likely lower             of climate change.
central and eastern parts of the State       because spruce-fir habitat is a lower            Western and eastern Maine have the
(Vashon et al. 2012, pp. 12, 59). Lynx       percentage of the landscape and more          highest densities of bobcats in the State
breeding has been documented in              fragmented than in core lynx habitat in       (Hoving 2001, pp. 54-55). Maine is at
western, northern, and eastern Maine         northern Maine (Hoving 2001, Fig. 2.6,        the northern edge of the bobcat range,
(the latter at a single location in 2010)    p. 56; Robinson 2006 pp. 81-146). Hare        and their populations decline during
(Vashon et al. 2012, p. 64). Lynx travel     habitat modeling in western Maine             severe winters (Morris 1986, entire;
widely during dispersal and occasional       indicated patchier and more widely            Parker et al. 1983, entire). In 2008 and
forays outside of their home ranges          distributed hare habitats compared to         2009, Maine experienced two severe
(Vashon et al. 2012, pp. 22, 59; Maine       northern Maine due to differences in the      winters with deep snow that may have
Department of Inland Fisheries and           size and distribution of regenerating         depressed bobcat populations in
Wildlife, unpublished data), which may       clearcuts (Robinson 2006, Fig. 3.3, pp.       western and eastern parts of the State at
explain occasional occurrences outside       99, 181). These areas of western Maine        the same time that larger numbers of
of western and northern Maine.               have a higher prevalence of northern          lynx were dispersing from northern
   Portions of eastern and western Maine     hardwoods, which support much lower           Maine. These conditions may have
contain boreal forest landscapes with a      hare densities.                               allowed lynx to establish home ranges
mosaic of habitats of various ages, but         Carroll (2007, entire) used the Hoving     in areas formerly inhabited by bobcats.
it is uncertain whether these areas          lynx model as a basis to predict lynx         However, whether lynx will persist in
contain the PCE (i.e., the physical and      distribution in the Northeast under           these areas as bobcat populations
biological features essential to lynx in     several scenarios affecting forestry.         recover is uncertain.


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   As in New Hampshire and northern                                        for publication within the Code of           essential to the conservation of the lynx
Vermont, some habitats in eastern and                                      Federal Regulations may not reflect the      DPS in sufficient quantity and spatial
western Maine clearly contain some or                                      exclusion of such developed lands.           arrangement to support life-history
all of the physical and biological                                         Given the scale of the lynx critical         processes essential to the conservation
features lynx require. However, it                                         habitat units, it was not feasible to        of lynx populations within the DPS.
remains uncertain whether they contain                                     completely avoid inclusion of water          Units were selected for designation
the PCE. Because neither area was                                          bodies, including lakes, reservoirs, and     because they contain sufficient elements
occupied by lynx at the time they were                                     rivers; grasslands; or human-made            of the physical and biological features
listed, to designate them as critical                                      structures such as buildings, paved and      essential for supporting lynx life
habitat we would have to determine that                                    gravel roadbeds, parking lots, and other     processes and lynx populations over
they are essential for the conservation of                                 structures that lack the PCE for the lynx.   time. All units contain all of the
the DPS (i.e., that the DPS could not be                                   These areas, including any developed         identified elements of physical or
recovered unless these areas were                                          areas and the land on which such             biological features in adequate quantity
designated as critical habitat). We do                                     structures are located, that exist inside    and spatial arrangements on the
not believe that is the case, and we do                                    critical habitat boundaries are not          landscape and support multiple life
not expect that the area is needed for the                                 intended to be designated as critical        processes that allow lynx populations to
conservation of the species.                                               habitat. Any such lands inadvertently        persist over time.
   In summary, although lynx were                                          left inside critical habitat boundaries
                                                                                                                        Final Critical Habitat Designation
known to occur historically in eastern                                     shown on the maps of this final rule
and western Maine, reliable evidence of                                    have been excluded by text in this rule.       We are designating five units as
the ability of these areas to support lynx                                 Therefore, a Federal action involving        critical habitat for the Canada lynx DPS.
populations over time is lacking. The                                      these lands would not trigger section 7      The critical habitat areas described
best available data, summarized above,                                     consultation with respect to critical        below constitute our best assessment at
suggest that eastern Maine was not                                         habitat and the requirement of no            this time of areas that meet the
occupied by lynx at the time of listing.                                   adverse modification unless the specific     definition of critical habitat. The
Within these areas, the status of lynx                                     action would affect the physical or          designated units are: Unit 1 in northern
and their habitats may deteriorate                                         biological features in the adjacent          Maine (Aroostook, Franklin, Penobscot,
further as a result of climate change.                                     critical habitat.                            Piscataquis, and Somerset Counties);
Considering all of these factors, we                                          The critical habitat designation is       Unit 2 in northeastern Minnesota (Cook,
believe that although eastern and                                          defined by the map or maps, as               Koochiching, Lake, and St. Louis
western Maine contain physical and                                         modified by any accompanying                 Counties); Unit 3 in the Northern Rocky
biological features important to lynx, we                                  regulatory text, presented at the end of     Mountains of northwest Montana
do not find evidence that these areas                                      this document in the rule portion. We        (Flathead, Glacier, Granite, Lake, Lewis
contain the features in adequate                                           include more detailed information on         and Clark, Lincoln, Missoula, Pondera,
quantity and spatial arrangement to                                        the boundaries of the critical habitat       Powell and Teton Counties) and
support lynx populations over time. As                                     designation in the preamble of this          northeast Idaho (Boundary County);
a result, we have determined these areas                                   document. We have made the                   Unit 4 in the North Cascade Mountains
do not contain the PCE and do not meet                                     coordinates or plot points or both on        of north-central Washington (Chelan
the definition of critical habitat. We                                     which each map is based available to         and Okanogan Counties); and Unit 5 in
have determined that these areas are not                                   the public on http://                        the Greater Yellowstone Area of
essential to the conservation of the lynx                                  www.regulations.gov at Docket No.            southwest Montana (Carbon, Gallatin,
DPS, and we have not designated                                            FWS-R6-ES-2013-0101, on our                  Park, Stillwater, and Sweetgrass
critical habitat in eastern and western                                    Internet sites http://www.fws.gov/           Counties) and northwest Wyoming
Maine in this final rule.                                                  montanafieldoffice/, and at the field        (Fremont, Lincoln, Park, Sublette, and
   When determining critical habitat                                       office responsible for the designation       Teton Counties). All units were
boundaries, we made every effort to                                        (see FOR FURTHER INFORMATION CONTACT,        occupied by lynx populations at the
avoid including developed areas such as                                    above).                                      time of listing and are currently
lands covered by buildings, pavement,                                         We are designating as critical habitat    occupied by lynx populations. The
and other structures because such lands                                    areas that we have determined were           approximate area and ownership within
lack physical or biological features                                       occupied by lynx populations at the          each critical habitat unit is shown in
necessary for lynx. The scale of the                                       time of listing and which contain the        Table 1, and the area and ownership by
maps we prepared under the parameters                                      physical and biological features             State is shown in Table 2.
                        Table 1—Designated Critical Habitat Units for Canada Lynx by Ownership (mP (km2))
                                                   [Area estimates reflect all land within designated critical habitat unit boundaries]

                                 Unit                                          Federal            State            Private                Other              Total

1                                                                                      0(0)       819 (2,122)    9,281 (24,039)              22 (57)     10,123 (26,218)
2                                                                            3,863 (10,005)    2,947 (7,633 )     1,259 (3,260)                 0(0)      8,069 (20,899)
3                                                                            8,788 (22,761)         156 (404)       839 (2,172)                 0(0)      9,783 (25,337)
4                                                                             1,829 (4,737)              0(0)            5(14)                  0(0)       1,834 (4,751)
5 ......................................................................     8,922 (23,109)           23 (60)         200 (518)             0.5 (1.3)     9,146 (23,687)

       Total ..........................................................     23,402 (60,612)    3,945 (10,217)   11,584 (30,003)              23 (59)    38,954 (100,891)
   Note: Area sizes may not sum due to rounding.




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                    Table 2—Designated Critical Habitat eor Canada Lynx by State and Ownership (mi2/km2)
                                                  [Area estimates reflect all land within designated critical habitat unit boundaries]

                                                                             Federal            State             Private                Other              Total

Idaho ................................................................           45 (117)         0.04 (0.1)              0(0)                 0(0)            45 (117)
Maine ..............................................................                 0(0)       819 (2,122)     9,281 (24,039)              22 (57)     10,123 (26,218)
Minnesota.........................................................         3,863 (10,005)     2,947 (7,633)      1,259 (3,206)                 0(0)      8,069 (20,899)
Montana ...........................................................       10,978 (28,433)         168 (437)        979 (2,535)             0.5 (1.3)    12,126 (31,405)
Washington .....................................................            1,829 (4,737)              0(0)             5(14)                  0(0)       1,834 (4,751)
Wyoming ..........................................................         6,688 (17,321)            10 (26)          60 (155)                 0(0)      6,758 (17,502)

      Total ..........................................................   23,402 (60,612)     3,945 (10,217)    11,584 (30,003)              23 (59)    38,954 (100,891)
   Note: Area sizes may not sum due to rounding.


  We present brief descriptions of all                                   peripheral, low-elevation populations         related threat to lynx in this unit. Other
units, and reasons why they meet the                                     like that in Maine. Under this modeled        potential habitat-related threats to lynx
definition of critical habitat for the lynx                              scenario, populations would have              in this unit are habitat loss and
DPS, below.                                                              difficulty sustaining themselves, and the     fragmentation due to road and highway
                                                                         lynx distribution would likely contract       construction (along with associated
Unit 1: Northern Maine                                                   to the core of the population on the          increases in traffic volumes and/or
   Unit 1 consists of 10,123 mi^ (26,218                                 Gaspe Peninsula in Quebec, Canada             speeds) and commercial, recreational,
km^) located in northern Maine in                                        (Carroll 2007, p. 1102). Gonzalez et al.      and wind-energy development.
portions of Aroostook, Franklin,                                         (2007, p. 14) modeled potential climate-        In this final rule, we have not
Penobscot, Piscataquis, and Somerset                                     induced loss of snow and concluded            designated critical habitat on Tribal
Counties. This area was occupied by the                                  that snow suitable for lynx may               lands in this unit nor on lands managed
lynx at the time of listing and is                                       disappear from Maine entirely by the          in accordance with the Natural
currently occupied by the species                                        end of this century. Therefore, climate       Resources Conservation Service’s
(Hoving et al. 2003, entire; Vashon et al.                               change represents a potential habitat-        Healthy Forest Reserve Program (see
2012, pp. 12-14, 58-60; Interagency                                      related threat to lynx in this unit.          Consideration of Impacts under section
Lynx Biology Team 2013, pp. 39-42).                                         Changing forest management practices       4(b)(2) of the Act, below).
This area contains the physical and                                      are also likely to result in reduced hare
biological features essential to the                                     and lynx habitat in this unit. Much of        Unit 2: Northeastern Minnesota
conservation of the lynx DPS as it                                       the lynx and hare habitat in this unit is       Unit 2 consists of 8,069 mi^ (20,899
comprises the PCE and its components                                     the result of broad-scale clear-cut timber    km^) located in northeastern Minnesota
laid out in the appropriate quantity and                                 harvest in the 1970s and 1980s in             in portions of Cook, Koochiching, Lake,
spatial arrangement. Lynx in northern                                    response to a spruce budworm outbreak         and St. Louis Counties, and Superior
Maine have high productivity: 91                                         and the subsequent treatment of some          National Forest. In 2003, when we
percent of available adult females                                       clearcuts with herbicide to promote           formally reviewed the status of the lynx,
(greater than 2 years) produced litters,                                 conifer regeneration. These clear-cut         numerous verified records of lynx
and litters averaged 2.83 kittens (Vashon                                stands are now at a successional              existed from northeastern Minnesota (68
et al. 2005b, pp. 4-6; Vashon et al. 2012,                               (regrowth) stage (about 35 years              FR 40076). The area was occupied at the
p. 18). This area is also important for                                  postharvest) that features very dense         time of listing and is currently occupied
lynx conservation because it is the only                                 conifer cover and provides optimal hare       by the species (Moen et al. 2008b, pp.
area in the northeastern region of the                                   and lynx habitats, likely supporting          29-32; Moen et al. 2010, entire; Catton
lynx’s range within the contiguous                                       many more hares and lynx than                 and Loch 2010, entire; 2011, entire;
United States that currently supports a                                  occurred historically. The Maine Forest       2012, entire; Interagency Lynx Biology
resident breeding lynx population and                                    Practices Act (1989) limited the size of      Team 2013, pp. 44-47). Lynx are
likely acts as a source or provides                                      clearcuts, resulting in a near complete       currently known to be distributed
connectivity with Canada for more                                        shift away from clearcuts to partial          throughout northeastern Minnesota, as
peripheral portions of the lynx’s range                                  harvesting. This transition to partial        has been confirmed through DNA
in the Northeast.                                                        harvest timber management is unlikely         analysis, radio- and GPS-collared
   Timber harvest and management are                                     to create or maintain the extensive tracts    animals, and documentation of
the dominant land uses within the unit;                                  of hare and lynx habitats that currently      reproduction (Moen et al. 2008b, entire;
therefore, special management may be                                     exist as a result of previous clearcutting.   Moen et al. 2010, entire). This area
required depending on the silvicultural                                  As the clear-cut stands continue to age,      contains the physical and biological
practices implemented (68 FR 40075).                                     their habitat value to hares and lynx is      features essential to the conservation of
Timber management practices that                                         expected to decline. Even in the absence      the lynx DPS as it comprises the PCE
provide for a dense understory are                                       of climate change considerations, forest      and its components laid out in the
beneficial for lynx and snowshoe hares.                                  succession and reduced clearcutting are       appropriate quantity and spatial
In this area, climate change is predicted                                expected to result in a substantially         arrangement. This area is essential to
to significantly reduce lynx habitat and                                 smaller lynx population in this unit by       the conservation of lynx because it is
population size. Carroll (2007, pp.                                      2035 (Simons 2009, pp. 153-154, 162­          the only area in the Great Lakes Region
1100-1103) modeled a 59 percent                                          165, 206, 216-220; Vashon et al. 2012,        for which there is evidence of recent
decline in lynx numbers in the                                           pp. 58-60). Therefore, the potential for      lynx reproduction. It likely acts as a
northeastern United States and eastern                                   forest management practices to result in      source or provides connectivity for more
Canada by 2055 due to climate change,                                    reduced quantity and quality of lynx          peripheral portions of the lynx’s range
with greater vulnerability among small.                                  and hare habitats represents a habitat-       in the region.


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   Timber harvest and management are           lynx’s range. It likely acts as a source for   when deep snows close Highway 20.
dominant land uses (68 FR 40075).              lynx and provides connectivity to other        The northern portion of the unit
Therefore, special management may be           portions of the lynx’s range in the Rocky      adjacent to the Canada border also
required depending on the silvicultural        Mountains, particularly the Greater            appears to support few recent lynx
practices implemented. Timber                  Yellowstone Area.                              records; however, it is designated
management practices that provide for a           Timber harvest and management are           wilderness, so access to survey this area
dense understory are beneficial for lynx       dominant land uses (68 FR 40075);              is difficult. This northern portion also
and snowshoe hares. In this area,              therefore, special management may be           contains extensive boreal forest
climate change may affect lynx and their       required depending on the silvicultural        vegetation types and the components
habitats; however, Gonzalez et al. (2007,      practices implemented. Timber                  essential to lynx conservation.
p. 14) suggested that snow conditions in       management practices that provide for a        Additionally, lynx populations exist in
northern Minnesota should continue to          dense understory are beneficial for lynx       British Columbia directly north of this
be suitable for lynx through the end of        and snowshoe hares. In this area,              unit (Interagency Lynx Biology Team
this century. Nonetheless, because             climate change is expected to result in        2013, p. 65). This area is essential to the
climate change may alter vegetation            the potential loss of snow conditions          conservation of the lynx DPS because it
communities and, hence, hare densities,        suitable for lynx by the end of this           is the only area in the Cascades region
it still represents a potential habitat-       century (Gonzalez et al. 2007, p. 14).         of the lynx’s range that is known to
related threat to lynx in this unit. Fire      Therefore, climate change represents a         support breeding lynx populations.
suppression or fuels treatment, habitat        potential habitat-related threat to lynx          Timber harvest and management are
fragmentation associated with road­            in this unit. Fire suppression or fuels        dominant land uses; therefore, special
building (and associated increases in          treatment, habitat fragmentation               management may be required
traffic volumes and/or speeds), and            associated with road-building (and             depending on the silvicultural practices
commercial, recreational, and energy/          associated increases in traffic volumes        implemented. Timber management
mineral development pose other                 and/or speeds), and commercial,                practices that provide for a dense
potential habitat-related threats to lynx      recreational, and energy/mineral               understory are beneficial for lynx and
in this unit. Incidental capture of lynx       development pose other potential               snowshoe hares. In this area. Federal
in traps set for other species has been        habitat-related threats to lynx in this        land management plans are being
documented recently in Minnesota, as           unit.                                          amended to incorporate lynx
have lynx mortalities from vehicle                In this final rule, we have not             conservation. Climate change is
collisions (U.S. Fish and Wildlife             designated critical habitat on Tribal          expected to reduce lynx habitat and
Service 2013d, unpubl. database).              lands in this unit nor on lands managed        numbers in this unit, with potential loss
   In this final rule, we have not             in accordance with the MDNRC HCP               of snow suitable for lynx (Gonzalez et
designated critical habitat on Tribal          (see Gonsideration of Impacts under            al. 2007, p. 14) and the potential
lands in this unit (see Consideration of       section 4(b)(2) of the Act, below).            complete disappearance of lynx from
Impacts under section 4(b)(2) of the Act,      Unit 4: North Cascades                         the area by the end of this century
below).                                                                                       (Johnston etal. 2012, pp. 7-11).
                                                  Unit 4 consists of 1,834 mi^ (4,751         Therefore, climate change represents a
Unit 3: Northern Rocky Mountains               km^) located in north-central                  potential habitat-related threat to lynx
  Unit 3 consists of 9,783 mi^ (25,337         Washington in portions of Ghelan and           in this unit. Fire suppression or fuels
Icm^) located in northwestern Montana          Okanogan Counties and includes mostly          treatment, habitat fragmentation
and a small portion of northeastern            Okanogan-Wenatchee National Forest             associated with road-building (and
Idaho in portions of Boundary County           lands as well as BLM lands in the              associated increases in traffic volumes
in Idaho and Flathead, Glacier, Granite,       Spokane District and Loomis State              and/or speeds), and recreational and
Lake, Lewis and Clark, Lincoln,                Forest lands. This area was occupied at        energy/mineral development pose other
Missoula, Pondera, Powell, and Teton           the time lynx was listed and is currently      potential habitat-related threats to lynx
Counties in Montana. It includes               occupied by the species (Interagency           in this unit.
National Forest lands and BLM lands in         Lynx Biology Team 2013, pp. 64-65).               In this final rule, we have not
the Garnet Resource Area. This area was        This area contains the physical and            designated critical habitat in this unit
occupied by lynx at the time of listing        biological features essential to the           on lands managed in accordance with
and is currently occupied by the species       conservation of the lynx DPS as it             the WDNR Lynx Habitat Management
(Squires et al. 2010, entire; Squires et al.   comprises the PCE and its components           Plan (see Consideration of Impacts
2012, entire; Squires etal. 2013, entire;      laid out in the appropriate quantity and       under section 4(b)(2) of the Act, below).
Interagency Lynx Biology Team 2013,            spatial arrangement. This unit supports
pp. 57-61). Lynx are known to be               the highest densities of lynx in               Unit 5: Greater Yellowstone Area
widely distributed throughout this unit,       Washington (Stinson 2001, p. 2).                  Unit 5 consists of 9,146 mi^ (23,687
and breeding has been documented in            Evidence from recent research and DNA          km^) located in Yellowstone National
multiple locations (Gehman et al. 2004,        analysis shows lynx distributed within         Park and surrounding lands of the
pp. 24-29; Squires etal. 2004a, pp. 8­         this unit, with breeding being                 Greater Yellowstone Area in
10, 2004b, entire, and 2004c, pp. 7-10).       documented (von Kienast 2003, p. 36;           southwestern Montana and
This area contains the physical and            Koehler et al. 2008, entire; Maletzke et       northwestern Wyoming. Lands in this
biological features essential to the           al. 2008, entire). Although researchers        unit are found in Carbon, Gallatin, Park,
conservation of the lynx DPS as it             have fewer records in the portion of the       Stillwater, and Sweetgrass Counties in
comprises the PCE and its components           unit south of Highway 20, few surveys          Montana; and Fremont, Lincoln, Park,
laid out in the appropriate quantity and       have been conducted there. This area           Sublette, and Teton Counties in
spatial arrangement. This area is              contains boreal forest habitat and the         Wyoming. This area was occupied by
essential to the conservation of lynx          components essential to lynx                   lynx at the time of listing and is thought
because it appears to support the              conservation. Further, it is contiguous        to be currently occupied by a small but
highest density lynx populations in the        with the portion of the unit north of          persistent lynx population (Squires and
Northern Rocky Mountain region of the          Highway 20, particularly in winter             Laurion 2000, entire; Squires etal. 2001,


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entire; Murphy ef al. 2006, entire;         the Service on any agency action which         alternatives to the project, if any are
Interagency Lynx Biology Team 2013,         is likely to jeopardize the continued          identifiable, that would avoid the
pp. 57-61). This area contains the          existence of any species proposed to be        likelihood of jeopardy and/or
physical and biological features            listed under the Act or result in the          destruction or adverse modification of
essential to the conservation of the lynx   destruction or adverse modification of         critical habitat. We define “reasonable
DPS as it comprises the PCE and its         designated critical habitat.                   and prudent alternatives” (at 50 GFR
components laid out in the appropriate         Decisions by the Fifth and Ninth            402.02) as alternative actions identified
quantity and spatial arrangement. The       Gircuit Gourts of Appeals have                 during consultation that:
Greater Yellowstone Area is naturally       invalidated our regulatory definition of          (1) Can be implemented in a manner
marginal lynx habitat with highly           “destruction or adverse modification”          consistent with the intended purpose of
fragmented foraging habitat (68 FR          (50 CFR 402.02) (see Gifford Pinchot           the action,
40090; 71 FR 66010, 66029; 74 FR 8624,      Task Force v. U.S. Fish and Wildlife              (2) Can be implemented consistent
8643-8644; Hodges ef al. 2009, entire).     Service, 378 F. 3d 1059 (9th Cir. 2004)        with the scope of the Federal agency’s
For this reason lynx home ranges in this    and Sierra Club v. U.S. Fish and               legal authority and jurisdiction,
unit are likely to be larger and            Wildlife Service et al., 245 F.3d 434, 434        (3) Are economically and
incorporate large areas of non-foraging     (5th Cir. 2001)), and we do not rely on        technologically feasible, and
matrix habitat.                             this regulatory definition when                   (4) Would, in the Director’s opinion,
   Timber harvest and management are        analyzing whether an action is likely to       avoid the likelihood of jeopardizing the
dominant land uses on National Forest       destroy or adversely modify critical           continued existence of the listed species
System lands in this unit; therefore,       habitat. Under the provisions of the Act,      and/or avoid the likelihood of
special management may be required          we determine destruction or adverse            destroying or adversely modifying
depending on the silvicultural practices    modification on the basis of whether,          critical habitat.
implemented. Timber management              with implementation of the proposed               Reasonable and prudent alternatives
practices that provide for a dense          Federal action, the affected critical          can vary from slight project
understory are beneficial for lynx and      habitat would continue to serve its            modifications to extensive redesign or
snowshoe hares. Climate change is           intended conservation role for the             relocation of the project. Costs
expected to reduce lynx habitat and         species.                                       associated with implementing a
numbers in this unit, with potential loss      If a Federal action may affect a listed     reasonable and prudent alternative are
of snow suitable for lynx over most of      species or its critical habitat, the           similarly variable.
                                            responsible Federal agency (action                Regulations at 50 CFR 402.16 require
the area by the end of this century,
                                            agency) must enter into consultation           Federal agencies to reinitiate
though with potential snow refugia in
                                            with us. Examples of actions that are          consultation on previously reviewed
the Wyoming Range Mountains
                                            subject to the section 7 consultation          actions in instances where we have
(Gonzalez etal. 2007, p. 14). Therefore,
                                            process are actions on State, Tribal,          listed a new species or subsequently
climate change represents a potential
                                            local, or private lands that require a         designated critical habitat that may be
habitat-related threat to lynx in this
                                            Federal permit (such as a permit from          affected and the Federal agency has
unit. Fire suppression or fuels
                                            the U.S. Army Corps of Engineers under         retained discretionary involvement or
treatment, habitat fragmentation
                                            section 404 of the Clean Water Act (33         control over the action (or the agency’s
associated with road-building (and
                                            U.S.C. 1251 et seq.) or a permit from the      discretionary involvement or control is
associated increases in traffic volumes
                                            Service under section 10 of the Act) or        authorized by law). Consequently,
and/or speeds), and recreational and
                                            that involve some other Federal action         Federal agencies sometimes may need to
energy/mineral development pose other
                                            (such as funding from the Federal              request reinitiation of consultation with
potential habitat-related threats to lynx
                                            Highway Administration, Federal                us on actions for which formal
in this unit. Therefore, special
                                            Aviation Administration, or the Federal        consultation has been completed, if
management is required depending on
                                            Emergency Management Agency).                  those actions with discretionary
the fire suppression and fuels treatment
                                            Federal actions not affecting listed           involvement or control may affect
practices conducted and the design of
                                            species or critical habitat, and actions       subsequently listed species or
highway and energy development
                                            on State, Tribal, local, or private lands      designated critical habitat.
projects.
   In this final rule, we have not          that are not federally funded or               Application of the ‘Adverse
designated critical habitat in this unit    authorized, do not require section 7           Modification” Standard
on lands managed in accordance with         consultation.
                                               As a result of section 7 consultation,         The key factor related to the adverse
the MDNRC HCP (see Consideration of                                                        modification determination is whether,
Impacts under section 4(b)(2) of the Act,   we document compliance with the
                                            requirements of section 7(a)(2) through        with implementation of the proposed
below).                                                                                    Federal action, the affected critical
                                            our issuance of:
Effects of Critical Habitat Designation        (1) A concurrence letter for Federal        habitat would continue to serve its
                                            actions that may affect, but are not           intended conservation role for the
Section 7 Consultation                                                                     species. Activities that may destroy or
                                            likely to adversely affect, listed species
   Section 7(a)(2) of the Act requires      or critical habitat; or                        adversely modify critical habitat are
Federal agencies, including the Service,       (2) A biological opinion for Federal        those that alter the physical or
to ensure that any action they fund,        actions that may affect and are likely to      biological features to an extent that
authorize, or carry out is not likely to    adversely affect, listed species or critical   appreciably reduces the conservation
jeopardize the continued existence of       habitat.                                       value of critical habitat for the lynx
any endangered species or threatened           When we issue a biological opinion          DPS. As discussed above, the role of
species or result in the destruction or     concluding that a project is likely to         critical habitat is to support life-history
adverse modification of designated          jeopardize the continued existence of a        needs of the species and provide for the
critical habitat of such species. In        listed species and/or destroy or               conservation of the species.
addition, section 7(a)(4) of the Act        adversely modify critical habitat, we             Section 4(b)(8) of the Act requires us
requires Federal agencies to confer with    provide reasonable and prudent                 to briefly evaluate and describe, in any


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proposed or final regulation that                                     boreal forest on a scale proportionate to                    patches of foraging habitat and between
designates critical habitat, activities                               the large landscape used by lynx. Such                       foraging and denning habitat within a
involving a Federal action that may                                   activities could include, but are not                        potential home range, or if they would
destroy or adversely modify such                                      limited to, recreational area                                adversely affect adjacent foraging
habitat, or that may be affected by such                              developments; certain types of mining                        habitat or denning habitat. For example,
designation. Activities that may affect                               activities and associated developments;                      a pre-commercial thinning or fuels
critical habitat, when carried out,                                   and road building. Such activities could                     reduction project in matrix habitat
funded, or authorized by a Federal                                    eliminate and fragment lynx and                              would not adversely affect lynx critical
agency, are required to undergo                                       snowshoe hare habitat.                                       habitat, and would not require
consultation in accordance with section                                  (3] Actions that would increase traffic
                                                                                                                                   consultation. However, a new highway
7 of the Act to evaluate potential                                    volume and speed on roads that divide
                                                                      lynx critical habitat. Such activities                       passing through matrix habitat that
impacts to habitats essential to the
conservation of the lynx DPS. These                                   could include, but are not limited to,                       would impede lynx movement may be
activities include, but are not limited to:                           transportation projects to upgrade roads                     an adverse effect to lynx critical habitat,
   (1) Actions that would reduce or                                   or development of a new tourist                              and would require consultation. The
remove understory vegetation within                                   destination. These activities could                          scale of any activity should be examined
boreal forest stands on a scale                                       reduce connectivity within the boreal                        to determine whether direct or indirect
proportionate to the large landscape                                  forest landscape for lynx, and could                         alteration of habitat would occur to the
used by lynx. Such activities could                                   result in increased mortality of lynx                        extent that the value of critical habitat
include, but are not limited to, forest                               within the critical habitat units, because                   for the survival and recovery of lynx
stand thinning, timber harvest, and fuels                             lynx are highly mobile and frequently                        would be appreciably diminished.
treatment of forest stands. These                                     cross roads during dispersal,                                  If you have questions regarding
activities could significantly reduce the                             exploratory movements, or travel within                      whether specific activities may
quality of snowshoe hare habitat such                                 their home ranges.
                                                                                                                                   constitute destruction or adverse
that the landscape’s ability to produce                                  In matrix habitat, activities that
                                                                      change vegetation structure or condition                     modification of critical habitat, contact
adequate densities of snowshoe hares to
                                                                      would not be considered an adverse                           the Supervisor of the appropriate
support lynx populations is at least
temporarily diminished.                                               effect to lynx critical habitat unless                       Ecological Services Field Office (see list
   (2) Actions that would cause                                       those activities would create a barrier or                   below).
permanent loss or conversion of the                                   impede lynx movement between

                          state                                                                            Address                                                    Phone No.

Maine ......................................................   17 Godfrey Drive, Suite 2, Orono, ME 04473 ........................................................   (207)   866-3344
Minnesota ...............................................      4101 American Boulevard East, Bloomington, Minnesota 55425 ..........................                 (612)   725-3548
Montana..................................................      585 Shepard Way, Suite 1, Helena, Montana 59601 ............................................          (406)   449-5225
Idaho and Washington ...........................               11103 E. Montgomery Drive, Spokane, Washington 99206 ..................................               (509)   893-8015
Wyoming.................................................       5353 Yellowstone Road, Suite 308A, Cheyenne, Wyoming 82009 .......................                    (307)   772-2374



Exemptions                                                            any other relevant impact of specifying                      things, whether exclusion of a specific
                                                                      any particular area as critical habitat.                     area is likely to result in conservation;
Application of Section 4(a)(3) of the Act
                                                                      The Secretary may exclude an area from                       the continuation, strengthening, or
  Section 4(a)(3)(B)(i) of the Act (16                                critical habitat upon a determination                        encouragement of partnerships; or
U.S.C. 1533(a)(3)(B)(i)) provides that:                               that the benefits of such exclusion                          implementation of a management plan
“The Secretary shall not designate as                                 outweigh the benefits of specifying such                     that provides conservation benefits
critical habitat any lands or other                                   area as part of the critical habitat, unless                 equal to or greater than those provided
geographic areas owned or controlled by                               doing so would, based on the best                            by a critical habitat designation.
the Department of Defense, or                                         scientific data available, result in the                       In the case of the lynx DPS, the
designated for its use, that are subject to                           extinction of the species. In making that                    benefits of critical habitat include
an integrated natural resources                                       determination, the statute on its face, as                   promotion of public awareness of the
management plan [INRMP] prepared                                      well as the legislative history are clear                    presence of the species and the
under section 101 of the Sikes Act (16                                that the Secretary has broad discretion                      importance of habitat protection, and in
U.S.C. 670a), if the Secretary determines                             regarding which factor(s) to use and                         cases where a Federal nexus exists,
in writing that such plan provides a                                  how much weight to give to any factor.                       potentially greater habitat protection for
benefit to the species for which critical                               When identifying the benefits of                           lynx due to the protection from
habitat is proposed for designation.’’                                inclusion for an area, we consider the                       destruction or adverse modification of
There are no Department of Defense                                    additional regulatory benefits that area                     critical habitat.
lands with a completed INRMP within                                   would receive from the protection from                         When we evaluate the benefits of
this final critical habitat designation.                              destruction or adverse modification of                       excluding particular areas for which
                                                                      critical habitat as a result of actions with                 conservation plans have been
Consideration of Impacts Under Section
                                                                      a Federal nexus; the educational                             developed, we consider a variety of
4(b)(2) of the Act
                                                                      benefits of mapping essential habitat for                    factors, including but not limited to,
  Section 4(b)(2) of the Act states that                              recovery of the listed species; and any                      whether the plan is finalized; how it
the Secretary shall designate and make                                benefits that may result from a                              provides for the conservation of the
revisions to critical habitat on the basis                            designation due to State or Federal laws                     essential physical or biological features;
of the best available scientific data after                           that may apply to critical habitat.                          whether there is a reasonable
taking into consideration the economic                                  When identifying the benefits of                           expectation that the conservation
impact, national security impact, and                                 exclusion, we consider, among other                          management strategies and actions


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contained in a management plan will be                                  Based on the information provided by                       Conservation Plan (HCP) (Montana
implemented into the future; whether                                 entities seeking exclusion, as well as                        Department of Natural Resources and
the conservation strategies in the plan                              any additional public comments                                Conservation and U.S. Fish and Wildlife
are likely to be effective; and whether                              received, we evaluated whether certain                        Service 2010a, entire; 2010b, entire;
the plan contains a monitoring program                               lands in the proposed critical habitat                        2010c, entire); and (4) State lands in
or adaptive management to ensure that                                were appropriate for exclusion from this                      northern Washington managed in
the conservation measures are effective                              final designation pursuant to section                         accordance with the State of
and can be adapted in the future in                                  4(b)(2) of the Act. We are excluding the                      Washington Department of Natural
response to new information.                                         following areas from critical habitat                         Resources (DNR) Lynx Habitat
   After identifying the benefits of
inclusion and the benefits of exclusion,                             designation for the Canada lynx DPS: (1)                      Management Plan for DNR-managed
we carefully weigh the two sides to                                  Tribal lands, which occur in units 1, 2,                      Lands (Washington DNR 2006, entire).
evaluate whether the benefits of                                     and 3; (2) private lands in Maine                             Table 3 below provides approximate
exclusion outweigh those of inclusion.                               managed in accordance with the Natural                        areas of lands that meet the definition
If our analysis indicates that the benefits                          Resources Conservation Service’s                              of critical habitat but which we have
of exclusion outweigh the benefits of                                (NRCS) Healthy Forest Reserve Program                         excluded from the final critical habitat
inclusion, we then determine whether                                 (75 FR 6539); (3) State lands in western                      rule under section 4(b)(2) of the Act. For
exclusion would result in extinction. If                             Montana managed in accordance with                            additional details on these plans, see
exclusion of an area from critical habitat                           the Montana Department of Natural                             Exclusions Based on Other Relevant
will result in extinction, we cannot                                 Resources and Conservation (MDNRC)                            Impacts, below.
exclude it from the designation.                                     Forested State Trust Lands Habitat
      Table 3—Areas Excluded From Critical Habitat Designation for Canada Lynx by Critical Habitat Unit
                                                                                                                                                                        Area in mi^ (km^)
                                                                                                                                                                         excluded from
                           Unit                                                                          Specific area                                                     final critical
                                                                                                                                                                              habitat
                                                                                                                                                                           designation

1. Maine ..................................................   Tribal Lands: Passamaquoddy Tribe, Penobscot Indian Nation..............................                        95.7 (248)
1. Maine ..................................................   Maine Healthy Forest Reserve Program...................................................................      943.2 (2,443)
2. Minnesota ...........................................      Tribal Lands: Grand Portage Reservation, Bois Forte Reservation—Vermillion                                     77.9 ( 202)
                                                                 Lake District.
3.   Northern Rocky Mountains.................                Tribal Lands: Confederated Salish and Kootenai Tribes, Flathead Reservation ....                               369.6 (957)
3.   Northern Rocky Mountains.................                Montana DNRC Multispecies Habitat Conservation Plan ........................................                   271.4 (703)
4.   North Cascade Mountains..................                Washington DNR Lynx Habitat Management Plan ..................................................                 164.2 (425)
5.   Greater Yellowstone Area ..................              Montana DNRC Multispecies Habitat Conservation Plan ........................................                        1-3(3)



Consideration of Economic Impacts                                    information relevant to our evaluation                           (2) Activities occurring within
                                                                     of incremental economic impacts is                            designated critical habitat with a
  Under section 4(b)(2) of the Act, we                               available in the final economic analysis                      potential to affect critical habitat are
consider the economic impacts of                                     for the designation of critical habitat for                   also likely to jeopardize the species,
specifying any particular area as critical                           the lynx DPS (U.S. Fish and Wildlife                          either directly or indirectly;
habitat. To consider economic impacts,                               Service and lEc, Inc. 2014, entire),                             (3) Project modifications requested to
we prepared an incremental effects                                   available at http://www.regulations.gov,                      avoid adverse modification are likely to
memorandum (lEM) and screening                                       and at our Web site: http://                                  be the same as those needed to avoid
analysis which, together with our                                    www.fws.gov/mountain-prairie/species/                         jeopardy;
narrative and interpretation of effects,                                                                                              (4) On Federal lands, as well as some
                                                                     mammals/lynx/index.htm.
we consider our draft economic analysis                                                                                            private and State lands, ongoing
(DEA) of the proposed critical habitat                                 Revised critical habitat for the lynx
                                                                                                                                   conservation efforts offer additional
designation and related factors (U.S.                                DPS is very unlikely to generate
                                                                                                                                   baseline protection; and
Fish and Wildlife Service and lEc, Inc.                              incremental economic costs exceeding
                                                                                                                                      (5) Critical habitat is unlikely to
2014, entire). The analysis, dated June                              $100 million in a single year (see
                                                                                                                                   increase the annual consultation rate for
11, 2014, was made available for public                              additional discussion of this threshold                       two primary reasons:
review from June 20, 2014, through July                              in the Unfunded Mandates Reform Act                              (a) The existing awareness of the need
21, 2014 (79 FR 35303). The DEA                                      section, below). Data limitations prevent                     to consult due to the listing of the
addressed potential economic impacts                                 the quantification of benefits. The                           species; and
of critical habitat designation for the                              economic costs of implementing the                               (b) The fact that the 2009 critical
lynx DPS. Following the close of the                                 rule through section 7 of the Act will                        habitat designation covered 89 percent
comment period, we reviewed and                                      most likely be limited to the additional                      of the areas designated as critical habitat
evaluated all information submitted                                  administrative effort required to                             in this final rule.
during the comment period that may                                   consider adverse modification during                            According to a review of consultation
pertain to our consideration of the                                  section 7 consultations for activities                        records and discussions with multiple
probable incremental economic impacts                                with a Federal nexus. This finding is                         Service field offices, the additional
of this critical habitat designation.                                based on the following factors:                               administrative cost of addressing
Based on that evaluation, the probable                                 (1) All units are considered currently                      adverse modification during the section
incremental economic impacts of                                      occupied, providing baseline protection                       7 consultation process ranges from
critical habitat designation for the lynx                            via section 7 consultations addressing                        approximately $400 to $5,000 per
DPS are summarized below. Additional                                 the jeopardy standard;                                        consultation (2014 dollars). Based on


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the historical consultation activity, we     potential impacts to snowmobiling            that people will perceive that the
forecast an annual consultation rate of      interests throughout the critical habitat    designation will limit snowmobiling
approximately 161 per year, resulting in     designation, and specifically with           and in turn will be less likely to invest
costs ranging from $64,400 to $805,000       regard to the concerns of the WASSA          in snowmobiling equipment, that the
annually (2014 dollars). Thus, the           and the Wyoming State Snowmobile             designation will prevent an increase in
incremental administrative burden            Association.                                 over-the-snow trails thus resulting in
resulting from the rule is well below the       Snowmobiling occurs throughout the        congestion, and that the designation
threshold of $100 million in a given         areas designated as lynx critical habitat,   will present an additional regulatory
year.                                        and understanding of the potential           burden for future attempts to expand or
  The revised designation of critical        effects of snowmobiling on lynx              increase the number of trails in the area
habitat for the lynx DPS is not expected     continues to evolve. Concerns about          (U.S. Fish and Wildlife Service and lEc,
to trigger additional requirements under     potential negative impacts of                Inc. 2014, p. 13).
State or local regulations. This             snowmobiling are based primarily on             Although annual data on
assumption is based on the array of          the hypothesis that compacted over-the-      snowmobiling participation in
existing baseline protections for the        snow trails could result in increased        Washington since 2009 are not readily
lynx and the general awareness of State      competition between lynx and other           available, the critical habitat designation
agencies of the presence of the species.     snowshoe hare predators, such as             is not anticipated to adversely change
The revised designation may cause land       coyotes, in areas where deep snow            snowmobiling in Washington (U.S. Fish
managers, landowners, or developers to       would otherwise preclude or minimize         and Wildlife Service and lEc, Inc. 2014,
perceive that private lands will be          such competition (Buskirk ef al. 2000a,      p. 13). We evaluated whether and how
subject to use restrictions, resulting in    pp. 86-95). Research on the relationship     snowmobiling activities in Maine and
costs. However, such impacts, if they        between coyotes, lynx, and lynx habitat      Minnesota were affected as a result of
occur, are very unlikely to reach $100       has provided mixed results regarding         the 2009 critical habitat designation,
million in a given year.                     this hypothesis, with several studies        and we found no significant changes in
  No additional section 7 efforts to         showing that coyotes use compacted           snowmobiling activities have been
conserve the lynx DPS are predicted to       snow trails, but none indicating             observed there since the 2009
result from the revised designation of       increased competition or substantial         designation (U.S. Fish and Wildlife
critical habitat. If, however, public        dietary overlap between lynx and             Service and lEc, Inc. 2014, p. 13). We
perception of the effect of critical         coyotes (Interagency Lynx Biology Team       have had no reports of significant
habitat causes changes in future land        2013, pp. 80-82). In response to this        economic impacts to snowmobiling
use, benefits to the species and             uncertainty, the 2013 revisions to the       interests in the other areas designated as
environmental quality may occur. Due         LCAS provided more flexibility with          critical habitat in 2009 (western
to existing data limitations, we are         respect to the management of                 Montana, northern Idaho, and
unable to assess the likely magnitude of     recreational activities in lynx habitat,     northwestern Wyoming).
such benefits.                               and snowmobiling stakeholders have              In response to our 2013 proposed
  The majority of anticipated future         largely expressed approval of the 2013       critical habitat designation, the WASSA
consultations are expected to occur in       LCAS revisions (U.S. Fish and Wildlife       resubmitted the sector assessment study
Unit 5 (Greater Yellowstone Area). Costs     Service and lEc, Inc. 2014, pp. 11-12).      it previously commissioned on the
resulting from public perception of the         Between 3,000 and 5,000 miles of          regional economic impacts of the 2008
impact of critical habitat, if they occur,   trails are available for snowmobiling in     proposed critical habitat rule. The
are more likely to occur in Unit 4 (North    Washington, of which about 200 miles         WASSA study assumes that lynx
Cascades) and private lands located in       (4.0-6.7 percent) occur within the           conservation efforts will result in an
Unit 1 (Northern Maine).                     revised critical habitat designation. A      overall loss of winter visitors and
                                             2003 study estimated that the number of      tourism spending within the region. The
Exclusions Based on Economic Impacts
                                             people participating in snowmobiling         study employs a regional input/output
   Our 2014 and 2009 economic analyses       would increase 43 percent by the year        model, estimating the potential cost of
did not identify any disproportionate        2013 (State of Washington 2003, pp. 4,       the critical habitat designation to be
costs that are likely to result from the     41); however, it is not clear whether this   $262,000 to $1,645,000 (2013 dollars)
designation. Consequently, the               level of increase has occurred. In 2001,     through the year 2025, assuming a seven
Secretary is not exercising her              Washington State University and the          percent discount rate. This present­
discretion to exclude any areas from this    WASSA conducted a snowmobile usage           value sum translates to approximately
designation of critical habitat for the      study and concluded that the annual          $27,000 to $168,500 on an annualized
lynx DPS based on economic impacts.          economic impact of snowmobiling in           basis, assuming a seven percent
   Both the current economic analysis        Washington was $92.7 million dollars.        discount rate.
(U.S. Fish and Wildlife Service and lEc,     In response to the 2009 critical habitat        Based on both the current economic
Inc. 2014, entire) and the final economic    designation, WASSA estimated that            analysis (U.S. Fish and Wildlife Service
analysis completed for the 2009 critical     snowmobiling accounted for nearly $8.5       and lEc, Inc. 2014, entire) and the final
habitat designation for the lynx DPS         million in direct expenditures and $4.1      economic analysis completed for the
(lEc, Inc. 2008, entire) specifically        million in indirect spending in Methow       2009 critical habitat designation for the
addressed potential economic impacts         Valley, an area adjacent to designated       lynx DPS (lEc, Inc. 2008, entire), we
to the Washington State Snowmobile           critical habitat.                            have determined that the designation of
Association (WASSA) and the groups it           The WASSA, which represents about         critical habitat for the lynx DPS will not
represents. Both analyses, incorporated      30,000 registered snowmobilers and           result in disproportionate economic
here by reference in their entireties,       nearly 100 snowmobile-related                impacts to snowmobiling interests
considered the comments and regional         businesses, has again expressed concern      anywhere within the designated areas,
economic assessments provided by the         that critical habitat designation may        and specifically with regard to those
WASSA in response to the 2008 and            generate significant economic impacts        interests represented by the WASSA
2013 proposed designations. In our           to the snowmobiling industry.                and the Wyoming State Snowmobile
analyses, we have carefully evaluated        Specifically, the WASSA is concerned         Association. We have made this


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evaluation available to the Secretary for       (3) The plan provides conservation        and Montana the larger landscape is
her consideration when determining           strategies and measures consistent with      managed by the USFS, which revised its
whether to exercise her discretion to        currently accepted principles of             forest plans to address the conservation
exclude these or other areas based on        conservation biology.                        needs of lynx. Therefore, although these
baseline and incremental economic               We have determined that the               Tribal lands support lynx habitat and
impacts. Based on her consideration of       following partnerships, program, and         the PCE, they have a minor role in lynx
this evaluation, the Secretary is not        plans fulfill the above criteria, and we     conservation compared to the extensive
exercising her discretion to exclude any     are, therefore, excluding from critical      commercial forestlands in Maine and
areas from this designation of critical      habitat the areas of non-Federal lands       National Forest lands in Minnesota and
habitat for the lynx DPS based on            covered by them because they provide         Montana. Due to Tribal natural resource
economic impacts.                            for the conservation of the lynx DPS.        management philosophies, plans, and
                                                                                          practices that are designed to avoid
Exclusions Based on National Security­       Tribal Lands Conservation Partnerships
                                                                                          adverse effects to lynx and lynx habitat,
Impacts or Homeland Security Impacts           Tribal lands in Maine, Minnesota, and      and that are already in place on Tribal
   Under section 4(bl(21 of the Act, we      Montana fall within the boundaries of        lands, it is highly unlikely that activities
consider whether there are lands owned       designated critical habitat in units 1       approaching the threshold of adverse
or managed by the Department of              (Maine), 2 (Minnesota), and 3 (Northern      modification of critical habitat would
Defense where a national security            Rocky Mountains). Tribal lands include       occur.
impact might exist. In preparing this        those of the Passamaquoddy Tribe and           Tribal lands of the Passamaquoddy
final rule, we have determined that no       the Penobscot Indian Nation in Maine,        Tribe and the Penobscot Indian Nation
lands within the designation of critical     the Crand Portage Indian Reservation         fall within lynx critical habitat in
habitat for the lynx DPS are owned or        and Bois Forte Indian Reservation—           Maine. These lands represent only 0.9
managed by the Department of Defense         Vermillion Lake District in Minnesota,       percent of the total critical habitat
or Department of Homeland Security,          and the Confederated Salish and              designation in Unit 1. The
and, therefore, we anticipate no impact      Kootenai Tribes of the Flathead Indian       Environmental Mission of the
on national security or homeland             Reservation in Montana. The amount of        Passamaquoddy Tribe is: “to protect the
security. Consequently, the Secretary is     Tribal lands that occur within the final     environment and conserve natural
not exercising her discretion to exclude     designation is relatively small in size,     resources within all Passamaquoddy
any areas from this final designation        totaling approximately 543.2 mi- (1,407      lands, waters, and the air we share”
based on impacts on national security or     km^), which represents 1.4 percent of        (Passamaquoddy Tribe 2014, entire).
homeland security.                           the total final designation.                 Through Federal grant programs, the
                                               In the proposed rule, we requested         Passamaquoddy Tribe is also
Exclusions Based on Other Relevant           comments on whether Tribal lands in          conducting surveys and developing
Impacts                                      Maine, Minnesota, and the Northern           habitat models for lynx and snowshoe
  Under section 4(bl(21 of the Act, we       Rockies should be excluded pursuant to       hare, which will likely lead to better
also consider any other relevant impacts     Executive Order 3206. We also                understanding and management of lynx
resulting from the designation of critical   contacted a number of Tribes to discuss      and hare habitats on Tribal lands. The
habitat. We consider a number of             the proposed designation and, as they        mission of the Penobscot Indian
factors, including whether the               had done previously during discussions       Nation’s Department of Natural
landowners have developed any HCPs           regarding the 2009 designation, the          Resources is: “. . . to manage, develop
or other management plans for the area,      Tribes again requested that their lands      and protect the Penobscot Nation’s
or whether there are conservation            not be designated as critical habitat        natural resources in a sustainable
partnerships that would be encouraged        because of their sovereign rights, in        manner that protects and enhances the
by designation of, or exclusion from,        addition to concerns about economic          cultural integrity of the Tribe”
critical habitat. In addition, we look at    impacts and the effect on their ability to   (Penobscot Indian Nation 2014, entire).
any Tribal issues and consider the           manage natural resources.                    Further, the Penobscot Indian Nation’s
government-to-government relationship                                                     Inland Fish and Game Regulations
                                             Benefits of Inclusion                        prohibit the hunting, trapping, or
of the United States with Tribal entities.
We also consider any social impacts that       The primary benefit of including           possessing of Canada lynx (Penobscot
might occur because of the designation.      Tribal lands in the lynx critical habitat    Indian Nation 2012, p. 15).
                                             designation would be education that            Tribal lands of the Grand Portage
Consideration of Land and Resource           could be exchanged on land                   Indian Reservation and the Bois Forte
Management Plans, Conservation Plans,        management methods that would                Indian Reservation—Vermillion Lake
or Agreements Based on Conservation          benefit the species. Potentially, some       District fall within lynx critical habitat
Partnerships                                 activities could be authorized, funded,      in Minnesota. These lands represent
   We consider a current land                or carried out by a Federal agency,          only 1 percent of the total critical
management or conservation plan (HCPs        which would require consultation and         habitat designation in Unit 2. The Grand
as well as other types] to provide           perhaps action modification to ensure        Portage Band of Chippewa has been
adequate management or protection if it      that the physical and biological features    actively working on lynx conservation
meets the following criteria:                essential to lynx are not destroyed or       since 2004. In October 2007, the Band
   (1) The plan is complete and provides     adversely modified.                          hosted an international conference on
a conservation benefit for the species                                                    lynx research and conservation where
and its habitat;                             Benefits of Exclusion                        more than 50 researchers from the
   (2] There is a reasonable expectation        Tribal lands are small in size relative   United States and Canada presented
that the conservation management             to the large landscape required to           results of research on lynx diet, habitat,
strategies and actions will be               sustain the lynx populations in these        and management. Additionally, on-
implemented for the foreseeable future,      areas. The larger landscape in Maine         reservation timber sales and harvest
based on past practices, written             comprises lands managed for                  practices follow an integrated
guidance, or regulations; and                commercial forestry, and in Minnesota        management plan for priority wildlife


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management, sustainable economic              species”. The President’s memorandum        benefit of including them in critical
development, and recreational uses. The       of April 29, 1994, “Government-to-          habitat. Therefore, pursuant to section
Band’s timber management practices            Government Relations with Native            4(b)(2) of the Act, we have not
benefit populations of snowshoe hares,        American Tribal Governments” (59 FR         designated critical habitat for the lynx
the lynx’s primary prey (Deschampe            22951); Executive Order 13175               DPS on Tribal lands in Units 1, 2, and
2008, entire].                                “Consultation and Coordination with         3 in this final rule.
  Tribal lands of the Confederated            Indian Tribal Governments;” and the
Salish and Kootenai Tribes, Flathead                                                      Exclusion Will Not Result in Extinction
                                              relevant provision of the Departmental
Indian Reservation fall within lynx                                                       of the Species
                                              Manual of the Department of the Interior
critical habitat in Montana. These lands      (512 DM 2) also emphasize that Tribal         We have determined that exclusion of
represent only 3.8 percent of the total       lands should be evaluated to determine      Tribal lands from the designation of
critical habitat designation in Unit 3.       whether their inclusion in a critical       critical habitat for the lynx will not
The mission statement of the Tribes’          habitat designation is essential to the     result in the extinction of the species
Fish, Wildlife, Recreation and                species. Therefore, we believe that fish,   because the Passamaquoddy Tribe,
Conservation Division is: “to protect         wildlife, and other natural resources on    Penobscot Indian Nation, Grand Portage
and enhance the fish, wildlife, and           Tribal lands are better managed under       Indians, Bois Forte Indians, and
wildland resources of the Tribes for          Tribal authorities, policies, and           Confederated Salish and Kootenai
continued use by the generations of           programs than through Federal               Tribes of the Flathead Indian
today and tomorrow” (Confederated             regulation wherever possible and            Reservation implement programs for the
Salish and Kootenai Tribes 2014a,             practicable. Such designation is often      conservation of the species, and the
entire). An objective of the Tribes’          viewed by Tribes as an unwanted             physical and biological features
Tribal Wildlife Management Program            intrusion into Tribal self-governance,      essential to it, in occupied areas. The
Plan is to “. . . develop and implement       thus compromising the government-to-        protections afforded to the lynx under
habitat management guidelines for             government relationship essential to        the jeopardy standard will remain in
Canadian lynx in coordination with the        achieving our mutual goals of managing      place for the areas considered for
Forestry Department as specified in the       for healthy ecosystems upon which the       exclusion from revised critical habitat.
Forest Management Plan” (Confederated         viability of threatened and endangered      Therefore, and in light of Secretarial
Salish and Kootenai Tribes. 2014b, p. 5).     species populations depend.                 Order 3206 and Tribal management of
The Forest Management Plan states that                                                    lynx and their habitat, 95.7 mi^ (248
“Standards for lynx management and            Benefits of Exclusion Outweigh the          km^) of Tribal lands in Maine, 77.9 mi^
habitat protection are set forth in the       Benefits of Inclusion                       (202 km^) in Minnesota, and 369.6 mi^
Canada Lynx Conservation Assessment             Exclusion of Tribal lands is warranted    (957 km-) in Montana have been
and Strategy. This strategy guides land       because affected Tribes already take        excluded from lynx critical habitat
management activity in lynx foraging          actions to avoid negative impacts to        designation in this final rule.
and denning habitat. Lynx occurrence          lynx and to conserve lynx and hare
                                                                                          Maine Healthy Forest Reserve Program
and populations will continue to be           habitats. Through Federal grant
                                                                                          (HFRP)
monitored on the Reservation”                 programs, the Passamaquoddy Tribe is
(Confederated Salish and Kootenai             conducting surveys and habitat models         In 2003, Congress passed the Healthy
Tribes. 2000, p. 285). Additionally, most     for lynx and snowshoe hare, the Grand       Forest Restoration Act. Title V of this
lynx and lynx habitat on the reservation      Portage Tribe is assessing lynx habitat     Act designates a Healthy Forest Reserve
occur in areas with formal protective         on reservation lands, and lynx habitat is   Program (HFRP) with objectives to: (1)
status, including: (1) The long-              protected through a comprehensive           promote the recovery of threatened and
designated Mission Mountains and              conservation plan and non-development       endangered species, (2) improve
Rattlesnake Tribal Wilderness Areas,          land designations on the Flathead           biodiversity, and (3) enhance carbon
which are largely roadless and managed        Reservation in Montana. Information         sequestration. In 2006, Congress
for wilderness qualities; (2) the South       from these efforts will be used to inform   provided the first funding for the HFRP,
Fork/Jocko Primitive Area, which is           management plans or strategies to           and Maine, Arkansas, and Mississippi
open to use only by Tribe members and         promote the conservation of lynx on         were chosen as pilot States to receive
in which commercial timber harvest is         Tribal lands. Additionally, we received     funding through their respective Natural
prohibited; and (3) the Nine-mile Divide      comments from Tribes voicing their          Resources Conservation Service (NRCS)
country, which is marginal in terms of        commitment to ensuring that lynx            State offices. Based on a successful pilot
lynx habitat, but which is also partly        remain a viable part of the ecosystem.      program, in 2008, the HFRP was
roadless (Courville 2014, pers. comm.).         We have determined that                   reauthorized as part of the Farm Bill,
  Because of the protected status of          conservation of lynx can be achieved on     and in 2010, NRCS published a final
these areas and the prohibition on            Tribal lands within the critical habitat    rule in the Federal Register (75 FR
activities that could impact lynx and         units through the continuation of the       6539) amending regulations for the
their habitats, it is unlikely that           cooperative partnerships between the        HFRP based on provisions amended by
additional special management                 Service and the Tribes, and without         the bill.
considerations are necessary for these        designating them as critical habitat. The     In 2006 and 2007, the NRCS offered
Tribal lands or that additional benefit to    management plans, activities, and land­     the HFRP to landowners in the
lynx would result from designating            use designations being implemented on       proposed Canada lynx critical habitat
them as critical habitat.                     Tribal lands described above are likely     unit in Maine to promote development
   Secretarial Order 3206, “American          to ensure continued conservation of         of Canada lynx forest management
Indian Tribal Rights, Federal-Tribal          lynx on Tribal lands. Given the             plans. At that time, five landowners
Trust Responsibilities, and the               importance of our government-to-            enrolled in the Maine HFRP, and
Endangered Species Act” (June 5, 1997)        government relationship with Tribes,        collectively signed contracts (with
states that, “Critical habitat shall not be   the benefit of maintaining our              NRCS) committing to developing lynx
designated in such areas unless it is         commitment to the Executive Order by        forest management plans on 1,069.8 mi^
determined essential to conserve a listed     excluding these lands outweighs the         (2,770.7 km^). However, one of the


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landowners has since discontinued            fragmentation and barriers to                incentive to continue implementing the
enrollment in the program. Because of        movements. Avoid development that            plans.
that and other mapping refinements, the      introduces new sources of lynx                  We completed a programmatic
amount of land currently managed in          mortality.                                   biological opinion for the HFRP in 2006
accordance with Maine HFRP is 943.2             (5) Encourage coarse woody debris for     that assesses the overall effects of the
mi^ (2,443 km^), or 9.3 percent of the       den sites by maintaining standing dead       program on lynx habitat and on
total designated critical habitat in Unit    trees after harvest and leaving patches      individual lynx and provides the
1. Lynx maintain large home ranges;          (at least .75 ac; .30 ha) of windthrow or    required incidental take coverage.
therefore, forest management plans at        insect damage. Desired outcome: Retain       Separate biological opinions will be
large landscape scales will provide          coarse woody debris for denning sites.       developed under this programmatic
substantive recovery benefits to lynx.          Notably, HFRP forest management           opinion for each of the four enrollees.
   The NRCS requires that lynx forest        plans must provide a net conservation        These tiered opinions will document
management plans must be based on the        benefit for lynx, which will be achieved     environmental baseline, net
Service’s “Canada Lynx Habitat               by employing the lynx guidelines,            conservation benefits, and incidental
Management Guidelines for Maine”             identifying baseline habitat conditions,     take for each landowner. If additional
(McCollough 2007, entire). These             and meeting NRCS standards for forest        HFRP funding is made available to
guidelines were developed from the best      plans. Plans must meet NRCS HFRP             Maine in the future, new enrollees will
available science on lynx management         criteria and guidelines and comply with      be tiered under this programmatic
for Maine and have been revised as new       numerous environmental standards.            opinion. This programmatic opinion
research results became available. The       NEPA compliance will be completed for        will be revised as new information is
guidelines require maintenance of            each plan. The NRCS held public              obtained, or if new rare, threatened, or
prescribed hare densities that have          informational sessions about the HFRP        endangered species are considered for
resulted in reproducing lynx                 and advertised the availability of funds.    HFRP funding.
populations in Maine. The guidelines         Plans must be reviewed and approved             Commitments to the HFRP are
are:                                         by the NRCS with assistance from the         strengthened by several other
   (1) Avoid upgrading or paving dirt or     Service. The details of the plans are        conservation efforts. The Nature
gravel roads traversing lynx habitat.        proprietary and will not be made public      Conservancy land enrolled in the HFRP
Avoid construction of new high-speed/        per NRCS policy.                             is also enrolled in the Forest
high-traffic-volume roads in lynx               Plans must be developed for a forest      Stewardship Council (FSC) forest
habitat. Desired outcome: Avoid              rotation (70 years) and include a            certification program, which requires
fragmenting potential lynx habitat with      decade-by-decade assessment of the           safeguards for threatened and
high-traffic/high-speed roads.               location and anticipated condition of        endangered species. The Forest Society
   (2) Maintain through time at least one    lynx habitat on the ownership. Some          of Maine is under contract to manage a
lynx habitat unit of 35,000 ac (14,164       landowners are developing plans              conservation easement held by the State
ha) (-1.5 townships) or more for every       exclusively for lynx, and others are         of Maine on the Katahdin Forest
200,000 ac (80,937 ha) (-9 townships) of     combining lynx management (umbrella          Management lands, which is also
ownership. At any time, about 20             species for young forest) with pine          enrolled in the HFRP. This easement
percent of the area in a lynx habitat unit   marten (umbrella species for mature          requires that threatened and endangered
should be in the optimal mid­                forest) and other biodiversity objectives.   species be protected and managed. The
regeneration conditions (see Guideline       Broad public benefits will derive from       Forest Society of Maine also holds a
3). Desired outcome: Create a landscape      these plans, including benefits to many      conservation easement on the
that will maintain a continuous              species of wildlife that share habitat       Merriweather LLC-West Branch
presence of a mosaic of successional         with the lynx. Landowners are writing        property, which contains requirements
stages, especially mid-regeneration          their own plans. The Nature                  that threatened and endangered species
patches that will support resident lynx.     Conservancy contracted with the              be protected and managed. These lands
   (3) Employ silvicultural methods that     University of Maine, Department of           are also certified under the Sustainable
will create regenerating conifer-            Wildlife Ecology to develop a lynx-pine      Forestry Initiative and FSC, which
dominated stands 12-35 ft (3.7-10.7 m)       marten plan that serves as a model for       require the inclusion of programs for
in height with high stem density (7,000­     lynx/biodiversity forest planning and        threatened and endangered species. The
15,000 stems/ac; 2,800-6,000 stems/ha)       will be shared with other northern           Passamaquoddy enrolled lands are
and horizontal cover above the average       Maine landowners.                            managed as trust lands by the Bureau of
snow depth that will support greater            Landowners who are enrolled with          Indian Affairs, and projects occurring on
than 2.7 hares/ac (1.1 hares/ha). Desired    the NRCS commit to a 10-year contract.       those lands are subject to NEPA review
outcome: Employ silvicultural                Landowners must complete their lynx          and section 7 consultation.
techniques that create, maintain, or         forest management plans within 2 years          In the final revised critical habitat
prolong use of stands by high                of enrollment. Currently, two plans are      designation, published in the Federal
populations of snowshoe hares.               completed and two are in the final stage     Register on February 25, 2009 (74 FR
   (4) Maintain land in forest               of editing. The majority (50 to 60           8649-8652), we determined that the
management. Development and                  percent) of HFRP funds are withheld          benefits of excluding lands managed in
associated activities should be              until plans are completed. By year 7,        accordance with the Maine HFRP
consolidated to minimize direct and          landowners must demonstrate on-the-          outweighed the benefits of including
indirect impacts. Avoid development          ground implementation of their plan.         them in the designation, and that doing
projects that occur across large areas,      The NRCS will monitor and enforce            so would not result in extinction of the
increase lynx mortality, fragment            compliance with the 10-year contracts.       species. We affirm that determination
habitat, or result in barriers that affect   At the conclusion of the 10-year cost­       based on the analysis below.
lynx movements and dispersal. Desired        share contract, we anticipate that Safe
outcome: Maintain the current amount         Harbor Agreements or other agreements        Benefits of Inclusion
and distribution of commercial forest        to provide regulatory assurances will be       The primary benefit of including an
land in northern Maine. Prevent forest       developed by all landowners as an            area within a critical habitat designation


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is the protection provided by section        review will not provide benefits to the     address the habitat requirements of lynx
7(aK21 of the Act, which directs Federal     physical and biological features            and facilitate the consideration and
agencies to ensure that actions they         essential to the conservation of lynx,      implementation of lynx conservation
authorize, fund, or carry out are not        because most Federal projects in            needs at a broad landscape scale.
likely to jeopardize the continued           northern Maine are small and will not       Although the HFRP contracts are for 10
existence of a threatened or endangered      benefit habitat at a geographic scale       years, lynx plans are required to address
species and do not result in the             meaningful for lynx conservation.           forest management for the next 70 years.
destruction or adverse modification of       Therefore, the regulatory protection        Several incentives encourage enrollees
critical habitat. Consultation has already   provided through the section 7(a)(2)        to continue their plans after the
occurred on these lands, and it included     process for critical habitat would likely   conclusion of the 10-year contract;
consideration of lynx habitat. The           be minimal. The HFRP goes beyond the           (1) Enrollees will be offered Safe
regulatory benefit of designating critical   standard of adverse modification to         Harbor Agreements or other
habitat on the HFRP lands would be           provide a net conservation benefit for      mechanisms to extend incidental take
minimal because few Federal actions          lynx. The conservation measures for         coverage and regulatory assurances
would trigger the consultation               lynx included in the HFRP plans are         beyond the 10-year period. Most of the
provisions under section 7(a)(2) of the      affirmative obligations that address the    enrollees are in forest certification
Act. Forestry activities are exempt from     physical and biological features,           programs and have conservation
the Clean Water Act, and few                 represent the best available science, and   easements.
landowners in Maine obtain Federal           provide a net conservation benefit to the      (2) HFRP plans meet the requirements
funding for projects on their lands.         species by ensuring the quality and         of certification programs and easement
Since the lynx was listed in 2000, few       quantity of unfragmented lynx habitat       requirements to document how they
formal consultations on lynx have            on the landscape.                           will manage for federally listed species.
occurred in Maine; however, no                  Excluding HFRP lands from critical          (3) Future HFRP funding may be
consultations have taken place               habitat designation would help              available to promote continued
regarding Federal actions on lands           strengthen partnerships and promote         management on these lands.
owned by The Nature Conservancy,             other aspects of recovery for the lynx.        (4) Landowners may be reimbursed at
West Branch Project, Elliotsville            Since the lynx was listed in 2000, it has   a graduated rate of up to 100 percent for
Plantation, Inc., and Katahdin Forest        been difficult for us to effectively        land put under conservation easements
Management lands. The Passamaquoddy          address lynx conservation across the        of 30-year and 99-year duration.
Tribe, through the Bureau of Indian          forest landscape in northern Maine             Most HFRP enrollees have a long
Affairs, has informally consulted with       because of the numerous private             track record of conservation in Maine.
the Service on several timber sales          industrial forest landowners with whom      The Nature Conservancy has been
during this time period, resulting in        coordination is required. Participation     working with the Service and other
determinations that the projects were        in the HFRP will contribute to the          conservation partners since the 1970s.
not likely to adversely affect lynx          conservation of the physical and            The Forest Society of Maine is a
because the harvests would create early      biological features essential to lynx       conservation easement holder in
successional habitat beneficial to lynx.     conservation in an area representing        northern Maine, and has been working
Consultations in northern Maine have         about 9.3 percent of the designated         with the Service since the late 1990s.
been mostly on small Federal actions         critical habitat unit. Proactively          We have a long partnership with the
(less than 15 ac; 6 ha) that have few        developing conservation programs for        Passamaquoddy Tribe that includes
consequences to lynx, which require          lynx across large ownerships can be a       consulting on Tribal silvicultural
large landscapes of 35,000 ac (14,164        more effective recovery strategy than       projects, cooperative research, review of
ha) or more; therefore, the results of       project-by-project planning in a            forest management plans, and
these informal consultations were that       landscape where consultation under          implementation of Service conservation
the projects would have no effect on         section 7 is rarely applicable. Lynx        recommendations. Many of the HFRP
lynx or would not likely adversely affect    require large home ranges, and lynx and     enrollees contribute as members to the
lynx.                                        snowshoe hare habitat occurs in a           University of Maine Cooperative Forest
   A potential benefit of critical habitat   habitat mosaic across the landscape that    Research Unit (CFRU). The CFRU has
designation would be to signal the           changes with time and space as forests      funded numerous lynx and snowshoe
importance of these lands to Federal         age or disturbances occur (e.g., insect     hare studies that have advanced our
agencies, scientific organizations. State    outbreaks or timber management). The        understanding of lynx population
and local governments, and the public        HFRP plans address landscape-level          dynamics and habitat relationships.
to encourage conservation efforts to         planning and actions for forestry-related   Landowners have facilitated research
benefit the lynx and its habitat. By         activities within the context of lynx­      and surveys by allowing access to their
publication of the proposed rule and         specific guidelines, which can facilitate   lands and logistical support. The
this final rule, we are educating the        lynx recovery. The HFRP contracts           positive experiences from HFRP
public of the location of core lynx          operate under a programmatic biological     enrollment will promote continued
habitat and areas most important for the     opinion under section 7(a)(2), enabling     support for funding and continued lynx
conservation and recovery of the lynx        a coordinated, multi-landowner              research.
DPS. In addition, designation of critical    approach to lynx conservation on               Some of the enrolled lands could be
habitat on HFRP enrollee lands could         private lands.                              sold, and it may be argued that new
provide some educational benefit                Contracts committing enrollees to        owners may not participate in long-term
through the rulemaking process.              implement the HFRP build on the             lynx management. However, new
                                             ongoing partnership between the             landowners could benefit from the
Benefits of Exclusion                        Service, the NRCS, the Maine                incidental take coverage offered by
  A Federal nexus on HFRP lands is           Department of Inland Fisheries and          HFRP or future Safe Harbor Agreements
rare, and development is unlikely            Wildlife, and the HFRP enrollees. The       as a result of HFRP plans. Lands under
because conservation easements exist on      contracts provide assurances to the         conservation easements would require
many of these lands. Section 7(a)(2)         Service that individual landowners will     planning for Federally listed species.


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and new landowners would have an             development of lynx forest management        also provide assurances that the species
incentive to continue to implement           plans and initial implementation is          will not go extinct. The protections
plans to meet their easement                 being paid for by NRCS. The HFRP             afforded the lynx under the jeopardy
requirements. Many of the owners have        plans provide a high degree of public        standard will remain in place for the
SFI or FSC certifications, which have        benefit for lynx and other wildlife that     areas excluded from revised critical
similar requirements for State and           share their habitat.                         habitat. We, therefore, exclude lands
Federally listed species planning.              The benefits of excluding HFRP lands      managed in accordance with the HFRP
Therefore, substantial incentives exist      from critical habitat outweigh the           from Unit 1 of this final revised
for a new landowner to honor existing        benefits of retaining these lands as         designation of critical habitat for the
lynx management plans.                       critical habitat. Educational benefits can   lynx DPS.
  Some landowners do not trust that the      be realized by critical habitat
regulatory effect of critical habitat        designation, which informs the public        State of Washington Department of
designation is limited, and they do not      via the rulemaking process. However,         Natural Resources Lynx Habitat
want an additional layer of Federal          education has already been realized          Management Plan for DNR-Managed
regulation on their private property.        through the HFRP. The best scientific        Lands (WDNR LHMP)
They are concerned that additional State     information regarding the long-term             The WDNR LHMP encompasses 197
regulations or local restrictions may be     conservation of lynx is being used and       mi^ (510 knU) of WDNR-managed lands
imposed as a result of the designation of    shared with landowners to assist in the      distributed throughout north-central
critical habitat. Enrollees in the HFRP      development of their plans. We               and northeastern Washington in areas
are some of the largest landowners in        participate in the delivery of this          delineated as Lynx Management Zones
Maine. The cooperation and partnership       information. We will continue to review      in the Washington State Lynx Recovery
of these landowners is needed to             Federal actions under Section 7(a)(2) of     Plan (Stinson 2001, p. 39; Washington
achieve recovery of lynx in Maine. If        the Act, although the only likely Federal    DNR 2006, pp. 5-13). Of the area
designation causes their alienation, it      action we foresee on the lands enrolled      covered by the plan, 164.2 mi^ (425
would be counterproductive to                in HFRP will be on the consultation          km^) overlaps the area designated as
designate on their lands.                    required for development of the              critical habitat. The WDNR LHMP was
                                             individual plans. A programmatic             finalized in 2006, and is a revision of
Benefits of Exclusion Outweigh the
                                             biological opinion has already been          the lynx plan that WDNR had been
Benefits of Inclusion
                                             prepared, and it addresses lynx habitat      implementing since 1996. The 1996
   We have determined that there would       in detail.                                   plan was developed as a substitute for
be minimal benefit in designating lands         The HFRP provides an opportunity          a species-specific critical habitat
enrolled in the HFRP as critical habitat     for us to work in partnership with           designation required by Washington
for the lynx DPS within Unit 1. We           landowners across several landscape
                                                                                          Forest Practices rules in response to the
evaluated the exclusion of                   scales and ownerships. The HFRP
approximately 943.2 mi- (2,443 km-) of                                                    lynx being State-listed as threatened
                                             demonstrates that our lynx management
lands enrolled in the HFRP and                                                            (Washington DNR 2006, p. 5). The 2006
                                             guidelines are a flexible, outcome-based
determined that inclusion of these lands                                                  WDNR LHMP provided further
                                             approach to addressing lynx recovery in
would result in few benefits; minimal                                                     provisions to avoid the incidental take
                                             northern Maine that can be adapted to
consultation under section 7, and                                                         of lynx (Washington DNR 2006, p. 6).
                                             a variety of landowner types and
minimal education related to lynx                                                         WDNR is committed to following the
                                             landscapes. The HFRP lynx forest
conservation would be realized.                                                           LHMP until 2076, or until the lynx is
                                             management plans will employ state-of-
   The HFRP lynx management plans                                                         delisted (Washington DNR 2006, p. 6).
                                             the-art habitat mapping, apply the best
will be effective and directly address all                                                WDNR requested that lands subject to
                                             available science, and have a high
of the physical and biological features      likelihood of being carried out. We          the plan be excluded from critical
essential to lynx by incorporating the       believe that the benefits of excluding       habitat.
Service’s lynx conservation guidelines.      lands managed in accordance with the            The WDNR LHMP contains measures
These conservation actions and               HFRP outweigh the benefits of                to guide WDNR in creating and
management for the lynx and the              inclusion, particularly because these        preserving quality lynx habitat through
physical and biological features             landowners have committed to                 its forest management activities. The
essential to it within large landscapes      developing long-term lynx habitat plans      objectives and strategies of the LHMP
exceed any conservation value provided       and on-the-ground management                 are developed for multiple planning
as a result of regulatory protections that   affecting large landscapes. Therefore, in    scales (ecoprovince and ecodivision,
have been or may be afforded through         this final rule, we have not designated      Lynx Management Zone, Lynx Analysis
critical habitat designation. The            critical habitat for the lynx DPS on         Unit (LAU), and ecological community),
exclusion of these lands from critical       HFRP-enrolled lands.                         and include:
habitat will help preserve partnerships                                                      (1) Encouraging genetic integrity at
developed with the landowners. Most of       Exclusion Will Not Result in Extinction      the species level by preventing
the HFRP enrollees have a demonstrated       of the Species                               bottlenecks between British Columbia
track record of working with the Service       Exclusion of 943.2 mi^ (2,443 km^)         and Washington by limiting size and
and helping to fund lynx research. The       from Unit 1 of this final revised critical   shape of temporary non-habitat along
HFRP plans will have a high probability      habitat designation will not result in the   the border and maintaining major routes
of implementation due to the 10-year         extinction of the species, because the       of dispersal between British Columbia
contract with NRCS and significant           HFRP plans provide for the                   and Washington;
incentives (e.g., Safe Harbor,               conservation of the species and the             (2) Maintaining connectivity between
requirements of forest certification and     physical and biological features             subpopulations by maintaining
conservation easements, continued            essential to it. The jeopardy standard of    dispersal routes between and within
funding and possibly additional funds),      section 7(a)(2) of the Act and routine       zones and arranging timber harvest
and could continue for a 70-year period.     implementation of conservation               activities that result in temporary non­
Funding is assured because                   measures through the section 7 process       habitat patches among watersheds so


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that connectivity is maintained within        wdfw. wa.gov/wlm/diversty/soc/               DPS on lands managed in accordance
each zone;                                    recovery/Iynx/lynx.htm,                      with the WDNR LHMP.
   (3) Maintaining the integrity of           WWW. dnr. wa .gov/htd ocs/amp/sepa/
requisite habitat types within individual                                                  Exclusion Will Not Besult in Extinction
                                              Iynx/l_toc.pdfi.
home ranges by maintaining                                                                 of the Species
connectivity between and integrity            Benefits of Exclusion                          We have determined that the
within home ranges used by individuals           The WDNR LHMP has provided                exclusion of lands managed in
and/or family groups; and                     substantial protection of features           accordance with the WDNR LHMP from
   (4) Providing a diversity of               essential to the conservation of lynx on     Unit 4 of this final revised critical
successional stages within each LAU           WDNR lands, and has provided a greater       habitat designation for the lynx DPS
and connecting denning sites and              level of management for the lynx on          will not result in the extinction of the
foraging sites with forested cover            these State lands than would be              species because the WDNR plan
without isolating them with open areas        achieved with the designation of critical    provides for the conservation of the
by prolonging the persistence of              habitat. Because the LHMP provides           species and the physical and biological
snowshoe hare habitat and retaining           lynx-specific objectives and strategies      features essential to it. The jeopardy
coarse woody debris for denning sites         for different planning scales, guidelines    standard of section 7(a)(2) of the Act
(Washington DNR 2006, p. 29].                 to meet the objectives, and monitoring       and routine implementation of
   The LHMP identifies specific               to evaluate implementation and               conservation measures through the
guidelines to achieve the objectives and      effectiveness, the measures contained in     section 7 process also provide
strategies at each scale; it also describes   the WDNR LHMP exceed any measures            assurances that the subspecies will not
how WDNR will monitor and evaluate            that might result from critical habitat      go extinct. The protections afforded to
the implementation and effectiveness of       designation. As a result, we do not          the lynx under the jeopardy standard
the LHMP (Washington DNR 2006, pp.            anticipate any actions on these lands        will remain in place for the areas
29-63). WDNR has been managing for            that would destroy or adversely modify       excluded from revised critical habitat.
lynx for almost two decades, and the          habitats essential to the conservation of    We, therefore, exclude 164.2 mi- (425
Service has concluded that the                the lynx DPS. The exclusion of WDNR          km^) of lands managed in accordance
management strategies implemented are         lands from critical habitat would help       with the WDNR LHMP from Unit 4 of
effective.                                    preserve the partnerships that we have       this final revised lynx critical habitat
   In the final revised critical habitat      developed with the State of Washington       designation.
designation, published in the Federal         through development and
Register on February 25, 2009 (74 FR                                                       Montana Department of Natural
                                              implementation of the 2006 LHMP and
8657-8658), we determined that the                                                         Resources and Conservation Forested
                                              the original 1996 lynx plan, both of
benefits of excluding lands managed in                                                     Trust Lands Habitat Conservation Plan
                                              which provide for long-term lynx
accordance with the WDNR LHMP                                                              (MDNRC HCP)
                                              conservation.
outweighed the benefits of including                                                         The Montana Department of Natural
them in the designation, and that doing       Benefits of Exclusion Outweigh the           Resources and Conservation (MDNRC)
so would not result in extinction of the      Benefits of Inclusion                        Forested Trust Lands Habitat
species. We reaffirm that determination         We evaluated the exclusion of              Conservation Plan (HCP; Montana
based on the analysis below.                  approximately 164.2 nii- (425 km-) of        Department of Natural Resources and
                                              lands managed by the WDNR. Including         Conservation and U.S. Fish and Wildlife
Benefits of Inclusion                         WDNR lands managed in accordance             Service 2010a, entire; 2010b, entire;
   On WDNR State lands, it is                 with the LHMP in the final designation       2010c, entire) was permitted in 2011
uncommon for an action with a Federal         would likely not lead to any changes in      under section 10(a)(1)(B) of the Act for
nexus that triggers consultation under        WDNR management (to further avoid            a period of 50 years (U.S. Fish and
section 7 of the Act to occur; therefore,     destroying or adversely modifying that       Wildlife Service 2011a, entire; 2011b,
little benefit would be realized through      habitat), and, therefore, the benefits of    entire). The HCP covers about 857 mi^
section 7 consultation if these lands         inclusion are low. We find that few          (2,220 kin-) of forested State trust lands
were included in the designation. Some        additional conservation benefits would       in western Montana. The HCP trust
educational benefits to designating           be realized through section 7 of the Act,    lands occur on both blocked and
critical habitat for lynx on WDNR-            because actions on these State lands         scattered parcels within three MDNRC
managed lands may exist. However, we          rarely have a Federal nexus. The habitat     land offices, the Northwestern, Central,
believe there is already substantial          conservation measures addressing the         and Southwestern Land Offices.
awareness of the lynx and conservation        features essential to conservation of the    Blocked lands are primarily three State
issues related to the lynx through the        lynx are already being implemented on        Forests: Stillwater, Coal Creek, and
species being listed both under the Act       WDNR lands under the WDNR LHMP,              Swan. Scattered parcels refer to all other
and Washington State law; through the         have a proven record of effectiveness,       HCP project lands outside of blocked
public review process for the WDNR            will be in place until at least 2076, and    lands. About 271.4 mi^ (703 km^) of
LHMP, Washington’s Lynx Recovery              are providing for physical and biological    lands managed in accordance with the
Plan, and the revision of the Okanogan-       features essential to the conservation of    HCP overlap the designated lynx critical
Wenatchee National Forest Management          the species.                                 habitat in Unit 3, and about 1.3 mi^ (3.3
Plan; lynx and snowshoe hare research           Based on the above considerations,         km^) of HCP-managed lands overlap
being conducted by the USFS Pacific           and consistent with the direction            critical habitat in Unit 5. Of this total,
Northwest Research Station,                   provided in section 4(b)(2) of the Act,      about 73 percent (200 mi^ (518 km^))
Washington State University, University       we find that greater benefits to lynx will   occurs in high-priority areas for lynx
of Washington, and the University of          be achieved by excluding these WDNR          conservation known as Lynx
Montana; surveys being conducted by           lands from the final designation than        Management Areas (LMAs), with the
Washington Department of Fish and             would be achieved by including them.         remainder in scattered blocks (Montana
Wildlife and the USFS; and State of           Therefore, in this final rule, we have not   Department of Natural Resources and
Washington Web sites (e.g., http://           designated critical habitat for the lynx     Conservation and U.S. Fish and Wildlife


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Service 2010a, p. 4-365; 2010b, pp. 2­           (3) Retain coarse woody debris and       outline (U.S. Fish and Wildlife Service
45-2-61; 2010c, p. D-67; U.S. Fish and        other denning attributes;                   2005, entire); the HCP support of
Wildlife Service 2011a, pp. III-42-III-          (4) Limit conversion of suitable lynx    Montana Department of Fish, Wildlife,
45).                                          habitat to temporarily nonsuitable          and Parks’ (MFWP) lynx strategy set
   The HCP covers activities that are         habitat per decade in LMAs;                 forth in its Comprehensive Fish and
primarily associated with commercial             (5) Ensure adequate amounts of           Wildlife Conservation Strategy
forest management, but includes grazing       foraging habitat are maintained in          (Montana Department of Fish, Wildlife,
on forested trust lands. In addition to       LMAs;                                       and Parks 2005, pp. 400-402); lynx and
lynx, the HCP also covers grizzly bears          (6) Provide for habitat connectivity     snowshoe hare research being
[Ursus arctos horribilis) and bull trout      where vegetation and ownership              conducted by the USFS Rocky
[Salvelinus confluentus], both listed as      patterns allow; and                         Mountain Research Station and the
threatened under the Act, and two non­           (7) Maintain suitable lynx habitat on    University of Montana; surveys being
listed fish species, the westslope            MDNRC scattered parcels outside LMAs        conducted by MFWP and the USFS; and
cutthroat trout {Oncorhynchus clarkii         (Montana Department of Natural              State of Montana Web sites (e.g.,
lewisi} and the Interior (Columbia River)     Resources and Conservation and U.S.         http://fwp.mt.gov/fish andwildlife/
redband trout [Oncorhynchus mykiss            Fish and Wildlife Service 2010b, pp. 2­     species/threatened/canadaLynx/
gairdneri).                                   45-2-61).                                   default.html, http://dnrc.mt.gov/HCP/
   The HCP includes a Lynx                       The Lynx Conservation Strategy           Species.aspf
Conservation Strategy (Montana                through the HCP places additional
Department of Natural Resources and           conservation emphasis on geographic         Benefits of Exclusion
Conservation and U.S. Fish and Wildlife       areas most likely to remain high-priority      The MDNRC HCP provides
Service 2010b, pp. 2-45-2-61) consisting      areas to promote lynx conservation into     substantial protection of features
of a suite of lynx habitat commitments        the future (Montana Department of           essential to the conservation of lynx on
that apply to all lands in the HCP            Natural Resources and Conservation and      HCP-managed lands and provides a
project area supporting lynx habitat and      U.S. Fish and Wildlife Service 2010b, p.    greater level of management for the lynx
additional commitments that apply to          2-53). These HCP lands occur in             on these State lands than would be
LMAs. The HCP was finalized in 2011,          primary lynx habitat types, and are thus    achieved with designation of critical
and MDNRC has been implementing the           likely to provide snow depths and           habitat. Because the HCP provides lynx­
HCP Lynx Conservation Strategy since          vegetation species compositions             specific objectives and strategies for
the first year of implementation in 2012      necessary to provide preferred winter       different geographic locations,
(Montana Department of Natural                foraging conditions, as well as ensure      guidelines to meet the objectives, and
Resources and Conservation 2013a,             that the HCP helps support Federal          monitoring to evaluate implementation
2013b, 2013c, entire; 2014a, 2014b,           efforts to provide adequate amounts of      and effectiveness, the measures
entire). The Lynx Conservation Strategy       suitable lynx habitat. It also describes    contained in the HCP exceed any
incorporates many of the existing             how MDNRC will monitor and evaluate         measures that might result from critical
Administration Rules of Montana               the implementation and effectiveness of     habitat designation. As a result, we do
(ARMs) for forest management                  the HCP (Montana Department of              not anticipate any actions on these
activities, and it describes the additional   Natural Resources and Conservation and      lands that would reduce the landscape­
HCP commitments based on recent               U.S. Fish and Wildlife Service 2010b,       scale availability of important lynx and
information and research. The Lynx            pp. 4-27-4-37). Prior to the HCP,           hare habitats or otherwise diminish the
Conservation Strategy minimizes               MDNRC had been managing diligently          conservation value of these lands to the
impacts of forest management activities       for lynx for over a decade under existing   lynx DPS.
on lynx and lynx critical habitat             ARMS. The HCP and the ARMS                     The exclusion of MDNRC HCP-
associated with the HCP, while allowing       combined will ensure that habitat           managed lands from critical habitat
MDNRC to meet its fiduciary and               features important for conservation of      would help preserve the partnerships
stewardship trust responsibilities.           lynx will occur on MDNRC’s HCP-             that have developed between the
MDNRC requested that lands subject to         managed lands in the long term.             Service and the State through
the HCP be excluded from critical                                                         development and implementation of the
                                              Benefits of Inclusion
habitat.                                                                                  HCP, the existing ARMs, the
   The goal of the Lynx Conservation             On MDNRC HCP State lands, it is          Comprehensive Fish and Wildlife
Strategy is to support Federal lynx           relatively infrequent for an action with    Conservation Strategy, and the intent of
conservation efforts by managing for          a Federal nexus that triggers               the State Forest Land Management Plan,
habitat elements important to lynx and        consultation under section 7 of the Act     all of which provide for long-term lynx
their prey that contribute to the             to occur; therefore, little benefit would   conservation. Requiring additional
landscape-scale occurrence of lynx. HCP       be realized through section 7               redundant processes of permit
commitments in the strategy are               consultation if these lands were            applicants/holders who have already
associated with two types of habitat          included in the critical habitat            undergone an extensive Federal process
areas: (1) lynx habitat on lands within       designation. Some educational benefits      to apply for a permit also appreciably
the HCP, and (2) lynx habitat on specific     of designating critical habitat for lynx    undermines the benefit of HCPs for
LMA subunits of HCP lands where               on MDNRC HCP managed lands may              cooperators and reduces the certainty
resident lynx are known to occur or           exist. However, we believe there is         otherwise provided by a single clear
likely to occupy the area periodically.       already substantial awareness of the        plan.
The HCP includes specific objectives to       lynx and conservation issues related to
                                              the lynx through the species being listed   Benefits of Exclusion Outweigh the
achieve this goal:
   (1) Minimize potential for disturbance     under the Act and addressed by              Benefits of Inclusion
to known den sites;                           Montana State law; through the public         We have evaluated the exclusion of
   (2) Map potential lynx winter              review process for the MDNRC HCP;           approximately 272.7 mi- (706 km^) of
foraging, summer foraging, and                MDNRC’s forest management                   lands managed by the MDNRC in
temporarily non-suitable habitats;            consistency with the Lynx recovery          accordance with the HCP. We have


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determined that it is unlikely that          Regulatory Affairs has determined that        $11.5 million in annual business, and
including these HCP-managed areas in         this rule is not significant.                 agricultural businesses with annual
the final designation would lead to any        Executive Order 13563 reaffirms the         sales less than $750,000. To determine
changes in MDNRC management (i.e.,           principles of E.O. 12866 while calling        if potential economic impacts to these
no additional conservation measures          for improvements in the nation’s              small entities are significant, we
would be recommended to further avoid        regulatory system to promote                  considered the types of activities that
impacts to lynx and hare habitats);          predictability, to reduce uncertainty,        might trigger regulatory impacts under
therefore, the benefits of inclusion are     and to use the best, most innovative,         this designation as well as types of
low.                                         and least burdensome tools for
                                                                                           project modifications that may result. In
   We find that few (if any) additional      achieving regulatory ends. The
                                                                                           general, the term “significant economic
conservation benefits would be realized      executive order directs agencies to
                                             consider regulatory approaches that           impact” is meant to apply to a typical
through section 7 of the Act, because
                                             reduce burdens and maintain flexibility       small business firm’s business
activities with a Federal nexus are
                                             and freedom of choice for the public          operations.
infrequent on these State lands.
Additionally, the habitat conservation       where these approaches are relevant,             The Service’s current understanding
measures addressing the features             feasible, and consistent with regulatory      of the requirements under the RFA, as
essential to conservation of the lynx are    objectives. E.O. 13563 emphasizes             amended, and following recent court
already being implemented on MDNRC           further that regulations must be based        decisions, is that Federal agencies are
lands under the MDNRC HCP, have              on the best available science and that        only required to evaluate the potential
been demonstrated to be effective, will      the rulemaking process must allow for         incremental impacts of rulemaking on
be in place until at least 2061, and are     public participation and an open              those entities directly regulated by the
providing for the maintenance and            exchange of ideas. We have developed          rulemaking itself, and therefore, not
protection of the physical and biological    this rule in a manner consistent with         required to evaluate the potential
features essential to the conservation of    these requirements.
                                                                                           impacts to indirectly regulated entities.
the lynx DPS.                                Regulatory Elexibility Act (5 U.S.C. 601      The regulatory mechanism through
   We have, therefore, determined that       et seq.)                                      which critical habitat protections are
the benefits of excluding lands managed                                                    realized is section 7 of the Act, which
                                                Under the Regulatory Flexibility Act
in accordance with the MDNRC HCP in                                                        requires Federal agencies, in
                                             (RFA; 5 U.S.C. 601 ef seq.), as amended
Unit 3 and Unit 5 outweigh the benefits                                                    consultation with the Service, to ensure
                                             by the Small Business Regulatory
of including these lands as critical
                                             Enforcement Fairness Act of 1996              that any action authorized, funded, or
habitat. Based on the above
                                             (SBREFA; 5 U.S.C. 801 etseq.),                carried out by the Agency is not likely
considerations, and consistent with the
                                             whenever an agency is required to             to destroy or adversely modify critical
direction provided in section 4(b)(2) of
                                             publish a notice of rulemaking for any        habitat. Therefore, under section 7 only
the Act, we find that greater benefits to
                                             proposed or final rule, it must prepare       Federal action agencies are directly
lynx are likely to be achieved by
                                             and make available for public comment         subject to the specific regulatory
excluding MDNRC HCP lands from the
                                             a regulatory flexibility analysis that        requirement (avoiding destruction and
final designation than by including
                                             describes the effects of the rule on small    adverse modification) imposed by
them.
                                             entities (i.e., small businesses, small       critical habitat designation.
Exclusion Will Not Result in Extinction      organizations, and small government           Consequently, it is our position that
of the Species                               jurisdictions). However, no regulatory
                                                                                           only Federal action agencies will be
                                             flexibility analysis is required if the
  The MDNRC HCP (1) provides                                                               directly regulated by this designation.
                                             head of the agency certifies the rule will
biologically meaningful and quantifiable                                                   There is no requirement under RFA to
                                             not have a significant economic impact
measures for the long-term conservation                                                    evaluate the potential impacts to entities
                                             on a substantial number of small
of the lynx and the physical and                                                           not directly regulated. Moreover,
                                             entities. The SBREFA amended the RFA
biological features essential to it, (2)                                                   Federal agencies are not small entities.
                                             to require Federal agencies to provide a
includes long-term certainty of                                                            Therefore, because no small entities are
                                             certification statement of the factual
implementation, (3) employs rigorous                                                       directly regulated by this rulemaking,
                                             basis for certifying that the rule will not
monitoring and reporting requirements,                                                     the Service certifies that, if
                                             have a significant economic impact on
and (4) applies an adaptive management                                                     promulgated, the final critical habitat
                                             a substantial number of small entities.
approach. Therefore, it is our                  According to the Small Business            designation will not have a significant
determination that the exclusion of          Administration, small entities include        economic impact on a substantial
MDNRC HCP lands from critical habitat        small organizations such as                   number of small entities.
will not result in the extinction of the     independent nonprofit organizations;
DPS. We, therefore, exclude 271.4 mi-                                                         During the development of this final
                                             small governmental jurisdictions,
(703 km^) of lands managed in                                                              rule we reviewed and evaluated all
                                             including school boards and city and
accordance with the MDNRC HCP from                                                         information submitted during the
                                             town governments that serve fewer than
Unit 3, and 1.3 mi^ (3.3 km^) from Unit                                                    comment period that may pertain to our
                                             50,000 residents; and small businesses
5 of this final revised lynx critical        (13 CFR 121.201). Small businesses            consideration of the probable
habitat designation.                         include manufacturing and mining              incremental economic impacts of this
                                             concerns with fewer than 500                  critical habitat designation. Based on
Required Determinations
                                             employees, wholesale trade entities           this information, we affirm our
Regulatory Planning and Review               with fewer than 100 employees, retail         certification that this final critical
(Executive Orders 12866 and 13563)           and service businesses with less than $5      habitat designation will not have a
  Executive Order 12866 provides that        million in annual sales, general and          significant economic impact on a
the Office of Information and Regulatory     heavy construction businesses with less       substantial number of small entities,
Affairs (OIRA) will review all significant   than $2 7.5 million in annual business,       and a regulatory flexibility analysis is
rules. The Office of Information and         special trade contractors doing less than     not required.


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Energy Supply, Distribution, or Use—           accordingly. At the time of enactment,        Takings—Executive Order 12630
Executive Order 13211                          these entitlement programs were:                In accordance with Executive Order
   Executive Order 13211 (Actions              Medicaid; Aid to Families with                12630 (“Government Actions and
Concerning Regulations That                    Dependent Children work programs;             Interference with Constitutionally
Significantly Affect Energy Supply,            Child Nutrition; Food Stamps; Social          Protected Private Property Rights”), we
Distribution, or Use) requires agencies        Services Block Grants; Vocational             have analyzed the potential takings
to prepare Statements of Energy Effects        Rehabilitation State Grants; Foster Care,     implications of designating critical
when undertaking certain actions. OMB          Adoption Assistance, and Independent          habitat for the lynx DPS in a takings
                                               Living; Family Support Welfare                implications assessment. We conducted
has provided guidance for
                                               Services; and Child Support
implementing this Executive Order that                                                       an economic analysis which determined
                                               Enforcement. “Federal private sector          that (1) the designation of revised
outlines nine outcomes that may
                                               mandate” includes a regulation that
constitute “a significant adverse effect”                                                    critical habitat for the lynx is unlikely
                                               “would impose an enforceable duty
when compared to not taking the                                                              to generate costs exceeding $100 million
                                               upon the private sector, except (i) a
regulatory action under consideration.                                                       in a single year, (2) the economic costs
                                               condition of Federal assistance or (ii) a
Our economic analyses of the proposed                                                        of implementing the rule through
                                               duty arising from participation in a
and final rules found that none of these                                                     section 7 of the Act will most likely be
                                               voluntary Federal program.”
criteria are relevant to this analysis, and       The designation of critical habitat        limited to the additional administrative
it did not identify any potentially            does not impose a legally binding duty        effort required to consider adverse
significant effects of lynx critical habitat   on non-Federal Government entities or         modification, and (3) the revised
designation on energy supply,                  private parties. Under the Act, the only      designation is not expected to trigger
distribution, or use. Thus, based on           regulatory effect is that Federal agencies    additional requirements under State or
information in the economic analysis,          must ensure that their actions do not         local regulations. We also completed a
significant energy-related impacts             destroy or adversely modify critical          Takings Implication Assessment (TIA)
associated with lynx conservation              habitat under section 7. While non-           in which we determined that revising
activities within critical habitat are not     Federal entities that receive Federal         the designation of critical habitat for the
expected. As such, the designation of          funding, assistance, or permits, or that      lynx would not deny anyone
critical habitat is not expected to            otherwise require approval or                 economically viable use of their
significantly affect energy supplies,          authorization from a Federal agency for       property or result in a direct and
distribution, or use. Therefore, this          an action, may be indirectly impacted         immediate interference with property
action is not a significant energy action,     by the designation of critical habitat, the   nor in physical occupation of anyone’s
and no Statement of Energy Effects is          legally binding duty to avoid                 property. We have concluded, therefore,
required.                                      destruction or adverse modification of        that this designation is not likely to
                                               critical habitat rests squarely on the        result in either a regulatory or a physical
Unfunded Mandates Reform Act (2
                                               Federal agency. Furthermore, to the           taking in accordance with the Fifth
U.S.C. 1501 etseq.)
                                               extent that non-Federal entities are          Amendment of the Constitution. Based
  In accordance with the Unfunded              indirectly impacted because they              on the best available information, the
Mandates Reform Act (2 U.S.C. 1501 et          receive Federal assistance or participate     TIA concludes that this designation of
seq.f we make the following findings:          in a voluntary Federal aid program, the       critical habitat for the lynx does not
   (1) This rule will not produce a            Unfunded Mandates Reform Act would            pose significant takings implications.
Federal mandate. In general, a Federal         not apply, nor would critical habitat
mandate is a provision in legislation,                                                       Eederalism—Executive Order 13132
                                               shift the costs of the large entitlement
statute, or regulation that would impose       programs listed above onto State                In accordance with E.O. 13132
an enforceable duty upon State, local, or      governments.                                  (Federalism), this final rule does not
Tribal governments, or the private                (2) We do not believe that this rule       have significant Federalism effects. A
sector, and includes both “Federal             will significantly or uniquely affect         Federalism assessment is not required.
intergovernmental mandates” and                small governments because it would not        In keeping with Department of the
“Federal private sector mandates.”             produce a Federal mandate of $100             Interior and Department of Commerce
These terms are defined in 2 U.S.C.            million or greater in any year; that is, it   policy, we requested information from,
658(5)-(7). “Federal intergovernmental         is not a “significant regulatory action”      and coordinated development of the
mandate” includes a regulation that            under the Unfunded Mandates Reform            proposed critical habitat designation
“would impose an enforceable duty              Act. The FEA concludes incremental            with, appropriate State resource
upon State, local, or Tribal                   impacts may occur due to                      agencies in Idaho, Maine, Minnesota,
governments” with two exceptions. It           administrative costs of section 7             Montana, Washington, and Wyoming.
excludes “a condition of Federal               consultations; however, these are not         We received comments from Idaho
assistance.” It also excludes “a duty          expected to significantly affect small        (Office of Species Conservation,
arising from participation in a voluntary      governments. Incremental impacts              Department of Fish and Game, and
Federal program,” unless the regulation        stemming from various species                 Department of Lands); Maine
“relates to a then-existing Federal            conservation and development control          (Department of Inland Fisheries and
program under which $500,000,000 or            activities are expected to be borne           Wildlife); Montana (Department of
more is provided annually to State,            largely by the Federal Government not         Natural Resources and Conservation);
local, and Tribal governments under            by any other organizations that could be      New Mexico (Department of Agriculture
entitlement authority,” if the provision       considered small governments.                 and Department of Game and Fish);
would “increase the stringency of              Consequently, we do not believe that          Washington (Department of Natural
conditions of assistance” or “place caps       the critical habitat designation would        Resources); and Wyoming (Office of the
upon, or otherwise decrease, the Federal       significantly or uniquely affect small        Governor, Legislature’s Select
Government’s responsibility to provide         government entities. As such, a Small         Committee on Federal Natural Resource
funding,” and the State, local, or Tribal      Government Agency Plan is not                 Management, and Game and Fish
governments “lack authority” to adjust         required.                                     Department), Fremont, Lincoln, Park,


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and Sublette Counties Boards of County        features essential to the conservation of    effects on the environment, except
Commissioners and Shoshone                    the lynx DPS. The designated areas of        through the section 7 consultation
Cooperating Agency Coalition; and the         critical habitat are presented on maps,      process. This is because critical habitat
Coalition of Local Governments                and the rule provides several options for    designation does not impose broad rules
representing the County Commissions           the interested public to obtain more         or restrictions on land use, nor does it
and Conservation Districts for Lincoln,       detailed location information, if desired.   automatically prohibit any land use
Sweetwater, Uinta, and Sublette                                                            activity. We also concluded that,
                                              Paperwork Reduction Act of 1995 (44
Counties) and have addressed them in                                                       although designation could alter or
                                              U.S.C. 3501 et seq.)
the Summary of Comments and                                                                result in restrictions on some activities,
Recommendations section of the rule.             This rule does not contain any new        mostly on Federal lands, it is not likely
From a federalism perspective, the            collections of information that require      to result in substantial impacts to the
designation of critical habitat directly      approval by OMB under the Paperwork          physical or human environment. Our
affects only the responsibilities of          Reduction Act of 1995 (44 U.S.C. 3501        analysis did not identify any adverse
Federal agencies. The Act imposes no          et seq.). This rule will not impose          effects unique to minority or low-
other duties with respect to critical         recordkeeping or reporting requirements      income human populations in the
habitat, either for States and local          on State or local governments,               affected areas nor the potential to cause
governments, or for anyone else. As a         individuals, businesses, or                  irreversible or irretrievable
result, the rule does not have substantial    organizations. An agency may not             environmental impacts, directly,
direct effects either on the States, or on    conduct or sponsor, and a person is not      indirectly, or cumulatively.
the relationship between the national         required to respond to, a collection of
                                              information unless it displays a             Government-to-Government
government and the States, or on the
                                              currently valid OMB control number.          Relationship With Tribes
distribution of powers and
responsibilities among the various                                                            In accordance with the President’s
                                              National Environmental Policy Act (42
levels of government. The designation                                                      memorandum of April 29, 1994
                                              U.S.C. 4321 et seq.)
may have some benefit to these                                                             (Government-to-Government Relations
governments because the areas that              It is our position that, outside the       with Native American Tribal
contain the features essential to the         jurisdiction of the U.S. Court of Appeals    Governments; 59 FR 22951), Executive
conservation of the species are more          for the Tenth Circuit, we do not need to     Order 13175 (Consultation and
clearly defined, and the physical and         prepare environmental analyses               Coordination with Indian Tribal
biological features of the habitat            pursuant to the National Environmental       Governments), and the Department of
necessary to the conservation of the          Policy Act (NEPA; 42 U.S.C. 4321 et          the Interior’s manual at 512 DM 2, we
species are specifically identified. This     seq.) in connection with designating         readily acknowledge our responsibility
information does not alter where and          critical habitat under the Act. We           to communicate meaningfully with
what federally sponsored activities may       published a notice outlining our reasons     recognized Federal Tribes on a
occur. However, it may assist these local     for this determination in the Federal        government-to-government basis. In
governments in long-range planning            Register on October 25, 1983 (48 FR          accordance with Secretarial Order 3206
(because these local governments no           49244). This position was upheld by the      of June 5, 1997 (American Indian Tribal
longer have to wait for case-by-case          U.S. Court of Appeals for the Ninth          Rights, Federal-Tribal Trust
section 7 consultations to occur).            Circuit [Douglas County v. Babbitt, 48       Responsibilities, and the Endangered
  Where State and local governments           F.3d 1495 (9th Cir. 1995), cert, denied      Species Act), we readily acknowledge
require approval or authorization from a      516 U.S. 1042 (1996)). However, when         our responsibilities to work directly
Federal agency for actions that may           the range of the species includes States     with tribes in developing programs for
affect critical habitat, consultation         within the Tenth Circuit, such as that of    healthy ecosystems, to acknowledge that
under section 7(a)(2) would be required.      lynx, under the Tenth Circuit ruling in      Tribal lands are not subject to the same
While non-Federal entities that receive       Catron County Board of Commissioners         controls as Federal public lands, to
Federal funding, assistance, or permits,      V. U.S. Fish and Wildlife Service, 75        remain sensitive to Indian culture, and
or that otherwise require approval or         F.3d 1429 (10th Cir. 1996), we               to make information available to tribes.
authorization from a Federal agency for       undertake a NEPA analysis for critical          Tribal lands in Maine, Minnesota, and
an action, may be indirectly impacted         habitat designation and notify the           Montana fall within the boundaries of
by the designation of critical habitat, the   public of the availability of the draft      this final designation in the Maine (Unit
legally binding duty to avoid                 environmental assessment for a               1), Minnesota (Unit 2), and Northern
destruction or adverse modification of        proposal when it is finished.                Rocky Mountains (Unit 3) critical
critical habitat rests squarely on the          We performed the NEPA analysis, and        habitat units. Tribal lands that fall
Federal agency.                               the draft environmental assessment was       within the designation include those of
                                              made available for public comment on         the Passamaquoddy Tribe and the
Civil Justice Reform—Executive Order          June 20, 2014 (79 FR 35303). The final       Penobscot Indian Nation in Maine, the
12988                                         environmental assessment and FONSI           Grand Portage Indian Reservation and
  In accordance with Executive Order          has been completed and is available for      Bois Forte Indian Reservation­
12988 (Civil Justice Reform), the Office      review with the publication of this final    Vermillion Lake District in Minnesota,
of the Solicitor has determined that the      rule. You may obtain a copy of the final     and the Confederated Salish and
rule does not unduly burden the judicial      environmental assessment and FONSI           Kootenai Tribes, Flathead Indian
system and that it meets the applicable       online at http://www.regulations.gov, by     Reservation in Montana.
standards set forth in sections 3(a) and      mail from the Montana Ecological                During development of the 2009 final
3(b)(2) of the Order. We are designating      Services Field Office (see ADDRESSES),       rule, we contacted and met with a
critical habitat in accordance with the       or by visiting our Web site at http://       number of Tribes to discuss the
provisions of the Act. To assist the          www.fws. go v/m ontanafieldoffice/.          proposed designation, and we also
public in understanding the habitat             In our environmental assessment, we        received comments from numerous
needs of the species, the rule identifies     concluded that designation of critical       Tribes requesting that their lands not be
the elements of physical or biological        habitat would not have any direct            designated as critical habitat because of


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their sovereign rights, in addition to             References Cited                                 Regulation Promulgation
concerns about economic impacts and                                                                   Accordingly, we amend part 17,
the effect on their ability to manage                 A complete list of all references cited
                                                   is available on the Internet at http://          subchapter B of chapter I, title 50 of the
natural resources. During development                                                               Code of Federal Regulations, as set forth
of the 2013 proposed rule and this final           www.regulations.gov, http://
                                                   www.fws.gov/mountain-prairie/species/            below:
rule, we also contacted the Tribes whose
lands were within the proposed revised             mammals/Iynx/index.htm, and upon
                                                                                                        PART 17—[AMENDED]
designation, and they confirmed their              request from the Montana Ecological
continued preference that Tribal lands             Services Field Office (see FOR FURTHER           ■ 1. The authority citation for part 17
                                                   INFORMATION CONTACT).
not be designated as lynx critical                                                                  continues to read as follows:
habitat. As described above (see                   Authors                                            Authority: 16 U.S.C. 1361-1407; 1531­
Application of Section 4(b)(2) of the                                                               1544; and 4201-4245, unless otherwise
Act—Exclusions Based on Other                        The primary authors of this                    noted.
Relevant Impacts), we determined in the            rulemaking are the staff members of the
                                                                                                    ■ 2. Amend § 17.11(h) by revising the
2009 final rule and reaffirm in this rule          Montana Fish and Wildlife Office, the
                                                                                                    entry for “Lynx, Canada” under
that the benefits of excluding these               Maine Fish and Wildlife Office, and the
                                                                                                    “Mammals” in the List of Endangered
Tribal lands from the final lynx critical          New England Fish and Wildlife Office.
                                                                                                    and Threatened Wildlife to read as
habitat designation outweigh the                   List of Subjects in 50 CFR Part 17               follows:
benefits of including them, and that
doing so will not result in extinction of            Endangered and threatened species.             § 17.11 Endangered and threatened
the lynx DPS. Therefore, we are not                Exports, Imports, Reporting and                  wildlife.
designating critical habitat for the lynx          recordkeeping requirements.                          *****
on Tribal lands.                                   Transportation.                                      (h) * * *

                 Species                                               Vertebrate popu­
                                                                                                                                      Special
                                                  Historic range     lation where endan-       Status      When listed                 rules
  Common name            Scientific name                             gered or threatened

     Mammals


Lynx, Canada........   Lynx canadensis ....    U.S.A. (AK, CO, ID,   Where found within    T                       692    17.95(a)      17.40(k)
                                                 ME, Ml, MN, MT,      contiguous
                                                 NH, NY, OR, UT,      U.S.A.
                                                 VT, WA, Wl,
                                                 WY), Canada,
                                                 circumboreal.




■ 3. In § 17.95, amend paragraph (a) by              (2) Within these areas the primary             accessing patches of boreal forest within
revising the entry for “Canada Lynx               constituent element for the Canada lynx           a home range.
(Lynx canadensis)” to read as follows:            is boreal forest landscapes supporting a             (3) Critical habitat does not include
                                                  mosaic of differing successional forest           manmade structures (such as buildings,
§17.95   Critical habitat—fish and wildlife.
                                                  stages and containing;                            aqueducts, runways, roads, and other
  (a) Mammals.                                       (i) Presence of snowshoe hares and             paved areas) and the land on which they
*     *  *     *           *                      their preferred habitat conditions,               are located existing within the legal
                                                  which include dense understories of               boundaries on October 14, 2014.
Canada Lynx (Lynx canadensis)
                                                  young trees, shrubs or overhanging                   (4) Critical habitat map units. Data
  (1) Critical habitat units are depicted         boughs that protrude above the snow,              layers defining map units were created
on the maps below for the following               and mature multistoried stands with               using a USA Contiguous Albers Equal
States and counties:                              conifer boughs touching the snow                  Area Conic projection. The maps in this
  (i) Idaho: Boundary County;                     surface;                                          entry establish the boundaries of the
  (ii) Maine: Aroostook, Franklin,                   (ii) Winter conditions that provide            critical habitat designation. The
Penobscot, Piscataquis, and Somerset              and maintain deep fluffy snow for                 coordinates or plot points or both on
Counties;                                         extended periods of time;                         which each map is based are available
  (iii) Minnesota: Cook, Koochiching,                (iii) Sites for denning that have              to the public at the Service’s internet
Lake, and St. Louis Counties;                     abundant coarse woody debris, such as             site, http://www.fws.gov/
  (iv) Montana: Carbon, Flathead,                 downed trees and root wads; and                   montanafieldoffice/, at http://
Gallatin, Glacier, Granite, Lake, Lewis              (iv) Matrix habitat (e.g., hardwood            www.regulations.gov at Docket No.
and Clark, Lincoln, Missoula, Park,               forest, dry forest, non-forest, or other          FWS-R6-ES-2013-0101, and at the
Pondera, Powell, Stillwater, Sweetgrass,          habitat types that do not support                 field office responsible for this
and Teton Counties;                               snowshoe hares) that occurs between               designation. You may obtain field office
  (v) Washington: Chelan and Okanogan             patches of boreal forest in close                 location information by contacting one
Counties; and                                     juxtaposition (at the scale of a lynx             of the Service regional offices, the
  (vi) Wyoming; Fremont, Lincoln,                 home range) such that lynx are likely to          addresses of which are listed at 50 CFR
Park, Sublette, and Teton Counties.               travel through such habitat while                 2.2.




                                                                                                    Rvsd Plan - 00003709
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  (5) Note: Index map follows:
BILLING CODE 4310-55-P




                                                                          Rvsd Plan - 00003710
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  (6) Unit 1: Maine—Aroostook,          Somerset Counties, ME. Map of Unit 1,
Franklin, Penobscot, Piscataquis, and   Maine, follows:




                                                                                Rvsd Plan - 00003711
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  (7) Unit 2: Minnesota—Cook,         Map of Unit 2, Minnesota, follows:
Koochiching, Lake, and St. Louis
Counties, MN.




                                                                           Rvsd Plan - 00003712
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 (8) Unit 3: Northern Rockies—       Glacier, Granite, Lake, Lewis and Clark,   Teton Counties, MT. Map of Unit 3,
Boundary County, ID, and Flathead,   Lincoln, Missoula, Pondera, Powell and     Northern Rockies, follows:




                                                                                Rvsd Plan - 00003713
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  (9) Unit 4: North Cascades—Chelan
and Okanogan Counties, WA. Map of
Unit 4, North Cascades, follows:




                                                                       Rvsd Plan - 00003714
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  (10) Unit 5: Greater Yellowstone       and Sweetgrass Counties, MT, and                Teton Counties, WY. Map of Unit 5,
Area—Carbon, Gallatin, Park, Stillwater, Fremont, Lincoln, Park, Sublette, and           Greater Yellowstone Area, follows:




                                           Dated: August 27, 2014.
                                         Michael J. Bean,
                                         Principal Deputy Assistant Secretary for Fish
                                         and Wildlife and Parks.
                                         [FR Doc. 2014-21013 Filed 9-11-14; 8:45 am]
                                         BILLING CODE 4310-55-C




                                                                                         Rvsd Plan - 00003715
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        Canada Lynx Expert Elicitation Workshop
                   October 13-15, 2015 - Bloomington, Minnesota




                                  Final Report
                                       April 18, 2016

             Canada Lynx Species Status Assessment Team:
                 Heather Bell, U.S. Fish and Wildlife Service, Headquarters
       Kurt Broderdorp, U.S. Fish and Wildlife Service, Western Colorado Field Office
      Jonathan Cummings, U.S. Geological Survey, Patuxent Wildlife Research Center
           Bryon Holt, U.S. Fish and Wildlife Service, Northern Idaho Field Office
            Mark McCollough, U.S. Fish and Wildlife Service, Maine Field Office
           Mary Parkin, U.S. Fish and Wildlife Service, Northeast Regional Office
           Tamara Smith, U.S. Fish and Wildlife Service, Twin Cities Field Office
             Jim Zelenak, U.S. Fish and Wildlife Service, Montana Field Office




                                                              Rvsd Plan - 00003716
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    Executive Summary
   As part of a species status assessment (SSA) for the contiguous United States distinct
   population segment (DPS) of the Canada lynx, the U.S. Fish and Wildlife Service (Service)
   convened an expert elicitation workshop to gather (1) the best available information on the
   current status of lynx populations within the DPS and (2) the professional judgment and
   opinions of lynx experts regarding the future viability of the DPS. This report summarizes the
   results of the workshop regarding the current and likely future condition of lynx populations in six
   geographic areas within the DPS in terms of representation, redundancy, and resiliency. The
   Service will incorporate the information gathered at this workshop into the SSA as appropriate,
   along with the published scientific literature, to inform recovery planning for the DPS and any
   other determinations the Service is authorized and required to make in accordance with the
   Endangered Species Act.


    Purpose
   The purpose of this report is to convey the results of an expert workshop convened by the U.S.
   Fish and Wildlife Service (Service) in October 2015 to improve our understanding of the status
   of the contiguous U.S. distinct population segment (DPS) of Canada lynx (Lynx canadensis).
   This workshop was held in conjunction with a species status assessment (SSA; see Appendix 1
   [All appendices are accessible at: http://www.fws.gov/mountain-prairie/es/canadaLynx.php ]) for
   the DPS. The SSA, which will incorporate the best available scientific information on lynx, is
   needed to inform the Service’s response to a June 2014 court order to complete a recovery plan
   for the DPS by January 2018, or make a formal determination that a recovery plan is not
   necessary.

   The workshop was organized by a Lynx SSA Team consisting of Service and USGS staff who
   have developed and piloted implementation of the SSA framework, and Service biologists who
   are working on lynx throughout the range of the DPS. In the interest of collaboration and
   transparency, this team partnered with State agencies, other Federal agencies, and academic
   researchers to elicit expert input regarding the current and likely future status of lynx populations
   within the DPS.

   Expert input is needed to complement the published scientific literature and other available
   information on many aspects of lynx population dynamics in the DPS range. In particular, we
   were looking for additional information on the status, sizes, and trends of lynx populations and
   on threats to lynx habitats and those of their primary prey, snowshoe hares (Lepus americanus).
   We therefore designed a process to elicit and capture the knowledge, professional judgments,
   and opinions of lynx experts to help us assess the current status of, and the nature and
   magnitude of potential threats to, lynx populations and habitats within the DPS. We also sought
   expert knowledge to help us evaluate the viability of the DPS (in terms of the “3 Rs” -
   redundancy, representation, and resiliency; see definitions below) under a range of future

                                                                                                      4



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   threats, habitat conditions, and climate scenarios, and to identify and make explicit areas of
   uncertainty and potential differences of opinion among experts.

   The results of the workshop will contribute to the SSA, which will compile and summarize the
   best available scientific and commercial data, including empirical data, published literature, and
   expert input. This information will then be used by Service decision makers to inform recovery
   planning direction, classification decisions, and other determinations required by the
   Endangered Species Act (ESA).


   Background
   The Canada lynx is a medium-sized cat with long legs and large, well-furred paws. Its long,
   black ear tufts and short, black-tipped tail distinguish the lynx from the similar bobcat (Lynx
   rufus), which is much more common in the contiguous U.S. The lynx’s large feet and long legs
   make it highly adapted for hunting snowshoe hares in the deep or powdery snow that persists
   across much of its boreal forest distribution, most of which occurs in Canada and Alaska.
   These adaptations provide lynx a competitive advantage over potential competitors, such as
   bobcats or coyotes (Canis latrans), which have much smaller feet and higher foot-loadings that
   prevent them from hunting efficiently in deep, powdery snow (McCord and Cardoza 1982, p.
   748; Buskirk et al. 2000, pp. 86-95; Ruediger et al. 2000, pp. 1-11; Ruggiero et al. 2000, pp.
   445, 450).

   The southern periphery of the boreal forest extends into parts of the northern contiguous U.S.,
   where it transitions to the Acadian forest in the Northeast (Seymour and Hunter 1992, pp. 1,3),
   deciduous temperate forest in the Great Lakes regions, and subalpine forest in the Rocky
   Mountains and Cascade Mountains in the west (Agee 2000, pp. 40-41). In the contiguous U.S.,
   these transitional boreal forests become discontinuous and patchy, preventing both lynx and
   hares from broadly achieving densities similar to those of the northern boreal forests (Wolff
   1980, pp. 123-128; Buehler and Keith 1982, pp. 24, 28; Koehler 1990, p. 849; Koehler and
   Aubry 1994, p. 84; Aubry et al. 2000, pp. 373-375, 382, 394). These forests eventually become
   too fragmented and isolated in the contiguous United States to support hares at the landscape
   densities and distributions necessary to support lynx home ranges (Interagency Lynx Biology
   Team 2013, p. 77) or lynx populations over time.

   The Service designated lynx in the contiguous U.S. as a DPS and listed it as threatened under
   the ESA in 2000 because of the inadequacy, at that time, of existing regulatory mechanisms.
   Specifically, at that time the Service believed that most lynx and lynx habitats occurred on
   national forests, and that the Land and Resource Management Plans that guided management
   of those forests included “...programs, practices, and activities within the authority and
   jurisdiction of Federal land management agencies that may threaten lynx or lynx habitat. The
   lack of protection for lynx in these Plans render them inadequate to protect the species” (65 FR
    16052). In 2003, in response to a court memorandum opinion on the 2000 listing rule, the
   Service reaffirmed its determination of the lynx DPS and its status as threatened under the ESA
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   (68 FR 40076). The Service completed a recovery outline in 2005 (U.S. Fish and Wildlife
   Service 2005, entire), designated critical habitat for the DPS in 2006 (71 FR 66008) and, in
   2007, again in response to a court order, clarified its determinations of “significant portion of the
   range” and that all lynx in the contiguous U.S. constitute a single DPS (72 FR 1186). Also in
   2007, the Service initiated a 5-year status review of the DPS (72 FR 19549). The Service
   revised the critical habitat designation for the DPS in 2009 (74 FR 8616) and 2014 (79 FR
   54782) and, concurrent with the latter, rescinded the state-based definition of the DPS boundary
   to extend ESA protection to lynx “where found” in the contiguous U.S., including New Mexico
   and other states that were not included in the original DPS range (79 FR 54804).

   Although the Service originally identified the DPS as occurring in forested portions of 14 states
   (Colorado, Idaho, Maine, Michigan, Minnesota, Montana, New Hampshire, New York, Oregon,
   Utah, Vermont, Washington, Wisconsin, and Wyoming) (65 FR 16052, 16085), it recognized at
   the time of listing that both lynx and the boreal forests that support them in the Lower 48 States
   are at the southern margins of their ranges, where habitats naturally become patchy and
   fragmented and snowshoe hare densities in many places are not consistently high enough to
   support resident lynx populations (65 FR 16052-59). It also recognized that inherent limitations
   in historic occurrence information made it difficult to distinguish between areas that consistently
   supported resident populations; other areas that may have occasionally supported resident,
   breeding lynx; and yet other areas that intermittently and temporarily contained dispersing or
   transient lynx but did not support lynx home ranges or reproduction (65 FR 16054-59). Many
   lynx records in the DPS range seem to have been associated with cyclic “irruptions” of lynx from
   southern Canada into the northern contiguous U.S. when northern hare populations crashed, as
   they did historically every 8-11 years (Elton and Nicholson 1942, entire; McKelvey et al. 2000,
   entire; Mowat et al. 2000, pp. 281-294; Interagency Lynx Biology Team 2013, p. 33). Lack of
   reliable information also precluded determination of sizes or trends of lynx populations within the
   DPS.

   Recent research and monitoring have improved our understanding of many aspects of lynx
   biology, distribution, and potential threats in the DPS. However, we still lack reliable estimates
   of the sizes and important demographic rates of most populations. Likewise, we would benefit
   from further understanding of the natural range and causes of variation in lynx and hare
   numbers; hare densities necessary to support resident lynx populations throughout the DPS; the
   influence of immigration of lynx from Canada on the demographic and genetic fitness of DPS
   populations; and the timing, extent, magnitude, and severity of potential threats associated with
   climate change. The Lynx SSA Team organized this expert elicitation workshop to help fill
   some of these information gaps with the knowledge, professional judgments, and opinions of
   lynx experts.

   Currently, there are five geographic areas known to support resident lynx populations in the
   DPS: northern Maine (with occasional/sporadic breeding by small numbers of lynx in
   northernmost New Hampshire and Vermont); northeastern Minnesota; northwestern Montana
   and northeastern Idaho; north-central Washington; and western Colorado (Figure 1). After
   statewide surveys conducted in 1978-1997 suggested the absence of viable resident lynx
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   populations in Colorado, the State, from 1999 to 2006, released 218 lynx captured in Canada
   and Alaska into southwest Colorado to establish the current resident population. Additionally,
   the Greater Yellowstone Area (GYA) of southwestern Montana and northwestern Wyoming is
   believed historically (and as recently as 2003-04) to have supported a small but relatively
   persistent lynx population, but it is uncertain whether it currently supports any resident lynx.




   Figure 1. Six geographic units within the range of the contiguous U.S. distinct population
   segment of Canada lynx (Lynx canadensis) that currently support or recently supported (GYA)
   resident lynx populations.


    Expert Elicitation

   Workshop Protocol
   As mentioned under Purpose, above, the Lynx SSA Team convened the October 2015
   workshop to elicit expert knowledge and opinion on critical uncertainties regarding the current
   status and future viability of resident lynx populations within the DPS range, and thus the DPS
   as a whole. To facilitate this, a 10-member panel of recognized lynx experts from across the
   DPS range first observed and discussed presentations by subject matter experts summarizing
   the current state of available information on topics relevant to lynx populations in the DPS (see
   Preparing Experts section below). After subject matter presentations, members of the lynx
   expert panel presented updates on lynx populations in each of the six geographic areas

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   described above under Background. The subject matter and update presentations were
   intended to ensure that all lynx experts had a common baseline of information prior to the
   elicitation process.

   In accordance with the expert elicitation literature (e.g., Burgman 2005, USEPA 2011, Gregory
   et al. 2012, Drescher et al. 2013, Morgan 2014), we then used best practices to elicit opinions
   from the expert panel. Although invited experts were expected to contribute openly and
   effectively to group discussions, we did not seek consensus among experts; rather, we probed
   differences of opinion or interpretation of scientific and technical information. We also asked
   experts and other participants to focus on scientific questions and to refrain from discussing or
   recommending management or policy decisions related to the Service’s authorities and
   responsibilities in implementing the ESA.

   In addition to the lynx expert panel and subject matter experts, workshop participants included
   members of the USFWS/USGS Lynx SSA Team, facilitators, and observers (see Appendix 2 for
   a full list of attendees and their respective roles). As a basic ground rule, only members of the
   expert panel participated in the elicitation process, although panelists were encouraged to
   confer with the subject matter specialists and SSA Team members as needed. All workshop
   participants were welcome to participate in discussions that ensued from review of panel
   responses to various questions. Due to time constraints and to minimize interference with the
   elicitation process, observers were encouraged to write and submit “parking lot” questions,
   which were collected at the end of the first two days of the workshop and presented to lynx and
   subject matter experts for responses and discussion the following mornings (see workshop
   notes, Appendix 3). The expert elicitation process was facilitated by USFWS and USGS
   structured decision making practitioners who encouraged open discussion among experts,
   structured input from both panelists and subject matter experts, and ensured that observers
   could witness the process without inappropriately influencing it.


   Identifying Experts

   SSA Team members reviewed the relevant literature and used their first-hand knowledge to
   identify experts involved in lynx and hare research or management, boreal forest ecology, and
   climate modeling. We then developed a priori selection criteria based on professional
   credentials, positions, areas of expertise, and pertinent experience to develop a list of candidate
   lynx experts and other subject matter experts. Selection criteria (below) helped ensure that
   invitations to participate were made only to scientists with expertise highly relevant to workshop
   topics and, further, that the selections were transparent, unbiased, and adequately captured the
   diversity of expertise and professional judgments related to the topics. Selection was not based
   on affiliation with a particular organization or interested party; however, States and other
   partners were asked to review the draft list of workshop invitees and suggest alternate or
   additional qualified experts. The SSA Team then invited experts who met the selection criteria
   and represented lynx expertise throughout the range of the DPS and in adjacent southern
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   Canada. The number of invited experts was necessarily limited to improve the efficiency and
   effectiveness of the elicitation process, avoid redundancy, maximize scientific discussion among
   all participants, and maintain an open, comfortable meeting environment.


   Expert Selection Criteria
   Expert panelist candidates had to meet all of the following criteria:

   1. Candidate must hold a graduate degree in a scientific discipline highly relevant to the
   workshop topics. Typically this may include advanced degrees in wildlife biology, ecology,
   zoology, genetics, modeling, or statistical inference.

   2. Candidate must hold a research position in government (State, Tribal, or Federal), academia,
   or in the nonprofit research sector; or participant must hold a governmental management
   agency position with responsibility for the species’ conservation.

   3. Candidate must have expertise in the ecology or management of the species or related
   species, demonstrated by recent (within the past 10 years) peer-reviewed publications or
   related types of professional scientific expression.

   Candidates also had to meet one or more of the following criteria:

   4. Candidate is directly engaged in the species’ management, monitoring, or analysis of
   populations or habitat.

   5. Candidate is directly engaged in the study of a specific workshop topic.

   6. Candidate is a government or academic research scientist with expertise in conservation
   biology, population or landscape ecology, genetics, or other relevant fields, as demonstrated by
   recent (within the past 10 years) peer-reviewed publications or related types of professional
   scientific expression.

   Using these criteria, the SSA Team identified 19 candidates for the lynx expert panel who were
   contacted to determine their interest and ability to attend the workshop (Appendix 4). Among
   those both interested in and able to attend the workshop, the team extended invitations to 13
   candidates, 10 of whom ultimately participated as panelists and who together represent lynx
   expertise throughout the range of the DPS and in southern Canada. Experts who could not
   attend this workshop may provide their expertise later in the SSA process as peer review
   experts.


   Preparing Experts
   Before the workshop, the SSA Team contacted all lynx experts and other subject matter experts
   by email and phone to discuss their roles and, for some, their willingness to prepare and deliver

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   subject matter or lynx population status presentations at the workshop. Correspondence with
   lynx and subject matter experts and other workshop participants explained the SSA framework
   and its application to the lynx DPS, the use of expert elicitation in SSAs, and the workshop’s
   purpose, ground rules, and draft agenda.

   At the workshop, the Service introduced the Lynx SSA Team, provided a brief overview of the
   SSA framework and its application to the lynx DPS, and outlined workshop objectives. Prior to
   elicitation exercises, subject matter experts presented information on the historic and current
   distribution of lynx in the contiguous U.S., regulatory mechanisms that apply to lynx on Federal
   lands, genetics considerations, lynx status and management in adjacent southern Canada,
   potential climate change impacts on boreal forest vegetation and snow conditions important to
   lynx, effects of forest management and policy on lynx habitat, and snowshoe hare ecology (see
   Subject Matter Presentations, below). After these presentations, lynx expert panelists provided
   updates on lynx populations and habitats, research efforts, conservation measures, and
   potential threats to lynx in each of the six geographic areas (Fig. 1). The subject matter and
   status-update presentations were intended to provide the expert panel with information that
   could inform their responses to elicitation questions and to ensure that the panelists shared a
   common understanding of the current status of lynx throughout the DPS. All workshop
   presentations are included in Appendix 5 and are accessible at the Service’s Region 6 Canada
   lynx web page (http://www.fws.gov/mountain-prairie/es/canadaLynx.php ).


   Subject Matter Presentations
   Canada Lynx Species Status Assessment, Expert Elicitation Workshop - Jim Zelenak,
   U.S. Fish and Wildlife Service, Montana Ecological Services Field Office, Helena,
   Montana
   The objectives of this workshop are to (1) gather scientific information from experts on the
   current status, threats, and future viability of lynx populations in the contiguous U.S.; and (2)
   where empirical data are lacking, elicit expert knowledge, professional judgment, and opinion on
   the nature and magnitude of potential threats to DPS populations and the DPS as a whole. We
   need this information to complete a status assessment for the DPS that will be used by Service
   decision makers to inform recovery planning and other determinations the Service must make in
   accordance with the ESA. We have a court order to complete a recovery plan for the DPS by
   January, 2018, unless we determine that a recovery plan is not necessary (i.e., that the threat
   for which the DPS was listed has been adequately addressed and ameliorated and no new
   threats have been identified that pose an immediate or reasonably foreseeable risk of
   extinction). However, we are not here to make that determination or others regarding the ESA
   status of the DPS. Rather, we are here to understand the current status of lynx populations and
   habitats in the DPS and hear from experts on factors influencing the current status and future
   viability of those populations. The DPS was listed as threatened under the ESA in 2000
   because of the inadequacy at that time of regulatory mechanisms in Federal land management
   plans to protect lynx and their habitats. The Service completed a recovery outline in 2005 and
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   designated critical habitat for the DPS in 2006. In 2007, we clarified our determination of
   “significant portion of the range” of the DPS and withdrew the 2006 critical habitat designation.
   We revised critical habitat in 2009 and 2014 and, also in 2014, we received the court order to
   complete a recovery plan. The results of this workshop will contribute to the SSA, and the
   expert information gathered here will complement the best available scientific information that
   will be compiled and summarized in the SSA report. After it is peer-reviewed and finalized, the
   SSA report will be considered by Service decision makers to inform recovery planning and other
   determinations required under the ESA.

   Historical Distribution of Lynx in the Contiguous U.S. - Dr. Kevin McKelvey, USDA
   Forest Service, Rocky Mountain Research Station, Missoula, Montana
   Understanding historical range is important because it provides context for modern
   conservation; however, historical data must be interpreted carefully because they may not be
   representative, are often unreliable, and their meaning may be unclear. This is especially true
   for rare animals like lynx, and even more so if they are easily mistaken for another more
   common animal, as bobcats are mistaken for lynx in the southern portion of lynx range.
   Because even relatively low identification error rates can lead to significant errors in determining
   distribution, it is important to rely on verified, and not anecdotal, occurrence records, when
   attempting to establish historical range. The issue is further complicated by the noted cyclicity
   in lynx population dynamics associated with snowshoe hare population cycles, which resulted
   historically in irruptions or pulses of lynx from Canada into the DPS when northern hare
   populations crashed. This can be described as a wave in which a large number of dispersing
   lynx intermittently flooded into the northern contiguous U.S. over the course of several years
   into a variety of potentially suitable and unsuitable habitats. As the irruptions waned (i.e., as the
   waves receded), lynx disappeared relatively quickly from areas of unsuitable or poor habitat,
   more slowly from areas of marginal or suboptimal habitat, and persisted (like permanent tide
   pools) in those areas with habitats and hare densities capable of supporting them over time.
   This yielded verified records in the contiguous U.S. in places that clearly cannot support lynx
   populations but, in other places where habitats are or appear to be suitable, it also confounds
   efforts to distinguish between those that have supported persistent lynx populations, those that
   may occasionally but not consistently support resident lynx (“winked off’ more than “winked on”
   in a metapopulation sense), and those where dispersing lynx occurred regularly, if intermittently,
   but could not persist. Given these ambiguities, there remains irresolvable uncertainty about the
   historic distribution of resident lynx in the DPS. Despite this uncertainty, it appears that resident
   lynx naturally persist now in most areas that the available reliable data most strongly suggest
   historically supported resident populations in the contiguous U.S. (Maine, Minnesota, Montana,
   Idaho, and Washington). Several other areas may have historically supported populations but
   no longer do (with evidence most compelling for northern New Hampshire and Michigan’s Upper
   Peninsula; less compelling for the Adirondack region of northern New York, northern Wisconsin,
   and northwestern Wyoming).




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   Canada Lynx Habitat Regulatory Environment - Scott Jackson, USDA Forest Service,
   National Carnivore Program Leader, Missoula, Montana
   Before the lynx DPS was listed under the ESA, there was very little information available and
   little management direction for lynx habitats on national forests or other Federal lands. Given
   the uncertain status of lynx and lack of information on habitat relationships, an interagency Lynx
   Steering Committee was chartered almost immediately after the DPS was proposed for listing in
   1998. The committee appointed the Lynx Science Team to assemble the available information
   on lynx and the Interagency Lynx Biology Team to develop a lynx conservation strategy
   applicable to Federal lands. In 2000, the Science Team published Ecology and Conservation of
   Lynx in the United States (Ruggiero et al. 2000), and the Biology Team completed the Lynx
   Conservation Assessment and Strategy (LCAS; Ruediger et al. 2000). The committee also
   directed the completion of the 1999 biological assessment (BA) in which the U.S. Forest Service
   (USFS) and Bureau of Land Management (BLM) evaluated potential impacts to lynx of
   management plans for 57 national forests and 56 BLM units and concluded that implementation
   of existing plans could result in some adverse effects to lynx. The BA recommended amending
   or revising management plans to incorporate conservation measures that would reduce or
   eliminate the identified adverse effects to lynx, and to consider the conservation measures
   identified by the Science Team and Biology Team, once finalized. In March of 2000, the DPS
   was listed as threatened due to the inadequacy of existing regulatory mechanisms, specifically
   the lack of guidance for conservation of lynx in national forest Land and Resource Management
   Plans and BLM Land Use Plans. In October 2000, FWS completed a biological opinion on the
   1999 BA, concluding that if forest plans were revised or amended to incorporate the
   conservation measures in the LCAS, they would reduce or avoid the potential for adverse
   effects on lynx. Also in 2000, USFS and BLM entered into conservation agreements with FWS
   to guide management until plans could be amended or revised. By 2004, BLM revised plans in
   all units with lynx or potential habitat to incorporate LCAS guidance. By 2006, USFS similarly
   revised plans for national forests in the Northeast and Great Lakes. In 2007 and 2008, USFS
   formally amended plans for 18 national forests in the Northern Rockies and 8 in the Southern
   Rockies to address the risk factors identified in the LCAS and adopt management standards
   and guidelines. Currently, all national forests and BLM units with lynx or potential habitats are
   governed by plans that have adopted conservation measures identified in the LCAS,
   subsequent interagency conservations agreements, or by management direction that formally
   amended or revised land use plans and established standards and guidelines designed to apply
   the best available scientific information to avoid and minimize potential impacts to lynx. Future
   challenges include developing effective responses to larger, hotter, and more frequent fires and
   extensive insect outbreaks, and designing thinning and salvage harvest treatments conducive to
   creating habitat conditions favorable to lynx and hares.

   Lynx Genetics Considerations - Dr. Michael Schwartz, USDA Forest Service, National
   Genomics Center for Wildlife and Fish Conservation, Missoula, Montana
   Review of lynx genetic studies shows, despite some sub-structuring over distance, high gene
   flow across the continental range of lynx, likely because of high dispersal rates, large dispersal

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   distances, and few geographic barriers to dispersal. Some research suggests that the Northern
   Rocky Mountains may provide some gene flow restriction in western Canada, as well as an
   “invisible barrier” to gene flow in eastern Canada south of James Bay/Hudson’s Bay that may be
   related to differences in snow conditions driven by large-scale climatic factors (e.g., the Pacific­
   North America and North Atlantic Oscillation climatic systems). North of the DPS, low levels of
   genetic substructure have been documented in populations in eastern Canada between
   populations north versus south of the St. Lawrence Seaway, and between island (Newfoundland
   and Cape Breton islands) and mainland populations. However, there is evidence of genetic
   interaction among even these relatively isolated eastern Canadian populations. Within the DPS,
   minor genetic sub-structuring has been documented among lynx subpopulations in western
   Montana. However, very low Fst values (a measure of the proportional reduction in
   heterozygosity due to population subdivision, with values near zero indicating high levels of
   gene flow and values approaching one indicating poor gene flow) suggest the absence of
   significant barriers to genetic interchange throughout much of the lynx range, including the DPS.
   Across 17 lynx populations in Alaska, Canada, and the contiguous U.S., Fst = 0.033, and the
   highest Fst for any two populations was 0.070 when lynx from the Kenai Peninsula in Alaska
   were compared to those in the Seeley Lake area of Montana. Lynx-bobcat hybrids have been
   documented in Minnesota, Maine, and eastern Canada, but not in the western part of the range.
   Hybridization does not seem to be a major issue, nor does it appear to be increasing despite
   significant increases in bobcat numbers in some parts of DPS range. Genomics research (the
   genetic mapping and DNA sequencing of sets of genes or complete genomes) on lynx would
   increase power and precision of genetic analyses and perhaps identify genes under selection at
   the periphery of the range. The goal for lynx in the DPS should be to conserve the genetic
   diversity currently represented in resident populations, recognizing that maintaining connectivity
   between DPS and Canadian populations is likely important to achieving that goal. The genetic
   variation at the edge of the range may be of value to future populations, especially as related to
   changing climate.

   Lynx Distribution, Status, and Management in Southern Canada - Dr. Jeff Bowman,
   Ontario Ministry of Natural Resources and Forestry, and Trent University, Ontario
   Lynx are managed provincially in Canada, with each province responsible for its own
   management program, harvest (trapping) policies, and conservation strategies. Data from
   registered trap lines show cyclic decadal peaks in the numbers of lynx harvested, and these
   align well with (and lag by one year) cyclic peaks in snowshoe hare indices. In western
   provinces (British Columbia, Alberta, Saskatchewan, Manitoba, Northwest Territories, and the
   Yukon), the magnitude of lynx cycles appears to have dampened dramatically after the 1980s-
   1990s, while eastern provinces (Ontario, Quebec, and Newfoundland and Labrador) have seen
   less dramatic declines in peak lynx numbers trapped. There is some evidence that hare
   numbers in the Yukon have not recovered to past levels after declines beginning in about 2000,
   and that hare numbers in southern Ontario have been low for the past 5-6 years. There also is
   indication that the range of lynx in eastern Ontario has contracted northward since the 1970s,
   and modeling suggests that this contraction is likely influenced by habitat loss perhaps related
   to changes in forestry practices and an increase in tolerant hardwoods replacing spruce-fir
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   forests resulting from climate warming (Koen et al. 2014). This has been accompanied by
   reduced genetic heterozygosity (allele richness) at this margin of the lynx range. Recent studies
   also show some differences in functional genetic markers (unique alleles) in lynx south versus
   north of the St. Lawrence Seaway/River, suggesting the potential for evolutionarily significant
   differences in lynx in those areas (Koen et al. 2015, Prentice unpubl.). Research also suggests
   an “invisible” genetic barrier south of Hudson’s Bay likely related to climate-driven differences in
   snow conditions, which could be amplified in the future with continued climate warming. A few
   lynx-bobcat hybrids have been documented. Lynx are listed as endangered provincially in New
   Brunswick and Nova Scotia, which also have by far the highest numbers of bobcats, and where
   bobcat populations have been increasing since about 1990. Lynx are considered secure in all
   other provinces.

   Seven Ways a Warming Climate can Kill the Boreal Forest - Dr. Lee Frelich, Director,
   University of Minnesota Center for Forest Ecology, St. Paul, Minnesota
   Northern Minnesota is at the southern edge of the ranges of boreal forest tree species (balsam
   fir, white spruce, paper birch) and the northern extent of temperate forest species (sugar maple,
   red maple, red oak). A number of climate-mediated processes are likely to shift these ranges
   northward, potentially resulting in the complete disappearance of boreal forest from Minnesota
   before the end of the century. These include projected declines in snow depth, invasion of
   boreal forests by temperate species and a widening of the mixed forest ecotone, warming
   summer and winter temperatures, declines in boreal trees under both low- and high-emission
   climate scenarios, severe wind- and hail-producing thunderstorms (derechos) of greater extent
   and frequency, large wind-driven fires, heat and drought stress, increased insect infestations
   due to lack of extreme cold temperatures, and phenological disturbance. These processes,
   alone or in combination may result in gradual or relatively sudden conversion of boreal forests to
   temperate forests, savanna, or grassland at the southern edge of the boreal forest range. A
   mosaic of conversion mechanisms and rates of change will occur at landscape/ecoregion
   scales. With unmitigated climate change, Minnesota is likely to lose the boreal biome and about
   one-third of its native species, including lynx, possibly within the next 60-70 years.

   Climate Change and Uncertainty: Implications for Canada Lynx Conservation and
   Management in the Contiguous U.S. - Alexej Siren, DOI Northeast Climate Science
   Center and University of Massachusetts Department of Environmental Conservation,
   Amherst, Massachusetts
   Climate models are better at detecting long-term trends in temperature and precipitation than
   short-term climate variability. Generally, projections of precipitation are less robust compared to
   temperature, and within the lynx DPS units, projected trends in precipitation are more certain for
   winter than for summer. Consequently, the resulting model biases may affect climate
   projections. Global surface temperatures have increased steadily over the 20th century,
   especially since the 1970s, with an overall increase in winter temperatures in the U.S. These
   changes are most pronounced from the Northern Rockies to the northeastern U.S., where
   winter precipitation has also increased. However, the northwestern U.S. has experienced drier

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   winters with less snow over the past several decades. Importantly, numerous studies have
   shown that Canada lynx distribution is related to snowpack characteristics (e.g., snowfall,
   density, and persistence), which may directly or indirectly affect lynx through 1) increased
   competition (exploitative and interference) with sympatric carnivores, 2) altering hare and lynx
   population cycles, and 3) reduced genetic diversity. Therefore, climate projections with a
   specific emphasis on winter climate are a valuable tool for assessing the long-term viability of
   lynx in the contiguous U.S. Below are the climate trends for the past several decades and end-
   of-century model projections for each of the DPS units; projections are multi-model means with
   the high emissions scenario (A2). In the Northeast, recent trends are toward reductions in
   snowfall, the number of snow-covered days per season, and the proportion of winter
   precipitation occurring as snow. Projections include increased winter precipitation, but with a
   lower proportion occurring as snow, and a decline in snowfall and length of snowpack coverage.
   In the Great Lakes region, recent trends indicate an increase in lake effect snow and longer
   snow seasons to the north. Winter precipitation is projected to increase throughout the
   Midwest, with a lower proportion occurring as snow, except that lake effect snow is projected to
   increase around Lake Superior and north of the eastern Great Lakes until 2050, and eventually
   decline towards the end of this century. Overall, models project a decline in snowfall and length
   of snowpack coverage by 2100 for the Midwestern region. The Northeast and Midwest DPS
   units are especially vulnerable to snowpack loss due to lack of elevational refugia. In the
   western DPS units and the Colorado population, recent trends show decreasing spring
   snowpack at lower elevations, an overall decline in snowpack by the latter half of the 20th
   century, and a lower proportion of winter precipitation occurring as snow. Projections include
   decreases in snowfall season and snowfall amount, fewer days with snowfall, and continued
   reduction in the proportion of winter precipitation occurring as snow. However, projections
   indicate that snowpack and winter severity may be less impacted in the Northern Rockies
   compared to other DPS units. In summary, model projections are not favorable for lynx within
   the DPS units, especially towards the latter half of the 21st century, with less severe winters and
   diminished snowpack characteristics that favor competing species.

   Projected Climate-change Impacts on Snow, Vegetation, and Lynx Populations in the
   Western U.S. - Dr. Joshua Lawler, University of Washington, School of Environmental
   and Forest Sciences, Seattle, Washington and Dr. Chad Wilsey, National Audubon
   Society Science Division, New York, New York
   Climate modeling suggests reductions in the amount of precipitation falling as snow and a shift
   from subalpine forest to temperate evergreen needleleaf forests in a generalized lynx range in
   the western U.S. Fire is projected to increase in both frequency and fire size, doubling by 2040
   and tripling by 2080. Simulated lynx densities were projected for the 2020s, 2050s, and 2090s.
   Of 25 ecoregions included in the study area, 14 had simulated lynx populations greater than
   0.10 individuals/100 km2 across all time points. Of those, and across various Global Circulation
   Models (GCMs), 3 ecoregions had simulated increasing populations by the 2050s and 11 had
   declining populations. Populations were projected to continue increasing in the 3 ecoregions by
   the 2090s, while declines were projected to deepen in 8 of the remaining 11 ecoregions.
   Growing populations were projected to occur in the sparsely populated Fescue-Mixed Grass
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   Prairie, Middle Rocky-Blue Mountains, and Great Steppe ecoregions, whereas the largest
   proportional declines were projected to occur in the West Cascades, Pacific Northwest Coast,
   Northern Cascades, East Cascades - Modoc, and Aspen Parkland ecoregions. The study also
   looked at the effect of population cycling on projected changes and found that simulated
   declines differed more due to GCM model used than due to population cycling (i.e., modeling
   suggested lynx population declines were not strongly influenced by population cycles).

   Forest Management and Lynx Habitat Trends - Dr. Erin Simons-Legaard, University of
   Maine School of Forest Resources, Orono, Maine
   Lynx in Maine occur in the Northern Appalachian/Acadian Ecoregion where their distribution is
   governed by snowfall and extent of deciduous cover. The eastern spruce budworm
   (Choristoneura fumiferana) is endemic to forests in this region, and extensive outbreaks of this
   insect pest occurred in northern Maine in the 1970s-80s, resulting in millions of acres of spruce­
   fir die-offs, despite extensive aerial insecticide applications. For several decades, salvage
   logging via extensive landscape-scale clear-cutting occurred in impacted forests, until passage
   in 1989 of the Maine Forest Practices Act, which regulated clear-cut size, configuration, and
   regeneration. Regenerating clear-cuts became very dense stands supporting high densities of
   snowshoe hares. Although the Forest Practices Act reduced the amount of clear-cut harvest
   over the following two decades, overall harvest increased as partial-cut harvesting replaced
   clear-cutting. At the same time, land ownership patterns in northern Maine were shifting from
   large blocks of commercial timber interests to smaller blocks and more diverse land
   management goals, including development and financial investment, as well as some non­
   development easements (though these do not regulate forest management). The University of
   Maine modeled lynx habitat occurrence from snow track data, a series of Landsat satellite time­
   series imagery since 1970, and indices of hare densities for various stand ages post-timber
   harvest to model past, present, and future lynx occurrence in northern Maine. They found that
   the proliferation of regenerating partial-cuts produce lower landscape hare densities than
   regenerating clear-cuts from the 1970s and 1980s. Landscape hare densities will likely decline
   in the future as the clear-cut-era stands mature into less dense conifer stands, beginning about
   35-40 years post-harvest. High-quality stands are being replaced by lower-quality regeneration
   of partial harvests. High-quality habitat for lynx/hares is currently about 8% of the northern
   Maine landscape. Model projections indicate it will decline to about 5% of the landscape by
   2030, and then level off, and that the prevalence of partial-harvesting will lead to elimination of
   many areas with concentrated high-quality habitat and a lower future probability of supporting
   lynx.

   Southern Snowshoe Hares: Updates, Questions, Forecasts - Dr. Karen Hodges,
   University of British Columbia Okanagan Department of Biology, Kelowna, British
   Columbia
   Northern hare cycles are more variable than commonly portrayed in some literature, with
   questionable synchrony and variation in peak heights and amplitudes. Some southern hare
   populations (i.e., within the lynx DPS range) show “cycle-ish” dynamics and high densities, but

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   variability in abundances is not obviously linked to forest stand type (thinned, unthinned,
   mature). Some areas of high hare density are occupied by bobcats instead of lynx (e.g., the
   Tally Lake area of the Flathead National Forest in Montana). Hare densities in the western
   contiguous U.S. differ substantially across regions and landscapes. For example, within the
   GYA, hare densities varied from very low (0.2 hares per hectare) in Yellowstone National Park
   to very high (0.5 - 1.7 hares/ha) in the Wyoming Range south of the park. Hare densities also
   vary in the eastern part of the lynx DPS, with ranges from 0 - 1.8 hares/ha in Maine and, in
   Minnesota, densities of 0.64 hares/ha in the northeast part of the state (which supports resident
   lynx) and 0.35 hares/ha in Voyageurs National Park (which does not support resident lynx).
   Landscape attributes (e.g., tree densities and moisture gradients) also influence stand quality
   for hares. Hare population dynamics (cyclicity, synchrony, amplitude, and peak densities) also
   vary regionally. Forest management that reduces stand structure reduces hare abundances.
   For example, hares declined after experimental precommercial thinning in Montana, and, in
   Quebec, hare densities increased with time since commercial thinning, harvest, and fire. Fire
   destroys hare habitat temporarily, but hares return to burned areas as soon as favorable habitat
   conditions return. Post-fire hare densities also vary regionally; in stands burned by large fires in
   1988, hare densities by 2007 were higher in Glacier National Park than in Yellowstone National
   Park. Hare densities necessary to support resident lynx remain poorly understood but appear to
   vary regionally, as do lynx diets and home range sizes. If southern boreal/montane forests are
   lost, hares will decline. Fire, timber harvest, and thinning will result in fewer hares, at least
   temporarily, and the impacts of post-fire salvage logging are unknown. Understory cover and
   browse are very important, but we know little about the influence of shrubs or snow on hares.
   Like lynx, hares in the DPS are at the southern extent of their continental range. Also like lynx,
   hares show high gene flow across most of the northern range in Canada but lower gene flow
   (higher genetic structure) in the southern part of the range, with some lineages potentially at risk
   of genetic drift. Climate-mediated increases in fires and insect outbreaks and changes in forest
   regeneration may alter hare habitats and, thus, hare distribution and abundance. Climate
   change may also affect hare vulnerability to predation by creating a mismatch between pelage
   color, which is controlled by photoperiod, and their surroundings (e.g., reduced snow season
   resulting in white hares on dark forest floors). It may also alter predator communities, with
   uncertain impacts on hare populations. Continued research is needed to better explain regional
   variation in population dynamics and peak abundances, to predict post-fire recolonization and
   densities and responses to climate change, and to better understand links between physiology
   and demography (e.g., predation stress and reproduction).




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   Lynx Status Update Presentations1
   Status of Lynx in Maine - Jennifer Vashon, Maine Department of Inland Fisheries and
   Wildlife, Bangor, Maine
   Much of the current lynx habitat in Maine was created from extensive harvests to salvage
   spruce budworm-damaged forests during 1970-1985, and the amount and distribution of high-
   quality lynx/hare habitat are likely greater now than historic conditions. Many stands were
   treated with herbicides to create extensive regeneration of spruce and fir. Analysis of Forest
   Inventory and Analysis (FIA) data indicates that half of the 3 million forested acres of spruce-fir
   in northern Maine is currently sapling stage that should provide lynx with high quality foraging
   habitat. Also based on FIA data, the amount of dense spruce-fir (supporting the highest hare
   densities) increased from 700,000 acres in 2006 to 805,000 acres in 2010. The Maine
   Department of Inland Fisheries and Wildlife (MDIFW) conducted a telemetry study of lynx from
   2000-2011 in a study area with extensive areas of regenerating spruce-fir stands in
   northwestern Maine and found that lynx had relatively small home ranges. Lynx strongly
   selected these high-quality hare habitats in former clear-cut areas. Although hare densities
   declined from 2 hares/hectare to 1 hare/hectare mid-way through the study, lynx did not
   increase their home range sizes or alter their habitat use. Reproduction declined initially after
   hare populations declined, but later recovered, with all females producing litters. An average of
   65% of females bred each year throughout the study. Litter sizes ranged from 1 to 5 and
   averaged 2.63 kittens/breeding female. Kitten survival remained high (averaged 78%).
   Densities of 4.5 adults and 5 to 9 kittens were observed in 100 km2 areas. Based on estimates
   of occupied habitat and home range information, MDIFW estimated there were between 750
   and 1,000 lynx in northern Maine in 2006, and more than 1,000 lynx in 2015 (or at least more
   animals than 2006). Indices (number incidentally trapped, observed, or killed on roads) have
   increased, suggesting there are more lynx than in 2006, and the distribution of the population
   also appears to be expanding. MDIFW initiated a third round of periodic lynx snow track survey
   in 2015 that support increased populations and expanding range. Additional surveys are
   planned in 2016 and 2017 to update estimates. Although a model by the University of Maine
   suggests the effects of the Maine Forest Practices Act could lead to a decrease in lynx habitat,
   thus far, it does not appear that lynx have declined in response to aging clear-cuts and the
   prevalence of partial harvests resulting from the Act. A budworm outbreak is expected in the
   near future that will also impact future amounts of habitat for lynx and snowshoe hare. MDIFW
   provides landowners with descriptions of lynx-hare habitat for their management plans through
   published peer-reviewed papers and reports on lynx status and habitat use in Maine and
   consultation.


   1 These are summaries of status updates presented by lynx experts for each of the geographic
   units in the DPS. Summaries were written by the Lynx SSA Team based on the presentations
   and notes submitted by expert presenters and on the notes taken at the workshop during
   presentations. Experts reviewed drafts of these summaries and provided clarifications/
   corrections if needed, which were incorporated into the final summaries.
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   Canada Lynx in Minnesota - Dr. Ron Moen, Natural Resources Research Institute,
   University of Minnesota Biology Department, Duluth, Minnesota, and Susan Catton,
   USDA Forest Service, Superior National Forest, Duluth, Minnesota
   Prior to 1965, lynx in Minnesota were unprotected, had a bounty placed on them, and were
   overexploited by trapping. From 1930-1977, harvest in Minnesota was twice that of Montana
   and 40 times that of other states. In 1976, State protection was provided in the spring and
   summer months, and in 1984 the trapping season was closed. In the 1990s and when listed
   under the ESA in 2000, it was unknown if lynx in Minnesota were residents or migrants from
   Canada, but now it is known that the Minnesota lynx population consists of both residents and
   migrants from Canada. Since then, there have been hair snare and snow-tracking surveys,
   DNA analyses, and a multi-year telemetry project - none of these monitoring efforts were
   designed to estimate densities or abundances of the species. However, as of 2015, it is thought
   that there are somewhere between 50 and 300 lynx in Minnesota (this expert later refined the
   range as 50 - 200 lynx, as indicated in the summary presentation preceding the graphing
   exercise below), with the core habitat in the arrowhead region of the state (St. Louis, Lake, and
   Cook counties), although there have been verified and probable lynx sightings elsewhere in the
   state. At least 5 of 27 adult lynx radio-collared in Minnesota were later legally trapped in
   Ontario, and other collared lynx did not return from Canada, therefore their fates are unknown.
   Telemetry data showed that about half of males radio-marked in Minnesota moved back-and-
   forth across the border, traveling at all times of the year; that Minnesota females that dispersed
   into Canada tended not to return to Minnesota; that males had much larger home ranges (267
   km2) than females (21 km2); and that females with kittens had the smallest home ranges. About
   half of the mortality of collared lynx was from vehicle collisions, incidental catch, illegal kills, or
   unknown causes. Moen et al. (2008) documented 10 den sites and showed that denning
   habitat is not limiting in Minnesota. Since 2000, incidental take of lynx tracked by the USFWS
   Twin Cities Field Office has ranged from 0-14 per year and included vehicle (car and train)
   collisions, gunshot, incidental trapping, and unknown causes. Approximately 50% of reported
   take was of incidentally trapped lynx, about half of which were released alive. Home range
   analyses showed mean distance to nearest linear feature is approximately 200m, suggesting
   that lynx do not avoid roads. Bobcat harvest data show a concentration of bobcats adjacent to
   the core of the lynx range. The IPCC SRES A1B Scenario climate change model (Gonzalez et
   al. 2007, p. 14) shows snow conditions potentially suitable for lynx throughout the northern half
   of Minnesota to the end of this century; however, the snow and/or biological assumptions in the
   model need work, because it predicts a range for lynx that is larger than the current suitable
   range based on snow depth. Other climate modeling (e.g., Morgan, in prep.) suggests that
   suitable snow-depth range will shrink significantly by 2055, be limited to extreme northeastern
   Minnesota by 2070, and may be entirely absent from the state by 2095. Since 2000, the
   Superior National Forest (SNF) and others have identified 268 unique individual lynx (47%
   Female, 53% Male) from 1,306 DNA samples, primarily from SNF lands. These samples also
   documented 13 unique individual lynx-bobcat hybrids (5 Female, 8 Male). The DNA analyses
   also showed persistence of individual lynx in Minnesota of 2 years (N = 27 lynx), 3 years (N =
   11), 4 years (N = 5), 5 years (N = 6), and 1 female lynx tracked for over 5 years, who produced
   7 kittens in Minnesota. The SNF annually documents 3-5 family groups and is working with
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   North Carolina State University and the Twin Cities Field Office on a study of the distribution of
   lynx that can be used to inform future study designs aimed at monitoring lynx occupancy and
   designing more intensive studies to estimate abundance.

   Current Distribution, Status, and Threats to Canada Lynx in Montana and Wyoming -
   Dr. John Squires, USDA Forest Service, Rocky Mountain Research Station, Missoula,
   Montana
   Northwestern Montana - This area is believed to support the largest lynx population in the
   western U.S., but minimum population size has not been calculated. The Forest Service’s
   Rocky Mountain Research Station in Missoula initiated a lynx research program in 1998 to
   investigate lynx resource and prey selection, competition, activity patterns, detection and
   monitoring, and connectivity. From 1998 to 2007, researchers trapped and radio-marked 175
   lynx in northwestern Montana and collected nearly 170,000 GPS and over 3,000 VHS telemetry
   locations documenting lynx movements, resource use, survival, and productivity. From 1999­
   2007, litter sizes averaged 2.24 kittens/litter (N = 33) in the Seeley Lake area (the central
   portion of this geographic unit) and from 2003-2007, 2.95 kittens/litter (N = 22) in the Purcell
   Mountains (the northwestern portion of the unit). In Seeley Lake, 61% of breeding-age females
   (N = 52) produced kittens; in the Purcells, 83% of females (N = 28) produced kittens. Recent
   research (Kosterman 2014) suggests kitten production is correlated positively with mature forest
   connectivity and negatively with fragmentation in female home ranges. Annual survival rates for
   subadult and adult female lynx were 0.52 and 0.75, respectively, in Seeley Lake, and 0.68 and
   0.85, respectively, in the Purcells. There was no evidence of cyclicity in these vital rates, and
   no indication of irruptions of lynx into this unit from Canada after the 1980s. Starvation,
   predation by mountain lions, and human-caused deaths each accounted for roughly one-third of
   documented sources of lynx mortality. Population viability analyses yielded population growth
   rates of 0.92 for the Seeley Lake area (i.e., declining population trend, 1999-2007) and 1.16 for
   the Purcells (increasing trend, 2003-2007). The distribution of lynx in this unit appears to have
   contracted recently; lynx were documented in the Garnet Mountain Range in the southern
   portion of the unit from at least 1980 into the early 2000s, but in 2010, extensive research
   trapping efforts yielded only two males, and snow-track and camera-trap surveys in winter 2014­
   2015 detected no lynx. Genetic analyses revealed fine-scale genetic sub-structuring among the
   Garnets, Purcells, and Seeley Lake subpopulations, suggesting some level of relative isolation
   among lynx in those areas. Most lynx habitat in this unit occurs on Federal lands (USFS, BLM,
   NPS). Recent conservation land purchases substantially increased protection of lynx habitat in
   the Seeley Lake core area. The extent of fire in this area has increased, with over one million
   acres burned in 2000-2013. Forest management (timber harvest, silviculture, and fire
   management) can have negative, neutral, or positive impacts on lynx habitat; current research
   is investigating lynx response to management actions.

   Wyoming/GYA - The long-term persistence of lynx in the GYA is unknown, but early records
   from Yellowstone National Park documented lynx presence in the 1920s-30s, and more recent
   (2001-2004) surveys in the park documented several lynx and evidence of reproduction on the
   east side of Yellowstone Lake. South of the park, lynx were also detected reliably in the late
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   1990s-early 2000s in the Union Pass and Togwotee Pass areas of the Wyoming Range in the
   Bridger-Teton National Forest. Several lynx released in Colorado (1999-2006) dispersed to the
   GYA and occupied home ranges (including males and females with overlapping home ranges)
   in areas of the Wyoming Range previously occupied by “native” resident lynx. Recent (2005­
   2010) research trapping and survey efforts in the Wyoming Range have detected only
   Colorado-released lynx, and the current status of lynx in the GYA is uncertain but believed to be
   at low numbers based on on-going surveys. In addition to fire and forest management (as
   described above for northwestern Montana), oil and gas exploration and development may pose
   a potential risk to lynx and habitat in the Wyoming Range.

   Lynx in Washington: Current Status and Potential Threats - Dr. Benjamin Maletzke,
   Washington Department of Fish and Wildlife, Olympia, Washington
   Lynx in Washington were State-listed as threatened in 1993, but with recent large-scale impacts
   to lynx habitats and likely declines in lynx numbers, upgrading to State-endangered may be
   justified. The Washington Department of Fish and Wildlife completed a lynx recovery plan in
   2001, and the Department of Natural Resources completed a habitat management plan for its
   lands in 1996, which it revised in 2006. The majority of lynx habitat in Washington occurs on
   public lands including State Forests and National Forests. Although individual lynx are
   occasionally documented in the northeastern part of the state, only the Okanogan area (eastern
   Cascade Mountains abutting the border with Canada) in the north-central part of the state has
   consistent records and evidence of a resident breeding population. In terms of the ESA’s five
   listing factors, over-utilization, disease/predation, and inadequacy of existing regulatory
   mechanisms are not issues for lynx in Washington. Lynx trapping was prohibited in 1991, and
   only live-trapping is allowed for bobcats, so there is little chance for incidental trapping. There is
   no documented disease and little evidence of predation (though these could occur/increase with
   climate change). With ESA and State listings, critical habitat designation, and State recovery
   and State and Federal habitat management plans in place, regulatory mechanisms appear
   adequate. Recently, much lynx habitat has been lost, at least temporarily, to frequent large-
   scale fires and insect outbreaks, and climate change may pose additional (or exacerbate
   existing) threats to lynx and habitats in Washington. From 1990-2002, there were about 2,600
   km2 of lynx habitat in the Okanogan (Eastern Cascades) area, and female home ranges were
   estimated at 38 - 41 km2, suggesting the potential to support roughly 90-115 resident females
   (home ranges include “matrix” or non-habitat). By 2014, habitat had been reduced by fire to
   about 1,600 km2, and habitat loss and fragmentation resulted in female home ranges increasing
   to an estimated 91 km2, with a potential to support roughly 27 resident females. Although areas
   impacted by fires and insects should regenerate to hare/lynx habitat, it may take 35-40 years or
   more for that to happen. Climate change will likely reduce snow depth, condition, and
   persistence, potentially influencing interspecific competition. It also may cause temperature-
   and precipitation-driven changes in vegetation and increased fire frequency, size, and intensity,
   resulting in further reduction, fragmentation, and isolation of suitable habitats and impacts to
   prey abundance. Connectivity between the Okanogan area and lynx populations and habitats in
   Canada seems adequate; it is more tenuous in the northeastern part of the state, where cross­
   border populations/habitats in Canada are smaller and potential corridors more constricted. It is
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   also possible that legal trapping in southern British Columbia could limit immigration into
   Washington’s lynx population and be a source of mortality for lynx dispersing from Washington
   into Canada. Potential management and recovery actions could include resuming surveys and
   monitoring efforts, reviewing current State, Tribal, and Federal management actions to see if
   they can be more “lynx-friendly,” conducting population viability analyses to estimate
   probabilities of persistence over various time periods, coordinating with British Columbia on
   cross-border lynx conservation efforts, evaluating the need and feasibility of augmenting female
   lynx in the Okanogan and reintroducing lynx to the Kettle Crest, up-listing lynx in Washington to
   indicate the current status and severity of threats, and seeking collaboration and funding to
   support the measures above.

   Status of Lynx in Colorado - Dr. Jake Ivan, Colorado Parks and Wildlife, Fort Collins,
   Colorado
   Lynx in Colorado were State-listed as endangered in 1973. Based on statewide surveys
   conducted in 1978-1997 that found some possible lynx sign (tracks), the State concluded that if
   lynx were present, too few individuals remained for a viable population and that natural
   recolonization was unlikely due to geographic isolation. The State initiated a lynx reintroduction
   program, releasing 218 lynx from source populations in Alaska and Canada from 1999 to 2006.
   All animals were released into the San Juan Mountains in the southwest part of the state. Many
   stayed there and used the area heavily; many others established home ranges in the Sawatch
   Range in the central part of the state, where the bulk of historical records occurred. Although
   post-release mortality was initially high, it decreased after release protocols were modified and
   among lynx after they’d been on the ground a year. Mean annual survival was 0.93 for lynx that
   stayed within the San Juan Mountains core-release area, and 0.82 outside of it. The first den
   was located in 2003, and 48 dens were subsequently documented in Colorado through 2010,
   including a third-generation of Colorado-born lynx. The reintroduced population displayed
   reproduction similar to other areas in the DPS in some regards (e.g., mean litter size was 2.75
   kittens), and lower in others (e.g., mean percentage of females that produced kittens was 24%
   [range = 0% - 46%])2. A deterministic model that uses survival estimates and reproduction data
   from ten years of monitoring reintroduced lynx and assumes that reproductive parameters
   observed during that time would repeat each decade shows a slightly increasing trajectory
   through time. Although current population size and survival rates are unknown, photos of
   females with kittens in 3 sampling units during occupancy monitoring in the San Juan Mountains
   in 2014-15 and capture of young and unmarked (i.e., “new”) lynx during research efforts in
   2010-15 provide evidence of continued reproduction. Potential threats to lynx in Colorado
   include climate change, bark beetle outbreaks, fire, increasing human recreation, and
   vulnerability to vehicle collisions and disturbance from highways. Climate modeling in 2014,
   based on the RCP6 (2nd-highest) emissions scenario, suggests that by mid-century
   temperature will increase by 2°C, precipitation will decrease in the San Juan and other southern
   mountains, and that spruce-fir habitat will migrate upslope, lagging climate conditions by 50-100


   2 These data were provided by the presenter after the workshop but were not part of the original
   workshop presentation.
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   years. Based on this, the overall vulnerability of spruce-fir in the state is considered moderate
   at mid-century. As of 2014, over 4 million acres of potential lynx habitat has been impacted by
   bark beetle outbreaks; however, lynx and hares continued to use impacted areas, even when
   beetle impacts are severe. Red squirrel use declined in areas that were heavily impacted by
   beetles. Large fires also have impacted lynx habitat, and as elsewhere, fire size, frequency,
   and intensity are expected to increase with climate change. A cursory, pre-analysis review of
   location data suggests that lynx make use of landscapes in which heavy winter recreation
   occurs. However, use of developed ski areas is light, and outside of ski areas, heavy lynx use
   tends to occur in thick timber that is not used by snowmobilers and other backcountry users.
   Finally, lynx frequently crossed 2-lane paved highways in home ranges (0.6 crossings/day),
   more often at dusk and night, coincident with lower traffic volumes, and usually at forested
   crossings. Recent results from a new large-scale monitoring program indicated that lynx
   occupied a similar proportion of the landscape in the San Juan Mountains during winter 2014-15
   as they did during winter 2010-11.


    Expert Elicitation Process
   All questions posed to the 10 lynx expert panelists were framed in the context of the 3Rs, a
   driving principle for evaluating viability under the SSA framework. In questioning, we used a
   modified Delphi method (e.g., MacMillan and Marshall 2006), which involves eliciting individual
   responses/scores, exploring response rationale and differences in expert judgment through
   guided discussions, then allowing experts to reconsider their scores in light of those discussions
   if they so desire.

   In our implementation of the modified Delphi approach, panel members were first asked to
   respond individually to a particular question and indicate their level of confidence in their
   response. We then collated and noted the range of responses, which became the mechanism
   for follow-up discussion. In collating responses, we used a simple numeric coding system
   rather than the experts’ names to provide for a reasonable level of anonymity. We noted where
   there was high congruence among responses, as well as low congruence and outlying
   responses. By asking for experts to voluntarily provide their reasoning for particular responses,
   we were able to delve into the basis for varying opinions. After the discussion period, experts
   were given the opportunity to revise their scores.

   In addition to elicited responses to each question, we received substantial feedback from the
   experts on definitional issues and the validity of the questions themselves; we revised the
   questions as needed following these discussions. In the case of a revised question, scores
   were elicited again following the revision. The second round of scoring was displayed for
   experts, with a closing opportunity for comment, discussion, or score revision.

   All panel members were encouraged to respond to each question but also given the option of
   abstaining from responding to a question if they felt it was beyond the bounds of their expertise.
   With few exceptions, all 10 expert panelists responded as requested to every question.
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   Instances where experts either chose not to reply or otherwise replied in a manner differing from
   the expected form of response to the question are noted in the responses below.


    Lynx Status: Expert Elicitation and Responses
   Questions for experts were scripted by the Lynx SSA Team prior to the meeting to facilitate
   discussion of lynx ecology among the experts, solicit their professional opinions, and to help the
   Service gather and synthesize biological information for use in the SSA, particularly where
   empirical data are lacking in the published literature and projecting habitat and population
   conditions into the future is needed. Because of the uncertainty of quantifying the population
   status and other aspects of lynx biology, the Service and facilitators decided to generate a
   series of discussion questions with quantifiable responses (scores) concerning the redundancy,
   resilience, and representation (3 Rs) of the DPS. Although scores provided a starting point for
   discussion among experts and are quantified, analyzed, and summarized as appropriate in the
   following sections of this report, the Service also places high value on the content of the
   discussion among experts. Therefore, both the analyses of scores and summaries of the
   discussion content are presented and will be considered during development of the SSA, noting
   that both were integral to the expert elicitation process.

   The types of questions and the format of responses differed based on the information needed to
   inform the status assessment, and the best way to capture the information relevant to the
   question being asked. For example, responses were requested in the form of lists, when a set
   of influences was desired, in the form of a 4 point elicitation (e.g., the most likely, high, and low
   end of a range, and confidence that the range contains the true value) when an uncertain
   quantitative value was desired, in the form of graphed trajectories when probabilities of
   persistence over time were desired, and other forms as necessary (see questions below).
   Experts submitted their scores independently via submission sheets (sticky notes, index cards,
   graph paper, etc.) with their ID numbers. Note takers recorded and displayed scores to assist
   discussion. Facilitators and other members of the SSA Team then asked directed questions to
   clarify responses from the panelists as needed. Following each round of discussion and
   clarification, the panelists were provided the opportunity to update their response if desired and
   the second round of responses were collected and recorded. The final responses are the only
   responses reported here. The range of individual responses that we received was not
   combined (e.g., averaged or otherwise) in any way that would obscure or conceal individual
   responses, and the final scores for each panelist were recorded if the response was revised.

   We present the results of the expert elicitation below under the headings of representation,
   redundancy, and resilience. Under each heading, the following is provided: the definition of the
   viability category (3 Rs) under consideration, the question(s) asked of the expert panelists,
   response type (i.e., the form of the response requested of the experts), question clarification
   (i.e., a narrative description of any additional information provided to the experts by the
   facilitators for clarification as the questions were asked), expert responses, and notes from the
   discussion.
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   Expert Responses

   Representation
   Definition - Representation contributes to the adaptability and evolutionary capacity of a
   species over time, to accommodate long term issues like climate change. The breadth of
   genetic ecological, demographic, and behavioral diversity across a species’ range may
   contribute to its capacity to adapt over time. Measures of genetic and life history variability
   among populations, distribution of populations across a range of ecologically diverse locations
   or niches, etc., are useful proxies to measure. Consider needs for establishing or reestablishing
   populations in unoccupied habitat that may be necessary or suitable for species adjustment to
   climate change or other stressors, including the need to replace former populations in no longer
   represented ecosystems.

   Representation Questions

   1. Are any of the geographic units susceptible to genetic drift on a scale that would limit
   genetic viability? If yes, which geographic units?

   Response Type: Experts supplied a written response of “yes” or “no,” with a yes answer
   accompanied by a list of susceptible geographic units.

   Expert Responses: Five experts responded that none of the geographic units are susceptible to
   meaningful genetic drift, two experts abstained from answering, and three experts responded
   that there are geographic units that are susceptible to such genetic drift. Among the latter, one
   expert responded that the Colorado geographic unit is susceptible over a long period of time,
   and the other two experts responded that both the Colorado and GYA geographic units are
   susceptible to genetic drift.

   Discussion Points Following Initial Responses: It wouldn’t take many immigrating lynx to
   provide adequate genetic diversity to prevent genetic drift. One reproductively successful
   immigrating lynx every 5 to 10 years per geographic unit is likely sufficient to prevent genetic
   drift. Most experts believed there was a low likelihood that even the smaller lynx populations
   (GYA and Washington) or those in more isolated geographic units (Colorado and GYA) are
   vulnerable to genetic drift at a scale that would impact viability, though several experts felt that
   both the GYA and the western Colorado units could experience meaningful drift in the absence
   of immigration or augmentation. Overall, most experts felt there is a low risk of genetic drift
   being a problem for lynx in the DPS.

   2. Are there locations from a lynx perspective that have unique habitat conditions
   relative to other areas in the lynx range that are necessary to foster future adaptive
   capacity of the DPS? If yes, where?



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   Response Type: Open discussion. No response forms were submitted, but notes were taken
   on the discussion that followed.

   Question Clarification: The experts required some clarification of terms and the intention of this
   question to respond. Facilitators read the working definition of representation (above), which
   previously had been provided to the experts. Experts then discussed representation across the
   lynx DPS from an adaptive capacity perspective.

   Expert Responses: The response was an open discussion captured below.

   Discussion Points Following Initial Responses: Maintaining genetic variability is important for
   adaptive capacity. If uncertain about the capacity for lynx to adapt, then experts encouraged
   that all populations (and hence the genetic variation within each) be maintained. Experts
   indicated that it doesn’t appear that any U.S. population is more or less important to maintain
   than the others because of relatively similar ecological settings and the generally low level of
   genetic differentiation across the DPS. Summary: Experts discussed that maintaining
   representation in the DPS could best be achieved by retaining current DPS populations,
   maintaining connectivity between DPS and Canadian lynx populations, conserving the genetic
   diversity currently represented in DPS, and avoiding impacts that could facilitate or increase the
   potential for or likelihood of genetic drift.

   It was also noted that lynx north of the DPS in some parts of eastern Canada (in New Brunswick
   and Quebec south of the St. Lawrence Seaway and on Newfoundland Island) have some
   unique alleles, including at functional genes, and should be preserved. Lynx in these areas are
   relatively more isolated than lynx elsewhere in Canada. Lynx south of the St. Lawrence are
   separated from lynx to the north by the seaway itself, which historically froze over during winter
   but which is now kept open to facilitate maritime shipping, perhaps reducing the level of genetic
   exchange between lynx on opposite sides. Lynx on Newfoundland Island are separated from
   lynx in mainland Labrador and Quebec by the 15- to 60-kilometer-wide Strait of Belle Isle.
   Despite the relative isolation of these populations, genetic evidence indicates some interchange
   between lynx south and north of the St. Lawrence and between Newfoundland Island and
   mainland populations. Eastern Canadian populations north of the St. Lawrence may have
   slightly different genetic composition than lynx in the Maine geographic unit.


   Redundancy
   Definition - Redundancy contributes to the ability of population types to withstand catastrophic
   events (hurricanes, wildfires, etc.). The number and distribution of populations of each
   representative type contribute to the retention of various representative types despite
   catastrophic events by ensuring that the loss of a population doesn’t lead to the loss of
   representation.




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   Redundancy Questions

   1. List the factors/catastrophic events that could functionally extirpate an entire
   geographic unit.

   Response Type: Each expert supplied a written list submitted via index card of the
   factors/catastrophic events.

   Question Clarification: Three issues required clarification prior to obtaining responses to this
   question. First, we initially asked about eliminating a “population” rather than a geographic unit.
   Because some of the geographic units may support several relatively isolated subpopulations,
   experts questioned whether we meant individual populations or subpopulations. We clarified
   that we are evaluating the likely persistence of resident lynx populations in each of the six
   geographic units that currently support or recently supported them; therefore, we are interested
   in the likelihood that a catastrophic event could result in the extirpation of resident lynx from the
   entirety of any of the geographic units. Second, we were asked if extirpation meant the
   complete loss of all lynx from a unit. We clarified that we wanted to know if lynx could be
   “functionally extirpated” from any geographic unit, with functional extirpation described as the
   loss of the unit’s ability to support a resident breeding population(s) of lynx. Third, experts were
   not clear what an “event” entailed. After discussion, it was agreed that an event was defined as
   a single occurrence of some form, such as a fire, drought, hurricane, etc., that occurs over a
   relatively brief period of time, rather than a series of smaller cumulative events (e.g., a series of
   climate change-associated occurrences of fires or insect outbreaks over the course of a
   decade) causing a cumulative catastrophic result.

   Expert Response: Six of the ten experts did not list any catastrophic events that could result in
   the functional extirpation of lynx from any entire geographic unit. Three of the experts listed
   multiple catastrophic events they felt could result in at least temporary functional extirpation of
   lynx in a unit. Among these, two of the experts listed fire, three listed disease, one listed insect
   outbreak, and one listed a failure of winter conditions due to a combination of heat or drought
   conditions. One expert listed geographic unit-specific events, namely fire or insect outbreak for
   the Washington geographic unit, insect outbreak in Maine, and either insect outbreak or fire for
   one of the Minnesota geographic unit’s groupings of individuals, but not all.

   Discussion Points Following Initial Responses: Experts were told that climate change was not
   considered a catastrophic event because it is both a driver of events and influences severity,
   rather than being an event itself as defined above. Experts discussed the possibility that the
   Washington geographic unit, because of its relatively smaller size and history of recent
   extensive fires in lynx habitat, may be at risk of functional extirpation from multiple catastrophic
   events; disease, fire, and beetle outbreak were all mentioned as possible events. One expert
   suggested that the Minnesota geographic unit could potentially be eliminated by a very large

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   fire, although there was a low probability of this occurring. Experts expressed some uncertainty
   whether fire could occur at the severity and scale sufficient to eliminate an entire geographic
   unit; however, a series of fires over a short time period may have the potential to cause
   functional extirpation of lynx from a geographic unit or significantly reduce the number of
   resident lynx it could support, at least temporarily.

   2. Could any of the catastrophic events listed in response to redundancy question 1
   eliminate all 6 geographic units simultaneously?

   Response Type: Each expert supplied a written response of “yes” or “no.”

   Expert Response: All experts answered “no.”

   3. What is the probability (expressed as a percentage) that any single geographic unit
   could be eliminated by a single catastrophic event in the next 10 years?

   Response Type: 1-point elicitation. Each expert supplied a written response of X%.

   Question Clarification: In response to the discussion around question #1, which resulted in the
   inclusion of question 3, this question was modified from its original script to include a 10-year
   time frame (underlined).

   Expert Responses: All responders gave a relatively low probability (< 10%, median of 1%) that
   any single geographic unit could be eliminated (resident lynx functionally extirpated) by a single
   catastrophic event in the next 10 years (Figure 2).

   4. What is the percent likelihood that a series of catastrophic events within the next 10
   years could cause functional extirpation of one or more lynx geographic units?

   Response Type: 1-point elicitation. Each expert supplied a written response of X%.

   Question Clarification: This question was developed after discussion of question 3 to capture
   the possibility of functional extirpation of lynx from geographic units due to a series of
   catastrophic events over a relatively short time rather than a single event that occurs at one
   point in time.

   Expert Responses: The percent likelihood ranged from 0.5% to 60%, with a median response
   of 7.5% (Figure 2). Expert responses indicated a higher probability of a series of catastrophic
   events over 10 years resulting in functional extirpation than a single event in the next 10 years,
   as in question 3.




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   Figure 2. Individual scores and summary boxplots of the percent chance that a geographic unit
   is eliminated by a single catastrophic event (question #3, left) or a series of catastrophic events
   (question #4, right) in the next 10 years. Note: This and all subsequent figures below were
   generated using the statistical software R (Appendix 6).

   In Figure 2, individual responses to a single catastrophic event were 0.01%, 0.1%, five
   responses of 1%, 5%, and two responses of 10%. Individuals responses to a series of
   catastrophic events were 0.5%, 1.1%, three responses of 5%, 10%, 15%, 20%, 40%, and 60%).
   Boxplots illustrate response mean values (bold black lines), the 25% and 75% quartiles (upper
   and lower bounds of boxes), and the highest and lowest values within 1.5 times the quartile
   range (“whiskers” external to boxes). In this analysis, responses beyond the ends of the
   whiskers (outside 1.5 times the quartile range) are considered outliers and plotted as points
   beyond the ends of the whiskers (i.e., experts 3 & 4 in Q3 and experts 3 and 10 in Q4, as
   indicated by the points plotted between experts 5 and 6). The individual expert responses used
   to produce the boxplots are indicated by x-marks. Boxplots are provided as a summarizing
   visualization to aid comprehension of the experts’ responses and their range, and the summary
   values are presented in this context and not intended for use outside of the context of the full set
   of responses.

   Discussion Points Following Initial Responses: One expert noted that the probability of
   extirpation in any one of the 6 geographic units is greater than the probability of a single specific
   geographic unit being extirpated. Also, any combination of a series of events over a decade

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   increases the likelihood of extirpation in any one geographic unit relative to the probability of
   extirpation due to a single event.

   Although median probabilities of extirpation were low, experts felt the geographically smallest
   unit (Washington) and those units believed currently to support the fewest resident lynx (GYA,
   Washington, and Minnesota) were the most vulnerable geographic units when scoring this
   exercise. Fire, drought, and beetle kill were the most frequently mentioned events that were
   considered by the experts when answering this question. Some experts felt that these
   geographic units may be susceptible to such a scenario because of small geographic and/or
   population sizes and distribution. In particular, it was noted that this past year there were many
   fires in lynx habitat, especially in Washington, and another year with similar fire impacts, or a
   few such fire years in a 10 year period, could lead to extirpation of lynx in the Washington
   geographic unit. An expert noted there currently may be as few as 24 remaining females in
   Washington and that with fewer individuals in this area it would result in a higher probability of at
   least temporary extirpation. Experts noted that fire disturbance data are likely available that
   could be used to model the likelihood of future fire impacts to each geographic unit.

   Experts with outlier responses provided their rationales. Experts having the lowest scores
   believed that even the smallest geographic units would have only a low probability of extirpation
   in the next decade - that the time frame under consideration was very short.

   5. What length of time would be required for a geographic unit eliminated by a
   catastrophic event to reestablish naturally?

   Response type: 4-point elicitation. Each expert supplied a written response in years for the
   longest, shortest, and most plausible time periods for reestablishment of a resident lynx
   population within a geographic unit following functional extirpation. They were also asked to
   indicate their confidence, as a percentage chance, that the true amount of time necessary for
   reestablishment would fall between the shortest and longest plausible time periods provided.

   Expert Responses: The responses to each of the points elicited are shown below in Table 1.
   Two experts provided additional information beyond the 4 points elicited when responding. One
   presented two scenarios, one in which connectivity is intact and the habitat was damaged by the
   catastrophic event (e.g., insect outbreak or fire) which would require habitat regrowth first, and
   the second in which the habitat remained present. In the case of habitat being present the most
   likely time period response was less than 10 years. In the habitat elimination scenario the
   expert felt given climate changes to habitat that the geographic unit would not re-establish. The
   second expert responded by geographic unit, with the exception of the Minnesota geographic
   unit for which there was no response. Their responses are summarized in Table 1 using the
   overall longest and shortest responses as well as the average of the most plausible time (see
   footnote 3).




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   Table 1. Expert responses regarding the natural reestablishment time in years for a geographic
   unit after extirpation by a catastrophic event.

                                 Reestablishment Time in Years
                                                                                       Percent Confidence in
     Expert #    Shortest Plausible       Most Plausible       Longest Plausible              Range3
                         Time                 Time                  Time
         1                 10                  40                    100                         50%
        2                  15                  100                   300                         80%
        3                  15                   35                    60                          5%
        44                 1,                 <10,
                 will not reestablish        will not          will not reestablish              100%
                                           reestablish
        5                 25                    50                      100                      75%
        6                 20                    30                       50                      90%
        7                 15                   20                        25                      90%
        8                 15                    50             will not reestablish              40%
        9                 20                    30                      100                      50%
       105                15                    55                      200                      50%


   Expert responses are also visualized in Figure 3 and Figure 4 below. The raw responses are
   visualized in box plot form to aid communication of the results (Figure 3). Confidence ranges
   provided in a four point elicitations enable expert responses to be rescaled to produce a
   common confidence bound across experts using linear extrapolation (e.g., McBride et al. 2012).
   We calculated the 95% confidence interval for the shortest and longest plausible time periods
   for each expert (Figure 4). In cases where the linear extrapolation resulted in negative years for
   the shortest time periods, we adjusted to zero. This may indicate underconfidence in the
   responses provided by the experts, or that the use of linear extrapolation for these 4-point
   elicitation responses fails to distribute expert uncertainty in a manner consistent with the actual
   uncertainty present in expert responses (i.e., the experts could have been more confident in
   their shortest plausible time response than their longest plausible time responses, which the
   linear extrapolation doesn’t account for).




           1 confidence
   3 ■Expert
      —         r- I    ....... 1              <■      I I r II I 1    11   111        II     1 1-      -I
                        that the true recovery time would fall between the shortest and longest time periods
   of their response.
   4 This expert provided a response for two scenarios, first that the catastrophic event does not result in
   habitat loss, and second that habitat is lost and therefore connectivity to extant populations is lost.
   5 This expert provided separate responses for each geographic unit. The values in this table are the
   overall shortest, longest, and average most plausible number of years indicated in the responses across
   geographic units.
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   Figure 3. Years for a geographic unit to become reestablished following extirpation due to
   catastrophic events.

   The raw responses for each of the three time periods (longest plausible time to reestablishment,
   most plausible time, and shortest plausible time period) are displayed in the box plots in Figure
   3 above. Boxplots illustrate response mean values (bold black lines), the 25% and 75%
   quartiles (upper and lower bounds of boxes), and the highest and lowest values within 1.5 times
   the quartile range (“whiskers” external to boxes). In this analysis, responses beyond the ends of
   the whiskers are considered outliers and plotted as points. The individual expert responses
   used to produce the boxplots are indicated by x-marks. Boxplots are provided as a
   summarizing visualization to aid comprehension of the experts’ responses and their range, and
   the summary values are presented in this context and not intended for use outside of the
   context of the full set of responses.




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   Figure 4. Years for a geographic unit to become reestablished following extirpation due to
   catastrophic events, adjusted to provide 95% confidence bounds.

   In Figure 4, 95% confidence bounds were produced from the 4-point responses using linear
   extrapolation. Shortest plausible time period is in blue, most plausible is green, and longest
   plausible is red. For plotting purposes negative shortest time period values were adjusted to
   zero, and all zeroes in the plot indicate 95% confidence bounds that extended below zero.
   Longest time periods beyond 350 years were plotted at 350, with the actual time period noted in
   text left and below those points. Also note that expert 10 responded by geographic unit, so the
   figure displays the 95% confidence bound adjusted overall longest, overall shortest, and
   average most plausible time periods across the six units for expert 10.

   Discussion Points Following Initial Responses: Experts discussed the amount of time it takes
   for habitat to recover after catastrophic events (e.g., fire, insects) when considering timeframes
   for repopulation. Some experts could picture some geographic units never being recolonized
   again, and that some could be recolonized immediately, depending on which geographic unit is
   being evaluated and the level of connectivity to other geographic units and to lynx populations in
   Canada. Washington is more connected to Canada than the Colorado geographic unit for
   example. The rate of recolonization was variable for each geographic unit because of the size
   of each geographic unit, status of adjacent source geographic units, and the level of
   connectivity. Experts found it hard to generalize across the range of the species for this

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   question. The variances in the geographic units across the range need to be considered.
   Experts believed GYA and CO would have a long period for recolonization, if ever recolonized,
   after a potential extirpation event because of the lack of connectivity with Canadian populations.
   It is likely that those geographic units with connectivity to Canada would recover much sooner
   than geographic units not connected to Canada.


   Resiliency
   Definition - Resiliency speaks to an individual population’s ability to tolerate environmental and
   demographic stochasticity, such as fluctuations in temperature or genetic drift. It is often
   measured in terms of population size and growth rate, but in fact is dependent on a number of
   traits, both demographic and environmental. These include, among others: age or stage class
   distribution, genetic heterogeneity, birth rates, annual survivorship, sex ratios, etc., and the
   quality and extent of habitat, the degree of disease, competition, etc. Metapopulation dynamics
   and distribution can also contribute to population resiliency in some species.

   Resiliency Questions: Probability of Persistence Exercise

   Exercise Summary

   The first two resiliency questions were asked concurrently as part of a probability-of-persistence
   exercise conducted for each geographic unit. Experts were asked to graphically provide the
   probability of persistence of resident lynx through time for each geographic unit, as well as the
   major factors influencing persistence in those geographic units, one geographic unit at a time.
   Experts were asked to provide persistence probabilities and influencing factors for the near-term
   (2025), mid-term (2050) and longer-term (2100). Experts were also asked to indicate on each
   of their graph sheets the emissions scenario (low, moderate, or high/status quo) they were
   considering in graphing persistence probabilities and listing influencing factors.

   We began this exercise with the Northern Maine geographic unit, and the discussion and
   questions among experts that followed the initial persistence-graphing and factor-listing efforts
   indicated that a review of the status and major issues confronting lynx in each unit (a quick
   reminder and summary of the earlier status update presentations) would be helpful. Therefore,
   prior to expert responses for the remaining units, the expert(s) most familiar with the geographic
   unit in question gave a 5-10 minute summary of what they viewed as the most relevant
   information about the current and likely future status of lynx populations and habitats in that unit.
   They also presented any other conditions or issues they thought could affect the probability of
   persistence of resident lynx in that unit. All experts then completed their graphs and lists of the
   factors that influenced the probabilities of persistence they selected for each time frame for the
   geographic unit in question. For the Maine unit, the discussion following initial responses
   served the same purpose, and after that discussion, experts were given the opportunity to
   revise their responses if they felt it necessary.



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   After all experts completed their responses, the graphs and influence lists from each expert
   were posted on the wall, and workshop participants were invited to gather around to view and
   discuss the range of responses. Facilitators and SSA Team members then polled the experts
   about what drove their responses. These questions were a mix of directed questions about
   unique responses, the role of particular factors noted in the responses, and open-ended
   questions to allow experts to describe their thinking. Experts and team members were also
   encouraged to ask clarifying questions about the responses. Experts were encouraged to
   modify their responses by posting a revised sheet above their first response if they wished to
   adjust their responses based on the discussions.

   1. What is the probability of persistence over time (particularly at present, 2025, 2050,
   and 2100) for each of the 6 major geographic units?

   Response Type: Graphical 3-point elicitation. Each expert was provided a blank sheet of
   graphing paper with a y axis of probability of persistence, and an x axis of time, with 4 time
   periods bolded (2015, 2025, 2050, and 2100). For each of those years, experts were asked to
   add a point to the graph representing the lowest, highest, and most likely probabilities of
   persistence at that time period. Experts were also asked to connect the points through time.

   Question Clarification: It was explained that the most likely point should represent the
   probability of persistence that the expert anticipates to be most likely to occur for that
   geographic unit at each time period, and that the points for lowest and highest probability of
   persistence were intended to capture the expert’s uncertainty in the future probability of
   persistence. Experts preferred to indicate a most likely probability and to provide a full
   confidence interval (i.e., upper and lower bounds within which they felt 100% certain the future
   probability of persistence would fall) rather than indicate a confidence level associated with the
   lowest and highest probability responses.

   Expert Responses: Responses are by geographic unit and are presented below in conjunction
   with the responses to question #2 below.

   2. What are the major drivers/factors (up to 3) reducing probability of persistence for
   each of the major geographic units?

   Response Type: Ranked list of top three factors, for each point in time (present, 2025, 2050,
   and 2100), with % contribution of each factor.

   Question Clarification: Resiliency questions 1 and 2 were asked concurrently. Experts were
   provided a sheet of paper for each geographic unit and the area at the bottom of the sheet
   below the graphing area was used to list the three major factors they expected would most
   significantly influence the probability of persistence at each time period. Influencing factors
   were described as those anthropogenic or naturally-occurring activities, events or factors that


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   could influence the probability that resident lynx populations will persist in a given geographic
   unit.

   Expert Responses: For each geographic unit, an overview of the unit from the area
   expert are provided, as well a summary of the hand drawn graphs via a figure (Figures
   5 - 10), the responses and major factors are summarized via text, and the discussion
   that the responses generated are presented.

   Results by Geographic Unit

   Northern Maine

   Pre-graphing Overview from Unit Experts: This step was not added to the process until after the
   probability of persistence exercise for this unit. Because this unit was the first for which experts
   attempted to graph persistence over time, there were many questions and much discussion
   about process and intent. It was the discussion following this initial graphing exercise that led
   the SSA Team to request unit summaries prior to subsequent graphing exercises. The Team
   felt that overview information similar to that provided prior to graphing persistence for
   subsequent units (below) came out during the discussion. Further, because experts were
   encouraged to update their Northern Maine geographic unit responses as necessary following
   that discussion, the Team felt that the results of the graphing exercise for the Northern Maine
   geographic unit were valid and comparable to the results generated for the other units.

   Expert Responses: All experts indicated an initially high and subsequently declining probability
   of persistence of resident lynx in Maine through the end of the century, with uncertainty (range
   between lowest and highest probabilities) also increasing over time. Nearly all experts
   predicted near-term (year 2025) persistence probability >= 90% and mid-century persistence >=
   70%. All experts predicted end-of-century persistence probability >= 50% for this unit, with most
   predicting a 40% to 60% probability of persistence by 2100 (Figure 5). Near-term drivers that
   influenced experts’ probabilities of persistence for this geographic unit were changes in private
   forest land ownership, changes in forestry management (timber harvest methods, volumes, and
   spatial distributions), habitat decline (succession of previous clear-cuts from young, dense
   regenerating stands to mature stands less conducive to high hare densities), spruce budworm
   outbreak, climate change-induced loss of spruce-fir habitats, and competition with bobcats due
   to climate change-induced loss of snow conditions that favor lynx. Longer-term (2050, 2100)
   drivers similarly included changes in forestry practices, but also climate-driven loss of snow
   conditions favorable to lynx/competition with bobcats, and loss of spruce-fir forest. As with
   responses for other geographic units, not all experts provided the factors that influenced their
   persistence probabilities for each time period, and not all provided the percent contribution of
   each factor.




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   Figure 5. Expected probability of persistence for the Northern Maine geographic unit at present,
   2015, and in 2025, 2050 and 2100.

   Note: In Figure 5, above, and figures 6 through 10, below, points for each of the 10 expert
   responses, for each of the three probability of persistence levels, i.e., highest, most likely, and
   lowest probabilities of persistence, are represented by the hollow red, filled green, and hollow
   blue points respectively. The black x mark is the median of the most likely responses across
   the experts in each response year. The red, green, and blue dashed lines connect the median
   of the highest, most likely, and lowest probability of persistence responses across the experts in
   each response year. The edges of the grey area were defined by the extreme responses, i.e.,
   the range from the largest of the highest probability of persistence responses to the smallest of
   the lowest probability of persistence responses. The median lines and grey area are provided
   as a summarizing visualization to aid comprehension of the experts’ responses and their range,
   and should not be viewed as a substitute for individual responses or presented outside the
   context of the accompanying discussion.

   Discussion Points Following Initial Responses: One expert expressed confidence that the lynx
   population in Maine will be stable in the near term; that climate change out to 2050 will primarily
   affect coastal areas, which support few lynx; and that there will likely still be favorable conditions
   for lynx in northern Maine where most lynx currently occur. A second expert disagreed, and
   indicated that a combination of aging of the last of the budworm-era (1970s-80s) clear-cuts, the

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   cumulative effects of the last 25-years of partial harvesting (in accordance with the Maine Forest
   Practices Act), and the coming spruce budworm outbreak will all substantially reduce the
   amount of high quality lynx/hare habitat in this unit. Projecting past 2050, experts generally
   agreed that climate change will likely create unfavorable conditions (e.g., insufficient snow, loss
   [northward migration] of spruce-fir forests) in northern Maine’s core area for lynx, and the
   probability of persistence will decline over the longer term. Although uncertainty increases with
   time from the present, climate-related loss of favorable snow conditions (amount, consistency,
   and duration), loss of spruce-fir, and bobcat competition will likely reduce the probability of
   persistence in this unit beyond 2050.

   There was some concern that timber companies would not respond to the pending spruce
   budworm outbreak like they did in the 1970s (extensive clear-cuts). Some experts also
   expressed concerns about the effects of the current clear-cuts aging past conditions that
   support hares and lynx. Out to year 2050, changes in snow conditions and loss of spruce-fir
   associated with climate change will contribute to habitat loss. Past 2050, diminished snow,
   successional loss of high-quality habitats, increased competition from bobcats, and spruce-fir
   decline will make conditions unfavorable for lynx. Some experts assumed a high-emissions
   climate change scenario, but others said their predictions would not change under moderate
   emissions scenarios. The second expert (above) indicated that current data show spruce-fir
   habitat is being replaced with a hardwood forest (red maple) system, and that this will continue
   throughout the century. This expert indicated hardwood forest invasion isn’t being controlled by
   herbicides as it was in the last budworm outbreak. The first expert (above) disagreed and said
   that lynx are resilient and forestry practices will likely sustain spruce-fir habitats in Maine,
   providing an example of one timber company that has already invested in spruce plantations.
   The second expert indicated that most of the land base is owned now by Timber Investment
   Management Organizations and Real Estate Investment Trusts who will not employ intensive or
   expensive (plantation, herbicide) forms of forestry. In summary, experts expressed a variety of
   opinions about how forest management may change in the future in Maine and, in particular,
   how forest landowners and managers may respond to the pending spruce budworm outbreak,
   and how these responses may impact resident lynx.

   Other factors considered by the experts included budworm outbreaks, the potential for disease
   in a lynx population (not currently a recognized or documented threat and typically unexpected,
   but always a possibility), ecosystem change induced by climate change, forest tree species
   composition changes, competition with other temperate forest animals. There are many
   interrelated factors and different stresses and factors that may occur in the future. It is difficult
   to anticipate the factors that will affect lynx in the future.

   Experts discussed the role of competition between lynx and other carnivores, especially
   bobcats, throughout the DPS. One expert remarked that in some parts of Montana there is
   complete overlap of lynx and bobcat home ranges and little or no evidence of competition
   effects. Others indicated relatively narrow regions of overlap and sharp demarcation between
   areas that support home ranges of the two species that correspond with annual snowfall
   amounts in Maine and Minnesota. Experts were unsure whether bobcat-lynx overlap is more a
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   function of snow conditions in these areas or competition between the species (i.e., competition
   for food or behavioral competition). Although separation of the species has been documented,
   the nature and causes of the separation are not certain. Bobcats are a more generalist predator
   than lynx and less reliant upon hares than lynx. Experts expressed varying opinions regarding
   seasonal differences in overlap among lynx and bobcat diets, the effect and importance of
   competition between the two species, and whether it is behavioral or resource competition.

   Lynx in Maine have not responded to changes in hare abundance exactly as lynx in Canada
   and Alaska have to hare population cycles. In Maine, the proportion of females that reproduced
   and average litter size declined during low hare years, as in the north, but home range sizes in
   Maine did not increase as they did in the north when hare abundance was low. Hare densities
   do not appear to have dropped below a critical threshold to alter lynx home range size in Maine
   as in the North.

   An SSA Team member asked how hare cycles or fluctuations may affect predictions of
   persistence in Maine. The first expert (above) said that hare declines documented by University
   of Maine monitoring is likely due to the aging forest, and that lynx in Maine haven’t yet
   responded biologically to the range of hare densities observed in Maine, as suggested by the
   lack of change in home range sizes and survival. The second expert (above) disagreed, and
   cited University of Maine research that showed hare populations declined by ~50% in all stand
   types sampled starting in 2006, that forests where hares were monitored have not yet
   progressed to the self-thinning stage, and that the hare decline in Maine is mirrored by hare
   data from southern Quebec.

   Northeastern Minnesota

   Pre-graphing Overview from Unit Experts: There are probably 50-200 resident lynx in
   Minnesota but there is much uncertainty and survey protocols do not support generation of
   precise abundance estimates. Lynx occupancy and reproduction both have been consistently
   documented in the state since it was listed in 2000. Lynx in this geographic unit are interacting
   with, and possibly depending on, southern Ontario populations. Although females exhibit high
   reproductive rates, radio-telemetry data suggest low recruitment of Minnesota-born kittens into
   the breeding population of this geographic unit. Bobcats are a potential future stressor as they
   are encroaching into lynx areas; fire is a threat in dry years (e.g., there have been 3 fires in last
   15 years that have burned approximately 20% of lynx habitat). The forest management industry
   is tied to softwoods and continued management of softwood tree species is expected in the
   future.

   Expert Responses: As with the previous unit, all expert graphs showed initially high and
   subsequently declining probability of lynx persistence in Minnesota over time, along with
   increasing uncertainty through the end of the century. Nearly all experts predicted near-term
   (year 2025) persistence probability >= 90%, and all experts predicted mid-century persistence at
   60% to 90% (median = 80%). Experts predicted end-of-century persistence probabilities of 10%
   to 60%, with a median of 35%, by 2100 (Figure 6). Near term drivers were reduced snow,

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   bobcat competition, disease in lynx (e.g., lungworm, liver fluke, feline leukemia), and forest
   insects. Long term drivers were reduced snow, competition with bobcat, loss of spruce-fir
   forests, fires, and climate change.




   Figure 6. Expected probability of persistence for the Minnesota geographic unit at present
   (2015), and in 2025, 2050 and 2100.

   Discussion Points Following Initial Responses: Some experts expressed uncertainty whether
   potential climate change impacts will be realized in the short term, but that the cumulative
   effects of climate-induced changes seem more likely in the longer term. This uncertainty may
   be a source of variability in predicted persistence probabilities. Some experts expressed
   uncertainty about the accuracy of the rough estimate of the size of the lynx population in this
   unit because surveys were not designed to provide population estimates. Some experts wanted
   clarification on the distribution of lynx in the state, and which areas of the state have the highest
   use. The core-use spatial extent was described as a 20-mile-wide strip inland from the north
   shore of Lake Superior and extending about 60 miles from the northeast tip of the “arrowhead”
   southwest into the Superior National Forest (SNF). Lynx occasionally occur further west in the
   SNF and in other areas such as Voyageurs National Park. Recent snow-track surveys suggest
   lynx may be using a larger portion of the arrowhead region, and radio-telemetry data have
   documented travel to and from southern Ontario. Lynx also have been documented to use the

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   1-million-acre Boundary Waters Canoe Area Wilderness (BWCAW) that borders Canada for
   dispersal in both directions across the border. However, because the BWCAW has not been
   surveyed for lynx, the number of lynx that may use this area is unknown. The SNF does not
   actively manage the BWCAW. The current connectivity between lynx in this unit and the larger
   population in Ontario reduces the likelihood of local extirpation in this geographic unit, but the
   likelihood would increase if connectivity was compromised and cross-border interactions
   reduced.

   Factors considered included potential disease, fire, loss of boreal forest, competition with
   bobcats and possibly other hare predators. Some experts questioned the validity of disease as
   an influence in this and other geographic units because although disease has been documented
   in some felines, it has not been documented as a threat to lynx in any of the DPS populations to
   date. Some experts speculated that because there is a link between disease and temperature
   increases in other animals, projected climate warming could contribute to disease in lynx.
   Therefore, although not a factor for lynx currently, it is not unreasonable that disease could
   impact lynx populations in the DPS in the future, so we may want to consider disease in future
   conservation planning. Experts also discussed the possibility that climate warming may
   facilitate the westward expansion of the spruce budworm outbreak that is projected for Maine
   and eastern Canada into southern Ontario and the Minnesota geographic unit.

   Northwestern Montana/ Northeastern Idaho

   Pre-graphing Overview from Unit Experts: There are likely 200-300 lynx in this unit in several
   subpopulations (expert stressed that this is a guess and not a true population estimate), and
   there is currently a connection with lynx in Canada. Climate models project that some boreal
   forest will persist in this unit and that it will maintain snow into the future. In this unit, lynx
   primarily occupy public lands, which are actively managed for lynx into the future. In recent
   decades, fires have occurred on a large scale, with high intensity and increasing frequency.
   There have been no documented cases of beetle infestations in lynx habitats in this unit.

   Expert Responses: As for previous units, all expert graphs showed an initially high and
   subsequently decreasing probability of persistence for this unit, with increasing uncertainty over
   time, but a higher probability of persistence at all time frames than other units. All experts
   predicted near-term (year 2025) persistence probability >= 95%, and all predicted mid-century
   persistence at 70% to 100% (median = 90%). All experts predicted end-of-century persistence
   probabilities >= 50%, with a median of 78%, by 2100 (Figure 7).




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                                 NW Montana & NE Idaho




                                                                                    PralHbility

                                                                                         HighEst

                                                                                         Moat Likely

                                                                                         LewEst




   Figure 7. Expected probability of persistence for the Northwestern Montana/Northeastern Idaho
   geographic unit at present, 2015, and in 2025, 2050 and 2100.

   Discussion Points Following Initial Responses: Overall, experts assigned a higher probability of
   persistence in this unit compared to the other two units discussed thus far. Most lynx habitats in
   this unit occur on Federal lands that are managed for lynx conservation, but one expert noted
   that little has been done to document whether lynx are responding to this management. The
   recent sale of large tracts of private commercial timberlands in the central part of this unit to The
   Nature Conservancy has increased protection for lynx via conservation easements managed for
   lynx. Habitats in some areas should improve in the near future as previously cut or burned
   areas mature into dense stands. Unlike the Maine and Minnesota geographic units (but similar
   to most other western units), high elevations in this unit could buffer the effects of climate
   change by providing for the upslope migration of lynx habitats and snow conditions that climate
   models predict. However, this would result in even patchier and more isolated islands of habitat
   in high elevation areas that would be more prone to extirpation due to catastrophic or stochastic
   events. Competition from coyotes and bobcats seem to be less of a concern for this unit.

   This unit has unimpeded connectivity with Canada, but some experts questioned whether this
   geographic unit depends on intermittent immigration of lynx from Canada, and whether the
   historic lynx population cycles in Canada believed to have fueled such immigration are still

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   occurring or will into the future. There doesn’t appear to be much demographic input from
   recent cycles. There is evidence of lynx from this unit moving north into Canada, but little
   evidence of demographic interactions among the three subpopulations (Purcell Mountains,
   Seeley Lake, and Garnet Mountains) in this unit. Experts noted that the Garnets Mountains
   subpopulation at the southern end of this unit may have recently become extirpated.

   Discussion among experts indicated that fire was more of a concern for this area. Increased fire
   extent and severity or other catastrophic events and small subpopulation effects in separated
   mountain ranges could affect lynx persistence in the future in some parts of this unit. Fire
   exclusion in this area for the last 100 years likely resulted in the accumulation of fuels; however,
   this unit may have a reduced probability of a catastrophic fire over time because of recent
   changes in management and recent fires that may have reduced fuels. Out to 2050 and
   beyond, some experts felt there may be more pressure on lynx populations in this unit from
   continued increases in fire extent and severity. Other experts expressed a different opinion of
   the overall effect of fire in this unit, indicating that it may actually improve habitat over time, and
   that whether fires improve or degrade habitat depends on the frequency, intensity, size and
   spatial extent of future fires.

   Experts discussed the possibility for increased precipitation and warmer temperatures in this
   unit because of climate change, and how this might affect lynx habitats. Boreal/subalpine forest
   may move up in elevation as described above; however, experts expected a shift in forest
   composition and diminished lynx habitat quality in future with climate change. It is unknown
   how much the distribution of dry ponderosa pine (non-habitat for lynx) will increase with climate
   change, but it is likely to happen at some level. One expert reminded that some climate
   modelers estimated that vegetation will lag about 50 years behind the projected changes in
   temperature and precipitation. Snow levels in lower elevation areas are already decreasing in
   some areas, which could lead to smaller areas for lynx to use in winter in future.

   North-central Washington

   Pre-graphing Overview from Unit Expert: This geographic unit is thought to currently support
   roughly 50 resident lynx. There may have been more lynx prior to recent major fires. This unit
   is currently connected to Canada, and there is no indication that this connection will be
   disrupted. Some of the best lynx habitat in this unit occurs on plateaus that may be more
   vulnerable to impacts of climate change because of the absence of higher-elevation areas to
   which habitats, lynx and hares could migrate in response to warming. In areas that receive
   maritime climate influences, projected climate-induced changes to snow conditions could be
   detrimental for lynx. Studies have shown good lynx survival rates in this unit.

   Expert Responses: Compared to the previous units, most expert graphs showed a lower
   probability of persistence for this unit over the short term, and then lower probability of
   persistence along with increasing uncertainty by 2100, reflecting a more pessimistic outcome for
   this unit compared to previous units (Figure 8). Experts predicted near-term (year 2025)
   persistence probabilities of 60% to 90% (median = 80%), and mid-century persistence at 30% to

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   80% (median = 70%). All experts predicted end-of-century persistence probabilities less than
   50%, with a median of 38%, by 2100 (Figure 8). However, one expert predicted an increase in
   persistence probability by mid-century as habitats impacted by recent large-scale fires
   regenerate into optimal hare-lynx habitat.


                                        Washington




                                                                                     PralHbility

                                                                                          HighEst

                                                                                          Moat Likely

                                                                                          LewEst




   Figure 8. Expected probability of persistence for the North-central Washington geographic unit
   at present, 2015, and in 2025, 2050 and 2100.

   Discussion Points Following Initial Responses: The probability of lynx persistence in this unit
   could decrease sharply over the next 10-20 years because of extensive recent fires in lynx
   habitats and the time needed for these areas to regenerate back to good hare/lynx habitat.
   After that, the probability could rebound (or decline more slowly) over the longer term as these
   large areas return to prime habitat providing high hare densities. The current small population is
   likely at greater risk of extirpation because of stochastic events, particularly if large fires in lynx
   habitat continue to occur in the near future as they have in the recent past. A small population
   also could be more susceptible to disease, though none has been documented among lynx in
   this unit. Experts discussed the extent to which small lynx populations could be reduced before
   they would become highly susceptible to stochastic demographic effects. It was suggested that
   15-20 breeding individuals might be the minimum needed to avoid such susceptibility.
   Unimpeded connectivity between Canada and the Okanogan area of this unit could allow lynx to

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   repopulate currently-unsuitable areas after the habitat recovers. Lynx in this unit are likely the
   southern portion of a larger population in Canada, not really a separate, isolated small
   population. Factors that influenced expert persistence probabilities for this unit included fire,
   habitat loss, and the future loss of favorable snow conditions predicted by climate change
   models.

   Greater Yellowstone Area (GYA)

   Pre-graphing Overview from Unit Experts: This unit has a long history of lynx presence, but the
   consistency of occupancy over time is uncertain. Research and surveys since 1997 have
   detected few lynx in this unit. Lynx are likely spatially limited within the unit because of the
   patchy distribution of high-quality habitat and the generally low or marginal hare densities in
   much of the unit. Lynx have large home ranges in this area, an indicator of lower habitat quality.
   Nevertheless, until recently, this unit appears to have supported a small resident lynx
   population. The current lynx population in this unit is very small - likely fewer than 10 lynx, and
   possibly zero. This population may have been somewhat larger in the past; however, there is
   some uncertainty about this. Recent surveys and trapping efforts have not detected resident
   lynx, only several that were previously released in Colorado. Several Colorado-released lynx
   have established home ranges in the GYA unit, and there is evidence of overlapping male and
   female home ranges. In the late 1800s and early 1900s, there was notable predator control in
   some parts of this unit. There currently is oil and gas exploration and development activity in
   parts of this unit, but potential impacts to lynx are uncertain, and projects are attempting to
   minimize impacts to lynx habitat.

   Expert Responses: The expert graphs for this unit were widely variable and had different
   outcomes and high uncertainty at all time frames. Experts predicted near-term (year 2025)
   persistence probabilities of 10% to 70% (median = 52%), and mid-century persistence at 15% to
   60% (median = 35%). All experts predicted end-of-century persistence probabilities less than
   50% for this unit, with a median of 15%, by 2100 (Figure 9). This was the only unit for which
   most experts believed the present probability of persistence is low (i.e., that it is uncertain
   whether this area currently supports a resident lynx population). Some experts increased
   probability of persistence into mid-century as the 1980s-era fires regenerate into hare/lynx
   habitat, and with the possibility of continued immigration of lynx from Colorado. Other experts
   project a 10% to 20% probability of persistence by 2100. One reason given for wide variability
   in responses is because of the uncertainty whether a population currently exists. There were
   wide confidence intervals around the probabilities for all time periods for this area.




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                                  Greater Yellowstone Area




                                                                                     Probability

                                                                                          Highest

                                                                                          West Likely

                                                                                          L-E?b'iest




   Figure 9. Expected probability of persistence for the GYA geographic unit at present, 2015, and
   in 2025, 2050 and 2100.

   Discussion Points Following Initial Responses: Current and future factors expressed by experts
   as influencing probability of persistence for this unit included small population size, forest
   disease and insect pests, and fire. Some experts doubt that the GYA unit currently supports a
   resident breeding population of lynx. Experts indicated that climate models predict that some
   parts of the GYA unit could provide refuge from climate change impacts because of their high
   elevations and potential to maintain winter snow levels into the future. Summer conditions in
   this unit, however, could be drier in the future, resulting in increased fire frequency, extent and
   intensity, and additional temporary habitat loss. However, regeneration of these areas and the
   extensive areas that have burned in the recent past may provide good habitat over the next
   several decades. Lynx immigrating to this unit from Colorado could occupy such improved
   habitats in the near future. Colorado lynx have made exploratory movements into the GYA in
   summer months, and analysis of available data could improve our understanding of Colorado
   lynx movement into and use of the GYA. It is possible that lynx from Colorado are maintaining
   or could maintain lynx in GYA.




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   Western Colorado

   Pre-graphing Overview from Area Expert: From 1999 to 2006, Colorado Division of Wildlife
   (CDOW; now Colorado Parks and Wildlife [CPW]) released 218 Canadian and Alaskan lynx into
   western Colorado. Survival and litter sizes have been similar to rates observed in other DPS
   populations. There are probably 100-250 lynx in Colorado today. There are currently 5-6
   million acres of habitat in this unit thought capable of supporting lynx and where hares are
   present in sufficient numbers to support persistent reproduction. Extensive bark beetle
   infestations have impacted large areas of lynx habitat, but snowshoe hare are still occupying
   areas with beetle damage. Three large fires have occurred in recent years, resulting in some
   lynx habitat burned. Salvage operations in burned areas could diminish future habitat quality.
   This unit is more isolated from Canadian and other DPS lynx populations; separated by a large
   swath of inhospitable habitat. Road mortality of released lynx was initially high but it doesn’t
   seem to be a problem now (about 1 per year killed on roads on average since the first year of
   the reintroduction). There is no incidental take from trapping because foothold traps are banned
   in Colorado. Climate models show CO will maintain habitat over time with anticipated climate
   changes. Like other western units, habitat is patchily-distributed across this unit.

   Expert Responses: Similar to most of the other units, most expert graphs indicate an initially
   high probability of persistence in this unit that will decline gradually with increasing uncertainty
   through the end of the century. Experts predicted near-term (year 2025) persistence
   probabilities of 60% to 100% (median = 90%), and mid-century persistence at 50% to 85%
   (median = 80%). Experts predicted end-of-century persistence probabilities of 20% to 70% for
   this unit, with a median of 50%, by 2100 (Figure 10).




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                                         Colorado




                                                                                    Probability

                                                                                     O   HighEst

                                                                                         Moat Likely

                                                                                     O   LewEst




            2015   2025               2050                                 2100
                                             Year

   Figure 10. Expected probability of persistence for the Western Colorado geographic unit at
   present, 2015, and in 2025, 2050 and 2100.

   Discussion Points Following Initial Responses: Some experts indicated that beetle kill and fire
   could potentially create poor habitat conditions in large areas of this unit by mid-century, but that
   regeneration after these impacts could result in good lynx/hare habitats. Others expressed
   uncertainty about whether fire and insect impacts would be temporary or permanent, especially
   considering climate change and the potential for conversion from boreal/subalpine forests to
   other forest types. Although 8 of 10 experts graphed 50% to 70% probability of persistence at
   2100, during subsequent discussions, several expressed greater uncertainty about whether
   resident lynx will persist in the unit at the end of the century. Higher-quality lynx habitat occurs
   primarily in two areas and is patchily-distributed. Lynx in this unit may occur as several smaller,
   relatively isolated subpopulations, which are likely more vulnerable to stochastic events (similar
   to MT). This unit’s relative isolation may limit exchange with other lynx populations, increasing
   the likelihood of genetic drift and reducing the chance of demographic rescue or recolonization if
   extirpated. There was discussion about whether ski areas may affect daily movements of lynx,
   and hares may be declining in ski areas. Ski areas tend to expand and may, therefore, have
   larger impacts on lynx in future. There is some evidence of lynx using ski areas in summer
   months but avoiding them during the ski season. It is uncertain whether ski areas may affect
   genetic connectivity within the Western Colorado geographic unit. Two-thirds to three-quarters
   of the lynx in this unit are in the southern portion of the range in the San Juan Mountains. There
                                                                                                       48



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   is a large area (Weminuche Wilderness) in Colorado that has not been well surveyed for lynx,
   so it is possible that lynx also could be using that area.

   Summary across Geographic Units

   This section extrapolates from the probability of persistence responses for each geographic unit
   in the section above. In this section we show the combined probabilities of persistence for
   those geographic units to provide a sense of what the DPS-wide results could be when the
   results for the individual geographic units are combined. This is shown as a summary of the
   probability that a given number of geographic units persist into the future (See Figure 11) using
   the probabilities provided for each individual unit. Note that no additional information was
   elicited to produce this summary; rather, the probabilities for each geographic unit were treated
   as independent probabilities of persistence and used to determine the joint probability of
   persistence for a given number of geographic units in total. Computationally these joint
   probabilities were computed using a convolution of the Bernoulli probability distribution of
   persistence for each geographic unit via a custom convolve function executed in the statistical
   software R (see Appendix 6 for the R code used to produce these and the other summaries and
   figures presented in the report). The results of this convolution are shown in two forms, first is
   the probability that a particular number of geographic units persists (Figure 11) and the second
   is the cumulative probability that at least a given number of geographic units persist (Figure 12).




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                                         Probability exactly X
                                       geographic units persist


   Figure 11. Summarized probability of persistence of a given number of geographic units given
   the probability of persistence for each individual geographic unit.

   The y axis of each grid in Figure 11 is the probability that the specific number of geographic
   units indicated by the x axis of the grid persist. The probability sums to one in each grid.
   Moving from top to bottom the grids show the probabilities of a specific number of geographic
   units persisting by time period (2015, 2025, 2050, and 2100). Moving from left to right the grids
   show the range of expert responses by selection type and probability response.6 Therefore
   looking down a column of grids provides a view of the trend in persistence through time and
   looking across a row of grids provides a view of the range of uncertainty in persistence experts
   had for a given time period. The summarized probabilities presented here are provided to aid
   understanding of the implications of the individual persistence probabilities provided above, and


   6 “Median_High” is the probability of persistence generated by selecting the median probability
   of persistence across experts from the highest probability response in each geographic unit.
   “Median_Likely” is the probability of persistence generated by selecting the median probability
   of persistence across experts from the most likely probability response in each geographic unit.
   “Median_Low” is the probability of persistence generated by selecting the median probability of
   persistence across experts from the lowest probability response in each geographic unit.

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   are derived directly from those responses and therefore should be presented and considered in
   conjunction with those figures.




   Figure 12. Summarized probability of persistence of at least a given number of geographic units
   given the probability of persistence for each individual geographic unit.

   The y axis of each grid in Figure 12 is the probability that at least the number of geographic
   units indicated by the x axis of the grid persist. The probability in a bar reaches 1 when there is
   no probability of fewer geographic units persisting. Moving from top to bottom the grids show
   the probabilities by time period (2015, 2025, 2050, and 2100). Moving from left to right the grids
   show the range of expert responses by summary selection type and probability response as in
   Figure 11. Therefore looking down a column of grids provides a view of the trend in persistence
   through time and looking across a row of grids provides a view of the range of uncertainty in
   persistence for a given time period. The summarized probabilities presented here are provided
   to aid understanding of the implications of the individual persistence probabilities provided
   above, and are derived directly from those responses and therefore should be presented and
   considered in conjunction with those figures.

   Expert Assumptions during Persistence Graphing Exercises

   Experts were asked to summarize the assumptions that informed their responses to resiliency
   questions 1 and 2. This was done via open discussion, with facilitators asking both direct
   questions about particular issues that could impact responses (e.g., climate change conditions),
   and open ended questions (e.g., what other assumptions were considered?).
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   Notes: Climate-change emissions scenarios considered during this exercise differed among
   experts (and some responses did not indicate an emissions scenario). However, in discussions
   following the graphing exercise, experts indicated that the confidence intervals around their
   persistence probabilities were likely to capture the variance associated with different emission
   scenarios and other climate change uncertainties.

   Experts were asked whether regulatory protections influenced their predictions. Some experts
   assumed the status quo (i.e., continued protections under the ESA and current Federal and
   State land management policies). Others indicated their persistence probabilities were not
   influenced by regulatory considerations but that doing so would not have altered their
   projections. Their focus was on the biology and ecology of the species, not listing status-related
   impacts or regulatory scenarios in the future, and they felt that factors influencing lynx
   persistence on the landscape are independent of ESA listing status.

   Experts were asked what they meant by “small population size effects.” They explained that
   because small populations are more vulnerable to both demographic and genetic impacts and
   at increased risk from catastrophic and other stochastic events than are larger populations, they
   also have a lower likelihood of persistence. Experts indicated that connectivity with other
   populations reduces the vulnerability of small populations as it does for larger populations.

   Experts were asked if their projections were influenced by considerations of whether historical
   patterns of cyclic irruptions of lynx into the DPS from Canada will continue in the future. Most
   agreed that the magnitude of irruptions has declined from the historical highs of the 1960s and
   1970s, and that irruptions may have ceased in recent decades in some parts of the range,
   particularly in the West. However, most experts felt that connectivity remains good between
   Canada and those DPS geographic units that abut the international border, and most assumed
   some level of regular or intermittent interaction between lynx in those units and Canada, even if
   full-blown irruptions have not been documented recently. Some experts said that the likelihood
   of future irruptions had little influence on their persistence graphs, especially for the more
   isolated units (GYA and Western Colorado), where an influx of lynx from Canada may be less
   likely.

   Conservation Actions to Address Influencing Factors and Increase Probability of
   Persistence

   3. What conservation actions could be taken that would address the factors impacting
   the probability of persistence, or would otherwise increase the probability of
   persistence?

   Response Type: Individual list with rounds responses. Experts were given 5 minutes to write a
   list of three potential conservation actions that could be taken. Facilitators then asked one
   expert at a time to provide one item from their list, cycling through the set of experts until all
   experts had exhausted their lists. Experts were given the opportunity to add items when it was
   their turn that had not been on their written lists. Experts were not asked if they agreed with

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   conservation actions presented by other experts, thus the following list should not be viewed as
   consensus among lynx experts.

   Expert Responses: List of potential conservation actions in the order provided.

      •   Reduce CO2 emissions
      •   Continue protections associated with Federal and/or State listing
      •   Adjust forest management to retain spruce and fir, and reduce fire burn rates
      •   Promote/maintain habitat connectivity with Canadian populations through coordinated
          cross-border land use planning
      •   Manage salvage logging associated with fire and insect damage to minimize impacts to
          and/or facilitate restoration of lynx/hare habitats
      •   Configure and design lynx-friendly landscapes at appropriate scales; design and
          maintain a mosaic of lynx/hare habitats
      •   Manage fuels reduction (fire management) projects while maintaining or enhancing
          hare/lynx habitat features.
      •   Augment small populations and reintroduce lynx to former, historic range with suitable
          habitat (GYA, Kettle Range in Washington, perhaps other areas); bolster populations
          before future climate change impacts
      •   Support additional research to fill knowledge gaps, particularly related to effectiveness of
          conservation efforts - it remains unclear exactly what is needed for lynx across the
          range to achieve/maintain viability (e.g., habitat quality/amount/distribution, landscape­
          level hare densities, forest conditions that support hares, etc.)
      •   Enhance cross-border cooperation with Canada to increase near-border lynx
          populations and maintain connectivity
      •   Consider cumulative impacts of mining, ski areas, oil and gas, etc., in management
      •   Promote reforestation of heavily fragmented areas (e.g., some parts of the GYA and
          Minnesota units); reduce fragmentation
      •   Apply strategic habitat conservation concepts; model and identify key areas and focus
          on those areas still in need of protection and management (e.g., private forest lands)
      •   Maximize redundancy of lynx populations throughout the DPS
      •   Implement fire management Best Management Practices (BMPs)( e.g., allow/encourage
          burns to occur in a way that creates high- and low-intensity mosaic fire patterns)
      •   Evaluate whether there is a need for monitoring lynx (and hares) using consistent
          methods throughout the DPS, perhaps coupled with monitoring of other carnivores;
          structured occupancy modeling with genetics sampling could be very informative and is
          cost effective; also known-fate monitoring; monitoring pellet plots is proven and reliable
          way to monitor hares
      •   Devote increased funding to lynx conservation - lynx are in worse shape than other
          mesocarnivore species, but receive less funding than those species that have more
          secure populations and appear less vulnerable to climate change




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   Other Considerations
   After completing the elicitation exercises and prior to adjourning the workshop, facilitators asked
   if there were any other considerations the lynx experts or subject matter experts felt are relevant
   to the SSA. One subject matter expert indicated that monitoring of prey base (hares, red
   squirrels) would help inform lynx recovery, and that pellet-based or mark-recapture methods are
   most reliable. This expert suggested a need to determine whether areas that we think are going
   to become poor habitat for a variety of reasons could still hold hares and lynx in the future.
   Maybe hares still can use areas we think will be poor habitat, and monitoring these areas could
   help inform our understanding of how lynx persist at the edge of their range.


   Synthesis
   Although uncertainty remains about the historical distribution and sizes of resident lynx
   populations in the DPS, as well as current population sizes, much more is known now than
   when the DPS was listed under the ESA in 2000. Based on research conducted since the DPS
   was listed, including the summaries of that work provided at this workshop, as well as ongoing
   research, conservation, and management efforts, we have a much better understanding of the
   distribution and status of populations throughout the DPS range. For example, in 2000, it was
   unclear whether Maine and Minnesota supported resident populations or were only occasionally
   visited by lynx dispersing from Canada during and after northern hare population crashes. We
   now know that both northern Maine and northeastern Minnesota support resident lynx
   populations, and both are likely larger now than they were historically (Maine), or before they
   were protected by State and Federal regulations (Minnesota). In contrast, resident lynx appear
   to be naturally less abundant and more patchily-distributed in some parts of the DPS than
   thought at the time of listing, including the West (Interagency Lynx Biology Team 2013, p. 23),
   where potential lynx habitats also appear to have been initially overestimated. We also have a
   better understanding of the habitat features and hare densities that appear necessary to support
   resident lynx at the southern margin of the species’ range, and of the parts of the contiguous
   U.S. that contain these features. The presentations in conjunction with expert elicitation
   responses at this workshop have informed and refined our understanding of key aspects of the
   status of, and potential threats to, the lynx DPS.

   For example, we were provided a thorough history of the evolution of regulatory mechanisms
   that have been developed and implemented through conservation agreements and formal
   amendments to Federal agency management plans to address the singular threat for which the
   DPS was listed under the ESA - the inadequacy of regulatory mechanisms in Federal land
   management plans prior to listing. Given our improved understanding of resident lynx
   populations in Maine and Minnesota (above), where State and private lands constitute much
   more of the lynx habitat than elsewhere in the DPS (98.9% in Maine; 51.7% in Minnesota), an
   assessment of the adequacy of regulatory mechanisms on those State and private lands will be
   a necessary component of the status assessment. Likewise, our understanding of lynx genetics

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   also has improved, with evidence of continued high levels of gene flow range-wide, despite fine-
   scale genetic sub-structuring in some populations and additional evidence of lynx hybridization
   with bobcats. Bobcats appear to be encroaching at the edge of the lynx range in Minnesota
   (Appendix 3, p. 9) and their numbers appear to have increased recently in New Hampshire,
   Vermont, and southern Quebec (Lavoie et al. 2009, entire; Roberts and Crimmins 2010, p. 170;
   Broman et al. 2014, p. 230) adjacent to the northern Maine lynx distribution. Whether this
   represents a threat to lynx populations in Minnesota and Maine via increased hybridization,
   behavioral mechanisms, or competition for hares is not documented at this time; however,
   encroachment of bobcats in the southern periphery of lynx range may result in lynx
   displacement or niche contraction (Peers et al. 2013, entire).

   Canadian researchers also provided updated information on lynx status, management (including
   legal harvest), threats, genetics, and hare population cycles in southern Canada, adjacent to
   some DPS lynx populations. Forest ecologists and climate modelers also presented information
   regarding potential impacts of timber management and climate change on lynx and boreal forest
   habitats in the contiguous U.S. Knowledge of lynx and hare responses to various silvicultural
   treatments continues to improve, although the need for continuing research remains. Climate
   models continue to point toward the future northward and upslope migration of lynx and hare
   habitats and loss of snow conditions favorable to lynx, although uncertainty remains regarding
   the timing, extent, and biological consequences of such impacts. Increases in the size,
   intensity, and frequency of wildfires and insect outbreaks in boreal/subalpine forests may also
   be related to climate change, but whether these represent temporary or permanent impacts to
   lynx habitats remains unclear. Finally, much research has been done on hare population
   dynamics and habitat relationships at the southern extent of their range, much of which overlaps
   that of lynx in the contiguous U.S., but questions remain regarding regional variation in hare
   densities and what landscape-level hare abundances are necessary to support persistent
   resident lynx populations across the DPS.

   Based on the summaries of post-listing research and the status and threat updates provided at
   this workshop, and on the results of the expert elicitation process, the Service provides the
   following synthesis of the status and likely viability of the DPS in terms of the 3 Rs. This
   information will be considered as appropriate, along with more detailed analysis of the published
   literature, in the subsequent SSA report for the DPS. The conclusions below are based on the
   information provided and the results of expert elicitation conducted at this workshop; they may
   be complemented or altered by the additional analyses yet to be conducted as part of the SSA
   process.


   Representation
   Expert presentations on lynx genetics in the DPS and in Canada and expert responses and
   discussion with regard to representation questions suggest few threats to the genetic fitness or
   adaptive capacity of lynx in the DPS. High gene flow across the continental lynx range,
   indicated by very low Fst values (see Subject Matter Presentations, above), suggests the
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   absence of substantial barriers to genetic interchange, and little evidence or risk of significant
   genetic drift among DPS populations. Most experts indicated that none of the six geographic
   units known or thought to support lynx populations in the DPS is susceptible to meaningful
   genetic drift, although several experts indicated that the more geographically isolated units (the
   GYA and Western Colorado units) are likely more susceptible to such drift than the units that
   are directly connected to lynx populations and habitats in Canada. Overall, according to both
   the expert panel and the subject matter presentations, there appears to be a low risk of
   biologically consequential drift for lynx populations in the DPS. Likewise, expert responses
   indicated that the generally low level of genetic differentiation and relatively similar ecological
   settings across the DPS suggest little life history variability or niche differentiation among DPS
   populations that would indicate that any are more or less important to maintain than others in
   terms of representation. Individual experts indicated that representation can best be maintained
   by conserving current DPS populations (and hence the genetic variation in each), maintaining
   connectivity between DPS and Canadian populations, and avoiding impacts that would facilitate
   or increase the potential for or likelihood of genetic drift. Our interpretation of this part of the
   elicitation is that the adaptability and evolutionary capacity of the DPS over time does not
   appear to have been diminished and is unlikely to become so, independent of threats that may
   impact the redundancy and persistence of lynx populations. We will consider this information
   along with available empirical data and the published literature when evaluating representation
   in the DPS for the SSA.


   Redundancy
   With resident lynx populations and subpopulations in at least five of six large (the smallest is
   over 2,000 square miles, the others are all over 8,000 square miles), widely-distributed (from
   Maine to Washington and south along the Rocky Mountains), and relatively discrete geographic
   areas (see Figure 1), the DPS as a whole appears invulnerable to extirpation from a single
   catastrophic event. Expert responses indicated no catastrophic event that could result in the
   functional extirpation of the entire DPS and, further, no or a very low likelihood of functional
   extirpation of any of the individual geographic units due to a single catastrophic event. We
   interpreted these responses to indicate there is a small chance of decreased redundancy from a
   single catastrophic event because the probability of any geographic unit being lost to a
   catastrophic event is low. Experts indicated that functional extirpation of the geographically
   smallest unit (Washington) and those supporting the fewest resident lynx (Washington, GYA,
   and perhaps Minnesota) would be more likely to occur as a result of a series of catastrophic
   events over a 10-year period than to any single event over the next 10 years (see Figure 2
   above). Experts listed fire, drought, insect outbreaks, loss of favorable winter conditions, and
   disease as potential events that could lead to functional extirpation in these units. In
   Washington in particular, where large fires have impacted nearly 40 percent of the occupied
   lynx habitat over the past 10-15 years, experts felt that several more successive years of such
   fires could result in functional extirpation. However, because fire and insects are likely to cause
   only temporary (20-40 years) losses of lynx and hare habitats, and because connectivity
   between the Washington unit and lynx habitats and populations in southern British Columbia
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   remains intact, experts indicated this unit (and others abutting habitats and lynx populations in
   Canada) would likely be naturally re-colonized relatively quickly by dispersing lynx. Therefore,
   extirpation in these units because of catastrophic events (or a series of them over time) would
   be temporary (likely lasting only one or several decades) unless events permanently altered the
   habitats. Experts indicated that if lynx were functionally extirpated in the GYA or western
   Colorado units, which are not connected to habitats or populations in Canada and are relatively
   isolated from other DPS populations, natural re-colonization would be less likely, would take
   longer, or may never occur.

   Overall, expert responses indicated that extirpation of the DPS as a whole, or of resident lynx
   populations in most individual geographic units, because of a catastrophic event is very unlikely.
   Because we lack evidence that persistent resident lynx populations occurred historically but
   have been lost from any other large geographic areas in the contiguous U.S., it also seems that
   redundancy in the DPS has not been meaningfully diminished from historical levels. That is, the
   loss of resident lynx populations in the DPS, to the extent suggested by the historic record, was
   likely in areas (e.g., northern New Hampshire, Michigan’s Upper Peninsula, the Kettle/Wedge
   area of northeastern Washington, perhaps Isle Royale in Lake Superior) peripheral to the
   geographic units that currently support resident lynx, and not in discrete geographic units that
   would have represented greater redundancy in the contiguous U.S. However, the implications
   of the potential recent loss of resident lynx in the GYA for the redundancy of the DPS are
   unclear. The historic record and recent research show that the GYA has supported resident
   lynx, but it is unclear whether the area consistently supported a persistent resident population
   over time or whether it naturally supported resident lynx only some of the time (was “winked on”
   in a metapopulation sense) when habitat conditions and hare densities were favorable, and at
   other times, when habitats and hare densities were less favorable, it did not support resident
   lynx (“winked off” in a metapopulation sense). Given the protected conservation status of
   millions of acres in the GYA unit (Yellowstone and Grand Teton National Parks; all or parts of
   the Absaroka-Beartooth, Bridger, Gros Ventre, Lee Metcalf, Northern Absaroka, Teton, and
   Washakie Wildernesses), its apparent recent inability to support resident lynx may be a
   reflection of naturally marginal and patchy habitats and relatively low hare abundance in much
   of the unit, resulting in only an intermittent ability of this unit to support resident lynx. If so, its
   contribution to redundancy within the DPS is questionable.


   Resiliency
   Because we lack reliable estimates of the sizes and trends of most lynx populations in the DPS,
   we are unable to use these parameters to evaluate the resiliency of individual populations or the
   DPS as a whole. Efforts to understand resiliency are also confounded by the metapopulation
   structure thought to govern lynx populations at the southern margin of their continental range
   (i.e., populations and subpopulations in the DPS), the related uncertainty about the extent to
   which DPS populations may rely on cyclic immigration of lynx from Canada during population
   irruptions, and the ambiguity in the historic record that limits our understanding of the relative
   persistence of lynx in various geographical areas of the contiguous U.S. and, thus, the

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   contribution of those areas to the viability of the DPS. Our evaluation of the resiliency of lynx
   populations in the DPS is limited, therefore, to a largely qualitative assessment of the current
   status of populations in each of the six geographic units along with the quantitative summary of
   expert professional judgment of their likelihood of persistence over time given known or
   perceived potential threats.

   As expected, both expert estimates of probability of persistence and expert confidence in those
   estimates were higher over the short-term than the long-term. Median probability of persistence
   (MPOP) at year 2025 was >= 0.90 for all but one of the six geographic areas. The GYA had a
   MPOP of 0.52, apparently reflecting the uncertainty regarding whether this unit consistently
   supported a resident lynx population historically and whether it currently supports resident lynx.
   At year 2025, confidence bounds were smallest (indicating higher expert confidence) for the
   units with the highest MPOPs (Northern Maine, Northeastern Minnesota, and Northwestern
   Montana/ Northeastern Idaho), and larger for units with lower MPOPS (North-central
   Washington, GYA, and Western Colorado). At mid-century, MPOP declined for all units but
   remained >= 0.70 for all but the GYA (0.35), and confidence bounds increased for estimates for
   all units but the GYA, where it remained the same as at year 2025. At end-of-century,
   persistence probabilities declined further, as expected, and only the Northern Maine,
   Northwestern Montana/ Northeastern Idaho and Western Colorado units had MPOPs >= 0.50.
   Also as expected, confidence bounds were very large around persistence estimates at year
   2100, with the median confidence range extending across more than 50% of the range of
   possible outcomes for all but the Northwestern Montana/ Northeastern Idaho population, and
   the extremes of the range nearly covering the full range (0% to 100% probability of persistence)
   of possible outcomes.

   Experts listed a number of factors that influenced their probability of persistence estimates for
   each unit (see unit summaries above in the Resiliency section). Near-term factors varied by unit
   (e.g., post-harvest forest succession in Maine, where hare abundance is expected to decline as
   currently dense regenerating clear-cuts mature; continued large-scale fires in lynx habitats in
   Washington; and insect outbreaks in Maine, Minnesota, and Colorado), but longer term factors
   seemed to coalesce around anticipated direct and indirect effects of climate change. These
   included potentially climate-driven increases in the size, frequency, and intensity of fire and
   insect outbreaks; decreases in snow amount, duration and quality, leading perhaps to increased
   competition with bobcats and other hare predators; and the projected warming-induced
   northward and upslope migration of boreal and subalpine forests that would result in the loss
   and further fragmentation and isolation of lynx and hare habitats in the contiguous U.S. Expert
   responses and ensuing discussions indicated that continued climate warming and associated
   direct and indirect effects will likely exert the greatest negative influence on the probability of
   persistence for lynx populations in the DPS regardless of which climate emissions scenario is
   used to model future conditions, although the timing, extent, and magnitude of impacts is
   uncertain and will likely vary by scenario.



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   Overall, expert responses to this part of the elicitation indicate that all five of the geographic
   units known to currently support resident lynx populations have a greater than 70% expectation
   of doing so by mid-century, but a declining likelihood and greater uncertainty of doing so by the
   end of the century. It is uncertain whether the remaining geographic unit (the GYA) currently
   supports resident lynx, and expert responses indicate a lower probability that it will do so in the
   future compared to the other units. Responses also suggest that the overarching threat to the
   long-term persistence of lynx populations in the DPS is climate change, which is anticipated to
   result first in loss of snow conditions favorable for lynx and, after an uncertain lag time following
   continued climate warming, loss (northward and upslope migration) of boreal forest habitats,
   although the timing and magnitude of such losses are uncertain.


   Conclusion
   The Service and the Lynx SSA Team appreciate the willingness of lynx and subject matter
   experts to attend this workshop and share their knowledge, professional judgments, and
   opinions. We have gained considerable insight into the current status of lynx populations
   throughout the DPS and the factors most likely to influence the DPS’s future viability - including
   information that is not currently available in the peer-reviewed literature. We will incorporate this
   information into the SSA as appropriate, along with the published scientific literature, to inform
   recovery planning for the DPS and any other ESA-related determinations the Service is
   authorized and required to make. As we develop the SSA report, we will continue to solicit
   expert input from workshop panelists and from other lynx and subject matter experts who were
   unable to attend this workshop, including peer review of the SSA report.




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   Appendices
   All appendices are available on the Service’s Region 6 Canada lynx webpage
   (http://www.fws.gov/mountain-prairie/es/canadaLynx.php ).




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                                     Species Status Assessment

                                                 for the

                            CANADA LYNX (Lynx canadensis)

            Contiguous United States Distinct Population Segment




           Photo by Keith Williams


                                          Version 1.0 - Final
                                            October 2017


                                     U.S. Fish and Wildlife Service
                                          Regions 1,3, 5 and 6




                                                                  Rvsd Plan - 00003781
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   Credits
   This SSA report was produced by the Canada Lynx Species Status Assessment Team (Lynx
   SSA Team), which consists of a Core Team of Service biologists who work on lynx conservation
   across the DPS range and an SSA Framework Implementation Team of Service and U.S.
   Geological Survey staff who have developed and advanced the SSA framework.

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   The Framework Implementation Team (FIT) developed and facilitated the expert elicitation
   process. J. Cummings compiled, analyzed, graphed, and summarized the information
   generated via expert elicitation and created, with Core and FIT input, conceptual models
   presented in section 1.3. All FIT members contributed to the Executive Summary and sections
   1.2 and 1.3, and all provided technical review and editing of other parts of the report.

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   Karen Newlon, Montana Ecological Services Field Office.



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   This report relies heavily on the input and professional opinions provided by a panel of 10
   recognized lynx experts and captured during a formal Expert Elicitation Workshop held in
   Bloomington, Minnesota, October 13-15, 2015. Several other recognized lynx experts from
   Canada and the contiguous United States were invited but unable to participate. The workshop
   also was supported by and benefitted from the participation and presentations of other
   recognized experts in the fields of snowshoe hare ecology, lynx genetics, forest ecology, climate
   change modeling, and Federal lynx habitat management.

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   The Canada Lynx Expert Elicitation Workshop Report can be found here:

   https://www.fws.gov/mountain-
   prairie/es/species/mammals/lynx/SSA2016/Appendices/2016%2004%2018%20FINAL%20Lynx
   %20SSA%20EE%20Workshop%20Report%202%20izeds.pdf

   Report appendices, expert presentations, and other supporting materials can be found under
   the “Species Status Assessment (SSA)” tab at:

   https://www.fws.gov/mountain-prairie/es/canadaLynx.php




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   This report also relies heavily on the Interagency Lynx Biology Team’s Canada Lynx
   Conservation Assessment and Strategy, 3rd Edition, August 2013:

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          edition. USDA Forest Service, USDI Fish and Wildlife Service, USDI Bureau of Land
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   All Lynx SSA Core Team members participated in development and review of the revised
   LCAS.




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    Executive Summary
   This report presents the results of a species status assessment (SSA) for the contiguous United
   States distinct population segment (DPS) of Canada lynx (Lynx canadensis). The report
   represents the U.S. Fish and Wildlife Service’s (Service’s) evaluation of the best available
   scientific information, including the formally elicited professional judgments and opinions of
   recognized lynx experts. Based on this information, we (1) describe the ecological requirements
   and population dynamics of the species; (2) evaluate the historical and current condition of lynx
   populations in the DPS and the factors that appear to have influenced them; and (3) assess the
   DPS’s near-term (at year 2025), mid-term (year 2050), and longer-term (year 2100) viability.
   This final SSA has been revised in response to the reviews, comments, and suggestions of 5
   independent peer reviewers, 11 State wildlife and natural resources management agencies, and
   3 other Federal agencies.

   Background

   The Canada lynx is a North American boreal forest carnivore whose populations are strongly
   tied to its primary prey, the snowshoe hare (Lepus americanus). Both species occur primarily in
   the extensive boreal spruce-fir forests of Canada and Alaskan; however, the southern margins
   of both their ranges extend into the northern contiguous United States. The Service designated
   lynx in the Lower 48 States as a DPS because of differences in the management of lynx and
   lynx habitats across the international boundary with Canada and because of the climatic,
   vegetative, and ecological differences between lynx habitat at the southern extent of its range in
   the contiguous United States compared to the northern range in Canada and Alaska. The
   Service listed the DPS as threatened under the Endangered Species Act (ESA) in 2000
   because of the inadequacy, at that time, of regulatory mechanisms on some Federal lands to
   provide for the conservation of lynx habitats and populations (see section 3.1.1). This SSA does
   not reconsider the designation of the DPS or its listing status under the ESA, which are Service
   policy decisions. Instead, it provides the scientific basis for the statutorily required 5-year status
   review for the DPS and other decisions the Service is required to make in accordance with the
   ESA.

   In this SSA, we evaluate the current and possible future conditions for lynx in 6 geographic units
   within the DPS range that currently support or recently supported resident lynx. The units are
   distributed from Maine to Washington and south along the Rocky Mountains to western
   Colorado (fig. 1). Units 1 (Northern Maine), 2 (Northeastern Minnesota), 3 (Northwestern
   Montana/Northeastern Idaho), and 4 (North-central Washington) historically supported and
   currently support resident lynx populations. Based on verified records, it is uncertain whether
   Units 5 (Greater Yellowstone Area [GYA]) and 6 (Western Colorado) historically supported
   persistent populations or if they supported resident lynx only ephemerally (see section 2.3.2.2).
   Combined, the 6 units encompass over 131,000 km2 (about 50,640 mi2) of occupied or potential
   lynx habitat and represent roughly the southern 2 percent of the species’ breeding distribution
   (98 percent occurs in Canada and Alaska). Land ownership varies among the units, with private


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   lands accounting for most of Unit 1; a mix of Federal, State and private lands in Unit 2; and
   predominantly Federal lands in the 4 western units (see table 2, chapter 1 for additional details
   on unit sizes and land ownership).




   Figure 1. Six geographic units within the range of the contiguous United States distinct
   population segment of Canada lynx (Lynx canadensis).

   The lynx is a habitat and prey specialist that requires dense boreal and subalpine forests that
   support abundant snowshoe hares, which typically constitute greater than 90 percent of the
   lynx’s year-round diet. Lynx and hares are most abundant in areas with long winters and
   persistent deep, powdery snow. The lynx has evolved morphological adaptions - long legs and
   exceptionally large paws - which in snowy conditions are thought to confer a competitive
   advantage over other terrestrial hare predators and allow lynx to occupy habitats that are
   unavailable, at least seasonally, to some of its potential competitors. The DPS occurs at the
   southern margin of the species’ range, where boreal forest habitats and thus lynx are, in most
   places, naturally less abundant and generally more patchily-distributed than in the core of the
   species’ range in Canada and Alaska. Maintaining connectivity between the DPS and lynx
   populations in Canada is thought to be important. However, the extent to which DPS
   populations may depend on immigration of lynx from Canada remains uncertain.



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   Our understanding of lynx biology has improved substantially since the DPS was proposed for
   listing in 1998. For example, analysis of historical trapping data indicated that many lynx records
   in the contiguous United States coincided with the intermittent (roughly decadal) mass dispersal
   (“irruptions”) of lynx from Canada into the northern United States when hare populations in
   Canada underwent steep cyclic declines. During these events, particularly the unprecedentedly
   large irruptions of the early 1960s and early 1970s, hundreds to thousands of lynx dispersed
   south into both suitable and unsuitable habitats in the northern United States. In suitable
   habitats, immigrants may have contributed to the demographic and genetic health of resident
   populations; in unsuitable habitats, dispersing lynx occurred only temporarily and disappeared
   relatively quickly from areas that are not capable of supporting resident populations over the
   long-term. Research and monitoring conducted by State, Federal, and Tribal agency partners
   and academic institutions also have refined our understanding of lynx habitat requirements and
   associations, distributions, demography, and potential stressors throughout the DPS range (see
   Summary of Findings, below, and chapters 2-4).

   SSA Framework

   The SSA framework considers a species’ life history and ecological requirements to understand
   how the species maintains itself over time. Therefore, we evaluated the ecological requirements
   of individual lynx and populations and the current and possible future conditions for resident lynx
   populations in each geographic unit to assess the viability of the DPS. The SSA uses the
   conservation biology principles of resiliency, redundancy, and representation (the “3 Rs”) as the
   framework for assessing current and future conditions. Resiliency describes the ability of
   populations and species to withstand stochastic events, redundancy describes a species’ ability
   to withstand catastrophic events, and representation describes a species’ ability to adapt to
   long-term changes in the environment (see sections 1.2 and 1.3). For lynx, the factors capable
   of influencing the 3 Rs that we evaluate in this SSA include the adequacy of existing regulatory
   mechanisms (the factor for which the DPS was listed); climate change, vegetation management,
   wildland fire management, and habitat loss and fragmentation (the factors considered by the
   Interagency Lynx Biology Team [ILBT] to have the potential to exert population-level effects on
   the DPS); and other factors that could influence the continued ability of particular geographic
   units to support resident lynx.

   Uncertainties and Assumptions

   Several sources of uncertainty had to be accounted for in our analysis, including limited data on
   lynx population sizes, trends, and other important demographic parameters in the DPS; the
   influence of lynx immigration from Canada on the persistence of the DPS; the effectiveness of
   habitat management efforts; and the potential effects of competition. We similarly lack
   consistent habitat and demographic information for snowshoe hares throughout much of the
   DPS range. Given the emerging role of climate change as a stressor, uncertainties about the
   timing, rate, and magnitude of projected future impacts to hares; boreal, subalpine, and
   montane forests; and snow quality, depth, and persistence constrain our ability to precisely
   predict effects on lynx populations and habitats. To account for these uncertainties in our


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   analysis, we identified a number of critical assumptions based on the scientific literature and
   input provided by the lynx experts we consulted (see section 1.4).

   As part of our evaluation of the DPS’s viability, we asked a panel of 10 lynx experts to provide
   their opinions on the likelihoods that each geographic unit would support resident lynx
   populations in the short-term (at year 2025), mid-term (at year 2050) and longer-term (at year
   2100). The level of uncertainty regarding the viability of the DPS and each of the factors that
   may influence it increases the farther into the future we (and the experts we consulted) try to
   look, and this uncertainty greatly reduces confidence in projections, particularly beyond mid­
   century. The output from this expert elicitation process (summarized below and presented in
   detail in chapter 5) remains the experts’ best professional judgment, and readers should
   consider the inherent limitations and substantial uncertainties in expert responses, particularly
   over longer time periods (see also section 1.4 and chapter 5).

   Summary of Findings

   Much irresolvable uncertainty remains regarding the historical distributions and sizes of resident
   lynx populations in the contiguous United States. Several small populations may have been
   extirpated from some areas within or adjacent or peripheral to the geographic units we assess
   and a recent fire-driven decline in lynx numbers in Unit 4 seems likely. However, we find no
   compelling evidence, based on verified historical records, of major range contraction or dramatic
   declines in the number of resident lynx in the DPS as a whole (see section 2.3.2). In fact, there
   are currently more resident lynx in some parts of the DPS (Maine and Colorado) than likely
   occurred historically and, in those areas and in Minnesota, there are more resident lynx now
   than was suspected when the DPS was listed. Further, some areas suspected to have lost
   historical lynx populations may have been (and perhaps are now) naturally capable of
   supporting resident lynx only ephemerally or intermittently, as would be expected in marginal
   habitats at the southern periphery of the species’ range under a metapopulation structure like
   that thought to govern DPS lynx populations (see sections 2.2 and 4.1).

   Lynx conservation measures and habitat management guidance adopted by the U.S. Forest
   Service (USFS) and the Bureau of Land Management (BLM) via formally amended or revised
   management plans or conservation agreements with the Service have substantially addressed
   the singular threat for which the DPS was listed (the inadequacy of regulatory mechanisms
   when the DPS was listed; see section 3.1). Conservation efforts by State, Tribal, and other
   Federal agencies; conservation organizations; and some private landowners also have secured
   protection of lynx habitats and reduced a number of other potential stressors to lynx populations
   and habitats throughout the DPS range. Nonetheless, we and the experts we consulted expect
   that resident population sizes and distributions in the DPS will likely decline largely as a result of
   projected continued climate warming and associated impacts, which are likely to exacerbate the
   potential adverse effects of other stressors.

   Although the timing and extent of climate-mediated impacts are uncertain, continued warming is
   expected to cause a northward and upslope contraction of the boreal forest, snow conditions,


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   and hare populations that support lynx, along with several other potential impacts (see section
   3.2). This, in turn, will likely result in smaller, more fragmented, and increasingly isolated
   patches of habitat and smaller, more isolated lynx populations in the DPS that would be more
   vulnerable to stochastic demographic and catastrophic events and genetic drift. It also may
   improve conditions for other terrestrial hare predators, potentially resulting in increased
   competition and displacement of lynx from areas that currently support resident populations.
   Climate-driven increases in the frequency, size, and intensity of wildfires and forest insect
   outbreaks are also expected to continue, although we do not anticipate that such events alone
   would cause the permanent loss of breeding lynx populations in any geographic unit. We are
   aware of no management actions that could be expected to abate the projected long-term
   retreat of boreal forests, declining hare populations, and diminished snow conditions expected
   under continued climate warming.

   Despite the anticipated long-term effects of climate warming and the effects of other potential
   stressors (see chapter 3), we and the experts we consulted expect that each of the 5
   geographic units that currently supports resident populations (Units 1-4 and 6) individually has a
   high likelihood (80 to 98 percent based on median “most likely” expert projections; see table 1,
   below, and section 5.2, figs. 10-13 and 15) of continuing to do so at year 2025. Experts similarly
   indicated high likelihoods (70 to 90 percent) that those units will continue to support resident
   populations through 2050, albeit in reduced numbers and distributions. Experts projected that
   only Unit 3 has a high (78 percent) likelihood of supporting resident lynx by 2100; all other
   geographic units individually were deemed to have a 50 percent or greater likelihood of
   functional extirpation (i.e., no longer capable of supporting resident lynx populations) by the end
   of the century; however, all experts expressed great uncertainty in their projections for that time
   period (see section 1.4 and the introduction to chapter 5).

   Table 1. Summary of expert opinion regarding the likelihood that individual geographic
   units will continue to support resident lynx populations in the future1.
                                                                  Year
   Geographic                  2025                                2050                               2100
      Unit          Probability of        Range         Probability of        Range        Probability of        Range
                   Persistence (%)2         (%)'3      Persistence (%)          (%)       Persistence (%)          (%)
         1                96              80-100              80               65-95             50              40-80
         2                96              88-100              80               60-90             35              10-60
         3                98              95-100              90              70-100             78              50-90
         4                80               60-95              70               30-80             38               5-50
         5                52               10-70              35               15-60             15               5-50
         6                90              60-100              80               50-85             50              20-70
   1We asked 10 recognized lynx experts to provide their estimates of the probability that resident lynx populations or
   subpopulations would persist in each geographic unit, even if reductions in lynx numbers and distributions were
   anticipated ( i.e., the probability that resident lynx would not be functionally extirpated from the unit).
   2Median “most likely” probabilities of persistence provided by 10 lynx experts for each geographic unit considering the
   current status of lynx populations and current and likely future stressors to those populations. Green = 68-100%
   median probability of persistence; Yellow = 34-67% median probability of persistence; Red = 0-33% median
   probability of persistence.
   3The full range of “most likely” probabilities of persistence provided by the 10 lynx experts.




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   Cumulatively, expert median “most likely” responses suggest a high (80 percent) likelihood that
   resident lynx populations will persist in all 5 units that currently support them at year 2025 and in
   at least 4 of the 5 units at 2050, and a moderate (just under 50 percent) likelihood that they will
   persist in all 5 units at 2050 (fig. 2, middle column; also see section 5.1). Over the longer-term,
   expert responses suggest a high (about 85 percent) likelihood that resident populations will
   persist in at least 2 of the 5 units at 2100 and a more than 50 percent likelihood they will persist
   in 3 units, but also a high (> 75 percent) likelihood that resident populations will be functionally
   extirpated from 2 of the 5 units by the end of the century (fig. 2).




                                 Probability at leastX geographic
                                            units persist
   Figure 2. Cumulative probabilities that resident lynx populations will persist in at least a
   given number of geographic units over time (at years 2015 [current at time of expert
   elicitation], 2025, 2050, and 2100) based on experts’ predictions for individual geographic
   units. Experts’ “most likely” probabilities are summarized in the middle column; their
   highest (“better case”) and lowest (“worse case”) probabilities, representing uncertainty
   in their predictions, are summarized in the left and right columns, respectively. See
   section 5.1 for additional details on graph construction and interpretation.

   Below we summarize lynx status in each geographic unit based on our understanding of
   conditions historically, at the time the DPS was listed, and currently, and considering expert
   opinions regarding potential population sizes and future persistence. See section 2.3.2 for a
   detailed assessment of historical and current lynx distribution across the DPS range and
   chapters 4 and 5, respectively, for detailed evaluations of current and possible future conditions
   in each geographic unit.

   Unit 1 - Currently, northern Maine is thought to support many more resident lynx than likely
   occurred historically and many more than was known or suspected at the time the DPS was

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   listed, and recent information suggests that resident lynx may be expanding to the south of the
   core population area. This is due to the large amount and broad distribution of high-quality lynx
   and hare habitat that currently exists as a result of landscape-level clearcutting on private
   commercial timber lands in response to a major spruce budworm (Choristoneura fumiferana)
   outbreak in the 1970s and 1980s. These dense regenerating conifer stands are much more
   extensive than they are thought to have been historically under natural disturbance regimes.
   The State of Maine suggests that this unit currently may support 750-1,000 or more resident
   lynx. However, the extent of these high-quality stands probably peaked by 2010, and habitat
   quality is projected to decline in these stands over the next few decades as they age beyond 35­
   40 years post-harvest. Because a shift in forest management from clearcutting to partial
   harvesting that began in 1989 appears unlikely to maintain or recreate this extensive high-
   quality habitat, we expect lynx habitat and numbers to decline in this unit over the next several
   decades, perhaps to levels more consistent with likely historical conditions. We concur with the
   expert panel that the resident lynx population in this unit is very likely to persist at 2025 and at
   2050. Over the longer-term (at 2100), we expect continued climate warming to reduce the
   amount and quality of lynx habitat in this unit and exacerbate other potential stressors
   (commercial and energy developments, changing forestry practices and land ownership
   patterns, etc.), further reducing lynx numbers and likely decreasing the population’s resilience.
   Some climate models indicate substantial loss of boreal forest and favorable snow conditions
   under higher emissions scenarios, and this unit generally lacks potential elevational refugia that
   would support upslope movement of lynx habitats and populations. Therefore, we suggest that
   the likelihood that this unit will support a resident lynx population at 2100 may be somewhat
   lower than expert projections, although the timing and extent of climate-mediated habitat decline
   is highly uncertain. This geographic unit also may be the source of dispersing lynx that recently
   recolonized northern New Hampshire as well as several that temporarily established residency
   in northern Vermont. Some reproduction has been verified recently in both states, although
   neither was occupied when the DPS was listed, and resident lynx were thought to have been
   extirpated from New Hampshire.

   Unit 2 - Northeastern Minnesota similarly supports many more resident lynx than was suspected
   when the DPS was listed (when it was unknown whether a resident population occurred there at
   all), although how the current population compares to historical conditions is uncertain. Trapping
   records indicate strongly cyclic increases in lynx abundance in this unit in the 1930s through
   1970s in association with decadal irruptions of lynx dispersing south from Canada. Currently,
   Minnesota lynx experts suggest that the population in this unit likely fluctuates from 50 to 200
   resident lynx, and we find no evidence that it historically supported a larger resident population
   or a more extensive distribution of habitat capable of doing so. We concur with the expert panel
   that the resident lynx population in this unit is very likely to persist at 2025 and at 2050. Over the
   longer-term (at 2100), we expect continued climate warming to reduce the amount and quality of
   lynx habitat in this unit, reducing lynx numbers and likely decreasing the population’s resilience.
   Under higher emissions scenarios, some climate models project substantial loss of boreal forest
   and favorable snow conditions in this unit before the end of the century. Like Maine, this unit
   also lacks potential elevational refugia that would support upslope movement of lynx habitats
   and populations. Therefore, we suggest that the likelihood that resident lynx will persist in this


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   unit at 2100 may be somewhat lower than expert projections, although the timing and extent of
   climate-mediated habitat decline is highly uncertain.

   Unit 3 - Recent research, monitoring, and habitat mapping refinements indicate that habitats
   capable of supporting resident lynx in this and other western geographic units are naturally less
   abundant and more patchily-distributed than was thought when the DPS was listed. For
   example, earlier estimates that western Montana supported 1,000 or more lynx were based on
   broad assumptions regarding habitat suitability and lynx distribution that are not supported by
   current understanding of lynx habitat requirements (see section 4.2.3). Currently, this unit is
   thought to be capable of supporting 200-300 resident lynx. How the current population
   compares to historical conditions is uncertain, but we find no evidence that this unit historically
   supported a larger resident population or a substantially broader distribution of habitat capable
   of doing so. Lynx habitats in this unit are naturally patchy and fragmented due to topography
   and elevational and moisture (aspect) constraints. We concur with the expert panel that resident
   lynx are very likely to persist in this unit at years 2025 and 2050, and likely to do so at 2100.
   Over the longer-term, we expect continued climate warming and associated impacts, perhaps
   especially increased wildfire activity, to reduce the amount and quality of lynx habitat in this unit,
   reducing lynx numbers and likely decreasing the population’s resilience. Although the timing and
   extent of climate-mediated habitat decline is highly uncertain and fire-driven habitat loss
   typically would be temporary, wildfire size, frequency, and intensity have increased in this unit
   over the past few decades, and this pattern is expected to continue with projected climate
   warming.

   Unit 4 - Atypically large, frequent, and intense wildfires over the past few decades have
   impacted over a third of the lynx habitat in north-central Washington, perhaps substantially more
   after additional fires in 2017. Because of this, the number of resident lynx in this unit is likely
   lower than it was historically and when the DPS was listed. Based on estimates of lynx carrying
   capacity, this unit may have been capable of supporting roughly 50-60 resident lynx prior to
   large fires beginning in the early 1990s. Recent habitat evaluations suggest it currently may be
   capable of supporting only about 30-35 lynx, with the decline due to fire-driven habitat losses.
   Although these losses are expected to be temporary, additional fires in this unit before
   previously burned areas recover (10-40 years post-burn) would further reduce lynx numbers
   and make this geographic unit more vulnerable to extirpation. Because of these habitat impacts,
   limited demographic information, and remaining uncertainties (e.g., immigration/emigration
   rates, changes in snowpack, disease, lynx population status and impacts of trapping in southern
   British Columbia, and habitat corridor stability between British Columbia and this unit), the
   Washington Department of Fish and Wildlife recently submitted, and the State Fish and Wildlife
   Commission adopted, a proposal to uplist lynx from threatened to endangered within the State.
   Nonetheless, we concur with the expert panel that the resident lynx population in this unit is very
   likely to persist at years 2025 and 2050. Over the longer-term (2100), we expect continued
   climate warming to reduce the amount and quality of lynx habitat in this unit, further reducing
   lynx numbers and likely decreasing the population’s resilience. Therefore, we concur with
   experts that this unit has a relatively lower likelihood of supporting a resident population at 2100,
   although the timing and extent of climate-mediated habitat decline is highly uncertain.


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   Unit 5 - Based on evaluation of verified historic records, it is uncertain whether this geographic
   unit historically supported a small but persistent resident population or supported resident lynx
   only ephemerally. There are very few verified lynx records in the GYA from 1920-1999, but
   several resident lynx and evidence of reproduction were verified in the late 1990s and early
   2000s (around the time the DPS was listed). In addition, at least 9 radio-marked lynx released in
   Colorado (see below) dispersed northward into or through this unit from 2003-2010, but no lynx
   have been detected in the GYA since 2010. Most places surveyed in Yellowstone National Park
   had hare densities clearly too low to support resident lynx. However, parts of the Wyoming
   Range south of the park, where many historical and most recent occurrences in this unit have
   been concentrated, had hare densities among the highest documented in the DPS range. No
   population estimates are available, but expert opinion suggests that this unit may only support
   0-10 lynx, and we find no reliable evidence that it once supported a larger or persistent resident
   population. Therefore, given the uncertainty whether this unit historically or recently supported a
   persistent resident population and the lack of evidence that it is currently occupied by resident
   lynx, we concur with experts that it is very unlikely to support a resident population in the future.

   Unit 6 - There are currently many more resident lynx in this unit than likely occurred historically,
   and many more than were known or suspected at the time the DPS was listed. There were even
   fewer verified records in this unit during the last century than in the GYA, and no reliable
   evidence of a resident breeding population. However, from 1999-2006, 218 Canadian and
   Alaskan lynx were released into the San Juan Mountains of southwestern Colorado. As a result
   of the subsequent reproduction of some of the released lynx and some of their offspring over
   several generations, resident lynx currently occupy this unit. When the DPS was listed in 2000,
   27 of 41 lynx released in 1999 were still alive. The State of Colorado has concluded that its
   efforts have established a viable lynx population, and the State’s lynx experts suggest this unit
   may currently support 100-250 resident lynx. Recent snow-tracking and camera surveys in the
   San Juan Mountains in the southern part of the unit documented evidence of continued lynx
   residency and reproduction. We concur with the expert panel that resident lynx in this unit are
   likely to persist at year 2025. However, given this unit’s apparent historical inability to support a
   persistent resident population, its relative isolation from other lynx populations, its naturally
   fragmented habitat and generally very low hare densities, and its generally lower proportion of
   females producing kittens and low kitten survival, we believe it is less likely than expert
   projections to support a resident population at 2050 or at 2100. It is possible that hare densities
   will increase over the next several decades as large areas of forest regenerate from recent
   extensive insect and fire impacts. However, we expect any increase in hares to be temporary
   and accompanied by a longer-term insect- and fire-driven decrease in red squirrel
   (Tamiasciurus hudsonicus) abundance.

   DPS Viability

   In this SSA, we describe the current and future viability of the DPS in terms of resiliency,
   redundancy, and representation. Resident lynx populations persisted historically and continue to
   persist in 4 geographic units (Units 1-4). It is uncertain whether Unit 5 (the GYA) historically


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   supported a small persistent population or if lynx residency was ephemeral; currently, it appears
   not to support resident lynx. Available evidence suggests that Unit 6 (Colorado) did not
   historically support persistent lynx presence; however, a resident population has persisted there
   for more than a decade since the 1999-2006 releases described above. Considering the
   available information, we find no reliable evidence that the current distribution and relative
   abundance of resident lynx in the contiguous United States are substantially reduced from
   historical conditions. This suggests historical and current resiliency among lynx populations in
   the DPS.

   The current broad distribution of resident lynx in large, geographically discrete areas
   (redundancy) makes the DPS invulnerable to extirpation caused by a single catastrophic event.
   Because we lack evidence that formerly persistent lynx populations have been lost from any
   large areas, it also seems that redundancy in the DPS has not been meaningfully diminished
   from historical levels. In fact, as a result of the current population in Colorado, redundancy in the
   DPS is likely greater, at least temporarily, now than it was historically.

   Similarly, resident lynx remain broadly distributed across the range of habitats that has
   supported them historically, suggesting maintenance of the breadth and diversity of ecological
   settings occupied within the DPS range (representation). Additionally, observed high rates of
   dispersal and gene flow and, therefore, generally low levels of genetic differentiation across
   most of the lynx’s range, including the DPS, suggest the past and recent genetic health of lynx
   populations in the DPS (representation; but see section 2.1). Because there are no indications
   of significant loss of or current stressors to the genetic health or adaptive capacity of lynx
   populations in the DPS, we find that the current level of representation within the DPS does not
   appear to indicate a decrease from historical conditions.

   We expect lynx populations in each geographic unit to become smaller and more patchily-
   distributed due largely to projected climate-driven losses in habitat quality and quantity and
   related factors. However, the timing, rate, and extent of habitat decline due to projected climate
   warming and corresponding effects to lynx populations is highly uncertain. Despite some
   reduced resiliency, we conclude that resident lynx populations are very likely to persist in all 5
   units that currently support them (Units 1-4 and 6) in the near-term (2025) and in all or most of
   those units at 2050, with corresponding maintenance of redundancy and representation in the
   DPS over that time span. We and the experts we consulted have low confidence in predicting
   the likely conditions of DPS populations beyond 2050. That said, smaller, more isolated
   populations would be less resilient and more vulnerable to demographic and environmental
   stochasticity and genetic drift and, therefore, at higher risk of extirpation. Although predictions
   out to 2100 are highly uncertain, it is possible that resident lynx populations could be
   functionally extirpated from some units by the end of the century. Should extirpations occur, this
   would indicate a loss of resiliency, reduced redundancy and representation, and an increased
   risk of extirpation of the DPS.




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   Chapter 1: Introduction
   The Service designated Canada lynx in the contiguous United States as a DPS because of
   differences in the management of lynx and lynx habitats across the international boundary with
   Canada and because of the climatic, vegetative, and ecological differences in lynx habitat
   compared to the northern parts of the species’ range in Canada and Alaska (62 FR 28654­
   28655). The Service listed the DPS as threatened under the ESA in 2000 because of the
   inadequacy, at that time, of existing regulatory mechanisms on some Federal lands to provide
   for the conservation of lynx habitats and populations (65 FR 16052-16086). On May 8, 2014, the
   United States District Court for the District of Montana ordered the Service to complete recovery
   planning for the lynx DPS (U.S. District Court MT 2014a, p. 8). On June 25, 2014, the same
   court ordered the Service to complete a recovery plan by January 15, 2018 “^unless the
   Service finds that such a plan will not promote the conservation of the [lynx]” (i.e., the DPS is
   recovered or no longer warrants ESA protections; U.S. District Court MT 2014b, p. 2). We
   completed this SSA (version 1.0) to summarize the best available scientific information on the
   current status and likely future viability of the DPS. This SSA will inform a determination by
   Service decision makers of whether (1) the DPS continues to warrant protection under the ESA
   and (2) a recovery plan is needed to guide conservation and recovery of the lynx DPS.


    1.1 Background
   The Canada lynx is a North American wild cat that is most strongly associated with northern­
   latitude boreal forests (taiga) of Canada and Alaska (McCord and Cardoza 1982, p. 729; Agee
   2000, pp. 39-41; Aubry et al. 2000, pp. 373-374; Mowat et al. 2000, p. 272). It is a prey
   specialist and relies heavily on its primary prey, the snowshoe hare (Lepus americanus), to
   support survival, reproduction, recruitment, and, therefore, population persistence (Ruggiero et
   al. 2000a, p. 110; Mowat et al. 2000, p. 270; Steury and Murray 2004, pp. 128, 136-138;
   USFWS 2005, p. 2; Interagency Lynx Biology Team [ILBT] 2013, pp. 30-34; 79 FR 54808­
   54809). Lynx distribution and population persistence are also influenced by snow conditions
   (e.g., Peers et al. 2012, pp. 4-9). It is generally restricted to areas that receive deep and
   persistent unconsolidated (“fluffy”) snow, which is thought to allow lynx, with their
   proportionately longer limbs and very large feet, to outcompete other terrestrial hare predators
   that are less efficient in such conditions (McCord and Cardoza 1982, pp. 748-749; Quinn and
   Parker 1987, p. 684; Buskirk et al. 2000a, pp. 89-94; Buskirk et al. 2000b, pp. 400-401;
   Ruggiero et al. 2000b, pp. 445-449; Hoving 2001, p. 75; Hoving et al. 2005, p. 744-749; Carroll
   2007, entire; Gonzalez et al. 2007, entire; ILBT 2013, pp. 25-26; 79 FR 54809).

   The lynx is generally considered secure, widespread, abundant, and distributed throughout
   most of its historical ranges in Canada and Alaska, which, combined, account for roughly 98
   percent of the species’ distribution. Lynx are distributed across approximately 5.5 million km2
   (2.1 million mi2) in Canada (Environment Canada 2014, p. 2) and 534,454 km2 (206,354 mi2) in
   Alaska (Univ. of Alaska Center for Conservation Science 2016, entire; Reimer 2016, pers.
   comm.). The southern peripheries of the boreal forest and the distributions of snowshoe hares
   and lynx extend into the northern contiguous United States (Bittner and Rongstad 1982, p. 146;

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   McCord and Cardoza 1982, p. 729; Agee 2000, pp. 39-41; Aubry et al. 2000, pp. 379-382;
   Hodges 2000a, pp. 163-173; McKelvey et al. 2000a, pp. 242-253), where the 6 geographic units
   evaluated in this SSA represent the other 2 percent of the species’ breeding distribution
   (approximately 131,168 km2 [50,644 mi2]; see fig. 1, above, and table 2, below).

   We consider “southern” lynx populations to include all those in the contiguous United States and
   in the southern parts of the adjacent Canadian provinces of (east to west) Nova Scotia, New
   Brunswick, Quebec (south of the Saint Lawrence Seaway and River), Ontario (north of the
   Great Lakes and Minnesota), Manitoba, Saskatchewan, Alberta, and British Columbia (e.g., see
   Ivan and Shenk 2016, p. 1051, fig. 1). Lynx populations in the DPS and on the margin of the
   range in adjacent Canadian provinces seem to function as peripheral subpopulations of a larger
   metapopulation that is broadly distributed across Canada and Alaska (McKelvey et al. 2000b, p.
   25; 68 FR 40077; also see 2.2 below). The demographic and genetic health and persistence of
   DPS populations are thought to be influenced by connectivity with, and immigration of lynx from,
   larger populations in Canada (McKelvey et al. 2000b, pp. 21, 33; Schwartz et al. 2002, entire;
   78 FR 59434, 59447; 79 FR 54815).

   Lynx were documented historically in 24 of the Lower 48 States (McKelvey et al. 2000a, pp.
   207-232), but records in many places are associated with cyclic “irruptions” of large numbers of
   lynx dispersing from southern Canada during the decline/low phase of snowshoe hare
   population cycles, roughly every 10 years. Many of these occurrences were in anomalous
   habitats, and lynx were unable to persist and establish populations in most of these areas
   (Gunderson 1978, entire; Thiel 1987, entire; McKelvey et al. 2000a, pp. 242, 253; Aubry 2006,
   pp. 1-2; ILBT 2013, p. 23; see also section 2.3.2). Habitats capable of supporting persistent
   resident lynx populations in the contiguous United States occur over a much smaller geographic
   area that includes parts of the Northeast (primarily northern Maine), western Great Lakes
   (northeastern Minnesota), Rocky Mountains (northern Idaho, northwestern Montana; perhaps
   also parts of northeastern Washington, the Greater Yellowstone Area (GYA) of southwestern
   Montana and northwestern Wyoming, and parts of western Colorado), and the eastern Cascade
   Mountains of northern Washington (68 FR 40077-40080; USFWS 2005, p. 3; 79 FR 54806­
   54807; Lynx SSA Team 2016a, pp. 6-7). Although uncertainty remains regarding the historical
   distribution of resident lynx in the contiguous United States, and small breeding populations may
   have been lost from some places, neither broad-scale breeding range contraction nor
   substantial changes in population status in the contiguous United States has been documented
   based on verified occurrence data (68 FR 40099; 72 FR 1187; 79 FR 54798, 54815; McKelvey
   in Lynx SSA Team 2016a, p. 11; also see section 2.3.2).

   The Service designated lynx in the contiguous United States as a DPS and listed it as
   threatened under the ESA in 14 states in 2000 because of the inadequacy, at that time, of
   existing regulatory mechanisms on U.S. Forest Service (USFS) and Bureau of Land
   Management (BLM) lands in those states (65 FR 16052). In 2003, in response to a court
   memorandum opinion on the 2000 listing rule, the Service reaffirmed its determination of the
   lynx DPS and its status as threatened under the ESA (68 FR 40076). The Service completed a
   recovery outline in 2005 (USFWS 2005, entire), designated critical habitat for the DPS in 2006


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   (71 FR 66008) and, in 2007, again in response to a court order, clarified its determinations of
   “significant portion of the range” and that all lynx in the contiguous United States constitute a
   single DPS (72 FR 1186). Also in 2007, the Service announced that it would initiate a 5-year
   status review of the DPS (72 FR 19549). The Service revised the critical habitat designation for
   the DPS in 2009 (74 FR 8616) and 2014 (79 FR 54782) and, concurrent with the latter,
   rescinded the state-based definition of the DPS boundary to formally extend ESA protection to
   lynx “where found” in the contiguous United States, including New Mexico and other states that
   were not included in the original DPS range (79 FR 54804). Also in 2014 and as described
   above, the U.S. District Court for the District of Montana ordered the Service to complete a
   recovery plan for the lynx DPS by January, 2018, unless it finds that such a plan is not
   necessary. The Service reinitiated the 5-year status review in 2015 (USFWS 2015a, entire), and
   that review and potential recovery planning pursuant to it will be informed by this SSA report. On
   September 7, 2016, the U.S. District Court for the District of Montana remanded the 2014 critical
   habitat designation to the Service for further consideration (U.S. District Court MT 2016, entire).

   The 6 geographic units evaluated in this SSA encompass all areas of the contiguous United
   States that currently support or are believed to have recently (since the DPS was listed in 2000)
   supported persistent resident lynx populations (fig. 1, above). Five of the 6 geographic units
   were designated as “Core Areas” in the Recovery Outline, and western Colorado was
   designated a “Provisional Core Area” (USFWS 2005, pp. 4-6, 21,23). With the exception of
   western Colorado, the SSA units reflect the areas the Service designated as critical habitat in
   2014 (79 FR 54782). Some areas adjacent to these geographic units are known or suspected to
   intermittently support resident lynx and occasional reproduction. Uncertainty remains as to
   whether resident lynx populations occurred historically in other areas not encompassed by the
   geographic units evaluated here.

   The 6 geographic units include Federal, private, State, and Tribal lands, and proportions vary
   among the units, with private lands predominating in Maine, a mix of ownerships present in
   Minnesota, and Federal lands predominating in the western units (table 2).




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   Table 2. Lynx SSA Unit Sizes and Percent Ownership.
                                                          ■       ■ Z—\         1 ■   (k K             1 /I—V   iX 2
                                                          Land Ownership/Management (Percent)

                                                              Federal3
                              Percent
                Unit Size     of SSA          All
       Unit1     (km2)         Area         Federal      USFS             NPS                BLM     Private    State   Tribal

         1      28,909          22.0           1.2            0           1.2                 0       90.4       7.3     0.9

         2      21,101          16.1          47.4        44.9            2.5                0.01     15.5      36.2     1.0


         3      26,997          20.6          84.3        69.3            13.6               1.5       8.0       4.1     3.5

         4       5,176          3.9           91.5        84.6            6.7                0.1       0.3       8.2      0

         5      23,687          18.1          97.6        79.7            16.7               1.1      2.2        0.3      0

         6      25,294          19.3          90.1        85.2            1.8                3.1       9.3       0.6      0

   All Units    131,164         100           63.8        55.6            7.1                1.1      26.3       8.8     1.1
   1 Unit 1 - Northern Maine; Unit 2 - Northeastern Minnesota, Unit 3 - Northwestern Montana/Northeastern Idaho, Unit 4
   - North-central Washington, Unit 5 - the Greater Yellowstone Area (Southwestern Montana/Northwestern Wyoming),
   Unit 6 - Western Colorado.
   2 Unit sizes and ownership for units 1-5 are those calculated for the areas designated in 2014 as lynx critical habitat,
   including some Tribal, State and private lands that met the criteria for critical habitat but which were excluded from
   the designation in accordance with section 4(b)(2) of the Endangered Species Act. Unit 6 size and ownership were
   calculated by the Service’s Western Colorado Field Office in coordination with Colorado Parks and Wildlife based on
   telemetry data from radio-marked lynx.
   3 USFS = U.S. Forest Service; NPS = National Park Service; BLM = Bureau of Land Management.



    1.2 SSA Framework and Report
   The Service is engaged in a number of efforts to improve the implementation of the ESA1. As
   part of this effort, our Endangered Species Program has developed the Species Status
   Assessment (SSA) Framework to guide how we assess the best scientific and commercial data
   available when evaluating the biological status of species. The purpose of the SSA Framework
   is to provide a consistent, integrated, conservation-focused, and scientifically robust approach to
   assessing a species’ biological status such that the information and analysis are useful to all
   decisions and activities under the ESA. The SSA does not result in a decision document; rather,
   it provides the biological information and scientific analysis in support of ESA decisions.
   The SSA Framework entails 3 iterative assessment stages (fig. 3; USFWS 2016a):




   1   See: http://www.fws.gov/endangered/improving ESA/.

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   1. Species’ Needs. An SSA begins with a compilation of          Species Status Assessment Fra mework

   the best available biological information on the species
                                                                            SPECIES' NEEDS
   (taxonomy, life history, and habitat) and its ecological
   needs at the individual, population, and species levels
                                                                               Current Availability
   based on how environmental factors are understood to act                      or Condition of
   on the species and its habitat.                                                thoitNts-di


                                                                           CURRENT SPECIES'
   2. Current Species’ Condition. Next, an SSA describes                       CONDITION
   the current condition of the species’ habitat and
                                                                               Future Availability
   demographics, and the probable explanations for past and
                                                                                or Condition of
   ongoing changes in abundance and distribution within the                       those Needs
   species’ ecological settings (i.e., areas representative of
                                                                            FUTURE SPECIES'
   the geographic, genetic, or life history variation across the
                                                                               CONDITION
   species’ range).
                                                                   Figure 3. SSA Framework stages.
   3. Future Species’ Condition. Lastly, an SSA forecasts
   the species’ response to probable future scenarios of environmental conditions and
   conservation efforts. As a result, the SSA characterizes species’ ability to sustain populations in
   the wild over time (viability) based on the best scientific understanding of current and future
   abundance and distribution within the species’ ecological settings.

   Throughout the assessment, the SSA uses the conservation biology principles of resiliency,
   redundancy, and representation (collectively known as the “3 Rs”) as a lens to evaluate the
   current and future condition of the species. Resiliency describes the ability of the species to
   withstand stochastic disturbance events, which is associated with population size, growth rate,
   and habitat quality. Redundancy describes the ability of a species to withstand catastrophic
   events, which is related to the number, distribution, and resilience of populations.
   Representation describes the ability of a species to adapt to changing environmental conditions,
   which is related to distribution within the species’ ecological settings. Together, the 3 Rs, and
   their core autecological parameters of abundance, distribution and diversity, comprise the key
   characteristics that contribute to a species’ ability to sustain populations in the wild over time.
   When combined across populations, they measure the health of the species as a whole.

   The Species Status Assessment Report (SSA Report) is a summary of the information
   assembled, reviewed, and assessed by the Service and is based on the best scientific and
   commercial data available at the time of the assessment. Completed SSA Reports and
   supporting material can be found at the collaborative repository of the National Park Service and
   the USFWS called “ServCat”2.




   2 http://www.fws.qov/Refuqes/NaturalResourcePC/IandM/serviceCataloq.html.

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    1.3 Analytical Approach and Methods
   We used the SSA Framework described above to evaluate the current status of resident lynx in
   the contiguous United States as well as the likelihood that the geographic areas supporting
   resident lynx in the DPS would continue to do so in the near-term and at mid- and end-of-
   century (years 2025, 2050, and 2100). We framed our evaluation in terms of the 3 Rs using
   conceptual modeling (figs. 4-7) based on available published literature, other information on the
   historical and current status of and threats to lynx in the DPS and, where empirical data are
   lacking, on formally-elicited expert opinion and best professional judgment (Lynx SSA Team
   2016a, entire). The conceptual models below are intended to broadly highlight important
   relationships thought to influence lynx in the DPS in terms of representation, redundancy, and
   resiliency. They are not meant to capture every nuance of all possible relationships between
   lynx and their environments or to illustrate all factors potentially capable of affecting individual




   Figure 4. Conceptual model of the factors thought to influence the 3 Rs as they pertain to
   lynx viability.

   We applied the definitions from the SSA Framework for the principles of redundancy,
   representation, and resiliency, provided in section 1.2, to Canada lynx as described below. We
   evaluated redundancy and representation at the scale of the DPS as a whole, and resiliency at
   the scale of lynx populations within each of the 6 geographic units and at the scale of the DPS
   as a whole.

   To evaluate redundancy for the lynx DPS, we considered the current and likely future
   geographic distributions of resident breeding populations and whether the DPS is currently
   vulnerable to extirpation from a catastrophic event or would be vulnerable in the future. We

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   consider catastrophic events to be relatively discrete in both time and geographic extent (e.g.,
   wildfires, storms, floods, volcanic eruptions, etc.) and, therefore, we do not consider
   anthropogenic climate warming as a catastrophic event (see below). Figure 5 shows examples
   of relationships among factors that may influence redundancy within the lynx DPS.




   Figure 5. Conceptual model of factors thought to influence redundancy within the lynx
   DPS.

   To evaluate representation for the lynx DPS, we considered measures of genetic diversity and
   heterozygosity, the current and likely future ecological diversity (breadth) of geographic areas
   occupied by resident breeding populations, and the documented dispersal capabilities of the
   species, as shown in figure 6 below.




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   Figure 6. Conceptual model of factors thought to influence representation within the lynx
   DPS.

   Because we lack reliable estimates of the sizes and trends of lynx populations in the DPS and
   existing demographic data are inadequate to construct empirical models to project population
   sizes, trends, and viability into the future, our evaluation of the resiliency of lynx populations in
   the DPS was based largely on consideration of recent status updates and formally-elicited
   expert opinion regarding the likelihood that DPS populations will remain viable into the future.
   The relationships among factors that influence DPS resiliency are shown in figure 7 below.




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   Figure 7. Conceptual model of factors thought to influence the resiliency of lynx
   populations within the DPS.

   We elicited expert input on the current status of resident lynx populations in each geographic
   unit and the likelihood that each unit would continue to support them in the future (i.e., that
   resident populations would not be functionally extirpated [reduced to the point that a viable
   breeding population could no longer be sustained]). To assess both current and future
   conditions for lynx in the DPS, we considered the adequacy of existing regulatory mechanisms
   (the factor for which the DPS was originally listed) as well as the anthropogenic influences
   considered by the Interagency Lynx Biology Team (ILBT) to have the potential to exert
   population-level (3 Rs) effects on the DPS (climate change, vegetation management, wildland
   fire management, and habitat loss and fragmentation; ILBT 2013, pp. 68-78).

   In Chapter 4, we present our assessment of current conditions based on expert input and our
   evaluation of the available scientific information regarding lynx populations and habitats and the
   influencing factors described above for each geographic area. In Chapter 5, we present
   summaries of experts’ predictions regarding the probability of lynx persistence in each
   geographic unit; the factors they thought would most likely influence those probabilities; and the
   sources of uncertainty that influenced their confidence in their predictions. We then present our
   evaluation of the scientific literature regarding how certain anthropogenic factors may influence
   future conditions for resident lynx in each geographic unit. Other factors were also evaluated for
   some geographic units if the SSA Core T eam member most familiar with that unit felt those
   factors could pose meaningful, even if less likely, risks to the unit’s continued ability to support
   resident lynx. After considering all of the above, we present our conclusions regarding the future
   conditions for resident lynx in each geographic unit and we discuss the extent to which our
   conclusions agree with or differ from the projections provided by the lynx expert panel we
   consulted, and if they differed, why.

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   Implicit in our evaluation of the future for lynx in the contiguous United States is our recognition
   and consideration of a possible future in which the DPS is not listed under the ESA. However,
   we do not evaluate the unlikely hypothetical future in which all protections and conservation
   efforts would disappear if the DPS was not listed given (1) the history of lynx management,
   research, monitoring, and habitat conservation efforts by State wildlife and natural resource
   agencies in most states throughout the DPS range; (2) similar efforts by Federal land managers
   and related formal amendments or revisions to most of their land management plans to address
   the threat for which the DPS was listed (the inadequacy of previous Federal regulatory
   mechanisms); (3) Tribal lynx conservation efforts and wildlife management philosophies; and (4)
   the DPS’s listing and consultation history. Rather, we assume that although some protections
   could be relaxed (e.g., less stringent analyses of Federal project-related impacts, potential for
   some states to reinstitute limited lynx trapping/hunting harvest, reduced incentives for lynx
   conservation efforts on some private lands), Federal, State, Tribal and some private land
   managers would continue efforts to conserve lynx and its habitats and to assure persistence of
   resident lynx populations in those places that can support them in the DPS range. Our
   evaluation, therefore, considers the possibility of the future relaxing of some lynx conservation
   measures and efforts should the DPS be delisted, but not the complete absence of all
   protections for lynx.

   Additionally, we do not define and evaluate specific and explicit climate change or greenhouse
   gas emissions scenarios or attempt to quantify differences in DPS viability or the persistence of
   resident lynx populations in individual geographic units based on differences in the rate and
   extent of potential impacts associated with projected continued climate warming. This is
   because of the limited resolution and inherent uncertainty of available climate models and the
   inadequacy of existing demographic data for projecting lynx populations in the DPS over time,
   including their potential responses to a range of climate-mediated potential future habitat
   conditions. Therefore, this SSA does not constitute or include a formal climate change
   vulnerability assessment (Glick et al., editors, 2011, entire) for the lynx DPS. Instead, underlying
   our evaluation in this SSA is the recognition that the lynx, as a boreal forest- and snow-
   associated specialist predator, is probably broadly exposed and highly sensitive to the projected
   impacts of continued climate warming and has limited capacity to adapt to it (see sections 1.4
   and 3.2 below). Therefore, we (along with the experts we consulted and the ILBT) consider lynx
   populations in the DPS vulnerable (predisposed to be adversely affected; IPCC 2014a, p. 5) to
   the projected impacts climate change. While we recognize that the pace and extent of impacts
   would be expected to differ under specific emissions or modeling scenarios, the limitations
   described above preclude us from quantifying those differences and their potential influence on
   the likelihood that resident lynx populations will persist in the DPS or in individual geographic
   units. Finally, in our analyses we do not consider anthropogenic climate warming a catastrophic
   effect because it is not temporally- and spatially-discrete; characteristics of events traditionally
   considered catastrophic (e.g., wildfires, floods, storms, volcanic eruptions, etc.). Rather, we
   consider climate change as an ongoing, pervasive, and cumulative stressor of lynx and their
   habitats, particularly at the southern margin of the species’ distribution, including all geographic
   areas of the DPS.


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    1.4 Uncertainties and Assumptions
   Several sources of uncertainty had to be accounted for in our analysis, including the paucity of
   empirical data on lynx population sizes, trends, and other important demographic parameters in
   the DPS; the influence of immigration of lynx from Canada on the persistence of DPS
   populations; the effectiveness of habitat management efforts; and the effects of competition on
   lynx populations. We similarly lack demographic information for snowshoe hares throughout
   much of the DPS range, and consistent methods to monitor hare and lynx habitats and
   populations have not been implemented throughout most of the range. And importantly, given
   the emerging role of climate change as a stressor, uncertainties about the rate and extent of
   projected future impacts to boreal, subalpine, and montane forests and snow quality, depth, and
   persistence constrain our ability to precisely predict effects on lynx and hare populations and
   habitats, including to what degree these changes may affect interactions between lynx and their
   potential competitors.

   To account for these uncertainties in our analysis, we identified a number of critical assumptions
   based on the scientific literature and input provided by the lynx experts we consulted. We
   treated the following assumptions as constants in the analysis.

   •   We assume that, in general, habitat quality and contiguity and hare densities are naturally
       lower at the southern margin of the lynx’s range (in both the contiguous United States and
       the southern portions of adjacent Canadian provinces) compared to the core of the species’
       range in Canada and Alaska. Hare populations in the DPS range are noncyclic or weakly
       cyclic and, although they do not exhibit the dramatic cyclic declines of their northern
       counterparts, they typically occur at densities on the lower end of those in the northern
       range. Because of this, lynx densities in most of the DPS range are typically similar to those
       in the north during hare cycle lows.

   •   We assume that, as a consequence of generally lower habitat quality and hare densities,
       only some places within the DPS range are capable of supporting persistent resident lynx
       populations, while others may naturally support resident lynx only ephemerally, and yet
       other areas are naturally incapable of supporting resident lynx despite boreal-forest-like
       vegetation, the presence of some hares, and the occasional or intermittent presence of
       dispersing or transient lynx.

   •   We assume that the statuses of lynx populations in individual SSA geographic units are
       largely independent of those in the other geographic units. This is clearly true for Units 1 and
       2, and it is probably true of the western geographic units (3 - 6), despite likely historical
       north-to-south connectivity and dispersal from or through Unit 3 to Unit 5 and possibly Unit
       6, and recent evidence of south-to-north connectivity and dispersal from Unit 6 to and
       through Units 5 and 3. We are aware of no evidence of east-west connectivity or dispersal
       between Units 3 and 4.




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   •   We assume that lynx populations in the DPS occur as the southern extensions of larger,
       cross-border populations or as relatively isolated subpopulations of the larger Canadian
       populations.

   •   We assume that lynx exhibit a metapopulation structure in which populations at the southern
       periphery of the species’ range (including all DPS populations and some in southern
       Canada) receive periodic immigration of lynx dispersing from populations in the core of the
       Canadian range.

   •   We assume that connectivity with lynx populations in Canada is important, and that periodic
       immigration of lynx into the DPS from Canada contributes to the persistence of DPS
       populations, although the extent to which the demographic and genetic health of DPS
       populations may depend on immigration remains uncertain.

   •   We assume that (1) the lynx’s morphology confers a competitive advantage in snowy
       conditions over other terrestrial hare predators, (2) snow conditions (depth, consistency, and
       persistence) influence the distribution of lynx and its potential terrestrial competitors, and (3)
       in the absence or loss of these conditions, lynx could be displaced by other terrestrial hare
       predators.

   •   We assume that the lynx, as a boreal forest- and snow-associated predator that relies
       heavily on a single, similarly-specialized prey species, and whose habitats are influenced by
       climate-mediated disturbance factors (e.g., wildfire, forest insects, wind/ice storms), is highly
       sensitive and broadly exposed to the impacts of climate warming and has limited adaptive
       capacity to respond to it. That is, despite some level of behavioral plasticity suggested by
       differences in snow conditions and specific vegetation communities and stand conditions
       across the DPS range, we expect that lynx lack the adaptive capacity to shift to non-boreal
       (e.g., temperate coniferous or deciduous) forests, non-snow-domintated climates, or to
       persist on alternate prey species where hare densities are or become inadequate.
       Therefore, we assume lynx populations in the DPS are vulnerable (sensitive, exposed, and
       with little capacity to adapt; therefore, predisposed to be adversely affected; IPCC 2014a, p.
       5) to the projected impacts of continued climate warming.

   •   We assume that lynx conservation measures and habitat management guidance adopted by
       the USFS and the BLM via formally amended or revised management plans or conservation
       agreements with the Service have had a positive influence on DPS lynx populations that
       occur on Federal lands and will continue to provide benefits as long as those measures and
       guidance are implemented.

   •   We assume that the DPS could be delisted in the future and that some of the current
       protections afforded by the ESA could be lost and/or relaxed. However, we assume that
       Federal, State, and Tribal agencies and some private landowners would continue to manage
       for the conservation of resident lynx populations in those places that can support them in the
       DPS range.


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   For purposes of the SSA, we forecast potential future conditions for lynx in the DPS through the
   end of this century, and we asked a panel of 10 lynx experts to provide their opinions on the
   likelihoods that each geographic unit would support resident lynx populations over the short­
   term (year 2025), mid-term (2050) and longer-term (2100). As expected, the level of uncertainty
   regarding the viability of the DPS and each of the factors that may influence it increases the
   farther into the future we (and the lynx experts we consulted) try to look, and this uncertainty
   greatly reduces confidence in future projections, particularly beyond mid-century. Beyond that
   time frame, uncertainty regarding the potential impacts of climate change and other potential
   stressors to lynx populations in the DPS becomes so great that it precludes meaningful analysis
   or reliable predictions regarding viability.

   Finally, although formal elicitation of expert opinion where empirical information is unavailable or
   inadequate is an appropriate and scientifically supported approach, we remind readers that the
   output remains the experts’ best professional judgment, which is subjective and, therefore,
   inherently different than experimentally collected data subjected to rigorous statistical analyses.
   For purposes of useful and meaningful presentation and comparison among geographic units, it
   was necessary to combine, quantify, graph, and summarize the qualitative information provided
   by experts. However, we caution that the results we present, graph, and describe in chapter 5
   should not be interpreted as precise, statistically robust estimates of the probability that resident
   lynx will persist in the DPS or in any individual geographic unit in the future, and readers should
   consider the inherent limitations and substantial uncertainties in expert responses, particularly
   over longer time periods.


   Chapter 2: Lynx Ecology
   In this chapter, we describe the physical characteristics, taxonomy, and genetics of the Canada
   lynx, its life history and population dynamics, and its taxon-wide and DPS distributions. We rely
   heavily on recent summaries of this information provided in the revised Canada Lynx
   Conservation Assessment and Strategy (LCAS; ILBT 2013, entire), the Service’s recent
   proposed (2013) and final (2014) rules to revise the designation of critical habitat for the DPS
   (78 FR 59430-59474; 79 FR 54782-54846), and the results of the October 2015 Canada Lynx
   Expert Elicitation Workshop (Lynx SSA Team 2016a, entire). We also provide a summary of the
   pertinent ecological requirements of lynx at the individual, population, and DPS levels. These
   ecological requirements form the basis of our analyses conducted in Chapters 3 through 5.


   2.1 Species Taxonomy, Description, and Genetics
   The Canada lynx (order Carnivora; family Felidae) is 1 of 4 species within the genus Lynx (Kerr
   1792), which also includes the bobcat (L. rufus, Schreber 1777), the Eurasian lynx (L. lynx,
   Linnaeus 1758), and the Iberian or Spanish lynx (L. pardinus, Temminck 1827). There are 3
   recognized subspecies of Canada lynx: Lynx canadensis canadensis (Kerr 1792), L. c.
   mollipilosus (“Arctic lynx,” Stone 1900), and L. c. subsolanus (“Newfoundland lynx,” Bangs


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   1897; Integrated Taxonomic Information System online database3, retrieved April 14, 2016).
   The Canada lynx is believed to have evolved from the Eurasian lynx in the last 200,000 years in
   North America as a snowshoe hare specialist (Werdelin 1981, p. 69).

   The Canada lynx is a medium-sized cat with long legs and large, well-furred paws. In winter, the
   lynx’s fur is dense and has a grizzled appearance with a grayish-brown mix of buff or pale
   brown fur on the back, and a grayish-white or buff-white fur on the belly, legs, and feet. In
   summer, its fur is more reddish to gray-brown (McCord and Cardoza 1982, p. 730). It has long
   tufts of black hairs extending from the tips of its ears, a short, completely black-tipped tail, and
   often a distinct dish-like facial ruff of pale hairs tipped black. Lynx generally measure 75 to 90
   cm (30 to 35 in) long and weigh 6 to 14 kg (14 to 31 lb; Quinn and Parker 1987, table 1; Moen et
   al. 2010a, fig. 2; MDIFW 2012, unpubl. data), and males are 13-25 percent larger than females
   (Mowat et al. 2000, p. 267). The lynx’s large feet and long legs make it well-adapted for
   traversing and hunting in deep, powdery snow, where its low foot-loading (weight per surface
   area of foot) is thought to provide a competitive advantage (Buskirk et al. 2000a, p. 90; 2000b,
   p. 400; ILBT 2013, pp. 26, 36, 81) over other terrestrial predators of snowshoe hares, the lynx’s
   primary prey. In southern Canada and the northern contiguous United States, where the
   southern edge of the lynx range overlaps the northern edge of the bobcat range, the 2 species
   are easily confused because of their similar size and appearance. However, the lynx’s longer
   ear-tufts, larger feet, and black-tipped tail distinguish it from the bobcat, which has shorter ear
   tufts, small feet, and white on the underside of the tail. Bobcats are much more common,
   widespread, and abundant than lynx in most of the contiguous United States.

   Overall, genetics research suggests high gene flow across most of the continental range of lynx,
   likely because of high dispersal rates, large dispersal distances, and the absence of significant
   barriers to genetic interchange throughout much of the lynx range, including the DPS (Schwartz
   in Lynx SSA Team 2016a, pp. 11-12). Genetic evidence also indicates interactions between
   lynx populations even where physical barriers appear most likely to restrict gene flow. For
   example, although L. c. subsolanus on Newfoundland Island is genetically (Row et al. 2012, pp.
   1262-1266; Koen et al. 2015, p. 528) and morphologically (Khidas et al. 2013, pp. 597-601)
   distinct from mainland lynx (L. c. canadensis), there is evidence of genetic exchange between
   the 2 areas, indicating that some lynx are able to cross the 15-60 km- (9-37 mi-) wide Strait of
   Belle Isle that separates them (Koen et al. 2015, p. 527). Similarly, despite some differences in
   functional genetic markers (unique alleles) in lynx south versus north of the St. Lawrence
   Seaway/River in eastern Canada, which suggest the potential for evolutionarily significant
   differences in those areas (Bowman in Lynx SSA Team 2016a, p. 14), recent analyses reveal
   genetic exchange among lynx on either side, indicating that some lynx successfully navigate
   this barrier (Koen et al. 2015, pp. 524-528; Bowman in Lynx SSA Team 2016a, p. 12-13).
   However, Prentice et al. (2017, entire) documented natural selection for unique alleles in
   relatively isolated island populations of lynx in eastern Canada.

   Schwartz et al. (2003, entire) documented reduced genetic variation (lower mean number of
   alleles per population and lower expected heterozygosity) among peripheral lynx populations

   3 http://www.itis.qov .

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   compared to populations in the core of the lynx geographical range in Canada and Alaska.
   While recognizing that small changes in genetic variation can lead to large changes in
   population fitness, the authors noted that the differences between core and peripheral
   populations in their study were small enough to suggest a lack of significant population
   subdivision (i.e., no indication of genetic isolation, substantial genetic drift, or potential genetic
   ‘‘bottlenecks’’ among DPS populations; Schwartz et al. 2003, p. 1814; 79 FR 54793). This
   finding is consistent with their earlier work, which documented high levels of gene flow (the
   highest yet documented for any carnivore) between core and peripheral lynx populations
   despite large separation distances (Schwartz et al. 2002, entire). Their results did not suggest
   that reduced genetic variation among peripheral populations was because of human
   disturbance (i.e., habitat loss/fragmentation on the southern periphery of the geographic range;
   Schwartz et al. 2003, p. 1814), but the authors concluded that the persistence of lynx
   populations in the contiguous United States depends on dispersal from larger (core) populations
   (Schwartz et al. 2002, p. 522).

   Within the contiguous United States, minor genetic sub-structuring has been documented
   among lynx subpopulations in western Montana (Schwartz in Lynx SSA Team 2016a, p. 12 and
   Appendix 5). Genetic diversity may be somewhat greater among lynx in western Colorado than
   elsewhere in the DPS range because of the broad geographic distribution of the source
   populations that contributed to the lynx releases in Colorado (45 lynx from Quebec, 4 from
   Manitoba, 91 from British Columbia, 48 from The Yukon Territory, and 30 from Alaska).
   Additionally, lynx-bobcat hybridization has been documented in Minnesota, Maine, and New
   Brunswick (Schwartz et al. 2004, entire; Homyack et al. 2008, entire), where male bobcats bred
   with female lynx to produce fertile offspring with lynx-like ear tufts, intermediate foot-size, and
   bobcat-like fur (ILBT 2013, p. 35). In Minnesota from 2000 to 2015, DNA analyses documented
   13 distinct hybrid individuals (Moen and Catton in Lynx SSA Team 2016a, pp. 13, 19); hybrids
   have yet to be documented in the western portion of the lynx’s range (Schwartz in Lynx SSA
   Team 2016a, p. 12). At a continental scale, Koen et al. (2014b, pp. 111-113) found a low level
   of bobcat-lynx genetic introgression (i.e., hybridization) but suggested it could increase if bobcat
   distribution shifts northward in the future as a result of continued climate warming (also see
   section 3.2 below).

   Currently, there is no indication that the levels of connectivity and gene flow between lynx
   populations in the DPS and those in the core of the lynx’s range are inadequate to maintain the
   genetic health of DPS populations. Given the connectivity of most DPS units with lynx
   populations and habitats in Canada (particularly Units 1-4, which have the strongest evidence of
   historically persistent resident lynx populations), the noted dispersal capabilities of lynx,
   evidence of dispersal in both directions across the Canada-United States border (Aubry et al.
   2000, pp. 386-387; Squires et al. 2006a, p. 38; Moen et al. 2010b, pp. ii, 17, 19; Vashon et al.
   2012, p. 22), and the small number of immigrants thought necessary to maintain genetic
   variability in peripheral populations (McKelvey et al. 2000b, pp. 23-24), genetic isolation,
   biologically meaningful genetic drift, or potential genetic ‘‘bottlenecks’’ appear unlikely among
   most DPS populations in the near future (79 FR 54793). However, the potential for genetic drift
   would be expected to increase at some point in the future if lynx and hare habitats shift


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   northward and upslope, as projected with continued climate warming, resulting in reduced
   connectivity and gene flow among smaller and more isolated lynx populations at the periphery
   of the range (Schwartz 2017, pp. 4-5; also see section 3.2).


   2.2 Life History and Population Dynamics
   All aspects of lynx life history are inextricably tied to its primary prey, the snowshoe hare (fig. 8),
   which comprises most of the lynx diet throughout its range (Nellis et al. 1972, pp. 323-325;
   Brand et al. 1976, pp. 422-425; Koehler and Aubry 1994, pp. 75, 85; Apps 2000, pp. 358-359,
   363; Aubry et al. 2000, pp. 375-378; Mowat et al. 2000, pp. 267-268), including the DPS
   (Koehler 1990a, p. 848; von Kienast 2003, pp. 37-38; Squires et al. 2004a, p. 15, table 8; Moen
   2009, p. 7; Vashon et al. 2012, p. 11; Olson 2015, pp. 60-69; Ivan and Shenk 2016, p. 1053).
   Lynx are highly specialized hare predators and require landscapes that consistently support
   relatively high hare densities (McCord and Cardoza 1982, p. 744; Quinn and Parker 1987, pp.
   684-685; Aubry et al. 2000, pp. 375-378).




   Figure 8. Generalized relationship between habitat conditions and hare and lynx
   population dynamics and their influence on lynx population resiliency.

   Although lynx take a variety of alternate prey species, especially red squirrels (Tamiasciurus
   hudsonicus), which may be important when hare numbers are low (O’Donoghue et al. 1997, pp.
   154-155; 1998, pp. 1198-1205; Ivan and Shenk 2016, pp. 1054-1056), hare abundance is the
   major driver of lynx population dynamics. Lynx denning area selection, pregnancy rates and

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   litter sizes, as well as survival (kitten, subadult, and adult), recruitment, and dispersal rates, and
   population age structure, home range sizes, density, and distribution are all strongly influenced
   by hare abundance (Koehler and Aubry 1994, pp. 75-76, 80-83; Apps 2000, entire; Aubry et al.
   2000, pp. 375-390; Mowat et al. 2000, pp. 270-294; Moen et al. 2008a, p. 1507; Organ et al.
   2008, p. 1516; Vashon et al. 2012, p. 16; ILBT 2013, pp. 18, 22-24, 26-34).

   Lynx and snowshoe hares are strongly associated with moist boreal forests, where winters are
   long, cold, and snowy (Bittner and Rongstad 1982, p. 154; McCord and Cardoza 1982, p. 743;
   Quinn and Parker 1987, p. 684-685; Agee 2000, p. 39-47; Aubry et al. 2000, pp. 373-382;
   Hodges 2000a, pp. 183-191; 2000b, pp. 136-140; McKelvey et al. 2000a, pp. 211-232). The
   predominant vegetation of boreal forest is conifer trees, primarily species of spruce (Picea spp.)
   and fir (Abies spp; Elliot-Fisk 1988, pp. 34-35, 37-42). Snowshoe hares feed on conifers,
   deciduous trees, and shrubs (Hodges 2000a, pp. 181-183) and are most abundant in forests
   with dense understories that provide forage, cover to escape from predators, and protection
   during extreme weather (Wolfe et al. 1982, pp. 665-669; Litvaitis et al. 1985, pp. 869-872;
   Hodges 2000a, pp. 183-195; 2000b, pp. 136-140). Lynx population dynamics, survival, and
   reproduction are closely tied to snowshoe hare availability, making snowshoe hare habitat the
   primary component of lynx habitat. However, lynx do not occur everywhere within the range of
   snowshoe hares in the contiguous United States (Bittner and Rongstad 1982, p. 146; McCord
   and Cardoza 1982, p. 729). This may be due to inadequate abundance, density, or spatial
   distribution of hares in some places, or the absence of snow conditions that would provide lynx
   a competitive advantage over other terrestrial hare predators (see below), or a combination of
   these factors (79 FR 54809).

   The boreal forest landscapes lynx and hares occupy are naturally dynamic. Forest stands within
   the landscape may experience abrupt changes after natural or human-caused disturbances
   such as fire, insect outbreaks, wind, ice, disease, and forest management (e.g., timber harvest
   or thinning) and more gradual changes as they undergo succession and regenerate after such
   events (Elliot-Fisk 1988, pp. 47-48; Agee 2000, pp. 47-69). As a result, lynx habitat is a shifting
   mosaic of forest patches of variable ages and changing quality (68 FR 40077). These stands of
   differing ages and conditions provide lynx foraging or denning habitat (or may provide these in
   the future depending on patterns of disturbance and forest succession), and some serve as
   travel routes for lynx moving between foraging and denning habitats (McKelvey et al. 2000c, pp.
   427-434; Hoving et al. 2004, pp. 290-292).

   Over much of the lynx’s range, hare densities are higher in regenerating, earlier successional
   forest stages because they often have greater understory structure (dense horizontal cover)
   than mature forests (Buehler and Keith 1982, p. 24; Wolfe et al. 1982, pp. 665-669; Koehler
   1990a, pp. 847-848; Hodges 2000a, pp. 183-195; Homyack 2003, pp. 63, 141; Griffin 2004, pp.
   84-88). However, snowshoe hares also can be abundant in mature forests with dense horizontal
   cover, particularly in the Northern Rocky Mountains (Griffin 2004, pp. 53-54; Griffin and Mills
   2009, pp. 1492-1496; Hodges et al. 2009, p. 876; Squires et al. 2010, pp. 1653-1657; Berg et al.
   2012, pp. 1483-1487). These mature forests may be a source of hares for other adjacent forest
   types (Griffin and Mills 2009, pp. 1492, 1495-1496), and they may provide especially important


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   winter foraging habitats (Squires et al. 2010, pp. 1655-1657), which may be the most limiting
   habitat for lynx (Squires et al. 2010, pp. 1655-1657; ILBT 2013, pp. 17, 27). They also are more
   temporally-stable (i.e., they provide high-quality hare habitat for a longer period of time) than
   regenerating stands, which may foster high hare densities for a variable window of time
   between stand-initiation and stem-exclusion stages of succession, after which older
   regenerating stands may persist, in the absence of disturbance, for many years as lower-quality
   hare habitat (ILBT 2013, pp. 62, 71, 127).

   Lynx generally concentrate hunting activities in areas where snowshoe hare densities are high
   (Koehler et al. 1979, p. 442; Ward and Krebs 1985, pp. 2821-2823; Murray et al. 1994, p. 1450;
   O’Donoghue et al. 1997, pp. 155, 159-160 and 1998, pp. 178-181), but several studies showed
   that lynx focused foraging efforts in stands with intermediate hare densities and forest structural
   complexity that occurred at the edges of the highest density habitat, suggesting that lynx must
   balance between hare abundance and accessibility (Fuller and Harrison 2010, pp. 1276-1277;
   Simons-Legaard et al. 2013, p. 574). Because understory density within a forest stand changes
   over time, hare habitat quality and corresponding hare densities also shift over time across
   boreal forest landscapes.

   Hare populations in the core of the lynx range in Canada and Alaska undergo well-documented
   dramatic 8 to 11 year cycles during which hare numbers may fluctuate 10 to 25 fold or more,
   with peak densities as high as 23 hares/hectare (ha; 9.3 hares/acre [ac]) and lows of 0.1
   hares/ha (0.04 hares/ac; Hodges 2000b, pp. 117-121; Vashon 2015, p. 4). Hare densities are
   generally lower at the southern periphery of lynx distribution, and hare population cycles are
   generally much less pronounced or absent entirely among some hare populations in southern
   Canada and in the contiguous United States (Hodges 2000a, pp. 163-173; Hodges et al. 2009,
   pp. 870, 875-876; Scott 2009, pp. 1-44; Environment Canada 2014, p. 1; Hodges in Lynx SSA
   Team 2016a, pp. 16-17). In the contiguous United States, average stand-level hare densities
   may exceed 2 hares/ha (0.8 hares/ac; Walker 2005, pp. 20, 85; McCann 2006, p. 15; Robinson
   2006, pp. 26-36, 62-75; Homyack et al. 2007, pp. 10-11; Griffin and Mills 2009, p. 1492; Vashon
   et al. 2012, p. 14), but in many parts of the DPS, landscape-level densities are lower, ranging
   from just above to well below the 0.5 hares/ha (0.2 hares/ac) density thought necessary to
   sustain lynx home ranges and populations (Hodges 2000a, pp. 168-169, 185; Ruggiero et al.
   2000b, pp. 446-447; Squires and Ruggiero 2007, pp. 313-314; Maletzke et al. 2008, pp. 1476­
   1477; Zahratka and Shenk 2008, pp. 910-911; Hodges et al. 2009, pp. 873-877; Ivan 2011a, pp.
   91-92, 95-102; Berg et al. 2012, p. 1483; ILBT 2013, pp. 24, 26, 90; Ivan et al. 2014, entire).

   Lynx prey opportunistically on other small mammals and birds, especially red squirrels, grouse
   (Bonasa umbellus, Dendragapus spp., Falcipennis canadensis) and ptarmigan (Lagopus spp.),
   but alternate prey species do not sufficiently compensate for low availability of snowshoe hares,
   and lynx populations likely cannot persist over time in areas with consistently low hare densities
   (Brand et al. 1976, pp. 422-427; Brand and Keith 1979, pp. 833-834; Koehler 1990a, pp. 848­
   849; Mowat et al. 2000, pp. 267-268). Hares constitute the majority of the biomass in lynx diets
   even in areas with relatively low or marginal hare densities (Koehler and Aubry 1994, p. 85;
   Apps 2000, pp. 362-363; Aubry et al. 2000, pp. 375-378; Roth et al. 2007, pp. 2740-2741;


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   Squires and Ruggiero 2007, pp. 310-313; Hanson and Moen 2008, p. 9; Maletzke et al. 2008,
   pp. 1475-1477; Shenk 2009, pp. 13, 16). This remains true in years when hare abundance is
   low and proportionally more alternate prey items are taken (Brand et al. 1976, pp. 424-427;
   O’Donoghue et al. 1998, pp. 1198-1200; Ivan and Shenk 2016, p. 1053). Nonetheless, alternate
   prey, particularly red squirrels, may contribute to lynx persistence through cyclic hare population
   lows in the core of the range (O’Donoghue et al. 1997, pp. 156-160; 1998, pp. 1204-1205) and
   may be important at the southern periphery of lynx range where hare numbers may be
   chronically marginal or low and where red squirrels may be less vulnerable than hares to
   projected impacts of continued climate warming (Roth et al. 2007, pp. 2740-2741; Peers et al.
   2014, entire; Ivan and Shenk 2016, pp. 1050, 1054-1056).

   Lynx typically mate in March and April, and kittens are born from late April to mid-June after a
   60- to 70-day gestation period (Koehler and Aubry 1994, p. 81; Mowat et al. 2000, p. 285).
   Female lynx typically reach reproductive maturity in their second year (at 22 months of age);
   however, when hares are abundant, females may breed at 10 months of age and produce
   kittens as 1-year-olds (Koehler and Aubry 1994, p. 81; Mowat et al. 2000, p. 285). Males do not
   seem to breed as yearlings, and they do not contribute to rearing of young (ILBT 2013, p. 30).
   Lynx dens are typically located in areas of dense cover, where coarse woody debris, such as
   downed logs and windfalls, provides security and thermal cover for lynx kittens (McCord and
   Cardoza 1982, pp. 743-744; Koehler 1990a, pp. 847-849; Slough 1999, p. 607; Squires and
   Laurion 2000, pp. 346-347; Organ et al. 2008, entire; Squires et al. 2008, pp. 1497, 1501-1505;
   Moen and Burdett 2009, pp. 5-8). Dens have been documented in both mature and younger
   boreal forest stands (Mowat et al. 2000, pp. 274-275; Squires et al. 2008, p. 1497; ILBT 2013,
   pp. 29-30; 78 FR 59441-59442; 79 FR 54809-54810; Organ et al. 2008, entire), and the amount
   of structure (e.g., downed trees; large, woody debris; tip-up mounds) seems to be more
   important than the age of the forest stand for lynx denning habitat (Mowat et al. 2000, pp. 274­
   275, Organ et al. 2008, p. 1516; Moen and Burdett 2009, p. 5). Denning habitat is not thought to
   be a limiting factor for lynx in the DPS (Moen et al. 2008a, p. 1512; Organ et al. 2008, pp. 1514,
   1516-1517; Squires et al. 2008, p. 1505; ILBT 2013, p. 30; 79 FR 54790). Dens must be near
   foraging habitat to allow females to adequately provision dependent kittens, and females seem
   to select den sites near prey sources to minimize time spent away from kittens while foraging
   (Moen et al. 2008a, p. 1507; Vashon et al. 2012, p. 16; ILBT 2013, p. 29). Females attend
   kittens at the natal den site and 1 or more (up to 5) alternate or maternal dens until kittens are
   about 6-10 weeks old (Squires et al. 2008, p. 1502; Olson et al. 2011, pp. 458-460; Vashon et
   al. 2012, p. 17; ILBT 2013, p. 29).

   Thereafter, kittens remain with their mothers through their first winter, apparently learning from
   her how to hunt and capture prey, initially on a small portion of her home range, but by fall on
   the larger area the female used before kittens were born (Mowat et al. 2000, pp. 269, 278).
   Juveniles remain closely associated with their mothers until February or March, when family
   groups begin to break up, with young typically dispersing in April and May (Mowat et al. 2000,
   pp. 278-279) to establish their own home ranges. Female offspring may establish home ranges
   overlapping or adjacent to their mother’s home range and maintain mother-daughter bonds
   throughout their lives (Mowat et al. 2000, pp. 279-280). Male home ranges may slightly overlap


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   adjacent male home ranges. While male home ranges typically overlap 1 to 3 female home
   ranges, and female home ranges are partially or completely encompassed by a male’s home
   range, core areas within home ranges appear to be exclusive except during the breeding
   season (Koehler and Aubry 1994, pp. 90-91; Mowat et al. 2000, pp. 276-280; Vashon et al.
   2012, pp. 17, 22-23). Fidelity to home ranges over several years has been documented for both
   sexes, but shifts and abandonment of home ranges have also been documented (Koehler and
   Aubry 1994, p. 91; Mowat et al. 2000, p. 277). Lynx have been documented to live up to 16
   years in the wild (Kolbe and Squires 2006, entire).

   Lynx populations in Canada fluctuate in response to the cycling of hare populations (Elton and
   Nicholson 1942, pp. 241-243; Hodges 2000b, pp. 118-123; Mowat et al. 2000, pp. 265-272),
   with synchronous fluctuations in lynx numbers emanating from the core of the Canadian
   population and spreading over vast areas, generally lagging hare numbers by 1 year (McKelvey
   et al. 2000a, pp. 232, 239; Mowat et al. 2000, pp. 266, 270). When hares are abundant, lynx
   have higher pregnancy rates and larger litter sizes, higher kitten survival, and lower adult
   mortality, resulting in rapid population growth during the increase phase of the hare cycle
   (Slough and Mowat 1996, pp. 955-956; Mowat et al. 2000, pp. 266, 270-272, 281-289). When
   hare populations are low, female lynx produce few or no kittens that survive to independence
   (Nellis et al. 1972, pp. 326-328; Brand et al. 1976, pp. 420, 427; Brand and Keith 1979, pp.
   837-838, 847; Poole 1994, pp. 612-616; Slough and Mowat 1996, pp. 953-958; O’Donoghue
   et al. 1997, pp. 158-159; Aubry et al. 2000, pp. 388-389; Mowat et al. 2000, pp. 285-287).
   When hares decline, lynx mortality rates increase, largely because of starvation, and home
   range sizes and dispersal/emigration rates also increase (Ward and Krebs 1985, pp. 2821­
   2823; O’Donoghue et al. 1997, pp. 156, 159; Poole 1997, pp. 499-503; Mowat et al. 2000, pp.
   265-272, 278, 281-294). Lynx numbers decline dramatically during the ‘‘crash’’ phase of the
   hare cycle (Slough and Mowat 1996, p. 956; Mowat et al. 2000, pp. 283-285), when many lynx
   starve and many others abandon home ranges and disperse in search of food, with many
   dispersers also dying, often soon after initiating dispersal (Mowat et al. 2000, p. 293).

   In Canada, lynx abundance may be 3 to 17 times higher at the peak versus the low of the hare
   cycle, with lynx densities reaching 30-45/100 km2 (78-117/100 mi2) in optimal dense
   regenerating forests 15-40 years post-fire, 8-20/100 km2 (21-52/100 mi2) in older forests or
   further south, and < 3/100 km2 (< 8/100 mi2) at the hare cycle low (Slough and Mowat 1996, pp.
   952, 955; Mowat et al. 2000, p. 283; Hatler and Beal 2003, pp. 2, 5; Environment Canada 2014,
   p. 1). In southern Canada, where hares are less abundant and hare population cycles are
   muted or absent, lynx populations may be stable at 2-3/100 km2 (5-8/100 mi2; Environment
   Canada 2014, p. 1). Lynx densities estimated in the contiguous United States have ranged from
   9.2-13/100 km2 (24-34/100 mi2), including kittens, in Maine’s highest-quality habitat when hares
   were abundant (Vashon et al. 2008a, pp. 1483-1484; Vashon et al. 2012, pp. 14-15) to 2.3/100
   km2 (6/100 mi2) in Washington when hare abundance was low (Koehler 1990a, pp. 847-850).

   Correspondingly, hare abundance may also influence lynx home range size. Ward and Krebs
   (1985, pp. 2819-2820) documented a 3-fold increase in home range size in southwestern
   Yukon, from 13 km2 (5 mi2) on average when hares were abundant and increasing to 39 km2 (15


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   mi2) when hare density was low (90 percent MCP method). Poole (1994, pp. 613-614)
   documented a similar trend in the Northwest Territories, where lynx home range size increased
   from 17 km2 (7 mi2; males and females combined) when hares were abundant, to 44 km2 (17
   mi2) and 62 km2 (24 mi2) for males and females, respectively, when hare numbers declined (95
   percent MCP method). In contrast, Breitenmoser et al. (1993, p. 552) reported no change in lynx
   home range size despite a 10-15 fold increase in lynx density as hare abundance increased in
   the southern Yukon (home range estimation method not provided). Similarly, in Maine, lynx
   home range size did not increase when hare densities in the best habitats declined by half from
   2 hares/ha (0.8 hares/ac) to 1 hare/ha (0.4 hares/ac; Mallett 2014, pp. 53-93; 90 percent fixed
   kernel method). In general, hare and lynx densities are lower and lynx home ranges larger at
   the southern periphery of the lynx’s range, including most of the DPS range, and lynx densities
   are similar to those of northern populations during the low phase of the hare population cycle
   (Koehler and Aubry 1994, p. 93; Aubry et al. 2000, pp 382-385; Apps 2000, pp. 362-367;
   Burdett et al. 2007, pp. 463-465).

   Although empirical data are lacking and would be difficult to acquire (ILBT 2013, p. 82), the
   lynx’s physical adaptations (described above) are thought to provide lynx a seasonal advantage
   over potential terrestrial competitors and predators, which generally have higher foot-loading,
   causing them to sink into the snow more than lynx (McCord and Cardoza 1982, p. 748; Murray
   and Boutin 1991, entire; Buskirk et al. 2000a, pp. 86-95; Ruediger et al. 2000, pp. 1-11;
   Ruggiero et al. 2000b, pp. 445, 450). Buskirk et al. (2000a, entire) described potential
   exploitation (for food) and interference (avoidance) competition between lynx and several other
   terrestrial and avian predators of hares, several of which have also been documented to prey on
   lynx. Documented lynx predators include cougar (Puma concolor; also mountain lion), coyote
   (Canis latrans), wolverine (Gulo gulo), gray wolf (Canis lupus), fisher (Pekania pennant), and
   other lynx (ILBT 2013, pp. 33, 35). Bobcats are also likely capable of killing lynx in some
   circumstances. Although lynx have co-evolved with other predators, the influence of predation
   on lynx populations is unknown (ILBT 2013, pp. 35-36). Coyotes are now more widespread and
   abundant in the southern periphery of the lynx distribution than they were historically (Gompper
   2002, entire), while cougars have been extirpated from the eastern half of the United States
   (except Florida; USFWS 2011a, entire) but are more abundant and widespread in the western
   United States now than in the mid-1900s (Buskirk et al. 2000a, p. 89).

   The species above, along with red fox (Vulpes vulpes), American marten (Martes americana),
   mink (Mustela vison), as well as a suite of avian predators (e.g., northern goshawk [Accipiter
   gentilis], northern hawk-owl [Surnia ulula], great gray owl [Strix nebulosi], and great-horned owl
   [Bubo virginianus]) may compete with lynx for hares (Buskirk et al. 2000a, pp. 86-95; ILBT 2013,
   p. 16). Of these, coyotes are the most likely to exert local or regionally important exploitation
   competition impacts to lynx, and coyotes, bobcats, and cougars are capable of imparting
   interference competition effects on lynx (Buskirk et al. 2000a, p. 89). Interference would be most
   likely during summer but also during winter in areas lacking deep, unconsolidated snow (ILBT
   2013, p. 36). Except for fisher and marten, lynx predators and potential terrestrial competitors all
   have higher foot-loading, making them less efficient at traveling and hunting in the snow
   conditions favorable for lynx (Murray and Boutin 1991, entire; Buskirk et al. 2000a, pp 86-95;


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   Krohn et al. 2005, entire) and, therefore, likely limiting, at least seasonally, interactions between
   lynx and these species. The fisher has foot-loading similar to lynx, and the marten’s is even
   lower (Buskirk et al. 2000a, p. 90), but both species have much shorter legs, which likely limits
   their mobility in deep, unconsolidated snow compared to lynx. The extent to which predation
   and competition may influence lynx populations in the DPS remains uncertain.

   Lynx populations in the contiguous United States seem to function as subpopulations or
   southern extensions of larger populations in southern and eastern Canada (McKelvey et al.
   2000b, pp. 21,25, 33; 65 FR 16052-16082; 68 FR 40077-40099; 71 FR 66025-66035; 74 FR
   8616-8641; Koen et al. 2015, pp. 527-528). Populations in the DPS are relatively isolated from
   one another, though most are directly connected via dispersal to lynx populations in Canada
   (McKelvey et al. 2000b, pp. 25-34; U.S Fish and Wildlife Service 2005, p. 2). DPS populations
   are at the periphery of the species’ range and some, particularly in the West (geographic units
   3-6), may behave as islands in a mainland-island metapopulation construct. In such a system,
   larger islands with higher habitat quality and in closer proximity to the mainland would be more
   likely to support persistent resident populations and to sometimes act as “sources” that produce
   surplus animals that may disperse to other islands. Smaller islands with lower habitat quality or
   at greater distance from the mainland may, in contrast, act as “sinks” that depend on
   immigration from source populations (McKelvey et al. 2000b, p. 30), and which may support
   resident lynx only occasionally, intermittently, or temporarily.

   Although lynx habitats are more contiguous in units 1 and 2 than in the western units, and units
   1 and 2 are connected to larger contiguous habitats and lynx populations in Canada, they
   remain peripheral populations, and a metapopulation structure in which they receive intermittent
   immigration from the larger population may still exist, even if the mainland-island contruct does
   not apply. Lynx disperse in both directions across the Canada-United States border (Aubry et
   al. 2000, pp. 386-387; Moen et al. 2010b, pp. ii, 17, 19; Vashon et al. 2012, p. 22), and this
   connectivity and interchange with lynx populations in Canada is thought to be important to the
   conservation of lynx populations in the DPS. (McKelvey et al. 2000b, p. 33; Schwartz et al.
   2002, p. 522; U.S Fish and Wildlife Service 2005, p. 2; ILBT 2013, p. 34, 42, 47, 54, 60, 65;
   Squires et al. 2013, p. 187). However, it remains uncertain whether the demographic and
   genetic health and persistence of populations in the DPS depend on regular or intermittent
   immigration of lynx from Canada and if so to what extent (McKelvey et al. 2000a, pp. 241-242;
   79 FR 54793).

   2.2.1 Ecological Requirements of Individuals

   From birth through recruitment of at least one of it’s progeny into the breeding population, the
   ecological requirements of an individual lynx are met if:

   1) its mother occupies a home range containing
      a) secure denning habitat,
      b) adequate prey abundance (especially snowshoe hares) to support lactation during the
          early kitten stage and later provisioning of the kitten with meat,

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       c) habitat (boreal forest and snow) conditions that reduce the likelihood and effect of
          competition from other hare predators, and
       d) a low likelihood of encounters with lynx mortality agents (predators, traps, vehicles, etc.);

   2) its mother’s home range occurs within a larger landscape that also contains adequate hare
      abundance and available habitat into which the yearling lynx may disperse and establish its
      own home range after the period of maternal dependence, with low likelihood of adverse
      competition or mortality; and

   3) the larger landscape also supports other secure lynx home ranges and ensures the
      opportunity to encounter a lynx of the opposite sex, breed successfully, and contribute to the
      recruitment of at least 1 offspring into the breeding population during its lifetime.

   In cyclic lynx populations in the core of the species’ range (northern Canada and Alaska), there
   is a strong element of timing that determines whether these individual needs will be met. During
   the decline and low phases of the hare population cycle, few or no kittens are born, very few
   survive until their first winter, and recruitment may collapse completely or nearly so for several
   successive years (Slough and Mowat 1996, entire; Mowat et al. 2000, pp. 266, 285-287).
   Therefore, even in the core of the species’ range, a kitten born during a period of declining or
   low hare abundance is very unlikely to survive to independence, breed successfully, and
   replace itself within the breeding population in its lifetime. Conversely, a kitten born during the
   increase or high phase of the hare population cycle is much more likely to survive and,
   therefore, have an opportunity to breed successfully and replace itself via recruitment of 1 or
   more of its offspring into the breeding population.

   At the southern periphery of the lynx’s range (southern Canada and the contiguous United
   States), hare population cycles are of lower amplitude or absent (Hodges 2000a, pp. 163-173;
   Hodges et al. 2009, pp. 870, 875-876; Scott 2009, pp. 1-44; Environment Canada 2014, p. 1;
   Hodges in Lynx SSA Team 2016a, pp. 16-17), hare densities are typically on the lower end of
   densities reported for northern populations, and lynx abundances and demographic rates in the
   south are typically like those of northern lynx populations during hare lows (Koehler and Aubry
   1994, p. 93; Aubry et al. 2000, pp 382-385; Apps 2000, pp. 362-367). Therefore, in southern
   populations the likelihood is probably relatively low that an individual lynx will have its ecological
   requirements met sufficiently to replace itself in the breeding population. Also in the south, there
   are more diverse assemblages of potential competitors and predators, more natural patchiness
   and anthropogenic fragmentation of lynx habitat (fewer areas with adequate hare densities and
   favorable snow conditions distributed broadly across large landscapes), and higher road
   densities and, thus, greater potential for lynx-vehicle collisions (Wolff 1980, p. 128; Buskirk et al.
   2000a, entire). These factors probably further reduce the likelihood that an individual lynx in the
   southern periphery of the range will survive, reproduce successfully, and have 1 or more
   offspring recruited into the resident breeding population.

   Individual lynx require large areas (tens to hundreds of square kilometers) of boreal forest
   landscapes to support their home ranges, provide hares in adequate abundance to meet their


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   nutritional needs, provide breeding opportunities, and facilitate dispersal and exploratory travel.
   Female home ranges must also provide secure denning habitat in close proximity to foraging
   areas with high hare densities to allow females to adequately provide for dependent kittens
   (Moen et al. 2008a, p. 1507; Vashon et al. 2012, p. 16; ILBT 2013, p. 29). The size of lynx home
   ranges is strongly influenced by the quality of the habitat, particularly the abundance of
   snowshoe hares, in addition to other factors such as gender, age, season, and density of the
   lynx population (Aubry et al. 2000, pp. 382-385; Mowat et al. 2000, pp. 276-280). Generally,
   females with kittens have the smallest home ranges, likely related to their need to stay close to
   dens and dependent kittens, and males have the largest home ranges (Moen et al. 2005, p. 11;
   Burdett et al. 2007, p. 463; ILBT 2013, p. 24).

   The increased natural patchiness and fragmentation of high-quality hare habitat where boreal
   forest conditions transition to temperate forest types require individual lynx in many parts of the
   DPS to maintain relatively large home ranges that include patches of higher hare densities
   within a matrix of lower-quality habitats with lower hare densities (ILBT 2013, p. 126; 78 FR
   59434; also see 2.3.3). Larger home ranges likely require more energy output associated with
   greater foraging effort (Apps 2000, p. 364) and possibly increased exposure to predation and
   other mortality factors than lynx face in the core of their range (78 FR 59438). Annual home
   range sizes reported for lynx in the contiguous United States (table 3) vary greatly across the
   DPS but are generally larger in the west than the east; however, differences should be
   interpreted with caution because different methods, sample sizes, and estimators were used to
   generate them (ILBT 2013, pp. 23-24; also see footnotes to table 3, below).

   Table 3. Reported annual home range sizes for Canada lynx in the contiguous United
   States.
                      Mean or Median Annual Lynx Home
                          Range Size km2 (Range)
     Geographic
        Unit                                                          References (Page Nos.)
                         Female               Male

                                                             Vashon et al. 2008a (1482)1; Mallett 2014
      N Maine         25-33 (14-70)       39-60 (24-102)
                                                                              (169)2

                                                             Mech 1980 (263-265)3; Burdett et al. 2007
    NE Minnesota     17-87 (13-122)      160-267 (86-439)      (460-463)4; Moen et al. 2008b (17)4

                                                              Brainerd 1985 (20)5; Squires and Laurion
    NW Montana/                                              2000 (343-344)3; Squires et al. 2004a (13,
                     43-90 (11-157)      122-220 (29-552)
     NE Idaho
                                                                              table 6)6

                                                              Brittell et al. 1989 in Stinson 2001 (5)7;
        N-C                                                   Koehler 1990a (847)7; Maletzke in Lynx
                      37-91 (37-91)       49-69 (29-99)
     Washington
                                                                        SSA Team 2016a (21)7

                                                               Squires and Laurion 2000 (343-344)3;
        GYA          50-105 (32-105)    116-824 (98-2,181)          Squires et al. 2003 (12-13)6

    W Colorado        75-704 (NA)         103-387 (NA)                   Shenk 2008 (10)2


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   185% fixed kernel; 290% fixed kernel; 395% minimum convex polygon (MCP); 495% MCP and 95% fixed kernel;
   5Minimum area method; 695% fixed kernel; 7100% MCP.


   Juvenile and adult lynx require about 400 and 600 grams (14 and 21 ounces) of food per day
   (for adults, 0.4-0.5 hares/day, 170-200 hares/year), respectively, to meet their basic nutritional
   requirements (Saunders 1963, p. 390; Nellis et al. 1972, pp. 324-325). Several sources
   (Ruggiero et al. 2000b, pp. 446-447; ILBT 2013, pp. 26, 125) have suggested that landscape­
   level hare densities > 0.5 hares/ha (0.2 hares/ac) are necessary to support lynx home ranges
   and resident breeding populations. Lynx home range abandonment, dispersal, and mortality
   increase when hare densities are lower, and lynx may be unable to survive where landscape
   hare densities are below 0.3 hares/ha (0.12 hares/ac; Ward and Krebs 1985, pp. 2819-2822;
   Slough and Mowat 1996, entire). Recent research in the contiguous United States generally
   supports the 0.5 hares/ha threshold. For example, in northern Maine, areas with average
   landscape hare densities of 0.74 hares/ha (0.30 hares/ac) supported resident breeding lynx, but
   areas with hare densities below 0.5 hares/ha (0.2 hares/ac) were not occupied by lynx (Simons-
   Legaard et al. 2013, pp. 567, 574-575). In northeastern Minnesota, resident lynx maintained
   home ranges where landscape hare densities were 0.64 hares/ha (0.26 hares/ac), but nearby
   Voyageurs National Park, where hare density was estimated at 0.35 hares/ha (0.14 hares/ac),
   did not support resident breeding lynx (Moen et al. 2012, pp. 352-354). Similarly, in western
   Montana, resident lynx used dense young forest stands with mean summer and winter hare
   densities of 0.64 hares/ha (0.26 hares/ac) and 0.47hares/ha (0.19 hares/ac), respectively, and
   dense mature multi-story stands in winter when mean hare density was 0.53 hares/ha (0.21
   hares/ac), but they did not use more open young or mature stands where hare densities ranged
   from 0.12 - 0.20 hares/ha (0.05 - 0.08 hares/ac; Squires and Ruggiero 2007, pp. 313-314).

   Steury and Murray (2004, p. 137) suggested minimum hare densties of 1.1 - 1.8 hares/ha (0.45
   - 0.73 hares/ac) would be necessary to support lynx reintroduction efforts in the southern portion
   of the range, but Murray et al. 2008 (p. 1468) acknowledged that threshold could be overly
   conservative if southern lynx are less reliant on hares (i.e., more reliant on alternate prey) or if
   southern hare numbers are more stationary so that resident lynx numbers in the south do not
   fluctuate as dramatically as is typical in northern populations. Indeed, more than 10 years after
   translocations of Canadian and Alaskan lynx ceased, resident lynx continue to occupy parts of
   western Colorado, where hare densities are generally much lower, and lynx there rely heavily
   on red squirrels, which accounted for 23 ± 6 percent (annual range = 0.1 to 66 percent) of prey
   items identified over 11 winters (Shenk 2009, pp. 16, 24).

   In addition to adequate hare density, individual lynx require landscapes in which they are
   unlikely to encounter animals that may prey on them or suffer reduced fitness from competition
   with other hare predators. As described above, the lynx has a much lower foot-loading than
   most of its potential predators and competitors, and this is believed to provide an advantage in
   places that receive deep and persistent unconsolidated snow. Although specific snow
   requirements for lynx (amount/depth, quality, persistence) have not been quantified throughout
   the DPS range, historical lynx occurrence records in the contiguous United States were
   correlated with areas that received at least 4 months (December through March) of continuous
   snow coverage (Gonzalez et al. 2007, p. 7). Where snow conditions do not consistently favor

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   lynx, increased potential for predation and competition would be expected (Peers et al. 2013, p.
   8). Finally, individual lynx are more likely to survive, breed, and replace themselves in the
   breeding population if they occupy home ranges where trapping is prohibited or trapping
   pressure is low (Slough and Mowat 1996, entire), high-speed/high-volume roadways are absent
   (ILBT 2013, pp. 77-78), and other potential anthropogenic causes of lynx mortality are absent or
   minimal.

   In summary, individual lynx require large landscapes with hare densities that maximize their
   chances of (1) surviving to independence, (2) establishing and maintaining a home range, (3)
   breeding successfully, and (4) contributing genes to future generations (Breitenmoser et al.
   1993, p. 552). These landscapes also must provide conditions that allow lynx to compete
   sufficiently for hares and minimize the likelihood of predation and other sources of lynx mortality.
   The available science, including recent research in the DPS range, suggests that landscape­
   level hare densities consistently > 0.5 hares/ha (0.2 hares/ac) and favorable snow depth and
   conditions for about 4 months are needed to support lynx occupancy, reproduction, and
   recruitment. At the southern periphery of lynx distribution, some places, including within the
   range of the DPS, seem to be at minimum thresholds to meet these requirements or do so
   inconsistently.

   2.2.2 Ecological Requirements of Populations and the DPS

   Lynx populations require essentially the same things that individual lynx do, but on a larger
   landscape with hare densities and habitat conditions capable of consistently supporting multiple
   home ranges, breeding and dispersal opportunities, and reproductive and survival rates such
   that recruitment and immigration will, on average over the long term, equal or exceed mortality
   and emigration (Pulliam 1988, pp. 652-654). To support persistent lynx populations, such
   landscapes must provide for the survival of at least some resident lynx even when hares are
   least abundant and/or other habitat features (e.g., snow conditions) are least favorable so that
   the lynx population can recover, perhaps aided by immigration, when hare numbers and/or
   other habitat conditions improve. As with individual lynx, populations are more likely to persist in
   landscapes where the effects of competition, predation, and human-caused mortality (e.g.,
   trapping, vehicle collisions) are relatively lower.

   In a metapopulation structure like that thought to govern lynx population dynamics, the
   persistence of peripheral populations is determined by colonization and extinction rates
   (McKelvey et al. 2000b, p. 25). Colonization is driven by the number of populations, the
   distances between them, and the species’ dispersal capabilities and timing. Extinction rates are
   determined by population size and demographic and environmental stochasticity, with extinction
   more likely in smaller and more isolated populations (McKelvey et al. 2000b, pp. 25-31). Formal
   population viability analyses (PVAs) have not been published for most lynx populations in the
   DPS and may not be possible for some populations given limited data and natural temporal
   variation in demographic rates (McKelvey et al. 2000b, pp. 22, 30). Although some demographic
   data are available for most lynx populations in the DPS, most are limited to relatively few, small
   study areas or relatively short durations. There remains uncertainty about whether, and if so to

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   what extent, the demographic health of DPS populations relies on immigration from northern
   (Canadian) populations; and immigration rates are not known for DPS populations (McKelvey et
   al. 2000b, pp. 24-34). These factors likely preclude development of meaningful DPS-wide or
   unit-specific empirical population viability models (McKelvey et al. 2000b, p. 22).

   In the core of the species’ range in the southern Yukon, Slough and Mowat (1996, p. 952, table
   4) calculated a lynx population growth rate (lambda, A) = 2.03 (annual doubling) during the 4-
   year increase-to-peak phase of the hare cycle. This period of rapid growth was followed by a
   rate of A = 1.01 (stable) during the first year of a hare decline, and A = 0.10 and A = 0.46 (rapid
   decline) during the first 2 years of the lynx population decline when hares were scarce.
   However, the natural range in A that would be expected among peripheral, isolated, or semi­
   isolated lynx populations where hares are non-cyclic or weakly-cyclic (i.e., in DPS and some
   southern Canadian populations; Murray 2000, pp. 1210-1215; Murray 2003, pp 152-155),
   versus those that would signal long-term population decline or instability is unknown. Despite
   this, and the limitations noted above, Squires (unpubl. data in Lynx SSA Team 2016a, p. 20)
   calculated population growth rates in northwestern Montana of A = 0.92 for lynx in the Seeley
   Lake area (i.e., declining population trend, 1999-2007) and A = 1.16 for lynx in the Purcell
   Mountains (increasing trend, 2003-2007). Likewise, MDIFW in 2012 calculated an intrinsic rate
   of growth of 0.05 (A = 1.05) for Maine’s lynx population based on demographic data from a
   radiotelemetry study collected over a 12-year period (Vashon et al. 2012, Appendix VI). Neither
   the Montana nor Maine estimates incorporated rates of immigration/emigration (i.e., both
   assumed immigration and emigration rates of zero, which is very unlikely and contradicted by
   historical and recent evidence of lynx dispersal in both directions across the Canada-Unites
   States border across the DPS range). Schwartz (2017, p. 4) noted that very low immigration
   rates (less than 1 female/year on average for a theoretical population of 100 lynx) could provide
   population stability or even growth, suggesting that the Seeley Lake population and perhaps
   other DPS populations are probably being bolstered by low levels of immigration, which may go
   undetected. Other efforts to model lynx population dynamics in the DPS range include those of
   Lyons et al. (2016, entire), who developed spatially-explicit, individual-based population models
   to estimate reductions in potential lynx carrying capacity in Washington associated with recent
   large wildfires, and Licht et al. (2017, in press, entire), who conducted a PVA of a potential lynx
   reintroduction to Isle Royale in Lake Superior, about 22 km (14 mi) east of Unit 2.

   Although minimum viable population sizes have not been derived for lynx populations in the
   DPS, the Service’s Recovery Outline (USFWS 2005, p. 5) suggested landscapes of at least
   1,250 km2 (483 mi2) with sufficient boreal/subalpine habitat, hare densities, and snow conditions
   favorable for lynx. These are the minimum landscape size and habitat conditions thought
   necessary to support a minimum lynx population of at least 25 adults based on a density of 1
   lynx per 50 km2 (USFWS 2005, p. 5). McKelvey et al. (2000b, p. 29) noted that extinction
   (extirpation) risk should decrease with increasing population size, and that extinction resulting
   from demographic stochasticity is very unlikely even for a population (generally; not specific to
   lynx) with as few as 20 reproducing females. Kramer-Schadt et al. (2005, entire) developed a
   spatially explicit population model for Eurasian lynx in Germany which they combined with
   demographic scenarios to evaluate the likely success of potential reintroduction efforts; they


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   concluded that at least 10 females and 5 males would be required to establish a population with
   an extinction probability less than 5 percent over 50 years. Rodriguez and Delibes (2003, entire)
   evaluated extinction among populations of Iberian lynx; they found that extinction occurred only
   in small populations that occupied habitats of less than 500 km2 and that extinction within 35
   years was unlikely among populations occupying areas of at least 500 km2 of adequate habitat
   quality.

   In summary, lynx populations need large (thousands of square kilometers) boreal forest
   landscapes with hare densities capable of supporting (1) multiple lynx home ranges, (2)
   reproduction and recruitment most years, and (3) at least some survival even during years when
   hare numbers are low. These landscapes also must have snow conditions (consistency, depth,
   and duration) that allow lynx to outcompete other terrestrial hare predators. To persist, lynx
   populations must exhibit recruitment and immigration rates that exceed mortality and emigration
   rates on average over the long-term. Immigration may be particularly important to the
   persistence and stability of lynx populations at the southern periphery of the range, including
   those within the DPS, where hare densities are generally low and hare populations are either
   non-cyclic or weakly-cyclic compared to northern populations. Low hare densities reduce the
   likelihood that lynx recruitment will consistently equal or exceed mortality, and non-cyclic or
   weakly-cyclic hare populations are unlikely to allow the rapid lynx population recovery observed
   in northern lynx populations when hare numbers increase dramatically after cyclic population
   crashes. Conversely, more stable hare populations, even at lower landscape-level densities,
   likely provide stability (i.e., prevent periodic steep declines) among lynx populations on the
   periphery of the range in the DPS and in southern Canada. Although immigration rates for DPS
   populations are unknown, as is the rate and periodicity of immigration needed to provide
   demographic stability among them, connectivity with and immigration from lynx populations in
   Canada are believed to be important to the persistence of lynx populations in the DPS
   (McKelvey et al. 2000a, pp. 232-242; 2000b, pp. 32-34; Schwartz et al. 2002, entire; USFWS
   2005, p. 2; ILBT 2013, pp. 34, 42, 47, 54, 60, 65; Squires et al. 2013, p. 187; 79 FR 54789).


   2.3 Historical and Current Lynx Distribution

   2.3.1 Lynx Distribution and Status in Canada and Alaska

   The Canada lynx is broadly distributed across northern North America from eastern Canada to
   Alaska (McCord and Cardoza 1982, p. 729; Poole 2003, p. 361; Vashon 2015, p. 4; Univ. of
   Alaska Center for Conservation Science 2016, p. 1). It is strongly associated with the expansive,
   continuous boreal forests of those areas, and its range largely overlaps that of its primary prey,
   the snowshoe hare, also a boreal forest specialist (Bittner and Rongstad 1982, p. 146; Mowat et
   al. 2000, pp. 268-269; Aubry et al. 2000, p. 375). In Canada, lynx are thought to occupy about
   5.5 million km2 (over 2.1 million mi2), which represents 95 percent of their historical range in that
   country (Environment Canada 2014, p. 2), and over 89 percent of the species’ entire
   distribution. Nationally in Canada, lynx are classified as secure, widespread, and abundant; they
   are managed for long-term population stability, with a conservative estimate of 110,000

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   individuals during cyclic lows; and no acute, widespread threats to lynx have been identified
   (Environment Canada 2014, entire; Vashon 2015, pp. 1-6). Provincially, lynx status is
   considered secure in British Columbia, Manitoba, Ontario, Quebec, Newfoundland and
   Labrador, Northwest Territories, and the Yukon; sensitive in Alberta and Saskatchewan; at
   risk/endangered in New Brunswick and Nova Scotia; and undetermined in Nunavut
   (Environment Canada 2014, pp. 3-4; Vashon 2015, p. 1). Lynx were extirpated from Prince
   Edward Island (0.1 percent of lynx range in Canada) by the late 1800s, and on the mainland the
   southern margin of assumed lynx range has contracted northward in Quebec, southeastern
   Ontario, Manitoba, Saskatchewan, and Alberta (Poole 2003, p. 361; Bayne et al. 2008, pp.
   1192-1195; Koen et al. 2014a, pp. 757-760).

   In Alaska, lynx are distributed across roughly 534,454 km2 (206,354 mi2) of boreal forest (Univ.
   of Alaska Center for Conservation Science, 2016, entire; Reimer 2016, pers. comm.), which
   represents about 8.7 percent of the species’ breeding distribution. Lynx in Alaska are apparently
   secure, with low to moderate threats, and populations appear stable statewide, although total
   abundance is unknown (Alaska Natural Heritage Program 2008, pp. 2-4).

   In both Alaska and Canada, lynx trapping is managed through regulated seasons and harvest
   levels, which are adjusted to avoid overexploitation, especially during the low phase of the lynx­
   hare population cycle (Alaska Natural Heritage Program 2008, pp. 2-6; Vashon 2015, pp. 5-6).
   Along the Canada-United States border in provinces adjacent to DPS lynx populations, lynx
   trapping is prohibited in New Brunswick (adjacent to northeastern Maine) but regulated trapping
   is permitted in Quebec (adjacent to northwestern Maine, northern New Hampshire, and northern
   Vermont), Ontario (adjacent to northeastern Minnesota), Alberta (adjacent to northwestern
   Montana), and British Columbia (adjacent to northwestern Montana, northern Idaho, and
   northern Washington). Because after 2 centuries of being legally harvested for the international
   fur trade it remains widespread and abundant over most of its range, and because managed
   harvest in recent decades does not appear to have caused significant range loss or population
   decline, the lynx has been designated a “species of least concern” in accordance with the IUCN
   Red List of Threatened Species (Vashon 2015, entire).

   2.3.2 Lynx Distribution in the Contiguous United States

   2.3.2.1 Defining Lynx Distribution at the Periphery of the Range

   Several aspects of lynx population dynamics and dispersal patterns have resulted in
   inconsistent approaches and difficulty in defining the range and/or distribution of the species,
   especially at the margins (74 FR 66942). There also is uncertainty and ambiguity in some
   historical lynx occurrence records, with early assessments based largely on trapping harvest
   records of questionable accuracy, particularly where lynx and bobcats overlap, and a reliance
   on anecdotal or unverified occurrence information (McKelvey et al. 2000a, pp. 208-210; 65 FR
   16054). These issues confound efforts to accurately portray the species’ historical distribution in
   the contiguous United States and to assess the current distribution relative to historical
   conditions (McKelvey et al. 2008, pp. 553-554; 79 FR 54814-54815; McKelvey in Lynx SSA

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   Team 2016a, p.11). This has resulted in inaccurate portrayals of lynx distribution and
   misperceptions that the historical range of lynx in the contiguous United States was once much
   more extensive than is ecologically possible (68 FR 40080; 74 FR 66942).

   The boreal forest reaches its southern extent in the northern contiguous United States and it
   becomes naturally patchy and marginal for hares and lynx in places where it transitions to
   temperate forest types. Many areas of boreal or boreal-like (spruce-fir) forest (e.g., the
   Appalachian Mountains from New York southward in the East, most of northern Michigan and
   northern Wisconsin in the Midwest, and the Southern Rocky Mountains and Southern Cascade
   Mountains in the West) probably never supported persistent native lynx populations despite the
   presence of snowshoe hares. Hare densities in these areas are generally low and appear
   insufficient to support resident lynx populations over time. Only a relatively few areas in the
   contiguous United States historically supported an adequate quantity, quality, and spatial
   arrangement of habitat to support resident lynx populations continuously over time, and many
   historical lynx occurrences across a large area of the contiguous United States were likely
   dispersers. The occurrence of dispersing lynx is unpredictable, and dispersing lynx will probably
   continue to move periodically and temporarily into areas that cannot support persistent
   populations (68 FR 40077).

   Because the lynx is highly mobile and has, throughout most of its range, cyclic population
   dynamics that are closely tied to cyclic snowshoe hare populations, numbers of lynx naturally
   fluctuate and become extremely low during lows in decadal hare cycles. The dramatic, cyclic
   fluctuations in lynx populations across much of the range as they track cyclic hare populations
   and the mass synchronous dispersals (irruptions) of large numbers of lynx into the contiguous
   United States when northern hare populations crashed are well-documented (Elton and
   Nicholson 1942, entire; Gunderson 1978, entire; Thiel 1987, entire; McKelvey et al. 2000a, pp.
   219, 232-242; Mowat et al. 2000, pp. 281-294; ILBT 2013, p. 33). These events have resulted in
   records of lynx occurrence, in some cases very rarely, in other cases sometimes in large
   numbers and with intermittent (cyclic) regularity, in places that otherwise lack evidence of
   persistent lynx presence or the habitats and hare densities necessary to support a resident lynx
   population (USFWS 2005, pp. 3-4; 79 FR 54787-54789, 54793-54795, 54812-54823).

   Many records of lynx in the contiguous United States appear to be related to such events,
   including the unprecedented ‘‘explosions’’ of lynx observed in the early 1960s and 1970s
   (Gunderson 1978, entire; McKelvey et al. 2000a, pp. 232-242). During these events, many lynx
   occurred in anomalous habitats, exhibited unusual behavior, suffered high mortality, and
   numbers declined dramatically within a few years of irruptive peaks (Gunderson 1978, entire;
   Thiel 1987, entire; McKelvey et al. 2000a, p. 242). Because dispersing lynx typically do not
   persist in these areas of temporary range expansion, disappearing fairly quickly after irruptions,
   van Zyll de Jong (1971, p. 16) suggested that only areas that support lynx populations
   throughout both the low and the high phases of the “10-year cycle” (i.e., across the natural
   range of hare densities) should be considered to constitute the species’ range. In its 2003
   remanded determination, the Service determined that lynx in the contiguous United States exist
   either as resident populations or as dispersers, that dispersing lynx are often found repeatedly


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   and for variable amounts of time in habitats that cannot sustain breeding populations over time
   (though some breeding may occur occasionally in some of these areas), and that such areas
   probably contribute little (if at all) to the persistence of lynx in the DPS (68 FR 40077, 40079­
   80). This repeated dispersal into habitats that ultimately cannot support the species (‘‘sink’’
   habitats) often leads to confusion about where lynx populations may be viable (74 FR 66938).

   The metapopulation structure thought to govern lynx populations in the DPS (McKelvey et al.
   2000b, pp. 25-31; see Section 2.2) and the transitional (and, therefore, increasingly fragmented
   and isolated) and spatially- and temporally-shifting nature of lynx habitat at the southern
   periphery of the range (Koehler and Aubry 1994, pp. 78-79; McKelvey et al. 2000b, pp. 29-30;
   74 FR 66940; 79 FR 54814) also present challenges in defining the distribution of lynx. Both
   factors suggest that some areas may naturally support resident lynx only temporarily or
   occasionally when habitat conditions (both boreal forest vegetation supporting abundant hares
   and snow conditions favoring lynx) are adequate and/or when immigration is sufficient to offset
   the lower productivity and recruitment rates expected among lynx populations in marginal or
   suboptimal habitats. McKelvey et al. (2000b, pp. 21,29-31) described such habitats as “...
   source-sink mosaics that shift with disturbance and succession,” and the contribution, if any, of
   these places (especially those that act more often as “sinks” than “sources”) to the maintenance
   and persistence of lynx populations in the DPS remains questionable (74 FR 66938).

   Finally, the southern periphery of the lynx’s range, where lynx are rare in many places, overlaps
   with the northern distribution of the much more common bobcat (Peers et al. 2012, pp. 4-5). The
   2 species are difficult to distinguish in the field, they often were not reliably differentiated in
   historical trapping records (McKelvey et al. 2000a, pp. 208-209), and errors in early accounts of
   lynx distribution based on anecdotal information seem likely (Halfpenny and Miller 1980, pp. 1,
   3-8; Meaney 2002, pp. 3-5, Hoving et al. 2003, pp. 366-367). Because of the large effect that
   relatively few errors in identification can have on assessments of the distribution of rare animals,
   McKelvey et al. (2000a, p. 209; 2008, pp. 553-554) suggest that anecdotal information should
   be interpreted with caution, and only verified occurrence data should be used to assess
   historical and current lynx distributions.

   These complexities of lynx population dynamics and our incomplete understanding of the limited
   lynx occurrence data, combined with a naturally dynamic and transitional habitat, make it
   difficult, if not impossible, to precisely delineate the historical or current distribution of resident
   lynx populations in the contiguous United States (Koehler and Aubry 1994, p. 79; 68 FR 40084).
   While recognizing these limitations, we use our best professional judgment of the best scientific
   and commercial data available to make conclusions about the range of the lynx for the purposes
   of this SSA. In the following section, we describe the types and distributions of potential lynx
   habitats in the contiguous United States, and our current understanding of the historical and
   current distributions of resident lynx populations in the DPS considering the factors discussed
   above.




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   2.3.2.2 Lynx Distribution within the DPS Range

   The southern periphery of boreal forest vegetation extends into parts of the northern contiguous
   United States, where it transitions to the Acadian forest in the Northeast (Seymour and Hunter
   1992, pp. 1, 3), deciduous temperate forest in the Great Lakes region, and subalpine forest in
   the Rocky Mountains and Cascade Mountains in the west (Agee 2000, pp. 40-41). In much of
   the DPS range, these boreal forest landscapes become naturally patchy and transitional
   because they are at the southern edge of the boreal forest range, and they are limited,
   particularly in the west, by elevation and/or aspect (Ruediger et al. 2000, p. 4-16; 68 FR 40090).
   Non-forested land uses (e.g., agriculture, development) become increasingly prevalent in these
   areas. These factors generally limit snowshoe hare populations in the contiguous United States
   from achieving landscape densities similar to those of the expansive northern boreal forest in
   Alaska and Canada, where hares are generally more evenly distributed across the landscape
   and more abundant except during cyclic population lows (Wolff 1980, pp. 123-128; Buehler and
   Keith 1982, pp. 24, 28; Koehler 1990a, p. 849; Koehler and Aubry 1994, p. 84; Aubry et al.
   2000, pp. 373-375, 382, 394). Consequently, important foraging habitat for lynx is often more
   limited and fragmented in the contiguous United States than in boreal forests of northern
   Canada and Alaska (Berg and Inman 2010, p. 6), and overall habitat quality is typically lower.

   The habitats that lynx use in the contiguous United States are characterized by patchily-
   distributed moist forest types with relatively higher hare densities in a matrix of other habitats
   (e.g., hardwoods, dry forest, non-forest) with lower landscape hare densities (ILBT 2013, p.126;
   78 FR 59434). In these areas, lynx incorporate the matrix habitat (non-boreal forest habitat
   elements) into their home ranges and use it for traveling between patches of boreal forest that
   support higher hare densities where most lynx foraging occurs. In some areas, patches of
   habitat containing snowshoe hares become so small and fragmented that the landscape cannot
   support lynx home ranges (ILBT 2013, p. 77) or populations over time (68 FR 40077).
   Additionally, the presence of more snowshoe hare predators and potential lynx competitors at
   southern latitudes may inhibit the potential for high-density hare populations (Wolff 1980, p.
   128). Wirsing et al. (2002, entire) concluded that high predation rates on hares in fragmented
   habitats may explain the relative stability (i.e., lack of cyclicity) in southern hare populations. As
   a result, lynx in the DPS generally occur at relatively low densities compared to lynx in the core
   of the Canadian and Alaskan range when hares are abundant (Aubry et al. 2000, pp. 375, 393­
   394). Because the lynx is a habitat and prey specialist, its densities in the DPS range are also
   typically lower than those of the bobcat, which is a habitat and prey generalist (Peers et al.
   2012, pp. 4-9).

   Snow conditions also are thought to influence lynx distribution (Ruggiero et al. 2000b, pp. 445­
   449; Peers et al. 2012, pp. 4-9) because they are morphologically and physiologically well-
   adapted for hunting snowshoe hares and surviving in areas that have cold winters with deep
   and persistent unconsolidated snow (Murray and Boutin 1991, p. 463). Long-term snow
   conditions also presumably limit the winter distribution of potential lynx competitors and

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   predators (Buskirk et al. 2000a, p. 90; Krohn et al. 2005, p. 123; Peers et al. 2012, entire; also
   see section 2.2 above), although behavioral adaptations may offset morphological differences to
   some degree (e.g., Murray et al. 1994, entire; 1995, entire).

   Based on verified data, lynx were documented historically in 24 of the contiguous United States
   (McKelvey et al. 2000a, 207-232). More recently, lynx have been documented in 3 other states
   after some of the lynx released into southwestern Colorado (see below) dispersed into northern
   New Mexico, Arizona, and Kansas (Colorado Division of Wildlife 2000, p. 3; Devineau et al.
   2010, p. 526; 74 FR 66938), which had previously lacked verified evidence of lynx occurrence
   (McKelvey et al. 2000a, p. 210; USFS 2009, entire; 74 FR 66940-66943). However, in many
   states, lynx occurred very rarely as dispersers and often in anomalous habitats - usually (as
   described above) in association with “irruptions” (mass dispersal events) of lynx from Canada
   when northern snowshoe hare populations underwent dramatic cyclic declines roughly every
   decade. Based on our current understanding of lynx and hare habitat requirements, the Service
   concludes that records in at least 13 states (Arizona, Connecticut, Illinois, Indiana, Iowa,
   Kansas, Massachusetts, Nebraska, Nevada, New Mexico, North Dakota, Pennsylvania, and
   South Dakota) represent occasional dispersing lynx that arrived in places with no historical or
   recent evidence of the habitat quality, quantity, or distribution necessary to support resident lynx
   (68 FR 40099; 74 FR 66940-66942; 79 FR 54807, 54817). These states are not within the
   distribution of resident lynx in the DPS, and we conclude that they naturally lack the necessary
   habitat, hare densities, and snow conditions and that they were not capable historically, and are
   not capable now, of supporting resident lynx populations over time.

   When it listed the DPS under the ESA, the Service defined its range as the forested portions of
   the remaining 14 states; 4 in the Northeast (Maine, New Hampshire, New York, Vermont), 3 in
   the Great Lakes Region (Michigan, Minnesota, Wisconsin), and 7 in the West (Colorado, Idaho,
   Montana, Oregon, Utah, Washington, Wyoming; 65 FR 16052, 16085). Some of these states,
   and parts of others, are thought to have historically supported only dispersing lynx or to have
   only occasionally supported resident breeding lynx (68 FR 40099; 74 FR 66940). Such areas
   were included within the range of the DPS because of the possibility that lynx could establish
   small, local populations in them and perhaps contribute to the persistence of the DPS, though
   evidence of this was (and remains) lacking (68 FR 40080; 74 FR 66938).

   Based on a comprenhensive, peer-reviewed analysis of verified historical lynx records that was
   published at about the time the DPS was listed (McKelvey et al. 2000a, entire) and on research
   and monitoring that have occurred since then, it seems likely that lynx occurred historically in
   some states (New York, Vermont, Wisconsin, Oregon, and Utah) only intermittently as
   dispersers or as small, naturally ephemeral populations; not as persistent resident breeding
   populations. In other states (New Hampshire, Michigan, Colorado, and Wyoming), it remains
   uncertain whether resident lynx occurred historically as small but persistent breeding
   populations or only ephemerally. Parts of the remaining states (Idaho, Maine, Minnesota,
   Montana, and Washington) show the strongest evidence of historical and recent (at the time of
   listing and since then) persistent resident populations.



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   In its 2003 remanded determination for the lynx DPS, the Service concluded that (1) potential
   lynx and hare habitats in Michigan, Oregon, Utah, Vermont, and Wisconsin were relatively
   small, isolated, and of marginal quality, and that available information suggested that these
   states did not historically or recently support resident lynx populations; (2) it was uncertain
   whether Colorado, New York, and Wyoming historically supported resident populations or only
   occasional dispersers; (3) New Hampshire probably supported a small resident population that
   had been extirpated; and (4) the remaining states (Idaho, Maine, Minnesota, Montana, and
   Washington) had the best historical and recent evidence of resident breeding populations (68
   FR 40082, 40086-40095, 40097-40101). Below we provide our current understanding of these
   state groupings and the information available since the 2003 remand that informs this
   understanding.

   Michigan, Oregon, Utah, Vermont, and Wisconsin - Additional information and analyses
   available since 2003 support the determination that Michigan (except for Isle Royale in Lake
   Superior) and Oregon did not historically or recently support resident lynx populations (Aubry
   2006, pp. 1-2; Linden 2006, pp. 83-90), and no evidence has emerged to suggest that resident
   populations occurred historically or recently in Utah or Wisconsin (ILBT 2013, pp. 45, 58). Isle
   Royale, a 535-km2 (206-mi2) island in northwestern Lake Superior that is closer to northeastern
   Minnesota and southern Ontario than to the rest of Michigan, is thought to have historically
   supported a small (perhaps 30 lynx) population that was extirpated in the 1930s due to
   overtrapping (Licht et al. 2015, p. 139; 2017, p. 505). The best available information continues
   to suggest that the rest of Michigan, as well as Oregon, Utah, and Wisconsin, did not
   historically, and do not currently, support resident lynx populations. We conclude that (1)
   habitats in these states are naturally incapable of supporting persistent resident populations; (2)
   historical and potential future occurrences of lynx in these states most likely represent
   occasional dispersing lynx; and (3) these states (with the possible except of Isle Royale, MI)
   have not historically or recently contributed to the persistence and conservation of lynx in the
   DPS and are unlikely to do so in the future.

   In contrast, 9 lynx occurrences were confirmed in the 530-km2 (205-mi2) Nulhegan Basin of
   northeastern Vermont from 2003 to 2014, and breeding was confirmed in 2012; intensified
   surveys since then have resulted in only a single photograph of a lynx in 2014 (Bernier 2015,
   pp. 1-3; Bernier 2016, pers. comm.). This new information indicates that this small area of
   northernmost Vermont is at least occasionally capable of supporting a small number of resident
   breeding lynx. However, assessments of the amount and quality of potential lynx and hare
   habitat, snow conditions, and the presence and distribution of lynx competitors and predators
   (Hoving et al. 2005, pp. 746-749; Bernier 2015, entire) indicate it is unlikely that northern
   Vermont can support a persistent resident lynx population (79 FR 54820-54821). We conclude
   that this small area of Vermont only occasionally supports lynx reproduction when hare
   abundance and snow conditions are temporarily adequate; that it most likely represents a “sink”
   rather than a “source” for the regional lynx population; and that this likely represents its natural
   historical condition.




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   Colorado, New York, and Wyoming - When the Service listed the DPS in 2000, it believed that a
   resident lynx population occurred historically in the Southern Rocky Mountains of western
   Colorado and southeastern Wyoming, that lynx were also historically resident in northwestern
   Wyoming (part of the Northern Rocky Mountains), and that the Adirondack Mountains of
   northern New York may historically have supported a resident population that was extirpated by
   the latter half of the 1900s (65 FR 16055-16056; 16058-16059). In the 2003 remand, the
   Service noted inconsistencies and likely errors in historical lynx reports for the Southern
   Rockies, questioned its original conclusion that Colorado historically supported an isolated
   resident population, and concluded that it was uncertain whether a resident population occurred
   historically in Colorado or if historical records were of periodic dispersing lynx during “extremely
   high population cycles” and that a resident population never existed in southeastern Wyoming
   (68 FR 40081,40091). In that rule, the Service also concluded that, despite evidence of
   reproduction in northwestern Wyoming (part of the GYA), potential habitat there is naturally
   marginal (patchier and composed of drier forest types), may be incapable of supporting a
   resident lynx population, and that lynx in northern Wyoming are most likely dispersers (68 FR
   40090). Also in 2003, the Service concluded that it was possible resident lynx occurred in
   northern New York prior to 1900 but the potential habitat there is small, marginal, isolated and
   likely has only supported dispersing lynx since then (68 FR 40086-40087).

   In Colorado, after the initial release of 96 lynx in 1999 and 2000, none were released in 2001 or
   2002 (Shenk 2010, pp. 1,4; Ivan in Lynx SSA Team 2016a, p. 22). From 2003-2006, another
   122 lynx were released, bringing the total to 218 (Devineau et al. 2010, p. 526). Reproduction
   was documented in 2003-2006 and 2009-2010, with 48 dens documented in that time, including
   a third generation of Colorado-born lynx (Shenk 2010, p. 5; Ivan in Lynx SSA Team 2016a, p.
   22). In 2010, CPW determined that all benchmarks for its lynx program had been met and had
   resulted in the establishment of a viable, self-sustaining lynx population (Ivan 2011b, pp. 11,
   12). Intensive monitoring of the population ceased in 2010 and was replaced by an effort to
   develop a minimally-invasive long-term monitoring program (Ivan 2011b, entire), which used
   snow-tracking surveys and camera traps to document continued lynx presence in the core
   release area of the San Juan Mountains in 2010-11,2014-15, and 2015-16, with evidence of
   reproduction also documented during that time (Ivan et al. 2015, p.1; Odell et al. 2016, entire).
   In its 2014 revised critical habitat designation for the DPS, the Service concluded that the
   historical record of verified lynx occurrence in Colorado combined with naturally highly-
   fragmented and isolated potential habitat and generally low snowshoe hare densities suggest
   that Colorado and the Southern Rockies were unlikely to have historically supported a persistent
   resident lynx population and that the long-term persistence of the introduced population is
   uncertain (79 FR 54787-54789, 54793-54795, 54816-54817). The current size of the resident
   lynx population in Colorado is unknown but thought to number between 100 and 250 (Ivan in
   Lynx SSA Team 2016a, p. 47). We continue to believe that available information suggests
   Colorado did not historically support a persistent resident lynx population and that the long-term
   persistence of the introduced population remains uncertain.

   In northern New York, 83 lynx were released into the Adirondack Mountains in 1988-1990
   (Brocke et al. 1993, p. 1); however, that effort failed to establish a resident breeding population


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   (65 FR 16055), suggesting that potential habitat there may be (and historically may have been)
   inadequate to support lynx persistence (68 FR 40086-40087). Information and analyses since
   the 2003 remand support the conclusion that New York has inadequate habitat quantity and
   quality (both vegetation and snow conditions) to support a resident lynx population (Hoving et al.
   2005, pp. 746, 749). We have no information that resident lynx presently occur in New York,
   and our evaluation of historical records suggests that the timing of most (19; 83 percent) of the
   23 verified records in the state after 1900 (McKelvey et al. 2000a, p. 216, table 8.2) were
   consistent with expected decadal irruptions of lynx from the north. The work of Hoving et al.
   (2005, entire), our evaluation of verified records of historical occurrence, and the rapid failure of
   the 1988-1990 lynx translocations to establish a resident population all suggest that New York
   has not recently and likely did not historically support a persistent resident lynx population. We
   conclude that (1) habitat in the Adirondack Mountains is incapable of supporting a resident lynx
   population, (2) verified historical records were most likely of dispersing lynx, and (3) dispersing
   lynx may currently and in the future continue to occur rarely and temporarily in northern New
   York.

   In northwestern Wyoming, 18 lynx were reported to have been trapped from a small area in the
   Wyoming Range in winter 1971-72 (Squires and Laurion 2000, p. 338), and other sources4
   claim that 13 lynx were trapped in the Wyoming Range in winter 1972-73. However, Reeve et
   al. (1986a, Appendix A, pp. 67-69) reported no verified (“certain”) records of lynx trapped from
   1970-1982 and unverified (“probable”) accounts that included no lynx trapped in 1971, 5 trapped
   in 1972, and 1 trapped in 1973. These conflicting anecdotal reports of lynx occurrence/trapping
   records illustrate compellingly why only verified records are appropriate for consideration of lynx
   historical distribution, especially given evidence of historical misidentification of bobcats as lynx
   (McKelvey et al. 2000a, pp. 208-210, 227; 2008, pp. 553-554). Even if some of these anecdotal
   records were correct, the large numbers of lynx reported in the early 1970s correspond to the
   second of 2 well-documented and unprecedentedly large irruptions of lynx from Canada into the
   northern contiguous United States, when dispersing/transient lynx occurred temporarily in many
   places with little or no evidence of the historical presence of resident lynx (McKelvey et al.
   2000a, pp. 232-242). It is more plausible that the sudden increase in lynx reportedly trapped in
   the Wyoming Range suggested by some of these anecdotal records would have reflected a
   pulse of dispersing lynx associated with that large irruption rather than a previously
   undocumented resident lynx population that suddenly and simultaneously became vulnerable to
   trapping in only a handful of winters.

   However, verified information available since 2003 has documented continued presence of a
   small number of lynx in northwestern Wyoming as recently as 2010, including some evidence of
   reproduction (Squires et al. 2003, entire; Squires and Oakleaf 2005, entire; Murphy et al. 2006,
   entire; Endeavor Wildlife Research 2008 and 2009, entire). Additionally, at least 9 radio-marked
   lynx released in Colorado subsequently moved into or through the area from 1999-2010, with
   several settling temporarily into parts of the Wyoming Range previously occupied by native lynx
   (Ivan 2017, entire; see section 4.2.5, below). More recent surveys and research-related trapping


   4 http://www.sublettecountyjoumal.com/v4n16/v4n16s7.htm .

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   efforts have failed to detect lynx in this area or elsewhere in Wyoming since 2010 (79 FR 54791;
   Squires in Lynx SSA Team 2016a, pp. 20-21,45).

   The historical record and recent evidence of lynx occupancy and reproduction indicate that the
   GYA of northwestern Wyoming and southwestern Montana at least occasionally supports a
   small number of resident lynx. However, the consistency of lynx occupancy in the GYA over
   time remains uncertain (Lynx SSA Team 2016a, pp. 11,45, 57). Uncertainty about whether this
   area consistently or only intermittently supported resident lynx historically makes it difficult to
   interpret their recent apparent absence from the area (Lynx SSA Team 2016a, p. 57). If
   residency was intermittent historically, the current apparent absence of resident lynx might be a
   natural condition related to the area’s largely marginal or suboptimal habitat conditions - i.e., it
   may naturally be capable of supporting resident lynx only intermittently when habitat conditions
   and hare densities are optimal. In that case, future intermittent residency would be expected,
   but only if lynx dispersing from a source population immigrate to the GYA when habitat
   conditions and hare densities return to more favorable levels. Conversely, if the GYA always
   historically supported a small number of resident lynx but no longer does, it may suggest that
   some factor or factors have acted to shift the quality of the area’s habitat from just barely
   capable of supporting a small resident population to no longer capable of doing so, potentially
   resulting in extirpation.

   We conclude that this uncertainty cannot be resolved based on the available information but,
   given the protected conservation status of large areas of the GYA unit (Yellowstone and Grand
   Teton national parks; all or parts of the Absaroka-Beartooth, Bridger, Gros Ventre, Lee Metcalf,
   Northern Absaroka, Teton, and Washakie wilderness areas), its historical inability to support a
   robust, persistent resident population and its apparent recent inability to support any resident
   lynx may be a reflection of naturally marginal and patchy habitats and relatively low hare
   abundance in much of the unit, resulting in only an intermittent ability of this unit to support
   resident lynx. We note that some of the best potential habitat and highest hare densities have
   been documented in areas with developmental land use designations (see 4.2.3 and 4.2.5)
   outside parks and wilderness (e.g., the Wyoming Range/Union Pass/Togwotee Pass areas;
   Squires 2017, p. 2). However, most of those areas have been managed by the USFS to
   conserve lynx and habitats in accordance first with the recommendations in the LCAS (Reudiger
   et al. 2000, entire) and the associated conservation agreement (CA) between the USFS and the
   Service (USFS and USFWS 2000, entire) and subsequently with the NRLMD (USFS 2007,
   entire). Nonetheless, despite active management for lynx conservation and the passage,
   presumably, of adequate time for some previously impacted areas to regenerate back into
   higher-quality hare and lynx habitats, lynx apparently have failed to naturally recolonize this unit,
   and released lynx dispersing from Colorado have failed to maintain long-term home ranges or
   produce kittens in these areas. We also note, however, that extensive areas of the GYA were
   burned by the large, intense wildfires of 1988, and that some of those areas may soon (perhaps
   in the next 5-15 years) regenerate to a stage containing the dense horizontal conifer structure
   favorable for hares and, therefore, lynx foraging habitat, perhaps increasing the likelihood that
   the GYA may support resident lynx again in the near future (Lynx SSA Team 2016a, p. 46).



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   In southern Wyoming, all recent lynx records are of Colorado-released lynx that moved into or
   through the area (Devineau et al. 2010, fig. 1, p. 526; Ivan 2017, entire), including 1 female that
   in 2004 established a den on the west side of the Medicine Bow Mountains and produced 3
   kittens that did not survive (Bjornlie 2016, pers. comm.; Ivan 2016a, pers. comm.; 2017, p. 3).
   Based on the available information, we conclude that southern Wyoming did not historically or
   recently support a resident lynx population and is not now capable of doing so.

   New Hampshire - There were 87 confirmed lynx records in northern New Hampshire from 2006
   to 2016 (though these do not represent 87 different individual lynx), with evidence of
   reproduction in 2010 and 2011 (79 FR 54820; NHFGD 2017, entire). Most of these records
   were documented during snow-track surveys in 2012-2015, with an additional 30 lynx detections
   recorded in 2014-2016 by remote cameras (NHFGD 2017, entire). Most records since 2006 are
   in the vicinity of Pittsburg in the northernmost reaches of the state, though lynx detections in
   2015 and 2016 suggest a southern expansion from the area where they had been documented
   in 2006 through 2014 (Siren 2016a, p. 1; Siren 2016b, pers. comm.). Despite recent evidence of
   lynx residency and reproduction, the Service concluded in the 2014 revised critical habitat
   designation that, based on modeling of the amount of potentially suitable habitat and favorable
   snow conditions (Hoving et al. 2005, pp. 739, 749; Litvaitis and Tash 2005, p. A-298), it is
   unlikely that northern New Hampshire will support a resident breeding population over the long­
   term (79 FR 54820-54821). Siren (2014a, p. 10) suspected that the relatively few lynx
   detections documented in 2012-2014 may be related to the presence and abundance of bobcat,
   coyote, and fisher populations in much of northern New Hampshire. We conclude that northern
   and central New Hampshire likely supported a small resident lynx population historically that
   was extirpated during the latter half of the 20th century. We are uncertain whether lynx
   detections in northernmost New Hampshire over the past decade may represent the natural
   reestablishment of a small resident breeding population in the state or if it is a temporary
   phenomenon related to an expanding source population in neighboring northern Maine (79 FR
   54821). Although bobcat populations have increased and expanded their range in this region in
   recent decades (Lavoie et al. 2009, pp. 873-874), severe winters and deep snow can
   substantially limit their populations (Reed 2013, pp. 29-33; McCord, 1974, pp. 433-434). Maine’s
   bobcat harvest declined substantially after 2 deep-snow winters in 2008 and 2009 (MDIFW
   2015a, p. 37). It is possible that these anomalous deep-snow winters provided a temporary
   competitive advantage to lynx in northern New Hampshire.

   Idaho, Maine, Minnesota, Montana, and Washington - These states (along with New
   Hampshire, above) have the strongest historical evidence of continuous lynx presence and
   recent evidence of resident lynx populations (McKelvey et al. 2000a, pp. 211-228; 68 FR 40086­
   40095, 40097-40101; McKelvey in Lynx SSA Team 2016a, p. 11). Historical lynx records exist
   for much of Idaho, but many, especially in the central and southern part of the state, occurred in
   anomalous habitats or were associated with large irruptions of lynx from Canada to the northern
   contiguous United States in the early 1960s and early 1970s (McKelvey et al. 2000a, pp. 225­
   227). The historical record and recent surveys (summarized at 79 FR 54818-54820) suggest
   that (1) only dispersing lynx occur throughout most of Idaho, (2) habitats in many parts of the
   state are drier forest types that support lower densities of hares, and (3) resident lynx seem to


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   be confined to the Purcell, Selkirk, and Cabinet mountain ranges in the State’s northern
   panhandle. The number of individual lynx with home ranges occurring in the northeast corner of
   the Idaho Panhandle is unknown but small based on the amount of potential habitat and results
   of recent surveys (Lucid 2016, pp. 7-11; Lucid et al. 2016, pp. 158-160, 180), and lynx in Idaho
   are part of a larger population that occurs primarily in northwestern Montana and southeastern
   British Columbia. In the Selkirks, a single lynx was detected in 2010 and there were multiple
   detections in 2015-2016. Over the last several years, radio-collar data and remote camera
   images have documented a single lynx with a home range in the west Cabinet Mountains and
   there have been detections of multiple lynx in the Purcell Mountains in or immediately adjacent
   to designated critical habitat (i.e., within 16 km [10 mi] of the Canada border). Detections in the
   Purcells in 2015-2016 included a photo of an adult lynx accompanied by juvenile lynx, the only
   recent evidence of lynx reproduction in Idaho, which otherwise lacks evidence of a long-term,
   persistent resident population (IDFG 2017a, pp. 2-3).

   Maine has a long history of continual lynx presence, with evidence of a persistent resident
   population in much of the northern half of the state (McKelvey et al. 2000a, pp. 211-212; Hoving
   et al. 2003, entire;), which currently is believed to support the largest lynx population in the DPS
   (Vashon et al. 2012, pp. 50-60; 79 FR 54784-54785, 54792, 54822-54824; Vashon in Lynx SSA
   Team 2016a, p. 18). The current amount and distribution of high-quality lynx and hare habitat
   and the numbers of hares and resident lynx in Maine are all much larger than was suspected at
   the time of listing or the 2003 remand, and all are probably substantially larger now than under
   likely typical historical conditions. Based on habitat distribution and lynx home range data, the
   MDIFW estimated that this geographic unit may have supported roughly 250-320 adult lynx in
   1995 and 750-1,000+ by 2003-06 (Vashon et al. 2012, p. 58; Vashon in Lynx SSA Team 2016a,
   p. 18]), and recent information suggests that resident lynx may be expanding to the south of the
   core population area (Vashon 2017, pers. comm.). The current lynx population in Maine is
   supported by the broad distribution of high-quality hare habitat that resulted from extensive,
   large-scale clearcutting in the 1970s and 1980s in response to a massive spruce budworm
   (Choristoneura fumiferana) outbreak (68 FR 40087; 79 FR 54792; also see section 4.2.1). As
   these regenerating clearcuts, which currently provide the dense horizontal structure preferred by
   hares, mature beyond about 35-40 years post-harvest, hare densities are expected to decline
   as cover and forage are reduced as a result of forest succession (Simons 2009, p. 217; Simons-
   Legaard in Lynx SSA Team 2016a, p. 16). The current lynx population in Maine is probably
   substantially larger than typically occurred historically under the natural disturbance regime,
   when relatively small amounts of the spruce-fir forests in the state are thought to have been
   composed of the dense young stands that provode optimal hare (and, therefore, lynx foraging)
   habitat (Lorimer 1977, entire; 68 FR 40094; Vashon et al. 2012, pp. 45, 56; 79 FR 54792). With
   the reduction in clearcutting and the proliferation of partial harvesting following enactment of the
   Maine Forest Practices Act of 1989, lynx densities in Maine are projected to decline by 55 to 65
   percent by 2032 (Simons 2009, p. 217; Simons-Legaard in Lynx SSA Team 2016a, p. 16),
   perhaps to levels more consistent with likely historical conditions. Lynx in Maine likely represent
   the southern periphery of a larger population that occurs in northern New Brunswick and
   southern Quebec south of the St. Lawrence Seaway/River, which appears to partially isolate
   lynx in this region, demographically and genetically, from populations in the core of the species’


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   range (Koen et al. 2015, entire). Whether lynx persistence in Maine relies on immigration from
   Canada, and if so to what extent, is unknown.

   In Minnesota, research conducted since the 2003 remand has demonstrated the continuous
   presence of a resident lynx population in the northeastern part of the state that seems to be the
   southern periphery of a larger population in southwestern Ontario (Moen et al. 2008b, entire;
   Moen in Lynx SSA Team 2016a, pp. 19, 39). The number of resident lynx in Minnesota is
   unknown but believed to be between 50 and 200 (Moen in Lynx SSA Team 2016a, pp. 19, 39).
   Hare densities and snow conditions consistently favorable for lynx appear to be restricted to the
   northeastern “Arrowhead” region of the state. Lynx are occasionally detected to the south and
   west of this region; however, those areas are dominated by bobcats. Although there are
   currently more lynx in Minnesota than was suspected when the DPS was listed, it is unclear
   whether current numbers and distribution are similar to the historical condition. The extent to
   which lynx persistence in Minnesota may rely on immigration from Canada is also unknown.

   In Montana, research conducted since the DPS was proposed for listing has documented the
   continued presence and broad distribution of resident lynx in much of the northwestern portion
   of the state (Squires in Lynx SSA Team 2016a, p. 20). The number of resident lynx in northwest
   Montana is unknown but the area is thought to be capable of supporting between 200 and 300
   resident lynx (Squires in Lynx SSA Team 2016a, p. 41). In this area, resident lynx occur in 3
   subpopulations - the Purcell Mountains, Seeley Lake/Central, and Garnet Mountains (Squires in
   Lynx SSA Team 2016a, p. 20). No lynx were detected in the Garnet Range from 2011 to 2015,
   prompting concerns about the potential loss of the small resident population (perhaps 7-10 lynx)
   documented there in the mid-1980s and again recently from 2002 to 2010. However, whether
   this absence indicates the extirpation of a previously persistent resident population or the
   temporary loss of an historically ephemeral population is uncertain. A single lynx was verified in
   the Garnet Range in February 2016, indicating that natural recolonization of the area is
   possible; however, no other detections of that lynx or other lynx have been verified since then,
   and there currently remains no evidence of lynx residency in this mountain range (Lieberg 2017,
   pers. comm.). Lynx in northwestern Montana (and northern Idaho) likely represent the southern
   periphery of a larger population in southwestern Alberta and southeastern British Columbia. The
   extent to which lynx persistence in this area relies on immigration from Canada is unknown, and
   trapping harvest data suggest declining immigration after the mid-1980s (McKelvey et al. 2000a,
   p. 225; Squires in Lynx SSA Team 2016a, p. 20). In southwest Montana, few lynx and no recent
   evidence of reproduction have been documented in the Montana portion of the GYA where, as
   with the northwestern Wyoming part of the GYA (discussed above), uncertainty about whether
   this area consistently or only intermittently supported resident lynx historically makes it difficult
   to interpret their recent apparent absence from the area (Lynx SSA Team 2016a, p. 57). As
   elsewhere in the West, recent research and habitat assessments suggest that habitats capable
   of supporting resident lynx in Montana are, and historically were, naturally patchier and less-
   broadly distributed (Squires et al. 2006a, pp. 46-47; Squires et al. 2013, p. 191), and lynx
   therefore naturally rarer, than was thought when the DPS was listed (ILBT 2013, p. 23; Jackson
   in Lynx SSA Team 2016a, p. 12).



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   In Washington, research and monitoring conducted since the 2003 remand has continued to
   document a resident lynx population in the Okanogan region of the eastern Cascade Mountains
   in the north-central part of the state (von Kienast 2003, entire; Maletzke 2004, entire; Koehler et
   al. 2008, entire; Maletzke et al. 2008, entire; Maletzke In Lynx SSA 2016, pp. 21-22). Since at
   least 1985, this is the only area of the state with evidence of a resident breeding population
   (Koehler and Maletzke 2006, p. 4; Koehler et al. 2008, p. 1518; ILBT 2013, p. 58; Maletzke In
   Lynx SSA 2016, p. 21), although the Kettle Mountains in the northeastern part of the state are
   thought to have historically supported a small breeding population (possibly 10-20 resident
   lynx), and lynx are detected there occasionally (Stinson 2001, pp. 13-14; Koehler et al. 2008, p.
   1523; USFWS 2008a, p. 2). Multiple large wildfires in this area over the last 25 years have
   burned about 34-37 percent of the Okanogan Lynx Management Zone (LMZ), resulting in a
   more than doubling of estimated female lynx home range size and a commensurate decline in
   the LMZ’s potential lynx carrying capacity (Lewis 2016, pp. 4, 6; Maletzke In Lynx SSA 2016, p.
   21). Although these areas should regenerate into lynx and hare habitat, it may take 35-40 years
   (Maletzke In Lynx SSA 2016, p. 21), during which time additional fire impacts could further
   diminish habitat availability and the likelihood that the lynx population will persist (Lynx SSA
   Team 2016a, p. 44; see also sections 3.4, 4.2.4, and 5.2.4).

   In summary, although uncertainty remains regarding the historical distribution of resident lynx in
   the DPS and small breeding populations may have been lost from some places, neither broad­
   scale breeding range contraction nor substantial population declines in the contiguous United
   States from historical conditions until the DPS was listed have been documented based on
   verified occurrence data (68 FR 40099; 72 FR 1187; 79 FR 54798, 54815; McKelvey In Lynx
   SSA T eam 2016a, p. 11). New information summarized above indicates that there are currently
   many more lynx in Maine and Colorado than likely occurred historically, and many more in those
   places and in Minnesota than was suspected when the DPS was listed. Likewise, resident lynx
   and some reproduction have also been documented recently in northern New Hampshire,
   where lynx were previously thought to have been extirpated, and in northern Vermont, which
   previously lacked evidence of historical lynx residency. Neither of these areas was occupied by
   lynx when the DPS was listed, and the expanding population in northern Maine was likely the
   source of lynx recolonizing northern New Hampshire and colonizing northern Vermont.
   Conversely, there are naturally fewer lynx and a more limited distribution of suitable habitats in
   most of the western United States than was previously thought (68 FR 40085, 40091-40092;
   ILBT 2013, p. 23), and lynx numbers in Washington have likely declined (perhaps temporarily)
   in response to extensive wildfire impacts to habitats over the past several decades. The
   geographic units evaluated in this SSA include all areas in the contiguous United States with
   strong historical or recent evidence of resident lynx populations. Detailed assessments of the
   current status and future viability of resident lynx populations and habitats in these areas are
   presented in chapters 4 and 5 below.


   Chapter 3: Factors Influencing Viability of the DPS
   In this chapter we discuss factors thought to influence the historical and current distribution and
   status of lynx populations in the contiguous United States, how these factors would likely

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   influence the future viability of the DPS, and we describe the cause-and-effects pathways of
   impacts associated with particular factors. We focus on the factor for which the DPS was listed
   under the ESA (the inadequacy of regulatory mechanisms in Federal land management plans
   when the DPS was listed) and on the anthropogenic influences identified by the ILBT in the
   revised LCAS as having the potential to exert population-level impacts on lynx and lynx habitats
   (ILBT 2013, pp. 68-78). Those anthropogenic influences - climate change, vegetation
   management, wildland fire management, and habitat loss and fragmentation - are considered
   the most influential factors in the future viability of the lynx DPS.


   3.1 Regulatory Mechanisms
   A number of activities with the potential to affect lynx habitat suitability, productivity, mortality,
   and movements via habitat loss or fragmentation, creation of barriers, or that otherwise alter the
   vegetation mosaics and prey abundances maintained historically by natural disturbance
   processes may occur in lynx habitats regardless of land ownership and management. The
   extent to which regulations guide such activities to avoid, reduce, or mitigate impacts to lynx
   influences the current and future likelihoods that those habitats will provide the ecological
   requirements to support resident lynx populations. As described in more detail below, the lynx
   DPS was listed as threatened because of the lack of specific conservation direction and
   associated regulations on some Federal lands. At that time, the available information indicated
   that most lynx habitat in the DPS occurred on Federal lands, predominantly in the western
   United States (65 FR 16061). Since then, research and monitoring have revealed that non-
   Federal lands contribute more to the conservation of the DPS than was known at the time of
   listing, particularly in the Northern Maine and Northeastern Minnesota geographic areas.
   Therefore, in the following sections we describe and compare the Federal regulatory
   environment for lynx in the DPS at the time of listing and currently, and we describe other
   regulatory mechanisms as they pertain to lynx on private as well as State and Tribal lands.

   3.1.1 Federal Regulatory Mechanisms

   Since it was listed in 2000, the DPS has been protected by the ESA’s prohibition on take (under
   section 9), which applies to lynx wherever they occur in the DPS, regardless of land ownership.
   The DPS has also been protected since listing by section 7 of the ESA, which requires Federal
   agencies to use their authorities to conserve listed species and to consult with the Service for
   any actions they implement, fund, or permit (i.e., for which a “Federal nexus” exists) and which
   may affect lynx or lynx habitats within the DPS, again regardless of land ownership. Additionally,
   section 4 of the ESA requires that critical habitat, defined as the specific geographic areas
   containing the physical and biological features essential for the conservation of a listed species
   and that may require special management and protection, be designated for listed species, and
   section 7 prohibits the destruction or adverse modification of such designated habitats. Critical
   habitat was designated for the lynx DPS in 2007 and was revised in 2009 and 2014; in
   accordance with a September, 2016 court order (U.S. District Court MT 2016, entire), it may be
   revised again in the future. Section 4 of the ESA requires recovery planning for listed species; a


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   recovery plan for the lynx DPS has not yet been completed, but part of the purpose of this SSA
   is to inform near-term recovery planning direction.

   Federal lands make up approximately 64 percent of the lands encompassed by the 6
   geographic units evaluated in this SSA. Of those Federal lands, roughly 87 percent is managed
   by the U.S. Forest Service (USFS), 11 percent by the National Park Service (NPS), and 2
   percent by the Bureau of Land Management (BLM). The amount of Federal land varies by unit,
   ranging from 1 percent in the Northern Maine Unit to over 97 percent in the GYA Unit (see table
   2 and Chapter 4 for ownership in each geographic unit). Federal lands management is guided
   by a number of statutes and associated regulations, policies, standards, guidelines, and best
   management practices (BMPs) applied by managing agencies to meet legislative mandates and
   achieve agency missions (for a summary of relevant Acts and associated regulations and
   guidance, see USFWS 2014, pp. 24-34). Many of these regulatory mechanisms provide some
   benefits to lynx and protect lynx habitats. For example, the conservation priority in the
   management of NPS lands in accordance with the National Park Service Organic Act (16 USC 1
   et seq. as amended), the National Parks and Recreation Act (Public Law 95-625), and the
   Wilderness Act (16 USC 1131-1136, 78 Stat. 890) likely provides an adequate regulatory
   framework for the conservation of lynx populations and habitats in the NPS units in which they
   occur (USFWS 2014, pp. 28-29, 31-33). However, it was the absence of specific management
   direction and conservation measures for lynx and lynx habitats in USFS and BLM land
   management plans that led the Service to conclude that the regulatory mechanisms in those
   plans at the time of listing were inadequate to ensure the conservation of the DPS. Therefore,
   the evaluation below focuses on the efforts of USFS and BLM, in collaboration with the Service,
   to address the regulatory inadequacy for which the DPS was listed.

   The Service designated lynx in the contiguous United States as a DPS and listed it as
   threatened under the ESA in 2000 because of the inadequacy, at that time, of existing
   regulatory mechanisms. Specifically, at that time the Service believed that most lynx populations
   and potential lynx habitats (broad forest vegetation classes defined as “lynx forest types” [65 FR
    16071]) in the contiguous United States occurred on Federal (USFS, NPS, and BLM) lands in
   the western states, and that the plans that guided management of those lands (particularly
    USFS and BLM lands) included “...programs, practices, and activities within the authority and
   jurisdiction of Federal land management agencies that may threaten lynx or lynx habitat. The
   lack of protection for lynx in these Plans render them inadequate to protect the species” (65 FR
    16052, 16082). At that time, the Service found that USFS and BLM management plans did not
   adequately address risks to lynx and, as identified in the LCAS (Ruediger et al. 2000, pp. 2-1
   through 6-3), those plans allowed actions that cumulatively could result in significant detrimental
   effects to lynx in the contiguous United States. As a result, the Service concluded in the final
   rule that the lack of Federal land management plan guidance for the conservation of lynx and
   the potential for those plans to allow or direct actions that could adversely affect lynx constituted
   a significant threat to the DPS (68 FR 40096).

   In 1998, in anticipation of the DPS’s listing under the ESA, regional and state directors of the
   Service, USFS, BLM, and NPS approved preparation of the interagency LCAS to provide a


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   consistent and effective approach to conserve lynx and to assist with section 7 consultation on
   Federal lands. An interagency Steering Committee selected a Science Team to assemble the
   best available scientific information on lynx and appointed the ILBT to prepare a lynx
   conservation strategy applicable to Federal land management in the contiguous United States
   (USFWS 2014, p. 15). The first edition of the LCAS was completed in January, 2000 and
   revised in August, 2000 (Ruediger et al. 2000, entire). The Steering Committee subsequently
   issued several amendments and clarifications, and the most recent revision of the LCAS was
   completed in August, 2013 (ILBT 2013, entire). The LCAS initially identified and evaluated 17
   risk factors (e.g., timber and fire management, recreation, roads, livestock grazing, trapping,
   etc.) thought to have the potential to affect lynx habitat suitability, productivity, mortality, and
   movements and that may be addressed under programs, practices, and activities within the
   authority and jurisdiction of Federal land management agencies. These risk factors included
   programs or practices with the potential to result in habitat conversion, habitat fragmentation, or
   obstruction to lynx movement; roads or winter recreation trails that may facilitate access to
   historical lynx habitat by competitors; and fire suppression, which changes the vegetation
   mosaic maintained by natural disturbance processes. The risks identified in the 2000 LCAS
   were based on potential effects to lynx habitats and to individual lynx, lynx populations, or both;
   therefore, not all of the risks initially identified in the LCAS were thought to threaten lynx
   populations in the DPS (68 FR 40096). In the 2013 revised LCAS, risk factors were redefined as
   “Anthropogenic Influences on Lynx and Lynx Habitat,” and grouped into 2 tiers based on the
   potential magnitude of effects (ILBT 2013, pp. 1, 68). First tier influences (climate change,
   vegetation management, wildland fire management, and habitat fragmentation - discussed in
   the remainder of this chapter) are those with potential to negatively affect lynx populations and
   habitats, while second tier influences are those that may affect individual lynx but are not
   expected to substantially impact populations or habitats (ILBT 2013, pp. 68-85).

   In addition to identifying risks, the LCAS also directed Federal agencies to map potential lynx
   habitat and identify lynx analysis units (LAUs) to evaluate potential impacts of management
   actions on lynx and snowshoe hare habitats. Finally, the LCAS developed recommended
   conservation measures, standards, and guidelines to be applied to lynx habitats on Federal
   lands that were designed to mimic historical conditions and landscape-scale disturbance
   patterns and to maintain or improve lynx and hare habitats at both local (project-level) and
   landscape scales (USFWS 2014, p. 16). After its initial completion in 2000, USFS and BLM
   managers within the range of the DPS agreed to implement the standards and guidelines
   identified in the LCAS until management plans could be formally amended to specifically
   address lynx conservation. In 2000, the Service, USFS, and BLM developed and adopted
   Canada Lynx Conservation Agreements (CAs; BLM and USFWS 2000, entire; USFS and
   USFWS 2000, entire) in which the BLM and USFS agreed to coordinate assessment and
   planning efforts with the Service to assure a comprehensive approach to lynx conservation and
   to use the LCAS, supporting science, and locally specific information as the basis for the
   approach and to streamline consultation under section 7 of the ESA. The USFS further
   committed to deferring any actions not involving third parties that would adversely affect lynx
   until such time as the Forest Plans were amended or revised to adequately conserve lynx
   (USFS and USFWS 2000, p. 8; 68 FR 40083).


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   Concurrent with development of the LCAS and interagency CAs, the USFS and BLM in 1999
   completed the Biological Assessment (BA) of the Effects of National Forest Land and Resource
   Management Plans and Bureau of Land Management Land Use Plans on Canada Lynx (USFS
   and BLM 1999, entire). The BA identified and evaluated the potential effects on lynx of
   implementation of 57 USFS Land and Resource Management Plans and 56 BLM Land Use
   Plans throughout the 14 states in which the lynx DPS was proposed for listing. The BA
   concluded that the potential for adverse effects to lynx existed on each administrative unit in
   each geographic area and that, cumulatively, implementation of the existing plans was likely to
   adversely affect the DPS. It recommended that all of the plans be amended or revised to
   incorporate conservation measures to reduce or eliminate adverse effects to lynx (USFS and
   BLM 1999, p. 14). In its 2000 biological opinion on the BA, the Service evaluated the USFS and
   BLM plans in conjunction with the CAs described above (USFWS 2000, p. 15). The Service
   concluded that implementation of the existing plans in accordance with the CAs until plans could
   be formally amended or revised was not likely to jeopardize the DPS, but that amendments or
   revisions to those plans were needed to further reduce or avoid the potential for adverse effects
   to lynx (USFWS 2000, pp. 48-50).

   In the 2003 remanded rule, the Service similarly determined that adherence to the CAs, the
   biological opinion, and the LCAS in assessing the impacts of Federal actions on lynx alleviated
   the potentially-adverse effects of Federal land management activities on lynx, but that
   amendment of USFS and BLM land management plans to conserve lynx would be the strongest
   mechanism to ensure long-term conservation of lynx and lynx habitat on Federal lands (68 FR
   40096-97). It concluded that although Federal, State, and Tribal regulations and plans had
   reduced threats to the DPS, the inadequacy of existing regulatory mechanisms still posed a
   moderate, albeit lower-level threat, and would continue to do so until Federal land management
   plans were specifically amended to address lynx conservation (68 FR 40097).

   Since the 2003 remand, most Forest Service units with lynx forest types (actual and “potential”
   lynx habitats) have formally amended or revised their land management plans to incorporate the
   conservation measures, standards, and guidelines identified in the LCAS. Because these
   amended and revised plans apply to secondary areas and other potential lynx habitats (i.e., all
   mapped habitat in all LAUs), the USFS had applied the conservation measures to many areas
   outside the geographic units evaluated in this SSA, including many areas that lack evidence of
   lynx occupancy and some with no verified lynx records. From 2004-2006, forest plans for 7
   national forests with potential lynx habitat in Maine, New Hampshire, Vermont, Michigan,
   Minnesota, and Wisconsin were revised to include recommendations from the LCAS and the
   CAs (Jackson 2015, p. 6; USFWS 2014, p. 33). In 2007, the USFS completed the Northern
   Rockies Lynx Management Direction (NRLMD), which formally amended management plans to
   include lynx conservation measures, standards, and guidelines for 18 national forests covering
   over 150,000 km2 (57,915 mi2) in Idaho, Montana, Wyoming and Utah, including over 72,000
   km2 (27,800 mi2) of potential lynx habitat (USFS 2007, entire; USFWS 2014, pp. 16-19; 79 FR
   54813; Jackson 2015 in Lynx SSA Team 2016b, Appendix 3, p. 11). In 2008, the USFS similarly
   completed the Southern Rockies Lynx Amendment (SRLA), which formally amended forest


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   plans covering about 59,000 km2 (22,780 mi2), including over 30,000 km2 (11,583 mi2) of
   mapped (potential) lynx habitat on 7 national forests or national forest complexes in western
   Colorado and southern Wyoming (USFS 2008a, entire; Jackson 2015 in Lynx SSA Team
   2016b, Appendix 3, p. 11). The management direction adopted in the NRLMD and SRLA was
   developed in accordance with the National Forest Management Act of 1976 (16 USC 1600) and
   the regulations that implement the statute (36 CFR 219.22), which requires public review and
   comment as part of the decision making process. Among national forests within the geographic
   units evaluated in this SSA, only those in Washington (the Okanogan-Wenatchee and Colville
   national forests) have not formally amended or revised their land and resource management
   plans. However, the plan revision process has been initiated for both forests, and both continue
   to manage for lynx habitats in accordance with the LCAS and the CA. Overall, the USFS
   manages nearly 56 percent (72,927 km2 [28,157 mi2]) of the lands within the 6 geographic units
   evaluated in this SSA (see table 2, above), and all USFS lands are managed to support lynx
   conservation in accordance with formally revised or amended Forest Plans or binding
   conservation agreements with the Service.

   The BLM manages a much smaller proportion of the lands within the SSA geographic units,
   nearly all of which occur in Colorado, Montana, and Wyoming. In Western Colorado (Unit 6), 10
   BLM Field Offices (FOs; Colorado River Valley, Grand Junction, Gunnison, Kremmling, Little
   Snake, Royal Gorge, San Luis Valley, Tres Rios, Uncompahgre, and White River) contain 784
   km2 (303 mi2) of potential lynx habitat. These BLM areas were subject to the 2000 interagency
   CA; however, that CA expired in 2004 (BLM and USFWS 2000, p. 8) and was not renewed.
   Since then, BLM Resource Management Plans (RMPs) have been revised for 5 of the 10 FOs
   (Colorado River Valley, Grand Junction, Kremmling, Little Snake, and Tres Rios). RMPs for the
   Gunnison, Royal Gorge, San Luis Valley, Uncompahgre, and White River FOs have not been
   revised and do not contain specific measures for the conservation of lynx; however, these areas
   constitute a very small proportion of lynx habitat this unit. In western Montana (Unit 3), BLM
   lands in the Garnet Resource Area include 405 km2 (156 mi2) of designated lynx critical habitat.
   In western Wyoming (Unit 5), 261 km2 (101 mi2) of BLM lands on the Kemmerer and Pinedale
   districts are also designated as lynx critical habitat. The RMP for the Garnet area was amended
   in 2004 to formally adopt the conservation measures of the LCAS (BLM 2004a, 2004b, entire),
   and the RMPs for the Pinedale and Kemmerer districts were revised in 2008 and 2010,
   respectively, to adopt conservation measures and BMPs for lynx (BLM 2008, pp. A18-10 - A18-
   16; BLM 2010, pp. A-9 - A-12). Overall, the BLM manages just over 1 percent (1,443 km2 [557
   mi2]) of the lands within the 6 geographic units evaluated in this SSA (see table 2, above), most
   of which is actively managed to support lynx conservation.

   The completion and implementation of the LCAS and its subsequent revisions, the interagency
   CAs, and the subsequent formal management plan revisions and amendments adopted under
   the NRLMD and SRLA all were undertaken to address the inadequacy of regulatory
   mechanisms on USFS and BLM lands for which the DPS was listed. Each incorporated the best
   available scientific information to develop goals, objectives, conservation measures, standards,
   and BMPs to guide USFS and BLM management activities at both project- and landscape-level
   scales to reduce or eliminate the potential for adverse effects to lynx or lynx habitats and thus


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   promote the conservation of the DPS (Ruediger et al. 2000, pp. 7-1 - 7-18; BLM and USFWS
   2000, entire; USFS and USFWS 2000, entire; USFS 2007, pp. 8-30, USFS 2008a, pp. 6-19,
   Attachment 1-1 - 1-9). Standards and guidelines developed and implemented in accordance
   with the NRLMD and the SRLA were designed to promote beneficial effects and limit potentially
   adverse effects of management activities (vegetation management [e.g., timber harvest,
   precommercial thinning], wildland fire and fuels management, grazing, recreation, road/access
   management, energy development, etc.) on important lynx habitats including winter snowshoe
   hare habitat (high-quality lynx foraging habitat), denning habitat, and linkage/connectivity
   corridors (USFS 2007, pp. 8-30, USFS 2008a, pp. 6-19, Attachment 1-1 - 1-9). The USFS
   concluded that the vegetation standards adopted in the NRLMD that limit the total amount and
   the rate at which lynx habitat can be converted to temporarily unsuitable habitat (stand-initiation
   seral stage following timber harvest) ensure that the agency’s timber management program is
   beneficial to lynx and will provide sufficient lynx habitat through time at both LAU and
   landscape-level scales (USFS 2007, p. 35). In its biological opinion on the NRLMD, the Service
   concluded that its application “...would substantially reduce or eliminate adverse effects to lynx
   from Forest Service land management activities on at least 94 percent of this area (National
   Forest System lands in the Northern Rockies), and more likely nearer to 98 percent” (USFWS
   2007, p. 76). Similarly, in its 2008 biological opinion on the SRLA, the Service concluded that
   vegetation management standards in the SRLA would prohibit treatments that could adversely
   affect essential components of lynx habitat on 95.5 percent of the mapped (potential) lynx
   habitat in the SRLA area (National Forest System lands in the Southern Rockies; USFWS
   2008b, p. 52).

   In summary, all USFS and most BLM lands with known or potential lynx habitat within the range
   of the DPS, including all SSA geographic units that encompass USFS and BLM lands, are
   currently managed in accordance with the specific conservation measures and considerations
   identified in the LCAS and implemented via the CAs or formally revised and amended
   management plans described above. These agreements and revised/amended plans constitute
   the regulatory framework and specific regulatory mechanisms adopted to conserve lynx habitats
   and populations on USFS and BLM lands that support or are potentially capable of supporting
   them. They represent the agencies’ efforts, in collaboration with the Service, to address and
   ameliorate the singular threat for which the lynx DPS was listed under the ESA. Although formal
   effectiveness monitoring has not been completed, it is clear that implementation of the CAs and
   revised/amended plans, and the associated programmatic and project-specific consultations
   between BLM/USFS and the Service in accordance with section 7 of the ESA, have resulted in
   avoidance/minimization of impacts to important lynx and hare habitats on Federal lands and
   have reduced the likelihood that management activities on these lands may adversely affect
   lynx in the contiguous United States. Overall, Federal lands managed by the USFS, BLM, and
   NPS constitute nearly 64 percent 83,683 km2 [32,310 mi2]) of the area evaluated in this SSA,
   and all but a tiny fraction of these lands are actively managed for lynx conservation.




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   3.1.2 State Regulations and Tribal Management

   Private, State, and Tribal lands make up the remaining 36 percent of the lands encompassed by
   the 6 geographic units evaluated in this SSA, accounting for almost 27 percent, almost 9
   percent, and 1 percent of the total, respectively (table 2). The amount of private land varies by
   unit, ranging from 0.3 percent in the North-central Washington Unit to over 90 percent in the
   Northern Maine Unit. Likewise, State ownership varies from less than 1 percent in the GYA and
   Western Colorado units to 36 percent in the Northeastern Minnesota Unit. Tribal lands account
   for about 4 percent of the Northwestern Montana/Northeastern Idaho Unit and roughly 1 percent
   of the Northern Maine and Northeastern Minnesota units; there are no Tribal lands in the North­
   central Washington, GYA, or Western Colorado units. Private, State, and Tribal lands,
   combined, constitute 99 percent of the lands in the Northern Maine Geographic Unit and over
   half of those in the Northeastern Minnesota Unit. Because both of these units support larger
   resident lynx populations than was suspected when the DPS was listed and, therefore, may
   contribute more substantially to the conservation of the DPS than was understood at the time of
   listing, we must evaluate the regulatory mechanisms that pertain to lynx on these lands (Lynx
   SSA Team 2016a, p. 54). Although private, State, and Tribal lands constitute much smaller
   proportions of the other 4 (western) geographic units (from about 3 percent to 16 percent,
   combined), important lynx habitats occur on some of those lands, and regulatory mechanisms
   may influence their contributions to the conservation and persistence of DPS populations or
   parts of them. Therefore, in this section, we summarize the relevant regulatory frameworks and
   mechanisms that may affect lynx on private, State, and Tribal lands within the 6 geographic
   units of the DPS, but with a focus on those units with the greatest proportions of these lands
   and on activities on these lands with the greatest potential to impact lynx.

   State Wildlife Management Regulations - The following information is derived largely from the
   Service’s 2014 Incremental Effects Memorandum prepared in support of the revised designation
   of critical habitat for the lynx DPS (USFWS 2014, pp. 35-38) and updated as warranted by new
   information. State furbearer and other wildlife management regulations benefit lynx populations
   in the states where they occur. In addition to State and private lands, State wildlife regulations
   govern hunting and trapping activities on many Federal lands where those activities are
   permitted. Most states within the range of the lynx prohibited trapping and hunting of lynx prior
   to the Service’s1998 proposal to list the DPS under the ESA, and those activities were
   prohibited in all states by the time the DPS was listed in 2000. All states within the lynx DPS
   range that allow legal bobcat harvest (1) manage in accordance with the Convention on
   International Trade in Endangered Species of Wild Fauna and Flora (CITES) Export Program
   for Appendix II Furbearer Species (USFWS 2014, pp. 25-26), (2) have distributed information to
   bobcat trappers and hunters on how to avoid incidental take of lynx, and (3) report all known
   incidental take of lynx associated with bobcat harvest to the Service’s Division of Management
   Authority to assure that take does not exceed the amount permitted under the intra-agency
   section 7 consultation for the CITES Export Program (USFWS 2001, entire). Most states have
   also adopted special regulations in areas where lynx occur to minimize the potential for
   incidental take (including injury) of lynx during legal trapping of other furbearers. These efforts
   benefit lynx and are expected to do so in the future with continued implementation and

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   enforcement. Most reported incidentally-trapped lynx are released unharmed (see below), and
   there is no evidence that incidental trapping has had population-level impacts on lynx in the
   DPS range.

   Unit 1: Northern Maine - In 1967, a bounty on lynx in Maine was repealed, and lynx were given
   complete protection from trapping and hunting. In Wildlife Management Districts where lynx may
   occur, the Maine Department of Inland Fisheries and Wildlife (MDIFW) has adopted special
   trapping regulations intended to minimize the incidental capture, injury, and death of lynx. These
   restrictions have varied over the past two decades, becoming mored restrictive with time
   following a consent decree in 2008. Some of the requirements developed over time include
   specification of trap sizes and sets that may be used to legally harvest other furbearers and that
   are intended to minimize the likelihood of incidentally trapping lynx5 (MDIFW 2016a, pp. 8, 13).
   MDIFW has also prohibited the use of visual baits and visual attractants and reqires mandatory
   reporting of incidental lynx captures. MDIFW also adopted and made available for download on
   its web page the interagency brochure How to Avoid Incidental Take of Lynx while Trapping or
   Hunting Bobcats and other Furbearers, modified it to be more specific to Maine, and updated it
   in 2015 (MDIFW 2015b, entire). MDIFW also set-up an incidental lynx capture hotline and has
   staff on stand-by to help immobilize, evaluate, collect tissue and/or hair samples, and release, if
   appropriate, any lynx reported to the hotline. From 2000 to 2016, this program has resulted in
   the release of 106 lynx that were reported incidentally trapped in northern Maine; during this
   time, 12 lynx died from traps or being illegally shot while in traps (MDIFW 2014, p. 75; MDIFW
   2016b, pp. 5-10).

   After preparing a habitat conservation plan (Incidental Take Plan), the MDIFW in 2014 obtained
   an incidental take permit from the Service for lynx trapped incidental to predator management
   and animal damage control activities, and the recreational furbearer trapping program in Maine.
   The permit allows incidental trapping of 195 lynx over a 15-year period, including 3 mortalities.
   After 2 lynx were killed in leaning-pole trap sets in 2014, MDIFW imposed additional trapping
   restrictions to further reduce mortality and injury of incidentally-trapped lynx, as required by the
   permit (also see Other Factors in section 4.2.1 below). In addition to prohibiting the type of
   leaning-pole sets that resulted in the 2 mortalities, the regulations now require exclusion devices
   on most killer-type traps and multiple swivels on chains, and they prohibit the use of drag sets
   on foothold traps.

   The MDIFW also is responsible for implementing the Maine Endangered Species Act6 (MDIFW
   2009, p. 9). Although the lynx is not State-listed as threatened or endangered because its
   population is believed to exceed the State’s listing threshold, it is considered a species of
   special concern (MDIFW 2011, p 2). The MDIFW works collaboratively with the Service to
   conduct research and monitor lynx populations and habitats, and it recommends voluntary
   forest management activities to promote a sustainable supply of large, connected, and widely-
   distributed blocks of dense, young spruce-fir stands and to conserve large blocks of
   unfragmented forestland in northern and western Maine (MDIFW 2011, p. 3).

   5 http://www.maine.gov/ifw/hunting trapping/trapping/avoid lynx.htm, last accessed 8.08.2016.
   6 http://www.mainelegislature.org/legis/statutes/12/title12sec12803.html.

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   Unit 2: Northeastern Minnesota - Although lynx were unprotected and had a bounty placed on
   them in Minnesota prior to 1965, lynx trapping and hunting have been prohibited in Minnesota
   since 1984 (65 FR 16077; Moen in Lynx SSA Team 2016a, p. 19). Overlapping the
   Northeastern Minnesota SSA unit, the Minnesota Department of Natural Resources (MNDNR)
   has identified a specific “Lynx Management Zone” (LMZ) for which it has promulgated and
   enforces special trapping regulations for other furbearers in lynx habitat (MNDNR 2016a, p. 53).
   The MNDNR has modified trapping regulations within the LMZ to minimize the incidental take of
   lynx during the legal trapping of other furbearers. The regulations address specific trap types
   and sets, prohibit the use of certain baits and visual attractants, and require reporting of any
   incidentally trapped lynx to DNR conservation officers within 24 hours (MNDNR 2016a, pp. 53­
   55). The MNDNR also distributed to trappers the interagency brochure How to Avoid Incidental
   Take of Lynx while Trapping or Hunting Bobcats and other Furbearers. In response to a Federal
   court order, MDNR developed an incidental take plan designed to minimize the potential for lynx
   to be incidentally trapped during other legal furbearer trapping; the plan is currently under
   review by the Service. Like Maine, Minnesota has a State Endangered Species Statute
   (84.0895) which requires the MNDNR to adopt rules designating species meeting the statutory
   definitions of endangered, threatened, or species of special concern (State of Minnesota 2016,
   entire). The Statute also authorizes the MNDNR to adopt rules that regulate treatment of
   species designated as endangered and threatened. Also like Maine, however, Minnesota has
   not designated lynx as threatened or endangered under the statute. Instead it has designated
   the lynx a species of special concern, a designation for species that are extremely uncommon,
   have unique or highly specific habitat requirements, or occur on the periphery of their range in
   Minnesota and, therefore, deserve careful monitoring (MNDNR 2013, pp. 1-2). Thus, the
   MNDNR coordinates with the Service and other agencies to conduct research and monitor lynx
   populations and habitats.

   Unit 3: Northwestern Montana/Northeastern Idaho - Lynx are designated as a species of
   greatest conservation need (S3; “potentially at risk”) by the State of Montana (MTFWP 2015, pp.
   12, 435) and were previously considered a species of greatest conservation need (S1) by the
   State of Idaho (ILBT 2013, p. 57). However, in its recently revised State Wildlife Action Plan,
   Idaho did not retain that designation for lynx because of the lack of evidence of a persistent lynx
   presence in the state (IDFG 2017a, p. 4). The harvest of lynx was prohibited in Idaho and
   Montana beginning in 1996 and 1999, respectively. Both States participate in the CITES Export
   Program for bobcats, and both have promulgated and enforce special regulations for the legal
   trapping of other furbearers in areas occupied by lynx. In its trapping regulations, Idaho Fish and
   Game (IDFG) provides information on how to distinguish between bobcats and lynx and
   provides guidelines to reduce injury and minimize non-target catches, including lynx (IDFG
   2017b, pp. 36-37). Guidelines recommend (1) a minimum 8-pound pan tension on foothold traps
   set for wolves, (2) specific trap types and sets for other furbearers, and (3) bait and habitat
   considerations when making sets. Trappers are also required to contact IDFG or local sheriff’s
   offices to assist with the safe release of incidentally trapped lynx. Three of 4 lynx incidentally
   trapped in Idaho recently were released unharmed; the other was illegally shot (IDFG 2017a, p.
   3). To minimize and track the incidental capture of lynx, Montana Fish, Wildlife, and Parks


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   (MTFWP) has promulgated an evolving set of trapping regulations and reporting requirements
   since the DPS was listed (MTFWP 2016, pp. 7-10), including significant changes in 2008 that
   reduced the reported rate of incidental lynx captures from 1.6 per year in 2000-2007 to 0.4/year
   in 2008-2015 (MTFWP 2016, p. 5). In 2015, the Federal District Court of Montana approved a
   settlement agreement reached between the State of Montana and conservation groups aimed at
   protecting lynx from trapping. The case is now dismissed in accordance with the agreement,
   under which Montana has implemented a set of restrictions on trapping in lynx habitat.
   Currently, these regulations identify designated lynx protection zones (LPZs) and define
   acceptable trapping methods for public lands within them, which (1) prohibit the use of lethal
   (non-relaxing) snares for bobcats, (2) specifies the types of sets and baits or attractants that
   may be used for marten, fisher, and other furbearers where lynx occur, (3) requires a minimum
   10-pound pan tension on foothold traps set for wolves, and (4) requires that any incidentally
   trapped lynx must be released unharmed if possible and reported to MTFWP (MTFWP 2016,
   pp. 7-10).

   Unit 4: North-central Washington - Lynx harvest has been prohibited in Washington since 1991,
   and the lynx was listed as a State threatened species in 1993 and uplisted to endangered in
   2016 (Lewis 2016, pp. iii, 1; WAFWC 2016, p. 3). Under the State’s Endangered Species
   Program, the Washington Department of Fish and Wildlife (WADFW) developed a Lynx
   Recovery Plan7 and a Status Report8, and it prepares annual reports to update population and
   habitat information for the species. The WADFW also coordinates with the Service and other
   agencies to conduct research and monitor lynx populations and habitats. Additionally, the use of
   body-gripping traps (foothold, conibear, snares, etc.) for trapping other furbearers is prohibited
   in Washington (except for damage control or nuisance wildlife, which requires special permits).
   This avoids the potential for lynx to be incidentally captured in traps set legally for other animals.

   Unit 5: GYA (Southwestern Montana and Northwestern Wyoming) - See Unit 3, above, for
   summary of Montana’s special trapping regulations to minimize incidental take of lynx, which
   apply to the northern part of this unit. Lynx in Wyoming are classified as nongame wildlife, a
   Species of Greatest Conservation Need, and a Protected Animal by Wyoming State Statute. A
   classification of "State Protected" status prohibits trapping or any intentional take in the state,
   and lynx in Wyoming were offered full protection from trapping and hunting beginning in 1973
   (ILBT 2013, p. 57). The Wyoming Game and Fish Department (WGFD) also participates in the
   CITES Export Program for bobcats.

   Unit 6: Western Colorado - Lynx harvest has been prohibited in Colorado since 1970 and the
   lynx was listed as endangered in the State in 1973. Colorado participates in the CITES Export
   Program for bobcats, provides information to trappers and hunters on how to distinguish
   between lynx and bobcats, and requires immediate release of uninjured incidentally trapped
   lynx as well as reporting of any (uninjured, injured, or killed) incidentally trapped lynx (CPW
   2015, pp. 6-7). Colorado law prohibits the use of foothold or conibear traps and snares for


   7 http://wdfw.wa.qov/publications/00394/.
   8 http://wdfw.wa.qov/publications/01521/ .

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   trapping, which avoids the potential for lynx to be incidentally captured in traps set legally for
   other animals.

   State Forest Management Regulations - Timber harvest and other forest management activities
   on State and private lands are governed by State regulations. Because these activities have the
   potential for beneficial, benign, or adverse impacts to lynx habitat depending on methods,
   implementation, and conservation measures, State forestry regulations may influence lynx
   populations, particularly where substantial amounts of lynx habitat occur on State and private
   lands. Below, we provide an overview of the forest management regulations in the SSA
   geographic units and briefly discuss their potential influences on lynx habitat. Additional details
   on the current and likely future influences of these regulations on lynx populations are provided
   below in chapters 4 and 5, particularly for the Maine and Minnesota units, where State and
   private lands constitute the majority of lynx habitats.

   Unit 1: Northern Maine - State and private lands constitute 7 percent and 90 percent,
   respectively, of this SSA unit, with the vast majority of private lands managed for commercial
   timber production. As described above in section 2.3.2.2 and in more detail below in sections
   4.2.1 and 5.2.1, the current abundance of lynx in northern Maine is attributable to the
   landscape-scale clear-cutting that occurred on private timber lands in the 1970s and 1980s in
   response to an extensive spruce budworm outbreak, which resulted in the recent unnaturally
   large amount of young (15 to 35 years post-harvest) regenerating forest in prime hare (lynx
   foraging) habitat condition. The amount and distribution of this post-clear-cut high-quality hare
   habitat likely peaked in the late 1990s to early 2000s, when 20-25 percent of the forest in Maine
   was in an early regeneration stage. The amount of young, regenerating forest at that time was 3
   to 8 times higher than typical historical conditions under the natural disturbance regime, when
   only 3 to 7 percent of stands were likely in such condition at any given time (68 FR 40094).
   Current timber harvest and management on State and private lands in Maine are governed by
   the Maine Forest Practices Act of 1989 and administered by the Maine Forest Service within the
   Department of Agriculture, Conservation & Forestry to regulate, among other things, the size,
   arrangement, regeneration, and management of clearcuts (MEDACF 2014, pp. 42-45). Under
   the Act, small (up to 101 ha [250 ac]) clear-cuts are still permitted but require special permits
   and review and have, therefore, been replaced by various forms of partial harvest techniques;
   many of which are unlikely to maintain the current unnaturally high amount and distribution of
   high-quality hare and lynx habitat. The consequences of this large-scale shift in forest
   management on Maine’s current lynx population, which is likely much larger than was possible
   under the natural historical disturbance regime, and on future conditions for lynx in this unit are
   discussed below in sections 4.2.1 and 5.2.1, respectively, along with other programs and factors
   that may influence private lands forest management in this unit.

   In Maine, most private lands lack long-term management agreements to assure lynx
   conservation. However, in 2006 and 2007, the Natural Resource Conservation Service (NRCS)
   provided funds to Maine for a pilot Healthy Forest Reserve Program (HFRP) specifically to
   manage for Canada lynx and American marten. Under this program, 4 landowners have
   developed and implemented lynx management plans covering about 652 km2 (252 mi2; 2.3


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